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EXHIBIT A
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Martin J. Bienenstock (MB 3001)
Brian S. Rosen (BR 0571)

_ UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re : Chapter 11
ENRON CORP., et al., : Case No. 01-16034 (AJG)

Jointly Administered
Reorganized Debtors.

ORDER PURSUANT TO FEDERAL RULE OF BANKRUPTCY
PROCEDURE 9019 AUTHORIZING AND APPROVING
COMPROMISE AND SETTLEMENT OF TITTLE ACTION,
DOL ACTION AND OTHER RELATED LITIGATION AND -CLAIMS

Upon consideration of the motion, dated July 11, 2005 (the “Motion”),! of
Enron Corp. (“Enron”) and certain of its affiliated entities, as reorganized debtors
(collectively, the “Reorganized Debtors”), for entry of an order, pursuant to Rule 9019 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing and approving
the terms of that certain (a) Tittle Class Action Settlement Agreement, dated as of July 6,
2005, by and among the Tittle Plaintiffs, State Street, Enron and the Creditors’ Committee,
(b) DOL Action Settlement Agreement, dated July 6, 2005, by and among the DOL, Enron

and the Creditors’ Committee, and (c) PBGC Settlement Agreement, dated July 6, 2005, by

' Capitalized terms used herein, except as otherwise noted, shall have the meanings ascribed to

them in the Motion.

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and among Enron, the Creditors’ Committee and the PBGC (collectively, the “Global
Settlement”); and it appearing that the Court has jurisdiction to consider the Motion and the
relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that the
relief requested in the Motion is in the best interest of the Reorganized Debtors, their estates
and creditors; and it appearing that due and proper notice of the Motion has been given and
no further notice need be given; and no obj ections to the Motion and the relief requested
therein (collectively, the “Objections”) having been interposed: and upon all the proceedings
had before the Court; and good and sufficient cause appearing therefor,

IT is HEREBY FOUND AND DETERMINED THAT:

A. The Court has jurisdiction to consider the Motion and the relief
requested therein pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core proceeding
pursuant to 28 U.S.C. § 157. Venue is proper before this Court pursuant to 28 U.S.C. §§
1408 and 1409.

B. As evidenced by the certificate of service filed with the Court, and
based on the representations of counsel at the hearing, proper, timely, adequate, and
sufficient notice of the Motion, the Hearing, and the terms of the Tittle Class Action
Settlement Agreement, the DOL Action Settlement Agreement, and the PBGC Settlement
Agreement have been provided in accordance with the Court’s Second Amended Case Order,
dated December 17, 2003, Bankruptcy Rules 2002 and 9019, and Rule 9013-1(c) of the
Local Bankruptcy Rules for the Southern District of New York (the “Local Rules’). Such
notice was good and sufficient and appropriate under the particular circumstances, and no

other or further notice of the Motion or Hearing is required.

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C. The Global Settlement was entered into after good faith, arm’s-length
negotiations between and among the Settling Parties. The Global Settlement is for fair and
reasonable consideration and is within the range of reasonableness. The Global Settlement
(including, but not limited to, the resolution of the proofs of claim asserted by members of
the Settlement Class and related proofs of claim asserted by other parties) is an exercise of |
Enron’s sound business judgment and is in the best interests of the Reorganized Debtors and
their estates.

D. The Reorganized Debtors’ performance of their obligations under the
Global Settlement is not in derogation of, nor does it require modification of, any provision
of the Supplemental Fifth Amended Joint Plan of Affiliated Debtors Pursuant to Chapter 11

of the United States Bankruptcy Code, dated July 2, 2004 (the “Plan”) or any prior order of

this Court.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
DECREED THAT:

1. The Motion is granted in its entirety.

2. Subject to the entry, by the Houston District Court, of an approval

order with respect to the Tittle Class Action Settlement Agreement and the Consent Decree
with respect to the DOL Action Settlement Agreement, the Global Settlement is approved
pursuant to Bankruptcy Rule 9019.

3, Subject to the entry, by the Houston District Court, of an approval
order with respect to the Tittle Class Action Settlement Agreement and the Consent Decree
with respect to the DOL Action Settlement Agreement, Enron is authorized to execute,

deliver, implement, and fully perform any and all obligations, instruments, documents and

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papers and to take any and all actions reasonably necessary or appropriate to consummate the

Global Settlement and the transactions contemplated thereby, provided, however, neither the

approval orders nor the Consent Decree nor the Global Settlement shall or shal] be construed
to derogate or otherwise modify any provision of the Plan or any prior order of this Court
entered in the chapter 11 cases.

4. This Court’s order, dated J anuary 30, 2004, approving the Standard
Motion shall be deemed modified to authorize the purchase of annuities by the Reorganized
Debtors, and the requirement set forth therein with respect to the receipt of an “IRS
Determination” shall be deemed deleted.

5. Effective upon the Effective Date of the Tittle Class Action Settlement
Agreement, the DOL Action Settlement Agreement, and the PBGC Settlement Agreement,
all claims of the Tittle Plaintiffs and members of the Settlement Class arising under the Tittle
Action or otherwise subject to the Global Settlement, and all claims relating to the DOL
Action and the Houston Litigation, are resolved pursuant to the terms of the Global

Settlement and the approval orders and Consent Decree relating thereto; provided, however,

that, in the event the Tittle Class Action Settlement Agreement, the DOL Action Settlement
Agreement, and/or the PBGC Settlement Agreement are terminated in accordance with
Section 8.1 of the Tittle Class Action Settlement Agreement, Section 7.1 of the DOL Action
Settlgment Agreement, and/or Section 4.2 of the PBGC Settlement Agreement, (x) such
claims and defenses in the chapter 11 cases shall for all purposes with respect to the Parties
revert to their status as of the day immediately prior to the date of execution, and (y) all
releases given under or pursuant to the Tittle Class Action Settlement Agreement, the DOL

Action Settlement Agreement, and/or the PBGC Settlement Agreement, and al] Stipulated

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Dismissals, shall. be null and void; none of the terms of the Tittle Class Action Settlement
Agreement, the DOL Action Settlement Agreement, and/or the PBGC Settlement Agreement
Shall be effective or enforceable; neither the fact nor the terms of the Tittle Class Action
Settlement Agreement, the DOL Action Settlement Agreement, and/or the PBGC Settlement
Agreement shall be offered or received in evidence in any action or proceeding for any .
purpose, except in an action or proceeding arising under the respective agreement(s) or
arising out of or relating to the approval orders or Consent Decree with respect thereto.

6. This Order is without further prejudice to the right of the Reorganized
Debtors to seek further or other extensions of the time to object to any proofs of claim (other
than the Class Claim, the Remaining Claims and the DOL Claims, as defined in the
respective agreements, but subject to the provisions of decretal paragraph 5 hereof) upon .
motion filed with the Court.

7. Nothing contained herein shall affect, limit, or be construed to affect
or limit, (4) the jurisdiction of the Houston District Court over the Global Settlement, the Bar
Order, and matters and disputes in connection therewith as set forth in the Tittle Class Action
Settlement Agreement, the DOL Action Settlement Agreement, and the PBGC Settlement
Agreement, (ii) the determination and rulings of the Houston District Court with respect to
the Tittle Class Action Settlement Agreement and the DOL Action Settlement Agreement,
the Global Settlement, and on any objections thereto, or (iii) the granting or withholding of
relief or remedies by the Houston District Court in connection with the foregoing.

8. The requirement under Rule 9013-1(b) of the Local Rules for the filing

of a memorandum of law is waived.

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9. To the extent of any inconsistency between the terms of this Order and
those set forth in the Tittle Action Settlement Agreement, the DOL Action Settlement
Agreement and/or the PBGC Settlement Agreement, the terms and provisions of the
respective agreements shall govern.

Dated: New York, New York
, 2005

HONORABLE ARTHUR J. GONZALEZ
UNITED STATES BANKRUPTCY JUDGE

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EXHIBIT B
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EXECUTION copy

DOL ACTION SETTLEMENT AGREEMEN T

oe DOL ACTION SETTLEMENT AGREEMENT (the “A preement”), dated huly 6, 2005, =:
by and among The United States Department of Labor (the “DOL”), Enron: Corp. Enron”), and oS
the Official Committee of Unsecured Creditors appointed in Enron’s chapter 1.1. case(the
“Creditors? Committee”). The DOL, Enron and the Creditors’ Committee are sometimes -
hereafter collectively referred to as the “Settling Parties”. :

RECITALS |

AL Commencing on December 2, 2001 (the “Petition Date” : and periodically co
thereafter, Enron and its affiliated ‘debtor. entities: (collectively, the “Debtors”), each fileda -
voluntary petition for relief under chapter 11 of title 11 of the United States Code (the ..

~ “Bankruptcy Code”) with the United States Bankruptcy Court for the Southern District of. .
New York. (the “Bankruptcy. Court”), as jointly administered, In re Enron Corp.; et. al.., Case —

_ No. 01- 16034 (AJG) (the “Chapter 11. Cases”).

3B. ‘By order, dated July 15; 2004 (the “Confirmation Order”, and supporting
findings of fact and conclusions of law, the Bankruptcy Court confirmed the Supplemental
Modified Fifth Amended Joint Plan of Affiliated Debtors Pursuant to Chapter 11 of the United.

States Bankruptcy Code, dated Tuly 2, 2, 2004 (the “Plan”), f for 175, of the Debtors collectively, the oe

“Reorganized Debtors”).

Cc. “On November 17, 2004, the Plan became effective and the c Reorganized Debtors.
emerged from chapter 11. -

D. By complaint, dated June 26; 2003 (the “Secretary’s Complaint”), styled Elaine L. Elaine L.
Chao v. Enron Corp., et al. (the “DOL Action”), Case'No. H-03-2257, currently pending in the
United States District Court for the Southern District of Texas, Houston Division (the “Houston
District Court”), the Secretary of the DOL (the “Secretary”),. for and on behalf. of the DOL,
commenced litigation against, among others, Enron, the Enron ESOP and the Enron Savings oo
Plan, alleging violations of the Employee Retirement Income Security Act of 1974, as amended
and modified by all regulations promul gated and case law thereunder. (“ERISA”). ,

“EB. Prior thereto, the Judicial Panel’ on Multidistrict Litigation had. centralized
numerous class actions and other litigations before the Honorable Melinda Harmon, United
States District Judge, of the Houston District Court for coordinated or consolidated proceedings.

F.._- The Houston District Court consolidated the DOL Action with putative class
actions alleging violations of ERISA into that certain litigation styled Pamela M. Tittle, et al. v.
Enron Corp., et al., Case No. H-01 -3913 (the “Tittle Action”).

G. By order, dated August 1, 2002 (the “Bankruptcy Bar Order”), the Bankruptcy .
Court established a protocol for the setting of times and dates by which all proofs of claim
against the Debtors and their chapter 11] estates must be filed with the Bankruptcy Court (the

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vee “Bankruptcy Bar Date’, including, without limitation, the establishment of 5: 00 p- im. (Eastern
/ Time) on: October. 15, 2002 as the Bankruptcy Bar Date for the initially-filed Debtors.

wf ey i as "Prior: to the applicable Bankruptcy Bar Date, the DOL filed proofs of: claim
we against Enron. and various affiliated entities in the Chapter 11 Cases. With the exception of
oe proofs of claim ‘filed against Enron, Garden State Paper Company LLC and Enron North
Pon America’ Corp., ‘Claim Nos. 11026, 11046 and 11027, respectively (collectively, the “DOL
te Claims”) 5 all other proofs of claim filed by the DOL:have been withdrawn. Enron disputes the.
a DOL Claims, including, without limitation, the. allowance, classification: and priority thereof.

“hn L By its Objection of Official Committee of Unsecured Creditors to Proof of Claim - MS

oe Nos. 13923, 14052; and 11025 through and. including 11082 (the “Committee Objection”),. —.

oe Docket. No. 16768, the Creditors’ Committee objected to, among other proofs. of claim, the |. ~
allowance: of: thé DOL Claims:and asserted, in the alternative, that any recovery on account. .

thereof should be subordinated pursuant to section 510 of the Bankruptcy Code.

oo. J - A schedule setting forth the proofs of claim filed in the Chapter’ 11 Cases by.
individual: current or former employees of the Debtors is annexed. hereto as Exhibit “A” and’
oo Enron. asserts that such claims are asserting rights to recovery on the same or similar bases as.
asserted i in the DOL. Action and the Tittle ‘Action (collectively, the “Employee Claims”).

. K. - in an effort to facilitate a resolution of the outstanding i issues, Enron agreed to
“defer filing its own objection to the DOL Claims pending the outcome of their settlement :
discussions: ,

L. ‘The Settling Parties are desirous of promptly and fully resolving and settling, with ©
finality, all of the claims asserted by the DOL. against Enron and Enron is desirous of promptly _

and fully resolving and settling with finality the DOL Claims and any additional claims that have - : -

been asserted or might have otherwise been asserted by the DOL i in the Secretary’ S Complaint.

OM. The Settling Parties have reached a settlement by and through their respective
undersi gned counsel on the terms and conditions set forth i in this Agreement.

NOW, THEREFORE, the Settling Parties, in consideration of the promises, covenants a
- and agreements herein described and for other good and valuable consideration acknowledged by
- each of them to be satisfactory and adequate, and intending to be legally bound, do hereby

mutually agree as follows:

acRenent

ARTICLE 1

RECITALS/DEFINITIONS

Section 1.1. Recitals. The recitals set forth above are incorporated by
reference and are explicitly made part of this Agreement.

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Section 1.2. Plan Definition Incorporation, ‘Unless otherwise defined herein, , . o : : at

capitalized te terms used herein shall have the meanings ascribed. thereto i in the Plan.

Section.1: 3. "Other Definitions As used i in this Agreement, coptaiabtoms oe :

shall have the meanings, provided below:

(a) . “A ffiliate” shall mean any y entity which owns or r controls; is s owned-or oo

controlled by, or is under common ownership or control with, a Person. For purposes of this: -,

a definition, “control” shall mean the possession, directly or indirectly, of the power to: ditect or.
cause the direction of the management and policies of such Person, whether: through the. a!

ownership of voting securities or otherwise.

(b) - “Amended Complaint” shall mean. ‘the he Second Amended and d Consolidated : os : .

Complaint, dated December 31, 2003, filed i in, ‘the Tittle. Action.

~ (cy > “<Bankruptey Court Approval Orders” shall mean the DOL Approval
Order, the PBGC Approval Order. and: the Tittle Approval Order. - dey

(d) “Class Exemption” shall: mean . Prohibited Transaction Exemption 79- 15 or:
such other appropriate class exemption. - woe est

(©) “Consent Decree” shall r mean the order of the Houston District Court, in. fo

the form annexed hereto as Exhibit “B”, approving this Agreement and authorizing’.
consummation of the transactions contemplated herein i in full and final satisfaction of the claims

against Enron. asserted i in the DOL Action.

( “District Court Approval Orders” shall mean the Consent Deets ashe ee

Tittle District Court Order.

(g) “DOL “Approval Order” shall mean the order of the- Bankruptcy C Court, in-

form and substance satisfactory to Enron and the DOL, approving this Agreement: and
authorizing consummation of the transactions contemplated herein in full and final satisfaction of: -

the DOL Claims asserted by the DOL in the Chapter 1] Cases.

-(h) “Effective Date” shall: mean the first (J st) Business Day on which each of
the conditions set forth i in Article II hereof shall have been fully satisfied or waived. |

(i) “Enron Cash Balance Plan” shall mean the Enron Com. Cash Balance
Plan, and any and all predecessors and successors to such plan.

( “Enron Counsel” shall mean Weil, Gotshal & Manges LLP.

(k) - “Enron Entities” shall mean Enron and its debtor and non-debtor affiliates.

(1) “Enron ESOP” shall mean the Enron Corp. Employee Stock Ownership
Plan, and any and all predecessors and successors to such plan.

Go

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~ (m) “Enron Plans” shill mean, collectively, (1) the Enron Savings Plan

‘Baron. ESOP and (3) the Enron Cash Balance Plan, as. each may have been; or may be,. amended “ee *

from ‘time to time, including, without limitation, any trusts that have funded | any. such plan or:

‘program established by Enron, and any. and all predecessors and Successors to any and all such cd

. Plans.

ny “Enron Plan Trustees” shall mean Wilmington Trust: Company, is! ve
a fot the Enrori Savings Plan and for the Enron ESOP, and The Bank:of New: York,:as Trustee for - ~~

. the Enron-Cash Balance Plan, on behalf of themselves, on behalf of each of the’ respective Epron -
' Plans and on behalf of such Plan’ s.respective representatives, employees, participants, Boe
. beneficiaries and. alternate ‘payees, together with any and all lof their predecessors. and

Succesgors-In- Interest.

Trustee Pope

(0) : “Enron Savings Plan” ‘shall mean: the Enron 1 Comp. Savings Plan, and fany_ S b aoe

and al predecessors and: successors, to such plan.

(p) “Fairness Hearing” shall mean the hearing established by the Houston ne
District Court to consider final approval of the compromise and settlement ‘contemplated by the: oe

Tittle Agreement,

. a ~(q) = “Final Order” shall mean, with féspéct to any judgment or r order ¢ as to:
' which the time to appeal, petition for certiorari, move for reconsideration, or rehearing. or any
other proceedings for review has expired and as to which no appeal, pétition for certiorari or
other proceedings for re-argument or rehearing shall then be pending; and if an appeal, writ of ©
. certiorari, re-argument or rehearing has been sought, such judgment or order shall have been oo
affirmed by the highest court to which such judgment or order was appealed, or certiorari shall _
‘have been denied or re-argument or rehearing shall have been denied or resultedinnio. ~~
modification of such judgment or order, and the time to take any further appeal, ‘petition, for
certiorari or move for re-argument.or rehearing shall have expired; provided; however, that the
possibility thata motion under Rule 59 or Rule 60 of the Federal Rules of Civil Procedure orany —
analogous rule under the. Bankruptcy Rules, may be but has not then been filed with. respect to
such judgment or-order, shall not cause such judgment or order not to be a Final’ Order; and,
_ provided, further, that, regardless of whether the Houston District Court has entered an: ‘order :
regarding the Plans of Allocation or the award of legal fees and expenses and regardless of
whether any such order, if entered, has become final.

(r) “Independent Fiduciary” shall mean State Street, the plan fiduciary
appointed by the DOL with respect to the Enron Plans and retained by Enron in accordance with
that certain Fiduciary Services Agreement, dated March 14, 2002, between Enron and State
Street, or any successor thereto appointed in accordance with the terms and conditions of that
certain (1) Agreement, dated February 12, 2002, between the Secretary and Enron or (2)
Agreement Regarding Duties and Responsibilities of Appointed Administrative Committee and

- Independent Fiduciaries, dated April 22, 2005, between the Secretary and Enron. .

(s) “Named Plaintiffs” shall mean the named plaintiffs in the Tittle Action.

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Po (bt) ‘Newby Action” shall 1 mean the litigation styled Newby, et al v. “Enron.
oe Comp. ta et al., ‘Case No. H-01-CV-3624, a consolidated class action pending in the Houston”
7 District Court, and any and, all cases now or hereafter consolidated therewith. oo

me on @) “Non-Settling Defendants” shall: mean Kenneth Lay, Jeffrey Skiling
Arthur Andersen, L.L. P., David B. Duncan and The Northern Trust Company, nos .

- (v).. . “pBGC” shall mean 1 the Pension Benefit Guaranty Corporation. eo

ee (w) . “PBGC Agreement” shall mean n that certain PBGC Settlement Agreement, oe
dated ‘July 6, 2005, by and. among the PBGC, Enron and the Creditors’ Committee. oe

Se —@). _ “PBGC Approval Order” shall 1 mean the order of the Bankruptcy Court -
.. ~~ approving the PBGC Agreement and authorizing the consummation of the: transactions:
oe contemplated therein.. .

. the Debtors i in the Chapter: 11 Cases.

(@) . “Person” shall. mean an. individual, partnership, corporation, governmental
entity or any other form of entity or organization.

. (aa) “Plans-of Allocation” shall n mean the plans of allocation approved by the
Houston District Court as. contemplated by Section 6. 1 hereof.

(ob) “Released Claims” shall have the meaning set ¢ forth in Section 5. 2 hereof.

(cc) “Releases” shall mean Enron, the Reorganized Debtors, the Debtors and

their non-Debtor affiliates, the Enron Plans, SFC, Stephen F. Cooper, the present and former »
Representatives of each of them (other than The Northern Trust Company and those individuals
named in the DOL Action pursuant to.the Secretary’s Complaint), the Creditors’ Committee, its
members, and their present and former Representatives. Lo

(dd) . “Releases” shall mean the releases set forth i in Article Vv hereof.

(ee) “Representatives” shall mean representatives, attorneys, agents, directors,
officers, employees; insurers and reinsurers.

eo (ff) “Settlement” shall mean the settlement to be consummated in accordance
with this Agreement pursuant to the DOL Approval Order and the Consent Decree. -

(gg) “Settling Defendants” shall mean Enron and its debtor and non-debtor
affiliates, subsidiaries, successors and assigns.

(hh) “SFC” shall mean Stephen Forbes Cooper, LLC.

(ii) | “State Street” shall mean State Street Bank and Trust Company.

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(y) “PBGC Claims” shall 1 mean the proofs of claim filed by th the PBGC against ee
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Sb es @ “State Street: Claims” shall mean the proofs of claim filed iby State Street,
Sas Independent Fiduciary, against t the Debtors i in the Chapter 11 Cases. Cs nA

Se : - (kk): “Stipulated Dismissals” shall mean the stipulated dismissals of cy the Se
2 DOL Action against Enron and (2) the DOL Claims i in 1 the Chapter 11 Cases. Lo

a: “Successor-In- Interest” shal mean 'a Person’: s estate, Teel representatives Se

heirs, successors or assigns.

(mm) “Tittle Agreement” shall mean n that certain Tittle Class ‘Action Settlement.

Agreement, dated July 6, 2005, by arid among the Named Plaintiffs in the Tittle ° Action, dl the” oe Bots

Independent. F iduciary, Enron and the Creditors” Committee.

oe, . (nn) : “Tittle Approval Order > shall mean the order of the Bankruptcy Court
: approving the Tittle Agreement and authorizing the « consummation of the transactions -
. contemplated therein. oo

(00): “Tittle Claims” shall: mean the proofs of claim filed byt the Named .
Plaintiffs against the Debtors i in the Chapter Y 1 ‘Cases.

(pp) “Tittle District Court Order” shall mean the order of the Houston District

- Court entered subsequent to the F airness Hearing approving, on.a final basis, the Tittle’ -
_- Agreement and authorizing the consummation of the transactions contemplated therein...

(qq). “Tittle Preliminary Order” shall mean nthe order: of the Houston District
_ Court preliminarily approving the Tittle Agreement and making the requisite findings and.
establishing the respective procedures and dates with respect to the Tittle Agreement and the

Fairness Hearing.

. Section 1.4. ‘sin gular and Plural, Definitions used en hap to the
singular. and plural forms of each term defined. mo Be oo

‘Section 1. 5. Gender. Definitions used herein shall apply. to the masculine,
feminine, and neuter genders of each term, defined.

Section 1. 6.. References to a a Person. References to a Person a are also to the
Person’ 'S permitted s successors and | assigns.

8 Section 1.7. “Terms of Inclusion. Whenever the words ‘ ‘include, ” “includes” or
“including” are used in this Settlement Agreement, they shall not be limiting but-rather shall be
deemed to be followed by the words “without limitation.”

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ARTICLE I.

_ REPRESENTATIONS AND WARRANTIES.

- Paris and each of them, represent and watrant as s follows:

ie (a). Bach of the Settling Parties i is. duly organized, validly existing and i in n good
oe standing under the. laws of the jurisdiction of its. organization with all requisite power and =
oe authority to carry on the business in: which it is engaged, to own the properties it owns, to-
Be execute ° this Agreement and to consummate the transactions contemplated hereby. |

oe a 0). “Bach of the Settling Parties (with respect to the Enron Entities, ‘upon éiitiy |
Po of the DOL Approval: Order) has the full requisite power and authority to execute and deliver and
~. to perform its obligations under this Agreement, and the execution, delivery and performance: "

“Section 2, 1. ‘Settling Parties’ Re resentations and Warranties. The Setling - ce me

"hereof, and the instruments and documents réquired to be executed by it in connection herewith ey

: (i) have been’ duly and validly authorized by it and (ii) are not in contravention of its
organizational documents or any agreements specifically applicable to it:

a oo (c) Each of: the Settling Parties is voluntiitily entering into 5 this Agreement asa:
-” -pegult of arm *s-length negotiations among their respective counsel, that, in executing this
_- Agreement they are relying solely upon their own judgment, belief and knowledge, and the
"advice and recommendations of their.own independently selected counsel, concerning the nature,
extent and duration of their rights and claims hereunder and regarding all matters which relate in
any way to the subject matter hereof, and that, except as provided herein, they have not.been
influenced to any extent whatsoever in executing this A greement by any representations, .
“statements or omissions pertaining to any of the foregoing matters by any party or by any person

. representing any party to this Agreement.

(d) Each of the Settling Parties has carefully read the contents of this
Agreement, and’ this Agreement is signed freely by each Person executing this Agreement.

) Each of the Settling Parties does not have knowledge of any proceeding,
hiti gation or adversary proceeding before any court, arbitrator or administrative or governmental |
- body that is pending against it which would adversely affect its ability to enter into this.
- Agreement or to perform its obligations hereunder.

e Section 2.2. DOL’s Representations and Warranties. The DOL represents and
warrants as follows: a

(a) The DOL has withdrawn al] proofs of claim against any of the Debtors in |
the Chapter 11 Cases other than the DOL Claims referred to in Recital H hereof.

(b) The claims and causes of action asserted, or that could have been asserted,
in the Secretary’s Complaint represent all the claims and causes of action that are maintained by
the DOL against the Releasees.

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oe > Section 2. 3. ‘Understanding. The Settling Parties understand and agre that
(a) this ‘Agreement embodies a compromise and settlement of disputed. claims, (b) the Settling ’-
- Defendants neither admit nor deny the allegations contained in the Secretary’s. Complaint and.

(©) nothing in this Agreement, including, without limitation, the furnishing of consideration for . ove

. this Agreement, shall be deemed to constitute any fi inding of fiduciary status under ERISAcor:

~ wrongdoing’ ‘by any of the: Settling Defendants, or give rise to any inference of fiduciary s status. : “ no ae

-” under ERISA or wrongdoing or. admission of wrongdoing or liability i in this or any ; ‘other 2.0
a ‘proceeding. “Neither the fact nor. the terms. of this Agreement shall: be offered. or received'in
~ . evidence in the DOL Action or any other action or proceeding for any purpose, except. in an.
- -aetion’ or proceeding arising under. this Agreement of arising out of or relating. to the DOL. : a
Approval Order or the Consent Decree, including any action or proceeding to enforce the terms Le

hereof or thereof. Pee Ba Rr

ARTICLE ti

"CONDITIONS TO THE EFFECTIV ENESS OF THE SETTLEMENT

fo “Section 3.1. “Effectiveness. “The occurrence of the Effective Date and the! .
consummation, of the Settlement provided for herein are subject to satisfaction of the following fo
conditions ‘precedent: (a) the DOL Approval Order has been entered by the Clerk of the: hoe

. Bankruptcy Court, (b) the Consent Decree.has been entered: by the Houston Disttict Court, (). a
the Tittle Approval Order and the Tittle District Court Order have been entered, (@) the ©.
effectiveness of the DOL Approval Order-and the Consent Decree shall ‘not be: subject: to any ~
order staying either of the DOL Approval Order or the Consent Decree, in whole.or in. part, on ~

-_ the date sixty (60) days following the entry of the later to occur of (i) the DOL Approval. Order |
_and (ii) the Consent Decree and (e) each ofthe conditions set forth in Sections 3.2: through 3.5
have been satisfied i in full or waived, in whole or in part, by each of the Settling, Parties. .

Section 3. 2. Bankruptcy Court Approval. Without limiting the provisions of
Section 3.1 hereof, within-two (2) Business Days of the Houston District Court entry of the Tittle
Preliminary Approval Order with respect to the Tittle Action, the Reorganized: Debtors and the - oe
Creditors’ Committee shall jointly file a motion in the Bankruptcy Court, pursuant to: Bankruptcy
Rule 90} 9, seeking entry of the DOL Approval Order and authorizing and approving the. _
compromise and settlement of the DOL Action, the Committee Objection and the DOL Claims. -
Notwithstanding anything contained herein to the contrary, all of the Settling Parties. agree to
cooperate in good faith and, as may be requested by Enron, including, without limitation, by
using their reasonable best efforts contemplated by this Agreement or which become necessary
by ordertdf the Bankruptcy Court to obtain entry of the DOL Approval Order. -The hearing
before the Bankruptcy Court to consider entry-of the DOL Approval Order shall be held, if
determined by the Bankruptcy Court and the Houston District Court, jointly with the © hearing
before the Houston District Court to consider entry of the Consent Decree.

. Section 3.3. Entry of Consent Decree. Without limiting the provisions of
Section 3.1 hereof, contemporaneously with the filing of the motion referred to in Section 3.2
hereof, the DOL and Enron shall jointly file a motion in the Houston District Court, seeking
approval of the Settlement of the DOL Action against Enron contemplated hereunder and entry

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of the onsent Decree, _ Notwithstanding anything contained herein to the: contrary, all of the.

s 2 Parties: agree (a) to cooperate in good faith, including, without limitation, by: taking alt

‘reasonable steps and efforts contemplated by this Agreement and any other steps or.¢fforts which _

may become 1 necessary by order of the Houston District Court (unless such‘order materially

: modifies’ the terms of this Agreement), to carry out the transactions contemplated by this.
Agreement, including, without limitation, to obtain entry of. the Consent Decree and. (b) that,

oe “00 contem smporaneously with the Tittle District Court Order.

~ Section 3. 4. Consent Decree Provisions. Without limiting the'e express terms”

a annexed. hereto as s Exhibit “BY ”.

wl, : Orders and the District: Court Approval Orders shall] have been entered and shall: not have a
oo. otherwise been stayed i in accordance with the terms and provisions of Section 3. 1 hereof.

—ARTICLEIV
COMPROMISE AND SETTLEMENT

Ce, oo Section 4: 1. - Allowance. of General Unsecured Claim. On the Effective Date, ,
- there shall be an Allowed Claim in Enron’s Chapter’11 Case in the amount of Three. Hundred
-Fifty-Six Million Two Hundred Fifty Thousand Dollars ($356, 250,000.00) (the “Enron Claim”),
which Allowed Claim shall be allocated to the Tittle Claim, the DOL Claims’and the State Street
~ Claims as set forth in this Section 4.1.and shall be treated pari passu with other General. .
"Unsecured Claims against Enron and receive treatment in accordance with Class 4 pursuant to

oe under all:circumstances, the Consent Decree shall be entered by the Houston District Court: oe . ° / - -

ms atid’ provisions hereof, the Consent Decree shall contain the: Provisions s set forth and be ina a form - - ° oo

~ Section 3. 5. Ent y of Related. Orders. Bach of the: Bankiiptey Co urt Approval os : way

the Plan, including, without limitation, the riglit to receive distributions with respect to Litigation o

- Trust Claims and Special Litigation Trust Claims; provided, however, tliat, at the option and .
discretion of the Named Plaintiffs and the Independent Fiduciary, on behalf of the Enron Plans, .

and, with respect to the amounts allocated to the settlement of Counts I through ITI and V of the Dos

-Amended Complaint, the DOL, and which option must be exercised prior to the commencement _ .
- of the earlier to occur of (a) the hearing to consider the approval of this Agreement before the. _
Bankruptcy Court and (b) the Fairness Hearing, the Named Plaintiffs shall be entitled to receive -
a cash distribution (or a combination of cashvand a portion of the Enron Claim), in an agreed ~
upon amount, at the same time as, or as soon as practicable following, the initial distributions
that are made to holders of Allowed General Unsecured Claims, as defined in the Plan; pursuant
to Secti@n 32.1 of the Plan, but:in no event later than August 31, 2005, in lieu of distributions
that-otherwise would be made-pursuant to. the Plan; and, provided, further, that, in the event that
the foregoing option is not exercised, and notwithstanding the terms and provisions of the Plan,
applicable orders of the Bankruptcy Court and notices issued in the Chapter 11 Cases, Enron
agrees to recognize, and the DOL Approval Order shal] provide for the recognition of, the
transfer of the Enron Claim to a third party provided that.Enron receives notice of any such
transfer in accordance with the provisions of Section 10.11 of the Tittle Agreement and Section
8.11 hereof on or prior to the commencement of the Fairness Hearing. Notwithstanding the
foregoing, Fifty Million Eight Hundred Ninety Thousand Dollars ($50,890,000.00) of the Enron

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Claim shall'be allocated to resolution of Counts Iv / and VI of the. Amended: Complaint an i the 2 . oo

Tittle Claims:and Three. Hundred Five Million Three Hundred Sixty Thousand Dollars

($305, 360,000.00) of the Enron Claim shall be allocated to resolution of Counts I through and : 1 me

V of the Amended Complaint and the Tittle ‘Claims, the DOL Action.and the DOL: Claims: and»
the State: Street Claims filed by State Street, as Independent: Fiduciary, on behalf of the Enron’.
Plans in the Chapter 11 Cases; provided, however, that, notwithstanding the: allocation of the’.

Enron, Claim; ‘there shall be only one recovery on account of the Enron Claim in accordance with - oe .

a ‘the Plans ‘of: Allocation to be submitted and approved. by the Houston District Court i in. oe ap
. accordance with the terms and Provisions. of Section 6. 1 hereof. :

Section 4, 2. Allowance of. Penalty Claim. On the Effective L Date, a velar, . - - fe

under. section 502() of ERISA, in'the amount Ten Million Three Hundred Eighty Thousand.

Dollars ($10,380,000.00), shall be deemed assessed by the DOL and be deemed allowed and pony

“treated as a’ Class 380 Claim against Enron i in raccordance with Article XVI of the Plan’ v (the oe
- “Penalty Claim”). Lo faa

Section 4, 3. Dismissal of Enron Entities. On the Effective Date, and subject to *
the provisions of Article VII hereof, all claims and causes of action asserted in the DOL: Action —
against the. Debtors, their non-debtor affiliates and their current and former officers and directors

(other: than those individuals named in the DOL Action pursuant | to the DOL Complaint, dated
_ June 26, 2098) shall be deemed dismissed; with prejudice. . oo .

Section 4.4.. ‘Appointment of Fiduciary Committee. On the Effective Date, or oe

earlier if consented to by the DOL, State Street shall be released as Independent Fiduciary, on:
. behalf of the Enron Plans; provided, however, that, notwithstanding such release, State Street’ _
_ shall cooperate reasonably with the effective and prudent transition of fiduciary responsibility to.

the Named Fiduciaries.

- Section 4.5: DOL Confirmation Appeal. On the Effective Date, ‘the DOL shall -
take any-and all actions as:are necessary or reasonably requested by Enron:to cause- the
withdrawal of the appeal taken, by the DOL from the Confirmation Order, with prejudice. :

“Section 4.6. The. Enron Entities’ Indemnification. The: DOL agrees to hold.
each of the Debtors and their non-Debtor affiliates harmless from any claims for indemnification
and/or contribution which have been or could have been asserted against the Debtors. and their -
non-Debtor affiliates arising from or relating to the DOL Action, including, without limitation,
any claims for indemnification and/or contribution which have been or could have been asserted
by The orthern Trust Company arising from or relating to the DOL Action and the Enron
Plans. Such agreement to hold the Debtors and their non-Debtor affiliates harmless shall be
implemented solely throu gh distributions to be made pursuant to the compromise and settlement

_with the indemnified party or the reduction of any judgment which may be obtained against the. .
indemnified party in an amount equal to the distribution that such party would otherwise receive

' from the Debtors on account of such indemnified claim pursuant to the Plan. Enron shall use its
reasonable best efforts to defend against any claim asserted by any party for indemnification
which would give rise to an obligation pursuant to this Section 4,6, including, without limitation,
by seeking the subordination of any such claim. In the event that the Debtors determine to -

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compromise and settle any claim for indemnification and/or contribution against the: De )
covered by the provisions of this Section-4.6, such determination:shall be made only: upo!
prior written consent of the Secretary, which consent shall not be unreasonably withheld,

Section 4.7, Bar Order Order, The Consent Decree and the DOL. Approval Order: : : Loy

. shall, as.a condition to the effectiveness of such’ ‘compromise and settlement, contain’a provi
-. (a) barring any: claims against the Debtors and their non-debtor affiliates-by those individuals” we
. named in thé DOL Action pursuant to the Secretary’s Complaint, for indemnification arising *-.
*. from or relating to the claims asserted in the DOL Action and (b) to the extent permitted by.
ERISA, including, without limitation, Section.410 thereof, providing for the release of’ State. ~ °

Street’s liability for services provided. as Independent Fiduciary of the Enron Plans, except for oe oe :

State Street’ Ss Bross negligence, willful misconduct or breach of intentional fiduciary du

Section 4.8. Prohibited Transaction Exemption, The Settling Parties agree t that - os

this A seca’ together with the transactions contemplated by the Tittle Agreement, constitutes: wo .
a settlement agreement resulting from.the investigation of the Enron Plans conducted: bythe

DOL and is. a-settlement of litigation to which the DOL i is a party: within’ ‘the. meaning of the: os : =. oy

Class Exemption.

. _ Section 4.9. Sole Monetaty Contribution. Distributions made pursuant to oe
Section 32.1 ofthe Plan on account of the Enron Claim and the Penalty Claim shall-be the. full.
and sole monetary payments made by or on behalf of the Settling Defendants. to: the DOL in © |
connection with the Settlement. : Except as otherwise specified in this Agreement, the Settling :
Parties shall bear their own costs and expenses, including, without. limitation, attorneys’ “fees and
expenses, in connection with effectuating the Settlement and securing ; all necessary: court orders.

_and approvals with respect to the same.

Section 4:10. Acknowledgements Regarding Enron Claim. The. Settling”
Defendants agree and acknowledge that; unless this Agreement is terminated as. provided i in
Article VII hereof, distributions on account of the Enron Claim. must be paid regardless of |.
whether any court.or jury ultimately determines that the fault, if any, of the respective. Settling
Defendants is less in proportion to the Enron Plans’ damages than the distributions on account of
the Enron Claim. The DOL agrees and acknowledges that it has no right to seek additional oe,
sums from the Releasees based on the Released Claims, regardless of whether any court or jury"
ultimately determines that the fault, if any, of the Releasees is. greater in proportion to the ~
damages sought by the Named Plaintiffs than the distributions on account of the Enron. Claim.

Section 4, 11. Withdrawal of Committee Objection. On the Effective Date, the
Creditors’ Committee shall take any and all actions as are necessary to cause the withdrawal of
the Committee Objection, with prejudice.

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oo ARTICLE V
‘RELEASES AND COVENANT NOT TO § SUE

a - Section 5. 1. Release of. Enron Parties. On the Effective Date, and without the .
“peed for the’ execution and ‘delivery of additional documentation or the entry of any additional

~: «have irrevocably, absolutely.and unconditionally waived, released and forever discharged any’
~. ©. and all claims which’ she has or may have against the Debtors, their non-debtor affiliates, SFC;
ats. Stephen F. Cooper (“Cooper”), all current and former officers and directors of the Debtors and
“their non-debtor affiliates (other than The. Northern Trust Company and those individuals named.
inthe DOL Action pursuant to the Secretary’s. Complaint), the Creditors’ Committee, ‘current’ 28
and. former inembers of the Creditors’ Committee, and each of the foregoing’s agents,
- representatives, attorneys and other advisors, arising from, relating to, or in connection with the -
matters; transactions, acts and omissions asserted or that could have been asserted in the DOL»
. Action, including,: without limitation, any claims for an alleged failure ta sell or cause the sale of ©
~. - the common stock of Enron held in the Enron Savings Plan and ESOP during the period from:
and after December 2, 2001, (b) the Secretary, for and on behalf of herself and the DOL, shall.
permanently cease any other civil proceeding and civil investigation of the Debtors, their non-
-. debtor affiliates, SFC, Cooper, all current and former officers and directors of the Debtors and
~ - their non-debtor affiliates (other than The Northern Trust: ‘Company and those individuals named
‘in the DOL Action pursuant to the Secretary’s Complaint), the Creditors’ Committee, current
and former members of the Creditors’ Committee, and each of the foregoing’ s-agents, .
representatives, attorneys and other advisors, arising from, relating to, or in connection with the
_ - matters, transactions, acts and omissions asserted or that could have been asserted in the DOL
Action, and (c) except as expressly provided in this Agreement with respect to the allowance of .
the Enron Claim and the Penalty Claim, all claims from or relating to the actions asserted or that
could have been asserted against the Debtors and their non-debtor affiliates, and all proofs. of
claim filed in the Debtors’ Chapter 11 Cases by either State Street as Independent Fiduciary-on
behalf of the Enron Plans or the DOL in connection therewith, shall be deemed. to have been.

_ released. and expunged.

Section 5.2. Released Claims. The Released Claims shall include, but not be
limited to, any and all claims, demands, liabilities and causes of action of any nature whatsoever,
including, without limitation, claims for any and all losses, damages, unjust enrichment,
attorneys’ fees, disgorgement of fees, litigation costs, injunction, declaration, contribution,
indemtBcation or any other type or nature of legal or equitable relief, whether accrued or not,
whether already acquired or acquired in the future, whether known or unknown, in law or equity,
brought by way of demand, complaint, cross-claim, counterclaim, third-party claim or otherwise,
arising from or relating to the actions asserted or that could have been asserted in the Secretary’s |
Complaint, the DOL Claims or that would be barred by principles of res judicata had the claims
asserted in the Secretary’s Complaint or in the DOL Claims been fully litigated and resulted i ina

judgment or order.

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. orders of the Houston District Court or the Bankruptcy Court; except.as expressly provided in — . . -
‘this Agreement, (a) the Secretary, for and on behalf of herself and the DOL, shall be deemed: to
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. Section 5.3. DOL Release. On the Effective Date, the Debtors, their
debtor affiliates; the Creditors’-Committee, SFC and Cooper: shall be deemed to:have .: oe
irrevocably, absolutely and unconditionally waived, released and discharged any. and.al I claims: .

of whatever nature which they may have against the DOL, the Secretary, or arly of her oe Ay - oe

agents, employees or representatives, arising from or relating to the DOL. Action, the DOE... a
Claims, the Penalty Claim or any other proceeding and investigation, incident thereto; 0 any ©

other type or nature of legal-or ‘equitable relief, whether accrued or not, whether. already. soured fhe,

or acquired in the future, whether known or unknown in Jaw or in equity, including, without.

. limitation, claims for costs, fees or other expenses under the Equal Access to Justice Act, as~

amended, 28 U.S. C. § 2412.

“Section 5.4. "Releases Arion Settling Defendants. ““Bffective upon the entry

of the Consent Decree by the Houston District Court, each Settling Defendant absolutely: and :

---” unconditionally releases and forever discharges each Releasee from any and all Reléased Claims, o
_ including, without limitation, any and all claims for contribution or indemnification for such | ~

"=: Released Claims, or any other claims relating.to payment of the Enron Claim and the Penalty _
Claim. Notwithstanding the foregoing, if any Releasee who is not a signatory: to this Agreement ve
asserts.a claim against a Settling Defendant:arising out of the Released Claims, including, — :
without limitation, any and all claims for contribution or indemnification for: such Released >
Claims, or any other claims relating to payment ‘of thé Class Settlement Amount, then. the’ release
provided in this Section 5.4 in favor of such Releasee shall be null and void as against such.’
Settling Defendant, unless such claim by the non-signatory Releasee is asserted. against the
Settling Defendant as a counterclaim to a'claim asserted ‘by such Settling Deferidant against such’.--.
non-signatory Releasee arising out of the Released Claims, including, without. limitation; any and
all claims for contribution or indemnification for such Released Claims, or any ' other claims oe,

_ relating to the payment of the Enron Claim and the Penalty Claim. SO

Section 5.5. Persons and Claims Not Released. Nothing i in. this Agreement
releases or shall be deemed to release-any Person or claims other than as set forth i in the express
terms and provisions of this Agreement. The Releases expressly do not include, and this

Agreement does not in any way bar, limit, waive, or release, any claims against the Non-Settling woe

Defendants and those individuals named inthe DOL Action pursuant to the Secretary’: Ss.
Complaint. Neither this Agreement nor the releases to be given by the Settling: Defendants i in.
accordance with Section 5.3 hereof shall bar; limit, waive or release (a) any Claims: that Enron —

- may have against any individual Settling Defendant for breach of fiduciary duty owed to Enron,
as distinguished from any fiduciary duty under ERISA owed to the Enron Plans, or (b)-any other |
Claims under any federal or state statutes, regulations or common.law, other.than those expressly . .
covered by the releases provided for in Section 5.3 hereof, or (c) any Claims that any individual
Settling Defendant may have against Enron or any other individual Settling Defendant, arising
under any federal or state statutes, regulations or common law, other than those expressly
covered by the releases provided for in Section 5.3 hereof.

Section 5.6. Release as Defense. The DOL covenants and agrees that, in the
event that any Claim is filed by the DOL against any Releasee based on or arising from any
Released Claim, the foregoing Releases and agreements shall bea complete defense to any such
Claims against any of the respective Releasees.

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- Section’ 5: 1 Exp ung ement of Claims. Notwithstanding. the terms and

Clain ‘the Penalty Claim, shall be deemed released and expunged and the: Reorganized
~ Debtors shalt be. authorized to take any and all actions as may be necessary to.cause the release -
~ and: ‘expungement thereof to be reflected on n the Debtors’ claims registry in the. ‘Chapter 11 Cases.

ARTICLE VIO

"PLANS OF ALLOCATION .

~ Section 6. 1 _ Plans of Allocation of. the Enron Claim. The distribution of the.

- pr visions. of: Section 5.2 hereof, on the Effective Date, all Released Claims, other than the Enron.

oS ° - amourits to be distributed pursuant to the Plan on account of the Enron Claim shall be’ subject to... os
“two (2): separate Pians of Allocation to be proposed by the Named Plaintiffs i in the Tittle Action. oe

“The DOL: and the: Indépendent Fiduciary shall have the right to comment on or ‘object to the”
oe proposed. ‘Plans of Allocation submitted to the Houston‘District Court. The Plans of Allocation
area matter’ separate: and apart from this Agréement and the settlement between the Settling”
ve Parties, and no decision by the Houston District Court concerning the Plans of Allocation shall a
affect the: validity of this Agreement or finality of the Settlement-in any manner. ‘Nothing herein
.— shall constitute. approval or disapproval of the Plans of Allocation by the Settling Defendants, .
- and the Settling Defendants shall take no position, and have no responsibility, with respect to the
oe Plans of Allocation, except that Enron shall cooperate. reasonably with the Named Plaintiffs and
oo ‘their Lead Counsel i in making arran gements for: the implementation of the Plans of Allocation.

ARTICLE VII

TERMINATION

oo - Section 7.1. ‘Termination, This Agreement may be terminated by any ‘of the
Settling Parties, and thereupon become null and void, in the following circumstances:

@) ‘The Bankruptcy Court declines to approve any of the Bankruptcy Court -
_ Approval Orders by September: 15, 2005, unless such date is otherwise.extended; in writing, by: -
the Settling Parties, the PBGC, the Named Plaintiffs and the Independent Fiduciary; -

. _ (b) An order of the Bankruptcy Court denying approval of the Tittle
Agreement, the PBGC Agreement or this Agreement becomes a Final Order;

- (c) Any of the Bankruptey ¢ Court Approval Orders are reversed and such
reversal Become a F inal Order;

(d) The Houston District Court declines to approve or enter the Consent
Decree or declines to approve or enter the Tittle District Court Order; or

(e) Either of the District Court Approval Orders are reversed and such
reversal becomes a Final Order.

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Section 7. 2. + Consequences 6 of Termination of the Agreement! “aft the.
“Agreement is is. s terminated by the Settling Parties and rendered null and void for r any 7 feason.
specified i in Section 7. 1 hereof, the following shall occur: . Oe

(a). The DOL Action and the parties” claims and defenses’ in: ‘the .e Chapter i Ley
Cases shall for all purposes with respect to the Settling Parties revert to their status as of the day. ee

immediately prior to ‘the date hereof. aoe

o ~(b) ‘All Releases given under. or pursuant to this s Agreement, and all. Stipulated
Dismissals, shall be null-and void; none of the terms of the Agreement shall be effective. or’. .
enforceable; neither the fact nor the terms of this Agreement shall be offered: or received i in.
evidence i in the. DOL Action | or in any other action or proceeding for:any purpose, except. in’ an
action or ' proceeding arising under this Agreement or arising out of or relating t to the Final Order. ne

ARTICLE VIN
‘MISCELLANEOUS

Section 8.1. “Dispute Resolution. Except as otherwise provided herein; the. a
Bankruptcy. Court shall retain jurisdiction to determine any dispute or controversy: with: respect to.
the terms and conditions of this Agreement, the Committee Objection, the DOL Claims:and any.
and all matters arising from or in any way related to the Chapter 11 ‘Cases. ‘The Houston District. —
Court shall retain jurisdiction to determine any dispute or controversy regarding the Consent oo

Decree.

Section 8.2. Governing Law. This Agreement shall be governed by and:

"construed in accordance with the internal laws of the State of New York, without giving ‘effect to.

the conflict of laws or choice of law provisions thereof, except to the extent that the law. of the
United States govems any matter set forth herein, in which case such federal law. shall govern.

‘Section 8.3. Severability. The terms s and provisions of this Agreement are not. ee
severable in any respect. S I

Section 8.4. Amendment: This'A greement. may be modified, athended or.
supplemented only by written agreement signed by or on behalf of all Settling, Parties and, if
such modification, amendment or. supplement is to be executed and become effective subsequent
to the entry of the Consent Decree, only with the approval of the Houston District Court: and to
the extent of any modification, amendment or supplement of or to the Enron Claim, -with the

approval of the Bankruptcy Court.

Section 8.5. Waiver. The provisions of this Agreement may be waived only
by an instrument in writing executed by the waiving party. The waiver by any party of any
_ breach of this Agreement shal] not be deemed to be or construed as a waiver of any other breach, |

whether prior, subsequent, or contemporaneous, of this Agreement.

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“Construction. “None of the Settling Parties hereto shall be

Section & 6.

” Headings.

: eae 1. The headings of the Sections, paragriiphs and

ning: interpretation. hereof.

me and: to consummate the terns ‘of this Agreement.

wa A “implied, is “iatended or shall be construed to confer upon, or to give to, any person other than the.
. / + parties hereto, the DOL, the PBGC, the Named Plaintiffs, the Independent Fiduciary, the | -
“Reorganized Debtor Plan Administrator, the Disbursing Agent, SFC, Stephen F. Cooper and
their respective successors and assigns, any right, remedy or claim or by reason of this .
re Agreement or any: Covenant, written or stipulation thereof, and the covenants- arid stipulations and
oe agreements. contained in this Agreement are and shall be for the sole exclusive benefit of the -
>). parties hereto and their respective successors and assigns.

Section 8.10. Survival. All representations, warranties and covenants set forth
in this Agreement. shall be deemed continuing and shall survive the Effective Date and
termination or expiration of this Agreement.

oo > Section 8.11. Notices. All notices, demands or other communications
hereunder, other than notices given at the direction of the Houston District Court, shall be in. :
writing, and shallbe. deemed to have been duly given upon receipt if it is addressed to each of the
intended recipients as set forth below and personally delivered; sent by registered or certified: .
‘mail (postage prepaid), sent by confirmed facsimile, or delivered by reputable express overnight’. »

"courier:

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: “Section 8. 8. "Further Assurances. Each of the Settling Parties agrees, without - moe : .
< further consideration, and. as part of finalizing the Settlement hereunder, to take all such action as wa a
=the ¢ other Settling Parties may reasonably request in order. to effectuate the intent and Purposes ¢ of, Boa

“Section 8 9. - Third Party B eneficiaries. Nothing i in this Agree eement, express'o or ee © -
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Jf to the DOL, to:

_ UNITED STATES DEPARTMENT OF LABOR ae
- Office of the Solicitor.” LOE ee
Mailing Address:
_ Plan Benefits Security Division
Post Office Box 1914
Washington, D.C. 20013
_ Delivery Address: . -
_ 200 Constitution Avenitie, N. W.
. . Washington, D.C. 20210.
_ Telephone: (202) 693-5600
| Telecopy: : _ 202) 693-5610. -
Attention: ~ . Leslie’C. Perlman, Esq. °
Email: ‘periman, leslie@dol. gov

If to Enron, to:

' ENRON CORP. :
1221 Lamar Street, Suite 1600
Houston, Texas 77010.
Telephone: ° (713) 646-6017
Telecopy: (713) 646-3620 ©
~ Attention: | General Counsel

_ with a copy to:

WEIL, GOTSHAL & MANGES LLP.
767 Fifth Avenue

_ New York, New York 10153
Telephone: | (212):310-8000
Telecopy: (212) 310-8007
Attention: Brian S. Rosen, Esq.
Email: brian.rosen@weil.com

2 and-

“WEIL, GOTSHAL & MANGES LLP
700 Louisiana Street, Suite 1600
Houston, Texas 77002

Telephone: (713) 546-5000
Telecopy: (713). 224-951]
Attention: John B. Strasburger, Esq.
‘Email: john.strasburger@weil.com

NY2:¥1505864¥09¥w9xk09!, DOC¥43889.0003 17
Case 4:01-cv-03913 .. Document 1005-1 —_ Filed-on 07/14/05 in TXSD- Page 26 of 353-0

if to the Creditors’ Committee, to:

: MILBANK, TWEED, HADLEY & MCCLOY LP BL ae
- One Chase Manhattan Plaza Loe ety
- New York, New York. 10005
‘Phone: (212) 530-5000. ©
 Telecopy:- (212) 53025219
Attention: -. Susheel Kirpalani, Esq:
_ Email:. ski alani milbank. com |

-, Any Settling Party may ‘change the address | at which it-is to receive notice by written notice oe

delivered to the other Settling Parties j in the: manner described above.

‘Section 8. 12. Entire Agreement. This Agreement contains the full andé entire:

agreement among ‘the Settling Parties with regard 'to the subject hereof, and supersedes’ ally prior oe

negotiations, representations, promises or warranties, oral or otherwise, made by. any. party with:

respect to the subject matter hereof. . No party has entered into this Agreement i inrelianceon = °°. *

any other party’s prior representation, promise or warranty, oral or otherwise, except for those —-
that it may be expressly.set forth i in this Agreement. oy ee

oe . Section 8.13. Counterparts, This Agreement n may y be executed by exchange of
faxed executed signature pages, and any signature transmitted by facsimile for the. purpose of —
‘executing this Agreement shall be deemed. an original: signature for purposes of this Agreement:

This Agreement may be executed in two or more counterparts, each of which shall be: deemed to

be an original, but! all of which, taken together, shall constitute one and the:same ‘instrument.

Section 8. 14. Binding. Effect. This Agreement shall be binding v upon the | -
Settling Parties only upon the execution and. delivery of this Agreement by the Settling Parties

listed on the signature pages hereto. ° This Agreement is intended to bind and inureé.to the benefit

_ of the Settling Parties, and their respective assigns, heirs, administrators, executors and ©
successors. Notwithstanding the foregoing, this Agreement shall not, and is not intended t to,
bind any agency of the United States Government other than the. DOL.

NY2:31505864¥09¥w9xk09!. DOC¥43889.0003 ] 8
Case 4:01-cv-03913, Document 1005-1 Filed on 07/14/05 in TXSD Page 27 of 353.

. “IN WITNESS WHEREOF, the Setting Parties have executed this Agreement as of the a .
dates set t forth above. . .

“FOR THE SECRETARY: _
HOWARD M. RADZELY
Solicitor of Labor .
TIMOTHY D. HAUSER ©

_ Associate Solicitor: - So
“Plan Benefits Security Division a

LESLIE CANFIELD PERLMAN |
Counsel for General Litigation

“Leslie Canfield Perian

ROBIN SPRINGBERG PARRY
WAYNE BERRY
_ Senior Trial Attorneys
SONYA LEVINE
-MARY F. WILLIAMS.
_PETER DOLAN. ©
Trial Attorneys
THE UNITED STATES DEPARTMENT
- - OF LABOR |
Office of the Solicitor
Plan Benefits Security Division —
P.O. Box.1914 .
Washington, DC 20013 -
. Phone: (202) 693-5600
* Fax: (202 693-5610

NY2:¥1505864¥09¥w9xk09!. DOC¥43 889.0003 ] 9
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD —— Page 28 of 353

THE SETTLING DEFENDANTS:

oi foce ten

[rian S. Rosen, Esq.
[sian GOTSHAL & MANGES LLP
767 Fifth Avenue
New York, New York 10153
Phone: (212) 310-8000
Fax: (212) 310-8007
Counsel for Enron Corp.

By:

Susheel Kirpalani, Esq.
MILBANK, TWEED, HADLEY
& McCLOY LLP
One Chase Manhattan Plaza
New York, New York 10005
Phone: (212) 530-5000
Fax: (212) 530-5219
Counsel for the Creditors’ Committee

NY2:\1505864\0\W 9X K09!.DO0CV43889.0003 20
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD = Page 29 of 353

NY2:¥1505864¥09¥w9xk09!. DOC¥43889.0003

THE SETTLING DEFENDANTS:

By:

By:_

20

Brian S. Rosen, Esq. .
WEIL, GOTSHAL & MANGES LLP
767 Fifth Avenue

’ New York, New York 10153.

Phone: (212) 310-8000
Fax: (212) 310-8007
Counsel for Enron Corp.

Susheel Kirpalani, Esq. .
MILBANK, TWEED, HADLEY
& McCLOY LLP
One Chase Manhattan Plaza
New York, New York 10005
Phone: (212) 530-5000
Fax: . (212) 530-5219
Counsel for the Creditors’ Committee
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD._- Page 30.of 353 --

 EXHIBITA

- LIST OF EMPLOYEE CLAIMS

NY2:¥1505864¥09¥w9xk09!. DOC¥43889.0003
Case 4:01-cv-03913

Claimant

ABDMOULAIE MANSOOR

EMP NAME: ABDMOULAIE, MANSOOR
1714 CHESTNUT RIDGE

KINGWOOD, TX 77339-4031

Claim
Number

864402

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/10/2002

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD Page 31 of 353

cc*

ETSsc

$640,262.00

. Date:
Time:

07/11/2005
8:06:00 PM

ABEL, CHRISTOPHER B.

EMP NAME: ABEL, CHRISTOPHER B (CHRIS)
1510 CRESCENT GREEN DR.

HOUSTON, TX 77094

1486902

10/15/2002

CORP

$71,733.71

CRUZ ABILA

EMP NAME: ABILA, CRUZ J
P.O. BOX 65

BARSTOW, TX 79719

2145500

10/31/2002

CORP

$0.00

ABNER JACQUELINE

EMP NAME: ABNER, JACQUELINE E
14202 BEAU HARP DR

HOUSTON, TX 77049

1700900

10/15/2002

CORP

$348.21

ABSHIRE, KEVIN SCOTT

EMP NAME: ABSHIRE, KEVIN S (SCOTT)
1111 VALLEY COMMONS DRIVE
HUFFMAN, TX 77336

1896502 —

10/15/2002

CORP

$112,598.88

ADAME, ROBERT

EMP NAME: ADAME, ROBERT
3415 DRY CREEK
PASADENA, TX 77505

623702

10/04/2002

CORP
CORP

$9,581.79
$0.00
$9,581.79

ADAMS CYNTHIA L

EMP NAME: ADAMS, CYNTHIA L (CINDY)
13222 CHAMPIONS CTR #220
HOUSTON, TX 77069-2340

1517100

10/15/2002

CORP

$0.00

ADAMS DAVID M.

EMP NAME: ADAMS, DAVID
6355 SE MONTGOMERY DR
MILWAUKIE, OR 97222

1167700

10/11/2002

CORP

$196,653.38

ADAMS FRANKIE T

EMP NAME: ADAMS, FRANKIE T
7955 ROCKHILL

HOUSTON, TX 77061-0000

462101

09/16/2002

“CORP

$0.00

ADAMS NELDA R.

EMP NAME: ADAMS, NELDA R
4807 KIRKWALL

SUGAR LAND, TX 77479

1730501

10/15/2002

CORP |

$161,585.95

ADAMS, NORMAN R.

EMP NAME: ADAMS, NORMAN
61S HIGH RD.

TYGH VALLEY, OR 970639745

658000

10/07/2002

CORP
CORP

$30,064.47
$30,064.47
$60,128.94

ADAMS TONY L

EMP NAME: ADAMS, TONY
960 SW 7TH ST
DUNDEE, OR 97115

715300

10/08/2002

CORP

$504,961.28

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

Page 1 of 300
Claimant

Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD = Page 32 of 353

Claim
Number

ADAMS TONY

EMP NAME: ADAMS, TONY
960 SW 7TH ST

DUNDEE, OR 97115

718805

_ Date

Filed

Exhibit A
Tittle Settlement Order

10/08/2002

Debtors

Objected To
Amount

cc

CORP

$0.00 -

Date:
Time:

07/11/2005
8:06:00 PM

ADAMSKI, JOHN

EMP NAME; ADAMSKI, JOHN
21130 SW MURPHY, LN.
BEAVERTON, OR 97007

1762200

10/15/2002

CORP

$164,518.70

MELVIN C. ADICKES
EMP NAME: ADICKES, MELVIN C
188 GREENLEAF LN
CONROE, TX 77304

2229300

12/10/2002

CORP

$925,344.00

ADKINS, MALCOLM S

EMP NAME: ADKINS, MALCOLM S
3110 BOWLING GREEN DR
WALNUT CREEK, CA 94598-0000

1614902

10/15/2002

EESO

$5,481.00 -

ADKINS, RONDA J

EMP NAME: ADKINS, RONDA
2430 NE SARATOGA ST
PORTLAND, OR 97211

1656502

10/15/2002

CORP

$0.00

AFFELT SCOTT E

EMP NAME: AFFELT, SCOTT E
210 SCOTNEY GLEN CIR
ALPHARETTA, GA 300227564

1501704

10/15/2002

CORP

$316,230.00

AGUILAR ADOLFO

EMP NAME: AGUILAR, ADOLFO G
1556 CO RD 2005

PEARSALL, TX 78061

364400

09/03/2002

CORP

$8,650.00

AGUILAR JR FIDENCIO

EMP NAME: AGUILAR, FIDENCIO
1730 SPRINGTIME CT NE
SALEM, OR 97303

1511901

10/15/2002

CORP

$206,120.88

AGUILAR TRACY

EMP NAME: AGUILAR, TRACY
1730 SPRINGTIME CT NE
SALEM. OR 97303

1511801

10/15/2002

CORP

$84,168.93

AIRRIESS, ERIC G

EMP NAME: AIRRIESS, ERIC.
20367 NOBLE LANE

WEST LINN, OR 97068

1917102

10/15/2002

CORP

$6,621.04

AKHAVE, BILLIE S

EMP NAME: AKHAVE, BILLIE S
1 BENDING OAK

HOUSTON, TX 77024-0000

1504403

10/15/2002

CORP

$551,531.61

ALCORN DAVID

EMP NAME: ALCORN, DAVID
10630 S KRAXBERGER RD
CANBY, OR 970139369

1568203

10/15/2002

CORP

$249,360.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

Page 2 of 300
Case 4:01-cv-03913

Claimant

ALDERMAN, LISA B

EMP NAME: ALDERMAN, LISA B
2522 WAUGH DRIVE
HOUSTON, TX 77006-0000

Claim
Number

850202

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/10/2002

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD__—— Page 33 of 353

cc*

CORP

$50,318.77

Date:
Time:

07/11/2005
8:06:00: PM

ALDERMAN NEWTON E

EMP NAME: ALDERMAN, NEWTON
10975 SE EASTMONT DR
GRESHAM, OR 97080

837602

10/10/2002

CORP

$5,280.00

ALDERMAN NEWTON

EMP NAME: ALDERMAN, NEWTON
10975 SE EASTMONT DR
GRESHAM, OR 97080

837700

10/10/2002

CORP

$395,321.32

ALEXANDER DENNIS J

EMP NAME: ALEXANDER, DENNIS J
5781 FM 1094

SEALY, TX 77474-0000

1539003

10/15/2002

CORP

$1,265,973.17

ALEXANDER, DWIGHT RUSSELL
EMP NAME: ALEXANDER, DWIGHT R
18 DOESKIN PLACE

THE WOODLANDS, TX 77382

1755301

10/15/2002

CORP

$0.00

ALEXANDER JAMES C

EMP NAME: ALEXANDER, JAMES C
7103 WOODLAND OAKS DR.
MAGNOLIA, TX 77354-0000

1832603

10/15/2002

CORP
CORP

$356,164.99
$4,650.00
$360,814.99

ALEXANDER NEILA

EMP NAME: ALEXANDER, NEIL
20350 S SOUTHEND RD
OREGON CITY, OR 97045

661200

10/07/2002

CORP
CORP

$140,800.00
$0.00
$140,800.00

ALEXANDER SUSAN D.

EMP NAME; ALEXANDER, SUSAN D
7103 WOODLAND OAKS DRIVE
MAGNOLIA, TX 77354

1832402

10/15/2002

CORP
CORP

$250,142.17
$4,650.00
$254,792.17

ALFONSO JEFFREY M

EMP NAME: ALFONSO, JEFFREY
59087 WHITETAIL AV

ST HELENS, OR 97051

1667800

10/15/2002

CORP

$9,200.00

ALFORD-AKINS, DENIS D.

EMP NAME: ALFORD-AKINS, DENISE
25201 S. HOLMAN RD.

ESTACADA, OR 97023

888900

10/10/2002

“CORP |

$205,677.28

ALIX PEGGY A

EMP NAME: ALIX, PEGGY A
7203 TIMBERLAKE DR
SUGAR LAND, TX 77479-0000

1177403

10/1 4/2002

CORP

$0.00

ALLAIS, VICTORIA

EMP NAME: ALLAIS, VICTORIA
520 COLLINS CREST
GLADSTONE, OR 97027

898400

10/11/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$72,800.00

Page 3 of 300
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD Page 34 of 353 |

Claimant

Claim
Number

Exhibit A
Tittle Settlement Order

Date
Fited

Debtors

Objected To
Amount

cc

Date:
Time:

07/11/2005
8:06:00 PM

ALLAIS, WALTER V.

EMP NAME: ALLAIS, WALTER
520 COLLINS CREST
GLADSTONE, OR 97027

897200

10/41/2002

CORP

$159,000.00

ALLARIO JOHN F

EMP NAME: ALLARIO, JOHN F
51 FOREST AVENUE

UNIT #72

OLD GREENWICH, CT 06870

1178903

10/11/2002

CORP
CORP

$0.00
$0.00.
$0.00

ALLCOCK, CHARLES E

EMP NAME: ALLCOCK, CHARLES
5524 SW HAMILTON ST
PORTLAND, OR 97221

1656402

10/15/2002

CORP

$349,888.90

ALLEN, AMOS M

EMP NAME: ALLEN, AMOS
ALLEN

6809 SE 151ST AVE
PORTLAND, OR 972366648

1251000

10/11/2002

CORP

$0.00

ALLEN BUDDY R

EMP NAME: ALLEN, BUDDY
7300 SE THOMPSON RD
MILWAUKIE, OR 97222

904700

10/15/2002

CORP

$522,523.04

ALLEN JAYNE M

EMP NAME: ALLEN, JAYNE
34250 CHURCH RD
WARREN, OR 97053

891800

10/10/2002

CORP

$184,216.96

ALLEN, KELLY B.

EMP NAME: ALLEN, KELLY B
903 BLUE WILLOW
HOUSTON, TX 77042

2212503

11/27/2002

CORP

$2,364.00

ALLEN, KENNETH D

EMP NAME: ALLEN, KENNETH D (KEN)
2219 LIVE OAK

PORTLAND, TX 78374

848800

10/10/2002

CORP

$289,000.00

ALLEN KIMBERLY A

EMP NAME: ALLEN, KIMBERLY
5828 NE EVERETT ST
PORTLAND, OR 97213

1941200

10/15/2002

CORP

$52,819.20

ALLEN PHILLIP K

EMP NAME: ALLEN, PHILLIP K
8855 MERLIN CT

HOUSTON, TX 77055-0000

1757907

10/15/2002

CORP

$0.00

ALLISON JOHN

EMP NAME: ALLISON, JOHN
1443 HAZEL DELL RD
CASTLE ROCK. WA 98611

521702

09/24/2002

CORP

$500,000.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

Page 4 of 300
Case 4:01-cv-03913

Claimant

ALLISON PAMELA J

EMP NAME: ALLISON, PAMELA J
2035 PEMBROKE BAY DR
LEAGUE CITY, TX 77573-0000

Claim
Number

7048000

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/11/2002

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD_ Page 35 of 353

cc*

CORP

$166,786.00

. Date:
Time:

07/11/2005
8:06:00 PM

ABEL ALMENDAREZ SR

EMP NAME: ALMENDAREZ, ABEL
706 N 12TH

CARRIZO SPRING, TX

485300

09/20/2002

CORP

$34,686.67

ALMOINA DENISE G

EMP NAME: ALMOINA, DENISE G
11711 MEMORIAL DR #109
HOUSTON, TX 77024-0000

1625000

10/15/2002

CORP

$11,324.07

ALSTON ROBERT L

EMP NAME: ALSTON, ROBERT L (BOB)
814 COUNTRYSIDE PLACE
CARLSBAD, NM 88220-0000

1666602

10/15/2002

CORP
CORP

$229,286.66
$4,650.00
$233,936.66

ALSUP, ROYE GENE
EMP NAME: ALSUP, ROYE
25918 NE BUTTEVILLE RD
AURORA, OR 97002

889100

10/10/2002

CORP

$253,255.49

ALTMAN CLIFFORD A

EMP NAME: ALTMAN, CLIFFORD
15032 SE DEL REY AV
MILWAUKIE, OR 97267

675600

10/07/2002

CORP

$84,125.60

ALVAREZ AZALEA SALLY

EMP NAME: ALVAREZ, AZALEA S (SALLY)
7235 FAUNA

HOUSTON, TX 77061-0000

1464901

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

ALVAREZ, RAMON J

EMP NAME: ALVAREZ, RAMON J (RAY)
8909 FIRST AVENUE

SILVERSPRING, MD 20910-0000

1854402

10/15/2002

CORP

$99,662.75

ALVIAR, ELMA

EMP NAME: ALVIAR, ELMA
4410 NW NESKOWIN AVE
PORTLAND, OR 97229

865000

10/10/2002

CORP

$240,339.58

ALVIS CONSTANCE R

EMP NAME: ALVIS, CONSTANCE R (CONNIE)

2351 ORIENT AVE
LOGAN, IA 51546-0000

1583002

10/15/2002

“CORP

$360,053.81

AMABILE, RICHARD W

EMP NAME: AMABILE, RICHARD W
23954 LOST SPUR

NEW CANEY, TX 773574718

772202

10/09/2002

CORP’

$326,348.95

AMAN GAYLE M

EMP NAME: AMAN, GAYLE
9420 SW 165 PL
BEAVERTON, OR 97007

1939902

10/15/2002

CORP

$211,332.51

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

Page 5 of 300
Case 4:01-cv-03913

Claimant

AMAN HASSAN

EMP NAME: AMAN, HASSAN
2747 SE 35 PL

PORTLAND, OR 97202

Claim
Number

737602

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/08/2002

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD Page 36 of 353

cct

CORP

$260,974.37

- Date:
Time:

07/11/2005
8:06:00 PM

AMERO JOAN

EMP NAME: AMERO, JOAN
3936 SE HARRISON ST
PORTLAND, OR 97214

829602

10/10/2002

CORP

$214,000.00

ANDERS, KEVIN R

EMP NAME: ANDERS, KEVIN
41242 SE PORTER RD
ESTACADA, OR 97023

1966000

10/15/2002

CORP

$131,582.12

ANDERS K LARRY

EMP NAME: ANDERS, LARRY
23620 S SPRINGWATER ROAD
ESTACADA, OR 97023

1146200

10/11/2002

CORP

$99,117.00

ANDERSON CHRISTINE K

EMP NAME: ANDERSON, CHRISTINE
16067 SW DEWBERRY LN

TIGARD, OR 97223

924702

10/11/2002

CORP

$18,039.60

ANDERSON ELLA V

EMP NAME: ANDERSON, ELLA
14208 SE 14 ST

VANCOUVER, WA 98684

960800

10/11/2002

CORP
CORP

$0.00
$73,643.04
$73,643.04

ANDERSON, GARY RAY

EMP NAME: ANDERSON, GARY
21230 N. E. MCCORMICK HILL RD.
HILLSBORO, OR 97123

1866400

10/15/2002

CORP

$191,541.36

ANDERSON, GARY B.

EMP NAME: ANDERSON, GARY B
5927 E. 79TH PLACE

TULSA, OK 74136

1215000

10/11/2002

CORP

$99,481.00

ANDERSON KENTON L

EMP NAME: ANDERSON, KENTON L (KEN)
4728 SOUTH 165TH

OMAHA, NE 68135-0000

1945600

10/15/2002

CORP

$300,000.00

ANDERSON LAWRENCE

EMP NAME: ANDERSON, LAWRENCE
3700 E FERNWOOD RD

NEWBERG, OR 97132

1901300

10/15/2002

“CORP

$153,920.00

ANDERSON, LINCOLN

EMP NAME: ANDERSON, LINCOLN W
PO BOX 88

QURAY, CO 81427

1511400

10/15/2002

CORP"

$109,100.00

ANDERSON MARCIA K

EMP NAME: ANDERSON, MARCIA K
1300 SOUTH 80TH STRET

OMAHA, NE 68124-0000

1650502

40/15/2002

CORP

$94,235.07

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

Page 6 of 300
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD —— Page 37 of 353

Exhibit A
Tittle Settlement Order

Claimant Claim Date Debtors
Number Filed

Objected To
Amount

cc*

ANDERSON, PETER N. 2016902 10/16/2002 CORP
EMP NAME: ANDERSON, PETER N

22 CAROLANE TRAIL @ CORP
HOUSTON, TX 77024

$0.00
$0.00
$0.00

Date:
Time:

07/11/2005
8:06:00 PM

ANDERSON RICHARD 575502 10/02/2002 EBS, INC
EMP NAME: ANDERSON, RICHARD (DICK)

2019 NE 167 PL

PORTLAND, OR 97230-5668

$383,270.01

ANDERSON ROBERT 1154000 40/11/2002 CORP
EMP NAME: ANDERSON, ROBERT (BOB)

9231 OAKLAND AVE NE

ALBUQUERQUE, NM 87122-0000

$21,406.00

ANDERSON SIGURD 786101 10/08/2002 EBS, LP
EMP NAME: ANDERSON, SIGURD

18320 NW ODELL CT ~

PORTLAND, OR 97229-0000

$5,010.00

ANDERSON STEVEN 1869300 10/15/2002 CORP
EMP NAME: ANDERSON, STEVEN

PO BOX 1736

HERMISTON, OR 97838

$258,800.00

ANDERSON THANA M 1233502 10/11/2002 CORP
EMP NAME: ANDERSON, THANA

795 NE TERRITORIAL RD

CANBY, OR 97013

$8,320.00

ANDERSON TOBY J 1741600 - 10/15/2002 CORP
EMP NAME: ANDERSON, TOBY

PO BOX 1155

OREGON CITY, OR 97045

$228,835.20

ANDERSON, TRAVIS R 1611300 10/15/2002 CORP
EMP NAME: ANDERSON, TRAVIS

1400 SW ASHWOOD LN

MADRAS, OR 97741

$145,000.00

ANDERSON WADE J 1766800 10/15/2002 CORP
EMP NAME: ANDERSON, WADE

4195 EDISON RD

SILVERTON, OR 97381

$44,416.00

ANGLIN, NORA F. 1932100 10/15/2002 CORP
EMP NAME: ANGLIN, NORA ,

POB 243

EAGLE CREEK, OR 97022

$75,655.32

ANGULO EMMANUEL 1671802 10/15/2002 CORP
EMP NAME: ANGULO, EMMANUEL

9855 SW HIALEAH PL

BEAVERTON, OR 97008

$170,307.00

ANKENBRAND FRANK GC 919600 10/11/2002 CORP
EMP NAME: ANKENBRAND, FRANK C

7366 DREXEL

RALSTON, NE 68127-0000

. $1,073,090.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

Page 7 of 300
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD —— Page 38 of 353

Exhibit A Date: = 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM
Claimant Claim Date Debtors Objected To CC*
Number Filed : Amount
ANNAMALAI! SIVALINGAM(SIVA) 1459701 40/15/2002 EECC $2,850.00 -U
EMP NAME: ANNAMALAI, SIVALINGAM(SIV
707 PICKFORD DRIVE ® EECC $4,650.00 P
KATY, TX 77450-0000 $7,500.00
ANNEN ROBERT R 1165500 10/11/2002 CORP $56,537.00 P
EMP NAME: ANNEN, ROBERT
6696 HOGAN DR N
KEIZER, OR 97303
ANNING WILLIAM 558803 09/30/2002 CORP $147,800.00 P
EMP NAME: ANNING, WILLIAM
6176 LAUDERBACH ST NE
SALEM, OR 97303
ANTHAUME, MARY M, 881002 10/10/2002 CORP $22,580.00  U
EMP NAME: ANTHAUME, MARY M
2802 BROADMOOR CIRCLE ~
MISSOURI CITY, TX 77459
ANZALONE PHYLLIS M 1455002 10/15/2002 EESO $10,000.00 P
EMP NAME: ANZALONE, PHYLLIS M
7622 BOBBITT LANE
HOUSTON, TX 77055
APASU, YAO 2016003 40/16/2002 ENA $21,600.00 U
EMP NAME: APASU, YAO
2510 LAKE CREST COURT
PEARLAND, TX 77584
APASU, YAO 2016102 10/16/2002 CORP $31,175.64 U-
EMP NAME: APASU, YAO
2510 LAKE CREST CT GORP $0.00 P
PEARLAND, TX 77584-0000 $31,175.64
APKE, BETH A. 1228901 10/11/2002 CORP $0.00 U
EMP NAME: APKE, BETH A
5314 AVONDALE DRIVE CORP $0.00 P
SUGAR LAND, TX 77479-3812 $0.00
APOLLO BETH W 1572802 10/15/2002 CORP $40,000.00 U
EMP NAME: APOLLO, BETH W
5216 LAUREL STREET GORP $0.00 P
BELLAIRE, TX 77401-0000 ENA U
ENA P
ENW LLG U:
ENW LLC P
$40,000.00
APPEL, ERIC D 714701 10/08/2002 CORP $0.00 U

EMP NAME: APPEL, ERIC D
7718 GREEN PATH COURT
SUGAR LAND, TX 77479

* Classification: S=Secured; P=Priority; UsUnsecured; A=Administrative; ? = Undetermined

Page 8 of 300
Case 4:01-cv-03913

Claimant

APPLEBY PRESTON

EMP NAME: APPLEBY, PRESTON V
121 N STARK STREET

BOX 62

BENNINGTON, KS 67422

Claim
Number

2068600

Document 1

Date
Filed

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Exhibit A
Tittle Settlement Order

10/21/2002

Debtors

Objected To
Amount

cc*

CORP

$75,000.00

. Date:
Time:

07/11/2005
8:06:00 PM

APPLEGATE, PAUL J.

EMP NAME: APPLEGATE, PAUL
14674 SE SUNNYSIDE RD

PMB 180

CLACKAMAS, OR 97015

1715000

10/15/2002

CORP

$146,960.00

ALEJANDRO ARAMBURO

EMP NAME; ARAMBURO, ALEJANDRO (ALEX)
818 LARK DRIVE

PASADENA, TX 77503

2317602

10/15/2002

CORP

$152,427.42

ARCHER JACKSON L

EMP NAME: ARCHER, JACKSON
65358 HWY 74

IONE, OR 97843

1930900

10/15/2002

CORP

$241,720.72

ARMOGIDA, JAMES A

EMP NAME: ARMOGIDA, JAMES A (JIM)
3231 ALLEN PARKWAY

APT 1201

HOUSTON, TX 77019

1490904

10/15/2002

CORP

$12,573.00

ARMS, DWIGHT

EMP NAME: ARMS, DWIGHT
1834 SE 61 CT

HILLSBORO, OR 97123

1960500

10/15/2002

CORP

$190,655.00

ARMSTRONG, DOUGLAS M.

EMP NAME: ARMSTRONG, DOUGLAS
P.O. BOX 308

IRRIGON, OR 97844

2241900

10/11/2002

CORP

$210,244.00

ARMSTRONG JULIE L

EMP NAME: ARMSTRONG, JULIE L
5151 EDLOE #11111

HOUSTON, TX 77005

883002

10/10/2002

CORP

$110,000.00

ARMSTRONG, KATHY

EMP NAME: ARMSTRONG, KATHY
3304 FOUNTAINVIEW 8
HOUSTON, TX 77057-0000

845402

10/10/2002

CORP
CORP

$3,988.86
$0.00
$3,988.86

ARMSTRONG, RANDALL R

EMP NAME: ARMSTRONG, RANDALL R (RANDY)

277 HAZELTINE DR
DE BARY, FL 32713

1820402

70/15/2002

CORP

$393,744.59

KNUDSEN SHEILA A

EMP NAME: ARMSWORTH, SHEILA A
(KNUDSEN)

1605 WOODHEAD STREET
HOUSTON, TX 77019-0000

1139802

10/11/2002

CORP

$833,952.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD Page 40 of 353

Claimant

ARNESEN RICHARD A
EMP NAME: ARNESEN, RICHARD
PO BOX 1348 @
SCAPPOOSE, OR 970561348

Claim
Number

2056400

Date
Filed

10/15/2002

Tittle Settlement Order

Debtors

Objected To CC*
Amount

CORP

$240,000.00 -P

Date: 07/11/2005
Time: 8:06:00 PM

ARNOLD, EDWARD D

EMP NAME: ARNOLD, EDWARD
14809 SE VALENCIA DR APT 54
VANCOUVER, WA 986839278

839602

10/10/2002

CORP

$92,306.42 -P

ARNOLD, GAY B.

EMP NAME: ARNOLD, GAY B (GAY ARNOLD)
15714 PINYON CREEK DR

HOUSTON, TX 77095

1377302

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

ARNOLD. JAMES J

EMP NAME: ARNOLD, JAMES J (JEFF)
1355 SUMMER TERRACE

SUGAR LAND, TX 77479-0000

1589602

10/15/2002

CORP

$588,652.69 U

ARNOLD RONNY D

EMP NAME: ARNOLD, RONNY D (RON)
5101 YO ROAD

ROSWELL, NM 88201-0000

1387601

40/15/2002

CORP

$0.00 P

ARNTSON JK

EMP NAME: ARNTSON, J KREGG
6344 SW HAMILTON WAY
PORTLAND, OR 97221

1817703

10/15/2002

UNKNOWN

$0.00 U

ARTESI JOSEPH J

EMP NAME: ARTESI, JOSEPH J
411 PARSON BROWN WAY
LONGWOOD, FL 32750

418200

09/12/2002

CORP

$26,311.00 U

ASANTE, BENJAMIN

EMP NAME: ASANTE, BENJAMIN (BEN)
16127 FONDREN GROVE

MISSOURI CITY, TX 77489

1712502

10/15/2002

CORP

$98,950.00 U

ASCHE, RICK G

EMP NAME: ASCHE, RICK
29729 SW OLD WELL RD
WEST LINN, OR 97068

2004302

10/16/2002

CORP

$151,820.00 P

ASCHWEGE DOUGLAS S

EMP NAME: ASCHWEGE, DOUGLAS S (DOUG)
14008 EMILINE ST

OMAHA, NE 68138-6259

692902

10/07/2002

CORP

$285,554.00 U

ASHMORE, GARRETT A

EMP NAME: ASHMORE, GARRETT A
1034 CASCADE CREEK

KATY, TX 77450

1376904

10/15/2002

CORP

$31,500.00 U

ATHENS GENEVIEVE S

EMP NAME: ATHENS, GENEVIEVE S
6909 SE 36TH AVE .
PORTLAND, OR 97202-0000

551902 .

10/01/2002

“EBS, INC’

$26,613.62 | U.

* Classification: S=Secured; P=Priority; U=-Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

AUCOIN MURPHY

EMP NAME: AUCOIN, MURPHY
525 BRULE GUILLOT RD
THIBODEAUX, LA 70301

Claim
Number

2027800

Document 1005-1

Tittle Settlement Order

Date
Filed

10/17/2002

Exhibit A

Debtors

Objected To
Amount

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cc

CORP

$8,010.94

Date: 07/11/2005

Time: 8:06:00 PM

AUNE, STACEY A

EMP NAME: AUNE, STACEY A
9122 SANDTOWN LANE
HOUSTON, TX 77064

1477803

10/15/2002

CORP
CORP

$0.00 ~

$0.00
- $0.00

AUSTIN, KEITH W.

EMP NAME: AUSTIN, KEITH W
10802 HARVEST DUN DR.
HOUSTON, TX 77084

1994000

10/15/2002

CORP

$1,176,000.00

AVERILL, COLETTE

EMP NAME: AVERILL, COLETTE
2550 NE 30TH

PORTLAND, OR 97212

1347602

10/15/2002

CORP

$53,088.75

AVS, MALLIKARJUN

EMP NAME: AVS, MALLIKARJUN (MALLIK)

3206 FONTAINE DR
PEARLAND, TX 77584

1823003

10/15/2002

CORP ©

CORP

$6,176.18
$2,385.00
$8,561.18

AYERS, JEANINE

EMP NAME: AYERS, JEANINE
11915 SE LINCOLN
PORTLAND, OR 97216

850600

10/10/2002

CORP

$35,615.36

BABB MARTHA E

EMP NAME: BABB, MARTHA E (MARCY)
PO BOX 740428

HOUSTON, TX 77274-0428

1784003

10/15/2002

$39,721.00

BABITZKE BUFORD W

EMP NAME: BABITZKE, BUFORD W
1100 WALTER WILMETH DR
SPEARMAN, TX 79081-0000

515800

09/24/2002

CORP

$287,100.00

BADEER, ROBERT T.

EMP NAME: BADEER, ROBERT T (BOB)
2122 ALBANS RD

HOUSTON, TX 77005

1744704

10/15/2002

CORP

$0.00

BAGGENSTOS JAMES H

EMP NAME: BAGGENSTOS, JAMES
PO BOX 802

NORTH PLAINS, OR 97133

1646602

10/15/2002

CORP

$279,760.00

BAGWELL, JENNIFER JOYCE

EMP NAME: BAGWELL, JENNIFER J
2919 GEORGETOWN STREET
HOUSTON, TX 77005

2049300

10/18/2002

CORP
CORP

$0.00
$0.00
$0.00

BAHRAMIAN, MOHAMMAD

EMP NAME: BAHRAMIAN, MOHAMMAD
15595 SW SNOWY OWL LN
BEAVERTON, OR 97007

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

856502

10/10/2002

CORP

". $172,308.00

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Claimant

Case 4:01-cv-03913

Claim
Number

Document 1005-1

Filed on 07/14/05 in TXSD ‘Page 42 of 353

Exhibit A
Tittle Settlernent Order

Date
Filed

Debtors

Objected To
Amount

cc*

. Date:
Time:

07/11/2005
8:06:00 PM

BAIARDI LORENZA A

1702600

EMP NAME: BAIARDI, LORENZA A (TONI)

6115 INWAY
SPRING, TX 77389-0000

10/15/2002

CORP

. $187,984.09

BAIER, JENNIFER

EMP NAME: BAIER, JENNIFER R
1153 CHACO AVE
FARMINGTON, NM 87401

1736200

10/15/2002

CORP

$80,545.00

BAILEY, JULIE M

EMP NAME: BAILEY, JULIE
14910 NE 47 ST
VANCOUVER, WA 98682

1234502

10/11/2002

CORP

$127,600.00

RICHARD J. BAILEY

EMP NAME: BAILEY, RICHARD
16060 S SANDALWOOD RD
OREGON CITY, OR 97045

2235500

12/12/2002

CORP
CORP

$45,583.04
$4,650.00
$50,233.04

BAILEY ROXANNE F

EMP NAME: BAILEY, ROXANNE
15895 SW 146 AV

TIGARD, OR 97224

894502

10/10/2002

CORP

$255,061.52

BAIR, GARY

EMP NAME: BAIR, GARY
1603 SUMMERWOOD TRAIL
HIXSON, TN 37343

411900

09/10/2002

CORP

$2,748.00

BAIRD WENDY L

EMP NAME: BAIRD, WENDY L
8416 SINGAPORE COURT
ORLANDO, FL 32817-0000

942400

10/44/2002

CORP
CORP

$0.00
$0.00
$0.00

BAKER ALDEN L

1493702

EMP NAME: BAKER, ALDEN L (LEE)

1515 MARYLAND ST
HOUSTON, TX 77006-1873

10/15/2002

CORP

$79,966.00

BAKER, AMY R,

EMP NAME: BAKER, AMY R
2802 SANDHILL

MIDLAND, TX 79705

1547600

10/15/2002

CORP

$0.00

BAKER BILL L

EMP NAME: BAKER, BILL
69913 NICK THOMAS RD
RAINIER, OR 97048

1732303

10/15/2002

CORP

$307,247.48

BAKER DAWN R

EMP NAME: BAKER, DAWN
11163 SE BLUFF RD
SANDY, OR 97055

1791402

10/15/2002

CORP

$141,052.50

BAKER, ELLEN G

1710300

EMP NAME: BAKER, ELLEN G (GAY)

4107 FORDHAM ROAD N W
WASHINGTON, DC 20016

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00

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Case 4:01-cv-03913 Document 1005-1 ‘Filed on 07/14/05 in TXSD__— Page 43 of 353

Claimant

Claim
Number

Date
Filed

Exhibit A
Tittle Settlernent Order

Debtors

Objected To
Amount

cc*

Date:
Time:

07/11/2005
8:06:00 PM

BAKER GAIL A e
EMP NAME: BAKER, GAIL

6811 SW 13 AV

PORTLAND, OR 97219

1783900

10/15/2002

CORP

$158,700.00

BAKER, HENRY L

EMP NAME: BAKER, HENRY L
13619 WOODSPIRE
HOUSTON, TX 77085-0000

1669400

10/15/2002

.CORP

$0.00

BAKER, JOHN R

EMP NAME: BAKER, JOHN
115 PIERCE AV
UMATILLA, OR 97882

1047700

10/11/2002

CORP

$172,560.00

BAKER NATALIE L

EMP NAME: BAKER, NATALIE L
3824 VILLANOVA

HOUSTON, TX 77005-0000

1702402

10/15/2002

ENA
ENA

$9,000.00
$2,000.00
$11,000.00

BAKER, ROBERT H

EMP NAME: BAKER, ROBERT
BOX 387

IONE, OR 97843

1652000

10/15/2002

CORP

$497,969.20

BAKER, ROBERT N

EMP NAME: BAKER, ROBERT N
1103 S LEON

MONAHANS, TX 79756-0000

852601

10/10/2002

CORP

$0.00

BALLARD MICHAEL S

EMP NAME: BALLARD, MICHAEL
PO BOX 4913

PORTLAND, OR 97208

694200

10/07/2002

CORP

$69,566.88

BALLAS, JOSEPH P.

EMP NAME: BALLAS, JOSEPH
15470 SE DANA AVE.
MILWAUKIE, OR 97267

1047402

10/11/2002

CORP

$144,500.00

DAVID BAMFORD & HELEN
EMP NAME: BAMFORD, DAVID
BAMFORD JT TEN

11600 SW CAMPBELL RD
HILLSBORO, OR 97123

1797400

10/15/2002

CORP

$97,920.00

BANDEL ROBERT L

EMP NAME: BANDEL, ROBERT L (BOB)
1207 SOUTH HARRY

MONAHANS., TX 79756-0000

1461900

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

BANK OF NEW YORK, AS TRUSTEE OF COLL TR
EMP NAME: BANK OF NEW YORK, AS TRUSTEE
OF COLL TR

PILLSBURY WINTHROP LLP

ATTN: SUSAN P. SEROTA

ONE BATTERY PARK PLAZA

NEW YORK, NY 10004

1438500

10/15/2002

CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

Page 13 of 300
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD Page 44 of 353 »

Claimant

BANK OF NY (TRUSTEE)

EMP NAME: BANK OF NY (TRUSTEE)

ATTN: ROBIN L. HARRIS

CAMPBELL, HARRISON & SAGLEY LLP
4000 TWO HOUSTON CNTR, 909 FANNIN ST.

HOUSTON, TX 77010

Claim
Number

1269100

Date
Filed

10/11/2002

Exhibit A

Tittle Settlement Order

Debtors

Objected To
Amount

cc

CORP

$0.00

Date’ = 07/11/2005
Time: 8:06:00 PM

BANKS, LINDA S

EMP NAME: BANKS, LINDA
2813 SE COLT DR APT 431
PORTLAND, OR 972024494

842500

10/10/2002

‘CORP

$16,311.00

BANNANTINE, JAMES M.

EMP NAME: BANNANTINE, JAMES M (JIM)

3300 SERENITY WAY
OWINGS MILLS, MD 21117-2223

2372800

08/29/2003

CORP

$106,377.00

BARBER BRADLEY W

EMP NAME: BARBER, BRADLEY
35715 SE DOUGLAS RD

EAGLE CREEK, OR 97022

857900

10/10/2002

CORP

$293,680.00

BARCUS, CAROL

EMP NAME: BARCUS, CAROL
1818 AUGUSTA #12
HOUSTON, TX 77057

67502

01/29/2002

CORP

$1,770.45

BARGAINER DAVID

EMP NAME: BARGAINER, DAVID
7575 GOSLING RD APT 817

THE WOODLANDS, TX 773821546

1204902

10/11/2002

CORP

$107,242.30

BARKER, MARK S

EMP NAME: BARKER, MARK
PO BOX 175

RAINIER, OR 97048

1604100

10/15/2002

CORP

$40,000.00

BARNES CAROLINE V

EMP NAME: BARNES, CAROLINE V
14 EWEDGEWOOD GLEN

THE WOODLANDS, TX 77381-0000

1816802

10/15/2002

CORP

$0.00

MUELLER, CONNIE

EMP NAME: BARNES, CONNIE
3353 SOUTH 79TH

OMAHA, NE 68124

2266200

03/18/2003

CORP .

$144,760.00

BARNES JAMES N

EMP NAME: BARNES, JAMES
8468 SW WILSON ST
WILSONVILLE, OR 97070

694402

10/07/2002

CORP

$14,566.00

BARNES JUDY E

EMP NAME: BARNES, JUDY E
4214 RING ROSE DR
MISSOURI CITY, TX 77459

§12700

09/23/2002

CORP

$173,671.26

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

Page 14 of 300
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD = — Page 45 of 353

Exhibit A » . Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed / Amount

BARNES MARLEA M 1685302 10/15/2002 CORP $197,526.08 P
EMP NAME: BARNES, MARLEA .

6315 SW DAWN ST

LAKE OSWEGO, OR 97035

. BARNETT, ARLEEN N. 1586702 10/15/2002 CORP $665,586.00 U
EMP NAME: BARNETT, ARLEEN

13456 SW HAWKS BEARD ST APT 111

TIGARD, OR 97223

BARNEY, CE 1578300 40/15/2002 CORP $4,982,253.90 U
EMP NAME: BARNEY, C E

4025 PUMICE LN

SAINT PAUL, MN 55122

BARNHART, ANTHONY J 1813603 10/15/2002 EESO $15,849.00 U
EMP NAME: BARNHART, ANTHONY J

5430 FOREST HIGHLANDS

COURT

WESTERVILLE, OH 43082

BARRELT, RICHARD ARLAND 1791700 10/15/2002 CORP $544,240.00 U
EMP NAME: BARRETT, RICHARD

22150 S. LESLIE AV

BEAVERCREEK, OR 97004

BARRETT, RICHARD C 850300 40/10/2002 CORP $67.50 U
EMP NAME: BARRETT, RICHARD C

4515 CRICHTON LN CORP $2,767.50 P
ORLANDO, FL 328067240 $2,835.00

BARRINGTON, BRIAN 783802 10/09/2002 CORP $20,453.11. P
EMP NAME: BARRINGTON, BRIAN

3323 MCCUE RD, APT 116

HOUSTON, TX 77056

BARTLETT VICKY M 923900 10/11/2002 CORP , $199,600.00 P
EMP NAME: BARTLETT, VICKY

2513 NW 1ST DRIVE

GRESHAM, OR $7030

BASCH, DOUG 1608504 10/15/2002 EESNA, INC $0.00 U
EMP NAME: BASCH, DOUG

4260 CASTERSON CT EESNA, INC . _—__ $132,390.00 P
PLEASANTON, CA 94566-0000 Se $132,390.00

BASS, ERIC 1741802 10/15/2002 ENA. $0.00 P
EMP NAME: BASS, ERIC P

4848 PIN OAK PK. #1503

HOUSTON, TX 77081

BASS JAN 463000 09/16/2002 EGM LLC $5,051.00 P
EMP NAME: BASS, JAN :

1530 HARNESS OAKS CT

HOUSTON, TX 77077-0000

BASTIDA NANCY A 1941902 10/15/2002 CORP $62,579.68 U
EMP NAME: BASTIDA, NANCY A

986 CHAMBOARD LANE

HOUSTON, TX 77018-0000

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined / / Page 15 of 300
Case 4:01-cv-03913

Document 1005-1

Exhibit A
Tittle Settlement Order

Filed on 07/14/05 in TXSD Page 46 of 353

- Date: 07/11/2005
Time: — 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

BATCHELOR, JEANNE M. 1944500 10/15/2002 CORP $23,000.00 U

EMP NAME: BATCHELOR, JEANNE

8970 N FORTUNE

PORTLAND, OR 97203

BATISTA, DANIEL T. 1950103 10/15/2002 CORP $0.00 P

EMP NAME: BATISTA, DANIEL

17131 FRANCES PLZ APT 11H

OMAHA, NE 68130-2381

BAUCOM JR LESLIE H 1773701 10/15/2002 CORP $0.00 U

EMP NAME: BAUCOM JR, LESLIE H (LES) i

1006 KENNETH CORP $0.00 P

MONAHANS, TX 79756-0000 $0.00

BAUMAN LYNNE | - 503400 09/23/2002 CORP $421.00 P

EMP NAME: BAUMAN, LYNNE |

322 SPELLMAN ST

GRANVILLE, OH 43023

BAUMBACH DAVID 1662803 10/15/2002 CORP $8,925.00 U

EMP NAME: BAUMBACH, DAVID R

8322 TWINING TRAIL LANE CORP. $4,650.00 P

SUGAR LAND, TX 77479 $13,575.00

BAUMBACH, JANIS LOUISE 1246102 10/11/2002 CORP $193,438.56 U

EMP NAME: BAUMBACH, JANIS

430 NE 16TH AVE

APT 205

PORTLAND, OR 97232-2886

BAXTER, GENE R 1593700 10/15/2002 CORP $133,388.00 P

EMP NAME: BAXTER, GENE :

3711 N COLLEGE

NEWBERG, OR 97132

BAXTER, ROBERT BRYLE 1631903 10/15/2002 ENW LLC $0.00 U

EMP NAME: BAXTER, ROBERT B (BRYCE)

510 CHITWOOD CT ENWLLC $0.00 P

HOUSTON, TX 77094 ENW LLC $0.00 A

$0.00

BAZE DAVID S 1797902 10/15/2002 CORP = $47,077.46 U

EMP NAME: BAZE, DAVID S .

P 0 BOX 547

BIG LAKE, TX 76932-0000 -

BEAL STEVEN C 1777900 10/15/2002 CORP $54,293.00 U

EMP NAME: BEAL, STEVEN ,

41285 SE WILDCAT MTN DR

EAGLE CREEK, OR 97022

BEASLEY JEDDY O 2010900 10/16/2002 CORP U

EMP NAME: BEASLEY, JEDDY
14307 NE BEECH
PORTLAND, OR 97230

$172,504.48

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

BEATTY, CASEY J.

EMP NAME: BEATTY, CASEY
BEATTY, CASEY J

19901 CONNIE COURT
OREGON CITY, OR 970459003

Claim
Number

2092500

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/18/2002

Debtors

Objected To
Amount

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cc*

CORP

$13,864.56

Date: 07/11/2005
Time: 8:06:00 PM

BEATTY, VERN C

EMP NAME: BEATTY, VERN
17430 S REDLAND ROAD
OREGON CITY, OR 97045

1655800

10/15/2002

CORP

$197,421.52

BEAULIEU, MARK A

EMP NAME: BEAULIEU, MARK A
3112 SWEET CHERRY COURT
RALEIGH, NC 27614

1165200

10/11/2002

CORP

$2,132.12

BECHTEL RANDY E

EMP NAME: BECHTEL, RANDY E
410 CRAWFORD

BOONE, IA 50036-0000

695401

10/07/2002

CORP

$133,000.00

BECK HAROLD

EMP NAME: BECK, HAROLD
3831 OAK

LONGVIEW, WA 98632

862402

10/10/2002

CORP

$174,560.00

BECK SALLY W

EMP NAME: BECK, SALLY W
16130 RUDGEWICK LANE
SPRING, TX 77379-0000

1455705

70/15/2002

CORP
CORP
CORP

$0.00
$0.00
$0.00
$0.00

u

BECKENSTEN RICHARD L

EMP NAME: BECKENSTEN, RICHARD
10678 SE 144TH LOOP

PORTLAND, OR 972368324

1190900

10/11/2002

CORP

$154,600.00

BECKER, DONALD E. JR.

EMP NAME: BECKER, DONALD
21861 SW REGAL CT
BEAVERTON, OR 97006-1305

916200

10/11/2002

CORP

$54,320.00

BECKER E JANICE

EMP NAME: BECKER, JANICE
3403 WILSON LANE

NAMPA, ID 83686

1148700

10/11/2002

CORP

$73,330.07

BECKER RICK D

EMP NAME: BECKER, RICK D
1814 E BELL RD APT 1107
PHOENIX, AZ 85022

1934602

10/15/2002

CORP

$0.00

BECKER, SHANETTE F

EMP NAME: BECKER, SHANETTE
6175 SW MCEWAN

LAKE OSWEGO, OR 97035

923802

10/11/2002

CORP

$116,310.29

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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_ Date: 07/11/2005
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Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

BECKETT LARRY D 1949902 10/15/2002 CORP $247,777.29 U

EMP NAME: BECKETT, LARRY D

4407 GRANDI CORP $4,650.00 P

CARLSBAD, NM 88220-0000 $252,427.29

BECKMAN BRAD D 1100200 10/10/2002 CORP $202,970.64 U

EMP NAME: BECKMAN, BRAD

1530 SW 109 AVE #208

PEMBROKE PINES, FL 33025

BEDDOR BARRY D 714900 10/08/2002 CORP $221,697.04 U

EMP NAME: BEDDOR, BARRY

20696 S RIDGE RD

OREGON CITY, OR 97045

BEEDE, DAREN M. 1959300 10/15/2002 CORP $168,000.00 U

EMP NAME: BEEDE, DAREN

1825 LAMBERT CT NW

LAKE OSWEGO, OR 97034

BEEKS DENNIS P 1790200 10/15/2002 CORP $3,745,260.00 P

EMP NAME: BEEKS, DENNIS

676 SW VIEWCREST CT

DUNDEE, OR 97115

BEHBEHANI-DIVERS ARYA F 2026000 10/17/2002. CORP $46,707.00 P

EMP NAME: BEHBEHANI-DIVERS, ARYA -

16932 SW GREENTREE AV

LAKE OSWEGO, OR 97034

BEHRENS, ALAN M 1750202 10/15/2002 CORP $1,110,510.00 U

EMP NAME: BEHRENS, ALAN M

109 N WILSHIRE RD

COUNCIL BLUFFS, IA 51503-0000

BEHRENS, EDWARD 1635902 10/15/2002 EGM LLC $0.00 U

EMP NAME: BEHRENS, EDWARD (TED)

7575 GOSLING RD.

UNIT #122

THE WOODLANDS, TX 77382

BELANGER ALAN P 636300 10/04/2002 CORP $216,000.00 P

EMP NAME: BELANGER, ALAN

31266 BEAVER HOMES RD

RAINIER, OR 97048

BELDEN, TIMOTHY 1474002 10/15/2002 ENA $0.00 -U

EMP NAME: BELDEN, TIMOTHY N ENA $0.00 P

C/O BAKER, DONELSON, BEARMAN, ET AL .

4268 I-55 NORTH, MEADOWBROOK OFFICE PK ENA $0.00 A

MICHAEL DAWKINS, ESQ. $0.00

JACKSON, MS 39211 / .

BELIVEAUX ANNE 1180701 40/11/2002 CORP $0.00 U-

EMP NAME: BELIVEAUX, ANNE
680 W. SAM HOUSTON PKWY.S.
#2412

HOUSTON, TX 77042

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A
Tittle Settlement Order

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- Date:
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07/11/2005
8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

BELL, JOYCE 851402 10/10/2002 CORP $670,273.25 P

EMP NAME: BELL, JOYCE : .

654 NE HAZELFERN PL

PORTLAND, OR 97232

BELL MARK 1616003 10/15/2002 CORP $441,222.75 U

EMP NAME: BELL, MARK

29729 ROYCE LN

HERMISTON, OR 97838

BELL, WILLIAM W. 1972200 10/15/2002 CORP $0.00 P

EMP NAME: BELL, WILLIAM W (BILL)

8740 WESTHEIMER #24

HOUSTON, TX 77063

BELLINGHAUSEN LYNN G 1681901 10/15/2002 CORP $0.00 U

EMP NAME: BELLINGHAUSEN, LYNN G

7922 ENSEMBLE DRIVE CORP $0.00 P

HOUSTON, TX 77040-0000 $0.00

BELLINGHAUSEN SUSAN L 1701001 10/15/2002 CORP $0.00 U

EMP NAME: BELLINGHAUSEN, SUSAN L

7922 ENSEMBLE DRIVE CORP $0.00 P

HOUSTON, TX 77040-0000 $0.00

BELTRAN, JOSEFINO S. 2076804 10/18/2002 EECC $222,900.00 U

EMP NAME: BELTRAN, JOSEFINO S ‘

3215 CHESTERFIELD LANE

STAFFORD, TX 77477

BELTRI, ANGELES O 1915403 10/15/2002 CORP $0.00 U

EMP NAME: BELTRI, ANGELES O

12327 WESTMERE CORP $0.00 P

HOUSTON, TX 77077-0000 $0.00

BENDER, MICHAEL 1370602 10/15/2002 CORP $120,000.00 P

EMP NAME: BENDER, MICHAEL

442 BEACON HILL

LONGVIEW, WA 98632

BENDER, PAUL 1692800 10/15/2002 CORP $0.00 U

EMP NAME: BENDER, PAUL

52727 E TERRA FERN DR CORP $208,800.00 P

SANDY, OR 97055 $208,800.00

BENDER, THOMAS D. 867200 10/10/2002 CORP $300,400.00 P

EMP NAME: BENDER, THOMAS

3771 JOSHUA AVE NE

SALEM, OR 973053041

BENEVILLE LAURA 1471502 10/15/2002 EBS, INC $5,779.99 U

EMP NAME: BENEVILLE, LAURA (SHEARER) CORP U ,

7815 SW 184TH AV |

ALOHA, OR 97007-0000

BENITEZ CARLOS J 2073900 10/15/2002 CORP $471,858.40 P

EMP NAME: BENITEZ, CARLOS
2605 SW 22 CT
GRESHAM, OR $7080

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

Claim
Number

Document 1005-1

Exhibit A
Tittle Settlement Order

Date
Filed

Debtors

Objected To
Amount

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cc*

Date: 07/11/2005
Time: 8:06:00 PM

BENITEZ, SAMUEL O.

EMP NAME: BENITEZ, SAMUEL
18010 SE TROGE RD.

BORING, OR 97009

2121303

10/25/2002

CORP

$397,000.00

EVERETT SIDNEY BENJAMIN
EMP NAME: BENJAMIN, EVERETT
POB 226

CULVER, OR 97734

768100

10/09/2002

CORP

$176,000.00

BENNETT, GARY E.

EMP NAME: BENNETT, GARY
P.O. BOX 1334

RAINIER, OR 97048

1155302

10/11/2002

CORP

$24,669.21

BENNETT, T. RAY

EMP NAME: BENNETT, T. R (RAY)
2602 ROSEFIELD

HOUSTON, TX 77080

1575303

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

BENNICK KIMBERLEE A

EMP NAME: BENNICK, KIMBERLEE A
15907 LAKE LOOP DRIVE

CYPRESS, TX 77429-0000

1734700

10/15/2002

CORP

$75,355.00

BENSON LARRY W

EMP NAME: BENSON, LARRY W
1016 22ND ST NE
WATERTOWN, SD 57201-0000

1188202

10/1 1/2002

CORP

$955,568.30

BENTO, MARCO

EMP NAME: BENTO, MARCO
16118 S GERBER RD
OREGON CITY, OR 97045

1902000

10/15/2002

CORP

$35,200.00

BERG, CLARENCE G

EMP NAME: BERG, CLARENCE G
408 TAYLOR ST #26
BAKERSFIELD, CA 93309

568200

09/30/2002

CORP

$43,329.00

BERG MARY A

EMP NAME: BERG, MARY A
3910 PURDUE

HOUSTON, TX 77005-0000

855903

10/40/2002

CORP

$334.43

BERGEN KIMBERLY D

EMP NAME: BERGEN, KIMBERLY D (KIM

5010 WOODWAY
APT 602
HOUSTON, TX 77056-0000

745501

10/08/2002

CORP
CORP

$6,742.05
$4,650.00
$11,392.05

BERGER LARRY J

EMP NAME: BERGER, LARRY J
7919 FEATHER SPRINGS DR
HOUSTON, TX 77095-0000

2134203

10/29/2002

CORP

$72,900.48

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

BERGGREN CHERYL A

EMP NAME: BERGGREN, CHERYL
4921 SE 43

PORTLAND, OR 97206

Claim
Number

1933400

Document 1005-1

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Exhibit A
Tittle Settkement Order

Date
Filed

10/15/2002

Debtors Objected To
Amount

cc*

CORP . $169,682.20

Date: 07/11/2005
Time: 8:06:00 PM

BERGGREN CHERYL

EMP NAME: BERGGREN, CHERYL
4921 SE 43

PORTLAND, OR 97206

1933503

10/15/2002

CORP $0.00

BERGMANS BARBARA J

EMP NAME: BERGMANS, BARBARA
9250 S W 4TH STREET
WILSONVILLE, OR 97070

1768002

10/15/2002

CORP $81,873.84

BERGSTROM, ERIC J

EMP NAME: BERGSTROM, ERIC
921 NE 69 AV

PORTLAND, OR 97213

1959900

10/15/2002

CORP . $133,600.00
CORP $0.00

$133,600.00

BERI SHAMSHER

EMP NAME: BERI, SHAMSHER
611 NW FREMONT ST
CAMAS, WA 986079004

1721803

10/15/2002

CORP $115,504.34

BERKEY LUANNE M.

EMP NAME: BERKEY, LUANNE
8215 S. SCONCE RD.

CANBY, OR 97013

1672000

10/15/2002

CORP $119,120.00

BERNING, JASON M

EMP NAME: BERNING, JASON
7257 PARK TERRACE DR NE
KEIZER, OR 97303

654300

10/07/2002

CORP $127,618.72

BERNING JERRY C

EMP NAME: BERNING, JERRY
9922 114 ST NE

MOUNT ANGEL, OR 97362

717800

10/08/2002

CORP $403,200.00

BERRY, JOHN D.

EMP NAME: BERRY, JOHN D
6903 FARNABY CT

SPRING, TX 77379

1575001

10/15/2002

CORP $5,254.15

BERSIN, ROGER C

EMP NAME: BERSIN, ROGER
5370 KALMIA DRIVE
KELZER, OR 97303

1961200

10/75/2002

CORP $811.59
CORP $20,520.75
$21,332.34

BERTCH STEPHANIE R

EMP NAME: BERTCH, STEPHANIE R
10302 MARY STREET

OMAHA, NE 68122-0000

2152402

11/01/2002

CORP $345,444.25

BERTINO ANNE H

EMP NAME: BERTINO, ANNE H
315 MAGIC OAKS CT

SPRING, TX 77388-0000

1566904

10/15/2002

EESO $0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

BERTSCH SCOTT A

EMP NAME: BERTSCH, SCOTT
28345 SW BURKHALTER RD
HILLSBORO, OR 97123

Claim
Number

856602

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/10/2002

Debtors

Objected To
Amount

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cc

CORP

$360,589.42

_ Date: 07/11/2005
Time: 8:06:00 PM

BESANCON GARY P

EMP NAME: BESANCON, GARY P
PO BOX 601

BEEVILLE, TX 78104

928302

10/41/2002

CORP

$160,052.66

BESS HOWARD G

EMP NAME: BESS, HOWARD
P O BOX 482

ESTACADA, OR 97023

660100

10/07/2002

CORP

$192,000.00

BEST, BRYAN G

EMP NAME: BEST, BRYAN G
1563 EAST OMAHA DR
BISMARCK, ND 58504-0000

1853302

10/15/2002

CORP

$11,043.30

BETANCOURT, RAMONA

EMP NAME: BETANCOURT, RAMONA
13611 PALLWOOD

CYPRESS, TX 77429

1544002

10/15/2002

CORP

$1,433, 124.00

BETANCOURT RAMONA

EMP NAME: BETANCOURT, RAMONA
13611 PALLWOOD

CYPRESS, TX 77429

763103

10/09/2002

CORP

$628,587.69

BETSCHART TUNIE

EMP NAME: BETSCHART, TUNIE
67520 ANDYTHOMAS ROAD
RAINIER, OR 97048

1665500

10/15/2002

CORP

$91,200.00

BETTERIDGE PATRICK M

EMP NAME: BETTERIDGE, PATRICK
1325 WINDSOR DR

GLADSTONE, OR 97027

835800

10/10/2002

CORP
CORP

$320,000.00
$0.00
$320,000.00

BETTIGER, ROBERT W

EMP NAME: BETTIGER, ROBERT
34100 BUTTER FIELD RD

DEER ISLAND, OR 97054

656100

10/07/2002

CORP

$203,440.00

BETTINESK!, JAY E.

EMP NAME: BETTINESK], JAY
2405 DILLOW DRIVE

WEST LINN, OR 97068

1503100

10/15/2002

CORP

$268,404.64

BETTIS TYC ~

EMP NAME: BETTIS, TY
14665 NE RUSSELL CT
PORTLAND, OR 97230

1775100

10/15/2002

CORP

$145,440.00

BHATIA, OM P

EMP NAME: BHATIA, OM P
20 HILLCREST RD

GLEN RIDGE, NJ 07028

1591202

10/15/2002

EIM LLC

$3,468.75

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

BICHSEL, EVA T.

EMP NAME: BICHSEL, EVA T
2906 SUGAR WOOD
LEAGUE CITY, TX 77573

Claim
Number

868100

Exhibit A
Tittle Settlement Order

Date
Filed

10/10/2002

Debtors

Objected To
Amount

cc

CORP

$0.00

Date: § 07/11/2005
Time: 8:06:00 PM

BIEREN ERIC F

EMP NAME: BIEREN, ERIC
3985 NW COLUMBIA AVE
PORTLAND, OR 972292967

736700

10/08/2002

CORP

$0.00

PATRICK BILLINGS, CHRISTIE
EMP NAME: BILLINGS, CHRISTIE A
1922 W. BELL

HOUSTON, TX 77019

1580205

10/15/2002

CORP

$588,913.00

PATRICK BILLINGS, CHRISTIE
EMP NAME: BILLINGS, CHRISTIE A
1922 W. BELL

HOUSTON, TX 77019

1580208

10/15/2002

CORP

$359,372.40

BILLINGS, EDWARD J.

EMP NAME: BILLINGS, EDWARD J
1302 WAUGH DR. #548
HOUSTON, TX 77019

1580802

10/15/2002

CORP

$75,000.00

BILLINGSLEY SCOTT E

EMP NAME: BILLINGSLEY, SCOTT E
PO BOX 641

GLASGOW, MT 59230

2058802

10/18/2002

ETSC

$15,323.06

BILLS, LISAA

EMP NAME: BILLS, LISA A
5353 MEMORIAL DR #3062
HOUSTON, TX 77007-0000

2017001

10/16/2002

CORP

$0.00

BINGAMAN MICHAEL J

EMP NAME: BINGAMAN, MICHAEL
33225 W SPEARMAN RD
HERMISTON, OR 97838

1933700

10/15/2002

CORP

$186,200.00

BINGHAM, CHARLES R

EMP NAME: BINGHAM, CHARLES
126 ALTURAS

KELSO, WA 98626

1463500

10/15/2002

CORP

$265,680.00

BIRD MICHAEL F

EMP NAME: BIRD, MICHAEL F (MIKE)
1711 E AVE

DAKOTA CITY, NE 68731-3016

735102

10/08/2002

CORP
CORP

$391,417.22

$9,300.00
$400,717.22

ROBERTA A. BIRHIRAY

EMP NAME: BIRHIRAY, ROBERTA A
FITZGERALD & RAY

5506 ASHMERE LN

SPRING, TX 773798028

1567102

10/15/2002

CORP

$105,585.21

BISBEE, JOANNE M.

EMP NAME: BISBEE, JOANNE M
18806 EVERGREEN FALLS
HOUSTON, TX 77084

1824800

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$0.00
$0.00
$0.00

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Date: = 07/11/2005

Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*

Number Filed Amount
BISCHOFF, BARBARA D @ 1651000 10/15/2002 CORP $0.00 U
EMP NAME: BISCHOFF, BARBARA D CORP $0.00 P
16716 RIGGS ST : .
OMAHA, NE 68135-0000 $0.00
BISSEY, VIRGINIA 1545900 10/15/2002 CORP $0.00 U
EMP NAME: BISSEY, VIRGINIA (GINGER)
1408 MARION RICHARD
ROSWELL, NM 88201
BITTINGER, STEVE L 1687800 10/15/2002 CORP $732,006.08 P
EMP NAME: BITTINGER, STEVE
PO BOX 371
IONE, OR 97843
BLACK, DONALD W 1662307 10/15/2002 CORP $0.00 .U
EMP NAME: BLACK, DONALD W ~
216 OLD NORWALK ROAD GORP $0.00 P
NEW CANAAN, CT 06840 $0.00
BLACK, JERRY L 1589900 10/15/2002 CORP $196,104.40 U
EMP NAME: BLACK, JERRY L
569 32 RD STE 7B
GRAND JUNCTION, CO 81504
BLACK, LEGALE 1919802 10/15/2002 CORP $0.00 U
EMP NAME: BLACK, LEGALE
5934 KENILWOOD DRIVE
HOUSTON, TX 77033
BLACK LOYD G 1396401 10/15/2002 CORP $280,000.00 U
EMP NAME: BLACK, LOYD G
5207 S THOMASON CORP $0.00 P
CARLSBAD. NM 88220-0000 $280,000.00
BLACK MICHAEL 1609801 10/15/2002 CORP $0.00 U
EMP NAME: BLACK, MICHAEL
19814 SKYCOUNTRY
HOUSTON, TX 77094-0000
BLACK, PATTY W. 1589500 10/15/2002 CORP $73,408.90 U
EMP NAME: BLACK, PATTY W
569 32 RD STE 7B
GRAND JUNCTION, CO 81504
BLACKBURN JODY D 903602 10/10/2002 CORP $297,572.00 P
EMP NAME: BLACKBURN, JODY D
68005 NICOLAI ROAD
RAINIER, OR 97048-0000
BLACKBURN, RICHARD 865600 10/10/2002 CORP $198,207.00 U

EMP NAME: BLACKBURN, RICHARD

68005 NICOLAI RD
RAINIER, OR 97048

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

BLACKKETTER JOHN C

EMP NAME: BLACKKETTER, JOHN C
131 SHERWOOD DR

GENESEO, !L 61254-0000

Claim
Number

1572202

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To CC*

Amount

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CORP

$144,923.29

- Date: = 07/11/2005
Time: 8:06:00 PM

BLAINE, MICHELLE ANN

EMP NAME: BLAINE, MICHELLE A
121 NORTH POST OAK LANE #1002
HOUSTON, TX 77024

1370301

10/15/2002

CORP

$0.00

BLAIR JEAN L

EMP NAME: BLAIR, JEAN L
98 WINTERGREEN TRAIL
WOODLAND, TX 77382-0000

1501402

10/15/2002

CORP

$4,382.00

BLAKE LISA J

EMP NAME: BLAKE, LISA
19421 S VINCENT DR
OREGON CITY, OR 97045

1490500

10/15/2002

CORP

$152,507.64

BLANCHARD DENNIS

EMP NAME: BLANCHARD, DENNIS
P O BOX 436

CANBY, OR 97013

895100

10/10/2002

CORP

$184,800.00

BLANKENSHIP JERRY

EMP NAME: BLANKENSHIP, JERRY
80171 PATRIOT LN

HERMISTON, OR 97838

1742000

10/15/2002

CORP

$535,000.00

BLANTON CAROLE

EMP NAME: BLANTON, CAROLE R
4632 SADDLEWORTH CIRCLE
ORLANDO, FL 32826

1553800

10/15/2002

CORP

$89,929.50

BLEVINS DANA E.

EMP NAME: BLEVINS, DANA E
11809 PAINT ROCK

CORPUS CHRISTI, TX 78410

909500

10/11/2002

CORP

$11,243.00

BLOCK TROY S

EMP NAME: BLOCK, TROY S
P.O. BOX 321

SPICER, MN 56288-0000

1868703

10/15/2002

CORP ©

CORP

$183,885.00
$51,125.35
$235,010.35

BLOCKSOM, WILLIAM R.
EMP NAME: BLOCKSOM, WILLIAM
51451 S.W. OLD PORTLAND ROAD
SCAPPOOSE, OR 97056

1242000

10/11/2002

CORP |

$312,654.60

BLOOM, BERT M

EMP NAME: BLOOM, BERT M
2050 WILLOW CT.
LAKEWOOD, CO 80215-0000

2016602

10/16/2002

CORP

$4,167.00

BLUMENTHAL, JEFF

EMP NAME: BLUMENTHAL, JEFF S
4000 ESSEX LANE, #7306
HOUSTON, TX 77027

1480006

10/15/2002

* Classification: S-Secured; P=Priority; U-Unsecured; A=Administrative; ? = Undetermined

CORP
CORP
CORP

$0.00
$0.00
$0.00

v0

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Claimant Claim
Number

Date
Filed

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

cc*

ENA
ENA
ENA

$0.00

Uv

Date: 07/11/2005
Time: 8:06:00 PM

BOARDMAN, EDWARD J. 1705000
EMP NAME: BOARDMAN. EDWARD

200 MONROE ST

UMATILLA, OR 97882

10/15/2002

CORP

$16,000.00

BOASE, SUSAN A 915802
EMP NAME: BOASE, SUSAN

5711 SE BUSH ST

PORTLAND, OR 97206

10/11/2002

CORP

$7,087.92

BOATMAN, JACK D 1805402
EMP NAME: BOATMAN, JACK D

3515 WILDWOOD RIDGE

KINGWOOD, TX 77339-0000

10/15/2002

CORP

$0.00

BODENLOS MICAH J 1772900
EMP NAME: BODENLOS, MICAH

5380 SW PLATIRO CT BOX A16

COLVER, OR 97734

10/15/2002

CORP

$144,880.00

BODINE, LINDA M 656600
EMP NAME: BODINE, LINDA

PO BOX 92064

PORTLAND, OR 97292

10/07/2002

CORP

$183,896.00

BODNAR MICHAEL 1783400
EMP NAME: BODNAR, MICHAEL

12626 SHIRLEY ST

OMAHA, NE 68144

10/15/2002

CORP

$0.00

BAE, LAWRENCE A. 1485502
EMP NAME: BOE, LAWRENCE A (LARRY)

12134 OAKCROFT DR

HOUSTON, TX 77070

10/15/2002

CORP

$31,828.00

BOLENDER JIM E 1179900
EMP NAME: BOLENDER, JIM

9307 SE BLUE JAY LN

BORING, OR 97009

10/11/2002

$161,775.00

BOLKS, SEAN M. 1756204
EMP NAME: BOLKS, SEAN M

2990 BISSONNET APT #10207

HOUSTON, TX 77005

10/15/2002

CORP

$5,212.50

BOLTON D LARRY 678500
EMP NAME: BOLTON, LARRY D

23314 MYSTERY

HUFFMAN, TX 77336

10/07/2002

CORP

$468,108.30

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

BOMAR, LINN T.

EMP NAME: BOMAR, LINN T (L.T.)
520 RONA COURT

FAIRMONT, MN 56031

Claim
Number

2085500

Date
Filed

Exhibit A
Tittle Settlement Order

10/12/2002

Debtors

Objected To
Amount

cc*

CORP

$30,413.82 -

Date:
Time:

07/11/2005
8:06:00 PM

BONAMIGO EUGENE A

EMP NAME: BONAMIGO, EUGENE
12623 SE RAYMOND ST
PORTLAND, OR 97236

1587700

10/15/2002

CORP

$452,480.00

BOND, CHRISTOPHER

EMP NAME: BOND, CHRISTOPHER
4123 SE YAMHILL

PORTLAND, OR 97214

922402

10/11/2002

CORP

$118,640.00

BOONE, BRADLEY M.

EMP NAME: BOONE, BRAD
9758 SW APPALOOSA PL
BEAVERTON, OR 97008

1203202

10/11/2002

CORP

$161,595.84

BOONE KIMBERLY A

EMP NAME: BOONE, KIMBERLY
12718 SW 133RD AVE

TIGARD, OR 972234715

1782202

10/15/2002

CORP

$34,103.00

BOONE, TERRI L.

EMP NAME: BOONE, TERRI
10620 SW DAVIES RD #2
BEAVERTON, OR 97008

1196600

10/11/2002

CORP

$30,887.76

BOOTH, STEVEN F.

EMP NAME: BOOTH, STEVEN
PO BOX 373

ARLINGTON, OR 97812

711000

10/08/2002

UNKNOWN

$250,000.00

BOOTHE, STEPHANIE G

EMP NAME: BOOTHE, STEPHANIE G
3205 BISHOPTON

PEARLAND, TX 77581

1589300

10/15/2002

CORP

$94,380.00

BOOTS, KELLY H.

EMP NAME: BOOTS, KELLY H
2716 WROXTON RD
HOUSTON, TX 77005

1585101

10/15/2002

CORP

$0.00

BORCYK, JACKIE MARIE

EMP NAME: BORCYK, JACKIE M
1006 TEKAMAH LANE
PAPILLION, NE 68046

1510000

10/45/2002

GORP

$3,433.11

BORDERS DELMAR

EMP NAME: BORDERS, DELMAR
74605 FERN HILL RD

RAINIER, OR 97048

1469800

10/15/2002

CORP

$230,000.00

BORGER, FAWN L

EMP NAME: BORGER, FAWN L
27 STRETFORD COURT
SUGAR LAND, TX 77479-0000

1912002

10/15/2002

“CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

BORS JUDY E
EMP NAME: SORS, JUDY E
P.O. BOX 217
PICKRELL, NE 68422-0217

Claim
Number

829204

Document 1005-1

Date
Filed

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Arnount

CORP

$33,460.95 U

Date: = 07/11/2005
Time: 8:06:00 PM

BOSTON JERRY R
EMP NAME: BOSTON, JERRY R
4102 PATRICIA LN
OMAHA, NE 68147

1758900

10/15/2002

CORP

$170,000.00 P

BOSWELL, WILMA N.

EMP NAME: BOSWELL, WN
100 W. VAN BUREN

LENOX, IA 50851

1820001

10/15/2002

CORP

$0.00 U

BOUCHARD, ROBERT L

EMP NAME: BOUCHARD, ROBERT L (BOB)
1366 DEER LAKE CIRCLE

APOPKA, FL 32712-0000

2114902

10/24/2002

CORP

$0.00 P

BOURGEOIS ROBERT A

EMP NAME: BOURGEOIS, ROBERT
18735 SW HONEYWOOD DR
ALOHA, OR 97006

1816100

10/15/2002

CORP

$140,920.37 U

BOU-SAADA TAREK

EMP NAME: BOU-SAADA, TAREK
4410 GRAND CAYMAN DR.
SUGAR LAND, TX 77479-0000

1764503

10/15/2002

EESO

$8,526.00 U

BOWEN GARY A

EMP NAME: BOWEN, GARY
18900 S HENRIC! RD
OREGON CITY, OR 97045

636000

10/04/2002

CORP

$127,829.00 P

BOWERS, JANET P

EMP NAME: BOWERS, JANET P
6522 NO. 159TH AVE. CIR.
OMAHA, NE 68116

1708701

10/15/2002

CORP

$0.00 P

HEROD BRENDA F
EMP NAME: BOWMAN, BRENDA F (BRENDA
HEROD)

38128 W ALABAMA

HOUSTON, TX 77027-0000

1743102

10/15/2002

CORP

$3,980.03 U

BOWMAN JOHN E
EMP NAME: BOWMAN, JOHN
8860 SW AVON CT
TIGARD, OR 97224

1165702

10/11/2002

CORP

$9,241.28 P

BOWMAN TERRI

EMP NAME: BOWMAN, TERRI
24011 SW MT CREEK RD
SHERWOOD, OR 97140

894400

40/10/2002

CORP

$225,680.00 P

BOYCE JEFF T

EMP NAME: BOYCE, JEFF T
907 N CENTRAL AVE
BEULAH, ND 58523-0000

788602

10/09/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$194,210.00 U

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Claimant Claim Date Objected To CC*
Number Filed Amount
BOYCE ROGER W 501002 09/23/2002 CORP $2,280,563.00 U
EMP NAME: BOYCE, ROGER W
7105 GLEASON ROAD
EDINA, MN 55439
BOYLAN LAVERNE 1673200 10/15/2002 CORP $129,920.00  P
EMP NAME: BOYLAN, LAVERNE
29526 KNIGHT RD
HERMISTON, OR 97838
BRABHAM MIRIAM E 1737202 10/15/2002 CORP $0.00 U
EMP NAME: BRABHAM, MIRIAM E
10503 GREEN VALLEY LANE
HOUSTON, TX 77064-0000
BRADLEY DENISE 1817603 10/15/2002 CORP $682.00 U
EMP NAME: BRADLEY, DENISE
3803 REEFTON LN
MISSOURI CITY, TX 77459-0000
BRADY DONAL 701402 10/07/2002 CORP $356,178.00 U
EMP NAME: BRADY, DONAL
12750 SW 231 PL
HILLSBORO, OR 97123
BRAKKE ERLING B 1682603 10/15/2002 EESO $20,038.12 U
EMP NAME: BRAKKE, ERLING B
20019 WATERPOINT TRAIL
KINGWOOD, TX 77346-0000
BRAKKE REBECCA A 1682503 10/15/2002 EESO $2,095.02 U
EMP NAME: BRAKKE, REBECCA A (BECKY)
20019 WATER POINT TRAIL
KINGWOOD, TX 77346-0000
BRANTZ, CAROL L 1654801 10/15/2002 CORP $227,890.18 U
EMP NAME: BRANTZ, CAROL L
806 N 149TH AVE CORP _ $3,403.10 P
OMAHA, NE 68154 $231,293.28
BRANTZ, GENE L 1654902 10/15/2002 ETSG $477,716.59 U
EMP NAME: BRANTZ, GENE L
806 N 149TH AVE ETSC $1,138.59 P
OMAHA, NE 68154-1941 _EECC . U
EECC P
$478,855.18
BRAWNER SANDRA F 1631303 10/15/2002 CORP $0.00 U
EMP NAME: BRAWNER, SANDRA F
15911 MARWICK CT CORP $0.00 P
HOUSTON, TX 77095-0000 $0.00
BRAZFIELD JR, EUGENE J 2005100 10/16/2002 CORP $0.00 P

EMP NAME: BRAZFIELD JR, EUGENE J (GENE)
1810 CURRIER
ARTESIA, NM 88210-0000

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A Date: 07/11/2005
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Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

BREAUX JR SILVER 645602 40/04/2002 CORP $66,139.36 U
EMP NAME: BREAUX JR, SILVER

13938 CANTWELL DR @ CORP ______— 80.00 P
HOUSTON, TX 77014-0000 $66,139.36

BRECKON, KARL J. 523002 09/24/2002 CORP $75,923.61 P
EMP NAME: BRECKON, KARL J

7603 LACY HILL

HOUSTON, TX 77036

BREIDENFELD RONALD O 635200 10/04/2002 CORP $480,000.00 P
EMP NAME: BREIDENFELD, RONALD :

13737 E 52ND ST

YUMA, AZ 853678564

BRENDLE ELLEN 1721504 10/15/2002 CORP : $1,213.47 U
EMP NAME: BRENDLE, ELLEN M

3215 SHADOWLEAF ~

HOUSTON, TX 77082

BRENNAN JEFFREY W 734900 10/08/2002 CORP $0.00 P
EMP NAME: BRENNAN, JEFFREY W (JEFF)

5718 INNSBRUCK

BELLAIRE, TX 77401-0000

BRENNAN LORNA M 1634703 10/15/2002 CORP $2,056,672.65 U
EMP NAME: BRENNAN, LORNA M

14728 SHIRLEY STREET

OMAHA, NE 68144-2144

BRENNAN, PATRICK M 1750300 . 10/15/2002 CORP $0.00 P
EMP NAME: BRENNAN, PATRICK M

4106 N 158TH AVE

OMAHA, NE 681162842

BRESLAU, CRAIG A : 1751103 10/15/2002 ENA $0.00 U
EMP NAME: BRESLAU, CRAIG A

360 E 65TH ST

APT 6G

NEW YORK, NY 10021-6714

BRESLAU, CRAIG A 1751109 10/15/2002 ENA $0.00 U
EMP NAME: BRESLAU, CRAIG A :

909 TEXAS AVE #1001

HOUSTON, TX 77002-0000

BREWER, MELANIE J 913400 10/11/2002 CORP $152,303.54 P.
EMP NAME: BREWER, MELANIE

18011 S WESLEY

OREGON CITY, OR 97045

BREWER MICHAEL D 913600 10/11/2002 CORP $240,734.12 P
EMP NAME: BREWER, MICHAEL :

18011 S WESLEY

OREGON CITY, OR 97045

BRIGANTE DAVIA A 773300 10/09/2002 CORP $92,320.00 U
EMP NAME: BRIGANTE, DAVIA

15350 NW MOORES VALLEY RD

YAMHILL, OR 97148

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined ‘ : Page 30 of 300
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Claimant Claim
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Amount

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Date’ 07/11/2005
Time: 8:06:00 PM

BRIGGS VERLEA G 1620902
EMP NAME: BRIGGS, VERLEA @

5818 SW WESTDALE CT

PORTLAND, OR 97221

10/15/2002

CORP

$84,615.36

BRIN ROBERT J. 591200
EMP NAME: BRIN, ROBERT J

6622 252ND RD

ARKANSAS CITY. KS 670055837

09/27/2002

CORP

$305,000.00

BRINK HELEN K 2258200
EMP NAME: BRINK, HELEN

64249 PINKNEY RD

DEER ISLAND, OR 97054

02/20/2003

CORP

$50,000.00

BROBST, MICHAEL J. 1156101
EMP NAME: BROBST, MICHAEL J (MIKE) ~

4060 KODIAK COURT

POWELL, OH 43065

10/11/2002

CORP

$0.00

BROCKEN KIM D 835001
EMP NAME: BROCKEN, KIM D

7103 TIMBER EDGE LN

HUMBLE, TX 773463380

10/10/2002

CORP

$0.00

BROCKHAUS JASON 1179200
EMP NAME: BROCKHAUS, JASON

3012 SE 73

PORTLAND, OR 97206

10/11/2002

CORP

$67,984.00

BRODERICK, RODGER L 1244500
EMP NAME: BRODERICK. RODGER

2380 SE LARK ST

MILWAUKIE, OR 97222

10/11/2002

CORP

$362,720.00

BROOKS, JOSEPH 722800
EMP NAME: BROOKS, JOSEPH

35072 ROBERTS LN.

SAINT HELENS, OR 97051

10/08/2002

CORP

$145,440.00

BROOKS, LORETTA 4450702
EMP NAME: BROOKS, LORETTA J

7919 MIDLAND FOREST DR.

HOUSTON, TX 77088

10/15/2002

$0.00
$0.00
$0.00

BROSS, MICHAEL 666703
EMP NAME: BROSS, MICHAEL

58171 SE MITCHELL ST

PORTLAND, OR 97206

10/07/2002

CORP

$3,903.12

BROTHERS, WILLIAM M 1516800
EMP NAME: BROTHERS, WILLIAM M

1905 W CNTY RD 350 N

PETERSBURG, IN 47567-0000

10/15/2002

CORP

$18,730.14

BROWN ALAN 887402
EMP NAME: BROWN, ALAN

PO BOX 1455

VANCOUVER, WA 98668

10/10/2002

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CORP

$82,263.00

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Number

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Date
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Date:
Time:

07/11/2005
8:06:00 PM

BROWN, ATHA R.

EMP NAME: BROWN, ATHA
4285 SCHAFER RD NE
LAKE OSWEGO, OR 97035

1248802

10/14/2002

CORP

*. $195,582.00

BROWN BOBBYE

EMP NAME: BROWN, BOBBYE
BOBBYE J BROWN

123 NE 160TH AVE

PORTAND, OR 972305403

856300

10/10/2002

CORP

$94,013.00

BROWN CAROL M

EMP NAME: BROWN, CAROL
31495 SW ISLE WY LN
WEST LINN, OR 97068

1832100

10/15/2002

CORP

$464,771.00

BROWN CHRISTOPHER A

EMP NAME: BROWN, CHRISTOPHER
12326 SW 131 AV

TIGARD, OR 97223

718000

10/08/2002

CORP

$342,369.36

BROWN, DARLENE H.

EMP NAME: BROWN, DARLENE H
6311 IV. 36TH AVE

OMAHA, NE 68111

1518800

10/15/2002

CORP

$13,261.00

BROWN, DAVID H

EMP NAME: BROWN, DAVID H
8222 KINGSBROOK DR 472
PINEY POINT, TX 77024-0000

1850002

10/15/2002

CORP

$435,326.60

BROWN, DWAIN

EMP NAME: BROWN, DWAIN E
418 LAFONDA

ROSWELL, NM 88201

1387800

10/15/2002

CORP

$0.00

BROWN, ELIZABETH Y.

EMP NAME: BROWN, ELIZABETH Y
22903 LODGE MEADOWS DR.
KATY, TX 77494

1521202

10/15/2002

CORP

$0.00

BROWN HEIDI A

EMP NAME: BROWN, HEIDI
12326 SW 131 AV

TIGARD, OR 97223

718300

10/08/2002

CORP

$102,501.44

BROWN, JAMES J.

EMP NAME: BROWN, JAMES (JIM)
3514 HILL SPRINGS

KINGWOOD, TX 77345

1543901

10/15/2002

CORP

$12,939.00

BROWN, LOVIE ELAINE

EMP NAME: BROWN, LOVIE E (ELAINE)
10881 RICHMOND AVENUE, APT. 909
HOUSTON, TX 77042

1544200

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A Date: = 07/11/2005
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Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

BROWN MATTHEW A 665002 10/07/2002 CORP $12,500.00 -U
EMP NAME: BROWN. MATTHEW A (MATT) 4. :
4211 CEDAR VALLEY DRIVE
KINGWOOD, TX 77345-0000

BROWN, MONICA A. 1578600 10/15/2002 CORP $0.00 P
EMP NAME: BROWN, MONICA A

8510 BATTLEOAK DR.

HOUSTON, TX 77040

BROWN, SARAH 1505203 10/15/2002 CORP $0.00 U
EMP NAME: BROWN, SARAH :

6518 AMIE CORP 80.00 P
PEARLAND, TX 77584 $0.00

BROWN BRAD 1176301 10/14/2002 CORP $0.00 U
EMP NAME: BROWN, STEPHEN B (BRAD)

2641 1/2 WOODLEY PL NW ~

WASHINGTON, DC 200081525

BROWN STEVEN M 1894301 10/15/2002 CORP $590,780.00 U
EMP NAME: BROWN, STEVEN M (MAX)

15 GALWAY PLACE

THE WOODLANDS, TX 77382

BROWNING. LARRY W 1966800 10/15/2002 CORP $344,880.00 U
EMP NAME: BROWNING, LARRY

16960 SE STANHELMA DR

GLADSTONE, OR 97027

BROWNING, MARY N 2034603 » 10/15/2002 CORP $184,330.40 P
EMP NAME: BROWNING, MARY N (MARY NELL) ‘

7 TREVOR STREET

LONDON SW7 1DU

UNITED KINGDOM

BRUBAKER, ERIC N. 710200 10/08/2002 . CORP $145,360.00 U
EMP NAME: BRUBAKER, ERIC .

PO BOX 53

OREGON CITY, OR 97045

BRUBECK, GLENDAG 2008500 10/16/2002 CORP $41,440.00 U
EMP NAME: BRUBECK, GLENDA - .

15620 NW DIXIE MTN RD

NORTH PLAINS, OR 97133

BRUCH GREGORY J 1816201 10/15/2002 UNKNOWN $321,500.00 U.
EMP NAME: BRUCH, GREGORY J

2819 WHISPERING FERN CT UNKNOWN ___ 5:50.00
KINGWOOD, TX 77345-0000 $327,000.00

BRUNASSO, MARIO V. 1855001 10/15/2002 CORP $0.00 P
EMP NAME: BRUNASSO, MARIO V

7675 PHOENIX DRIVE, #452

HOUSTON, TX 77030

BRYAN LINDA S 1453002 10/15/2002 CORP "$269,745.70 U
EMP NAME: BRYAN, LINDA S

4618 MCKEEVER LN

MISSOURI CITY, TX 77459-0000

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined : : . Page 33 of 300
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Date:
Time:

07/11/2005
8:06:00 PM

BRYAN, MARJORIE E.

EMP NAME: BRYAN, MARJORIE E @

2205 4TH STN
TEXAS CITY, TX 77590

494600

09/23/2002

CORP

$114,480.00

BRYANT, CHERYL A
EMP NAME: BRYANT, CHERYL
1106 NE SISKIYOU ST
PORTLAND, OR 97212

1966602

10/15/2002

CORP

$182,548.00

BRYANT GARY M

EMP NAME: BRYANT, GARY
22830 NE HYLAND DR
NEWBERG, OR 97132

1931800

10/15/2002

CORP

$266,320.00

BRYANT, MICHAEL C.

EMP NAME: BRYANT, MICHAEL C (MIKE)
14422 TIWSTED OAK

HOUSTON, TX 77079

1815803

10/15/2002

CORP

$0.00

BRYSCH, JAMES PATRICK

EMP NAME: BRYSCH, JAMES P (JIM)
2501 SUNRAY CT.

PEARLAND, TX 77584

1517805

10/15/2002

CORP

$0.00

BUCHANAN JONATHAN

EMP NAME: BUCHANAN, JONATHAN (JOHN)
#2 HICKORY SHADOWS

HOUSTON, TX 77055-0000

1216403

10/11/2002

CORP

$168,697.00

BUCK CHRISTOPHER A

EMP NAME: BUCK, CHRISTOPHER
19676 SCHAEFER DR

OREGON CITY, OR 97045

788303

10/09/2002

CORP

$200,000.00

BUCK ROBERT H

EMP NAME: BUCK, ROBERT
159 SW FLORENCE E-23
GRESHAM, OR 97080

15371002

10/15/2002

CORP

$124,480.00

BUCK, ROBERT

EMP NAME: BUCK, ROBERT
159 SW FLORENCE E-23
GRESHAM, OR 97080

15314203

10/15/2002

CORP

$0.00

BUCK WENDY V

EMP NAME: BUCK, WENDY
159 SW FLORENCE AV #E23
GRESHAM, OR 97080

1530202

10/15/2002

CORP

$0.00

BUCKNO RAYMOND J

EMP NAME: BUCKNO, RAYMOND
939 LAWNVIEW ST NE

KEIZER, OR 97303

613000

10/03/2002

CORP

$170,000.00

BUGGE-MOORE MOLLY A

EMP NAME: BUGGE-MOORE, MOLLY A
37730 SE DODGE PARK BLVD
BORING, OR 97009-0000

1616102

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

EES, INC

$26,959.80

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Claim
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Debtors

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BUICE CECILIA Z

EMP NAME: BUICE, CECILIA Z
9719 SHADOWGLADE CT
HOUSTON, TX 77064

1388200

10/15/2002

CORP

$0.00

BULGAWICZ, SUSAN L

EMP NAME: BULGAWICZ, SUSAN L
18463 CYPRESS ROSEHILL
CYPRESS, TX 77429-0000

1669302

10/15/2002

EPSC

$0.00

BULLOCK STEPHEN

EMP NAME: BULLOCK, STEPHEN
1935 SW FERNWOOD DR

LAKE OSWEGO, OR 97034

888101

10/10/2002

CORP

$283,257.00

BUNN, EDDIE RAY

EMP NAME: BUNN, EDDIE
8036 NE COUCH
PORTLAND, OR 97213

1905700

10/15/2002

CORP

$0.00

BUNTEN, LESA R.

EMP NAME: BUNTEN, LESA
PO BOX 241

SUMPTER, OR 978770241

1906400

10/15/2002

CORP

$249,383.88

BUNTING, CHRISTY

EMP NAME: BUNTING, CHRISTY L
469 CHURCH HILL RD.
LANDENBERG, PA 19350

1632801

10/15/2002

CORP

$22,180.27

BURG, MICHAEL S

EMP NAME: BURG, MICHAEL
PO BOX 576

CLATSKANIE, OR 97016

843400

10/40/2002

CORP

$106,480.00

JR. BURGE JAMES C.

EMP NAME: BURGE JR, JAMES C (JIM)
3400 RANCH RD.

MELBOURNE, FL 32904

1777202

10/15/2002

CORP

$238,301.88

BURGE, VIRGIL W.

EMP NAME: BURGE, VIRGIL W
313 HILLTOP

SONORA. TX 76950

1961100

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

BURGESS ALIZA

EMP NAME: BURGESS, ALIZA
4234 MERRIWEATHER
SUGARLAND, TX 77478-0000

1725001

10/15/2002

CORP

$450.00

BURGESS JAY A

EMP NAME: BURGESS, JAY A
2502 HILLSIDE CT

SUGAR LAND, TX 77479-0000

1452401

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

BURKE WARREN J

EMP NAME: BURKE, WARREN
2529 GREENWAY AV
LONGVIEW, WA 98632

838702

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$362,588.70

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Amount

cc*

Date:
Time:

07/11/2005
8:06:00 PM

BURLESON ROBERT M

EMP NAME: BURLESON, ROBERT
405 OLD BAYOU DR

DICKINSON, TX 77539-6543

“ 963403
mM (B08) @

10/11/2002

CORP

$1;162,018.62

BURNS DEBORAH

EMP NAME: BURNS, DEBORAH
2906 SW REDFERN PL
GRESHAM, OR 97030

1734802

10/15/2002

CORP

$193,239.76

BURNS DONNA M

EMP NAME: BURNS, DONNA M
1003 DEER RUN LANE
PAPILLION, NE 68046-4388

832002

10/10/2002

CORP

$236,303.93

BURNS, EDWARD J.

EMP NAME: BURNS, EDWARD
3266 SE WILLOW ST
HILLSBORO, OR 97123

2111100

10/24/2002

CORP

$252,400.00

BURNS TIMOTHY A

EMP NAME: BURNS, TIMOTHY
18115 S DILLMAN RD
OREGON CITY, OR 97045

941902

10/14/2002

CORP

$142,801.00

BURNUM-DECK, NORMA D

1656000

EMP NAME; BURNUM-DECK, NORMA

1370 N BIRCH
CANBY, OR 97013

10/15/2002

CORP

$127,641.00

BURRIS, RUTH

EMP NAME: BURRIS, RUTH
31670 SW RIEDWEG RD.
CORNELIUS, OR 97113

1917800

10/15/2002

CORP

$15,435.00

BURROW JAMES T

EMP NAME: BURROW, JAMES T
5305 BETA ROAD

WINTER GARDEN, FL 34787-0000

2127102

10/28/2002

CORP

$676,638.35

BURTON, SPENCER

EMP NAME: BURTON, SPENCER F
C/O EMERSON FIRM, THE
EMERSON, JR., JOHN G.

830 APOLLO LANE

HOUSTON, TX 77058

2051003

10/18/2002

CORP

$361,611.00

BUSHEK JAMES A

EMP NAME: BUSHEK, JAMES
6915 SW 8

PORTLAND, OR 97219

1480200

10/15/2002

CORP

$78,320.00

BUSHEK LORRAINE M

EMP NAME: BUSHEK, LORRAINE
6915 SW 8 AV

PORTLAND, OR 97219

1480100

10/15/2002

CORP

$62,400.00

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Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

BUSHMAN TERESA G 1545202 10/15/2002 CORP $0.00 .U

EMP NAME: BUSHMAN, TERESA G

12215 SHELWICK DRIVE CORP $0.00 P

HOUSTON, TX 77031 $0.00

BUSHNELL THEODORE E 613200 10/03/2002 CORP $0.00 P

EMP NAME: BUSHNELL, THEODORE

7501 WILLOW GROVE RD

LONGVIEW, WA 98632

BUSSELL L KATHRYN L 1743301 10/15/2002 CORP $320,366.44 U

EMP NAME: BUSSELL L, KATHRYN L

23423 POWDER MILL DR

TOMBALL, TX 77375-0000

BUSWELL, RAYTH A. 1611100 40/18/2002 CORP $250,000.00 U

EMP NAME: BUSWELL, RAYTH

1400 SW ASHWOOD LN -

MADRAS, OR 97741

BUTCHER SHARON A 1783302 40/15/2002 CORP $0.00 U

EMP NAME: BUTCHER, SHARON A

4014 CRYSTAL LAKE CRN

PEARLAND, TX 77584-0000

BUTENSCHOEN G R 1715200 40/15/2002 CORP $83,778.00 P

EMP NAME: BUTENSCHOEN, G ROB

13405 SE CEDAR PARK DR

CLACKAMAS, OR 97015

BUTENSCHOEN, GLENN C. 1711500 40/15/2002 CORP $160,080.00 P

EMP NAME: BUTENSCHOEN, GLENN

27000 $. BENJAMIN RD.

ESTACADA, OR 97023

BUTLER JANET E 1212202 40/14/2002 CORP $54,405.54 U

EMP NAME: BUTLER, JANET E

2125 AUGUSTA #25

HOUSTON, TX 77057-0000

BUTLER PAMELA H 1743901 10/15/2002 CORP $296,550.00 U

EMP NAME: BUTLER, PAMELA H (PAM)

8616 LANELL LANE - CORP | _____ 80.00 P

HOUSTON, TX 77055-0000 $296,550.00

BUTSKI MARTIN M 463100 09/16/2002 CORP $230,110.97 P

EMP NAME: BUTSKI, MARTIN M

PO BOX 141

ATLANTA, MI 497090141

BUTTS SCOTTY D 4546400 40/15/2002 CORP $0.00 U

EMP NAME: BUTTS, SCOTTY D

802 E VISTA PKWY CORP $0.00 P

ROSWELL, NM 882017751 $0.00

BUYAS DARLAL 2064402 10/21/2002 CORP _ $35,757.47 P-

EMP NAME: BUYAS, DARLA
16977 S SPANGLER RD
BEAVERCREEK, OR 97004

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Number

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Exhibit A
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Amount

cc*

_ Date: 07/11/2005
Time: 8:06:00 PM

CACH,JOHN JAY

EMP NAME: CACH, JOHN
P.O. BOX 176

COROZAL TOWN
COROZAL DIST 00000
(CENTRAL AMERICA)
BELIZE

1681201

10/15/2002

CORP

_ $112,160.00

CACH, SANDRA LEE
EMP NAME: CACH, SANDRA
P.O. BOX 176

COROZAL TOWN

COROZAL DISTRICT
(CENTRAL AMERICA)
BELIZE

1680801

10/15/2002

CORP
CORP

$44,160.00
$4,000.00
$48,160.00

CADIGAN DANIEL T

EMP NAME: CADIGAN, DANIEL
2105 HUDSON ST

LONGVIEW, WA 98632

2088200

10/18/2002

CORP

$305,300.00

CADY RACHEL A

EMP NAME: CADY, RACHEL A
5738 HUMMINGBIRD DR
HOUSTON, TX 77096-5904

1213802

10/11/2002

CORP

$83,314.60

CADY, RAYMOND D

EMP NAME: CADY, RAYMOND
8295 AUMSVILLE HY SE
SALEM, OR 97301

849600

10/10/2002

CORP

$60,000.00

CAFOUREK HAROLD L

EMP NAME: CAFOUREK, HAROLD
33512 SE PEACEFUL LN
ESTACADA, OR 97023

713900

10/08/2002

CORP

$179,840.00

CAFOUREK HAROLD

EMP NAME: CAFOUREK, HAROLD
33512 SE PEACEFUL LN
ESTACADA, OR 97023

774002

10/08/2002

CORP

$0.00

CAHOE, EARL W

EMP NAME: CAHOE, EARL
3573 SW 91ST AV
PORTLAND, OR 97225

1660600

10/15/2002

CORP
CORP

$241,054.56
$4,650.00

$245,704.56

CALGER, CHRISTOPHER F

EMP NAME: CALGER, CHRISTOPHER F (CHRIS)
84 PARTRICK RD

WESTPORT, CT 068801836

1863202

10/15/2002

ENA

$0.00

CALHOUN RANDALL

EMP NAME: CALHOUN, RANDALL
337 NE 28 AV

HILLSBORO, OR 97124

1939302

10/15/2002

CORP

$108,099.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

CALHOUN TIMOTHY

EMP NAME: CALHOUN, TIMOTHY
2620 SW 64TH PL

PORTLAND, OR 97225

Claim
Number

690503

Date
Filed

10/07/2002

Tittle Settlement Order

Debtors

Objected To CC*
Amount

CORP

$15,464.00 U

Date: 07/11/2005
Time: 8:06:00 PM

CALLAHAN BRADLEY D

EMP NAME: CALLAHAN, BRADLEY
14154 SE NICHOLAS ST

BORING, OR 97009

673700

10/07/2002

CORP

$240,900.00 P

CALLAHAN TIMOTHY J

EMP NAME: CALLAHAN, TIMOTHY J (TIM)

3119 HICKORY BEND COURT
HOUSTON, TX 77084-0000

658102

10/07/2002

CORP

$40,443.00 U

CALLANS NANCY M

EMP NAME: CALLANS, NANCY M
18318 LONGMOOR DR.
HOUSTON, TX 77084-0000

1686203

10/15/2002

CORP

$763,563.76 U

CALZADA JESSIE R

EMP NAME: CALZADA, JESSIE R
709 HERVEY DR

ROSWELL, NM 88201-0000

1601600

10/15/2002

CORP

$0.00 P

CAMEL, ANTHONY J.

EMP NAME: CAMEL, ANTHONY
4704 NE 40TH ST
VANCOUVER, WA 98661

1224100

10/14 1/2002

CORP

$123,068.00 U

CAMENZIND, MARYLIN K.

EMP NAME: CAMENZIND. MARYLIN
4757 SAN DIEGO DRIVE

SALEM, OR 97305

1503600

10/15/2002

CORP
CORP

$203,360.00 U
$0.00 P
$203,360.00

CAMP BILL C

EMP NAME: CAMP, BILL
30252 SE BLUFF RD
GRESHAM, OR 97080

1675000

10/15/2002

CORP

$217,424.00 U

CAMPBELL, JOHN J.

EMP NAME: CAMPBELL, JOHN J
34 BAYCREST AVE .
WESTHAMPTON, NY 11977

175303

04/08/2002

CORP

$180,000.00 P

CAMPBELL JOHN J
EMP NAME: CAMPBELL, JOHN J
34 BAYCREST AVE
WESTHAMPTON, NY 11977-0000

596803

10/02/2002

EESO

$184,400.00 P

CAMPBELL, LAWRENCE T.

EMP NAME: CAMPBELL, LAWRENCE T (LARRY)

202 LA FONDA
ROSWELL, NM 88201

1240301

10/11/2002

CORP

$0.00 U

CAMPBELL, PATRICK F.

EMP NAME: CAMPBELL, PATRICK
P.O. BOX 3036

CLACKAMAS, OR 97015

1601402

10/15/2002

‘CORP

- $669,298.00 P.

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Claimant

CAMPBELL PATTIJO

EMP NAME: CAMPBELL, PATTIJO
21000 NW QUATAMA RD 175 &
BEAVERTON, OR 97006

Claim
Number

1580400

Date
Filed

10/15/2002

Exhibit A

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Debtors

Objected To
Amount

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CORP

$79,898.40

Date: 07/11/2005
Time: 8:06:00 PM

CAMPER, BILL

EMP NAME: CAMPER, WILLIAM
3213 ASPENWOOD PL
FOREST GROVE, OR 97116

824800

10/10/2002

CORP

$6,752.00

CAMPO MICHAEL P

EMP NAME: CAMPO, MICHAEL P (MICHAEL
PAUL)

PO BOX 161205

ALTAMONTE SPRINGS, FL 32716-1205

1706802

10/15/2002

GORP

$1,605,253.70

CAMPOS. SYLVIA A

EMP NAME: CAMPOS, SYLVIA A
12323 MAPLE LEAF LN.
STAFFORD, TX 77477-0000

1244302

10/11/2002

CORP

$57,800.00

CANIPAROLI DAVID H

EMP NAME: CANIPAROLI, DAVID
33865 WICKMAN WY

WARREN, OR 97053

1766500

10/15/2002

CORP

$236,960.00

JEANANNE CANTERBURY MIGALA
EMP NAME: CANTERBURY, JEANANNE
P.O. BOX 0

SIMONTON, TX 77476

723401

10/08/2002

CORP

$110,841.74

CANTERBURY MARK R

EMP NAME: CANTERBURY, MARK R
5806 REDWOOD RIVER DR
KINGWOOD, TX 77345-0000

634703

10/04/2002

CORP

$432,000.00

CANTRELL THERESA S
EMP NAME: CANTRELL, THERESA
13498 SW UPLANDS DR
TIGARD, OR 972232682

893600

10/10/2002

CORP

$21,760.00

CANTU ROBERTO

EMP NAME: CANTU, ROBERTO (ROBERT)
4921 MEADOW PLACE

LA PORTE, TX 77571

936500

10/11/2002

CORP

$4,650.00
$2,076.40

PEREZ, VERONICA

EMP NAME: CANTU, VERONICA
814 WASHINGTON

SOUTH HOUSTON, TX 77587

2061102

10/21/2002

CORP

$0.00

CARBONEAU DAVID K

EMP NAME: CARBONEAU, DAVID
1229 SE 55

PORTLAND, OR 97215

1550601

10/15/2002

CORP

$187,727.27

CARD BARBARA Y

EMP NAME: CARD, BARBARA
175 SW TOWLE AV
GRESHAM, OR 97080-6749

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

1166902

10/11/2002

CORP

"$151,895.36

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CARDWELL, SARA J

EMP NAME: CARDWELL, SARA
970 NW MUIRFIELD CT
BEAVERTON, OR 97006

842402

10/10/2002

CORP

. $245,853.04

CARLSON PATRICIA C

EMP NAME: CARLSON, PATRICIA
16480 S PAM DR

OREGON CITY, OR 97045

1476702

10/15/2002

CORP

$171,920.00

CARNAHAN, STEVEN J

EMP NAME: CARNAHAN, STEVEN J (STEVE)
202 N HIVIEW DRIVE

SUTHERLAND. IA 51058-0000

2016201

10/16/2002

CORP

$27,636.50

CARNEY JOSEPHINE

EMP NAME: CARNEY, JOSEPHINE
2830 SE 130

PORTLAND, OR 97236

1648802

10/15/2002

CORP

$216,027.00

CARPENTER NANCY J

EMP NAME: CARPENTER, NANCY J (NANCY JO)
1821 COLUMBIA

HOUSTON, TX 77008-0000

1941803

10/15/2002

CORP

$0.00

CARR, JAMES E

EMP NAME: CARR, JAMES E
5919 FT. SUMTER
HOUSTON, TX 77084-0000

1751002

10/15/2002

CORP

$15,374.25

CARRERA, SUSAN

EMP NAME: CARRERA, SUSAN M
7618 ROLLING ROCK

HOUSTON, TX 77062

1755602

10/15/2002

EBS, INC

$53,920.00

CARRICK LESLIE K

EMP NAME: CARRICK, LESLIE
4875 NW KAHNEETA DR
PORTLAND, OR 97229

1902100

10/15/2002

CORP

$92,000.00

CARRIER JR RICHARD M

EMP NAME: CARRIER, RICHARD
1266 HERITAGE LOOP.
STAYTON, OR 97383

714600

10/08/2002

CORP
CORP

$206,000.00
$0.00
$206,000.00

CARRILLO, ALMA L.

EMP NAME: CARRILLO, ALMA L
1107 HAVNER

HOUSTON, TX 77037

1912401

10/15/2002

ETSC

$0.00

CARRILLO JOSE

EMP NAME: CARRILLO, JOSE S
19 FOUR CORNER RD
GILLETTE, WY 82718

634803

10/04/2002

CORP

$9,063.53

CARRIZALES BLANCA

EMP NAME: CARRIZALES, BLANCA R
6426 BROOKSIDE DRIVE

HOUSTON, TX 77023

1672403

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$5,987.12

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CARROLL LILLIAN B 1195303
EMP NAME: CARROLL, LILLIAN B

8143 THEISSWOOD ROAD

SPRING, TX 77379-6149

10/11/2002

CORP

$29,938.75

CARSON WILLIAM 911000
EMP NAME: CARSON, WILLIAM

115 GRANT ST.

SILVERTON, OR 97381

10/4 4/2002

CORP

$207,074.60

CARTER, JACQUELINE J 1589000
EMP NAME: CARTER, JACQUELINE J

1626 RONSON

HOUSTON, TX 77055

10/15/2002

CORP

$266,802.31

CARTER, LOLITA M 847102
EMP NAME: CARTER, LOLITA

156 NE NINTH AV

HILLSBORO, OR 97124

10/10/2002

CORP

$176,352.00

CARTER, MARK 839900
EMP NAME: CARTER, MARK

PO BOX 272

ESTACADA, OR 97023

10/10/2002

CORP

$209,741.00

CARTER, PAMELA 1904900
EMP NAME: CARTER, PAMELA D (PAM)

PO BOX 528440

CHICAGO, IL 606528440

10/15/2002

CORP

$0.00

CARTER ZUELAM 1512302
EMP NAME: CARTER, ZUELA M

11731 QUAIL CREEK DR

HOUSTON, TX 77070-0000

10/15/2002

CORP

$16,428.03

CASCIATO, CYNTHIA K 922503
EMP NAME: CASCIATO, CYNTHIA

119 WESTMINSTER DR

KELSO, WA 98626

10/11/2002

CORP

$255,429.83

CASEY, WILLIAM SEAN 1917502
EMP NAME: CASEY, WILLIAM

10167 SE 99TH DRIVE

PORTLAND, OR 97266

10/45/2002

CORP

$580,000.00

CASH LLOYD 1673102
EMP NAME: CASH, LLOYD

PO BOX 551

BOARDMAN, OR 97818

10/15/2002

CORP

$248,801.07

CASH MICHELLE H 1393504
EMP NAME: CASH, MICHELLE H : :
4531 BEECH ST

BELLAIRE, TX 77401-0000

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

CASON, BERNIE LLOYD 1665900
EMP NAME: CASON, BERNIE L

3608 APOLLO CT

MIDLAND, TX 797072811

10/15/2002

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CORP
CORP

$0.00
$0.00
$0.00

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cc*

CASON, SANDRA KAY , 1665800
EMP NAME: CASON, SANDRA K (SANDY) e

3608 APOLLO CT

MIDLAND, TX 797072811

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

CASSELL, STANLEY J 1660300
EMP NAME: CASSELL, STANLEY

2767 ROBINWOOD WAY

WEST LINN, OR 97068

10/45/2002

CORP

$123,136.00

CASTILLO ROSALINDA 1776503
EMP NAME: CASTILLO, ROSALINDA

13703 GREYWOOD

SUGAR LAND, TX 77478-0000

10/15/2002

CORP

$60,713.14

CASTRO, ARTHUR M. 705800
EMP NAME: CASTRO, ARTHUR M ~

628 DEER RD.

P.O. BOX 594

COMFORT, TX 78013

10/07/2002

CORP

$269,107.96

CATES JOHN W 1988901
EMP NAME: CATES, JOHN W

9710 CHECKERBOARD

HOUSTON, TX 77096-4017

10/15/2002

CORP

$75,000.00

CATES RICKEY D 1754000
EMP NAME: CATES, RICKEY D (RICK)

317 PITCHFORK LANE

CANYON, TX 79015-0000

10/15/2002

CORP

$428,950.86

CAUTHEN M WILEY 1794802
EMP NAME: CAUTHEN, WILEY M

1240 WINTER GARDEN-VINELAND RD

APT. #75

WINTER GARDEN, FL 34787

10/15/2002

CORP

$6,655,318.99

CEBRYK DOUGLAS 544602
EMP NAME: CEBRYK, DOUGLAS

2026 DRISCOLL STREET

HOUSTON, TX 77019-0000

09/30/2002

ETSC

$36,942.78

CERNOCH LEON R 1731202
EMP NAME: CERNOCH, LEON R

1709 HEIGHTS DR

KATY, TX 77493-0000

10/15/2002

CORP

$1,498,139.78

CESSAC, KENNETH P. 1821203
EMP NAME: CESSAC, KENNETH P

PO BOX 1163

FRIENDSWOOD, TX 775491163

10/15/2002

CORP

$0.00

CHAHAL, MANDEEP SINGH 512002
EMP NAME: CHAHAL, MANDEEP § (RONNIE)

1911 GREENWICH TERR DR

HOUSTON, TX 77019

09/23/2002

CORP

$8,737.02

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

CHALAMBAGA,MARY

EMP NAME: CHALAMBAGA, MARY E
705 ARNETT

FORT STOCKTON, TX 79735

Claim
Number

711200

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/08/2002

Debtors

Objected To
Amount

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cc

CORP

$170,000.00

Date. 07/11/2005
Time: 8:06:00 PM

CHALAMBAGA MARY

EMP NAME: CHALAMBAGA, MARY E
205 ARNETT

FORT STOCKTON, TX 79735

763200

10/09/2002

CORP

$170,000.00

CHALK WANDA R

EMP NAME: CHALK, WANDA R
20131 FIELDTREE DRIVE
HUMBLE, TX 77338-0000

1761803

10/15/2002

CORP

$0.00

CHANCE RALPH

EMP NAME: CHANCE, RALPH F
521N. TORNILLO ST.

KERMIT, TX 79745

393100

09/09/2002

CORP

$3,401.00

CHANDLER, ROBERT F.

EMP NAME: CHANDLER, ROBERT F (BOB)

36 CORNERBROOK PLACE
THE WOODLANDS, TX 77381

1561400

10/15/2002

CORP

$0.00

CHANLEY, EDWIN E

EMP NAME: CHANLEY, EDWIN E (EARL)

3 BATON ROUGE
ROSWELL, NM 88201-0000

2142302

10/30/2002,

CORP

$250,000.00

CHAPIN, MICHAEL

EMP NAME: CHAPIN, MICHAEL
14755 SW GLENBROOK RD
BEAVERTON, OR 97007

914500

10/11/2002

CORP

$190,000.00

CHAPMAN E J

EMP NAME: CHAPMAN, E
1465 SW HIGHLAND RD
PORTLAND, OR 97221

836202

10/10/2002

CORP

$80,447.20

CHAPMAN, GREGORY L

EMP NAME: CHAPMAN, GREGORY
222 SE 214

GRESHAM, OR 97030

1245500

10/41/2002

CORP

$947,680.00

CHAPMAN, JOHN L.

EMP NAME: CHAPMAN, JOHN
1465 S.W. HIGHLAND ROAD
PORTLAND, OR 97221

826800

10/10/2002

CORP ©

$280,812.00

CHARBONNEAU LOREN

EMP NAME: CHARBONNEAU, LOREN
5605 N. 142 AVE.

OMAHA, NE 68164-6272

2023002

10/16/2002

CORP

$520,000.00

CHARTIER JOHN H

EMP NAME: CHARTIER, JOHN
50528 HILLCREST DR
SCAPPOOSE, OR 97056

718600

10/08/2002

CORP

$458,937.32

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A
Tittle Settlement Order

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- Date: 07/11/2005
Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

CHASE, PETER R. 1612903 10/15/2002 CORP. $0.00 U

EMP NAME: CHASE, PETER R (PETE)

9401 BLENHEIM DR.

AMARILLO, TX 79119

CHAVARRIA, RUBEN V. 941600 10/11/2002 CORP $0.00 U

EMP NAME: CHAVARRIA, RUBEN V

404 S MENDEL CORP _ «80.00 P

FORT STOCKTON, TX 79735 $0.00

CHAVEZ JOE RAY 1663700 10/15/2002 CORP $0.00 U

EMP NAME: CHAVEZ, JOE R

1803 N TEXAS CORP _____— 80.00 P

FORT STOCKTON, TX 79735 $0.00

CHAVEZ, NORMA 1387000 10/15/2002 CORP $0.00 P

EMP NAME: CHAVEZ, NORMA .

3902 DALLAS, #2

HOUSTON, TX 77023

CHAVEZ-RICHTER, ALMA D 1590700 10/15/2002 CORP $0.00 P

EMP NAME: CHAVEZ-RICHTER, ALMA D

3923 WILLOWIND DR

PASADENA. TX 77504-0000

CHEEK CHARLES E 1832806 10/15/2002 CORP $75,190.79 U

EMP NAME: CHEEK, CHARLES E (CHUCK)

2307 ELLA LEE LANE CORP _______—80.00 P

HOUSTON, TX 77019 $75,190.79

CHENIER JOHN A 1682402 10/15/2002 CORP $450,000.00 P

EMP NAME: CHENIER, JOHN A ‘

248 CHENIER ROAD

OPELOUSAS, LA 70570-0000

CHENOWETH, CHRISTOPHER W 867800 10/10/2002 CORP . $0.00 U

EMP NAME: CHENOWETH, CHRISTOPHER W

1810 OAKDALE CORP , _____—80.00 P

APTB : $0.00

HOUSTON, TX 77098

CHENOWETH, LINDA M 2068202 40/21/2002 ENA $0.00 U

EMP NAME: CHENOWETH, LINDA M . :

3311 VINEYARD LN

MONTGOMERY, TX 77356

CHERRY PAUL R 1819602 40/15/2002 CORP . $58,301.00 U

EMP NAME: CHERRY, PAUL R

418207 HAMPTON OAK COURT

SPRING, TX 77379-0000

CHERRY, STEPHEN B. 1746402 10/15/2002 U-

EMP NAME: CHERRY, STEPHEN B (STEVE)
131 ENCHANTED OAK BLVD
LAFAYETTE, LA 70508

CORP $0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

CHEVIS, CHERLY A.

EMP NAME: CHEVIS, CHERYL
1414 SW 3RD AVE

APT 2504

PORTLAND, OR 97201

Claim
Number

961302

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/11/2002

Debtors

Objected To
Amount

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cc*

CORP
CORP

$0.00
$20,415.36
$20,415.36

Date:
Time:

07/11/2005
8:06:00 PM

CHIt ROGER C

EMP NAME: CHI, ROGER C
7107 LAKE MEAD BLVD.
ARLINGTON, TX 76016-0000

891300

10/10/2002

CORP

$2,031.24

FENG JULIA H

EMP NAME: CHIN, JULIA H
2011 SPANN

HOUSTON, TX 77019-0000

1636302

10/15/2002

CORP

$0.00

CHIOTT| CHARLES ROBERT
EMP NAME; CHIOTTI, CHARLES
240 N.E. WACO CT
HILLSBORO, OR 97124

1672900

10/15/2002

CORP

$261,920.00

CHIOTTI, STANLEY A

EMP NAME: CHIOTTI, STANLEY
244 SHORE DR

ST HELENS, OR 97051

655402

10/07/2002

CORP

$64,000.00

CHISUM STEVEN D

EMP NAME: CHISUM, STEVEN
17040 SE BARTEL RD
BORING, OR 97009

716902

10/08/2002

CORP

$263,420.27

CHITTICK JEFFERY T

EMP NAME: CHITTICK, JEFFERY
42162 AVSE

SALEM, OR 97301

772700

10/09/2002

CORP

$186,000.00

CHIU COLLEEN

EMP NAME: CHIU, COLLEEN
PO BOX 293

CLACKAMAS, OR 970150293

1754100

10/15/2002

CORP

$298,514.41

CHOATE, STEPHANIE J

EMP NAME: CHOATE, STEPHANIE
11912 SE LAMPLIGHTER AV
MILWAUKIE, OR 97222

656300

10/07/2002

CORP

$197,929.02

CHRISTENSEN, DAREN M

EMP NAME: CHRISTENSEN, DAREN
PO BOX 988

RAINIER, OR 97048

846703

10/10/2002

CORP

$47,488.00

CHRISTENSON P. CHRIS

EMP NAME: CHRISTENSON, CHRIS
710 WEST GRANT ST.
GREENSBURG, KS 67054

691702

10/07/2002

CORP

$1,268,819.59

CHRISTIE, DANIEL G.

EMP NAME: CHRISTIE, DANIEL G
101 PINYON COURT

HOT SPRINGS, AR 71901

1498603

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$0.00
$0.00
$0.00

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Amount

. Date: 07/11/2005
Time: 8:06:00 PM

CHROWL DUANE K

EMP NAME: CHROWL, DUANE
6490 LARDON RD NE

SALEM, OR 973053763

693500

10/07/2002

CORP

*. $228,800.00 U

CHUA, ADRIAN W.

EMP NAME: CHUA, ADRIAN W
9797 MEADOWGLEN APT 206
HOUSTON, TX 77042

2016300

10/16/2002

ENW LLC

$0.00 P

CHUN, INJA Y

EMP NAME: CHUN, INJA Y
10003 PINE FOREST RD
HOUSTON, TX 77042-0000

1900603

10/15/2002

CORP

$97,197.39 U

CINI PATRICIA L

EMP NAME: CINI, PATRICIA (PAT)
13 DORAL COURT

MATTOON, IL 61938

2064100

10/2 1/2002

CORP

$0.00 U

CISNEROS MARIA D

EMP NAME: CISNEROS, MARIA D
11514 CHIPPEWA RIDGE CT
HOUSTON, TX 770892702

1229000

10/11/2002

CORP

$17,776.43 P

CISSNA, JOSEPH

EMP NAME: CISSNA, JOSEPH
3634 NE 16 AV

PORTLAND, OR 97212

1590903

10/15/2002

CORP

$100,000.00 P

CLABURN, MICHAEL W

EMP NAME: CLABURN, MICHAEL W
1202 S CALVIN

MONAHANS, TX 79756-0000

848300

10/10/2002

CORP

$0.00 P

CLAGUE JOSEPH E

EMP NAME: CLAGUE, JOSEPH
761 SE 128 ST

PORTLAND, OR 97233

914302

10/14/2002

CORP

$230,220.00 P

CLANTON, SAMIE LOUIE

EMP NAME: CLANTON, SAMIE L (LOUISE)
441 ASHLAND

CORPUS CHRISTI, TX 78412

799200

10/10/2002

CORP

$0.00 P

CLAPPER KAREN A

EMP NAME: CLAPPER, KAREN A
413 N 22ND ST

NEBRASKA CITY, NE 68410

504000

09/23/2002

CORP

$0.00 P

CLARE, ROBERT H.

EMP NAME: CLARE, ROBERT
C/O BETTY G. CLARE

3411 NE 92ND AVE.
PORTLAND, OR 97220

1642000

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

CLARK BRIAN

EMP NAME: CLARK, BRIAN
4239 OLYMPIA PL
LONGVIEW, WA 98632

Claim
Number

1944803

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

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CORP

_ $416,086.26 P

- Date:
Time:

07/11/2005
8:06:00 PM

CLARK, CHRISTOPHER K.

EMP NAME: CLARK, CHRISTOPHER K (CHRIS)
1312 VASSAR STREET

HOUSTON, TX 77006

1698400

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

CLARK DANNY G

EMP NAME: CLARK, DANNY G
1607 MORTON LEAGUE RD
RICHMOND, TX 77469-1380

2041700

10/17/2002

CORP

$0.00 U

CLARK, ELISE C.

EMP NAME: CLARK, ELISE C
18715 TRANQUILITY DR.
HUMBLE, TX 77346

1632701

10/15/2002

CORP

$23,870.18 P

CLARK, JEAN ELLEN

EMP NAME: CLARK, JEAN E
553CALIBRECREST PKWY#206
ALTAMONTE SPRINGS, FL 32714

1158802

10/11/2002

CORP

$0.00 U

CLARK, KELLY M.

EMP NAME: CLARK, KELLY M
1302 WARBLER DR.
KERRVILLE, TX 78028

596500

10/02/2002

CORP

$126,171.00 U

CLARK, NANCY

EMP NAME: CLARK, NANCY
648 SE 20 CT

HILLSBORO, OR 97123

1203402

10/11/2002

CORP

$58,528.00 U

CLARK PATRICIA

EMP NAME: CLARK, PATRICIA
2207 36

LONGVIEW, WA 98632

1996002

10/15/2002

CORP

$132,000.00 P

CLARK, WILLIAM A.

EMP NAME: CLARK, WILLIAM
12692 SE 131 COURT
CLACKAMAS, OR 97015

637200

40/04/2002

CORP

$160,000.00 P

CLARK WILLIAM L

EMP NAME: CLARK, WILLIAM L
497 SOUTH POLK

APT #15

GIDDINGS, TX 78942

345400

09/03/2002

ETSC

$28,645.96 U

CLARKE GREGORY B

EMP NAME: CLARKE, GREGORY
3350 SW MARIGOLD
PORTLAND, OR 97219

1663300

10/15/2002

CORP

$135,738.88 P

CLAWSON JOYCE G

EMP NAME: CLAWSON, JOYCE
639 27

LONGVIEW. WA 98632

799500

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$408,229.60 P

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Claimant Claim
Number

Document 1005-1

Date
Filed

Exhibit A
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Debtors

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Amount

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cc

Date:
Time:

07/11/2005
8:06:00 PM

SETTLE, KATHY L 1222502
EMP NAME: CLAYBURG, KATHY 2

4417 ZIRKEL CT

LONGVIEW, WA 98632

10/11/2002

CORP

$94,063.31

CLAYSON, DONNA J. 1926803
EMP NAME; CLAYSON, DONNA

16273 SW SUMAC

BEAVERTON, OR 97007

10/15/2002

CORP

$6,738.34

CLEAVELAND, DERRYL W 1240002
EMP NAME: CLEAVELAND, DERRYL W

19 LAKE LEAF PLACE

THE WOODLANDS, TX 77381-0000

10/11/2002

CORP

$6,913.82

CLELEN, TERRY 1708600
EMP NAME: CLELEN, TERRY .

6356 SW PEYTON RD

PORTLAND, OR 97219

10/15/2002

CORP

$10,650.00

CLEMENTS DAVID D 644903
EMP NAME: CLEMENTS, DAVID D

17245 ORCHARD AVE

OMAHA, NE 68135-0000

10/04/2002

CORP

$1,489,606.31

CLEMINGS, GWEN H. 1494802
EMP NAME: CLEMINGS, GWEN H

15523 GETTYSBURG DR.

TOMBALL, TX 77377

10/15/2002

CORP
CORP

$7,214.89
$2,198.23
$9,413.12

CLENNON DAWN A 1196900
EMP NAME: CLENNON, DAWN A

10819 SWAN GLEN DRIVE

HOUSTON, TX 77099-0000

10/11/2002

CORP

$0.00

CLIFFORD TAMBRA 2079102
EMP NAME: CLIFFORD, TAMBRA

4725 SW 160 AV

BEAVERTON, OR 97007

10/2 1/2002

CORP

$50,000.00

CLIFTON, ANITA 1952102
EMP NAME: CLIFTON, ANITA

1819 S.W. 3RD

GRESHAM, OR 97080

10/15/2002

CORP

$2,802.32

CLINE, KENNETH W 1846803
EMP NAME: CLINE, KENNETH W (WADE)

409 BUNKER HILL ROAD

HOUSTON, TX 77024

10/15/2002

CORP

$0.00

CLOEPFIL, JEFFREY A. 795100
EMP NAME: CLOEPFIL, JEFFREY

1905 WESTLAKE LOOP

NEWBERG, OR 97132

10/09/2002

CORP

$101,280.00

COASH STEVE G 908300
EMP NAME: COASH, STEVE G

36915 ADAMS ST

WEEPING WATER, NE 68463-2627

10/11/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$730,037.00

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Claimant

Claim
Number

Exhibit A
Tittle Settlement Order

Date
Filed

Debtors

Date: 07/11/2005
Time: 8:06:00 PM

Objected To CC*
Amount

COATS, CAROL J.

EMP NAME: COATS, CAROL J
12400 BROOKGLADE CIR UNIT 44
HOUSTON, TX 77099

1494900

10/15/2002

CORP

$1,188.71 P

COATS, EDWARD R.

EMP NAME: COATS, EDWARD R (ED)
14103 SPYGLEN LANE

CYPRESS, TX 77429

1261102

10/11/2002

CORP

$0.00 U

COBB JR JOHN H

EMP NAME: COBB JR, JOHN H
207 TALL PINES DRIVE
MAGNOLIA, TX 77354-4077

1216302

10/11/2002

CORP

$266,649.00 U

COCHRAN JEFFREY M

EMP NAME: COCHRAN, JEFFREY M (JEFF)
4430 ECHO FALLS DR

KINGWOOD, TX 77345-1048

1758300

10/15/2002

CORP

$201,478.67 P

CODY, MARC A

EMP NAME: CODY, MARC
7956 N HODGE AV
PORTLAND, OR 97203

842300

10/10/2002

CORP

$52,023.25 P

COEN, ARTHUR B

EMP NAME: COEN, ARTHUR B
PMB 325

925 S. MASON RD.

KATY, TX 77450

1690700

10/15/2002

CORP

$1,098.34 U

COFFMAN ROBERT L

EMP NAME: COFFMAN, ROBERT
12785 SW REMUDO LN
BEAVERTON, OR 97008

1190802

10/11/2002

CORP

$0.00 U

COLE CATHRYN B

EMP NAME: COLE, CATHRYN B (KATE}
2402A MANDELL

HOUSTON, TX 77006-0000

1167002

10/11/2002

CORP

$0.00 U

COLE, JAMES, D.

EMP NAME: COLE, JAMES D
16311 FOX CROSSING LN.
SPRING, TX 77379

1452603

10/15/2002

CORP

$0.00 U

COLE, KATHRYN E

EMP NAME: COLE, KATHRYN
8118 SW 36TH AV
PORTLAND, OR 97219

838900

10/10/2002

CORP

$17,280.00 U

COLE ROBERT L

EMP NAME: COLE, ROBERT L (ROB)
11411 MEADOWCHASE DRIVE
HOUSTON, TX 77065-0000

1679603

10/15/2002

CORP

$9,019.33 U

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

COLEMAN JACKIE E

EMP NAME: COLEMAN, JACKIE E
3214 FOUNTAIN HILLS DRIVE
MISSOURI CITY, TX 77459

Claim
Number

2000803

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Exhibit A
Tittle Settlement Order

Date
Filed

10/15/2002

Debtors

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Amount

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cc*

CORP

$8,000.00

- Date:
Time:

07/11/2005
8:06:00 PM

COLES MICHAEL D

EMP NAME: COLES, MICHAEL
7906 SE 108 AV

PORTLAND, OR 97266

714102

10/08/2002

CORP

$76,155.00

COLLETT CYNTHIA A

EMP NAME: COLLETT, CYNTHIA
19535 S SILVER FOX PKWY
OREGON CITY, OR 97045

1166602

10/11/2002

CORP

$16,711.72

COLLINS, ANGENETTA C

EMP NAME: COLLINS, ANGENETTA C (ANGIE)
1415 ELDRIDGE PARKWAY #2225

HOUSTON, TX 77077

2119500

10/15/2002

CORP

$0.00

COLLINS, JOAN F

EMP NAME: COLLINS, JOAN F
6227 ROLLING WATER DRIVE
HOUSTON, TX 77069-0000

1242202

10/11/2002

CORP
CORP

$0.00
$0.00
$0.00

COLLINS, KIMBERLY S.

EMP NAME: COLLINS, KIMBERLY S (KIM)
20041 OSTERMAN RD

APT N11

LAKE FOREST, CA 92630

1861001

10/15/2002

CORP

$0.00

COLLINS MARION L

EMP NAME: COLLINS, MARION L
10206 SAGECOURT

HOUSTON, TX 77089-0000

1942000

10/15/2002

CORP

$0.00

COLLINS, PHILLIP W.

EMP NAME: COLLINS, PHILLIP W (PHILLIP
WADE)

312 CLYDESDALE CIR

SANFORD, FL 327736898

1728200

~ 10/15/2002

CORP
CORP

$18,098.00
$4,650.00
$22,748.00

COLOMBO, MICHAEL

EMP NAME: COLOMBO, MICHAEL
PO BOX 329

WHEELER, OR 971470329

852200

10/10/2002

CORP

$102,931.00

COLSON, CHARLES W.

EMP NAME: COLSON, CHARLES W (CHUCK)
30110 COMMONS SCENIC VIEW DR.
HUFFMAN, TX 77336

1519501

10/15/2002

CORP
CORP

$0.00
$23,911.31
$23,911.31

COLVIN MYRON H

EMP NAME: COLVIN, MYRON
11960 SE 222

BORING, OR 97009

829302

10/10/2002

CORP

$152,298.40

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claim
Number

COMSTOCK, JEAN L

EMP NAME: COMSTOCK, JEAN
561 36 AV NW

SALEM, OR 97304

1960700

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Date
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10/15/2002

Debtors

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Amount

cc*

CORP

$79,032.00

Date: 07/11/2005
Time: 8:06:00 PM

COMSTOCK RON C

EMP NAME: COMSTOCK, RON
561 36 AV NW ‘
SALEM, OR 97304

1697900

10/15/2002

CORP

$407,904.00

CONANT, JOHN D

EMP NAME: CONANT, JOHN
18690 SHENANDOAH DR
OREGON CITY, OR 97045

845200

10/10/2002

CORP

$240,000.00

CONFER MARK A

EMP NAME: CONFER, MARK A
3510 HIDDEN CREEK

SUGAR LAND, TX 77479-0000

1791103

10/15/2002

CORP

$19,374.55 ©

CONLEY NEAL T

EMP NAME: CONLEY, NEAL
PO BOX 622

1030 NE 5TH ST
CLATSKANIE, OR 97016

1770700

10/15/2002

CORP

$12,935.76

CONRAD JR HAROLD R

2022100

EMP NAME: CONRAD JR, HAROLD R

16402 JOHNS LAKE RD.
CLERMONT, FL 34711-0000

10/16/2002

CORP

$0.00

CONWAY, PAULA J

EMP NAME: CONWAY, PAULA
73 NE 43RD AVE

PORTLAND, OR 97213

1960902

10/15/2002

CORP

$162,750.08

COOK CHRISTOPHER C

EMP NAME: COOK, CHRISTOPHER

8512 NE FREMONT ST
PORTLAND, OR 97220

932602

10/4 1/2002

CORP

$30,880.00

COOK KATHLEEN A

EMP NAME: COOK, KATHLEEN A
1207 ATLANTA

RICHMOND, TX 77469-0000

908601

10/11/2002

CORP

$145,471.37

COOK, LARRY D.

EMP NAME: COOK, LARRY
73005 BEAVER SPRINGS RD
RAINIER, OR 97048

21418900

10/25/2002

CORP

$26,720.00

COOK ROBERT S
EMP NAME: COOK, ROBERT S
2022 ABERDEEN
LEAGUE CITY, TX 77573-0000

618402

10/03/2002

CORP
CORP

$113,147.71
$0.00
$113,147.71

COOKSEY, MARK

EMP NAME: COOKSEY, MARK
1615 SE HOLLY

PORTLAND, OR 97214

666203

10/07/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$191,186.05

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Claimant

Claim
Number

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Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

cct

Date:
Time:

07/11/2005
8:06:00 PM

COOKSTON, HOWARD R

EMP NAME: COOKSTON, HOWARD
7735 SW 184 AV

ALOHA, OR 97007

1864000

10/15/2002

CORP

$156,960.00

COOLEY, JANNIS

EMP NAME: COOLEY, JANNIS H (JAN)
9310 WOODMEADOW DR.

HOUSTON, TX 77025

1158502

10/11/2002

CORP
CORP

$0.00
$0.00
$0.00

COOMBE. MARY ELLEN

EMP NAME: COOMBE, MARY E
1723 PRAIRIE GROVE
HOUSTON, TX 77077

1552600

10/15/2002

CORP
CORP

$0.00
$726,789.91

$726,789.91

COOMBES, DUANE

EMP NAME: COOMBES, DUANE
835 NE 188TH AVENUE
PORTLAND, OR 97230

805800

10/10/2002

CORP

$107,680.00

COOMBS JAMES E

EMP NAME: COOMBS, JAMES
14994 SE BRIGHTWOOD AV
MILWAUKIE, OR 97267

1181802

10/11/2002

CORP

$361,840.00

COON, GALEN

EMP NAME: COON, GALEN
10622 ENDICOTT
HOUSTON, TX 77035-0000

1912700

10/15/2002

CORP

$0.00

COOTS, VICKIE L

EMP NAME: COONTS, VICKIE
VICKIE L COONTS

4020 CORAL REEF PL

LAKE HAVASU C, AZ 864064502

583000

09/27/2002

CORP

$14,271.60

COONTS VICKIE L

EMP NAME: COONTS, VICKIE
4020 CORAL REEF PL.

LAKE HAVASU CTY, AZ 86406

584500

09/27/2002

CORP

$118,040.44

COOPER ADAM L

EMP NAME: COOPER, ADAM L
140 GARDEN ROAD
COLUMBUS, OH 43214-0000

1633401

10/15/2002

EESO ©

$0.00

COOPER, ADAM LABAN

EMP NAME: COOPER, ADAM L
866 COLONY WAY
COLUMBUS, OH 43235

176404

04/12/2002

CORP

$66,300.00

COOPER EUFARD L

EMP NAME: COOPER, EUFARD L
42 BRIDGEBERRY PLACE

THE WOODLANDS, TX 77381-6323

1522602

10/15/2002

CORP

$32,560.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

COOPER, MARK G

EMP NAME: COOPER, MARK G
288 WIGEON RD

GILMER, TX 75645

Claim
Number

1614002

Document 1005-1

Exhibit A
Tittle Settlement Order

Date
Filed

10/15/2002

Debtors

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Amount

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cect

EMC

$0.00

- Date:
Time:

07/11/2005
8:06:00 PM

COOPER, STEPHEN W

EMP NAME: COOPER, STEPHEN
15000 SW BROKEN FIR RD
SHERWOOD, OR 971405065

1611000

10/15/2002

CORP

$115,897.30

COPELAND, JAMES L. JR.

EMP NAME: COPELAND JR, JAMES L
15607 MUSTANG GREEK CIRCLE
CYPRESS, TX 77429

1369902

10/15/2002

CORP

$0.00

COPELAND ERIN
EMP NAME: COPELAND, ERIN L
15607 MUSTANG CREEK CIRCLE
CYPRESS, TX 77429

1674103

10/15/2002

CORP

$0.00

CORBET, NANCY

EMP NAME: CORBET, NANCY J
5923 SUGAR HILLL

HOUSTON, TX 77057

1494602

10/15/2002

CORP

$57,107.74

CORLESS GARY H

EMP NAME: CORLESS, GARY H
608 BAYWOOD COURT

LAKE MARY, FL 32746-0000

1147603

10/11/2002

CORP

$0.00

CORLESS GARY H

EMP NAME: CORLESS, GARY H
608 BAYWOOD COURT

LAKE MARY, FL 32746-0000

1147604

10/11/2002

CORP

$0.00

CORMAN, SHELLEY

EMP NAME: CORMAN, SHELLEY A
14126 SCARBOROUGH FAIR
HOUSTON, TX 77077

1912502

10/15/2002

CORP

$0.00

BUFFORD M. CORMIER

EMP NAME: CORMIER, BUFFORD M
231 ELLA

EUNICE, LA 70535-0000

2228300

12/40/2002

CORP

$115,757.06

COSTANZO MICHAEL A

EMP NAME: COSTANZO, MICHAEL
4767 NW GANNET TER
PORTLAND, OR 97229

1522003

10/15/2002

CORP

$66,720.00

COTTEN, ROBERT R

EMP NAME: COTTEN, ROBERT R (BOB)
9127 EAGLECOVE DR

HOUSTON, TX 77064-8849

1651202

10/15/2002

CORP

$213,805.20

COUCH, CHARLES G

EMP NAME: COUCH, CHARLES G (GREG)

20307 MAPLE VILLAGE DR.
CYPRESS, TX 77433

1660803

10/15/2002

CORP

$23,890.91

* Classification: S=Secured; P=Priority,; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD Page 85 of 353

Claimant

COUCH VINSON E

EMP NAME: COUCH, VINSON
11141 SE RAMONA DR
BORING, OR 97009

Claim
Number

716400

Date
Filed

Exhibit A
Tittle Settlement Order

10/08/2002

Debtors

Objected To
Amount

cc

CORP

$206,201.68

Date: § =—07/11/2005
Time: 8:06:00 PM

COURTNEY, MARK D

EMP NAME: COURTNEY, MARK D
707 REINERMAN

HOUSTON, TX 77007

1632602

10/15/2002

EESO

$111,734.00

COUTURE JOEL W

EMP NAME: COUTURE, JOEL
11270 SW MORGEN CT
TIGARD, OR 97223

786200

10/09/2002

CORP

$131,600.00

COVINGTON DAVID D

EMP NAME: COVINGTON, DAVID
3531 NE 72

PORTLAND. OR 97213

674900

10/07/2002

CORP

$280,000.00

COWAN SUSAN K

EMP NAME: COWAN. SUSAN
4110 SW5 DR

GRESHAM, OR 97030

596902

10/02/2002

CORP

$0.00

COX, CYNTHIA L

EMP NAME: COX, CYNTHIA
601 MAY ST

MOLALLA, OR 97038

1609002

10/15/2002

CORP

$0.00

COX DALE G

EMP NAME: COX, DALE
3719 NE 160 ST
RIDGEFIELD, WA 98642

1064700

10/11/2002

CORP

$46,960.00

COx JAMES L

EMP NAME: COX, JAMES
609 NE GOLDIE DR
HILLSBORO, OR 97124

1186102

10/11/2002

CORP

$51,113.60

COX, KELLY J

EMP NAME: COX, KELLY
59061 HERITAGE LN

ST HELENS, OR 97051

1725202

10/15/2002

CORP

$143,029.93

CRABTREE DOUGLAS S

EMP NAME: CRABTREE, DOUGLAS S
14407 ANTRIM PLACE

CYPRESS, TX 77429-0000

1934502

10/15/2002

CORP ©

$1,190,000.00

HYNES, PATRICIA M

EMP NAME: CRAIG, PATRICIA
17 QUINN COURT

BERLIN, NH 03570

412202

09/10/2002

CORP

$26,000.00

CRAIG, ROBERT J.

EMP NAME: CRAIG, ROBERT
20166 SPYGLASS CT
OREGON CITY, OR 97045

810900

10/10/2002

CORP

$109,485.28

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

CRAIG WILLIAM J

EMP NAME: CRAIG, WILLIAM
14463 AMES ST

OREGON CITY, OR 970451305

Claim
Number

786800

Document 1005-1

Exhibit A
Tittle Settlement Order

Date
Filed

10/09/2002

Debtors

Objected To
Amount

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cc*

CORP

$491,620.00 -

Date: = 07/11/2005
Time: 8:06:00 PM

CRAM, WILLIAM

EMP NAME: CRAM, WILLIAM
591N OTT RD

HERMISTON, OR 97838

842900

10/10/2002

CORP

$209,000.00

CRAMER MICHAEL T

EMP NAME: CRAMER, MICHAEL
418 N CHURCH ST

SILVERTON, OR 97381

661500

10/07/2002

CORP

$212,560.00

CRANFILL KERRI A

EMP NAME: CRANFILL, KERRI
8466 75TH AVE NE

SALEM, OR 973059701

693300

10/07/2002

CORP

$63,520.00

CRATEAU RICHARD G

EMP NAME: CRATEAU, RICHARD
3376 FIR TREE DR SE

SALEM, OR 97301

1952700

10/15/2002

CORP

$223,000.00

CRAWFORD RULON L

EMP NAME: CRAWFORD, RULON
6917 TOPEKA LANE
VANCOUVER, WA 98664

1594602

10/15/2002

CORP

$246,400.00

CREIGHTON, JAMES |!

EMP NAME: CREIGHTON, JAMES | (JIM)
401 GILHAM STREET

PHILADELPHIA, PA 19111-0000

1539602

10/15/2002

EESNA, INC
EESNA, INC.

$20,717.32
$0.00
$20,717.32

CRENSHAW, KAYLA

EMP NAME: CRENSHAW, KAYLA
6847 TEN CURVES RD

SPRING, TX 77379

2235402

12/12/2002

CORP

$112,611.34

CRENSHAW, SHIRLEY J.

EMP NAME: CRENSHAW, SHIRLEY J
9215 TOWNE TERRACE DRIVE
SPRING, TX 77379

2214603

11/27/2002

CORP

$125,216.00

MARTINEZ, ELIZABETH N.

EMP NAME: CRESPO, ELIZABETH (LIZ)
5506 W. BELLFORT

HOUSTON, TX 77035

1229300

10/11/2002

CORP

$0.00

CRETSINGER KENNETH D

EMP NAME: CRETSINGER, KENNETH
14836 SW VULCAN CT

BEAVERTON, OR 970076623

700800

10/07/2002

CORP

$300,000.00

CREVELT RICHARD A

EMP NAME: CREVELT, RICHARD A
928 CASTLE HILL RD

REDWOOD CITY, CA 94061

896203

10/10/2002

‘CORP

$10,857.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD Page 87 of 353

Claimant

CRITES DONALD F

EMP NAME: CRITES, DONALD
1437 SE 52

HILLSBORO, OR 97123

Claim
Number

668900

Date
Filed

Exhibit A
Tittle Settlement Order

10/07/2002

Debtors

Objected To
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cc*

CORP

$200,000.00

Date:
Time:

07/11/2005
8:06:00 PM

CROFT JR LESTER

EMP NAME; CROFT, LESTER
17125 NE LEWIS ROGER LN
NEWBERG, OR 97132

1558605

10/15/2002

CORP

$124,000.00

CROMBIE. RICHARD D

EMP NAME: CROMBIE, RICHARD
15165 SW SUNRISE LN

TIGARD, OR 97224

1942802

10/15/2002

CORP

$30,829.95

CROMWELL SHERIL

EMP NAME; CROMWELL, SHERI L
25710 FAIRBROOK

SPRING, TX 77373-0000

1696903

10/15/2002

ENW LLC

$6,657.59

CROSBY MICHAEL R

EMP NAME: CROSBY, MICHAEL
6998 CASCADE HWY NE
SILVERTON, OR 97381

2058900

10/48/2002

CORP

$485,680.00

CROSS, EDITH C.

EMP NAME: CROSS, EDITH C
808 ASBURY ST

HOUSTON, TX 77007

1486804

10/15/2002.

CORP
CORP

$0.00
$0.00
$0.00

CROSSLAND CHRISTINE H

EMP NAME: CROSSLAND, CHRISTINE
1465 21 ST NE

SALEM, OR 97301

1802000

10/15/2002

CORP

$191,600.00

CROSSLAND MICHAEL D

EMP NAME; CROSSLAND, MICHAEL
1465 21 ST NE

SALEM, OR 97301

1820600

10/15/2002

CORP

$179,680.00

CROTEAU RAYMOND A

EMP NAME: CROTEAU, RAYMOND A
2569 MARINER CV

PORT HUENEME, CA 930411573

2046101

10/17/2002

CORP

$2,402.82

CROWE SELWYN B

EMP NAME: CROWE, SELWYN
606 W ENCHANTED DESERT DR
CASA GRANDE, AZ 85222

858100

10/10/2002

CORP

$495,176.00

CROWELL JR HOWARD E

EMP NAME: CROWELL, HOWARD
68104 HWY 74

IONE, OR 97843

1774900

10/15/2002

CORP

$257,120.00

CROWL KENNETH E

EMP NAME: CROWL, KENNETH E (KEN)
17518 U STREET

OMAHA, NE 68135-0000

862702

10/10/2002

CORP

$425,260.35

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

CROWLEY, PHILIP O

EMP NAME: CROWLEY, PHILIP O
6523 BUFFALO SPEEDWAY
HOUSTON, TX 77005-0000

Claim
Number

842802

Document 1005-1

Filed on 07/14/05 in TXSD Page 88 of 353

Exhibit A
Tittle Settlement Order

Date
Filed

10/10/2002

Debtors

Objected To

Amount

cc

CORP

$1 088,014.00

Date: = 07/11/2005
Time: 8:06:00 PM

CROWNOVER, MARY C

EMP NAME: CROWNOVER, MARY
38945 LONG CR

SANDY, OR 97055

840002

10/10/2002

CORP

$161,231.00

CRUM, DEANNA A

EMP NAME: CRUM, DEANNA A (DEA)
2 CHARLES STREET

COUNCIL BLUFFS, IA 51503-0000

1610802

10/15/2002

CORP

$249,414.63

CRUMLEY, STEPHEN L.

EMP NAME: CRUMLEY, STEPHEN L
23 KNOLL PINES CT.

THE WOODLANDS, TX 77381

1528502

10/15/2002

EBS, INC

$0.00

CRUMP, LUCAS M

EMP NAME: CRUMP, LUCAS
412 NE OAK CT

SHERIDAN, OR 97378

1727300

10/15/2002

CORP

$34,000.00

CRUSE ALMA

EMP NAME: CRUSE, ALMA
627 SW 175 AV
BEAVERTON, OR 97006

838802

10/10/2002

CORP

$75,061.52

CULLEN ROBERT P

EMP NAME: CULLEN, ROBERT P
3108 N. MAIDENCANE DR,
BEVERLY HILLS, FL 34465

1768501

10/15/2002

CORP

$258,341.00

CULLISON JEFFREY D

* EMP NAME: CULLISON, JEFFREY D (JEFF)
526 N. 33RD ST.
BEATRICE, NE 68310-0000

“1791802

10/15/2002

- CORP
CORP

$37,453.70
$4,650.00
‘$42,103.70

CULVER, DEBORAH S.

EMP NAME: CULVER, DEBORAH S
11330 SURREY OAK LANE
HOUSTON, TX 77024

1921303

10/15/2002

EESO

$0.00

CULVER, DEBORAH S.

EMP NAME: CULVER, DEBORAH S
11330 SURREY OAK LANE
HOUSTON, TX 77024

1921503

10/15/2002

CORP

$0.00

CULWELL CHRISTINE A

EMP NAME: CULWELL, CHRISTINE A (CHRISTI)
1535 BAIRD AVENUE

KATY, TX 77493-0000

1951401

10/15/2002

CORP

$0.00

CUMMINGS DAVID L

EMP NAME: CUMMINGS, DAVID
17031 NW TUCSON ST
BEAVERTON, OR 970067430

1737700

10/15/2002

CORP

$235,980.00

* Classification: S=Secured; P=Priority; U-Uhsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

CUMMINGS JOHN

EMP NAME: CUMMINGS, JOHN K
1422 CRYSTAL LAKE CRE
PEARLAND, TX 77584

Claim
Number

1400602

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

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Amount

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cc

CORP

$20,000.00

Date: 07/11/2005
Time: 8:06:00 PM

CUNNINGHAM, CRAIG W

EMP NAME: CUNNINGHAM, CRAIG
9575 SW 130 AV

BEAVERTON, OR 97008

1250902

10/11/2002

CORP

$24,921.52

CUNNINGHAM DAVID A

EMP NAME: CUNNINGHAM, DAVID
6440 NE 32 AV

PORTLAND, OR 97211

1816302

10/15/2002

CORP

$27,512.86

CURNES, ROGER L.

EMP NAME: CURNES, ROGER
22825 S. EADEN RD.
OREGON CITY, OR 97045

1915300

10/15/2002

CORP

$11,520.00

CURRY, JAMES

EMP NAME: CURRY, JAMES C
10327 ELK POINT

HOUSTON, TX 77064

2198201

11/18/2002

CORP

$71,010.00

CURRY, MICHAEL J.

EMP NAME: CURRY, MICHAEL J (MIKE)
98 GUN CLUB RD

STAMFORD, CT 06903-1204

1799203

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

CURTIS, ANGIE

EMP NAME: CURTIS, ANGIE
34299 BACHELOR FLAT RD.
SAINT HELENS, OR 97051

1623700

10/15/2002

CORP

$12,810.00

CURTIS, CLARENCE W

EMP NAME: CURTIS, CLARENCE
19536 SW SANDRA LN

ALOHA, OR 97006

840202

10/10/2002

CORP

$132,640.00

CURTIS LORETTA R

EMP NAME: CURTIS, LORETTA
PO BOX 1106

WELCHES, OR 97067

1147000

10/11/2002

CORP

$89,568.00

CURTIS RANDAL

EMP NAME: CURTIS, RANDAL
80670 COONEY LN
HERMISTON, OR 97838

960102

10/14 1/2002

CORP

$258,320.00

CUSTER TIMA

EMP NAME: CUSTER, TIM
3838 78 AV SE

SALEM, OR 97301

1063700

10/11/2002

CORP

$310,000.00

CUTSFORTH CURTIS G

EMP NAME: CUTSFORTH, CURTIS
675 HAGER

HEPPNER, OR 97836

707300

10/07/2002

“CORP

$137,840.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

DAFFIN, MARGARET E

EMP NAME: DAFFIN, MARGARET E
9352 BRIAR FOREST DRIVE
HOUSTON, TX 77063-1036

Claim
Number

1245301

Document 1005-1

Exhibit A
Tittle Settlement Order

Date
Filed

10/1 4/2002

Debtors

Objected To
Amount

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cc*

CORP

$0.00

Date:
Time:

67/11/2005
8:06:00 PM

DAGGET DOUGLAS A.

EMP NAME: DAGGETT, DOUGLAS
4736 DREW ST. NE.

SALEM, OR 97305

1780700

10/15/2002

CORP

$413,680.00

DAHLGREN RANDALL J

EMP NAME: DAHLGREN, RANDALL
14660 SW CABERNET CT

TIGARD, OR 97224

1064202

10/11/2002

CORP

$323,600.00

DAHLMAN, DAVID J.

EMP NAME: DAHLMAN. DAVID
5001 SE CHASE RD GRESHAM
GRESHAM, OR 97080

1692500

10/15/2002

CORP

$1,715.00

DAIE NOUREDDIN

EMP NAME: DAIE, NOUREDDIN (NOURI)
P.O. BOX 130029

HOUSTON, TX 77219-0000

1566802

10/15/2002

CORP

$11,809.00

DAILEY STEVEN L

EMP NAME: DAILEY, STEVEN L (STEVE)
1202 CALLAWAY DR. NORTH
SHOREWOOD, IL 60431

1536002

10/15/2002

CORP

$33,474.22

DAILY, LEONARD

EMP NAME: DAILY, LEONARD
15727 ABERDEEN TRAILS DR.
HOUSTON, TX 77095

2079300

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

DAILY. PAMELA G.

EMP NAME: DAILY, PAMELA G
16755 ELLA BLVD. #5
HOUSTON, TX 77090

1574400

10/15/2002

CORP

$400,000.00

DALE TIMH

EMP NAME: DALE, TIM
7552 CHAROLAIS ST NE
KEIZER, OR 97303

787000

10/09/2002

CORP

$400,000.00

DALIA, MINAL

EMP NAME: DALIA, MINAL
6100 FAIRDALE LN APT 12
HOUSTON, TX 770576114

771303

10/09/2002

CORP

$13,845.41

DALLMAN, LARRY J

EMP NAME: DALLMAN, LARRY J
284 GREAT FALLS RD
COLLIERVILLE, TN 380172339

577602

09/30/2002

CORP

$248,737.59

DALTON III, OSCAR M

EMP NAME: DALTON Ii], OSCAR M
24038 NORTHSHIRE LN

KATY, TX 77494

656501

10/07/2002

“CORP

$47,982.44

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

DAMASKOS, CONSTANTINE

EMP NAME: DAMASKOS, CONSTANTINE (DENO)
71 OAKWOOD AVE

MONTCLAIR, NJ 070431916

Claim
Number

1862902

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

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cc*

CORP

$19,856.00

Date: 07/11/2005
Time: 8:06:00 PM

DANCHOK MICHAEL J

EMP NAME: DANCHOK, MICHAEL
18520 COLUMBIA AVE
GLADSTONE, OR 970271567

862800

10/10/2002

CORP
CORP

$109,468.00
$0.00
$109,468.00

DANES WILLIAM R

EMP NAME: DANES, WILLIAM R (DICK)
15938 EL SOCCORRO LOOP

CORPUS CHRISTI, TX 78418-0000

2021302

10/16/2002

CORP

$0.00

DANIELS DIANE A

EMP NAME: DANIELS, DIANE A
10707 TRYON DRIVE
HOUSTON, TX 77065-0000

2115901

10/24/2002

CORP

$197,800.00

DANIELSON BOBBIE K

EMP NAME: DANIELSON, BOBBIE
1111 SE 224

GRESHAM, OR 97030

662400

10/07/2002

CORP

$96,000.00

DANYLIW JASON K

EMP NAME: DANYLIW, JASON K
2800 PARKER

DEARBORN, MI! 48124-0000

1457102

10/15/2002

EBS, INC

$534.93

DARBIN KARINA

EMP NAME: DARBIN, KARINA
9932 66TH RD APT 7E

REGO PARK, NY 11374

646002

10/04/2002

CORP

$1,263.00

DARENSBOURG JOSEPH K

EMP NAME: DARENSBOURG, JOSEPH K
16815 SANDESTINE DRIVE

HOUSTON, TX 77095-0000

1907001

10/15/2002

CORP

$0.00

DARVEAUX, MARY F

EMP NAME: DARVEAUX, MARY F
826 NO 131ST CT

OMAHA, NE 68154-0000

1623002

10/15/2002

CORP

$0.00

FLORES DAUGHERTY, BLANCA

EMP NAME: DAUGHERTY, BLANCA F
5424 HOLLY SPRINGS

HOUSTON, TX 77056

1724001

10/15/2002

CORP

$0.00

DAUTERIVE INEZ C

EMP NAME: DAUTERIVE, INEZ C
12102 AUDUBON CT
STAFFORD, TX 77477-0000

929402

10/11/2002

CORP

$0.00

DAVID, CHARLES L.

EMP NAME: DAVID, CHARLES
15376 SE LA MARGUITA WAY
MILWAUKIE, OR 97267

1776300

10/15/2002

CORP

$16,500.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

DAVIDSON, ELGA R

EMP NAME: DAVIDSON, ELGA (BINKY)
11615 MOORCREEK DR

HOUSTON, TX 77820

Claim
Number

1390703

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

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Amount

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cc

CORP

$41,263.38

Date: 07/11/2005
Time: 8:06:00 PM

DAVIS Ill CLARENCE

EMP NAME: DAVIS II], CLARENCE (C D)
12414 SAINT MICHEL

HOUSTON, TX 770153347

936400

10/11/2002

CORP

$4,650.00
$3,854.71

te

DAVIS, ANGUS H

EMP NAME: DAVIS, ANGUS H (A.HARDIE)
2102 WOODS ESTATES DR

KINGWOOD, TX 77339-2552

2005900

10/16/2002

CORP

$0.00

DAVIS BRAD R

EMP NAME: DAVIS, BRAD R
1001 MOHAWK ST #71
BAKERSFIELD, CA 93309

893302

10/10/2002

CORP

$5,963.00

DAVIS BRITT K

EMP NAME: DAVIS, BRITT K
5212 VALERIE

BELLAIRE, TX 77401-0000

1821000

10/15/2002

CORP

$5,000.00

DAVIS DUANE J

EMP NAME: DAVIS, DUANE
15580 S PARADISE LANE
MULINO, OR 97042

4181902

10/11/2002

CORP

$31,760.28

DAVIS, GARY W.

EMP NAME: DAVIS, GARY W
P.O. BOX 24039

HOUSTON, TX 77229-4039

2027401

10/17/2002

CORP
CORP

$0.00
$0.00
$0.00

DAVIS, GREGORY

EMP NAME: DAVIS, GREGORY
615 MAPLEWOOD DR

ST HELENS, OR 97051

841400

10/10/2002

CORP

$233,223.10

DAVIS JEFFREY B

EMP NAME: DAVIS, JEFFREY
5604 GLEN ECHO RD
GLADSTONE, OR 97047

784300

10/09/2002

“CORP

$115,440.00

DAVIS JOHN E

EMP NAME: DAVIS, JOHN
13827 NE BEECH CT
PORTLAND, OR 97230

1766200

10/15/2002

CORP

$233,729.00

DAVIS JUDITH

EMP NAME: DAVIS, JUDITH (JUDY)
26265 SHARP ROAD

KATY, TX 77493-0000

1145201

10/11/2002

CORP

$0.00

DAVIS KASEY C

EMP NAME: DAVIS, KASEY C
10801 MEADOWGLEN LN, #215
HOUSTON, TX 77042-0000

1512002

10/15/2002

CORP

$1,564.49

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

DAVIS KIMBERLY R
EMP NAME: DAVIS, KIMBERLY

1430 NE MARINE DRIVE @

PORTLAND, OR 97211

Claim
Number

1146900

Document 1005-1

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Exhibit A
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Filed

10/14/2002

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CORP

$235,040.00

Date: =. 07/11/2005
Time: 8:06:00 PM

DAVIS MARTY

EMP NAME: DAVIS, MARTY
19275 SE SUNNYSIDE
BORING, OR 97009

1671400

10/15/2002

CORP

$87,637.00

DAVIS, RICHARD T

EMP NAME: DAVIS, RICHARD
6612 NE 163RD AVE
VANCOUVER, WA 98682-3701

914800

10/1 1/2002

CORP

$249,105.20

DAVIS, TERRENCE P

EMP NAME: DAVIS, TERRENCE
7908 N DECATUR ST
PORTLAND, OR 97203

1225102

10/11/2002

CORP

$237,888.71

DAVIS, TRACY L

EMP NAME: DAVIS, TRACY L
1906 HIDDEN COVE CT
LEAGUE CITY, TX 77573-0000

1615602

10/15/2002

CORP

$464,219.36

DAWSON JOHN M

EMP NAME: DAWSON, JOHN
71706 WILSON LN
BOARDMAN, OR 97818

1766400

10/15/2002

CORP

$160,000.00

DAY, MISTI LYNN

EMP NAME: DAY, MISTI LYNN
2921 BRIARPARK #536
HOUSTON, TX 77042

1858603

10/15/2002

CORP

$0.00

DAYVAULT, GUY P.

EMP NAME: DAYVAULT, GUY P
C/O MARATHON OIL (UK, LONDON)
PO BOX 1228

HOUSTON, TX 77251-1228

1175704

10/11/2002

CORP

$92,070.00

DE LA CRUZ ALICIA M

EMP NAME: DE LA CRUZ, ALICIA M
5707 ARNCLIFFE DRIVE
HOUSTON, TX 77088-0000

1507702

10/15/2002

CORP

$22,257.00

DE LOS SANTOS, ERNESTO G.

EMP NAME: DE LOS SANTOS, ERNE (ERNIE)
1719 NO. MISSOURI

ROSWELL, NM 88201

1240701

10/11/2002

CORP

$0.00

DEAN ANNIE M

EMP NAME: DEAN, ANNIE
PO BOX 1918
ESTACADA, OR 97023

1169602

10/11/2002

CORP

$64,400.00

JAMES A. DEARDORFF
EMP NAME: DEARDORFF, JAMES

' 2370 NE JACKSON SCHOOL RD

HILLSBORO, OR 97124

2230100

12/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

- $4,478.00
$4,478.00
$8,956.00

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Claimant

Claim
Number

Document 1

Date
Filed

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Exhibit A
Tittle Settlement Order

Debtors

Objected To

Amount’

cc*

. Date:
Time:

07/11/2005
8:06:00 PM

DEBOER RALPH W
EMP NAME: DEBOER, RALPH
PO BOX 482
LEXINGTON, OR 978390482

1706700

10/15/2002

CORP

*. $139,280.00

DEBORD, RAY C.
EMP NAME: DEBORD, RAY
2630 SE MAIN ST
PORTLAND, OR 972142950

1735103

10/15/2002

CORP

$250,956.16 .

DEBUTTS, DUANE L.

EMP NAME: DEBUTTS, DUANE L
2115 EAST 8TH

FREMONT, NE 68025

807402

10/10/2002

CORP
CORP

$764,027.00
$9,300.00

: $773,327.00

DECK ROBERT A

EMP NAME: DECK, ROBERT
1370 N BIRCH

CANBY, OR 97013

960300

10/11/2002

CORP
CORP

$0.00
$73,034.00
$73,034.00

DEEGE CHRISTOPHER M

EMP NAME: DEEGE, CHRISTOPHER
CHRISTOPHER DEEGE

10317 NW 21ST AVE

VANCOUVER, WA 986854955

902402

10/10/2002

CORP
CORP

$193,362.22
$4,650.00
$198,012.22

DEFFNER, JOSEPH M.

EMP NAME: DEFFNER, JOSEPH M (JOE)

67 HUNTERS CROSSING
THE WOODLANDS, TX 77381

2016801

10/16/2002

CORP

$0.00

DEFFORGE DEBORAH S

EMP NAME: DEFFORGE, DEBORAH S
2893 PANAGARD

HOUSTON, TX 77082-0000

1842503

10/15/2002

EESO

$35,603.80

DEGABRIELE, DAVID M.

EMP NAME: DEGABRIELE, DAVID
10 ABELARD ST

LAKE OSWEGO, OR 970352342

903300

10/10/2002

UNKNOWN

$474,208.24

DEGANSEMAN WERNER

EMP NAME: DEGANSEMAN, WERNER
11424 176TH PLACE NE

REDMOND, WA 98052-2806

1662102

10/15/2002

CORP

$824.00

DELACEY, CHARLES

EMP NAME: DELACEY, CHARLES
2429 WORDSWORTH ST.
HOUSTON, TX 77030

2017100

10/16/2002

CORP

$0.00

DELAIR JOSEPH

EMP NAME: DELAIR, JOSEPH
18538 SE ADDIE ST
MILWAUKIE, OR 97267

784000

10/09/2002

CORP

$151,200.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

DELAIR, ROBERT L

EMP NAME: DELAIR, ROBERT
19341 S AUBURN DR
OREGON CITY, OR 97045

Claim
Number

850800

Document 1005-1

Date
Filed

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Tittle Settlement Order.

10/40/2002

Debtors

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cct

CORP

$96,288.00

.Date: 07/11/2005
Time: 8:06:00 PM

DELCAMBRE CHRIS A.

EMP NAME: DELCAMBRE, CHRIS A
9710 CANNOCK CHASE CT
HOUSTON, TX 77065

1533700

10/15/2002

CORP

$0.00

DRISCOLL, MARDE

EMP NAME: DELEON, MARDE L
11347 WHITE RD

CONROE, TX 77303

1743001

10/15/2002

ENW LLC

$30,000.00

DELEON ROBERTO A

EMP NAME: DELEON, ROBERTO
20720 SW BRACKENWOOD LN
ALOHA, OR 97006

1231700

10/11/2002

CORP

$314,832.00

DELEONARDIS CATHERINE M
EMP NAME: DELEONARDIS, CATHERINE M
(CATHY)

11610 AUTUMN CHASE DR

HOUSTON, TX 77065-0000

1790400

10/15/2002

EES, INC

$25,378.18

DELGADO DEBORAH S

EMP NAME: DELGADO, DEBORAH § (DEBBIE)
3214 KEITHWOCD DR

PEARLAND, TX 775847190

1471300

10/15/2002

CORP

$0.00

DEMEIRE JAN

EMP NAME: DEMEIRE, JAN
5923 SE IRIS CT
MILWAUKIE, OR 97267

894200

10/10/2002

CORP

$455,060.00

DEMELLO RICHARD V

EMP NAME: DEMELLO, RICHARD
7325 LAURELRIDGE LP

KEIZER, OR 97303

863900

10/10/2002

CORP
CORP

$202,928.24
$0.00
$202,928.24

DEMO KENNETH W

EMP NAME: DEMO, KENNETH
5416 SE STEEL ST
PORTLAND, OR 97206

669500

10/07/2002

CORP

$224,158.66

DEMPSEY, DOUGLAS

EMP NAME: DEMPSEY, DOUGLAS
916 22 AV

LONGVIEW, WA 98632

846502

10/10/2002

CORP

$70,606.00

DEMPSEY, RITA

EMP NAME: DEMPSEY, RITA
PO BOX 354

COLUMBIA CITY, OR 970180354

846600

10/10/2002

CORP

$53,358.00

DEN, JAMES P

EMP NAME: DEN, JAMES
2110 NW 3

GRESHAM, OR 97030

844300

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$209,162.64

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Claimant

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Amount

cc

Date:
Time:

07/11/2005
8:06:00 PM

DENNIS, PATTI J.

EMP NAME: DENNIS, PATTI
19H12L ST

OMAHA, NE 681353540

1825300

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

DERHALLI, DEIDRA

EMP NAME: DERHALLI, DEIDRA
2175 SE 60TH AVE
HILLSBORO, OR 97123

1154202

10/11/2002

CORP

$56,891.80

DERR DANIEL J

EMP NAME: DERR, DANIEL
12626 NE WEIDLER
PORTLAND, OR 97230

1641400

10/15/2002

CORP

$188,612.29

DERTING, JR LUTHER E

EMP NAME: DERTING JR, LUTHER
7457 ACORN HILL CT SE

SALEM, OR 97301

916400

10/11/2002

CORP

$312,000.00

DERTING RODERICK K

EMP NAME: DERTING, RODERICK
1331 45TH AVE NE

SALEM, OR 973012004

1814200

10/15/2002

CORP

$45,600.00

DESMARAIS, DENNIS

EMP NAME: DESMARAIS, DENNIS
16055 NW EDWARD CT
BEAVERTON, OR 97006

1494502

10/15/2002

CORP

$283,283.13

DEVEL DEVAN

EMP NAME: DEUEL, DEVAN
18370 CORNELL PLATE
GLADSTONE, OR 97027

1776003

10/15/2002

CORP

$0.00

DEVENS, GREGORY C.

EMP NAME: DEVENS, GREGORY C
32424 395TH AVE.

BELLEVUE, 1A 52031

2210200

11/26/2002

CORP

$400,000.00

DEVER-MCCAULEY, LESLIE

EMP NAME: DEVER-MCCAULEY, LESLIE D

628 CR 2324
DAYTON, TX 77535

2027800

10/17/2002

CORP
CORP

$0.00
$0.00
$0.00

DEVICH CYNTHIA R.

EMP NAME: DEVICH, CYNTHIA
6122 SW ORCHID DR
PORTLAND, OR 97219

857503

10/10/2002

CORP

$265,325.75

DEVRIES GLEN

EMP NAME: DEVRIES, GLEN
1134 HOWELL PR RD NE
SALEM, OR 97301

2026600

10/17/2002

CORP

$340,000.00

DEWITT GEORGE E

EMP NAME: DEWITT, GEORGE
2728 NE JUNIPER CT
GRESHAM, OR 97030

833800

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$130,000.00

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Claimant

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Claim
Number

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Filed

Debtors

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Amount

cc*

. Date:
Time:

07/11/2005
8:06:00 PM

DEWYSE PATRICIA L

EMP NAME: DEWYSE, PATRICIA
18964 SW RED WING WY

LAKE OSWEGO, OR 97035

843602

10/10/2002

CORP

*, $185,680.00

DEWYSE, WILLIAM A

EMP NAME: DEWYSE, WILLIAM
18964 SW RED WING WY

LAKE OSWEGO, OR 97035

840302

10/10/2002

CORP

$243,360.00

DHONE, ROD

EMP NAME: DHONE, ROD
53381 E MARMOT RD
SANDY, OR 97055

1655500

10/15/2002

CORP

$224,315.15

DHRUV TUSHAR S

EMP NAME: DHRUV, TUSHAR S
5615 TURFWOOD LN
HOUSTON, TX 77088-0000

1651503

10/15/2002

CORP

$531,152.13

DIAZ RICHARD J

EMP NAME: DIAZ, RICHARD J
25934 S. COBBLESTONE LN.
CHANNAHON, IL 60410-0000

333000

08/30/2002

CORP

$12,197.13

DICUS LONNIE D

EMP NAME: DICUS, LONNIE
15610 S PORTLAND VIEW DR
OREGON CITY, OR 97045

773103

10/09/2002

CORP

$241,203.76

DIEDE WILL M

EMP NAME: DIEDE, WILL M
309 ELM AVE

GLEN ULLIN, ND 58631-0000

788502

10/09/2002

CORP

$114,984.00

DIEDRICH, MARK H.

EMP NAME: DIEDRICH, MARK H
16323 LEAMINGTON LN
HOUSTON, TX 77095

1573900

10/15/2002

CORP

$0.00

DIEMONT, FRANK R.

EMP NAME: DIEMONT, FRANK R
10827 BRITOAK

HOUSTON, TX 77079
XXX-XX-XXXX

1513702

10/15/2002

CORP

$2,045,239.00

DIETERLE CHRIS M

EMP NAME: DIETERLE, CHRIS
15740 SW BOBWHITE CR
BEAVERTON, OR 97007

1760902

10/15/2002

CORP

$21,301.00

DIETZ RICHARD A

1544302

EMP NAME: DIETZ, RICHARD A (RICK)

41117 FAWN CREEK DRIVE
KINGWOOD, TX 77339-0000

10/15/2002

CORP

$178,385.79

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

DIETZ RICHARD A

EMP NAME: DIETZ, RICHARD A (RICK)
4111 FAWN CREEK DRIVE
KINGWOOD, TX 77339-0000

Claim
Number

1544307

Document 1005-1

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Tittle Settlement Order

Date
Filed

10/15/2002

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Amount’

CORP

_ $910,852.80 U

Date: 07/11/2005
Time: 8:06:00 PM

DIKEMAN DARREN B

EMP NAME: DIKEMAN, DARREN
3511 GRAND OAK DR
NEWBERG, OR 971327389

1674400

10/15/2002

CORP

$2,560.00 U

DILLARD JOSEPH C
EMP NAME: DILLARD, JOSEPH C
35 KEMPTON LANE
LADERA RANCH, CA 92694-0000

1582501

10/15/2002

CORP

$0.00 U

DILLIN CAROL A

EMP NAME: DILLIN, CAROL
17605 SW 108 PL
TUALATIN, OR 97062

1906602

10/15/2002

CORP

$386,000.00 P

DIMACALI AURORA R

EMP NAME: DIMACALI, AURORA R
11439 BEECHNUT

HOUSTON, TX 77072-0000

613602

10/03/2002

CORP

$285,890.00 P

DIMICK PHILIP D

EMP NAME: DIMICK, PHILIP D (PHIL)
53 SUNSET DRIVE

DAKOTA DUNES, SD 57049

645703

10/04/2002

CORP

$45,763.58 U

DIMM ERIC J

EMP NAME: DIMM, ERIC
14594 SW PINOT CT
TIGARD, OR 97224

1741502

10/15/2002

CORP

$139,789.00 U

DINGER, SHIRLEY E.

EMP NAME: DINGER, SHIRLEY
3984 NW 175 PLACE
PORTLAND, OR 97229

895800

10/10/2002

CORP

$94,000.00 U.

DINH HUY X

EMP NAME: DINH, HUY X
704 REINERMAN
HOUSTON, TX 77007-0000

1754900

10/15/2002

CORP

$50,000.00 P

DINH, TRANG

EMP NAME: DINH, TRANG
704 REINERMAN ST
HOUSTON, TX 77007-6000

1864200

10/15/2002

CORP

$50,000.00 P

DINKEL TODD

EMP NAME: DINKEL, TODD
3160 SW DOVER LN
MADRAS, OR 97741

1648200

10/15/2002

CORP

$160,000.00 U

DION MARK

EMP NAME: DION, MARK
1705 8 ST

COLUMBIA CITY, OR 97018

1163701

10/11/2002

CORP

$156,337.40 P

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claim
Number

DIONNE, DAVID P.

EMP NAME: DIONNE, DAVID P
2609 LONGWOOD DR.
PEARLAND, TX 77581

673200

Document 1005-1

Date
Filed

10/07/2002

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CORP

Date: 07/11/2005
Time: 8:06:00 PM

DITTBERNER V W

1747602

EMP NAME: DITTBERNER, V W (VERN)

1430 DOUGLAS RD
CARLTON, MN 55718-0000

10/15/2002

CORP

$872,832.80 P

DO NGOCLOAN T

EMP NAME: DO, NGOCLOAN T
22726 SPATSWOOD

KATY, TX 77449-0000

552402

10/01/2002

CORP

$59,440.00 U

DOBBS KRISTINE E

EMP NAME: DOBBS, KRISTINE E
14818 BEECHMOOR DRIVE
HOUSTON, TX 77095-0000

1700205

10/15/2002

EEOSC
EEOSC

$0.00 -U
$422.03 P
$422.03

DOBERNECKER JANET L

1195803

EMP NAME: DOBERNECKER, JANET L (JAN)

3026 KINGFISHER
HUMBLE, TX 77396-0000

10/11/2002

EES, INC

$0.00 U

DOBIN, NORA J.

EMP NAME: DOBIN, NORA J
1525 CORTLANDT
HOUSTON, TX 77008

1451002

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

DOBRINSKI, JOLEEN L

1832902

EMP NAME: DOBRINSKI, JOLEEN L (JODI)

10412 PACIFIC STREET
#102
OMAHA, NE 68114

10/15/2002

CORP

$216,290.10 P

DOBSON RUSSELL N

EMP NAME: DOBSON, RUSSELL
23154 S REDLAND RD
ESTACADA, OR 970239612

1065300

10/11/2002

CORP

$396,080.00 P

DODSON CYNTHIA

EMP NAME: DODSON, CYNTHIA
7633 SE LILLIAN AV
MILWAUKIE, OR 97267

892102

10/10/2002

CORP

$416,942.41 P

DOHERTY BRYAN

EMP NAME: DOHERTY, BRYAN
2010 NUGGET LN

NEWBERG, OR 971321698

1570000

10/15/2002

CORP

$14,960.00 P-

DOHERTY JOSEPH K

EMP NAME: DOHERTY, JOSEPH
616 DONALD CT

NEWBERG, OR 97132

1169500

10/11/2002

CORP

$300,000.00 P

DOHERTY LIA K

EMP NAME: DOHERTY, LIA
616 DONALD CT
NEWBERG, OR 97132

_* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

1169800

10/11/2002

CORP
CORP

$45,350.00 U
$4,650.00 P

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Exhibit A . Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*

Number Filed Amount

. $50,000.00
‘= -

DOLEN DALE W . 524502 09/23/2002 EMG $185,891.53 U
EMP NAME: DOLEN, DALE W
17417 RED OAK DR APT 111 EMC ___ $185,891.53 P
HOUSTON, TX 770901281 $371,783.06
DOLL, JEANETTE Y. 1852600 10/15/2002 CORP $345,910.26 U
EMP NAME: DOLL. JEANETTE Y
1118 DOMINION
KATY, TX 77450
DOMINGUEZ MANUEL J. 566200 09/30/2002 CORP $80,673.27 P
EMP NAME: DOMINGUEZ, MANUEL J
PO BOX 520
ZAPATA, TX 78076 /
DOMINGUEZ, SAM 1484400 10/15/2002 CORP $0.00 P
EMP NAME: DOMINGUEZ, SAMUEL P (SAM P.)
207 HARDING
CARLSBAD, NM 88220
DONALDSON, ELAINE A. 1906700 10/15/2002 CORP $205,243.04 U
EMP NAME: DONALDSON, ELAINE
1207 SW NEVADA ST
PORTLAND, OR 97219
DONOHO, LINDY HELME 722702 10/08/2002 CORP $434,953.00 U
EMP NAME: DONOHO, LINDY H
3823 RUSKIN ST.
HOUSTON, TX 77005
DONOVAN JERRY 888200 10/10/2002 CORP $327,632.00 P
EMP NAME: DONOVAN, JERRY
2750 6 ST
COLUMBIA CITY, OR 97018

DORAZIO, ANTHONY J 2122703 10/25/2002 EESO ‘$72,000.00 U
EMP NAME: DORAZIO, ANTHONY J (TONY) : .
3044 NW LACAMAS DRIVE

CAMAS, WA 98607

DORNFELD JACKIE A 1631100 10/15/2002 . CORP $57,516.56 U
EMP NAME: DORNFELD, JACKIE .

1382 NE 25 ST

GRESHAM, OR 97030

DORNFELD JAMES R 836300 10/10/2002 CORP $172,960.62 P
EMP NAME: DORNFELD, JAMES .

1382 NE 25 ST

GRESHAM, OR 97030

DORRIS MARSHA E 1670702 10/15/2002 CORP $0.00 P
EMP NAME: DORRIS, MARSHA E

7827 KING STREET

OMAHA, NE 68122-0000

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined : Page 70 of 300
Case 4:01-cv-03913

Claimant

DORSEY, BILLY

EMP NAME: DORSEY, BILLY E
10210 ENVOY ST

HOUSTON, TX 770163226

Claim
Number

1231201

Document 1005-1

Exhibit A
Tittle Settlement Order

Date
Filed

10/11/2002

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Amount

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cc*

CORP

$0.00

Date:
Time:

07/11/2005
8:06:00 PM

DOUGLAS, STEPHEN H

EMP NAME: DOUGLAS, STEPHEN H
201 VANDERPOOL

NO. 10

HOUSTON, TX 77024

1504802

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

DOUTHIT JR JEROLD A

EMP NAME: DOUTHIT, JEROLD
22665 BENTS RD NE

AURORA, OR 97002

406802

09/09/2002

CORP
CORP

$33,745.86
$44,945.86
$78,691.72

DOWDEN JR JAMES C

EMP NAME: DOWDEN JR, JAMES C (JIMMY)
931 ADIOS AVENUE

MAITLAND, FL 32751-0000

1554702

10/15/2002

CORP

$204,730.47

DOWDEN JAMES C

EMP NAME: DOWDEN, JAMES C (JIM)
1031 VIA MERANO CT

WINTER PARK, FL 32789-0000

2191402

10/18/2002

CORP

$434,254.00

DOWNEY, PATRICIA H

EMP NAME: DOWNEY, PATRICIA H
1507 WICKERHILL WAY

KATY, TX 77494-0000

839301

10/10/2002

CORP
CORP

$117,367.50
$0.00
$117,367.50

DOWNS, WILLIAM R.

EMP NAME: DOWNS, WILLIAM R
3634 TIMBERSIDE CIR DR
HOUSTON, TX 77025-3663

2260300

02/25/2003

CORP

$15,434.55

DOYLE, TERRANCE W.

EMP NAME: DOYLE, TERRANCE W (TERRY)
84 NORTH ST

MIDDLEBORO. MA 02346

2422000

09/11/2003

CORP

$180,000.00

DRAEMER, MARY

EMP NAME: DRAEMER, MARY
5719 KIOWA TIMBERS DR
HUMBLE, TX 77346

1942302

10/15/2002

CORP

$882,016.20

DRAEMER MARY

EMP NAME: DRAEMER, MARY
5719 KIOWA TIMBERS DR
HUMBLE, TX 77346-0000

719302

10/08/2002

CORP

$830,729.17

DRAGOVICH RONALD D

EMP NAME: DRAGOVICH, RONALD
802 SE ATHERTON

GRESHAM, OR 97030

4136700

10/11/2002

CORP

$960,000.00

DRAK JONNY D

EMP NAME: DRAK, JONNY
33041 FILBERT LANE
WARREN, OR 970539508

669400

10/07/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$175,000.00

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Claim
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Debtors

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Amount

cc*

Date: 07/11/2005
Time: 8:06:00 PM

DRAPER DAVID L

EMP NAME: DRAPER, DAVID L
4516 VERONE

BELLAIRE, TX 77401-0000

1794400

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

DREADIN, GARY S.

EMP NAME: DREADIN, GARY S
100 STONEWALL AVENUE
CARENCRO, LA 70520

800600

10/10/2002

CORP

$0.00

PREADIN, GARY S.

EMP NAME: DREADIN, GARY S
100 STONEWALL AVE.
CARENCRO, LA 70520

909300

10/11/2002

CORP

$500,000.00

DREAGER, DARRELL L

EMP NAME: DREAGER, DARRELL L
15347 NALL RD

COUNCIL BLUFFS, IA 51503-2514

1862501

10/15/2002

CORP

$114,371.50

DREAGER, DARRELL L

EMP NAME: DREAGER, DARRELL L
15347 NALL RD

COUNCIL BLUFFS, IA 51503-2514

1862507

10/15/2002

CORP

$0.00

NADINE DREAGER

EMP NAME: DREAGER, NADINE
15347 NALL RD.

COUNCIL BLUFFS, IA 51503

1859601

10/15/2002

CORP

$0.00

DRUMMOND CHRISTINE M

EMP NAME: DRUMMOND, CHRISTINE M
7815 BIGHORN ST

BAYTOWN, TX 77521-0000

1494200

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

D'SILVA FELIX

EMP NAME: D'SILVA, FELIX
8765 SW JAMIESON RD
PORTLAND, OR 97225

657602

10/07/2002

CORP

$151,080.84

D'SOUZA TERENCE C

EMP NAME: D'SOUZA, TERENCE C
5914 LODGE CREEK DR
HOUSTON, TX 77066-1509

749200

10/08/2002

CORP

$14,618.50

DUBEE, CARL

EMP NAME; DUBEE, CARL
POB 1217

KALAMA, WA 98625

1063000

10/11/2002

CORP

$198,080.00

DUCKETT BERNARD L

EMP NAME: DUCKETT, BERNARD
1331 NE 160

PORTLAND, OR 97230

1946700

10/15/2002

CORP

$66,320.00

DUDLEY JAY J

EMP NAME: DUDLEY, JAY
2590 OVERLOOK DR
LAKE OSWEGO, OR 97034

834102

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$267,463.30

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Number

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Date
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cc*

Date: 07/11/2005
Time: 8:06:00 PM

DUGHMAN, SANDRA L. @
EMP NAME: DUGHMAN, SANDRA

2907 SW ROYAL WAY

GRESHAM, OR 97080

1178600

10/11/2002

CORP

$170,041.99

DUKE, MARYLAND I.

EMP NAME: DUKE, MARYLAND |
652 CR 669

MOUNTAIN HOME, AR 72653

1762800

10/15/2002

CORP

$0.00

DUMONTE, RICHARD C.

EMP NAME: DUMONTE, RICHARD C (RICK)
6218 REDWOOD BRIDGE TRAIL

HUMBLE, TX 77345-2221

1783701

10/15/2002

CORP

$6,016.00

DUNHAM, JAMES A.

EMP NAME: DUNHAM, JAMES
13505 E. 34TH PL

YUMA, AZ 85367

1396500

10/15/2002

CORP

$5,488.00

DUNLA, REX E
EMP NAME: DUNLAP, REX
16126 S MAPLE
OREGON CITY, OR 97045

7708900

10/15/2002

CORP

$4,000.00

DUNN JENEAN J

EMP NAME: DUNN, JENEAN
4051 N WILLIAMS
PORTLAND, OR 97227

894600

10/10/2002

CORP

$149,206.93

DUNN, MARY M.

EMP NAME: DUNN, MARY
302 N. VERNONIA RD.
SAINT HELENS, OR 97051

829802

10/10/2002

CORP

$13,609.15

DUNN STEVEN E

EMP NAME: DUNN, STEVEN E (STEVE)
1051 PLOWSHARE ROAD

BLUE BELL, PA 19422-0000

1154801

10/11/2002

CORP

$0.00

DUNNAWAY, ALTHEA FIELDS

EMP NAME: DUNNAWAY, ALTHEA F (TINA)
413 MEADOWS FOREST DRIVE

LEAGUE CITY, TX 77573

1825100

10/15/2002

CORP
CORP ©

$0.00
$0.00
$0.00

DUNN-MILLER, PATRICIA A

EMP NAME: DUNN-MILLER, PATRICIA
1265 SW 199 CT

ALOHA, OR 97006

656400

10/07/2002

CORP

$119,487.20

DUPLACHAN, WENDELL P

EMP NAME: DUPLACHAN, WENDELL P (PAUL)
1199 EAST RONDS POINTE DR
TALLAHASSEE, FL 32312

560700

09/30/2002

CORP

$35,371.29

DUPRE DAVID P

EMP NAME: DUPRE, DAVID P.
2024 WELCH

HOUSTON, TX 77019-0000

1453103

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00

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Claim
Number

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Date
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Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

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cc*

-Date: 07/11/2005
Time: 8:06:00 PM

DUPRE, GEORGE W.

EMP NAME: DUPRE, GEORGE W
P 0 BOX 420033

HOUSTON, TX 77242-0033

2002901

10/15/2002

CORP

*. $430,945.65

DURAN, ARLEEN F.

EMP NAME: DURAN, ARLEEN F
2331 SOUTHGATE BLVD
HOUSTON, TX 77030

1593003

10/15/2002

CORP

$0.00

DURAN, TIMOTHY J.

EMP NAME: DURAN, TIMOTHY J
310 S ARCH ST APT 14
ABERDEEN, SD 57401

2240702

09/24/2002

UNKNOWN

$0.00

DURAN TIMOTHY J

EMP NAME: DURAN, TIMOTHY J
310 S ARCH ST

APT 1

ABERDEEN, SD 574014479

752800

10/09/2002

CORP

$203,924.40

DURON ROSALIE M

EMP NAME: DURON, ROSALIE
1893 E MAIN ST

HILLSBORO, OR 97123

1615700

10/15/2002

CORP
CORP

$24,996.57
$500.00
$25,496.57

DURRELL NORMAN C

EMP NAME: DURRELL, NORMAN
13708 SW HITEON DR
BEAVERTON, OR 97005

1714600

10/15/2002

CORP

$286,665.92

DUSEK LANSING G

EMP NAME: DUSEK, LANSING
2639 SANDSTONE LN
RICHLAND, WA 99352

829002

10/10/2002

CORP

$99,892.00

DUTT RANABIR

EMP NAME: DUTT, RANABIR
2210 MCCLENDON
HOUSTON, TX 77030-0000

1479302

10/15/2002

CORP

$165,679.00

DUTTAGUPTA, ANIRUDDHA

78901

EMP NAME: DUTTAGUPTA, ANIRUDDHA

3516 WHITNEY WAY
HURST, TX 76054

02/04/2002

CORP

$10,000.00

DWYER, MICHAEL

EMP NAME: DWYER, MICHAEL
305 SES DR

HERMISTON, OR 97838

851303

10/10/2002

CORP
CORP

$197,584.00
$608.40

$198,192.40

DYKES TANGIE L

EMP NAME: DYKES, TANGIE L
2830 SHOTWELL COURT
MISSOURI CITY, TX 77459-0000

1713702

10/15/2002

CORP
CORP

$25,875.00
$2,325.00
$28,200.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

Case 4:01-cv-03913

Claim
Number

DYSON FREDERICK E

EMP NAME: DYSON, FREDERICK
1207 WB ST

RAINIER, OR 97048

676200

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlernent Order

10/07/2002

Debtors

Objected To
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cc*

CORP

$97,000.00 -

Date: 07/11/2005
Time: 8:06:00 PM

EASTIN JAY L

EMP NAME: EASTIN, JAY
PO BOX 3101
NEWBERG, OR 97132

540200

10/01/2002

CORP

$344,000.00

EASTIN, SHELLEY D.

EMP NAME: EASTIN, SHELLEY
2540 WOCDDALE AVE NE
SALEM, OR 97303

706300

10/07/2002

CORP

$21,368.52

EBRIGHT, DARY L

EMP NAME: EBRIGHT, DARY
798 NE HOOD

HILLSBORO, OR 97124

844100

10/10/2002

CORP

$526,000.00

ECKERT KATHLEEN

EMP NAME: ECKERT, KATHLEEN
305 SW 130 AV

BEAVERTON, OR 97005

1700700

10/15/2002

CORP

$184,400.00

EDDENS, LARRY

EMP NAME: EDDENS, LARRY
4036 N.W. 175TH PL
PORTLAND. OR 97229

726600

10/08/2002

CORP

$312,000.00

EDDENS, MYRTLE

EMP NAME: EDDENS, MYRTLE
4036 NW 175TH PL
PORTLAND, OR 97229

726700

10/08/2002

CORP

$152,000.00

EDDINGS CANDACE M.

EMP NAME: EDDINGS, CANDACE
P.O. BOX 547

BOARDMAN, OR 97818

1827800

10/15/2002

CORP

$81,600.00

JR.EDDINGS ROBERT F

EMP NAME: EDDINGS, ROBERT
P.O. BOX 547

BOARDMAN, OR 97818

1827900

10/15/2002

CORP

$104,640.00

EDD,Y ELMER R

EMP NAME: EDDY, ELMER
73644 DOAN RD

RAINIER, OR 97048

579600

09/27/2002

CORP

$76,446.46

EDER ROBERT J

EMP NAME: EDER, ROBERT
428 N50 AV

LONGVIEW, WA 98632

1143200

10/1 1/2002

CORP
CORP

$4,650.00
$179,110.00
$183,760.00

EDISON SUSAN L

1631603

EMP NAME; EDISON, SUSAN L (SUE)

2505 ELMEN STREET
HOUSTON, TX 77019-0000

10/15/2002

"EBS, INC

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

EDWARDS CHARLENE R

EMP NAME: EDWARDS, CHARLENE
15152 SW SAPPHIRE DR
BEAVERTON, OR 97007

Claim
Number

736900

Exhibit A
Tittle Settlement Order

Date
Filed

10/08/2002

Debtors

Objected To CC*
Amount

CORP
CORP

$0.00 U
$78,492.00 P
$78,492.00

Date:
Time:

07/11/2005
8:06:00 PM

EDWARDS CONRAD C

EMP NAME: EDWARDS, CONRAD
5180 DOME ROCK CT SE

SALEM, OR 97306

541200

09/30/2002

CORP

$116,320.00 U

EDWARDS CULLEN D

EMP NAME: EDWARDS. CULLEN
845 NW 8 AV DR

HILLSBORO, OR 97124

1774200

10/15/2002

CORP

$232,320.00 P

EDWARDS DEAN F

EMP NAME: EDWARDS, DEAN
15152 SW SAPPHIRE DR
BEAVERTON, OR 97007

735000

10/08/2002

CORP

$153,379.00 U

EELLS CELEST |

EMP NAME: EELLS, CELEST
13531 CLAIRMONT WY 59
OREGON CITY, OR 97045

868900

10/10/2002

CORP

$11,874.26 U

EGGEBRECHT, KURT R

EMP NAME: EGGEBRECHT, KURT R
6818 OAKWOOD GROVE
HOUSTON, TX 77040-4400

1247103

10/11/2002

CORP

$0.00 U

EGGIMAN, RONALD

EMP NAME: EGGIMAN, RONALD
4755 PATRICIA ST NE

SALEM, OR 97305

847500

10/10/2002

CORP

$1,606.00 P

EGGIMAN, RONALD N

EMP NAME: EGGIMAN, RONALD
4755 PATRICIA ST NE

SALEM. OR 97305

847600

10/10/2002

CORP

$373,120.00 P

EICHNER KEITH L

EMP NAME: EICHNER, KEITH
38644 SE COUPLAND RD
ESTACADA, OR 97023

633600

10/04/2002

CORP

$238,461.04 P

EIMAN, JOHN F.

EMP NAME: EIMAN, NORMA L
5723 PHEASANT RIDGE LN
HOUSTON, TX 77041

1805900

10/15/2002

CORP

$51,380.29 U

NORMA L. EIMAN

EMP NAME: EIMAN, NORMA L
4103 ABERDEEN WAY
HOUSTON, TX 77025

1806000

10/15/2002

CORP

$181,690.00 U

EISELE MICHAEL A

EMP NAME: EISELE, MICHAEL
5800 MILL CREEK RD
SHERIDAN, OR 97378

1674600

10/15/2002

‘CORP

$136,000.00 P.

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

EISENSTEIN L ARNOLD

EMP NAME: EISENSTEIN, ARNOLD L
5654 VALKEITH

HOUSTON, TX 77096

Claim
Number

1769902

Document 1005-1

Tittle Settlement Order

Date
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Debtors

Objected To
Amount

cc*

CORP

$24,979.93

Date: = 07/11/2005
Time: 8:06:00 PM

EISENSTEIN L ARNOLD

EMP NAME: EISENSTEIN, ARNOLD L
5654 VALKEITH

HOUSTON, TX 77096

1769903

10/15/2002

CORP

$406,927.24

EIVERS CURTIS

EMP NAME: EIVERS, CURTIS
9823 NE SHAVER ST
PORTLAND, OR 972203651

2064203

10/21/2002

CORP

$31,794.58

EK, CHARLES R

EMP NAME: EK, CHARLES
PO BOX 1007

MULINO, OR 970421007

1047900

10/11/2002

CORP

$401,344.00

EKSTROM, EDWARD A

EMP NAME: EKSTROM, EDWARD
810 SE 209 AV

GRESHAM, OR 97030

1690802

10/15/2002

CORP

$177,026.02

ELBERTSON, JANETTE

EMP NAME: ELBERTSON, JANETTE
6998 OAKWOOD PARK

HOUSTON, TX 77040

1487002

10/15/2002

ENA
ENA

$0.00
$0.00
$0.00

ELDRIDGE DALE D

EMP NAME: ELDRIDGE, DALE D
14022 BURKE FOREST DRIVE
HOUSTON, TX 77070-0000

1734402

10/15/2002

CORP

$250,000.00

ELIZONDO RUDOLPH

EMP NAME: ELIZONDO, RUDOLPH
23802 HAMPTONSHIRE LN.

KATY, TX 77494-2105

1952202

10/15/2002

CORP

$43,013.13

ELLIOTT, DAVID J.

EMP NAME: ELLIOTT, DAVID
8360 SW BERRYHILL LN
BEAVERTON, OR 97008

2090100

10/21/2002

CORP

$145,040.00

ELLIOTT ELMER C

EMP NAME: ELLIOTT, ELMER
2225 SE 170TH AV
PORTLAND, OR 97233

711800

10/08/2002

CORP

$449,276.00

ELLIOTT ROBERT L

EMP NAME: ELLIOTT, ROBERT
14195 SW KIMBERLY DR
BEAVERTON, OR 97008

1646502

10/15/2002

CORP

$243,978.00

ELLIS DAN T

EMP NAME: ELLIS, DAN
40012 S COOPER RD
MOLALLA, OR 97038

1905100

10/15/2002

CORP

$140,008.90

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

ELLIS, RAYMOND F

EMP NAME: ELLIS, RAYMOND
39679 S COOPER RD
MOLALLA, OR 97038

Claim
Number

848502

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/10/2002

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Amount.

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cc*

CORP

$295,120.00

- Date:
Time:

07/11/2005
8:06:00 PM

ELWOOD E. LEE

EMP NAME: ELWOOD, LEE
1855 VINCENT LANE
HERMISTON, OR 97838

688700

10/07/2002

CORP

$136,000.00

EMRICH CHARLES

EMP NAME: EMRIGH, CHARLES R (CHUCK)
3101 ROBINHOOD

HOUSTON, TX 77005

1777402

10/15/2002

EES, INC

$59,841.00

ENGELDORF, ROSEANN

EMP NAME: ENGELDORF, ROSEANN M (ROSE)
10815 SMITHDALE

HOUSTON, TX 77024

1450901

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

ENGEN LORIA

EMP NAME: ENGEN, LORI
PO BOX 931
CLATSKANIE, OR 97016

834302

10/10/2002

CORP

$247,680.00

ENNEY, DONNA JEAN (DECEASED)
EMP NAME: ENNEY, WAYNE E
w9025 BADGER LANE

SPOONER, WI 54801

2024500

10/16/2002

CORP

$351,461.39

EPHROSS, JOEL N.

EMP NAME: EPHROSS. JOEL N
4506 TEAS ST.

BELLAIRE, TX 77401

1451500

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

EPPLER EDYTH J

EMP NAME: EPPLER, EDYTH J
6519 GRANITE ST

HOUSTON, TX 77092

2048100

10/17/2002

CORP

$33,290.35

ERDMAN ROLAND A

EMP NAME: ERDMAN, ROLAND
BEAVER GAS TURBINE PLT MAINT D
80997 KALLUNKIE RD

CLATSKANIE, OR 97016

1674500

10/15/2002

CORP

$735,760.00

ERI DONALD T

EMP NAME: ERI, DONALD
14275 SE ORIENT DR
BORING, OR 97009

1771802

10/15/2002

CORP

$36,934.00

ERI DONALD E

EMP NAME: ERI, DONALD
34160 SE KELSO RD
BORING, OR 97009

1933100

10/15/2002

CORP

$48,400.00

ERICKSON, CONSTANCE L.

EMP NAME: ERICKSON, CONSTANCE
71 WEST ST.

SAINT HELENS, OR 97051

855503

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$90,320.00

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Claimant

Claim
Number

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Exhibit A

Tittle Settlement Order

Date
Filed

Debtors

Objected To
Amount

cc

Date: §=— 07/11/2005
Time: 8:06:00 PM

ERICKSON DEBORAH A

EMP NAME: ERICKSON, DEBORAH
660 2 ST 13

LAKE OSWEGO, OR 97034

735602

10/08/2002

CORP

$226,372.00

ERICKSON HARLEY

EMP NAME: ERICKSON, HARLEY
7775 SW 173 PL

ALOHA, OR 97007

636100

10/04/2002

CORP

$57,076.86

ERICKSON ROBERT A

EMP NAME: ERICKSON, ROBERT
76823 MAPLE LANE
CLATSKANIE, OR 97016

1641300

10/15/2002

CORP

$63,760.00

ERLING JON E

EMP NAME: ERLING, JON E
110 TABOR DRIVE, BOX 652
KILLDEER, ND 58640-0000

2201902

10/20/2002

CORP

$7,819.33

ERMIS, FRANK

EMP NAME: ERMIS, FRANK J
43 CHARTER RIDGE DR
SANDY HOOK, CT 06482-1573

1757802

10/15/2002

ENA

$0.00

ERMIS, FRANK

EMP NAME: ERMIS, FRANK J
43 CHARTER RIDGE DR
SANDY HOOK, CT 06482-1573

1757812

10/15/2002

ENA

$0.00

ERNEST, DENISE

EMP NAME: ERNEST, DENISE
2100 BERING #318
HOUSTON, TX 77057-0000

1811402

10/15/2002

CORP

$120,753.00

ERNST NORMAN E

EMP NAME: ERNST, NORMAN
PO BOX 247

ESTACADA. OR 97023

832500

10/10/2002

CORP

$601,571.12

ERWIN KENTON L.

EMP NAME: ERWIN, KENTON
260 NW TORREYVIEW DRIVE
PORTLAND, OR 97229

1958702

10/15/2002

CORP

$13,430.00

ESCAMILLA LINDA

EMP NAME: ESCAMILLA, LINDA
10330 SAGEBERRY

HOUSTON, TX 77089-0000

1377202

10/15/2002

CORP

$357,123.41

ESPINOZA, MARCO A.

EMP NAME: ESPINOZA, MARCO
13320 SW UPLANDS DR.
TIGARD, OR 97223

1918000

10/15/2002

CORP

$6,060.80

ESTRADA, MERCEDES E.

EMP NAME: ESTRADA, MERCEDES E

1813 MARLOCK LANE
PASADENA, TX 77502

1553901

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00

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Claimant

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Claim
Number

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Exhibit A

Tittle Settlement Order

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Debtors

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Amount

cc*

-Date: 07/11/2005
Time: 8:06:00 PM

ESTRELLA, ANNETTE

1228101

EMP NAME: ESTRELLA, ANNETTE N

5706 OAKWELL STATION
KINGWOOD, TX 77346

10/11/2002

CORP
CORP

$0.00
$0.00
$0.00

ETHRIDGE, PM

848200

EMP NAME: ETHRIDGE, P M (MARK)

PO BOX 832
MONAHANS, TX 79756-0000

10/10/2002

CORP

$0.00

EVANS, ANGELA

EMP NAME: EVANS, ANGELA
2048 SE ELLIOTT PL
GRESHAM, OR 97080

1247302

10/11/2002

CORP

$5,753.12

EVANS DEBBIE J

EMP NAME: EVANS, DEBBIE
PO BOX 514

CASTLE ROCK, WA 98611

* 833000

40/10/2002

CORP

$32,598.91

EVANS JOHN O

EMP NAME: EVANS, JOHN
10440 S ROSEWOOD WY
MOLALLA, OR 97038

1666000

10/15/2002

CORP

$170,058.00

EVANS, MICHAEL J

EMP NAME: EVANS, MICHAEL
2048 SE ELLIOTT PL
GRESHAM, OR 97080

1247502

10/1 1/2002

CORP

$16,834.00

EVANS MICHAEL

EMP NAME: EVANS, MICHAEL
4 CIELO LN 5D

NOVATO, CA 94949-0000

738603

10/08/2002

EESNA, INC

$1,666.08

EVENS, LINDA M.

EMP NAME: EVENS, LINDA
14001 SE 14 STREET
VANCOUVER, WA 98683

1938400

10/15/2002

CORP

$143,815.93

EVENSON TERRI L

EMP NAME: EVENSON, TERRI
12014 NE 71 ST
VANCOUVER, WA 98682

1752800

10/15/2002

CORP

$150,400.00

EVERS, WAYNE F.

EMP NAME: EVERS, WAYNE
1220 W.C. ST.

RAINIER, OR 97048

806500

10/10/2002

CORP

$598,716.88

EWING AGNES G

EMP NAME: EWING, AGNES
595 MANBRIN DRIVE N
SALEM, OR 97303

1213502

10/11/2002

CORP

$153,270.40

FADNESS, CODY A

EMP NAME: FADNESS, CODY
303 LINN AV

OREGON CITY, OR 97045

1248302

10/11/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$11,506.24

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Exhibit A

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cc

Date: 07/11/2005
Time: 8:06:00 PM

FAIR JR, J.J.

EMP NAME: FAIR JR, J.J.
6549 MISSION GOARD RD
APT 326

SAN DIEGO, CA 92120

1143100

10/11/2002

EESO

*, $252,000.00

FAJARDO, LEO, JR.

EMP NAME: FAJARDO JR, LEO
310 SUNRISE RD

ROSWELL, NM 882016717

1387900

10/15/2002

CORP

$0.00

FALLON KATHLEEN S

EMP NAME: FALLON, KATHLEEN
PO BOX 665

BEAVERCREEK, OR 97004

552102

10/01/2002

CORP

$101,236.00

FALLT STEVEN

EMP NAME: FALLT, STEVEN
16769 COUNTRYRIDGE DR
PORTLAND, OR 97229

1047202

10/11/2002

CORP

$15,756.23

FARRON, WESLEY E.

EMP NAME: FARRON, WESLEY
5225 SE JACKSON
MILWAUKEE, OR 97222

1670002

10/15/2002

CORP

$201,350.72

FAUCHEAUx. ERIC J

EMP NAME: FAUCHEAUX, ERIC J
415 CEDAR TREE DRIVE
THIBODAUX, LA 70301

1926600

10/15/2002

CORP

$48,000.00

FAUGLID, JANET S

EMP NAME: FAUGLID, JANET
2305 NE 37

PORTLAND, OR 97212

1605000

10/15/2002

CORP

$327,400.00

FAUTH RAYMOND H

EMP NAME: FAUTH, RAYMOND
7820 ALEXA LN SE

SALEM, OR 97301

717000

10/08/2002

CORP

$424,022.00

FAWCETT, JEFFERY C

EMP NAME: FAWCETT, JEFFERY C (JEFF)
5106 JASON STREET

HOUSTON A S F, TX 77096-0000

1852700

10/15/2002

CORP

$0.00

FAWCETT, LISA M

EMP NAME: FAWCETT, LISA M (LISA KOOB)
5106 JASON STREET

HOUSTON, TX 77096-0000

1852800

10/15/2002

CORP

$0.00

FEELEY EDWARD J

EMP NAME: FEELEY, EDWARD
3300 LIPPMAN RD

HOOD RIVER, OR 97031

884800

10/10/2002

CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

FELDER BARBARA A

EMP NAME: FELDER, BARBARA A
575 LA RIVIERA

HOUSTON, TX 77015-0000

Claim
Number

1471700

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Exhibit A

Tittle Settlement Order

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Filed

10/15/2002

Debtors

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cc*

CORP

$0.00

Date: 07/11/2005
Time: 8:06:00 PM

SINCLAIR, KARLA K.

EMP NAME: FELDMAN, KARLA K
4815 HERITAGE PLAINS
FRIENDSWOOD, TX 77546

1668501

10/15/2002

ENW LLC

$0.00

FENNINGER, KATHLEEN

EMP NAME: FENNINGER, KATHLEEN M
2021 PERSA ST

HOUSTON, TX 77019

1868801

10/15/2002

CORP

$33,992.89

FENSTAD LARRY D

EMP NAME: FENSTAD, LARRY D
111 7TH AVENUE

ONALASKA, TX 77360

1160102

10/11/2002

CORP

$85,841.90

FENTON GAIL R

EMP NAME: FENTON, GAIL
820 N GRANT ST

CANBY, OR 97013

1755002

10/15/2002

CORP

$33,911.64

FERGUSON D PHILLIP.

EMP NAME: FERGUSON, PHILIP
18235 S SCHUBLE LANE
BEAVERCREEK, OR 97004

1191200

10/11/2002

CORP

$503,840.00

FERGUSON WILLIAM J

EMP NAME: FERGUSON, WILLIAM J
2 ROSEDOWN PLACE

THE WOODLANDS, TX 77382-0000

1646203

10/15/2002

CORP

$35,000.00

FERLIC, SUZANNE

EMP NAME: FERLIC, SUZANNE
125 GAYLORD ST

DENVER, CO 80206

1648403

10/15/2002

CORP

$5,541.00

FERNANDES BEAVEN O

EMP NAME: FERNANDES, BEAVEN O
6039 CHEENA DRIVE

HOUSTON, TX 77096-4709

1553602

10/15/2002

EBS, INC

$209,294.89

FERNANDEZ JEANNETTE

EMP NAME; FERNANDEZ, JEANNETTE
7605 SW MAYO ST

PORTLAND, OR 97223

1675100

10/15/2002

CORP

$60,000.00

FERRER DAVID N

EMP NAME: FERRER, DAVID N
333 CLARK DR

AZTEC, NM 87410-2015

1933200

10/15/2002

CORP

$131,000.00

FERSCHWEILER LARRY

EMP NAME: FERSCHWEILER, LARRY
16598 ARNEY RD NE

WOODBURN, OR 97071

1626202

10/15/2002

‘CORP

$487,360.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

FIANDT TERRI 1793601 10/15/2002 CORP $0.00 U
EMP NAME: FIANDT, TERRI e :

4813 BELLVIEW DR

BELLAIRE, TX 77401-0000

FICKER, THOMAS P. 924000 10/11/2002 CORP $148,800.00 U
EMP NAME: FICKER, THOMAS

3144 NE 39TH AVENUE

PORTLAND, OR 97212

FIELDS III HARVEY G 4938600 40/15/2002 CORP $322,258.75 U
EMP NAME: FIELDS Ill, HARVEY G (BUDDY)

7665 ASHLAND CT CORP _____« $84.00 P
CLINTON, LA 707224929 $322,342.75

FIGUEROA CHRISTOPHER F 612701 10/03/2002 CORP $0.00 U
EMP NAME: FIGUEROA, CHRISTOPHER F

(CHRIS) ~

3805 AUDLEY STREET

APT. 25203

HOUSTON, TX 77098-0000

FINDLAY, DOUGLAS J. 1756700 10/15/2002 CORP $0.00 U
EMP NAME: FINDLAY, DOUGLAS

11507 NE 65TH AVE

VANCOUVER, WA 98686

FINDLEY, SEAN G. 1666400 10/15/2002 CORP $7,136.44 P
EMP NAME: FINDLEY, SEAN

6365 SW 152ND AVE

BEAVERTON, OR 97007

FINDLEY, TERRY L. 1798500 10/15/2002 CORP $234,547.68 P
EMP NAME: FINDLEY, TERRY

P.O. BOX 1367

KALAMA, WA 98625

FINELLI, CHRISTINA 1861202 10/15/2002 CORP . $0.00 U
EMP NAME: FINELLI, CHRISTINA M Oo
12322 ASPEN LANE

STAFFORD, TX 77477

FINKEN, PAUL L 1655003 10/15/2002 ~ CORP ~ $6,750.00 U
EMP NAME: FINKEN, PAUL L :

5292 MEMORIAL DR. G10

HOUSTON, TX 77007-0000

FINLEY, JAMES TIPTON 960501 10/11/2002 CORP $0.00 U
EMP NAME: FINLEY, JAMES T

: P
PO BOX 1 CORP _ 80.00
103 HONEYSUCKLE $0.00
ELDORADO, TX 76936

FISCHER JAY P 2089202 10/18/2002 CORP $133,440.00 P
EMP NAME: FISCHER, JAY .
24613 WARREN RD
RAINIER, OR 97048

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined , Page 83 of 300
Case 4:01-cv-03913

Claimant

FISCHER LUITGARD

EMP NAME: FISCHER, LUITGARD (LOUIE)
1708 HAWTHORNE ST

HOUSTON, TX 77098-0000

Claim
Number

1520002

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

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cc*

CORP
EBS, INC
ENA

$0.00

Date: 07/11/2005
Time: 8:06:00 PM

FISCHER-CHESLOCK, MARY A

EMP NAME: FISCHER-CHESLOCK, MARY
2525 REMINGTON DRIVE

WEST LINN, OR 97068

1657304

10/15/2002

CORP

$0.60

FISCUS JOHN A

EMP NAME: FISCUS, JOHN A
5016 NO 139 AVE

OMAHA, NE 68164-0000

893800

10/10/2002

CORP

$479,516.76

FISHEL BRADLEY F

EMP NAME: FISHEL, BRADLEY
5202 SW 19 DR

PORTLAND, OR 97239

1048502

10/11/2002

CORP

$319,760.00

FISHER, DONALD J

EMP NAME: FISHER, DONALD
33300 SE BROOKS RD
BORING, OR 97009

1611502

10/15/2002

CORP

$1,016.78

FISHER KYMITRA L

EMP NAME: FISHER, KYMITRA L (KYM)
1339 TWIN FALLS RD

HOUSTON, TX 77088-0000

833303

10/10/2002

CORP

$1,028.84

FISKER, ASBJORN N
EMP NAME: FISKER, ASBJORN
15409 NE FARGO PL
PORTAND, OR 97230

852702

10/10/2002

CORP

$0.00

FITCH, WILLIAM HOLLIS III
EMP NAME: FITCH, WILLIAM H
6207 FAWNWOOD DR.
SPRING, TX 77389

1625401

10/15/2002

CORP

$0.00

FITZGERALD, FELECIA C.

EMP NAME: FITZGERALD, FELECIA C
4253 LEHIGH

HOUSTON, TX 77005

1504301

10/15/2002

CORP
CORP

$8,616.08
$0.00
$8,616.08

FLAHAVEN, JULIE A.

EMP NAME: FLAHAVEN, JULIE A
11626 WILCANT LN

CYPRESS, TX 77429

1101203

10/11/2002

ENW LLC
ENW LLG

$0.00
$0.00
$0.00

FLANNEL, ANITA

EMP NAME: FLANNEL, ANITA Y
511 FAWNWOOD

MISSOURI CITY, TX 77489

1728300

10/15/2002

CORP

$130,000.00

FLATH, ROBERT K.

EMP NAME: FLATH, ROBERT
17395 S.W. MCCORMICK HILL RD.
HILLSBORO, OR 97123

1250400

10/11/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$360,000.00

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Claimant

Claim
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Exhibit A
Tittle Settlement Order

Date
Filed

Debtors

Objected To
Amount

cc*

Date: 07/11/2005
Time: 8:06:00 PM

FLETCHER, BARBARA B ite,
EMP NAME: FLETCHER, BARBARA a
2723 SE 35 PL

PORTLAND, OR 97202

653802

10/07/2002

CORP

$40,948.93

FLETCHER, BRENDA H.

EMP NAME: FLETCHER, BRENDA H
1613 HORSESHOE HILL CT
CYPRESS, TX 77429

4722004

10/15/2002

CORP

$0.00

FLETCHER, RHONDA L

EMP NAME: FLETCHER, RHONDA
19401 SE 42ND CIRCLE

CAMAS, WA 98607

1724400

10/15/2002

CORP

$62,027.00

FLETCHER, SCOTT B.

EMP NAME: FLETCHER, SCOTT
13435 S E MARSH ROAD
SANDY, OR 97055

1960400

10/15/2002

CORP

$424,000.00

FLORES, MARIA LEONOR

EMP NAME: FLORES, MARIA L (NONY)
3831 HERITAGE COLONY DR.
MISSOURI CITY, TX 77459

1860803

10/15/2002

CORP

$0.00

FLORIS VINIO V

EMP NAME: FLORIS, VINIO V

15 OPALINE PLACE

THE WOODLANDS, TX 77382-0000

1986103

10/15/2002

CORP

$0.00

FLOYD THOMAS C

EMP NAME: FLOYD, THOMAS C (TOM)
17339 PIERCE CIRCLE

OMAHA. NE 68130-0000

715002

10/08/2002

ETSC

$51,026.97

FLYNN, IRENE

EMP NAME: FLYNN, IRENE
IRENE J FLYNN

1506 S PRIMAVERA DR
PEARLAND, TX 775817503

1528802

10/15/2002

CORP

$0.00

FOGARTY, MARY ANNE

EMP NAME: FOGARTY, MARY A (MARY ANNE)
15831 RIDGE PARK DR.

HOUSTON, TX 77095

4824500

10/15/2002

CORP .
CORP

$0.00
$0.00
$0.00

FOGERLIE SIVERT G

EMP NAME: FOGERLIE, SIVERT G
4637 W PARKVIEW CIRC
GLENDALE., AZ 85310-0000

1785403

10/15/2002

CORP

$9,600.00

FOGG, JAMES F.

EMP NAME: FOGG. JAMES F
208 UTAH ST.

PORTALES, NM 88130

448900

09/16/2002

CORP

$237,151.93

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

FOLEY NEITHARD

EMP NAME: FOLEY, NEITHARD @
2225 WEST FRYE RD. #1114

CHANDLER, AZ 85224

Claim
Number

1739204

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

cc*

CORP

$13,494.30 -

Date: 07/11/2005
Time: 8:06:00 PM

FORBISH, SHERRY M.

EMP NAME: FORBISH, SHERRY M
16203 YORK MINSTER DRIVE
SPRING, TX 77379-7656

1894802

10/15/2002

CORP

$0.00

FORD CHARLES E

EMP NAME: FORD, CHARLES E (CHUCK)
611 HILARY CIRCLE

SUGAR LAND, TX 77478-0000

1522203

10/15/2002

ENW LLC

$0.00

FORD DAVID E

EMP NAME: FORD, DAVID
18211 S BROOKSTONE DR
OREGON CITY, OR 970456778

787200

10/09/2002

CORP

$257,432.00

FORDNEY, LAURA L.

EMP NAME: FORDNEY, LAURA
7436 N. DWIGHT AVE.
PORTLAND, OR 97203

1220902

10/11/2002

CORP

$56,400.00

FOREE ROBERT W

EMP NAME: FOREE, ROBERT W
5202 LAVACA

MIDLAND, TX 79707-0000

866400

10/10/2002

CORP

$0.00

FOREMAN D J

EMP NAME: FOREMAN, D J
83 CARTER LAKE CLUB
CARTER LAKE, IA 51510

2203900

11/18/2002

CORP

$25,840.00

FOREMAN DAVID

EMP NAME: FOREMAN, DAVID
35742 SE SNUFFIN RD
ESTACADA, OR 97023

1756100

10/15/2002

CORP
CORP

$29,600.00
$0.00
$29,600.00

FORSYTH DARLENE C

EMP NAME: FORSYTH, DARLENE C
2174 LITTLE CEDAR

KINGWOOD, TX 77339-0000

1181202

10/11/2002

CORP

$0.00

FORSYTHE REBECCA G

EMP NAME: FORSYTHE, REBECCA
110 SE 3 AV

BATTLE GROUND, WA 98604

1144500

10/11/2002

CORP

$262,000.00

FOSSUM, DREW J

EMP NAME: FOSSUM, DREW J
3506 GLEN HAVEN

HOUSTON, TX 77025

1212102

10/11/2002

CORP
CORP

$1,811.66
$4,650.00
$6,461.66

FOSTER, CHRISTOPHER H.

EMP NAME: FOSTER, CHRISTOPHER H (CHRIS)
3911 SWARTHMORE

HOUSTON, TX 77005

1624705

10/15/2002

CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A - Date: 07/11/2005
Tittle Settlement Order . Time: _ 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*

Number Filed Amount
FOSTER, DORIS 1589401 10/15/2002 CORP $61,949.17 U
EMP NAME: FOSTER, DORIS A .
12710 ROCKY MEADOW
HOUSTON, TX 77024
FOSTER IRENE R 1474100 10/15/2002 CORP $161,600.00 P
EMP NAME: FOSTER, IRENE
8650 SW HOMEWOOD
PORTLAND, OR 97225
FOSTER IRENE 1474202 10/15/2002 CORP $138,335.54 P
EMP NAME: FOSTER, IRENE
8650 SW HOMEWOOD
PORTLAND, OR 97225
FOSTER, KELLY J. 1798600 10/15/2002 CORP $44,000.00 P
EMP NAME: FOSTER, KELLY
3208 NE 171 AVE
VANCOUVER, WA 98682
FOSTER, STEVEN D. 1569000 10/15/2002 CORP $0.00 U
EMP NAME: FOSTER, STEVEN D
4108 FOX HOLLOW CT. CORP ___—80.00 P
MIDLAND, TX 797907 $0.00
FOTHERINGILL LARRY J 902800 10/10/2002 CORP $306,161.78 U
EMP NAME: FOTHERINGILL, LARRY :
79207 ALSTON MAYGER RD
RAINIER, OR 97048
FOUST LESLIE M 862302 10/10/2002 EESO $96,724.48 U
EMP NAME: FOUST, LESLIE M (MICHELLE)
6302 WATER POINT COURT FESO ____ $2,325.00 P
KINGWOOD, TX 77345-0000 $99,049.48
FOUST, SUSAN (SUE) 1221704 10/11/2002 ENW LLC $40,142.00 U
EMP NAME: FOUST, SUSAN L (SUE)
3023 RIVER BIRCH DRIVE
PEARLAND, TX 77584
FOWLER, ELLEN 1703501 10/15/2002 CORP $0.00 U
EMP NAME: FOWLER, ELLEN D
2302 SUNSET BOULEVARD A
HOUSTON, TX 77005
FOWLER KULVINDER 1158302 10/11/2002 ENW LLC $2,475.00 U
EMP NAME: FOWLER, KULVINDER :
9809 MARLINK ENW LLC _____ $882.50 P
HOUSTON, TX 77025 $3,337.50
FOWLER, PEGGY Y 1224600 40/11/2002 CORP $462,240.00 U
EMP NAME: FOWLER, PEGGY ,
11981 SW ASPEN RIDGE DR :
TIGARD, OR 97224
FOWLER, ROBERT 1224500 40/11/2002 CORP $211,120.00 U

EMP NAME: FOWLER, ROBERT
11981 SW ASPEN RIDGE DR
TIGARD, OR 97223

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined : Page 87 of 300
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Claimant’

Claim
Number

Date
Filed’

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

cc*

Dates 07/11/2005
Time: 8:06:00 PM

FOX CRAIG A

EMP NAME: FOX, CRAIG A
13818 PERTHSHIRE
HOUSTON, TX 77079-0000

1625302

10/15/2002

CORP

$100,000.00

FOX, JULENE A.

EMP NAME: FOX, JULENE
7015 S.E. 20

PORTLAND, OR 97202

1205301

10/11/2002

CORP

$0.00

FOX LARRY

EMP NAME: FOX, LARRY
19301 NE CALKINS LN
NEWBERG, OR 97132

718902

10/08/2002

CORP

$387,388.63

FOX tl, MILTON M

EMP NAME: FOX, MILTON
PO BOX 81
BRIGHTWOOD, OR 97011

1231602

10/11/2002

CORP

$298,720.00

FOX SHERRY L

EMP NAME: FOX, SHERRY L
12917 250TH STREET

COUNCIL BLUFFS, 1A 51503-6943

1816902

10/15/2002

CORP

$70,500.00

FRANCIS, JUDITH

EMP NAME: FRANCIS, JUDITH
17840 SE MILL CT
PORTLAND, OR 97233

1717703

10/15/2002

CORP

$181,288.00

FRANCIS MARSHA E

EMP NAME: FRANCIS, MARSHA E
17890 NE 31ST

APT 3224

AVENTURA, FL 33160

2058002

10/18/2002

CORP

$3,316.97

DAVID, FRANCISCO W.

EMP NAME: FRANCISCO, DAVID
1240 TAMARA AV, S.

SALEM, OR 97306

904300

10/11/2002

CORP

$25,143.28

FRANCO SUZANNE N

EMP NAME: FRANCO, SUZANNE N
6314 SOUTH 104TH STREET
OMAHA, NE 68127-0000

936002

10/11/2002

CORP .
CORP

$667,784.83
$9,300.00

$677,084.83

FRANK ALLEN J

EMP NAME: FRANK, ALLEN
250 TANGLEWOOD
JEFFERSON, OR 97352

734000

10/08/2002

CORP

$25,000.00

FRANK SCOTT G

EMP NAME: FRANK, SCOTT
2832 NE EDGEHILL PL
PORTLAND, OR 97212

463300

09/16/2002

CORP

$416,610.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

FRANTZ, BETTY JEAN

EMP NAME: FRANTZ, BETTY
2028 LAKE WIND DR
EUGENE, OR 974085921

Claim
Number

1550800

Exhibit A
Tittle Settlement Order

Date
Filed

10/45/2002

Debtors

Objected To
Amount

ce*

CORP

$213,120.00

Date: 07/11/2005
Time: 8:06:00 PM

FRANZ JULIE L

EMP NAME; FRANZ, JULIE
3144 NE EVERETT
PORTLAND, OR 97232

1913302

10/15/2002

CORP

$17,728.15

FRAUSTO JR. CHARLES

EMP NAME: FRAUSTO JR., CHARLES
2126 WALNUT GROVE LN.
RICHMOND, TX 77469

1629300

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

FRAUSTO RUTHANN

EMP NAME: FRAUSTO, RUTHANN
2126 WALNUT GROVE LANE
RICHMOND, TX 77469-0000

1629200

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

FRAZIER, MICHAEL R
EMP NAME: FRAZIER, MICHAEL R
2810 BEAUCHAMP ST, APT. NO. 7
HOUSTON, TX 77009

1467404

10/15/2002

EESO

$3,000.00

FRAZIER PERRY T

EMP NAME: FRAZIER, PERRY T
127 W STERLING POND CIR

THE WOODLANDS, TX 77382-0000

1560003

10/15/2002

CORP

$701,101.65

FREED RICHARD H

EMP NAME: FREED, RICHARD H (RICH)
4718 LAUREL ST.

BELLAIRE, TX 77401-0000

1784801

10/15/2002

CORP
CORP

$4,520.00
$0.00
$4,520.00

FREELAND, CLINT C.

EMP NAME: FREELAND, CLINT C
4848 PIN DAK PARK #912
HOUSTON, TX 77081

1585701

10/15/2002

CORP

$0.00

FREEMAN JOELLEN

EMP NAME: FREEMAN, JOELLEN
16506 SE 29 ST C-23
VANCOUVER, WA 98683

1184700

10/11/2002

CORP

$0.00

FREEMAN, JOHN L.

EMP NAME: FREEMAN, JOHN L
4644 NORTH 139TH AVE
OMAHA, NE 68164

2006102

10/16/2002

CORP

$89,889.00

FRIED ARTHUR P

EMP NAME: FRIED, ARTHUR
945 GOERIG ST
WOODLAND, WA 98674

666400

10/07/2002

CORP

$397,543.08

FRIESEN WES M

EMP NAME: FRIESEN, WES
14034 SE PORTLAND VIEW PL
PORTLAND, OR 97236

834403

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$264,480.00

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Date
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Tittle Settlement Order

Debtors

Objected To
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cc*

- Date:
Time:

07/11/2005
8:06:00 PM

FRITCH, BRET E

EMP NAME: FRITCH, BRET E
15224 BAUMAN

OMAHA, NE 68116-0000

1708400

10/15/2002

CORP

$0.00

FRITTS JACK L

EMP NAME: FRITTS, JACK
29333 SE CHASE RD
GRESHAM, OR 97080

1755200

10/15/2002

CORP

$290,160.00

FRITZ BRIAN

EMP NAME: FRITZ, BRIAN

PMB 388

16869 S W 65TH

LAKE OSWEGO, OR 97035-0000

1664102

10/15/2002

EBS, INC
EBS, INC

$148,031.00
$4,650.00
$152,681.00

FROME CHARLENE

EMP NAME: FROME, CHARLENE
17133 S STEINER RD
BEAVERCREEK, OR 97004

1148602

10/11/2002

CORP

$168,320.00

FROME, JOHN P

EMP NAME: FROME, JOHN
17133 S STEINER RD
BEAVERCREEK, OR 97004

1966203

10/15/2002

CORP

$209,440.00

FROST, ROBERT W

EMP NAME: FROST, ROBERT
59656 TWIN OAKS DR

ST HELENS, OR 97051

1224802

10/11/2002

CORP
CORP

$43,350.00
$4,650.00
$48,000.00

FRUGE DWIGHT D

EMP NAME: FRUGE, DWIGHT D
8003 WALNUT CREEK

SUGAR LAND, TX 77479-0000

774803

10/09/2002

EESO

$0.00

FULLER, PHYLLIS A.

EMP NAME: FULLER, PHYLLIS A
35213 COCHRAN ROAD
WALLER, TX 77484

1869700

10/15/2002

CORP

$0.00

FULTON, BRENDA L

EMP NAME: FULTON, BRENDA
500 CHURCH ST

KELSO, WA 98626

1693000

10/15/2002

CORP

$159,010.65

FUNK, BRENDA L.

EMP NAME: FUNK, BRENDA L
16502 SHADY CANYON CT
HOUSTON, TX 77095

1584200

10/15/2002

CORP

$0.00

FUNK, CHARLES (DEANE)
EMP NAME: FUNK, CHARLES
1160 SW CHESTNUT DRIVE
PORTLAND, OR 97219

1913202

10/15/2002

CORP

$294,480.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

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Claim
Number

FURMAN, JANE

EMP NAME: FURMAN, JANE
1727 VALLEY VISTA DRIVE
HOUSTON, TX 77077

Document 1005-1

1533400

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Tittle Settlement Order

Date
Filed

10/15/2002

Debtors

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cct

CORP

$0.00

Date: 07/11/2005
Time: 8:06:00 PM

FURRER RICHARD F

EMP NAME: FURRER. RICHARD
18280 S WALDOW

OREGON CITY, OR 97045

1164100

10/11/2002

CORP

$67,280.00

FURSETH CYNTHIA

EMP NAME: FURSETH, CYNTHIA
59722 WOODLAND TER

ST HELENS, OR 97051

1901903

10/15/2002

CORP

$9,600.00

FURSETH CYNTHIA

EMP NAME: FURSETH, CYNTHIA
59722 WOODLAND TER

ST HELENS, OR 97051

1901904

10/15/2002

CORP

$0.00

GADD,ERIC D.

EMP NAME: GADD, ERIC D
4 EASTON COURT
HOUSTON, TX 77024

1722401

10/15/2002

CORP

$121,140.00

GADD,ERIC D.

’ EMP NAME: GADD, ERIC D

4 EASTON COURT
HOUSTON, TX 77024

1722403

10/15/2002

CORP

$6,930.00

GALAN, JOSEPH M.

2016701

EMP NAME: GALAN, JOSEPH M (JOE)

9819 WILLOW CROSSING DR.
HOUSTON, TX 77064

10/16/2002

CORP

$0.00

GALLAWAY, DAVID P.

EMP NAME: GALLAWAY, DAVID
161 NE 34TH CT

HILLSBORO, OR 97124

1502900

10/15/2002

CORP
CORP

$175,440.00
$0.00
$175,440.00

GANGER WILLIAM G

EMP NAME: GANGER, WILLIAM
350 SW 225

HILLSBORO, OR 97123

661800

10/07/2002

CORP

$211,280.00

GANTT MICHAEL A

EMP NAME: GANTT, MICHAEL A
5815 WHITE HART RUN
HOUSTON, TX 77084-2154

1501102

10/15/2002

CORP "

$8,622.06

GAO, SONG

EMP NAME: GAO, SONG

1504 HILLSIDE DR.

COLLEGE STATION, TX 77845

2017400

10/16/2002

CORP

$0.00

GARCIA, JORGE P., JR.

2009504

EMP NAME: GARCIA JR, JORGE P

2620B SOUTH SHEPHERD
PMB-146
HOUSTON, TX 77028

10/16/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00

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Exhibit A Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

GARCIA DALE L @ 2129600 10/28/2002 CORP $273,876.00 U
EMP NAME: GARCIA, DALE *

12775 SE 199 DR

BORING, OR 97009

GARCIA JOHN M 1165602 10/11/2002 CORP $339,693.28 P
EMP NAME: GARCIA, JOHN

18671 S PEAR RD

OREGON CITY, OR 970459627

GARCIA MANUEL A 523603 09/25/2002 EECC $5,436.84 P
EMP NAME: GARCIA, MANUEL A (MANNY)

9207 ROLLING OAKS TRL

AUSTIN, TX 78750

GARCIA NINA M 1474802 10/15/2002 CORP $136,246.84 U
EMP NAME: GARCIA, NINA M ~

9818 OAK POINT DRIVE

HOUSTON, TX 77055-4160

GARCIA, PAUL D. 2084605 10/21/2002 CORP $61,967.87 U
EMP NAME: GARCIA, PAUL D

14211 LAKEWOOD FOREST

HOUSTON, TX 77070-0000

GARDNER, GEORGE T 1917303 10/15/2002 CORP $31,273.84 U
EMP NAME: GARDNER, GEORGE

2412 NE 17 AV

PORTLAND. OR 97212

GARFIELD LEON B 422700 09/12/2002 CORP $387,764.00 P
EMP NAME: GARFIELD, LEON B

BOX 276, HWY 25

WOLF POINT, MT 59201-0000

GARLAND WYNEMA F 574700 09/30/2002 . CORP $2,444.75 P
EMP NAME: GARLAND, WYNEMA

19345 INISHBRIDE CT

OREGON CITY, OR 97045

GARMON WILLIAM N 695202 10/07/2002 CORP $67,835.73 P
EMP NAME: GARMON, WILLIAM N (NORRIS) :

1836 LEBANON ROAD

LAWRENCEVILLE, GA 30043-0000

GARNER II! SAMUEL 1904502 10/15/2002 . CORP $91,206.43 U

EMP NAME: GARNER III], SAMUEL (SAM) p
7815 DEL REY COR $400,000.00 P

HOUSTON, TX 77071-1314 $491,206.43

GARNER, JOHN M 1961600 10/15/2002 CORP $203,067.68 P
EMP NAME: GARNER, JOHN

24061 SE WILLIAMS PL

GRESHAM, OR 97080

GARRETT DAVID M 1554500 10/15/2002 ENW LLC $0.00 P
EMP NAME: GARRETT, DAVID M

302 FAIRBANKS

HOUSTON, TX 77009-0000

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Claimant

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Exhibit A

Tittle Settlement Order

Date
Fited

Debtors

Objected To
Amount

cer

. Date:
Time:

07/11/2005

8:06:00 PM

GASAWAY, JOE K

EMP NAME: GASAWAY, JOE K (KENNY)
P.O. BOX 478

WILDWOOD, FL 347850478

1512801

10/15/2002

CORP

*, $297,597.00

GASAWAY STEVEN

EMP NAME: GASAWAY, STEVEN
PO BOX 817

SANDY, OR 97055

1770902

40/15/2002

CORP

$240,560.00

GASCHLER, EDRA A.

EMP NAME: GASCHLER, EDRA A
10455 SPAULDING STREET
OMAHA, NE 68134

1745801

10/15/2002

CORP

$87,984.28

GASS JOSEPH W

EMP NAME: GASS, JOSEPH
52130 SW BONNIE LN
SCAPPOOSE., OR 97056

1627200

10/15/2002

CORP

$247,680.00

GATLIN, MANUEL D.

EMP NAME: GATLIN, MANUEL
PO BOX 481

EAST SOUND, WA 98245

589802

09/27/2002

CORP

$115,763.00

GAUGER DANIEL

EMP NAME: GAUGER, DANIEL
10808 NE 90 CT
VANCOUVER, WA 98662

1938503

10/15/2002

CORP

$249,540.00

GAUGER DANIEL

EMP NAME: GAUGER, DANIEL
10808 NE 90 CT

VANCOUVER, WA 98662

1938504

10/15/2002

CORP

$0.00

GAY FREDRICK C

EMP NAME: GAY, FREDRICK C (FRED)
PO BOX 358

HOMER, NE 68030-0000

699203

10/07/2002

CORP
CORP

$120,623.96
_ $9,300.00
$129,923.96

GEACCONE, TRACY L

EMP NAME: GEACCONE, TRACY L
TRACY L GEACONE

4123 FALKIRK LN

HOUSTON, TX 770252909

1574200

10/15/2002

CORP

$0.00

GEE BRYAN GC

EMP NAME: GEE, BRYAN C

2180 PARLIAMENT DRIVE
LAWRENCEVILLE, GA 30043-0000

1536103

10/15/2002

CORP

$0.00

GEE, LINDA R.

EMP NAME: GEE, LINDA R
12207 NORMONT
HOUSTON, TX 77070

1746000

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

* Classification: S=Secured; P=Priority; U=-Unsecured; A=Administrative; ? = Undetermined

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Claimant

GEHLE, WILLIAM F.

EMP NAME: GEHLE, WILLIAM F
1311 BERRYTREE DR

SUGAR LAND, TX 77479

Claim
Number

1215203

Document 1005-1

Exhibit A
Tittle Settlement Order

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10/11/2002

Debtors

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cc*

CORP

$7,000.00

Date:
Time:

07/11/2005
8:06:00 PM

GELOTTI, ANTHONY

EMP NAME: GELOTTI, ANTHONY W
5001 WOODWAY DR.

SUITE 406

HOUSTON, TX 77056

367201

09/04/2002

CORP

$1,400,000.00

GENSICHEN SUSAN H

EMP NAME: GENSICHEN, SUSAN H
9533 MEADOW DRIVE

OMAHA, NE 68114-2234

1670802

10/15/2002

CORP

$0.00

GENTRY, PAMELA J

EMP NAME: GENTRY, PAMELA
2502 SE BARNES RD
GRESHAM, OR 97080

1959500

10/15/2002

CORP

$131,092.79

GEORGE, LAWRENCE W

EMP NAME; GEORGE, LAWRENCE
3094 PERKINS RD NE

SALEM, OR 97303

847700

10/10/2002

CORP

$408,560.00

GEORGE, LAWRENCE

EMP NAME: GEORGE, LAWRENCE
3094 PERKINS RD NE

SALEM, OR 97303

847800

10/10/2002

CORP

* $8,800.00

GERALD, RAYFORD

EMP NAME: GERALD, RAYFORD
PO BOX 447

RAINIER, OR 97048

1214003

10/11/2002

CORP

$262,085.94

GERMANO SAMUEL D

EMP NAME: GERMANO, SAMUEL
303 NW 134 ST

VANCOUVER, WA 98685

1163600

10/71/2002

CORP

$255,518.56

GERMANY, CHRIS L

EMP NAME: GERMANY, CHRIS L
2701 REVERE ST. #221
HOUSTON, TX 77098

1660102

10/15/2002

CORP

$0.00

GETTMAN GARY E

EMP NAME: GETTMAN, GARY
66971 MAPLECREST RD
DEER ISLAND, OR 97054

2076900

10/18/2002

CORP

$191,467.96

GHEIDA, JAMES

EMP NAME: GHEIDA, JAMES A (JIM)
5523 OLYMPIAD DR

HOUSTON, TX 77041

55601

01/22/2002

CORP

$8,105.60

GHEIDA, JAMES

EMP NAME: GHEIDA, JAMES A (JIM)
5523 OLYMPIAD DR

HOUSTON, TX 77041

867602

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00.

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Claimant Claim
Number

Document 1005-1

Date
Filed

Exhibit A
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Debtors

Objected To
Amount

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cc

Date: 07/11/2005
Time: 8:06:00 PM

GIAMBRONE LAURA L a 1911702
EMP NAME: GIAMBRONE, LAURA L

2212 CORTLANDT STREET

HOUSTON, TX 77008-0000

10/15/2002

CORP

$0.00

GIBBINS, KATHY A. 1489402
EMP NAME: GIBBINS, KATHY A

306 REBEKAH LN

MONTGOMERY, AL 361092415

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

GIBBS JOHN D 838602
EMP NAME: GIBBS, JOHN

739 SW EVANS ST

PORTLAND, OR 97219

10/10/2002

CORP

$141,531.00

GIBSON, DAVID L 1709200
EMP NAME: GIBSON, DAVID ~

18810 OAKTREE AV

OREGON CITY, OR 97045

10/15/2002

CORP

$231,626.64

GIBSON, KATHERINE T. 2110703
EMP NAME: GIBSON. KATHERINE

14663 MORINSCOTT DR

HOUSTON, TX 77049

10/23/2002

CORP

$129,085.00

GIBSON ROBERT 836902
EMP NAME: GIBSON, ROBERT

409 SW LILLYBEN AV

GRESHAM, OR 97080

10/10/2002

CORP

$63,473.11

GIBSON, ROGER M 1248400
EMP NAME: GIBSON, ROGER

12905 SW THUNDERHEAD WY

BEAVERTON, OR 97008

10/11/2002

CORP

$271,520.00

GIBSON STACY R 1452702
EMP NAME: GIBSON, STACY R

50 LEAFSTALK COURT

THE WOODLANDS, TX 77382-0000

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

GILBERT GERALD L . 1763900
EMP NAME: GILBERT, GERALD L

13131 FINCH BROOK

CYPRESS, TX 77429-0000

10/15/2002

CORP

$0.00

GILBERT, JAMES M 1849702
EMP NAME: GILBERT, JAMES M (JIM)

4210 SW 51ST PL

PORTLAND, OR 97221

10/15/2002

ENA

$15,800.57

GILBERT-SMITH DOUGLAS 1697704
EMP NAME: GILBERT-SMITH, DOUGLAS (DOUG)

1301 ARLINGTON ST

HOUSTON, TX 77008-0000

10/15/2002

ENA
ENA

$0.00
$0.00
$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

GILCHRIST, LISA }.

EMP NAME: GILCHRIST, LISA |
4034 DURNESS

HOUSTON, TX 77025

Claim
Number

1824900

Document 10

Date
Filed

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Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

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Amount

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CORP
CORP

$0.00
$0.00
$0.00

Date: 07/11/2005
Time: 8:06:00 PM

GILGAN KELLY S.

EMP NAME: GILGAN, KELLY
3302 SE WILLOW ST
HILLSBORO, OR 97123

1781302

10/15/2002

CORP

$123,680.00

GILL, BEVERLY J

EMP NAME: GILL, BEVERLY
2459 SW LAURA AV
TROUTDALE, OR 97060

1707800

10/15/2002

CORP

$80,000.00

GILLESPIE GLEN A

EMP NAME: GILLESPIE, GLEN A
14819 CEDAR POINT DR
HOUSTON, TX 77070-0000

1703700

10/15/2002

CORP

$102,589.37

GILPIN DANIEL L

EMP NAME: GILPIN, DANIEL
15915 S SANDAL WOOD
OREGON CITY, OR 97045

914700

10/11/2002

CORP

$317,964.56

GIMBLE MATHEW M

EMP NAME: GIMBLE, MATHEW M
3135 BISSONNET

HOUSTON, TX 77005-0000

1696602

10/15/2002

ENA

$38,727.71

GIN ANTHONY

EMP NAME: GIN, ANTHONY
8255 SW 165 AV
BEAVERTON, OR 97007

1813703

10/15/2002

CORP

$418,660.64

GIN CHUM |
EMP NAME: GIN, CHUM
790 SE 3 DR
HERMISTON, OR 97838

718100

10/08/2002

CORP

$247,120.00

GINSBACH CARL T

EMP NAME: GINSBACH, CARL T
9614 WOODCLIFF LAKE DRIVE
SPRING, TX 77379-0000

1188801

10/11/2002

CORP
CORP .

$0.00
$0.00
$0.00

GINTY JAMES A

EMP NAME: GINTY, JAMES A (JIM)
2716 WERLEIN STREET
HOUSTON, TX 77005-0000

1452503

10/15/2002

CORP

$0.00

BALIS GLAESSMANN, KATHRYN ANN
EMP NAME: GLAESSMANN, KATHRYN A
9118 VALLEY ROAD

LA VISTA, NE 68128

2118000

40/24/2002

CORP

$250,837.44

GLASNER GENE

EMP NAME: GLASNER, GENE
12770 SW FAIRFIELD
BEAVERTON, OR 97005

17149902

10/11/2002

CORP

_ $701,098.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? > Undetermined

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Claimant

LAKETA, GLENN M.

EMP NAME: GLENN, LAKETA M
304 WINNIPEG AVE
LAFAYETTE, LA 70501

Claim
Number

1756902

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

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cc*

CORP
CORP

$0.00
$0.00
$0.00

Date: § 07/11/2005
Time: 8:06:00 PM

GLOD, ANNETTE

EMP NAME: GLOD, ANNETTE
TEN OAK COURT #3201
HOUSTON, TX 77006-0000

1247200

10/11/2002

EESO

$29,875.00

GODDARD LISA K

EMP NAME: GODDARD, LISA
PMB 154, 1631 NE BROADWAY
PORTLAND, OR 97232

1713902

10/15/2002

CORP

$98,645.52

GODDARD RICHARD J

EMP NAME: GODDARD, RICHARD
6992 SW GLENWOOD CT
WILSONVILLE, OR 97070

1933902

10/15/2002

CORP

$11,789.33

GOEBEL PETERL

EMP NAME: GOEBEL, PETER L
16127 RUDGEWICK LANE
SPRING, TX 77379-0000

1476302

10/15/2002

CORP

$13,071.44

GOETZINGER MARILYN

EMP NAME: GOETZINGER, MARILYN
17464 S ST

OMAHA, NE 68135-0000

1634103

10/15/2002

CORP

$0.00

GOINS MARIE L

EMP NAME: GOINS, MARIE
20747 SE FIRWOOD RD
SANDY, OR 97055

1144302

10/11/2002

CORP

$150,091.75

GOINS JR RALPH G

EMP NAME: GOINS, RALPH
20747 SE FIRWOOD RD
SANDY, OR 97055

1144402

10/11/2002

CORP

$211,518.85

GOMEZ, ANDREW

EMP NAME: GOMEZ, ANDREW
12327 WESTMERE LN
HOUSTON, TX 77077-0000

1915503

10/15/2002

CORP

$0.00

GOMEZ, LUPE

EMP NAME: GOMEZ, LUPE
11826 WATERDANCE LANE
HOUSTON, TX 77095-0000

1864400

10/15/2002

CORP
CORP

$4,337.00
$7,292.76
$11,629.76

GONZALES, JAMES F.

EMP NAME: GONZALES, JAMES F
110 SAGE

FORT STOCKTON, TX 79735

1645800

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

GONZALES PASCASIO A

EMP NAME: GONZALES, PASCASIO A
1810 W 8TH

FORT STOCKTON, TX 79735

699800

10/07/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$0.00
$0.00
$0.00

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cc

Date: 07/11/2005
Time: 8:06:00 PM

GONZALES SHARON K @
EMP NAME: GONZALES, SHARON K

4802 FOUNTAINHEAD

HOUSTON, TX 77066

1734101

10/15/2002

CORP

$35,229.21

GONZALEZ, ALVERTO

EMP NAME: GONZALEZ, ALVERTO
PO BOX 1594

FORT STOCKTON, TX 79735

941500

10/71/2002

CORP
CORP

$0.00
$0.00
$0.00

GONZALEZ JANET

EMP NAME: GONZALEZ, JANET
15268 SW ROYALTY PKWY APT A25
TIGARD, OR 97224

894702

10/10/2002

CORP

$9,160.00

GONZALEZ. MARIA T

EMP NAME; GONZALEZ, MARIA
2219 THORNE ST

NEWBERG, OR 97132

1241602

10/11/2002

CORP

$93,600.00

GONZALEZ, ROSALINDA

EMP NAME: GONZALEZ, ROSALINDA V
6619 MOSS ROSE

HOUSTON, TX 77087

1865200

10/15/2002

CORP

$0.00

GONZALEZ-HERNANDEZ SONYA L

EMP NAME: GONZALEZ-HERNANDEZ, SONYA L
3905 ASCOT LANE

HOUSTON, TX 77092

786400

10/09/2002

CORP

$15,515.75

GOODALE, JOSEPH L

EMP NAME: GOODALE, JOSEPH
16805 S CLIFFVIEW RD
OREGON CITY, OR 97045

1614502

10/15/2002

CORP

$132,900.10

GOODMAN, DALE L.

EMP NAME: GOODMAN, DALE
1302 WILLIS DRIVE

OREGON CITY, OR 97045

1231302

10/11/2002

CORP

$24,480.00

GOODRICH THOMAS E

EMP NAME: GOODRICH, THOMAS
12416 NE 189TH ST

BATTLE GROUND, WA 98604

657800

10/07/2002

$204,200.00

GOODROW ALICIA L

EMP NAME: GOODROW, ALICIA L
835 CORTLANDT

HOUSTON, TX 77007-0000

1450602

10/15/2002

$0.00
$0.00
$0.00

GOODWIN, KIETH E

EMP NAME: GOODWIN, KIETH
PO BOX 442

ST HELENS, OR 97051

1722600

10/15/2002

CORP

$65,200.00

GORADIA, PALLAVIS

EMP NAME: GORADIA, PALLAVI S (PALU)
14418 LOFTY MOUNTAIN TRL
HOUSTON, TX 77062-0000

1589702

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

’ $270,697.00

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Amount

Date: - 07/11/2005
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GORDON, DWAYNE G. e

EMP NAME: GORDON, DWAYNE G
1300 N SCHLEGEL ST
FORT STOCKTON, TX 79735

941400

10/11/2002

CORP
CORP.

$0.00 U
$0.00 P
$0.00

GORMAN, EDWARD

EMP NAME: GORMAN, EDWARD
3016 NE 56 AV

PORTLAND, OR 97213

1656102

10/15/2002

CORP

$59,439.20 U

GORMLEY, JOHN A.

EMP NAME: GORMLEY, JOHN A
1614 S 97TH ST

OMAHA, NE 68124

2121800

10/25/2002

CORP

$0.00 P

GOTTO DIANE
EMP NAME: GOTTO, DIANE
606 SOUTH 32ND AVE #17
OMAHA, NE 68105-0000

644200

10/04/2002

CORP

$918,000.00 P

GOULD JR DALE E

EMP NAME: GOULD JR, DALE E
2302 WEST VAN TREASE

DEER PARK, TX 77536

689202

10/07/2002

CORP

$181,000.00 U

GRACE LINA

EMP NAME: GRACE, LINA
206 PARE RD

KELSO, WA 98626

1148403

10/11/2002

CORP

$0.00 P

GRAF, SANDRA M

EMP NAME: GRAF, SANDRA
810 SW SPRING LN
PORTLAND, OR 97225

841202

10/10/2002

CORP

$220,960.00 U

GRAGG, SUZIE $

EMP NAME: GRAGG, SUZIE S
1210 WHISPERING WILLOW
SUGAR LAND, TX 77479-0000

849901

10/10/2002

CORP

$37,436.07 U

GRAHAM, EDWARD E

EMP NAME: GRAHAM, EDWARD E (ED)
700 MILL SPRINGS LANE
BIRMINGHAM, AL 35244

1394006

10/15/2002

CORP

$561,100.00 U

GRAHAM, ELIZABETH D.

EMP NAME: GRAHAM, ELIZABETH D (BETTY)
25278 LAMAR LANE

PORTER, TX 77365-4445

649900

09/30/2002

CORP

$232,825.32 U-

GRAHAM,KENNETH L.

EMP NAME: GRAHAM, KENNETH L (KEN)
473 EAGLE BROOK CT

DEBARY, FL 32713

1569102

10/15/2002

CORP

$359,678.16 U

GRAMSE, KERRY J

EMP NAME: GRAMSE, KERRY J
1808 W 4TH STREET
ROSWELL, NM 88201-0000

1960300

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$0.00 U
$0.00 P
$0.00

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Debtors

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- Date: 07/11/2005
Time: 8:06:00 PM

GRANADO, FRANK N.

EMP NAME: GRANADO, FRANK N
405 S FRONT ST

FORT STOCKTON, TX 79735

941100

10/11/2002

CORP
CORP

$0.00
$0.00
$0.00

GRANITE COURTNEY A

EMP NAME: GRANITE, COURTNEY A
17207 BOULDER RIDGE CT
HOUSTON, TX 77095-0600

770601

10/09/2002

CORP

$0.00

GRANT, CATHERINE

EMP NAME: GRANT, CATHERINE
2115 SE TENINO ST

PORTLAND. OR 97202

1601802

10/15/2002

CORP

$161,270.72

GRANT JOHN

EMP NAME: GRANT, CATHERINE
POB 413

MARYLHURST, OR 970360413

633202

10/04/2002

EFSCMS, ING

$129,640.00

GRANTHAM KENNETH W

EMP NAME: GRANTHAM, KENNETH W
PO BOX 302

LULING, TX 78648

1735002

10/15/2002

CORP

$200,000.00

GRAVES MELISSA R

EMP NAME: GRAVES, MELISSA R
13527 CATALANO CT

CYPRESS, TX 77429-0000

1790002

10/15/2002

CORP

$7,355.47

GRAY, BARBARA N

EMP NAME: GRAY, BARBARA N
3726 WALDEN ESTATES DR.
MONTGOMERY, TX 77356

1390303

10/15/2002

CORP

$0.00

GRAY. DORTHA W.

EMP NAME: GRAY, DORTHA W
7626 MILLSHIRE WAY
HOUSTON, TX 77095

1519302

10/15/2002

CORP

$0.00

GRAY GARY D

EMP NAME: GRAY, GARY
20851 SE GREENLEAF DR
SANDY, OR 97055

734800

10/08/2002

CORP

$191,025.90

GRAY, KYRIAN

EMP NAME: GRAY, KYRIAN
9511 NW HARBOR BLVD.
PORTLAND, OR 97231

1752500

10/15/2002

CORP

$76,006.00

GRAY RODNEY

EMP NAME: GRAY, RODNEY
4279 ROSWELL RD NE 102 185
ATLANTA, GA 303423769

502801

09/23/2002

CORP

. $112,078.68

GREANEY, CHRIS K.

EMP NAME: GREANEY, CHRIS K
10211 GREENCREEK DR
HOUSTON, TX 77070

1750900

10/75/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00

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Tittle Settlement Order

Debtors

Objected To
Amount

cc*

Date:
Time:

07/11/2005
8:06:00 PM

GREEN, ALMA S

EMP NAME: GREEN, ALMA S
301 WILCREST DR., #6107
HOUSTON, TX 77042

1531601

10/15/2002

CORP

$28,940.00

GREEN, CONNIE J

EMP NAME: GREEN, CONNIE
PO BOX 1754

GLEN ROSE, TX 76043

1365903

10/15/2002

CORP

$0.00

GREEN JOSEPH M

EMP NAME: GREEN, JOSEPH M (JOE)
4226 PALMER PLANTATION
MISSOURI CITY, TX 77459-0000

1490301

10/15/2002

CORP
CORP

$0.00
$0.00

$0.00

GREEN RONALD A

EMP NAME: GREEN, RONALD A (RON)
14514 MILLHOUSE ROAD
PINEHURST, TX 77362-0000

364300

09/03/2002

CORP
CORP

$28,428.00
$4,650.00
$33,078.00

GREENBERG MELWN B

EMP NAME; GREENBERG, MELVYN
17565 KELOK RD

LAKE OSWEGO, OR 97034

1719502

10/15/2002

CORP

$80,000.00

GREENE ARBIN J

EMP NAME: GREENE, ARBIN J (A.J.)
1101 PINEWOOD DRIVE

OCOEE, FL 347612451

412300

09/10/2002

CORP

$47,044.72

GREENE HERBERT J

EMP NAME: GREENE, HERBERT J (JOEY)

926 EAST AUSTIN
KERMIT, TX 79745-0000

665800

10/07/2002

CORP

$0.00

GREENE LEE H

EMP NAME: GREENE, LEE
11255 BRANDOW ST
OREGON CITY, OR 97045

1638703

10/15/2002

CORP

$259,889.20

GREENLEE, DEBNY

EMP NAME: GREENLEE, DEBNY C
4303 WHIPPOORWILL CIR
MISSOURI CITY, TX 77459

1506002

10/15/2002

EESO |

$3,722.00

GREENWOOD, LINDA L

EMP NAME: GREENWOOD, LINDA
2740 ARBOR DR

WEST LINN, OR 97068

916000

10/4 4/2002

CORP

$180,696.00

GREER ANNE M

EMP NAME: GREER, ANNE
74438 DEBAST RD
RAINIER, OR 97048

1665600

10/15/2002

CORP

$23,680.00

GREER MARY J.

EMP NAME: GREER, MARY J
4015 CASE ST

HOUSTON, TX 77005-3605

1833500

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$0.00
$0.00

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Claim
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Exhibit A
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Debtors

Objected To
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cc

$0.00

Date:
Time:

07/11/2005
8:06:00 PM

GREGET KAREN E

EMP NAME: GREGET, KAREN
17397 SW BARCELONA WY
BEAVERTON, OR 97007

840903

10/10/2002

CORP

$121,452.24

GREGORY, RAYMOND A

EMP NAME: GREGORY, RAYMOND
308 N 1ST ST

SILVERTON, OR 973811402

1723200

10/15/2002

CORP

$1 85,489.54

GREISSER IIl ARTHUR H

EMP NAME: GREISSER, ARTHUR
759 SW WESTWOOD DR
PORTLAND, OR 97239

1147300

10/11/2002

CORP

$155,502.00

GREY JEFFREY W

EMP NAME: GREY, JEFFREY
17670 SW ARBOR LN

LAKE OSWEGO, OR 97034

7773600

10/15/2002

CORP

$480,734.00

GREY MARILYN H

EMP NAME: GREY, MARILYN
17670 SW ARBOR LN

LAKE OSWEGO, OR 97035

1773800

10/15/2002

CORP

$239,429.00

GRIFFELS, TERESA F.

EMP NAME: GRIFFELS, TERESA
3034 NE 4TH PL

HILLSBORO, OR 971244039

868302

10/10/2002

CORP

$174,692.24

GRIFFIN, KEN R

EMP NAME: GRIFFIN, KEN
11756 SW 129 PL

TIGARD, OR 97223

850500

10/10/2002

CORP

$22,888.00

GRIFFITH, KATHLEEN

EMP NAME: GRIFFITH, KATHLEEN
90880 MCLEAN HILL RD
CLATSKANIE, OR 97016

844402

10/10/2002

CORP

$543,852.24

GRIFFITH MELISSA L

EMP NAME: GRIFFITH, MELISSA
2365 MOSSWOOD CT S

SALEM, OR 97306

793500

10/09/2002

CORP"

$88,684.64

GRIFFITH RICHARD B

EMP NAME: GRIFFITH, RICHARD
2365 MOSSWOOD CTS

SALEM, OR 97306

793600

10/09/2002

CORP

$48,000.00

GRIFFITH JEAN SUSAN

EMP NAME: GRIFFITH, SUSAN
279 S.W. SANTANA PLC
PORTLAND, OR 97225

1179500

10/11/2002

CORP

$394,400.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Date:
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Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

GRIFFITHS, JOHN W JR 570102 09/30/2002 CORP $181,701.90 U

EMP NAME: GRIFFITHS, JOHN 7

19185 NW ATHENA ST CORP $4,650.00 P

PORTLAND, OR 97229 $186,351.90

GRIGGS, LORNA KAYE 1992800 10/15/2002 CORP $0.00 P

EMP NAME: GRIGGS, LORNA K

11914 CLIFFGATE

HOUSTON, TX 77072

GRIMES, FRED M 841803 10/10/2002 CORP $15,999.87 U

EMP NAME: GRIMES, FRED (MIKE)

9346 COLLEEN RD

HOUSTON, TX 77080

GRISAFFI, MARY 1864802 10/15/2002 CORP $106,496.87 U

EMP NAME: GRISAFFI, MARY J

8914 HAZEN

HOUSTON, TX 77036

GROCHOWSKY GREG L 1770400 10/15/2002 CORP $58,913.84 P

EMP NAME: GROCHOWSKY, GREG

31909 SE CURRIN RD

ESTACADA, OR 97023

MARGARET L NOWAK 1819003 10/15/2002 CORP $0.00 U

EMP NAME: GROSS. RANDALL § :

14515 WUNDERLICH # 513

HOUSTON, TX 77069

GROSSMAN, ANTHONY R 1613903 10/15/2002 CORP $1,276,832.00 U

EMP NAME: GROSSMAN. ANTHONY R

4625 80TH ST E CORP 80.00 P

NORTHFIELD, MN 55057-0000 $1,276,832.00

GRUENER, ROBERT E. 1692402 10/15/2002 CORP $15,200.00 U

EMP NAME: GRUENER, ROBERT

1310 NE 152ND AVE

PORTLAND, OR 97230

GRUMULAITIS PAIGE B 1546100 10/15/2002 EESO $0.00 U

EMP NAME: GRUMULAITIS, PAIGE B

15506 KERRVILLE COURT FESO $0.00 P

CYPRESS, TX 77429-0000 $0.00

GUALY JAIME E 1556602 10/15/2002 CORP $5,687.92 U

EMP NAME: GUALY, JAIME E

1755 MICHIGAN AVE

HOUSTON, TX 77006-0000

GUARNERO LISA E 1667500 10/15/2002 CORP $172,995.84 P

EMP NAME: GUARNERO, LISA
PO BOX 314
OREGON CITY, OR 97045

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

GUBBELS A SHERRI

EMP NAME: GUBBELS, SHERRI
SHERRI A GUBBELS

300 S EVERGREEN RD APT 103
WOODBURN, OR 970712966

Claim
Number

1796200

Document 1005-1

Date
Fifed

Exhibit A
Tittle Settlement Order

10/15/2002

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cc*

CORP

$1,800.00

. Date: 07/11/2005
Time: 8:06:00 PM

GUERRERO, GUADALUPE
EMP NAME: GUERRERO, GUADALUPE
12384 MT. ANGEL
GERVAIS RD.
MOUNT ANGEL, OR 97362

1734600

10/15/2002

CORP

$264,000.00

GUIDRY JAMES R

EMP NAME: GUIDRY, JAMES R
127 LONGPOINTE RD
YOUNGSVILLE, LA 70592-0000

1944400

10/15/2002

CORP

$347,130.00

GUINN JOHN T

EMP NAME: GUINN, JOHN T (JACK)
5319 NORTH 52ND ST

OMAHA, NE 68104

"1545700

10/15/2002

CORP

$100,048.00

GUINN MATTHEW

EMP NAME: GUINN, MATTHEW
MATTHEW TEMPEL GUINN
3021 AUSTIN ST

HOUSTON, TX 770042818

2178101

- 17/13/2002

CORP

$0.00

GUIST NICHOLAS A

EMP NAME: GUIST, NICHOLAS
PO BOX 813

RAINIER, OR 97048

1770800

10/15/2002

CORP

$43,296.00

GULLEY, JANET M

EMP NAME: GULLEY, JANET
2619 NW PINNACLE DR
PORTLAND, OR 97229

840102

10/10/2002

CORP

$220,000.00

GUNN GLENDA

EMP NAME: GUNN, GLENDA
202 HIRSCH STREET
HUMBLE, TX 77338-4948

1474900

10/15/2002

CORP

$101,858.28

GUNTER, WILLIAM GC

EMP NAME: GUNTER, WILLIAM C (CLAY)
5001 SANDALWOOD CIRCLE
BAYTOWN, TX 77521-0000

2123101

10/25/2002

CORP

$0.00

GUPTILL HOWARTH S

EMP NAME: GUPTILL, HOWARTH
19320 HOWELL

GLADSTONE, OR 97027

1907202

70/15/2002

CORP

$236,907.68

GUTHMILLER GORDON L

EMP NAME: GUTHMILLER, GORDON L (GORDY)
PO BOX 928,401 5TH AVE SE

BEULAH, ND 58523-0000

788702

10/09/2002

CORP

$10,000.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

GUTHRIE ROBERT W

EMP NAME: GUTHRIE, ROBERT W
18202 AUBURN WOODS DR
CYPRESS, TX 77429-0000

Claim
Number

1543400

Document 1005-1

Tittle Settlement Order

Date
Filed

10/15/2002

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Exhibit A

Debtors

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Amount

cc*

CORP
CORP

$0.00
$0.00
$0.00

Date:

Time:

07/11/2005

8:06:00 PM

GUTIERREZ, ABEL T.

EMP NAME: GUTIERREZ, ABEL T
1610 N. YOUNG

FORT STOCKTON, TX 79735

1915800

10/15/2002

CORP

$0.00

GUTIEREZ, KENNETH L.

EMP NAME: GUTIERREZ, KENNETH
2792 BLUFF AVE SW

SALEM, OR 97302

1203100

10/11/2002

CORP

$165,360.00

GUTIERREZ, OSCAR R.

EMP NAME: GUTIERREZ, OSCAR R
13622 HERON FIELD COURT
HOUSTON, TX 77059-3566

1490702

10/15/2002

CORP

$1,011,781.00

BAO QUOC HA

EMP NAME: HA, BAO

2925 SE TUMBLESTONE DR.
HILLSBORO, OR 97123

1866200

10/15/2002

CORP

$101,000.00

HACKETT GARY W

EMP NAME: HACKETT, GARY
7311 NE MEADOWS DR
VANCOUVER, WA 98662

662602

10/07/2002

CORP

$163,935.00

HADLEY LEIGH ANNE

EMP NAME: HADLEY, LEIGH ANNE
22135 SW 107TH AVE

TUALATIN, OR 97062-8107

1532902

10/15/2002

CORP

$242,088.00

HAEDICKE, MARK E.

EMP NAME: HAEDICKE, MARK E
14623 RIVER FOREST
HOUSTON, TX 77079

1643805

10/15/2002

ENA

$0.00

HAGEL JOSH A

EMP NAME: HAGEL, JOSH
PO BOX 523

IRRIGON, OR 97844

2194400

10/19/2002

CORP

$0.00

HAGELMANN BJORN

EMP NAME: HAGELMANN, BJORN
6340 OYSTER BAY CT
BRIDGEVILLE, PA 15017-3421

4755902

10/15/2002

CORP

$7,275.26

HAGEN STEVEN

EMP NAME: HAGEN, STEVEN
33917 SE TERRI WY
SCAPPOOSE, OR 97056

1143402

10/11/2002

CORP

$562,370.48

HAGEN STEVEN M

EMP NAME: HAGEN, STEVEN
33917 SE TERRI WY
SCAPPOOSE, OR 97056

1143601

10/17/2002

“CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case .4:01-cv-03913

Claimant

HAGER ALICE M

EMP NAME: HAGER, ALICE
6121 SE HARNEY
PORTLAND, OR 97206

Claim
Number

914100

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

-10/4 1/2002

Debtors

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Amount

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cc*

CORP

$94,400.00

-Date: 07/11/2005
Time: 8:06:00 PM

HAGESTEDT BRUCE W

EMP NAME: HAGESTEDT, BRUCE
8365 SW 158 PL

BEAVERTON, OR 97007

1149000

10/11/2002

CORP

$172,000.00

HAGESTEDT ELIZABETH A

EMP NAME: HAGESTEDT, ELIZABETH
8365 SW 158 PL

BEAVERTON, OR 87007

1149100

10/11/2002

CORP

$134,240.00

CLARKE A CAROL

EMP NAME: HAINES, CAROL
1707 FIR CT

FOREST GROVE, OR 97116

1771200

10/15/2002

CORP

$131,040.00

HAINES CAROLE J

EMP NAME: HAINES, CAROLE
29717 SE 32ND CIRCLE
WASHOUGAL, WA 98671

1236102

10/11/2002

CORP

$0.00

HAINES DEBORAH A

EMP NAME: HAINES, DEBORAH
1949 SE PALMQUIST RD 120
GRESHAM, OR 97080

902502

10/10/2002

CORP

$167,869.77

HAINES. DONNA J,

EMP NAME: HAINES, DONNA
5640 S.W. MURRAY BL #15
BEAVERTON, OR 97005

961002

10/11/2002

CORP

$192,644.35

HAINES, JEROME E

EMP NAME: HAINES, JEROME
29717 SE 32ND CIRCLE
WASHOUGAL, WA 98671

1232702

10/11/2002

CORP

$277,920.00

HAINES, ROD

EMP NAME; HAINES, ROD
1707 FIR CT

FOREST GROVE, OR 97116

1764100

10/15/2002

CORP

$192,240.00

HAISLER NORMAN

EMP NAME: HAISLER, NORMAN G
22206 TREESDALE LN

KATY, TX 77450

663200

10/07/2002

CORP

$965,430.00

HAIZLIP FREDERICK

EMP NAME: HAIZLIP, FREDERICK (KELLY)

5521 DOLIVER
HOUSTON, TX 77056-0000

1213904

10/11/2002

CORP

$47,043.54

HAJEK JAMES E

EMP NAME: HAJEK, JAMES
261 SUN VALLEY DR APT G17
MESQUITE, NV 890275154

832600

10/10/2002

CORP

$368,412.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

HALEY TAMERA J

EMP NAME: HALEY, TAMERA
TAMMY J HALEY

610 CHERRY AVE

OREGON CITY, OR 970453255

Claim
Number

ee

862500

Document 1005-1

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Exhibit A

Tittle Settlement Order

Date
Filed

10/10/2002

Debtors

Objected To
Amount

cct

CORP

$178,100.00

. Date: 07/11/2005
Time: 8:06:00 PM

HALL GWENDOLYN

EMP NAME: HALL, GWENDOLYN
5008 N HWY 288B

CLUTE, TX 77531-0000

880702

10/10/2002

CORP

$0.00

POST PATRICIA L

EMP NAME: HALL, PATRICIA L (TRISH)
8760 PLANTATION RIDGE BLVD.
LAKELAND, FL 33809

1515901

10/15/2002

CORP

$0.00

HALL ROGER H

EMP NAME: HALL, ROGER
9 BIRCH DR

HERMISTON, OR 97838

717500

10/08/2002

CORP

$24,715.20

HALL STEVEN

EMP NAME: HALL, STEVEN
18375 S UPPER HIGHLAND RD
BEAVERCREEK, OR 97004

2046300

10/17/2002

CORP

$191,172.24

HALLCOM KENNETH R

EMP NAME: HALLCOM, KENNETH R (KEN)
9111 WESTVIEW

HOUSTON, TX 77055

769200

10/09/2002

CORP

$418,298.00

HALLMARK LINDA B

EMP NAME: HALLMARK, LINDA B
- 11811 CATROSE LANE

CYPRESS, TX 77429-0000

501202

09/23/2002

CORP
CORP

$0.00
$175,455.28
$175,455.28

HALVERSON, DEBRA A

EMP NAME: HALVERSON, DEBRA
18132 SW MCCORMICK HILL
HILLSBORO, OR 97123

841502

10/10/2002

CORP

$305,571.59

MERTINS, HOLLY C.

EMP NAME: HAMBY, HOLLY C
1112 BERING #44

HOUSTON, TX 77057

1570401

10/15/2002

CORP
CORP

$0.00
$0.00
. $0.00

HAMILTON MARY LOU

EMP NAME: HAMILTON, MARY LOU
702 SOUTH SOTH STREET

OMAHA, NE 68114-5116

1545601

10/15/2002

CORP

$544,341.25

HAMILTON, SHARON E

EMP NAME: HAMILTON, SHARON
12876 SE KRONAN DR
CLACKAMAS, OR 97015

571100

09/30/2002

CORP

$58,207.92

HAMM GERRY D

EMP NAME: HAMM, GERRY D
207 SOUTH WINKLER

WINK, TX 79789-0000

2203201

10/20/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00

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Claim
Number

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Exhibit A

Tittle Settlement Order

Date
Filed

Debtors

Objected To
Amount

ce*

Date: 07/11/2005
Time: 8:06:00 PM

HAMMER DAL 8

EMP NAME: HAMMER, DAL
1064 SE GREENBRIAR AV
DALLAS, OR 97338

1675200

10/15/2002

CORP

$400,000.00

HAMPTON LAURENCE S

EMP NAME: HAMPTON, LAURENCE
10964 JAMES WAY SE

AUMSVILLE, OR 97325

1147400

40/11/2002

CORP

$35,440.00

HAMRE DEBBRA J

EMP NAME: HAMRE, DEBBRA J (DEBBIE)
1903 NO MISSION CIRCLE
FRIENDSWOOD, TX 77546

464900

09/16/2002

CORP

$40,800.00

HANAGRIFF, RICHARD

EMP NAME: HANAGRIFF, RICHARD S
1018 WESTERN MEADOWS DR.
KATY, TX 77450

1710400

10/15/2002

CORP

$56,728.00

HANAUSKA THOMAS W

EMP NAME: HANAUSKA, THOMAS
30392 S MOLALLA AV

MOLALLA, OR 97038

838201

10/10/2002

CORP

$0.00

HANCOCK, ROBERT W.

EMP NAME: HANCOCK, ROBERT
309 N.E. MARSHALL LOOP
BOARDMAN, OR 97818

806700

10/10/2002

CORP

$160,000.00

HANDLEY JOHN R

EMP NAME: HANDLEY, JOHN R
2011 FAIRBRANCH CT

KATY, TX 77494-0000

386102

09/06/2002

ENA

$1,101,770.10

HANDRIS, THEODORE

EMP NAME: HANDRIS, THEODORE
13455 S. LELAND RD.

OREGON CITY, OR 97045

2100500

10/15/2002

CORP

$137,413.00

HANEY ALAN A

EMP NAME: HANEY, ALAN A (AL)
111 S SAGE

FORT STOCKTON, TX 79735-0000

2023300

10/16/2002

CORP
CORP

$232,482.00
$1,534.00
~ $234,016.00

HANEY, JAMES M

EMP NAME: HANEY, JAMES
4267 SE YAMHILL
PORTLAND, OR 97215

901400

10/10/2002

CORP

$160,301.28

HANKINS BARBARA L

EMP NAME: HANKINS, BARBARA L (BARB)
2815 HICKORY LIMB COURT

LEAGUE CITY, TX 77573-0000

658702

10/07/2002

EES, INC _

$0.00

HANN, GEORGE A.

EMP NAME: HANN, GEORGE
9264 GOLF CLUB RD S.E.
AUMSVILLE, OR 97325

800800

10/10/2002

* Classification: S=Secured; P=Priority; U=-Unsecured; A=Administrative; ? = Undetermined

CORP

$160,000.00

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Claimant

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Claim
Number

Document 1005-1

Date
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Tittle Settlement Order

Debtors

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- Date:
Time:

07/11/2005
8:06:00 PM

HANNAN JEANNE M

EMP NAME: HANNAN, JEANNE
13407 E MARQUAM RD NE
MOUNT ANGEL, OR 973629545

1681400

10/15/2002

CORP

$93,440.00

HANSEN, CHERI

EMP NAME: HANSEN, CHERI
14535 SW 100 AV

TIGARD, OR 97224

844002

10/10/2002

CORP

$155,920.00

HANSEN, DOUGLAS

EMP NAME: HANSEN, DOUGLAS
14535 SW 100 AV

TIGARD, OR 97224

845300

10/10/2002

CORP

$322,160.00

HANSEN JACQUE L

EMP NAME: HANSEN, JACQUE
15485 SE BARTELL RD
BORING, OR 97009

864300

10/10/2002

CORP

$120,400.00

HANSEN PATTI K

EMP NAME: HANSEN, PATTI
912 NE CAMELIA DR
NEWBERG, OR 971329134

784200

10/09/2002

CORP

$24,200.00

HANSEN, RYAN

EMP NAME: HANSEN, RYAN
1017 6TH STREET

OREGON GITY, OR 97045

1903000

10/15/2002

CORP

” $1,728.00

HANSEN STEVEN R

EMP NAME: HANSEN, STEVEN
15485 SE BARTELL RD
BORING, OR 97009

864200

10/10/2002

CORP

$138,400.00

HANSEN TERRY

EMP NAME: HANSEN, TERRY
50 SE CODY LN

MADRAS, OR 97741

1798400

10/15/2002

CORP

$528,960.00

HANSON JR KEITH

EMP NAME: HANSON, KEITH
PO BOX 747

HEPPNER, OR 97836

1705800

10/15/2002

CORP

$315,096.00

HANSON, KRISTEN JOAN

1871804

EMP NAME: HANSON, KRISTEN J (KRIS)

3231 BODINE DRIVE
PEARLAND, TX 77584

10/15/2002

CORP

$0.00

HANSON, ROGENE

1530806

EMP NAME: HANSON, ROGENE (REGGIE)

18719 REGATTA ROAD
HUMBLE, TX 77346

10/15/2002

CORP

$1,163.66

HARDY JR JOHN V

EMP NAME: HARDY JR, JOHN V
8009 BRADLEY BLVD
BETHESDA, MD 20817-0000

1829400

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$12,315.43

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Claimant

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Number

Document 10

Date
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05-1

Exhibit A
Tittle Settlement Order

Debtors

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Amount

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_ Date: = 07/11/2005
Time: 8:06:00 PM

cc*

HARDY, DAVID M.

EMP NAME: HARDY, DAVID M
25353 S. CONCORD DRIVE
CLAREMORE, OK 74017

2205000

11/22/2002

CORP

$0.00

HARDY, JOSEPH G

EMP NAME: HARDY, JOSEPH G (TREY)
20403 FAIRFIELD TRACE DR
CYPRESS, TX 77433

1504603

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

HARDY STACY

EMP NAME: HARDY, STACY
20403 FAIRFIELD TRACE DR
CYPRESS, TX 77433

1515203

10/15/2002

CORP

$0.00

HARKLESS JAMES L

EMP NAME: HARKLESS, JAMES
PMB 514

3439 NE SANDY BLVD.
PORTLAND, OR 97232

635500

10/04/2002

CORP

$60,000.00

HARKNESS. CYNTHIA L.

EMP NAME: HARKNESS, CYNTHIA L
6 MURRAY HILL CIRCLE
BALTIMORE, MD 21212

1388402

10/15/2002

CORP

$217,050.32

HARKNESS. CYNTHIA L

EMP NAME: HARKNESS, CYNTHIA L
6 MURRAY HILL CIRCLE
BALTIMORE, MD 21212

1388702

10/15/2002

EBS, INC
EBS, INC

$28,750.00
$2,187.50
$30,937.50

HARKNESS, CYNTHIA L.

EMP NAME: HARKNESS, CYNTHIA L
6 MURRAY HILL CIRCLE
BALTIMORE, MD 21212

1640402

10/15/2002

ECTRIC

$4,812.50

HARMAN, CHRISTOPHER T.

EMP NAME: HARMAN, CHRISTOPHER T (CHRIS)
442 WESTMINSTER DR

HOUSTON, TX 77024

1823104

10/15/2002

EBS, INC

$0.00

HARMON, LAUNA B.

EMP NAME: HARMON, LAUNA
12395 SE BLAINE DR
CLACKAMAS, OR 97015

1185102

10/11/2002

CORP

$89,713.24

HARNEY MICHAEL P

EMP NAME: HARNEY, MICHAEL
4321 NW MOON VALLEY TERRACE
BEAVERTON, OR 970067390

1648900

10/15/2002

CORP

$78,000.00

HARPER E M, JR.

EMP NAME: HARPER, EM
144 INTERLAKEN RD
FAIRMONT, MN 56031

398400

09/09/2002

CORP

$33,508.64

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

HARPER EDWARD M

EMP NAME: HARPER, EDWARD
104 COTTONWOOD LP.
BOARDMAN, OR 97818

Claim
Number

836800

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/10/2002

Debtors

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Amount

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cc*

CORP

$143,377.95

Date: 07/11/2005
Time: 8:06:00 PM

HARPER KATHLEEN M

EMP NAME: HARPER, KATHLEEN
4 TOUCHSTONE DR 142

LAKE OSWEGO, OR 97035

1667600

10/15/2002

CORP

$13,929.00

HARRELL LARRY J

EMP NAME: HARRELL, LARRY J
550 KNOLLS CIRCLE
DURANGO, CO 81303-0000

1638300

10/15/2002

CORP

$133,089.00

HARRILL BILLIR

EMP NAME: HARRILL, BILLIR
3219 N 168TH AVE

OMAHA, NE 68116-2646

1490602

10/15/2002

CORP

$345,882.35

HARRIS ALCE

EMP NAME: HARRIS, ALCE
2934 GRASSMERE
SHREVEPORT, LA 71108

773000

10/09/2002

CORP

$26,255.90

HARRIS DENNIS CG

EMP NAME: HARRIS, DENNIS C
5190 PREFERRED PLACE #205
HILLIARD, OH 43026

1513102

10/15/2002

EES, INC

$8,196.45

HARRIS, JAMES WHELAN

EMP NAME: HARRIS, JAMES W (JIM)
11709 MONICA STREET

HOUSTON, TX 77024

1570303

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

HARRIS LINDA G

EMP NAME: HARRIS, LINDA G
6517 NW 134TH ST
OKLAHOMA CITY, OK 73142

901802

10/10/2002

CORP

$78,343.82

HARRIS, MARIE

EMP NAME: HARRIS, MARIE
BEVERLY BERMUDEZ

PO BOX 2743

CANYON LAKE, TX 781330014

1721000

10/15/2002

CORP

$120,000.00

HARRIS, NANCY L.

EMP NAME: HARRIS, NANCY
4411 SE BOISE ST
PORTLAND, OR 97206

1942502 -

10/15/2002

CORP

$18,780.00

HARRIS, PAULA J.

EMP NAME: HARRIS, PAULA J
2704 SUN BEAM COURT
PEARLAND, TX 77584

1524502

10/75/2002

ENA

$16,000.00

HARRIS, STEPHANIE J

EMP NAME: HARRIS, STEPHANIE J
14 E GREENWAY, STE 26-0
HOUSTON, TX 77046-0000

881902

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$28,448.22

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Claimant

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Number

Exhibit A
Tittle Settlement Order

Date
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Debtors

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Amount

Date:
Time:

07/11/2005
8:06:00 PM

HARRIS STEVEN M

EMP NAME: HARRIS, STEVEN M
3314 THICKET RUN DRIVE
SPRING, TX 77388-0000

937702

10/11/2002

CORP

$300,000.00 U

HARRISON BARBARA

EMP NAME: HARRISON, BARBARA
1097 COUNTY ROAD 146

NEW ALBANY, MS 38652-0000

1481100

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

HARRISON SUSAN G

EMP NAME: HARRISON, SUSAN G
70906 SPRUCE KNOLL CR.
HOUSTON, TX 77065-0000

793105

10/09/2002

_ CORP

$0.00 U

HARSELL DERYLE R

EMP NAME: HARSELL, DERYLE R
21618 GLENBRANCH

SPRING, TX 77388-0000

834801

10/10/2002

CORP

$0.00 U

HARTEL COLLEEN A

EMP NAME: HARTEL, COLLEEN
8328 SW 168 AV

BEAVERTON, OR 97007

833600

10/10/2002

CORP

$181,594.64 U

HARTMAN, CHRISTOPHER R.

EMP NAME: HARTMAN, CHRISTOPHER
13408 SE COVINA COURT
CLACKAMAS, OR 97015

2091500

10/18/2002

CORP

$158,502.80 P

HARTMAN GARY K

EMP NAME: HARTMAN, GARY
35890 SE SNUFFIN RD
ESTACADA, OR 97023

1677000

10/15/2002

CORP

$300,000.00 P

HARVEY, THOMAS A

EMP NAME: HARVEY, THOMAS
18830 SE MCQUAW

SANDY, OR 97055

1246900

10/11/2002

CORP

$33,809.20 P

HARVEY-DIXON, JANE M

EMP NAME: HARVEY-DIXON, JANE
DIXON .

7317 NE HAZEL DELL AVE APT 8
VANCOUVER, WA 986658393

1689200

10/15/2002

CORP

$22,018.40 U

HARWELL DANA A

EMP NAME: HARWELL, DANA A
1311 W STROKER RD
CROSBY, TX 77532-0000

694801

10/07/2002

CORP

$43,715.00 P

HARWELL THOMAS A

EMP NAME: HARWELL, THOMAS A
1311 W STROKER RD

CROSBY, TX 77532

694701

10/07/2002

CORP

$0.00 U

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

HASENJAGER NORMA J

EMP NAME: HASENJAGER, NORMA J
776 N 73RD STREET

OMAHA, NE 68114-0000

Claim
Number

1589202

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

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cc*

CORP
CORP

$1,208,008.00

* $901,249.80

$2,109,257.80

Date: 07/11/2005
Time: _ 8:06:00 PM

HASS, KENNETH R.

EMP NAME: HASS, KENNETH
195 WEST CLACKAMAS BLVD.
GLADSTONE, OR 97027

1154100

10/11/2002

CORP

$172,560.00

HASSLER BETTY

EMP NAME: HASSLER, BETTY
16888 STATE ORCHARDS RD
COUNCIL BLUFFS, IA 51503-5369

568301

09/30/2002

CORP

$55,353.46

HATCH, CAROL J.

EMP NAME: HATCH, CAROL J

7672 NORTH INDIAN TRAIL RANCH RD
VERNAL, UT 84078

2085700

10/22/2002

CORP
CORP

$210,087.00
$9,300.00
$219,387.00

HATCHER AMY

EMP NAME: HATCHER, AMY
144176 STALAWA DR
OREGON CITY, OR 97045

1475202

10/15/2002

CORP

$2,511.74

HATCHER, LEONARD DALE

EMP NAME: HATCHER, LEONARD
2147 NE 131ST

PORTLAND, OR 97230

811900

10/10/2002

CORP

$208,578.40

HATLELI MARK S

EMP NAME; HATLELI, MARK
8108 SW LOCUST
PORTLAND, OR 97223

1582400

10/15/2002

CORP

$100,720.00

HATLELI PATRICIA M

EMP NAME: HATLELI, PATRICIA
8108 SW LOCUST

PORTLAND, OR 97223

1582300

10/15/2002

CORP

$87,040.00

HATTEBERG, ROBERT A

EMP NAME: HATTEBERG, ROBERT
PO BOX 267

SILVERTON, OR 973810267

851100

10/10/2002

CORP

$256,850.00

HAUG DAVID L

EMP NAME: HAUG, DAVID L
323 EAST COWAN DR
HOUSTON, TX 77007-0000

4490002

10/15/2002

CORP

$808,534.98

HAUGEN, KATHRIN R

EMP NAME: HAUGEN, KATHRIN
1736 KILLARNEY DR.

WEST LINN, OR 97068

1863900

10/15/2002

CORP

$184,000.00

HAWKE STEPHEN R

EMP NAME: HAWKE, STEPHEN
2121 SW MARTHA

PORTLAND, OR 97239

1781503

10/15/2002

CORP

$331,040.00

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* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

HAWKINS, BERNADETTE V
EMP NAME: HAWKINS, BERNADETTE V

2305 EVIAN COURT @

FORESTVILLE, MD 20747-0000

Claim
Number

1610903

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

ocr

CORP

$3,629.03

Date: 07/11/2005
Time: 8:06:00 PM

HAWKINS DARIAN D

EMP NAME: HAWKINS, DARIN D
5110 EIGEL ST

HOUSTON, TX 770073330

1904602

10/15/2002

CORP

$25,685.00

HAWKINS DONALD R

EMP NAME: HAWKINS, DONALD R
44 WISTERIA WALK CIRCLE

THE WOODLANDS, TX 77381-0000

1682202

10/15/2002

CORP

$90,632.61

HAWKINS RONALD

EMP NAME: HAWKINS, RONALD
10029 CRESENT CREEK DR.
LAS VEGAS, NV 89134

393000

09/09/2002

ENA

$18,000.00

HAWKS, MITCHELL A.

EMP NAME: HAWKS, MITCHELL
31525 CANAAN RD

DEER ISLAND, OR 97054

1909000

10/15/2002

CORP
CORP

$22,400.77
$4,650.00
$27,050.77

HAWLEY REGINA G

EMP NAME: HAWLEY, REGINA G
4131 ADMIRAL CT

MISSOURI CITY, TX 77459-0000

1531102

10/15/2002

CORP

$682.64

HAWTHORNE, WILLIAM E

EMP NAME: HAWTHORNE, WILLIAM E (ED)
P.O. BOX 217

PORT BYRON, IL 61275

834200

10/10/2002

CORP

$34,498.67

HAY JOHN T
EMP NAME: HAY, JOHN T (T)
2100 WINROCK #34
HOUSTON, TX 77057-0000

1531903

10/15/2002

CORP

$0.00

HAY, ROBERT D.

EMP NAME: HAY, ROBERT
2930 NW FOREST AVE.
BEAVERTON, OR 97006

894000

10/10/2002

CORP

$244,732.00

HAYDEN FRANK

EMP NAME: HAYDEN, FRANK
3855 DURNESS WAY
HOUSTON, TX 77025-0000

2152502

11/01/2002

CORP

$2,011.56

HAYES L. GAYLE

EMP NAME: HAYES, GAYLE
24595 S. ELDORADO RD.
MULINO, OR 97042

688600

10/07/2002

CORP

$0.00

HAYES, ROBERT

EMP NAME: HAYES, ROBERT E
5807 CIMMARON CREEK COURT
SPRING, TX 77379

1487603

10/15/2002

“CORP

CORP

$0.00

$0.00
$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913 Document 1005-1

Claimant Claim
Number

HAYES VIKIS 787802
EMP NAME: HAYES, VIKIS e

2797 GLOVER DR

CUMMING, GA 30040-0000

Date
Filed

Exhibit A
Tittle Settlement Order

10/09/2002

Debtors

Objected To
Amount

Filed on 07/14/05 in. TXSD Page 145 of 353

Date: 07/11/2005
Time: 8:06:00 PM

cc*

CORP

$44,625.00 -

HAYSLETT RODERICK J 1772302
EMP NAME: HAYSLETT, RODERICK J (ROD)

270 WATERFORD WAY

MONTGOMERY, TX 77356

10/15/2002

CORP

$0.00

HAYWORTH DONALD 1463400
EMP NAME: HAYWORTH, DONALD

825 W QUINCE

HERMISTON, OR 97838

10/15/2002

CORP

$170,416.00

HEACOCK DIANE C 2055400
EMP NAME: HEACOCK, DIANE

72747 HOUT ST ~
RAINIER, OR 970483813

10/17/2002

CORP

$4,160.00 ©

HEAD JON W 613400
EMP NAME: HEAD, JON

10710 SW 14 DR

PORTLAND, OR 97219

10/03/2002

CORP

$209,585.37

HEADE, NICHOLAS P 1604800
EMP NAME: HEADE, NICHOLAS

33280 SE HWY 211

BORING, OR 97009

10/15/2002

CORP

$867,637.00

DANEN R HEATH 1792500
EMP NAME: HEATH, DANEN

29640 S.W JACKSON WAY

WILSONVILLE, OR 97070

10/15/2002

CORP

$135,320.00

HEATH LARRY L 793902
EMP NAME: HEATH, LARRY

PO BOX 1135

NORTH PLAINS, OR 97133

10/09/2002

CORP

$161,779.00

GOFF, SANDRA G 1958200
EMP NAME: HEATH, SANDRA

29640 SW JACKSON WAY

WILSONVILLE, OR 97070

10/15/2002

CORP

$183,085.00

HEATHMAN KAREN K 2024100
EMP NAME: HEATHMAN, KAREN K

17315 CYPRESS SPRING DR

SPRING, TX 77388-0000

10/16/2002

CORP

$12,180.00

HECKER, JAMES R. 1624900
EMP NAME: HECKER, JAMES R (JIM) .
4912 263RD COURT

WYOMING, MN 55092

10/15/2002

CORP

$0.00

HECKMAN, JACQUELINE R 2003800
EMP NAME: HECKMAN, JACQUELINE R

5168 S MEMPHIS CT

AURORA, CO 800154164

10/16/2002

‘CORP

$79,886.76

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Document 10

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Exhibit A
Tittle Settlement Order

Date:
Time:

07/11/2005
8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

HECKMON, GARY D. 801400 10/10/2002 CORP $147,040.00 P
EMP NAME: HECKMON, GARY .
48412 S.E. SQUAW MT RD
ESTACADA, OR 97023
HEFNER BILLY W 2137200 10/29/2002 CORP $137,673.54 U
EMP NAME: HEFNER, BILLY W
PO BOX 988
ARTESIA, NM 88210
HEIDECKER, WILLIAM 1168003 10/11/2002 CORP $25,488.00 U
EMP NAME: HEIDECKER, WILLIAM A (BILL)
APT 1
1610 HAWTHORNE ST
HOUSTON, TX 77006
HEIKKINEN, GARY W. 733400 10/08/2002 CORP $75,462.35 U
EMP NAME: HEIKKINEN, GARY
2734 SW TROY ST.
PORTLAND, OR 97219
HEIL, MICHAEL M. 851803 10/10/2002 CORP $0.00 P
EMP NAME: HEIL, MICHAEL M (MIKE)
6618 OPENGATE
CORPUS CHRISTI, TX 78413
HEINEMAN SARAH E 1585002 10/15/2002 CORP $0.00 U
EMP NAME: HEINEMAN, SARAH E

' P
10510 FLAXEN MANOR CT CORP $0.00
SPRING, TX 77379 $0.00
HEINTZ, MARTY H. 1966900 10/15/2002 CORP $19,024.00 U
EMP NAME: HEINTZ, MARTY
3565 UPPER DR CORP $0.00 P
LAKE OSWEGO, OR 97035 $19,024.00
HEINTZMAN, DAVID 1708003 10/15/2002 CORP $73,950.38 U
EMP NAME: HEINTZMAN, DAVID
589 NE 26 CT CORP $0.00 P
HILLSBORO, OR 97124 $73,950.38
HEITMEYER KAYLA A 1229402 10/11/2002 CORP $3,314.75 U
EMP NAME: HEITMEYER, KAYLA A
736 FOREST LANE
CONROE, TX 77302-0000
HELLER THOMAS P 960400 10/11/2002 CORP $0.00 U
EMP NAME: HELLER, THOMAS
7525 NE 25 ST CORP $57,950.00 P
VANCOUVER, WA 98662 $57,950.00
HEMELSTRAND MICHAEL. 1777702 10/15/2002 CORP $165,000.00 U-

EMP NAME: HEMELSTRAND, MICHAEL
10530 SW 14 TH DRIVE
PORTLAND, OR 97219

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

HENDERSON D SANDRA

EMP NAME: HENDERSON, SANDRA D
11715 BOGEY WAY

HOUSTON, TX 77089

Claim
Number

1458302

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors Objected To

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cc*

CORP $30,303.11

. Date:
Time:

07/11/2005
8:06:00 PM

HENDRICKS LOIS P

EMP NAME: HENDRICKS, LOIS P
8006 ARLETTA

HOUSTON, TX 77061-0000

1737801

10/45/2002

CORP $8,449.00

HENDRIX KRISTINE R

EMP NAME: HENDRIX, KRISTINE
6300 SE 34TH WY

GRESHAM, OR 97080

1182802

10/11/2002

CORP $4,385.65

HENENBERG JOEL

EMP NAME: HENENBERG, JOEL
3603 FERNGLADE DRIVE
HOUSTON, TX 77068-0000

547700

10/01/2002

CORP $4,511.99

HENKE, WADE M

EMP NAME: HENKE, WADE
24550 NE 152 AV

BATTLE GROUND, WA 98604

656200

10/07/2002

CORP $37,474.96

HENNESSY RITA J

EMP NAME: HENNESSY, RITA J
4306 STEEP ROCK

PASADENA, TX 77504-0000

1547003

10/15/2002

CORP $4,029.88

HENRICI, GLENNA D

EMP NAME: HENRICI, GLENNA
3845 TEMPEST DR

LAKE OSWEGO, OR 97035

1226302

10/11/2002

CORP $349,979.59

HERB, TERRY WILLIAM
EMP NAME: HERB, TERRY
424 S 10TH AVE
CORNELIUS, OR 97113

1136600

10/11/2002

CORP $124,149.30

HERBER STEPHEN R

EMP NAME: HERBER, STEPHEN R (STEVE)
331 SUSAN LANE

CONROE, TX 77385-0000

4716302

10/15/2002

CORP $502,135.08

HERMANEK, THOMAS A., JR.

EMP NAME: HERMANEK JR, THOMAS A
P O BOX 742

BOYS TOWN, NE 680100742

1515400

10/15/2002

CORP $431,435.75

HERMANEK, PATRICIA

EMP NAME: HERMANEK, PATRICIA J (PATTY)
P O BOX 742

BOYS TOWN, NE 680100742

~ 1825500

10/15/2002

CORP $0.00
CORP $0.00

$0.00

HERMANS GREGOIRE A

EMP NAME: HERMANS, GREGOIRE A (GREG)
6 AV GRAND AIR

1640 RHODE SAINT GENESE

BELGIUM

836102

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

EIM LLC $3,280.16

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Claimant Claim
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Exhibit A
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Debtors

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HERNANDEZ DAHLIA S a 1791000
EMP NAME: HERNANDEZ, DAHLIA S

3426 COBBLESTONE CREEKWAY

HOUSTON, TX 77084-0000

10/15/2002

CORP

$0.00

HERNANDEZ, ERNEST R 1994200
EMP NAME: HERNANDEZ, ERNEST R

429 QUAIL RUN ROAD

RICHWOOD, TX 77531-2216

10/15/2002

CORP

$12,500.00

HERNANDEZ LARRY V. 528900
EMP NAME: HERNANDEZ, LARRY V

1015 N JEFFERSON ST

HOBBS, NM 88240

09/25/2002

CORP

$35,000.00

HERNANDEZ, MARTIN V 852400
EMP NAME: HERNANDEZ, MARTIN ~

3414 SE 153 AV

PORTLAND, OR 97236

10/10/2002

CORP

$176,586.68

HERNDON FRANCES 289100
EMP NAME: HERNDON, FRANCES

6816 E 47TH PL

TULSA, OK 74145

08/26/2002

CORP

$70,466.70

HERROLD JEFFREY W 1635803
EMP NAME: HERROLD, JEFFREY W (JEFF)

16527 BATTLECREEK DRIVE

HOUSTON, TX 77095-0000

10/15/2002

CORP

$5,670.00

HERRON CAROLYN J 1561700
EMP NAME: HERRON, CAROLYN J

PO BOX 24143

OMAHA, NE 68124

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

HERRON, WILMER D., SR 1560102
EMP NAME: HERRON, WILMER D (D.J.)

4038 LOST OAK DRIVE

SPRING, TX 77388

10/15/2002

CORP

$0.00

HESCOCK TERRY L 1752700
EMP NAME: HESCOCK, TERRY

19380 E SUMMERTIME DR

SANDY, OR 97055

10/15/2002

CORP

$230,089.30

HESS, KENNETH K 1669801
EMP NAME: HESS, KENNETH K (KEITH)

RR 3 BOX 83

MEMPHIS, MO 635559325

10/15/2002

ETSC

$150,000.00

HESTER SHEILA 1677200
EMP NAME: HESTER, SHEILA A

5208 HALBERT

PEARLAND, TX 77581

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

HETRICK NANCY A 1813800
EMP NAME: HETRICK, NANCY A

13165 BLUEBIRD LN

COUNCIL BLUFFS, IA 51503-0000

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

10/15/2002

EESO
EESO

$0.00
$0.00

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Claimant

Claim
Number

Document 1005-1

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Exhibit A

Tittle Settlement Order

Date
Filed

Debtors

Objected To
Amount

cc*

$0.00

- Date: 07/11/2005
Time: 8:06:00 PM

HEWETT, JACQUELINE

EMP NAME: HEWETT, JACQUELINE (JACKIE)

28 LAFAYETTE LOOP
ROSWELL, NM 88201-0000

1241001

40/11/2002

CORP

$0.00

HICKEY, PATRICK H
EMP NAME: HICKEY, PATRICK H
6213 CHEVY CHASE
HOUSTON, TX 77057

1230203

10/41/2002

CORP

$423,660.00

HICKS BLAIR E

EMP NAME: HICKS, BLAIR E
524 LOUISIANA AVE

TRLR 45

BACLIFF, TX 77518

1834503

10/15/2002

CORP

$61,014.00

HICKS, DEBRA K

EMP NAME: HICKS, DEBRA K
16006 RESTON BRIDGE DRIVE
CYPRESS, TX 77429

1602103

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

HIGGINS, BILLIE E

EMP NAME: HIGGINS, BILLIE
5490 GLEN ECHO AV
GLADSTONE, OR 97027

916102

10/11/2002

CORP

$116,237.60

HIGGINS MICHAEL W

EMP NAME: HIGGINS, MICHAEL
5490 GLEN ECHO AV
GLADSTONE, OR 97027

913802

10/11/2002

CORP

$145,223.20

HIGGINS, STEPHEN J

EMP NAME: HIGGINS, STEPHEN
4715 NW MALHUER AV
PORTLAND, OR 97229

843303

10/10/2002

CORP

- $7,200.00

HILL GARRICK A

EMP NAME: HILL, GARRICK A (RICK)
13903 GREENWOOD MANOR DR.
CYPRESS, TX 77429-0000

1573002

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

HILL G GORDON

EMP NAME: HILL, GORDON
115 HAZELNUT DRIVE
NEWBERG, OR 97132

1182300

10/11/2002

CORP

$120,000.00

HILL, JAMES E

EMP NAME: HILL, JAMES
23167 NE SUNNYCREST
NEWBERG, OR 97132

683100

10/07/2002

CORP

$54,974.64

HILL, LAWRENCE A

EMP NAME: HILL, LAWRENCE A (LARRY)

9243 WAVING FIELDS DR
HOUSTON, TX 77064-0000

1806400

10/15/2002

CORP
CORP

$536,205.58
$4,650.00
$540,855.58

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

HILL, ROBERT A

EMP NAME: HILL, ROBERT A
15424 PINE STREET
OMAHA, NE 68144-0000

Claim
Number

1861503

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Exhibit A
Tittle Settlement Order

Date
Filed

10/15/2002

Debtors

Objected To
Amount

cc*

CORP

$920,110.00

- Date: 07/11/2005
Time: 8:06:00 PM

HILL, ROBIN

EMP NAME: HILL, ROBIN

401.W PASADENA BLVD APT 802
DEER PARK, TX 775364976

1686502

10/15/2002

EBS, INC

$784.10

HILLARD LOUANNE L

EMP NAME: HILLARD, LOUANNE
2820 SE 77

PORTLAND, OR 97206

1158900

10/11/2002

CORP

$12,000.00

HILLER JACK L.

EMP NAME: HILLER, JACK L
5527 N DRY FORK CANYON
VERNAL, UT 84078

559700

09/30/2002

CORP

$183,688.26

HILLYARD GERRY G

EMP NAME: HILLYARD, GERRY
9590 SE TELFORD

BORING, OR 97009

1488700

10/15/2002

CORP

$85,844.50

HILTON NANCY T.

EMP NAME: HILTON, NANCY T
23119 CROSSBEND DR.
KATY. TX 77494

4635600

10/15/2002

CORP

$5,015.38

HINK WILLIAM G

EMP NAME: HINK, WILLIAM G
PO BOX 193

ASHLAND, KS 67831

1745900

10/15/2002

CORP

$460,530.33

HINKLE, DEBORAH G

EMP NAME: HINKLE, DEBORAH G (DEBBIE)
17126 COUNTY ROAD 39

ROSHARON, TX 77583-7504

1621202

10/15/2002

CORP

$238,300.00

HINKLE, FRANKLIN T

EMP NAME: HINKLE, FRANKLIN T (FRANK)
17126 COUNTY RD 39

ROSHARON, TX 77583

1621300

10/15/2002

CORP

$18,400.00

TURNER, BARBARA HINS

EMP NAME: HINS-TURNER, BARBARA
11520 SW DENFIELD ST.
BEAVERTON, OR 97005

1155602

10/11/2002

CORP

$20,080.00

HINZE, FREDA H

EMP NAME: HINZE, FREDA H
175 RHEA RD

HOMER, LA 71040

843700

10/10/2002

CORP

$7,389.64

HIRSCH, STEVE

EMP NAME: HIRSCH, STEVEN R
768 185TH ST

DAKOTA CITY, NE 68731

709401

10/08/2002

CORP
CORP

$910,880.20
$9,300.00

$920,180.20

* Classification: S=Secured; P=Priority; U-Unsecured; A=Administrative; ? = Undetermined

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Claimant

HISER, DAMON A

EMP NAME: HISER, DAMON
15393 NW BLAKELY
PORTLAND, OR 97202

Claim
Number

2068100

Document 1005-1

Exhibit A
Tittle Settlement Order

Date
Filed

10/21/2002

Debtors

Objected To
Amount

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cc*

CORP

$112,000.00

Date: 07/11/2005
Time: 8:06:00 PM

HITCHCOCK ROBERT V

EMP NAME: HITCHCOCK, ROBERT
6548 CARTER RD SE

SUBLIMITY, OR 97385

1149800

10/11/2002

CORP

$9,600.00

HIVELY WILLIAM R

EMP NAME: HIVELY, WILLIAM
110 BARBIE LN

LONGVIEW, WA 98632

720902

10/08/2002

CORP

$276,640.00

HLOPAK EDWARD J

EMP NAME: HLOPAK, EDWARD J
15910 MAPLEHURST DRIVE
SPRING, TX 77379-6844

1486602

10/15/2002

CORP

$21,303.00

HOANG, JOE V.

EMP NAME: HOANG, JOSEPH V
14606 MEREDITH GATE CIR
HOUSTON, TX 77044

1824700

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

HODGES GEORGANNE M
EMP NAME: HODGES, GEORGANNE M
3407 FARNHAM CIRCLE

PEARLAND, TX 77584-0000

1891606

10/15/2002

CORP

$0.00

HODGSON MERLIN W

EMP NAME: HODGSON, MERLIN
285 SW SALIX TERRACE
ALOHA, OR 97006

894100

10/10/2002

CORP

$214,960.00

HODGSON ROBERT W

EMP NAME: HODGSON, ROBERT
21400 NW OLIVER HILL RD
NORTH PLAINS, OR 97133

893900

10/10/2002

CORP

" $53,440.00

HOEKEMA, JAMES

EMP NAME: HOEKEMA, JAMES (JIM)
17062 SW GREENGATE DR
SHERWOOD, OR 97140-6918

1658602

10/15/2002

EBS, INC

$7,267.10

HOELSCHER EUGENE W

EMP NAME: HOELSCHER, EUGENE W
5924 BROADWAY AVE

GREAT BEND, KS 67530-3177

1513000

10/15/2002

CORP

$400,000.00

HOERTH RANDALL

EMP NAME: HOERTH, RANDALL
P.O. BOX 460928

DENVER, CO 80246

1707401

10/15/2002

EESO
CORP

$0.00

HOGAN IRENA DEANN

EMP NAME: HOGAN, IRENA D
4502 BOICEWOOD ST
HOUSTON, TX 770165002

1524302

10/15/2002

“CORP

$23,309.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

HOGAN, JANICE

EMP NAME: HOGAN, JANICE
8014 BROMLEY

HOUSTON, TX 77055

Claim
Number

1236002

Date
Filed

Exhibit A
Tittle Settlement Order

10/11/2002

Debtors

Objected To
Amount

cc*

CORP

$686,582.78

Date:
Time:

07/11/2005
8:06:00 PM

HOGLIN, STEVEN M

EMP NAME: HOGLIN, STEVEN
75040 CRESTVIEW LN
RAINIER, OR 97048

839500

10/10/2002

CORP

$907,600.00

HOGLUND GILBERT R

EMP NAME: HOGLUND. GILBERT
1110 SW WALLULA DR
GRESHAM, OR 97080

836602

10/10/2002

CORP

$251,172.17

HOGUE, JR, ALEXANDER

EMP NAME; HOGUE, ALEXANDER
1183 SE 21 CT

GRESHAM, OR 97080

922902

10/11/2002

CORP

$0.00

HOKE DAVID A

EMP NAME: HOKE, DAVID
15616 NE TILLAMOOK ST
PORTLAND, OR 97230

1148200

10/11/2002

CORP

$204,278.82

MORAN, RUTH E.

EMP NAME: HOLBROOK. RUTH E
15672 LEAVENWORTH ST.
OMAHA, NE 68118

1560700

10/15/2002

CORP

$1,600,000.00

HOLGATE LAURA GC

EMP NAME: HOLGATE, LAURA
7455 SW LESLIE ST
PORTLAND, OR 97223

1903402

10/15/2002

CORP

$414,501.52

HOLGUIN JR DANNY S

EMP NAME: HOLGUIN JR, DANNY S
1501 WESTWIND

FORT STOCKTON, TX 79735-0000

717703

10/08/2002

CORP

$0.00

HOLLAND, GENEVA K

EMP NAME: HOLLAND, GENEVA K
813 ALIX ST

NEW ORLEANS, LA 70114

1624500

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

HOLLANDER, COREY

EMP NAME: HOLLANDER, COREY J
14307 HERON MARSH DR.
CYPRESS, TX 77429

1854501

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

HOLLI DANIEL J

EMP NAME: HOLLI, DANIEL J
418 TWEETEN PL
DICKINSON, ND 58601-0000

1644501

10/15/2002

CORP
CORP

$36,705.18
$4,650.00
$41,355.18

HOLLI DANIEL J

EMP NAME: HOLLI, DANIEL J
418 TWEETEN PL
DICKINSON, ND 58601-0000

1644502

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$13,116.82

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Amount

- Date: = 07/11/2005
Time: 8:06:00 PM

HOLLINGSWORTH, ELLEN

EMP NAME: HOLLINGSWORTH, ELLEN
1035 S E 46 AVE

TROUTDALE, OR 97060

1656200

10/15/2002

CORP

$39,840.00 U

HOLLINGSWORTH, RICHARD

EMP NAME: HOLLINGSWORTH, RICHARD
1035 SE 46 AV

TROUTDALE, OR 97060

1656303

10/15/2002

CORP

$405,413.12 U

HOLLIS, ELISA H.

EMP NAME: HOLLIS, ELISA H
6711 FALLING WATERS
SPRING, TX 77379-0000

907501

10/71/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

HOLLON RAYMOND F

EMP NAME: HOLLON, RAYMOND F
RR1 3900 CHAPPARAL

ROSWELL, NM 88201-0000

470003

09/18/2002

CORP

$520,133.25 P

HOLM BRAD A

EMP NAME: HOLM, BRAD
14463 SE FAIROAKS LN
MILWAUKIE, OR 97267

902700

10/10/2002

CORP

$80,184.00 P

HOLM, THOMAS V.

EMP NAME: HOLM, THOMAS
1655 8TH ST

COLUMBIA, OR 97016

1961000

10/15/2002

CORP

$190,000.00 U

HOLMAN, A D

EMP NAME: HOLMAN, A DAWN
4742 LIBERTY RD S #164
SALEM, OR 97302

844602

10/10/2002

CORP

$155,205.44 P

HOLMAN. LES A

EMP NAME: HOLMAN, LES
4742 LIBERTY RDS #164
SALEM, OR 97302

844200

10/10/2002

CORP

$97,391.55 P

HOLMES, IV CHRISTIAN R

EMP NAME: HOLMES IV, CHRISTIAN R (CHRIS)
806 OLD LAKE ROAD

HOUSTON, TX 77057-0000

1602703

10/15/2002

EESO

$9,072.00 P

HOLMSTROM JAMES

EMP NAME: HOLMSTROM, JAMES
11680 SW WILKENS LN
BEAVERTON, OR 97008

1188102

10/11/2002

CORP

$30,880.00 P

HOLT KIRK R

EMP NAME: HOLT, KIRK
760 BURNETT LN SE
SALEM, OR 97301

898302

10/11/2002

CORP

$230,316.00 P .

HOLTAN SHARON D

EMP NAME: HOLTAN, SHARON
5245 BOBBIE CT N

KEIZER, OR 97303

693800

10/07/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$55,012.24 U

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Amount

cc

Date: 07/11/2005

Time: 8:06:00 PM

HONEYCUTT LEA

EMP NAME: HONEYCUTT, LEA @

7625 SW COPEL ST
PORTLAND, OR 97225

635102

10/04/2002

CORP $490,000.00

HOPE VALERIA A

EMP NAME: HOPE, VALERIA A
2109 SAND MIST CIRCLE
LEAGUE CITY, TX 77573-0000

1194602

10/11/2002

CORP $608,859.79

HOPKINS, TAMARA L.

EMP NAME: HOPKINS, TAMARA L (TAMMY)
38 NORTH HIGHLAND CT

THE WOODLANS, TX 77381-0000

1531802

10/15/2002

CORP , $821,032.00

HOPKINSON ERIC J

EMP NAME: HOPKINSON, ERIC J
5 TWELVE PINES CT

THE WOODLANDS, TX 77381-0000

520500

09/24/2002

CORP , $17,172.00

HOPPER CONNIE

EMP NAME: HOPPER, CONNIE J
21502 WHISPERING

PINE

HUMBLE, TX 77338

1227100

10/11/2002

CORP $2,186.08

HORN BRADLEY

EMP NAME: HORN, BRADLEY (BRAD)
2617 C WEST HOLCOMBE BLVD

#411

HOUSTON, TX 77025

1285000

10/15/2002

CORP $99,267.00

HORNE DAVID S

EMP NAME: HORNE, DAVID S

31 LINTON RIDGE CIRCLE

THE WOODLANDS, TX 77382-0000

1144001

10/11/2002

CORP $9,774.33

HORNE DAVID S

EMP NAME: HORNE, DAVID.S

31 LINTON RIDGE CIRCLE

THE WOODLANDS, TX 77382-0000

1144002

10/11/2002

CORP "$14,252.31

HORVATH, DEBRA J

EMP NAME: HORVATH, DEBRA
3423 NE MULTNOMAH
PORTLAND,.OR 97232

900802

10/10/2002

CORP . $54,883.48

HOSMER, JOAN |

EMP NAME: HOSMER, JOAN
1526 NW BELLA VISTA CT
GRESHAM, OR 97030

1958100

10/15/2002

CORP $40,071.00

HOUGER ERIC V

EMP NAME: HOUGER, ERIC
2619 17TH PL

FOREST GROVE, OR 97116

833702

10/10/2002

CORP $33,440.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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HOUSE, BARBARA S.

EMP NAME: HOUSE, BARBARA S
4430 BELLINGTON CT
KINGWOOD, TX 77345

Claim
Number

532100

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Date
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CORP

$88,248.00

Date: 07/11/2005
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HOUSE, THONRTON L.

EMP NAME: HOUSE, THORNTON L
4430 BELLINGTON CT
KINGSWOOD, TX 77345

516600

09/24/2002

CORP

$299,814.00

HOUSTON RUBEN D

EMP NAME: HOUSTON, RUBEN D
404 S HADDEN

FORT STOCKTON, TX 79735

646600

10/04/2002

CORP

$0.00

HOWARD LARRY K

EMP NAME: HOWARD, LARRY K (KEN)
19800 ATASCOCITA SHORES

#534

HUMBLE, TX 77346

936800

10/11/2002

CORP
CORP

$78.00 °

$4,650.00
$4,728.00

LARRY MICHAEL HOWARD

EMP NAME: HOWARD, LARRY M
9646 THERREL DRIVE
HOUSTON, TX 77064

1796800

10/15/2002

CORP

$105,642.28

HOWES CAROL D

EMP NAME: HOWES, CAROL D
6133 ANNAPOLIS

HOUSTON, TX 77005-0000

1481002

10/15/2002

CORP

$15,815.00

HOWLAND ARLEN L

EMP NAME: HOWLAND, ARLEN
8817 N DWIGHT

PORTLAND, OR 97203

1674700

10/15/2002

CORP

$91,040.00

HOWLEY ELIZABETH K

EMP NAME: HOWLEY, ELIZABETH K
3530 MERRICK ST

HOUSTON, TX 77025-0000

1528600

10/15/2002

CORP

$14,540.00

HOYEZ LARRY

EMP NAME: HOYEZ, LARRY
14919 SW SUMMERVIEW DR
TIGARD, OR 97224

1773203

10/15/2002

CORP

$48,192.05

HOYT, RICHARD A

EMP NAME: HOYT, RICHARD
PO BOX 68633

OAK GROVE, OR 97268

1590600

10/15/2002

CORP

$326,320.00

HRITZ, ALICE CAROL

EMP NAME: HRITZ, ALICE C
7904 SW 115 LOOP

OCALA, FL 34476

794700

10/09/2002

CORP

$2,100.00

HSIEH SALLY Y

EMP NAME: HSIEH, SALLY Y
11911 DANDELION
HOUSTON, TX 77071-0000

1941502

10/15/2002

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CORP

- $201,800.00

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Time: 8:06:00 PM

HSU, HENRY 888601
EMP NAME: HSU, YU HENG

ONE DOVER WAY

LAKE OSWEGO, OR 97034

10/10/2002

CORP

. $190,338.00

HU SYLVIA 1482702
EMP NAME: HU, SYLVIA

14942 REDWOOD BEND TRAIL

HOUSTON, TX 77062-0000

10/11/2002

CORP

$0.00

HU WEI 2059802
EMP NAME: HU, WEI

4910 CYPRESS SPRING DR

MISSOURI CITY, TX 77459-0000

10/18/2002

ENW LLC

$4,036.25

HUBBARD, MARY 1669501
EMP NAME: HUBBARD, MARY

5722 THRUSH STREET

HOUSTON, TX 77033-0000

10/15/2002

CORP

$0.00

HUBER LEE M 1715501
EMP NAME: HUBER, LEE M

410 PARK TRAIL LANE

HOUSTON, TX 77007-0000

40/15/2002

CORP

$10,173.76

HUCK RANDY G 721300
EMP NAME: HUCK, RANDY

6510 SW KING LN

CULVER, OR 97734

10/08/2002

CORP

$160,000.00

HUESKE LARRY J 1701300
EMP NAME: HUESKE, LARRY J

PO BOX 23

DICKINSON, ND 58602-0023

10/15/2002

CORP

$0.00

HUEY, GINA 2098800
EMP NAME: HUEY, GINA

59933 KIMMELL LN

ST HELENS, OR 97051

10/23/2002

CORP

$702,800.00

HUGGINS, KEN 784600
EMP NAME: HUGGINS, KENNETH

285 W. EXETER ST.

GLADSTON, OR 97027

10/09/2002

CORP

$107,141.76

HUGGINS, LLOYD P 840500
EMP NAME: HUGGINS, LLOYD

4534 PACIFIC WY

LONGVIEW, WA 98632

10/10/2002

CORP

$194,640.00

HUGHES JOANN L 869102
EMP NAME: HUGHES, JOANN

1755 8 ST

COLUMBIA CITY, OR 97018

10/10/2002

CORP

$150,120.16

HUGHES JR ROBERT L 1987700
EMP NAME: HUGHES, ROBERT

37151 SE KEMP RD

ESTACADA, OR 97023

10/15/2002

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CORP

$227,248.00

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Date: 07/11/2005
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HUKAM, KENNETH G.

EMP NAME: HUKARI, KENNETH
2295 CREIGHTON DRIVE
GOLDEN, CO 80401

1820900

10/15/2002

CORP
CORP

$48,000.00
$10,000.00
$58,000.00

HULL LARRY

EMP NAME: HULL, LARRY
1667 VINCENT LN
HERMISTON, OR 97838

836402

10/10/2002

CORP

$93,551.25

HULLS III CHRIS

EMP NAME: HULLS III, CHRIS
8985 HULLS ROAD
FLAGSTAFF, AZ 86004-0000

1526302

10/15/2002

CORP

$21,395.00

HULSE CRAIGA

EMP NAME: HULSE, CRAIG
P.O. BOX 470

IRRIGON, OR 97844-0470

719500

10/08/2002

CORP

$167,160.00

HULSEY, WILLIAM JOSEPH
EMP NAME: HULSEY. WILLIAM
1507 ALYSSUM AVE.

FOREST GROVE, OR 97116

1902800

10/15/2002

CORP
CORP

$54,400.00
$0.00
$54,400.00

HULTENGREN NEIL

EMP NAME: HULTENGREN, NEIL
531 WILLIAMINA AV

FOREST GROVE, OR 97116

1815200

10/15/2002

CORP

$54,488.00

HUMBERT DANIEL F

EMP NAME: HUMBERT, DANIEL F (DAN)
HCR 271-1149

GLASGOW, MT 59230-0000

735702

10/08/2002

CORP

$379,290.89

HUMMEL JUDY A

EMP NAME: HUMMEL, JUDY
14975 SW 103 AV

TIGARD, OR 97223

1481402

10/15/2002

CORP

$216,720.00

HUNKER, DAVID ALAN

EMP NAME: HUNKER, DAVID A

5217 OLD SPICEWOOD SPGS RD 1713
AUSTIN, TX 78731

1917001

40/15/2002

CORP

$7,543.92

HUNT DAVID M

EMP NAME: HUNT, DAVID
35606 S SODA SPRINGS RD
MOLALLA, OR 97038

1671700

40/15/2002

CORP

$403,190.00

HUNTER KATHRYN S

EMP NAME: HUNTER, KATHRYN
3833 NE 20

PORTLAND, OR 97212

1683200

10/15/2002

CORP

$216,800.00

HUNTER, M. J

EMP NAME: HUNTER, M. J
2510 BAGBY

HOUSTON, TX 77006

1688800

10/15/2002

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CORP

$0.00

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Date: 07/11/2005
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HUNTER PAMELA L 1571800
EMP NAME: HUNTER, PAMELA @

3013 SW CHASTAIN AVE

GRESHAM, OR 97080

10/15/2002

CORP

$49,824.20

HUNTLEY JERRY R 1716802
EMP NAME: HUNTLEY, JERRY

839 S BRIDGE ST

SHERIDAN, OR 97378

10/15/2002

CORP

$163,680.00

HUO, JEFF 1825400
EMP NAME: HUO, GUANG

4416 MESA CROSSING LN.

SUGAR LAND, TX 77479

10/15/2002

CORP
CORP

$0.00
$0.00

$0.00

HURST KENNETH R 1753600
EMP NAME: HURST, KENNETH R (KENNY) ~

7659 ASHLAND CT.

CLINTON, LA 70722-0000

10/15/2002

CORP

$0.00

HURST, YOLANDA G 1396200
EMP NAME: HURST, YOLANDA G

10088 WOLFF ST

WESTMINSTER, CO 800312555

10/15/2002

CORP

$182,327.00

HURT tll, ROBERT D 4959703
EMP NAME: HURT III, ROBERT D (BOB)

75 E SHADOWPOINT CIR

THE WOODLANDS, TX 77381-0000

10/15/2002

CORP

$698,547.52

HURT GARY J 1720600
EMP NAME: HURT, GARY

PO BOX 561

RAINIER, OR 97048

10/15/2002

CORP

$215,168.48

HUSAINI ALI H 2061000
EMP NAME: HUSAINI, ALI H

17006 FRENCH RD.

HOUSTON, TX 77084-0000

10/21/2002

CORP

$1,412.36

HUSSER, SHANNA L. 1542002
EMP NAME: HUSSER, SHANNA L

3720 W. ALABANA APT. #9203

HOUSTON, TX 77027

10/15/2002

CORP
CORP |

$0.00
$0.00
$0.00

HUSTON BRUCE A 1932202
EMP NAME: HUSTON, BRUCE

16730 SE BARTEL RD

BORING, OR 97009

10/15/2002

CORP

$198,803.00

HUSTON, ROBERT LEE 1675700
EMP NAME: HUSTON, ROBERT

11087 S.E. TROIKA AVE

PORTLAND, OR 97236

10/15/2002

CORP

$192,000.00

HUTCHERSON GEORGE 1674900
EMP NAME: HUTCHERSON, GEORGE

5975 NW NECANICUM WY

PORTLAND, OR 97229

10/15/2002

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CORP

* $258,720.00

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HUTCHESON DONALD R

2002000

EMP NAME: HUTCHESON, DONALD

15805 SW CALDERA CT
BEAVERTON, OR 97007

10/15/2002

CORP

*. $192,000.00 U

HUTCHINS HAROLD D

EMP NAME: HUTCHINS, HAROLD

PO BOX 401
BRIGHTWOOD, OR 97011

700402

10/07/2002

CORP

$145,029.58 U

HUTH DOUGLAS P

EMP NAME: HUTH, DOUGLAS P
44063 DE LUZ

TEMECULA, CA 92590-0000

1472102

10/15/2002

CORP

$152,394.20 U

HUTTON DONNA L

EMP NAME: HUTTON, DONNA L
19018 OAK WAY DRIVE
HUMBLE, TX 77346-0000

1228301

10/44/2002

CORP

$0.00 U

HUTTON DONNA L

EMP NAME: HUTTON, DONNA L
DONNA HUTTON

20127 MAGNOLIA BEND DR
HUMBLE, TX 773461775

1261000

10/11/2002

CORP

$5,974.27 P

HUTTON DONNA L.

EMP NAME: HUTTON, DONNA L
19018 OAK WAY DRIVE
HUMBLE, TX 77346

1263803

10/15/2002

CORP

$0.00 P

HYATT JESS K

1471402

EMP NAME: HYATT, JESS K (KEVIN)

18715 HICKORY ASHE DRIVE
HUMBLE, TX 77346-0000

10/15/2002

CORP

$342,786.36 U

HYDER WRENDON D

EMP NAME: HYDER, WRENDON

PO BOX 231
BOARDMAN, OR 97818

710902

10/08/2002

CORP

$478,225.00 U

IBSEN KERRY M

EMP NAME: IBSEN, KERRY
6121 SE HARNEY
PORTLAND, OR 97206

635600

10/04/2002

CORP

$205,000.00 P

ICHIKAWA SHINYA

EMP NAME: ICHIKAWA, SHINYA

17053 SW BINDDALE. CT
TIGARD, OR 97224

896700

10/11/2002

CORP

$397,475.00 U

INGALLS DELBERT D.

411501

EMP NAME: INGALLS, DELBERT D

1097 DENNLER DRIVE
ALLEMAN, IA 50007

09/10/2002

CORP

$10,000.00 P a

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A ' . Date: 07/11/2005
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Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

INGALLS TODD M 895002 10/10/2002 CORP $0.00 U
EMP NAME: INGALLS, TODD M :

PO BOX 1862

EDGEWCOD, NM 87015-1862

INGBER VICK! L 1764602 10/15/2002 CORP $35,190.00 U
EMP NAME: INGBER, VICK!

16230 NE SAN RAFAEL DR CORP ____ 84,650.00. P
PORTLAND, OR 97230 $39,840.00

INGRAM RANDALL M 1987700 10/15/2002 CORP $12,960.00 P
EMP NAME: INGRAM, RANDALL

15577 VILLAGE PARK CT

LAKE OSWEGO, OR 970343768

INMAN, RICHARD A. 805902 40/10/2002 CORP $289,762.72 P
EMP NAME: INMAN, RICHARD

4778 LISA ST NE

SALEM, OR 97305

INTERNATIONAL BROTHERHOOD OF 710100 10/08/2002 CORP $0.00 U
ELECTRICAL

EMP NAME: INTERNATIONAL BROTHERHOOD

OF ELECTRICAL

WORKERS, LOCAL 125

17200 NE SACRAMENTO

ATTN: WILLIAM MILLER, BUSINESS AGENT

PORTLAND, OR 97230 .

IRCHIRL KIMBERLY D 2080700 10/21/2002 CORP $0.00 U
EMP NAME: IRCHIRL-CARTER, KIMBERLY D

4302 TOLIVER CORP _____—80.00 P
HOUSTON, TX 77016-6243 $0.00

IRVIN, TRACY E 1861904 10/15/2002 CORP $0.00 P
EMP NAME: IRVIN, TRACY E

15000 SWANLEY CT

HOUSTON, TX 77062

IRVINE GERALDINE G 703400 10/07/2002 ENA $53,478.32 U
EMP NAME: IRVINE, GERALDINE G (GERRI)

19303 BENTVINE CIRCLE

HOUSTON, TX 77084-0000

ISAAK, STEVE A. 1714700 10/15/2002 CORP $220,400.00 P
EMP NAME: ISAAK, STEVE

23051 S HUNTER RD.

COLTON, OR 97017

ISBELL SHIRLEY A 576701 09/30/2002 CORP $3,127.29 P
EMP NAME: ISBELL, SHIRLEY A EFMC
12326 SCOTTSDALE DRIVE .
STAFFORD, TX 77477-0000 EGM LLC P a

uu

ISKE, LINDA A. 1670502 10/15/2002 CORP $0.00 P
EMP NAME: ISKE, LINDA A

703 SO ADAMS ST

PAPILLION, NE 68046

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Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

IVERSEN P E ROBERT C 630400 10/04/2002 CORP $0.00 -P

EMP NAME: IVERSEN P E, ROBERT C

10803 COLONYWOOD PLACE @

THE WOODLANDS, TX 77380-0000

HOYT IVEY 1801600 10/15/2002 CORP $0.00 U

EMP NAME: IVEY, HOYT

3611 BEAR LAKE CORP $0.00 P

KINGWOOD, TX 77345 . $0.00

IWEN WILLIAM T 2126600 10/28/2002 CORP $82,000.00 P

EMP NAME: IWEN, WILLIAM

3249 DELANEY RD SE

TURNER, OR 97392

JACKSON KARL W 1790800 10/15/2002 CORP $29,749.77 U

EMP NAME: JACKSON, KARL W

1207 KINGFISHER ~

CT.N.

PEARLAND, TX 77584

JACKSON, MIKE 2079201 10/21/2002 CORP $239,741.00 U

EMP NAME: JACKSON, MIKE

55 MAIN STREET

SOUTHBOROUGH, MA 01772

JACKSON NORMAN H 932200 40/11/2002 CORP $42,359.00 P

EMP NAME: JACKSON, NORMAN

7615 SE KNIGHT ST

PORTLAND, OR 97206

JACKSON, ROBERT W 919401 10/11/2002 EESO $0.00 U

EMP NAME: JACKSON, ROBERT W ,

11611 BRECKAN CT EESO $0.00 P

CYPRESS, TX 77429-0000 $0.00

JACKSON, ROBERT W. 919501 10/11/2002 CORP $0.00 .U

EMP NAME: JACKSON, ROBERT W

11611 BRECKAN COURT CORP $0.00 P

CYPRESS, TX 77429 $0.00

JACOBY BEN F 1794703 10/45/2002 ENA $25,183.00 U

EMP NAME: JACOBY, BEN F

29 VIA SAN FERNANDO

BELVEDERE, CA 949202064

JAEGER MARLENE M 1214704 10/11/2002 CORP $0.00 U

EMP NAME: JAEGER, MARLENE M

15106 DAWNBROOK DRIVE CORP $934,782.24 P

HOUSTON, TX 77068 $934,782.24

JAIN, AVINASH 1751301 10/15/2002 CORP $0.00 P

EMP NAME: JAIN, AVINASH (AVI)
36929 MEADOWDALE DRIVE
SOLON, OH 44139

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Claimant

JAMES DOUGLAS

EMP NAME: JAMES, DOUGLAS
5432 NE STANCHION CT
HILLSBORO, OR 97124

Claim
Number

716300

Document 1005-1

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Exhibit A

Tittle Settlement Order

Date
Filed

10/08/2002

Debtors

Objected To
Amount

cc*

CORP
CORP

$170,800.00
$0.00
$170,800.00

. Date: 07/11/2005
Time: 8:06:00 PM

JAMES ROBERT

EMP NAME: JAMES, ROBERT
17045 SW CRESTVIEW DR
LAKE OSWEGO, OR 97034

1163503

10/4 1/2002

CORP

$176,316.00

JAMESON ELIZABETH M

EMP NAME: JAMESON, ELIZABETH M (BETTY)

27411 FRANK GIBERT LANE
LACOMBE, LA 70445-0000

1752602

10/15/2002

CORP

$1,017,047.41

JAMINET, TERRY F

EMP NAME: JAMINET, TERRY F
3486 E FOXWOOD CT
INVERNESS, FL 34452-0000

1604600

10/15/2002

CORP

$367,843.00

JANOQUSEK, MARTHA

EMP NAME: JANOUSEK, MARTHA K
25902 OVERLAKE DR

THE WOODLANDS, TX 773802031

1297800

10/15/2002

CORP

$0.00

JANZEN RONALD

EMP NAME: JANZEN, RONALD
12355 SW BOWMONT ST
PORTLAND, OR 97225

1696803

10/15/2002

CORP

$204,080.00

JASA PHILIP

EMP NAME: JASA, PHILIP
55512 E HIGHWAY 224
ESTACADA, OR 970239303

836000

10/40/2002

CORP

$191,603.82

JEANNOTTE ROBERT W

EMP NAME: JEANNOTTE, ROBERT W
1515 S MAIN AVE

MONAHANS, TX 79756

904802

10/11/2002

CORP

$5,233.88

JEFFERY CHAD F

EMP NAME: JEFFERY, CHAD
9846 SE TAGGART ST
PORTLAND, OR 97266

668300

10/07/2002

CORP

$51,354.80

JENKIN DOUGLAS

EMP NAME: JENKIN, DOUGLAS
4135 SE PINE ST

PORTLAND, OR 97214

1047103

10/11/2002

~ CORP

$365,079.20

JENKINS JR JOHN M

EMP NAME: JENKINS JR, JOHN M
P.O. BOX 1262

PERRY, FL 32348

1760802

10/15/2002

CORP

$0.00

JENKINS, ERNEST L.

EMP NAME: JENKINS, ERNEST
PO BOX 30801

PORTLAND, OR 972943801

1217600

10/11/2002

CORP

$99,520.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

JENKINS LINDA

EMP NAME: JENKINS, LINDA
PO BOX 30801

PORTLAND, OR 97394

Claim
Number

1224902

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/11/2002

Debtors

Objected To
Amount

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cc*

CORP

$404,380.00

- Date: = 07/11/2005
Time: _ 8:06:00 PM

JENKINS LINDA F

EMP NAME: JENKINS, LINDA F
13115 KING CIRCLE
CYPRESS, TX 77429

785101

10/09/2002

CORP

$344,457.25

JENSEN, DIANNA L.

EMP NAME: JENSEN, DIANNA
34538 KELIHER DRIVE
WARREN, OR 97053

1522502

10/15/2002

CORP

$181,997.00

JENSEN LIZBETH |

EMP NAME: JENSEN, LIZBETH | (BETH)
16212 GROVER STREET

OMAHA, NE 68130-2138

1214102

10/11/2002

CORP

$277,221.16

JESPERSEN ERIC

EMP NAME: JESPERSEN, ERIC
29888 SE DAVIS RD
ESTACADA, OR 97023

719400

10/08/2002

CORP

$313,280.00

JIVAN, AZIM

EMP NAME: JIVAN, AZIM
4110 VILLAGE CORNER DR
HOUSTON, TX 77059-0000

1229701

10/11/2002

CORP

$0.00

JOE, ALLEN P

EMP NAME: JOE, ALLEN P
16501 CORNWALL ST
HOUSTON, TX 77040-0000

1539201

10/15/2002

CORP

$0.00

JOHAM, HOWARD D.
EMP NAME: JOHAM, HOWARD
10251 SE 250TH AVE.
GRESHAM, OR 97080

1958602

10/15/2002

CORP

$121,784.56

JOHNSEN, DAVID A

EMP NAME: JOHNSEN, DAVID
712 NW 150TH ST
VANCOUVER, WA 986851746

652400

10/07/2002

“CORP

$412,400.00

JOHNSEN, HARALD

EMP NAME: JOHNSEN, HARALD
13023 W LIMEWOOD DR

SUN CITY WEST, AZ 85375-5045

1250703

10/11/2002

CORP ©

$85,040.00

JOHNSEN, SUSAN M

EMP NAME: JOHNSEN, SUSAN
13023 W LIMEWOOD DR

SUN CITY WEST, AZ 85375-5045

1220803

10/11/2002

CORP

$130,240.00

JOHNSON DAVID L

EMP NAME: JOHNSON, DAVID L
5419 GLADEHILL DR
KINGWOOD, TX 77345-0000

1215704

10/11/2002

CORP

- $265,000.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

JOHNSON, DONALD WILLIAM
EMP NAME: JOHNSON, DONALD
2945 S.E. ROODBRIDGE ROAD
HILLSBORO, OR 97123

Claim
Number

2090700

Document 1005-1

Exhibit A
Tittle Settlement Order

Date
Filed

10/18/2002

Debtors

Objected To
Amount

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cct

CORP

$147,686.64

Date: 07/11/2005
Time: 8:06:00 PM

JOHNSON EDWARD R

EMP NAME: JOHNSON, EDWARD
857 S E 136TH AVENUE
PORTLAND, OR 97233-1906

1768100

10/15/2002

CORP

$145,760.00

JOHNSON, FRANK W

EMP NAME: JOHNSON, FRANK W
13523 CHARWELL CROSSING
HOUSTON, TX 77069

2292900

10/09/2002

CORP

$6,633.56

JOHNSON, JAMES L.

EMP NAME: JOHNSON, JAMES L (JIM)
9840 HIGHWAY 2

SURREY, ND 58785

1503701

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

JANICE L. JOHNSON

EMP NAME: JOHNSON, JANICE
7009 SE OGDEN ST
PORTLAND, OR 97206

1781602

40/15/2002

CORP

$22,950.88

JOHNSON, MARIE M.

EMP NAME: JOHNSON, MARIE M
8446 BAY OAK COURT
ORLANDO, FL 32810

1512900

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

JOHNSON MARK A

EMP NAME: JOHNSON, MARK
PO BOX 1258

GRESHAM, OR 97030

840600

10/10/2002

CORP

$46,640.00

JOHNSON MARY ANN ROSE

EMP NAME: JOHNSON; MARY ANN R
4311S 150TH AVENUE

OMAHA, NE 68137

1535204

10/15/2002

CORP

$0.00

JOHNSON MARY JO

EMP NAME: JOHNSON, MARY J
5401 MAGNOLIA GREENS LN
LEAGUE CITY, TX 77573-5972

1143904

10/11/2002

EESO

$59,941.23

JOHNSON PAUL T

EMP NAME: JOHNSON, PAUL
4307 N.E BRAZEE STREET
PORTLAND, OR 97213

1180100

10/11/2002

CORP

$300,000.00

JOHNSON, PEGGY J

EMP NAME: JOHNSON, PEGGY
79250 ALSTON MAYGER RD
RAINIER, OR 97048

1611200

10/15/2002

CORP

$48,522.30

JOHNSON RANDE L
EMP NAME: JOHNSON, RANDE
76932 HIGHWAY 730
IRRIGON, OR 97844

677600

10/07/2002

CORP

$240,400.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A
Tittle Settlement Order

Date: 07/11/2005
Time: 8:06:60 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

JOHNSON ROBERT L 712204 40/08/2002 CORP $372,325.00 -U

EMP NAME: JOHNSON, ROBERT L (BOB)

1806 N 130TH CIRCLE @

OMAHA, NE 68154-0000

JOHNSON, SHARON L, 1591002 40/15/2002 CORP $220,849.20 P

EMP NAME: JOHNSON, SHARON

3410 SE 159

PORTLAND, OR 97236

JOHNSON STEPHEN A 734702 10/08/2002 CORP $13,310.92 P

EMP NAME: JOHNSON, STEPHEN

3236 NE KNOTT ST

PORTLAND, OR 97212

JOHNSTON, JAMES 1996100 40/15/2002 CORP $34,710.00 -U

EMP NAME: JOHNSTON, JAMES

6005 S. 298TH PL. . GORP $4,650.00 P

AUBURN, WA 98001-0000 $39,360.00

JOHNSTON, JOSEPH H 1605100 40/15/2002 CORP $347,240.00 P

EMP NAME: JOHNSTON, JOSEPH

6538 SW STRATFORD CT

WILSONVILLE, OR 97070

JOLLY, RICHARD M JR 1464700 40/15/2002 CORP $0.00 U

EMP NAME: JOLLY JR, RICHARD M (RICH)

HC71 BOX 1182

CAPITAN, NM 88316-0000

JOLLY, DUSTIN H 1546200 40/15/2002 CORP $0.00 U

EMP NAME: JOLLY, DUSTIN H

DUSTIN JOLLY CORP $0.00 P

1301 & BERRENDO RD $0.00

ROSWELL, NM 882019112

JONES DANIEL 962003 10/11/2002 CORP $0.00 U

EMP NAME: JONES, DANIEL

1203 NE 110TH AV CORP $302,191.20 P

PORTLAND, OR 97220 $302,191.20

JONES DONALD R 734400 10/08/2002 CORP $107,336.80 U

EMP NAME: JONES, DONALD -

35726 SE GUNDERSON RD

SANDY, OR 97055

JONES FRANK L 503200 09/23/2002 CORP $8,000.00 P:

EMP NAME: JONES, FRANK

12642 SE BOISE ST

PORTLAND, OR 97236

JONES, GEORGE L 1578502 40/15/2002 CORP $73,700.00 U

EMP NAME: JONES, GEORGE L

10819 GLENWAY DRIVE CORP $0.00 P-

HOUSTON, TX 77070-0000 $73,700.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

JONES GORDON L

EMP NAME: JONES, GORDON
6161 SW PROSPERITY PARK R
TUALATIN, OR 97062

Claim
Number

696000

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/07/2002

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD__— Page 166 of 353

cc*

CORP

$409,200.00

. Date: = 07/11/2005
Tire: 8:06:00 PM

JONES GORDON

EMP NAME: JONES, GORDON
6161 SW PROSPERITY PARK R
TUALATIN, OR 97062

696100

10/07/2002

CORP

$2,600.00

JONES, JANELLE D.

EMP NAME: JONES, JANELLE
5110 HERSHEY LN

WEST RICHLAND, WA 993536043

827000

10/10/2002

CORP

$99,349.77

JONES, JOA

EMP NAME: JONES, JO ANNE
12992 SE 199 DR

BORING, OR 97009

1230400

10/11/2002

CORP

$150,130.00

JONES KAREN E

EMP NAME: JONES, KAREN E
18584 UPPER MIDHILL DR
WEST LINN, OR 97068-0000

892301

10/40/2002

CORP

$6,332.00

JONES KEVIN D

EMP NAME: JONES, KEVIN
1513 RAFAEL CTN
KEIZER, OR 973036245

1939800

10/15/2002

CORP

$61,840.00 ©

JONES SHELLEY J

EMP NAME: JONES, SHELLEY
1513 RAFAEL CT N

KEIZER, OR 973036245

1939700

10/15/2002

CORP

$57,920.00

JONES VERA C

EMP NAME: JONES, VERA C
6118 EDITH, NE, #157
ALBUQUERQUE, NM 87107

1235801

10/11/2002

CORP

$0.00

JONES, WADE H.

EMP NAME: JONES, WADE H
P.O. BOX 786

MISSOURI CITY, TX 77459-0786

801003

10/10/2002

CORP

$78,274.28

JORDAN, LARENCE R.

EMP NAME: JORDAN, LARENCE R (ROD)
14071 LOFTY MOUNTAIN TRAIL
HOUSTON, TX 77062-3240

710002

10/08/2002

CORP
CORP

$0.00
$0.00
$0.00

JORGENSON DALE A

EMP NAME: JORGENSON, DALE
6966 SE WRENFIELD ST
HILLSBORO, OR 97123

1932000

10/15/2002

CORP

$24,000.00

VYOMARK, JOSHI

EMP NAME: JOSHI, VYOMARK D (MARK)
400 SURVEYORS PT .

SUWANEE, GA 30024

2288303

05/01/2003

EFSCMS, INC

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

JOYCE JANE M

EMP NAME: JOYCE, JANE M
9408 VALARETTA DRIVE
GRETNA, NE 68028-0000

Claim
Number

1988100

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

cc*

CORP

$363,330.00

Date: 07/11/2005

' Time: 8:06:00 PM

JOYNER ANN

EMP NAME: JOYNER, ANN S
8973 BRIAR FOREST
HOUSTON, TX 77024

935604

10/11/2002

CORP

$832,128.67

JOYNER JUD! A

EMP NAME: JOYNER, JUDIA
12311 PINEROCK LANE
HOUSTON, TX 77024-0000

935202

10/14/2002

CORP

$10,535.76

JUDD DORE

EMP NAME: JUDD, DORE
33278 SW PARK DR
SCAPPOOSE, OR 97056

1766602

10/15/2002

CORP

$85,040.00

JUDKINS TERRY L

EMP NAME: JUDKINS, TERRY
145 GLACIER CT

OREGON CITY. OR 97045

2048200

10/48/2002

CORP

$295,680.00

JUDY DENIS K

EMP NAME: JUDY, DENIS K
4990 US HWY 136
POTOMAC, IL 61865-0000

2027700

10/17/2002

CORP

$22,474.00

JULIEN DAVID W

EMP NAME: JULIEN, DAVID
PO BOX 725

ESTACADA, OR 97023

716600

10/08/2002

CORP

$189,164.00

JUNGWIRTH GERALD J

EMP NAME: JUNGWIRTH, GERALD
23012 RIVERSIDE DR NE

ST PAUL, OR 97137

1580300

10/15/2002

CORP

$718,400.00

KACALEK, JAMES P

EMP NAME: KACALEK, JAMES
436 W MAIN ST

SILVERTON, OR 973812025

845000

10/10/2002

CORP

$160,000.00

KADAKIA, SHILPA T.

EMP NAME: KADAKIA, SHILPA T
3922 DIAMOND GROVE CT.
HOUSTON, TX 77059

790703

40/09/2002

CORP

$0.00

KADAKIA TUSHAR M

EMP NAME: KADAKIA, TUSHAR M
3922 DIAMOND GROVE CT.
HOUSTON, TX 77059-0000

792902

10/09/2002

CORP
CORP

$0.00
$0.00
$0.00

KADLEC, DEANNE M.

EMP NAME: KADLEC, DEANNE
307 FILLMORE STREET
PAPILLION. NE 68046

1508600

10/15/2002

“CORP

CORP

$0.00
$0.00
$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

Case 4:01-cv-03913

Claim
Number

KAER, MAXINE A.

EMP NAME: KAER, MAXINE
1410 SE 80 AV

PORTLAND, OR 97215

1761902

Document 1005-1

Tittle Settlement Order

Date
Filed

10/15/2002

Filed on 07/14/05 in TXSD_— Page 168 of 353

Exhibit A

Debtors

Objected To
Amount

cc*

CORP

$7,752.00

Date:
Titne:

07/11/2005
8:06:00 PM

KAISER CHARLES J

1783600

EMP NAME: KAISER, CHARLES J (CHUCK)

9013 ELIZABETH RD
HOUSTON, TX 77055-0000

10/15/2002

CORP
CORP

$40,796.59
$4,650.00
$45,446.59

KAMPFER ALBIN O

EMP NAME: KAMPFER, ALBIN
24596 MOSER RD

RAINIER, OR 97048

302700

08/26/2002

CORP

$118,653.81

KAPKA JIMMY D

1387501

EMP NAME: KAPKA, JIMMY D (JIM)

204 GREENWOOD ST
HEREFORD, TX 790453847

10/15/2002

CORP

$0.00

KAPUS GARY M

EMP NAME: KAPUS, GARY
15235 SE BILSHER CT
MILWAUKIE, OR 97267

1767100

10/15/2002

CORP

$28,202.00

KARATHANOS, GINA A.

1451103

EMP NAME: KARATHANOS, GINA A

17418 LONGS PEEK COURT
TOMBALL, TX 77377

10/15/2002

CORP

$0.00

KARLSEN, MARVIN E.

EMP NAME: KARLSEN, MARVIN
17614 NE 167 AV

BRUSH PRAIRIE, WA 98606

914400

10/11/2002

CORP

$132,683.87

KASEWETER ALAN K

EMP NAME: KASEWETER, ALAN
16993 S GERBER RD

OREGON CITY, OR 97045

668800

10/07/2002

CORP

$358,320.00

KASTER, MEILING

EMP NAME: KASTER, MEI-LING
20703 FAWNBROOK CT

KATY, TX 77450

1903102

10/15/2002

CORP

$107,280.00

KATZ ANITA L

EMP NAME: KATZ, ANITA
13625 SW GARRETT CT
TIGARD, OR 97223

1643402

10/15/2002

CORP

$213,369.20

KAVIEFF, PAMELA HUDAK
EMP NAME: KAVIEFF, PAM
5614 GARDEN POINT DR
KINGWOOD, TX 77345

1497602

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

KEARNS, RANDALL D.

EMP NAME: KEARNS, RANDALL
24534 RICHTER RD
BEAVERCREEK, OR 97004

811000

10/10/2002

CORP

_ $262,254.80

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

KEATON RONALD L

EMP NAME: KEATON, RONALD
110 GEORGE TAYLOR RD
SILVER LAKE, WA 98645

Claim
Number

1100700

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/11/2002

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD Page 169 of 353

Date: 07/11/2005
Time: 8:06:00 PM

cc

CORP

$104,600.00

KEEGAN JR STEPHEN

EMP NAME: KEEGAN, STEPHEN
GENERAL DELIVERY

RAINIER, OR 970489999

769302

10/09/2002

CORP

$385,816.08

KEENAN, BETTY

EMP NAME: KEENAN, BETTY (WALLY)
9815 CORRAL PATH COURT
HOUSTON, TX 77064

2302302

06/20/2003

CORP

$5,899.62

KEEPING, JAMES W

EMP NAME: KEEPING, JAMES
5711 NE 42ND AVE
VANCOUVER, WA 98661

852800

10/10/2002

CORP

$756,560.00

KEIDERLING SANDRA

EMP NAME: KEIDERLING, SANDRA (SANDY)
3444 $ 116TH ST

OMAHA, NE 68144-0060

1491002

10/15/2002

CORP

$300,254.08

KEIL JULIE A

EMP NAME: KEIL, JULIE
1725 SE 23
PORTLAND, OR 97214

1830200

10/15/2002

CORP

$54,936.61

KEISER HOLLY S

EMP NAME: KEISER, HOLLY S
2117 DRISCOLL ST
HOUSTON, TX 77019-6824

1753202

10/15/2002

CORP

$47,800.24

KEISER JOHN L

EMP NAME: KEISER, JOHN L
2117 DRISCOLL STREET
HOUSTON, TX 77019-6824

1747203

10/15/2002

CORP

$174,923.14

KEITH STEPHEN D

EMP NAME: KEITH, STEPHEN D (STEVE)
10607 OAKVIEW POINTE TERR

GOTHA, FL 34734

1193101

10/11/2002

CORP

$0.00

KELLER JAMES E
EMP NAME: KELLER, JAMES E (JIM)
25 FLAGSTONE PATH

THE WOODLANDS, TX 77381-0000

1459603

10/15/2002

CORP ©

$49,289.00

KELLER TIM M

EMP NAME: KELLER, TIM
70163 WALKER RD
RAINIER, OR 97048

1062702

10/11/2002

CORP

$431,597.65

KELLY GERALD W

EMP NAME: KELLY, GERALD
57910 FISHER LN

ST HELENS, OR 97051

1675800

10/15/2002

CORP

$256,000.00

* Classification: S=Secured; P=Priority; U-Unsecured; A=Administrative; ?’= Undetermined

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Case 4:01-cv-03913

Claimant

KELLY KATHERINE L

EMP NAME: KELLY, KATHERINE L (KATHY)
6415 LONGFLOWER LN

KINGWOOD, TX 77345-0000

Claim
Number

1834702

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD Page 170 of 353

cc*

CORP

$244,178.37

Date: 07/11/2005
Time: 8:06:00 PM

- KELSEY BRUCE W

EMP NAME: KELSEY, BRUCE
3680 S BUTTE RD
MENAN, ID 83434-5113

1906501

10/15/2002

CORP

$14,400.00

KEMPER GARY W

EMP NAME: KEMPER, GARY
14480 NW SELLERS ROAD
BANKS, OR 97106

1461600

10/15/2002

CORP

$280,377.99

KENDELL MICHAEL E

EMP NAME: KENDELL, MICHAEL
13949 S BEAVERCREEK RD #127
OREGON CITY, OR 97045

2088100

10/18/2002

CORP

$197,802.74

KENDRICK WILLIAM A

EMP NAME: KENDRICK, WILLIAM A
4515 WATER ELM CT

HOUSTON, TX 77059-0000

1906303

10/15/2002

CORP

$572,940.00

KENNEDY, FREDERICK C.

EMP NAME: KENNEDY, FREDERICK
20900 NIEDERBERGER ROAD
DUNDEE, OR 97115

2041100

10/17/2002

CORP

$162,240.00

KENNEDY JENNIFER KLAUS

EMP NAME: KENNEDY, JENNIFER K
4803 RACHELLE CT

KATY. TX 774506716

1544101

10/15/2002

CORP

$59,900.00

KENNEDY, KARIL.

EMP NAME: KENNEDY, KARI
20900 NIEDERBERGER RD
CORNELIUS, OR 97113

2053900

10/47/2002

CORP

$40,320.00

KENNEDY, PHYLLIS R

EMP NAME: KENNEDY, PHYLLIS R
9607 WOCDLANE BLVD
MAGNOLIA, TX 77354-0000

1806901

10/15/2002

CORP

$531,360.00

KENNEDY, YVONNE

EMP NAME: KENNEDY, YVONNE A
14931 RICHMOND AVE #1314
HOUSTON, TX 77082

1589100

10/15/2002

CORP

$224,960.61

KENT GARY L-

EMP NAME: KENT, GARY
7250 SW 34

PORTLAND, OR 97219

1735302

10/15/2002

CORP

$160,266.60

KENT GINA S

EMP NAME: KENT, GINA
7250 SW 34

PORTLAND, OR 97219

1735402

10/15/2002

CORP

$100,000.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

KENT, GREGORY J

EMP NAME: KENT, GREGORY
10254 NW 109 AV
PORTLAND, OR 97231

Claim
Nurnber

1692001

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

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cc

CORP

$255,455.00

Date:
Time:

07/11/2005
8:06:00 PM

KENT RICHARD L

EMP NAME: KENT, RICHARD
75060 WEST OREGON LANE
IRRIGON, OR 97844

965200

10/11/2002

CORP

$248,633.84

KEPHART BERTON D

EMP NAME: KEPHART, BERTON
1835 JONATHAN CT NE

SALEM, OR 97303

1752302

10/15/2002

CORP

$376,612.00

KERNION GEORGE C :

EMP NAME: KERNION, GEORGE
P O BOX 22

SCAPPOOSE, OR 97056

661900

10/07/2002

CORP

$122,000.00 ©

KERNODLE MELANIE |

EMP NAME: KERNODLE, MELANIE
233 HILLSDALE DR

NEWBERG, OR 97132

857600

10/10/2002

CORP

$123,520.00

KERR, CAROLYN

EMP NAME: KERR, CAROLYN
4434 SE CONCORD RD
MILWAUKEE, OR 97267

654100

10/07/2002

CORP

$247,697.15

KERR, SHERRY M.

EMP NAME: KERR, SHERRY M
12927 LAKE CENTER RUN CT.
HOUSTON, TX 77041

1521600

10/15/2002

CORP

$0.00

KERR, TIMOTHY P

EMP NAME: KERR, TIMOTHY
4434 SE CONCORD RD
MILWAUKIE, OR 972673048

654200

10/07/2002

CORP

» $64,679.26

KESSLER BARRY

EMP NAME: KESSLER, BARRY L
PO BOx 187

GIDDINGS, TX 78942

1190500

10/11/2002

CORP

$479,622.91

KEYSER JAMES A

EMP NAME: KEYSER, JAMES
6900 GOLD CREEK RD
WILLAMINA, OR 97396

1721400

10/15/2002

CORP

$240,000.00

KHAN NASIM H

EMP NAME: KHAN, NASIM H

39 SWAN ISLE BLVD
MISSOURI CITY, TX 77459-0000

1842403

10/15/2002

CORP

$2,035,125.10

KHANIJO AKHIL K

EMP NAME: KHANIJO, AKHIL K
AKHIL KHANIJO

17110 COBBLE SHORES DR
TOMBALL, TX 773778078

1804500

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

“CORP

CORP

$0.00
$0.00
$0.00

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Claimant

Claim
Number

Document 1005-1

Date
Filed

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Tittle Settlement Order

Debtors

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Amount

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- Date: 07/11/2005
Time: 8:06:00 PM

KIDWEL,L J JUDSON

EMP NAME: KIDWELL, J J (JUDSON)
6802 49TH PL NE

MARYSVILLE, WA 98270

1535104

10/15/2002

CORP

$1,478.64

KILE RICK L

EMP NAME: KILE, RICK L
5296 TIMBER CREEK

GREAT BEND, KS 67530-0000

2088601

10/18/2002

CORP

$447,740.66

KILLEN FAITH L

EMP NAME: KILLEN, FAITH L
864 AUGUSTA DR
HOUSTON, TX 77057-0000

1629004

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

KILMER I!l ROBERT B

EMP NAME: KILMER Ill, ROBERT 8 (ROB)
16214 CONGO

HOUSTON, TX 77040-0000

1941702

10/15/2002

CORP

$0.00

KIMBALL, JOHN W

EMP NAME: KIMBALL, JOHN
1965 WHITE TAIL LN
WOODLAND, WA 98674

1605302

10/15/2002

CORP

$2,011.69

KIMMERLING VIRGIL R

EMP NAME: KIMMERLING, VIRGIL
12020 N JANTZEN BEACH AV
PORTLAND, OR 97217

1195200

10/11/2002

CORP

$129,862.64

KINDER, DARRELL W

EMP NAME: KINDER, DARRELL W
8519 SAND LAKE SHORES DR.
ORLANDO, FL 32836

2126700

10/28/2002

CORP

$1,066,958.00

KING JR MALCOLM F

EMP NAME: KING JR, MALCOLM F (FRAZIER)
1802 MISSOURI

HOUSTON, TX 77006-2424

1938703

10/15/2002

CORP

$17,875.62

KING JACQUELINE

EMP NAME: KING, JACQUELINE
16100 NE 13 CR

VANCOUVER, WA 98684

1649902

10/15/2002

CORP

$100,000.00

KING JEFF N

EMP NAME: KING, JEFF N
9402 CREEK VINE DRIVE
HOUSTON, TX 77040

1462405

10/15/2002

CORP
CORP
CORP

$0.00
$0.00
$0.00
$0.00

uv

KING LUCY A.

EMP NAME: KING, LUCY A
10801 RANCHSTONE

APT #108

HOUSTON, TX 77064

2080303

10/21/2002

CORP

$4,339.69

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A " . Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

KING-BRADFORD BRENDA M 1470401 10/15/2002 CORP $30,000.00 P
EMP NAME: KING-BRADFORD, BRENDA .

2811NE111DR

PORTLAND, OR 97220

KINGSTON, THOMAS H 1243302 10/11/2002 CORP $110,315.41 U
EMP NAME: KINGSTON, THOMAS

52 SEA VISTA TER

PORT LUDLOW, WA 98365

KINNEY, DAVID L 2123000 10/25/2002 CORP $55,395.00 U
EMP NAME: KINNEY, DAVID L

PO BOX 233 CORP ___ 94,650.00
BEAVER, OK 73932-0000 $60,045.00

KIPINA JEANETTE L. 747400 10/08/2002 EESO $89,472.00 P
EMP NAME: KIPINA, JEANETTE L EES. INC P
5871 WOODTHRUSH LN ’
WEST CHESTER, OH 45069

KIRBY, WILLIAM H 1710902 10/15/2002 CORP $151,920.00 P
EMP NAME: KIRBY, WILLIAM

6204 SW ORCHID DR

PORTLAND, OR 97219

KIRK DOUGLAS K 1783100 10/15/2002 CORP $145,640.00 U
EMP NAME: KIRK, DOUGLAS .
7319 ONEIL RD NE
KEIZER, OR 97303

KIRK, STEVEN J. 1711700 10/15/2002 CORP $0.00 P
EMP NAME: KIRK, STEVEN J

506 S. 178TH ST.

OMAHA, NE 68118

KIRKER CHARLES 1829600 10/15/2002 CORP $20,580.97 U
EMP NAME: KIRKER, CHARLES

148 ESTELLE DRIVE - CORP ___ 84,850.00 P
NAPLES, FL 34112 $25,230.97

KIRKPATRICK JIM 461800 09/16/2002 CORP $715,000.00 P
EMP NAME: KIRKPATRICK, JIM

P.O. BOX 298

AMORY, MS 38821-0000

KIRSTEIN DOUGLAS A 838500 10/10/2002 CORP $167,040.00 U
EMP NAME: KIRSTEIN, DOUGLAS

15241 SE THORNTON DR

MILWAUKIE, OR 97267

KISHIMOTO-GUERRERO PAMELAKISHtI F 1164402 40/11/2002 CORP $32,800.00 P
EMP NAME: KISHIMOTO-GUERRERO, PAMELA . . .
33424 SW LADD HILL RD : . a
WILSONVILLE, OR 97070 .

KISLUK, EILEEN WILSON 1913402 10/15/2002 CORP $0.00 P
EMP NAME: KISLUK, EILEEN W

5211 QUEENSLOCH

HOUSTON, TX 77096-0000

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined — - / Page 143 of 300
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Claimant

TIM KISSNER

EMP NAME: KISSNER, TIM
16015 ORCHARD CIRCLE
OMAHA, NE 68135-0000

Claim
Number

2229200

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

12/10/2002

Debtors

Objected To
Amount

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cc*

CORP

$0.00

Date:
Time:

07/11/2005
8:06:00 PM

KITCHEN, DARYL A

EMP NAME: KITCHEN, DARYL A
4802 SILVER FROST DRIVE
HOUSTON, TX 77066-0000

652901

10/07/2002

CORP

$400,000.00

KLAMP, ERWIN

EMP NAME: KLAMP, ERWIN A (SKIP)
C/O EMERSON FIRM, THE
EMERSON, JR., JOHN G.

830 APOLLO LANE

HOUSTON, TX 77058

1586100

10/15/2002

CORP

$190,280.41

KLAUTZSCH DIETRICH

EMP NAME: KLAUTZSCH, DIETRICH
2935 6TH STREET

COLUMBIA CITY, OR 97018-9701

760500

10/09/2002

CORP

$132,617.40

KLEB STEVEN W

EMP NAME: KLEB, STEVEN W (STEVE)
16410 CRAWFORD

HOUSTON, TX 77040-0000

2137002

10/29/2002

CORP

$81,228.25

KLEIN DENNIS E

EMP NAME: KLEIN, DENNIS
6573 RIPPLING BROOK DR SE
SALEM, OR 97301

718400

10/08/2002

CORP

$228,570.00

KLEIN, PATTI L.

EMP NAME: KLEIN, PATTI
739 NE WENDY IN
GRESHAM, OR 97030-4740

540802

09/30/2002

CORP

$155,298.22

KLEIN, THOMAS E.

EMP NAME: KLEIN, THOMAS
739 NE WENDY IN
GRESHAM, OR 97030-4740

540702

09/30/2002

CORP

$220,394.84

KLING SHAFTER P

EMP NAME: KLING, SHAFTER P
37236 HWY 74

GEISMAR, LA 70734

2010000

10/16/2002

CORP

$374,670.00

KLINGER, DEBORAH L.

EMP NAME: KLINGER, DEBORAH
2601 NE 80TH STREET
VANCOUVER, WA 98665

1639300

10/15/2002

CORP

$5,872.00

KNEISLEY GEORGE D

EMP NAME: KNEISLEY, GEORGE D
3018 N ELM

ROSWELL, NM 88201-0000

918902

10/11/2002

CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant Claim
Number

KNIGHT DAVID T 1167400

EMP NAME: KNIGHT, DAVID
1330 SE 8TH PL UNIT A a
HERMISTON, OR 978386718

Document 1005-1

Date
Filed

10/11/2002

Tittle Settlement Order

Debtors

Objected To
Amount

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CORP

$0.00 -

Date: = 07/11/2005
Time: 8:06:00 PM

KNIGHT, ROBERT W 916602
EMP NAME: KNIGHT, ROBERT W

4114 N PINEBROOK WAY

HOUSTON, TX 77059-0000

10/44/2002

CORP
ENW LLG

$0.00

KNUDSON, LEE D 907002
EMP NAME: KNUDSON, LEE D

5649 FALCONER DRIVE

BISMARCK, ND 58504

10/11/2002

CORP

$31,433.44

KOCH, WAYNE R 398803
EMP NAME: KOCH, WAYNE R

212 PLAZA HTS. RD. ~
MARSHALLTOWN, IA 50158

09/09/2002

CORP

$1,050,234.14°

KOCOUREK. DONNA M 1604201
EMP NAME: KOCOUREK, DONNA M

4412 SW HAMILTON TERRACE

PORTLAND, OR 97239

10/15/2002

CORP

$472,674.69

KOEHLER, ANNE GC 1554303
EMP NAME: KOEHLER, ANNE C

3029 REBA DR.

HOUSTON, TX 77019-0000

10/15/2002

CORP

$0.00

KOEPKE, GWYN E. 1237406
EMP NAME: KOEPKE, GWYN E

3636 16TH ST NW

#B-1131

WASHINGTON, DC 20010

10/11/2002

CORP

$1,823.25

KOH, WINIFRED 1732700
EMP NAME: KOH, WINIFRED (WENDY)

1623 BERKOFF DRIVE

SUGAR LAND, TX 77479-5507

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

KOHLER BARBARA 919003
EMP NAME: KOHLER, BARBARA

4130 SW LEE ST

PORTLAND, OR 97221

10/11/2002

CORP

$240,000.00

KOHLER, TERI L. 898000
EMP NAME: KOHLER, TERI

4610 NE 26TH ST.

VANCOUVER, WA 98663

10/11/2002

CORP
CORP

$4,790.00
$0.00
$4,790.00

KOKAS ROSE K 437204
EMP NAME: KOKAS, ROSE K (KATHY)

4005 BROWNING ST

HOUSTON, TX 77005-0000

09/13/2002

CORP

$159,269.00

KOKENGE, JOHANNA 1738303
EMP NAME: KOKENGE, JOHNNA D

1020 COLUMBUS STREET

HOUSTON, TX 77019

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

10/15/2002

ENA

~ $4,155.00

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Exhibit A
Tittle Settlement Order

Date: 07/11/2005
Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

KOLARIK DAVID A 4833100 40/15/2002 CORP - $410,637.00 U

EMP NAME: KOLARIK, DAVID A (DAVE)

1401 LAWRENCE LN

BELLEVUE, NE 68005-0000

KOLB, MARTIN L. 733500 40/08/2002 CORP $8,640.00 U

EMP NAME: KOLB, MARTIN

P.O. BOX 1992

BEAVERTON, OR 97075-1992

KONDO, CHERYL 1667102 10/15/2002 EBS, INC $0.00 U

EMP NAME: KONDO, CHERYL

2621 SW SUNSET BL EBS, INC ___ $0.00 P

PORTLAND, OR 97239 $0.00

KOOGLER, DAVID M 1601202 40/15/2002 CORP $0.00 U

EMP NAME: KOOGLER, DAVID M

3762 ELMORA ST. CORP ______—=80.00' P

HOUSTON, TX 77005 $0.00

KOR, ANATE 1553002 40/15/2002 ENA $7,251.00 P

EMP NAME: KOR, ANATE FESO p

3000 BISSONNET #2302

HOUSTON, TX 77005-0000

KORCZYNSKI, MARK A. 4987301 40/15/2002 CORP $0.00 U

EMP NAME: KORCZYNSKI, MARK A

1507 EMERALD SPRINGS CT. CORP __ 80.00 P

HOUSTON, TX 77094 $0.00

KORKMAS, DEBORAH A. 1584300 40/15/2002 CORP $0.00 P

EMP NAME: KORKMAS, DEBORAH A (DEB)

6450 OLYMPIA DR

HOUSTON, TX 77057

KOSTER DOUGLAS A 693600 40/07/2002 CORP $311,600.00 U

EMP NAME: KOSTER, DOUGLAS

4681 CAMPBELL DR SE APT 172

SALEM, OR 973016192

KOTILA DENNIS L 857800 40/10/2002 CORP $62,755.16 U

EMP NAME: KOTILA, DENNIS

1958 NUT TREE DR NW

SALEM, OR 973041111

KOURI, KIM A 4507200 40/15/2002 CORP $0.00 U

EMP NAME: KOURI, KIM A

7148 TOURNAMENT DR CORP ______—80.00 P

ST LOUIS, MO 63129 $0.00

KOVALCIK, TAMMY 4951100 40/15/2002 CORP $0.00 U

EMP NAME: KOVALCIK, TAMMY L

22019 BRONZE LEAF DR. CORP $0.00 P

CYPRESS, TX 77433 $0.00

* Classification: S=Secured: P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

KOWALKE TERRY R

EMP NAME: KOWALKE, TERRY R
6819 FIVE FORKS DR

SPRING, TX 77379-4138

Claim
Number

539101

Date
Filed

Exhibit A
Tittle Settlement Order

09/26/2002

Debtors

Objected To
Amount

cc*

CORP

$616,935.28

Date: 07/11/2005
Time: 8:06:00 PM

KRAEMER, CAROL E

EMP NAME: KRAEMER, CAROL E
651 BERING DR UNIT 804
HOUSTON, TX 770572134

788001

10/09/2002

CORP

$34,852.00

KRAFT, GALE A

EMP NAME: KRAFT, GALE
2823 NE 77 AV
PORTLAND, OR 97213

851202

10/10/2002

CORP

$121,465.00

KRATKY KIMBERLY K

EMP NAME: KRATKY, KIMBERLY K
3126 PENNYWELL LN.

KATY, TX 77494

1233701

10/44/2002

CORP

$49,313.86

KRATSCH PATSY S

EMP NAME: KRATSCH, PATSY S (PAT)
943-D AVENIDA MAJORCA

LAGUNA HILLS, CA 92653

1623501

10/15/2002

CORP

$2,045.62

KRATVILLE, GARY R

EMP NAME: KRATVILLE, GARY R
5119 BLUE CREEK DR.
KINGWOOD, TX 77345

746000

10/08/2002

CORP

$424,073.00

KRAUS, DONALD

EMP NAME: KRAUS, DONALD
695 SW COLFAX LN
MADRAS, OR 97741

1220303

10/11/2002

CORP

$196,765.47

KRAUS, MARK E

EMP NAME: KRAUS, MARK
19180 NW NORTHSHORE CT
PORTLAND, OR 97229

1221002

10/11/2002

CORP

$183,600.00

KRAXBERGER WILLIAM F

EMP NAME: KRAXBERGER, WILLIAM
900 TUKWILA DR

WOODBURN, OR 97071

8471000

10/10/2002

CORP

$166,400.00

KREBS, RONALD D

EMP NAME: KREBS, RONALD
1968 OSPREY DR
REDMOND, OR 977569225

1708300

10/15/2002

CORP

$244,400.00

KREIS, THOMAS

EMP NAME: KREIS, THOMAS
15348 NW TROON DR
PORTLAND, OR 97229

1147102

40/11/2002

CORP

$220,209.00

KRENZ MARCIA

EMP NAME: KRENZ, MARCIA
33837 PITTSBURG RD

ST HELENS, OR 97051

855202

10/10/2002

“CORP

$106,635.83

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

KRENZ, WILLIAM C.

EMP NAME: KRENZ, WILLIAM C
605 KNOX STREET

HOUSTON, TX 77007

Claim
Number

2004602

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

cc

CORP

$13,200.00

Date: = 07/11/2005
Time: 8:06:00 PM

KRESAL E GERALD

EMP NAME: KRESAL, GERALD
18197 N.W. PUMPKIN RIDGE ROAD
NORTH PLAINS, OR 97133

773700

10/09/2002

CORP

$570,021.71

KROB, PAUL G

EMP NAME: KROB, PAUL G
10811 FAWNVIEW DRIVE
HOUSTON, TX 77070

1464600

10/15/2002

CORP

$0.00

KRONE, AMY

EMP NAME: KRONE, AMY
9843 BESTIN LANE
HOUSTON, TX 77065-0000

1596402

10/15/2002

CORP

$50,179.00 ©

KRUEGER ARTHUR L

EMP NAME: KRUEGER, ARTHUR
10582 SW TITAN LN

TIGARD, OR 97224

1771100

10/45/2002

CORP

$10,000.00

KRUG KIM M

EMP NAME: KRUG, KIM
2787 REVERE ST
WOODBURN, OR 970717730

932700

10/11/2002

CORP

$14,480.00

KRUPA DALE M

EMP NAME: KRUPA, DALE
18096 S FERGUSON RD
OREGON CITY, OR 97045

662300

10/07/2002

CORP

$66,320.00

KRUSE DAVID

EMP NAME: KRUSE, DAVID
17350 CROWNVIEW DR
GLADSTONE, OR 97027

1638102

10/15/2002

CORP

$167,001.00

KUCH GERALD C

EMP NAME: KUCH, GERALD
4632 INDIGO ST NE

SALEM, OR 97305

786600

10/09/2002

CORP

$447,274.40

KUDYM JUDITH L

EMP NAME: KUDYM, JUDITH L (JUDY)
4510 PACIFIC

OMAHA, NE 68106-0000

1763002

10/15/2002

CORP

$0.00

KUEHL

EMP NAME: KUEHL, TOBIN L (TOBY)
6405 N 153RD ST

OMAHA, NE 681 16-4438

1590102

10/15/2002

CORP

$8,337.00

KUEHNE BRIAN

EMP NAME: KUEHNE, BRIAN
14088 SE 126

CLACKAMAS, OR 97015

1194302

10/11/2002

“CORP

$273,200.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

KUHNEL MICHAEL L

EMP NAME: KUHNEL, MICHAEL
3316 NE 39 ST

VANCOUVER, WA 98661

Claim
Number

1764400

Document 1005-1

Tittle Settlement Order

Date
Filed

10/45/2002

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Exhibit A

Debtors

Objected To
Amount

cc*

CORP

$286,080.00

- Date: = 07/11/2005
Time: 8:06:00 PM

KUIAWA, GEORGE J.

EMP NAME: KUIAWA, GEORGE
17450 VIA DEL VERDE DR
GLADSTONE, OR 97027

1226502

10/1 1/2002

CORP

$261,356.88

KUMAR, BIREN

EMP NAME: KUMAR, BIREN
2107 MADEWOOD DR
MISSOURI CITY, TX 77459

1669602

10/15/2002

CORP
CORP

$913.46
$4,650.00
$5,563.46

KUMBALEK, LISA M.

EMP NAME: KUMBALEK, LISA M
14527 LITTLE WILLOW WALK
HOUSTON, TX 77062

1450801

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

KUMMERFELDT JEFFREY J

EMP NAME: KUMMERFELDT, JEFFREY J (JEFF)

125 NORTH STREET
TRACY, MN 56175-0000

908702

10/11/2002

CORP

$13,079.02

KUNG RONSON

EMP NAME: KUNG, RONSON
3078 BROADWAY, #115

SAN DIEGO, CA 92102

1631500

10/15/2002

CORP

$14,685.00

KURIE, MICHAEL O

EMP NAME: KURIE, MICHAEL O
720 S POPLAR

KERMIT, TX 79745-0000

1657601

10/45/2002

CORP

$0.00

KUYKENDALL. KEVIN W

EMP NAME: KUYKENDALL, KEVIN W
1238 CAMPTON COURT

HOUSTON., TX 77055-0000

655102

10/07/2002

ENA

$20,320.00

KVASNICKA M JELAINE

EMP NAME: KVASNICKA, JELAINE
1906 6TH AVE SW

AUSTIN, MN 55912

1767701

70/15/2002

CORP

$0.00

KYLE, tI WILLIAM A

EMP NAME: KYLE tl, WILLIAM A
3002 PEEKSKILL COURT
PEARLAND, TX 77584-0000

1395000

10/15/2002

CORP

$269,056.10

LABANOWSKI E J

EMP NAME: LABANOWSK], E J (ELIZABETH)
311 TIMBERWILDE LN

HOUSTON, TX 77024-6925

1143304

10/10/2002

EPSC

$0.00

LABANOWSKI E J

EMP NAME: LABANOWSKI, E J (ELIZABETH)
311 TIMBERWILDE LN

HOUSTON, TX 77024-6925

1144107

10/11/2002

CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant Claim
Number

LABAUME WANDA K 1508202
EMP NAME; LABAUME, WANDA K

812 DEERCROSS LANE

WAXHAW, NC 28173

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

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cc*

CORP

$0.00

- Date: = 07/11/2005
Time: — 8:06:00 PM

LABES CARL L 650502
EMP NAME: LABES, CARL L

PO BOX 925

SHERBURN, MN 56171-0925

09/30/2002

CORP

$400,000.00

LACKEY MICHAEL 1869202
EMP NAME: LACKEY, MICHAEL

16282 NW SOMERSET

BEAVERTON, OR 97006

10/15/2002

CORP

$335,840.00

LACKEY SHELLY 1571600
EMP NAME: LACKEY, SHELLY

9526 BENDING WILLOW LN

HOUSTON, TX 77064-0000

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

LACOUR, PAULA 2059003
EMP NAME: LACOUR, PAULA M

3418 SAPLING OAK DRIVE

HOUSTON, TX 77082

10/18/2002

EGM LLC

$0.00

LADISH BETTY 1513402
EMP NAME: LADISH, BETTY

1810 FIR COVE

KINGWOOD, TX 77339

10/15/2002

CORP

$136,276.00

LADISH, KIM G 1590500
EMP NAME: LADISH, KIM C

2310 PINE CONE DR

KINGWOOD, TX 77339-0000

10/15/2002

CORP

$0.00

LAFERLA-SCHOOLCRAFT, LYNDA 1942100
EMP NAME: LAFERLA, LYNDA K

11719 GRAY FOREST TR.

TOMBALL, TX 77377

10/15/2002

CORP

$0.00

LAFFERTY, MICHAEL C. 1801900
EMP NAME: LAFFERTY, MICHAEL

180 PIERCE AVE

UMATILLA, OR 97882

10/15/2002

CORP

$0.00

LAFONTAINE, JANET S 1958402
EMP NAME: LAFONTAINE, JANET

14800 SW BOONES FERRY RD

LAKE OSWEGO, OR 97035

10/15/2002

CORP

$23,360.00

LAFOSSE, THOMAS J. 1626500
EMP NAME: LAFOSSE, T J .
243 EAST NORTH HILL

SPRING, TX 77373

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

LAGESSE, MARY DENISE 2120302
EMP NAME: LAGESSE, MARY D (DENISE)

907 PURDY ST

BROOKSHIRE, TX 77423

10/15/2002

UNKNOWN

$37,500.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

LAHMERS, DENNIS M

EMP NAME: LAHMERS, DENNIS
12731 NW 21

VANCOUVER, WA 98685

Claim
Number

1855202

Document 1005-1

Tittle Settlement Order

Date
Filed

10/15/2002

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Exhibit A

Debtors

Objected To
Amount

cc*

CORP

$126,560.00

- Date: = 07/11/2005

Time: 8:06:00 PM

LAIDLAW SCOTT R.

EMP NAME: LAIDLAW, SCOTT R
1563 MISSION SPRING DR
KATY, TX 77450

1493604

10/15/2002

EES, INC
EES, INC

$97,000.00
$0.00
$97,000.00

LAIDLAW SCOTT R

EMP NAME: LAIDLAW, SCOTT R
1563 MISSION SPRING DR.
KATY, TX 77450

1494304

10/15/2002

CORP

$97,000.00

LAIDLAW, SCOTT R.

EMP NAME: LAIDLAW, SCOTT R
1563 MISSION SPRINGS DR
KATY, TX 77450

43802

01/14/2002

UNKNOWN

$93,000.00

LAIPPLE. DAVID S.

EMP NAME: LAIPPLE, DAVID S (DAVE)
1185 STARBUCK CT

WESTERVILLE, OH 43081

233302

07/01/2002

CORP

$14,715.00

MORSE CARMEN M

EMP NAME: LAIRD, CARMEN
305 AST APT 4

COLUMBIA CITY, OR 970189792

1948000

10/15/2002

CORP

$190,675.68

LAKHO SHAHNAZ

EMP NAME: LAKHO, SHAHNAZ
400 MALLET HILL ROAD

UNIT B-1

COLUMBIA, SC 29223

1796100

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

LALANDE ROBERT G. & BERNICE M. LALANDE
EMP NAME: LALANDE, ROBERT G (BOBBY)
PO BOX 23

CAMERON, LA 70631

460900

09/17/2002

CORP

$120,062.58

LALIBERTE, DONALD E.

EMP NAME: LALIBERTE, DONALD E
191 HIGHLAND STREET

MILFORD, MA 01757

2040400

10/17/2002

CORP

$0.00

LALL SHAUVICK B

EMP NAME: LALL, SHAUVICK B
15942 W WOODLANDS AVE
GOODYEAR, AZ 853386877

366201

09/03/2002

CORP

$2,970.00

LAMA, MICHAEL O.

EMP NAME: LAMA, MICHAEL
218 SW PEACH COVE LN
WEST LINN, OR 97068

2119000

10/25/2002

CORP

$127,680.00

LAMA, PATRICIA A.

EMP NAME: LAMA, PATRICIA
218 SW PEACH COVE LN
WEST LINN, OR 97068

2046600

10/17/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$341,120.00 .

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Case 4:01-cv-03913 . Document 1005-1

Claimant

Claim
Number

Date
Filed

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD_—— Page 182 of 353

cc*

Date:
Time:

07/11/2005
8:06:00 PM

LAMB DAVID E

EMP NAME: LAMB, DAVID
3944 SW 55 DR
PORTLAND, OR 97221

2089002

10/18/2002

CORP

$253,883.00

LAMBERT DENNIS

EMP NAME: LAMBERT, DENNIS
10315 S.W. 28TH

PORTLAND, OR 97209

1184000

10/11/2002

CORP

$111,200.00

LAMBERT, RAYMOND F.

EMP NAME: LAMBERT, RAYMOND
13257 DONALD RD.

AURORA, OR 97002

2091300

10/18/2002

CORP

$130,851.00

LAMBERT RAYMOND F

EMP NAME: LAMBERT, RAYMOND
11280 S RIGGS DAMM RD
CANBY, OR 97013

2116100

10/24/2002

CORP

$81,520.00

LAMMERS, LOIS E.

EMP NAME; LAMMERS, LOIS
7419 N. HURST

PORTLAND, OR 97203

802100

10/10/2002

CORP

$0.00

LAMPE, STEVE

EMP NAME: LAMPE, STEVEN C
7671 CR 34

FORT CALHOUN, NE 68023

700500

10/07/2002

CORP

$244,947.55

LANCASTER, CREGG

EMP NAME: LANCASTER, CREGG D
15014 GREEN STONE

HOUSTON, TX 77084

1721200

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

LANCASTER, RUTH A

EMP NAME: LANCASTER, RUTH A
20722 GREAT LAUREL CT
KINGWOOD, TX 77346-0000

1993904

10/15/2002

CORP

$25,268.88

LANDER DANA L

EMP NAME: LANDER, DANA
17935 SW YAQUINA CT
TUALATIN, OR 97062

1733800

10/15/2002

CORP

$201,360.00

LANDER MARK S

EMP NAME: LANDER, MARK
17935 SW YAQUINA CT
TUALATIN, OR 97062

1733900

10/15/2002

CORP

$190,640.00

LANGFELDT RONALD M

EMP NAME: LANGFELDT, RONALD
4617 SE 31 AV

PORTLAND, OR 97202

1146000

10/11/2002

CORP

$177,040.00

LANGFORD MITCHELL A

EMP NAME: LANGFORD, MITCHELL
16175 SW BOBOLINK ST
BEAVERTON, OR 97007

1775500

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$130,009.36

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Claimant

Claim
Number

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

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cc*

- Date: 07/41/2005
Time: 8:06:00 PM

LARKIN, CHRISTINE ROSE

EMP NAME: LARKIN, CHRISTINE R
(ZABROWSKI)

4906 COOPER CREEK RD
OMAHA, NE 68157

707800

10/07/2002

- CORP

$30,000.00

LARSEN MARY K

EMP NAME: LARSEN, MARY
11973 SE 35 AV
MILWAUKIE, OR 97222

858502

10/10/2002

CORP

$100,000.00

LARSEN, SAMUEL G

EMP NAME: LARSEN, SAMUEL G (SAM)
317 SOUTH MAPLE

WATERTOWN, SD 57201

1062802

10/11/2002

CORP

$14,604.22

LARSON, DWIGHT E

EMP NAME: LARSON, DWIGHT E
2710 GRAND FALLS DRIVE
KINGWOOD, TX 77345

1748002

10/15/2002

CORP

$2,417,806.85

LASZLO, THOMAS F.

EMP NAME: LASZLO, THOMAS
1602 SW WALLULA DR
GRESHAM, OR 97080

610500

40/03/2002

CORP

$143,670.52

LATHAM, MARY JENNIFER

EMP NAME: LATHAM, MARY J (JENNY)
3023 COVEBROOK DRIVE

PEARLAND, TX 77584

1802502

10/15/2002

CORP

$6,500.00

LATTANZIO JOHN M

EMP NAME: LATTANZIO, JOHN M
710 STIRLING RD

SILVER SPRING, MD 20901-0000

366700

09/03/2002

CORP

$18,418.00

LAUER RICHARD P

EMP NAME: LAUER, RICHARD P
3842 HANBERRY LN.
PEARLAND, TX 77584-0000

677802

10/07/2002

CORP

$16,593.32

LAUMAND KAREN L

EMP NAME: LAUMAND, KAREN
5410 SW SCHOLLS FERRY RD
PORTLAND, OR 97225

1479802

10/15/2002

CORP

$257,350.00

LAURITSEN, EUGENE H

EMP NAME: LAURITSEN, EUGENE H (GENE)

1909 JEFFERSON
BEATRICE, NE 68310-0000

1689002

10/15/2002

ETSC
ETSC

$194,536.83
$4,650.00
$199,186.83

LAURITSEN HOWARD C.

EMP NAME: LAURITSEN, HOWARD C
12610 AMES PLZ APT 102

OMAHA, NE 681646908

375600

09/05/2002

CORP
CORP

$35,350.00
$4,650.00
$40,000.00

* Classification: S=Secured; P=Priority; UX=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD Page 184 of 353

Claimant

LAVINE JO ANN

EMP NAME: LAVINE, JO ANN
11527 WICKERSHAM
HOUSTON, TX 77077-0000

Claim
Number

1743400

_ Date

Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

Date: 07/11/2005
Time: 8:06:00 PM

cc

CORP
CORP

$0.00 -

$0.00
$0.00

LAWRENCE, EDWARD L

EMP NAME: LAWRENCE, EDWARD L (ED)

2300 W MESCALERO RD
ROSWELL, NM 88201-9710

1240401

10/11/2002

CORP

$0.00

LAWRENCE JAMES R

EMP NAME: LAWRENCE, JAMES R
2914 GODDARD PL

MIDLAND, TX 78705-0000

1621000

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

LAWRENCE SCOT

EMP NAME: LAWRENCE. SCOT
1726 NE 61

PORTLAND, OR 97213

1795802

10/15/2002

CORP

$363,120.00

LAWSON, JAMES M.

EMP NAME: LAWSON, JAMES M
2007 HAVENHOUSE

SPRING, TX 77386

1245000

10/11/2002

CORP

$700,000.00

LAWSON THOMAS R

EMP NAME: LAWSON, THOMAS
PO BOX 22

COLUMBIA CITY, OR 97018

1673300

10/15/2002

CORP

$219,440.00

LAWSON WILLIAM E

EMP NAME: LAWSON, WILLIAM
31985 COUNTRY VIEW LN
WILSONVILLE, OR 97070

1150002

10/11/2002

CORP

$386,464.17

LAYNE MICHAEL R

EMP NAME: LAYNE, MICHAEL R (MIKE)

1522 OLD ELM TRAIL
SUGAR LAND, TX 77479-0000

1867000

10/15/2002

CORP

$0.00

LAZARUS ANNA

EMP NAME: LAZARUS, ANNA
3341 SE 63 AV

PORTLAND, OR 97206

1697403

10/15/2002

CORP

$2,511.00

LAZRINE ROBERT J

EMP NAME: LAZRINE, ROBERT
5120 SW RICHARDSON DR
PORTLAND, OR 972392054

769500

10/09/2002

CORP

$257,192.80

LE BLANC ROSEMARY

EMP NAME: LE BLANC, ROSEMARY
906 WINCHESTER BEND
HUFFMAN, TX 77336-0000

692702

10/07/2002

CORP

$197,883.36

LE TRANG T

EMP NAME: LE, TRANG T
11115 LARK BROOK LN
HOUSTON, TX 77065-0000

1617103

10/15/2002

“CORP

$78,325.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

LEACH DOUGLAS A

EMP NAME: LEACH, DOUGLAS A
6143 INWOOD

HOUSTON, TX 77057-0000

Claim
Number

1479002

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Filed on 07/14/05 in TXSD

Debtors

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Objected To
Amount

cc*

CORP

$39,799.00 -

Date:
Time:

07/11/2005
8:06:00 PM

LEAHY, PATRICK MICHAEL
EMP NAME: LEAHY, PATRICK
500 CHESTNUTVIEW DRIVE
SODDY DAISY, TN 37379

888700

10/10/2002

CORP

$44,946.83

LEAHY. PATRICK M

EMP NAME: LEAHY, PATRICK M (PAT)
1801 CLYDESDALE PL NW APT 506
WASHINGTON, DC 200096004

2018201

10/16/2002

CORP

$5,066.52

DAVID B. LEBLEU

EMP NAME: LEBLEU, DAVID B (BRENT)
PO BOX 622

BASILE, LA 70515-0000

2228200

12/10/2002

CORP

$184,390.99 °

LEDNICKY, PAUL M.

EMP NAME: LEDNICKY, PAUL
19623 S. FALCON DR.
OREGON CITY, OR 97045

886900

10/10/2002

CORP

$630,548.00

LEE DENNIS P

EMP NAME: LEE, DENNIS P
10947 PRAIRIE HAWK DRIVE
HOUSTON, TX 77064-7765

1911902

10/15/2002

CORP

$0.00

LEE GARY

EMP NAME: LEE, GARY
14450 SW PEACHTREE DR
TIGARD, OR 972241478

1719300

10/15/2002

CORP

$181,600.00

LEE JAMES D

EMP NAME: LEE, JAMES D

7 STORM MIST PLACE

THE WOODLANDS, TX 77381

596300

10/02/2002

CORP

$548,147.83

LEE JEFF H

EMP NAME: LEE, JEFF
111 ALDER AV
UMATILLA, OR 97882

1729800

10/15/2002

CORP

$42,560.00

LEE KAREN

EMP NAME: LEE, KAREN
1612 LAKE FRONT RD
LAKE OSWEGO, OR 97034

1778002

10/45/2002

CORP

$0.00

LEE, PAULA M.

EMP NAME: LEE, PAULA M
10847 PRAIRIE HAWK DR.

HOUSTON, TX 77064-7765

1941600

10/15/2002

CORP

$0.00

LEE, PHILIP W

EMP NAME: LEE, PHILIP W
3351 TAMPA

HOUSTON, TX 77021-0000

1604304

10/15/2002

“CORP

CORP

$27,855.57
$0.00
$27,855.57

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

LEE ROBERT E

EMP NAME: LEE, ROBERT
18555 S LYONS ROAD
OREGON CITY, OR 97045

Claim
Number

713700

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/08/2002

Debtors

Objected To
Amount

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cc*

CORP

$397,025.60

Date:
Time:

07/11/2005
8:06:00 PM

LEE RUSSELL R

EMP NAME: LEE, RUSSELL R
PO BOX 1299

EUNICE, NM 88231-0000

1637900

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

LEE TERRIM

EMP NAME: LEE, TERRI
PO BOX 1746

SANDY, OR 97055

1626002

10/15/2002

CORP

$17,727.20

LEE, TWANA

EMP NAME: LEE, TWANA L
2202 DAWN SHADOW WAY
FRESNO, TX 77545

1479201

10/15/2002

CORP
CORP

$0.00
$0.00

$0.00 _

WARREN K. LEE

EMP NAME: LEE, WARREN
960 SW 10 PL
HERMISTON, OR 97838

2228700

12/10/2002

CORP

$107,000.00

LEE WAYNE M

EMP NAME: LEE, WAYNE
860 PLAYER DRN
KEIZER, OR 97303

1213400

10/11/2002

CORP

$179,753.00

LEGLER, CHERYL A.

EMP NAME; LEGLER, CHERYL
33915 SE PATRICIA WAY
SCAPOOSE, OR 97056

897102

10/11/2002

CORP

$57,877.43

LEHAN THOMAS P

EMP NAME: LEHAN, THOMAS P (TOM)
5801 POPPLETON AVE

OMAHA, NE 68106-1656

1871102

10/15/2002

CORP

$73,601.02

LAHMERS, LAURA

EMP NAME: LEHMAN, LAURA
8648 SE START ST.
PORTLAND, OR 97216

1503800

10/15/2002

CORP

$4,640.00

LEHMAN, TOMMY P.

EMP NAME: LEHMAN, TOMMY P (TOM)
715 S. UPPER BROADWAT ST.

#201

CORPUS CHRIST, TX 78401

851601

10/10/2002

CORP

$1,200,000.00 -

LEI, WAYNE

EMP NAME: LEI, WAYNE
2520 SW COMMONWEALTH
PORTLAND, OR 97201

1658802

10/15/2002

CORP

$312,372.80

LEITH, SHELLY D.

EMP NAME: LEITH, SHELLY D
2826 PARKWOOD MANOR DRIVE
KINGWOOD, TX 77339

1521702

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$39,711.22
$0.00

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Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD —_— Page 187 of 353

Exhibit A . . Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

$39,711.22

LENAGHAN COLMM . 896802 10/11/2002 : CORP $40,020.00 U
EMP NAME: LENAGHAN, COLM

1008 NE ONEONTA

PORTLAND, OR 97211

LENOX GARY L 2109700 10/23/2002 CORP $46,034.56 U
EMP NAME: LENOX, GARY :

2058 SE LINDEN PL

GRESHAM, OR 97080

LEON, ELMER J. 777400 10/09/2002 CORP $177,092.42 U
EMP NAME: LEON, ELMER

1391 SE FAIR OAKS WAY

MILWAUKEE, OR 97267

LEONTIEV RICARDO 4815703 10/15/2002 CORP $2,328.86 P
EMP NAME: LEONTIEV, RICARDO

18040 SE HAIG DRIVE

PORTLAND, OR 97236-1322

LEPP SANDRA L 501600 09/23/2002 CORP $3,230.04. P
EMP NAME: LEPP, SANDRA

1949 SE PALMQUIST SP 94

GRESHAM, OR 97080

LEUSCHEN SUE A 1712703 10/15/2002 CORP $2,450.00 U
EMP NAME: LEUSCHEN, SUE A (SAM)

2303 MILAM # 8214

HOUSTON, TX 77006-0000

LEW ELSIE 1828503 10/15/2002 CORP $134,770.11 U
EMP NAME: LEW, ELSIE

11819 KIRKBRIAR

HOUSTON, TX 77089-0000

LEWIS, ANDREW 1555705 40/15/2002 ENA $0.00 U
EMP NAME: LEWIS, ANDREW H

5353 MEMORIAL DR #2057 ENA (80.00 P
HOUSTON, TX 77007 $0.00

LEWIS ANNA 2024400 10/16/2002 CORP $1,074.73 U
EMP NAME: LEWIS, ANNA E .

2019 DEERHURST

HOUSTON, TX 77088

LEWIS GLENDA § 2042900 10/17/2002 CORP $50,000.00 P
EMP NAME: LEWIS, GLENDA S

2516 BRIARGLEN DR

PEARLAND, TX 77581

LEWIS, JIM G 1791300 10/15/2002 CORP $22,831.00 U
EMP NAME: LEWIS, JIM G

6401 S. 28TH ST.

LINCOLN, NE 68516

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined : : Page 157 of 300
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD Page 188 of 353

Claimant Claim
Number

LEWIS KAREN J 858702

EMP NAME: LEWIS, KAREN e
700 SE 55 AV
PORTLAND, OR 97215

Date
Filed

Exhibit A
Tittle Settlernent Order

10/10/2002

Debtors

Objected To
Amount

cet

CORP

$129,064.56 -

Date: 07/11/2005
Time: 8:06:00 PM

LEWIS, RODNEY J. 1727802
EMP NAME: LEWIS, RODNEY

620 TIPPECANOE CT

LAKE OSWEGO, OR 97034

10/15/2002

CORP

$314,271.00

LEWIS ROGER M 1164202
EMP NAME: LEWIS, ROGER

77072 RUTTER RD

CLATSKANIE, OR 97016

10/11/2002

CORP

$198,131.73

LI, IN-NAN 1730402
EMP NAME: LI, IN-NAN

15960 NW AVONADALE DR. ~
BEAVERTON, OR 97006

10/15/2002

CORP

$160,800.00 ©

Lt, LING 1452803
EMP NAME: LI, LING

3111 MILLBROOK DR.

PEARLAND, TX 77584-0000

10/15/2002

CORP

$0.00

LI XINGYAN 1988503
EMP NAME: LI, XINGYAN

14106 EL CAMINO REAL

HOUSTON, TX 77062-0000

10/15/2002

ENW LLC

$10,000.00

LIAN, MINGCHENG 2015902
EMP NAME: LIAN, MINGCHENG

555 XU JIA HUI RD, SUITE 23D

SHANGHAI 200023

P.R. CHINA

CHINA

10/16/2002

CORP

$35,520.00

LIANG, TANYA L. 542902
EMP NAME: LIANG, TANYA

15933 SW BRECCIA DR

BEAVERTON, OR 97007

09/30/2002

CORP

$39,000.00

LIBAL, LORIE 846402
EMP NAME: LIBAL, LORI ,

655 FRANKLIN ST

COLUMBIA CITY, OR 97018

40/10/2002

CORP .

$76,880.00

LICHTENWALTER BV 1907100
EMP NAME: LICHTENWALTER, BV (BLAIR)

17626 WOODLODE

SPRING, TX 77379-0000

10/15/2002

CORP

$198,438.35

LIEWER, PAUL T 857000
EMP NAME: LIEWER, PAUL T (TOM)

5703 PINE ARBOR DR

HOUSTON, TX 770662328

10/10/2002

CORP

$102,139.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

LIGGETT, JERRY W

EMP NAME: LIGGETT, JERRY
7906 SW 173 PL
BEAVERTON, OR 97007

Claim
Number

1670100

Document 1005-1

Date
Filed

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Tittle Settlement Order

10/15/2002

Debtors

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cc*

CORP

$150,000.00

Date:
Time:

07/11/2005
8:06:00 PM

LIGHTHILL, SANDRA E

EMP NAME: LIGHTHILL, SANDRA E
5726 CAPELLO DR.

HOUSTON, TX 77035-0000

1654002

10/15/2002

CORP

$8,495.76

LIN, JUDY L

EMP NAME: LIN, JUDY L
15110 GREENLEAF LANE
HOUSTON, TX 77062-0000

1234901

10/11/2002

CORP

$70,869.80

LINCOLN RICHARD W

EMP NAME: LINCOLN, RICHARD
32569 SE NEW RD

EAGLE CREEK, OR 97022

1742500

10/15/2002

CORP

$183,421.52

LINDBECK DAVID C

EMP NAME: LINDBECK, DAVID
17089 SW LYNNLY WY
SHERWOOD, OR 97140

1752002

10/15/2002

CORP

$39,555.60

LINDBERG, LORRAINE M.

EMP NAME: LINDBERG, LORRAINE
11410 S. CHESTWOOD

HOUSTON, TX 77024

1867902

10/15/2002

CORP

$53,859.41

LINDBERG, SUSAN 8.

EMP NAME: LINDBERG, SUSAN S
2324 SWIFT BLVD.

HOUSTON, TX 77030

1515702

10/15/2002

CORP

$46,890.00

LINDENBERG CAROL L
EMP NAME: LINDENBERG, CAROL
9730 SW 168TH PLACE
BEAVERTON, OR 97007

1145102

10/11/2002

CORP

$358,792.48

LINDER, JR, WALTER GC

EMP NAME: LINDER, WALTER
10546 S W NAEVE STREET
TIGARD, OR 97224

1961302

10/15/2002

CORP

$240,119.00

LINDERT, MICHAEL

EMP NAME: LINDERT, MICHAEL A (MIKE)

JOEL J. BELLOWS, ESQ.
BELLOWS & BELLOWS, PC
79 W MONROE ST, SUITE 800
CHICAGO, IL 60603

797803

10/10/2002

EESO
EESO

$1,218.00
$10,608.00
$11,826.00

LINDGREN CHERYL A

EMP NAME: LINDGREN, CHERYL
6505 SW 7190

BEAVERTON, OR 97007

1572402

10/15/2002

CORP

$160,979.04

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

LINDHOLM, THOMAS R

EMP NAME: LINDHOLM, THOMAS R

302 SOUTHWEST 4TH ST
OGDEN, IA 50212-0000

Claim
Number

731002

Date
Filed

10/08/2002

Tittle Settlement Order

Debtors

Objected To
Amount

cc

CORP

$1,251,570.00 ~

Date: 07/1 1/2005
Time: 8:06:00 PM

LINDLAND GARY

EMP NAME: LINDLAND. GARY
7700 SW GARDEN HOME RD
APT 27

PORTLAND, OR 972237496

1800202

10/15/2002

CORP

$338,208.00

LINDSEY KAREN R

EMP NAME: LINDSEY, KAREN
2368 SE 110 AV

PORTLAND, OR 97216

1734002

10/15/2002

$734.00

LINDSEY, LEONA A.

EMP NAME: LINDSEY, LEONA
11888 DUCK INN RD NE
GERVAIS, OR 97026

490700

09/23/2002

$91,588.94

LINHARES VALORIE

EMP NAME: LINHARES, VALORIE
1820 7TH STREET

COLUMBIA CITY, OR $7018

1780803

10/15/2002

CORP

$244,406.08

LINKOF COLLEEN M

EMP NAME: LINKOF, COLLEEN
PO BOX 1673

REDMOND, OR 97756

1690400 ©

10/15/2002

CORP

$160,000.00

LINN PAUL JOHN

EMP NAME: LINN, JOHN
692 SW COLFAX LANE
MADRAS, OR 97741

4190000

10/11/2002

CORP

$168,907.63

LINN, JOHN

EMP NAME: LINN, JOHN
4019 NW 127 ST
VANCOUVER, WA 98685

848100

10/10/2002

CORP

$253,296.16

LINNELL, ELIZABETH

EMP NAME: LINNELL, ELIZABETH C

3302 CREEK SHADE DRIVE
SPRING, TX 77388

1871502

10/15/2002

CORP

$24,395.44

LINTON A MARCIA

EMP NAME: LINTON, MARCIA A
22806 MOUNTAIN CREEK CT
KATY, TX 77450

773802

10/09/2002

CORP

$350, 186.94

LIPSCOMB LINDSEY I.

EMP NAME: LIPSCOMB, LINDSEY I
15 WOODSTONE ST.

HOUSTON, TX 77024

331200

08/29/2002

CORP
CORP

$19,998.00

$4,650.00 ~

$24,648.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

LIPSETT, ROY A 2056700 10/18/2002 CORP $0.00 P
EMP NAME: LIPSETT, ROY A ‘in :

61 TOWWLLY CRESENT e

BRAMPTON, ON L6Z 489

CANADA

LIPSHUTZ CHERYL |! 1361300 10/15/2002 CORP $38,887.50 U
EMP NAME: LIPSHUTZ, CHERYL t ,

1046 BAYOU ISLAND DR

HOUSTON, TX 77063

LIPSHUTZ CHERYL | 1372500 40/15/2002 EESO $5,737.50 U
EMP NAME: LIPSHUTZ, CHERYL |

1046 BAYOU ISLAND DR FESO $7,650.00
HOUSTON, TX 77063 $13,387.50

UPTAU, KURT | 844800 10/10/2002 CORP $180,921.36 P
EMP NAME: LIPTAU, KURT ~

9675 SW KILLARNEY LN

TUALATIN, OR 97062

LIPTON, CANDICE S. 1164302 10/11/2002 CORP $4,144.00 P
EMP NAME: LIPTOW, CANDICE

12248 N.W. SKYLINE

PORTLAND, OR 97231

LISK MICHAEL J 1639200 10/15/2002 CORP $31,332.00 P
EMP NAME: LISK, MICHAEL

21517 SW GREGORY DR

BEAVERTON, OR 97006

LITCHFIELD KATHRINE E 1646700 10/15/2002 CORP $5,367.68 U
EMP NAME: LITCHFIELD, KATHRINE

5101 SE APPENINE WY

MILWAUKIE, OR 97222

LITTERMAN, MARK 656700 10/07/2002 CORP $214,560.00 P
EMP NAME: LITTERMAN, MARK .

5445 E ROANOKE AVE

PHOENIX, AZ 85008

LIU, DARNENG 2080502 10/21/2002 CORP $0.00 U
EMP NAME: LIU, DARNENG ~ co

6501 RANCHESTER OR APT 412

HOUSTON, TX 77036

LIU DOMIN S$ 792404 10/09/2002 ‘ CORP $71,405.26 P.
EMP NAME: LIU, DOMIN S :

6116 CHARLOTTE

HOUSTON, TX 77005-0000

LIU, ERIC C. 1727904 40/15/2002 CORP $5,928.00 P
EMP NAME: LIU, ERIC :

4144 GREYSTONE WAY #201

SUGAR LAND, TX 77479

LIU LI 1946003 10/15/2002 EBS, INC uo $0.00 P

EMP NAME: LIU, LI .

627 PRESLEY WAY . . -
SUGAR LAND, TX 77479-0000 :

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined : : : Page 161 of 300
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Claim
Number

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Filed

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Debtors

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cc*

. Date: 07/11/2005
Time: 8:06:00 PM

LIU LONNIE

EMP NAME: LIU, LONNIE
4130 ROCKY BEND DRIVE
SUGAR LAND, TX 77479-0000

1703102

10/15/2002

CORP

. $520,043.89

LIVINGSTON MIKE

EMP NAME: LIVINGSTON, MICHAEL
14712 N.W. 2ND AVE
VANCOUVER, WA 98685

1183900

10/11/2002

CORP

$160,000.00

LLOYD J MELISSA

EMP NAME: LLOYD, MELISSA J
RTE 1

ELDORADO, TX 76936

1797600

10/15/2002

IGC
IGC

$0.00
$0.00
$0.00

LOBDELL JAMES

EMP NAME: LOBDELL., JAMES
23690 SW DELANOIS PL
SHERWOOD, OR 97140

1480500

10/15/2002

CORP

$299,280.10

LOFTIN, DANNY PAUL

EMP NAME: LOFTIN, DANNY
1557 S.E. CONDOR AVE.
GRESHAM, OR 97080

799900

10/10/2002

CORP

$425,840.00

LOHMANN JON M

EMP NAME: LOHMANN, JON M
13707 BUTTERFLY

HOUSTON, TX 77079-0000

928702

10/11/2002

CORP

$615,726.60

LOKEY WALTER T

EMP NAME: LOKEY, WALTER T (TEB)
1917 1/2 BANKS ST

HOUSTON, TX 77098

1911602

10/15/2002

CORP

$0.00

LOMAX RICHARD L.

EMP NAME: LOMAX, RICHARD L
2201 GILA STREET

HOBBS, NM 88240

512102

09/23/2002

CORP

$185,333.40

LONDOS, JANIS V

EMP NAME: LONDOS, JANIS
5678 SE WOODLAND DR
GRESHAM, OR 97080

1221100

10/11/2002

CORP

$184,880.00

LONG CYNTHIA A

EMP NAME: LONG, CYNTHIA A (CINDY)
23706 PRAIRIE BIRD DR

SPRING, TX 773736639

772301

10/09/2002

CORP

$0.00

LONGORIA REBECCA L

EMP NAME: LONGORIA, REBECCA L
4223 STONEY VIEW DRIVE
PASADENA, TX 77505-0000

366301

09/03/2002

CORP

$500,000.00

LOOMIS DANIEL L

EMP NAME: LOOMIS, DANIEL
18601 S PEAR RD

OREGON CITY, OR 97045

1781200

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$26,880.00

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Claim
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Date
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Debtors

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Date: 07/11/2005
Time: 8:06:00 PM

LOPEZ, BENNY

EMP NAME: LOPEZ, BENNY
805 SO AVE A

KERMIT, TX 79745-0000

881300

10/10/2002

CORP

$0.00

LOPEZ, SUSAN D

EMP NAME: LOPEZ, SUSAN D
3081 FM 1462

ALVIN, TX 77514

1657801

10/15/2002

CORP

$0.00

LORD PHILLIP D

EMP NAME: LORD, PHILLIP D
13615 TAYLOCREST
HOUSTON, TX 77079-0000

1828101

10/15/2002

CORP

$0.00

LORENZ MATTHEW M

EMP NAME: LORENZ, MATTHEW M
22319 S REBECCA BURWELL
KATY, TX 77449-0000

1552500

10/15/2002

ENA

$8,437.50

LORIO ANGELINA VIRGINIA

EMP NAME: LORIO, ANGELINA V
3910 BELOIR PARK DR

KATY, TX 77450-5287

1817803

10/15/2002

CORP

$0.00

LOVELESS LARRY R

EMP NAME: LOVELESS, LARRY R (RICK)
3401 SUNDOWN LN

AMARILLO, TX 79118-0000

1485102

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

LOVELL, EVAN M.

EMP NAME: LOVELL, EVAN
1402 NE 158TH CT
VANCOUVER, WA 98684-4141

1490402

10/15/2002

CORP

$93,281.92

LOVELY JAMES A

EMP NAME: LOVELY, JAMES
2030 ELM ST APT 317

FOREST GROVE, OR 971161774

7719600

10/08/2002

CORP

$551,975.30

LOVELY MICHAEL

EMP NAME: LOVELY, MICHAEL
16326 KEDA CT

SHERWOOD, OR 97140 .

717303

10/08/2002

CORP

$0.00

LOVING, WILLIAM S.

EMP NAME: LOVING, WILLIAM S (SCOTT)
6719 HAYDEN DR.

MAGNOLIA, TX 77354

1912300

10/15/2002

CORP

$0.00

LOVINGS PHILIP W

EMP NAME: LOVINGS, PHILIP
5542 N HAIGHT

PORTLAND, OR 97217

1669102

10/15/2002

CORP

$98,749.50

LOWNEY, JEFFREY C.

EMP NAME: LOWNEY, JEFFERY C
315 N RUSH HAVEN CIRCLE

THE WOODLANDS, TX 77381

1185301

10/11/2002

* Classification: S=Secured; P=Priority; U-Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$0.00
$0.00
$0.00

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Claim
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Date
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Debtors

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Date: 07/11/2005
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LOWRANCE ROBERT C

EMP NAME: LOWRANCE. ROBERT
14070 SW ALIBHAI

BEAVERTON, OR 97005

1203600

10/11/2002

CORP

$162,664.00

LOWRY DONNA W

EMP NAME: LOWRY, DONNA W
2946 SHORESIDE DRIVE
PEARLAND, TX 77584-0000

1587202

10/15/2002

CORP

$7,164.70

LU CHRIS

EMP NAME: LU, CHRIS
704 NE 106TH PL
PORTLAND, OR 97220

863802

10/10/2002

CORP

$39,191.80

LUDLOW JOHN A

EMP NAME: LUDLOW, JOHN A
335 7TH AVENUE S

SAFETY HARBOR, FL 34695-0000

2031800

10/15/2002

CORP

$0.00

LUEDTKE NANCY

EMP NAME: LUEDTKE, NANCY
8758 N TYNDALL AVE
PORTLAND, OR 972177028

1511602

10/15/2002

CORP

$0.00

LUNDQUIST, MAUREEN M

EMP NAME: LUNDQUIST, MAUREEN
2246 SE 159 AV

PORTLAND, OR 97233

656002

10/07/2002

CORP

$213,791.00

LUTZ JR RICHARD L

EMP NAME: LUTZ, RICHARD
11202 WHISPERING TREE LN
TURNER, OR 97392

2060800

10/2 1/2002

CORP

$88,128.00

LYDECKER, RICHARD A. JR.

EMP NAME: LYDECKER JR., RICHARD A
101 WESTLOTT #706

HOUSTON, TX 77007-7031

723900

10/08/2002

CORP

$5,550.50

LYMAN, CAROL JANE
EMP NAME; LYMAN, CAROL J (C. JANE)
2742 LAGUNA POINTE
PEARLAND, TX 77584

2000502

10/15/2002

CORP

$19,615.78

LYNCH CARL

EMP NAME: LYNCH, CARL
5901 N JAROB

HOBBS, NM 88242-0856

646201

10/04/2002

CORP

$5,000,000.00

LYNCH, DREW C

EMP NAME: LYNCH, DREW C
22014 LODGE STONE CT
KATY, TX 77450-8046

2034303

10/15/2002

CORP

$90,883.00

LYNCH, JOHN

EMP NAME: LYNCH, JOHN
69 ROCHELLE PARKWAY
SADDLE BROOK, NJ 07663

178403

04/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$2,800.00

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Tittle Settlement Order

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- Date: 07/11/2005
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EMP NAME: MAGIN, MARY K
22834 SPATSWOOD
KATY, TX 77449-0000

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

LYON, RONALD G. 1966400 10/15/2002 CORP *. $253,570.30 U

EMP NAME: LYON, RON

* 19605 NW KAY ROAD

NORTH PLAINS, OR 97133

LYTLE, ALAN D 1958800 10/15/2002 CORP $14,960.00 U

EMP NAME: LYTLE, ALAN

PO BOX 15077 CORP $0.00 P

SALEM, OR 97309 $14,960.00

MACHON, DANIELLE 2045800 10/17/2002 CORP $9,760.80 U

EMP NAME: MACHON, DANIELLE

710 NE 32ND AVE,

PORTLAND, OR 97232

MACKEY DANIEL 2052904 10/17/2002 CORP $21,897.00 U

EMP NAME: MACKEY, DANIEL

41 TRUMAN DR

RANDOLPH, MA 02368-0000

MADARANG RAUL E 1716102 10/15/2002 CORP $116,170.43 P

EMP NAME: MADARANG, RAUL .

16564 SW TIMBERLAND

BEAVERTON, OR 97007

MADRID SR, JOE A. 1645700 10/15/2002 CORP $0.00 U

EMP NAME: MADRID, JOE A

401 ORIOLE LANE CORP $0.00 P

FORT STOCKTON, TX 79735 $0.00

MADRIGAL, ANDREW 1652500 10/15/2002 CORP $0.00 U

EMP NAME: MADRIGAL, ANDREW

419W CLEVELAND BOX 25 CORP $0.00 P

HALE CENTER, TX 79041-0025 $0.00

MAERZ STANLEY A 558901 09/30/2002 CORP. $120,000.00 P

EMP NAME: MAERZ, STANLEY : :

PO BOX 224

CHRISTMAS VAL, OR 97641

MAFFEY JR, ANTHONY A 852102 10/10/2002 CORP $178,033.84 P

EMP NAME: MAFFEY, ANTHONY

152 EL MONTE ST

OMATILLA, OR 97882

MAFFEY SHARON L 833502 10/10/2002 CORP $152,880.00 P

EMP NAME: MAFFEY, SHARON

752 EL MONTE ST

UMATILLA, OR 978829644

MAGIN MARY K 2193502 10/18/2002 CORP $26,076.18 U-

* Classification: S=Secured; P=Priority; U=Unsecured; A=Adrministrative; ? = Undetermined

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Claimant

MAGLEBY, MARK

EMP NAME: MAGLEBY, MARK
3141 SE 129

PORTLAND, OR 97236

Claim
Number

2111000

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/24/2002

Debtors

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Amount

CORP

$291,036.00 U

- Date: 07/11/2005
Time: _ 8:06:00 PM

MAGNUSON BRIAN R

EMP NAME: MAGNUSON, BRIAN
58975 PARKWOOD DR

SAINT HELENS, OR 97051

1572302

10/15/2002

CORP

$0.00 U

MAGNUSON RICHARD A

EMP NAME: MAGNUSON, RICHARD
34181 ELM ST

SCAPPOOSE, OR 97056

1765502

10/15/2002

CORP

$88,388.00 U

MAIN RICK E

EMP NAME: MAIN, RICK
40133 SE PORTER RD
ESTACADA, OR 97023

635300

10/04/2002

CORP

$269,760.00 P

MAKI, PAUL R

EMP NAME: MAKI, PAUL
1601 MURTON AVA
VANCOUVER, WA 98661

849302

10/10/2002

CORP

$23,067.32 U

MAKIYA KHALID A

EMP NAME: MAKIYA, KHALID A
6201 BEVERLY HILL #18
HOUSTON, TX 77057-0000

1736400

10/15/2002

CORP

$150,000.00 U

MALLORY, PATRICK CHRIS

EMP NAME: MALLORY, PATRICK (CHRIS)
705 E 12TH 1/2 STREET

HOUSTON, TX 77008

1370804

10/45/2002

ENA
ENA

$0.00 U
$0.00 P
$0.00

MALONE KENNETH

EMP NAME: MALONE, KENNETH
621 17TH

LONGVIEW, WA 98632

1182200

10/11/2002

CORP

$34,320.00 U

MAUASSE, ROBERT

EMP NAME: MANASSE, ROBERT
1405 WEST CLAY ST. PMB762
HOUSTON, TX 77018

2021001

10/16/2002

CORP

$2,500.00 U

MANDIS JAMES

EMP NAME: MANDIS, JAMES
3250 LAVINA DR

FOREST GROVE, OR 97116-0000

1168900

10/ 11/2002

CORP

$22,950.00 U

MANGIAMELI, MARGARET
EMP NAME: MANGIAMELI, MM
7001 S 163 ST

OMAHA, NE 68136

1944300

10/15/2002

CORP"

$198,800.83 U

MANN RUTH E

EMP NAME: MANN, RUTH E

624 N. 116TH STREET, APT. S-20
OMAHA, NE 68154

1697102

40/15/2002

CORP

$386,912.33 U

* Classification: S=Secured; P=Priority, U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

MANNING, MARY KAY

EMP NAME: MANNING, MARY K (MARYKAY,
4317 FAWNHOLLOW DRIVE
DALLAS, TX 75244

Claim
Number

1764001

Document 1005-1

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CORP

$0.00

Date: 07/11/2005
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MANSELLE A. CYNTHIA

EMP NAME: MANSELLE, CYNTHIA
P.O. BOX 216

BEAVERCREEK, OR 97004

690902

10/07/2002

CORP

$191,121.50

MANTON, DONALD B.

EMP NAME: MANTON, DONALD B
12927 LAKE CENTER RUN CT.
HOUSTON, TX 77041

1521300

10/15/2002

CORP

$0.00

MAO, MR. CHUNG-REI

EMP NAME: MAO, CHUNG-REI
17456 ARCHER CIRCLE
OMAHA, NE 68135

1625700

10/15/2002

CORP

$252,792.00

MAO YI

EMP NAME: MAO, YI
14011 HAZEL RIDGE
HOUSTON, TX 77062-0000

2203100

10/20/2002

CORP

$1,530.00

MARASCIO, ELIZABETH L

EMP NAME: MARASCIO, ELIZABETH L (LE!GH)
3003 MEMORIAL COURT

#2319

HOUSTON, TX 77007

1547702

10/15/2002

EESO

$1,791.88

MARBACH, KENNETH D.

EMP NAME: MARBACH, KENNETH D (KEN)
4341 LAKE ONTARIO

CORPUS CHRISTI, TX 78413

909400

10/14/2002

CORP

$47,406.00

LAWRENCE MARCUS

EMP NAME: MARCUS, LAWRENCE
225 W 83RD STREET

APT 9D

NEW YORK, NY 10024

1628104

10/15/2002

EGM LLC

$0.00

MAREK THOMAS J

EMP NAME: MAREK, THOMAS
7819 SW BARNARD
BEAVERTON, OR 97007

961900

10/11/2002

CORP
CORP

$0.00

_ $219,360.00

$219,360.00

MARGASON GARY

EMP NAME: MARGASON, GARY
14884 SW ROSARIO LN
TIGARD, OR 97224

1940003

10/15/2002

CORP

$234,160.05

MARINELL, DEBRA L.

EMP NAME: MARINELLI, DEBRA L
1802 CHEMNEY ROCK RD.
HOUSTON, TX 77056

1574300

10/15/2002

CORP

$325,988.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

MARINELLI, DONNA

EMP NAME: MARINELLI, DONNA
3231 SW DOSCHDALE DR
PORTLAND, OR 97201

Claim
Number

1590002

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

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cc*

CORP

$70,000.00

. Date: 07/11/2005

Time: 8:06:00 PM

MARINO, THEA

EMP NAME: MARINO, DOROTHEA M (THEA)
7 STONEGATE DRIVE

HOUSTON, TX 77024

1759301

10/15/2002

CORP
CORP

$287,240.73
$0.00

$287,240.73

MARITCH, JAMES E.

EMP NAME: MARITCH, JAMES
1973 SE 24TH AVE
PORTLAND, OR 97214

932300

10/11/2002

CORP

$12,753.60

MARITCH LYNN J

EMP NAME: MARITCH, LYNN
1973 SE 24 AV

PORTLAND, OR 97214

932400

10/41/2002

CORP

$37,322.56

MARKANOVICH LILA L

EMP NAME: MARKANOVICH, LILA
11077 SW 81 AV

TIGARD, OR 97223

1594800

10/15/2002

CORP
CORP

$67,758.28
$4,650.00
$72,408.28

MARKEY, PATRICK T

EMP NAME: MARKEY, PATRICK T
PO BOX 27273

HOUSTON, TX 77227-7273

1850301

10/15/2002

EGM LLC

$0.00

MARKS DUANE E

EMP NAME: MARKS, DUANE
1135SE 169

PORTLAND, OR 97233

1666102

10/15/2002

CORP

$80,000.00

MARKSBERRY PENNY

EMP NAME: MARKSBERRY, PENNY
2610 ANICE STREET

HOUSTON, TX 77039-0000

1730800

10/15/2002

CORP

$0.00

MARPE, CLYDE F.

EMP NAME: MARPE, CLYDE
3030 AMBER BAY LOOP
ANCHORAGE, AK 99515

1212800

10/11/2002

CORP

$103,182.00

MARQUARDT, DAVID A

EMP NAME: MARQUARDT, DAVID A (DAVE)
3202 SEASONS TRL

KINGWOOD, TX 77345-5480

1508901

10/15/2002

EESO.

$0.00 ©

MARQUES LEBINH

EMP NAME: MARQUES, LEBINH T
16426 CAMINO DEL SOL
HOUSTON, TX 77083

1477601

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

MARREEL D ROBERT

EMP NAME: MARREEL, ROBERT
18240 S.W, AUGUSTA LANE
ALOHA, OR 97006

1182502

10/11/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

“$89,400.00

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Exhibit A
Tittle Settlement Order

Filed on 07/14/05 in TXSD Page 199 of 353

. Date: 07/11/2005

Time: 8:06:00 PM

EMP NAME: MARTENS, DONNA F
7217 WOODRIVER DR
OMAHA, NE 68157-0000

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

MARSCHMAN, GENE 663402 10/07/2002 CORP *, $138,363.18 U
EMP NAME: MARSCHMAN, EUGENE

11222 SE HIGHLAND LOOP

CLACKAMAS, OR 97015

MARSH, ALAN C. 1452100 10/15/2002 CORP $0.00. U
EMP NAME: MARSH, ALAN C

5413 SYCAMORE DR CORP $0.00 P
DICKERSON, TX 77539 $0.00
MARSH, BRADLEY A 1248500 10/41/2002 CORP $392,000.00 U
EMP NAME: MARSH, BRADLEY

32789 SW LADD HILL RD

WILSONVILLE, OR 97070

MARSH JAMES W 1476102 10/15/2002 CORP $236,006.00 P
EMP NAME: MARSH, JAMES

1911 SE 158 ST

PORTLAND, OR 97233

MARSH KIM P 1780902 10/15/2002 CORP $140,230.00 U
EMP NAME: MARSH, KIM P :

1186 SENIOR CORP $0.00 P
DICKINSON, ND 58601-0000 $140,230.00
MARSHALL KAREN D 418801 09/11/2002 CORP "$20,000.00 Pp
EMP NAME: MARSHALL, KAREN D s

4022 CHARLESTON

HOUSTON, TX 77021-0000

MARSHALL, KEVIN J 1811602 10/15/2002 CORP $216,523.00 P
EMP NAME: MARSHALL, KEVIN

33904 SEVEN OAKS DR

SCAPPOOSE, OR 97056

MARSICANO JR 2031400 10/15/2002 CORP $1,950.00 U
EMP NAME: MARSICANO, JR (REEDY)

14216 RECUERDO DRIVE CORP $4,650.00 P
DEL MAR, CA 92014 $6,600.00
MARSTON CHRISTOPHER 1663800 10/15/2002 CORP $344,000.00 U
EMP NAME: MARSTON, CHRISTOPHER

78730 MILLER RD
_BOARDMAN, OR 97818

MARTE TIMOTHY J 1826903 10/15/2002 CORP . $21,123.07 P
EMP NAME: MARTE, TIMOTHY J EEIS, INC Pp
818 KYLE CHASE COURT ’

SPRING, TX 77373-0000

MARTENS, DONNA F 2007000 10/16/2002 CORP $1,831,063.10 U-

* Classification: S=Secured;.P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

MARTIN ARVEL G

EMP NAME: MARTIN, ARVEL G
1945 W BELL #305

HOUSTON, TX 77019-0000

Claim
Number

1137104

Document 1005-1

. Date
Filed

Exhibit A
Tittle Settlernent Order

10/11/2002

Debtors

Objected To
Amount

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cc*

ENA
ENA

$0.00
$0.00
$0.00

Date: 07/11/2005
Time: 8:06:00 PM

MARTIN BRUCE A

EMP NAME: MARTIN, BRUCE A

7 CROSS LAKE DRIVE

THE WOODLANDS, TX 77382-0000

1515802

10/15/2002

CORP

$564,486.67

MARTIN CARLA LYNN

EMP NAME: MARTIN, CARLA L
15455 POINTNW BLVD., APT #806
HOUSTON, TX 78095

326300

08/29/2002

CORP

$2,468.75

MARTIN DONALD G

EMP NAME: MARTIN, DONALD G
251 ISLES END RD.

TIKLISLAND, TX 77554-0000

937303

10/11/2002

CORP

$1,347,073.89

MARTIN LARRY G .
EMP NAME: MARTIN, LARRY
1624 WESTSIDE HY

KELSO, WA 98626

1478200

10/15/2002

CORP

$192,000.00

MARTIN ROBERT

EMP NAME: MARTIN, ROBERT
9720 NW 4 CT

VANCOUVER, WA 98665-0000

338602

08/30/2002

CORP

$4,737.24

MARTIN, THOMAS A.

EMP NAME: MARTIN, THOMAS A (TOM)
7910 TIZERTON COURT

SPRING, TX 77379

1798707

10/15/2002

ENA
ENA

$0.00
$0.00
$0.00

MARTIN, THOMAS A

EMP NAME: MARTIN, THOMAS A (TOM)
7910 TIZERTON COURT

SPRING, TX 77379

1809700

10/15/2002

CORP

$0.00

MARTINEZ BLANCA F

EMP NAME: MARTINEZ. BLANCA F
11539 POPLARWOOD DR.
HOUSTON, TX 77089-0000

883802

10/10/2002

CORP

$10,000.00

MARTINEZ DANNY N

EMP NAME: MARTINEZ, DANNY
21710 SW LOIS ST

ALOHA, OR 97006

1475500

10/15/2002

CORP

$208,000.00

MARTINEZ, GERONIMO H

EMP NAME: MARTINEZ, GERONIMO
3075 SW 185

ALOHA, OR 97006

1727700

10/15/2002

CORP

$258,040.00

MARTINEZ, HECTOR R.

EMP NAME: MARTINEZ, HECTOR
PO BOX 131

SAINT PAUL, OR 97137

1152500

10/11/2002

CORP

$118,748.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

MARTINEZ JAY V

EMP NAME: MARTINEZ, JAY
33560 SLAVENS RD
WARREN, OR 97053

Claim
Number

1630800

Document 1005-1

Date
Filed

10/15/2002

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD_—— Page 201 of 353.

cc*

CORP

$101,380.00 -

Date: 07/11/2005
Time: 8:06:00 PM

MARTINEZ JENNIFER W

EMP NAME: MARTINEZ, JENNIFER W
2710 WESTGROVE

HOUSTON, TX 77027-0000

1818003

10/15/2002

EES, INC.

$11,319.00

MARTINEZ JOHN H

EMP NAME: MARTINEZ, JOHN
1750 SW 218

ALOHA, OR 97005

889202

10/10/2002

CORP

$218,640.00

MARTINEZ, MARY G.

EMP NAME: MARTINEZ, MARY G
5506 W. BELLFORT

HOUSTON, TX 77035

1206001

10/11/2002

CORP

$0.00"

MARTINEZ, ROBERT

EMP NAME: MARTINEZ, ROBERT
P.O. BOX 297

SAINT PAUL, OR 97137

2045500

10/17/2002

CORP

$3,760.00

MASON DARREL D

EMP NAME: MASON, DARREL D
4422 FAIRGATE DR

MIDLAND, TX 797074316

423200

09/12/2002

CORP

$255,457.00

MASON LANE F

EMP NAME: MASON. LANE
24025 SE HY 212

BORING, OR 97009

1674800

10/15/2002

CORP

$452,461.28

MASSER FRANK

EMP NAME: MASSER, FRANK
3977 SHANIKO CT SE
SALEM, OR 97302

1184900

10/11/2002

CORP

$143,920.00

MASTERS SANDRA K

EMP NAME: MASTERS, SANDRA
6199 SE MCNARY RD
MILWAUKIE, OR 97267

960700

10/11/2002

CORP

$147,920.00

MASTRANGELO LINO

EMP NAME; MASTRANGELO, LINO
2772 VIOLET ST

NORTH VANCOUVER, BC V7H 2L6
CANADA

537803

09/26/2002

EESO

$2,379.25

MATA MARIA J

EMP NAME: MATA, MARIA J (JESSIE)
3607 WILD BERRY COURT

KATY, TX 77449-0000

1174402

10/11/2002

CORP

$3,615.37

MATCHAVARIANI, BESSIK

EMP NAME: MATCHAVARIANI, BESSIK
PO BOX 9135

NORTH MYRTLE BEACH, SC 29582

1669902

10/15/2002

CORP

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

$54,630.00

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Exhibit A
Tittle Settlement Order

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. Date: 07/11/2005

Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

MATHENIA, KEITH E 4957102 10/15/2002 CORP $7,801.85 U

EMP NAME: MATHENIA, KEITH E

20338 LONG CYPRESS DR.

SPRING, TX 77388-0000

MATHESON MAGDALENA 1543805 10/15/2002 CORP $0.00 U

EMP NAME: MATHESON, MAGDALENA (MAGGIE)

1823 PEBBLE HILL CT CORP $0.00 P

SUGAR LAND, TX 77478-0000 $0.00

MATHEWS, THOMAS A. 1705502 10/15/2002 CORP $450,560.00 U

EMP NAME: MATHEWS, THOMAS

2150 SW CHILDS RD

LAKE OSWEGO, OR 97034

MATHIS, ALVIN G 2122900 10/25/2002 CORP $160,000.00 U

EMP NAME: MATHIS, ALVIN

81357 ALPINE DR

HERMISTON, OR 97838

MATTHEWS, JACQUELYN 1451200 10/15/2002 CORP $0.00 U

EMP NAME: MATTHEWS, JACQUELYN ,

1026 TWISTED ELM CT CORP $0.00 P

HOUSTON, TX 770382439 $0.00

MATTHEWS, KAREN K. 658500 10/07/2002 CORP $41,103.20 P

EMP NAME: MATTHEWS, KAREN

6803 SE 22ND

PORTLAND, OR 97202

MATTHEWS, RONALD L. 1560403 10/15/2002 CORP $0.00 U

EMP NAME: MATTHEWS, RONALD L

8210 KNURLED OAK LANE CORP $0.00 P

SPRING, TX 77379-3963 $0.00

MATTISON, BRAD G. 1580600 - 10/15/2002 CORP $50,000.00 P

EMP NAME: MATTISON, BRAD

404 LAKEWOOD CT. S.E.

CASTLE ROCK, WA 98611

MATTISON, DAVID L 847900 10/10/2002 CORP $204,275.96 P

EMP NAME: MATTISON, DAVID

1265 BARNICK RD NE

SALEM, OR 97303

MATTSON, ANNETTE L 2088402 10/18/2002 CORP . $172,240.00 U

EMP NAME: MATTSON, ANNETTE

12045 SE FOSTER PL

PORTLAND, OR 97266

MAXEY, R. DAVIS 1393002 10/15/2002 CORP $15,150.00 U

EMP NAME: MAXEY, R. DAVIS (DAVE)
PO BOX 272205
HOUSTON, TX 77277-2205

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in. TXSD Page 203 of 353

Claimant

MAY CHARLES O

EMP NAME: MAY, CHARLES O (CHARLIE) @
16902 C. R. 1440

WOLFFORTH. TX 79382-0000

Claim
Number

1827300

Date
Filed

10/15/2002

Tittle Settlement Order

Debtors

Objected To
Amount

cc*

CORP
CORP

$0.00
$0.00
$0.00

Date: = 07/11/2005

Time: 8:06:00 PM

MAY KEVIN L

EMP NAME: MAY, KEVIN L
3826 WOODLACE
HUMBLE, TX 77396-0000

1757202

10/15/2002

CORP

$36,945.00

MAY, LAWRENCE J.

EMP NAME: MAY, LAWRENCE J (LARRY)
8139 WYCOMB

HOUSTON, TX 77070

1914408

10/15/2002

CORP

$0.00

MAY LEWIS M

EMP NAME: MAY, LEWIS M

50 W. BRACEBRIDGE CIRCLE
THE WOODLANDS, TX 77382-0000

719103

10/08/2002

CORP

$549,227.78

MAY MARLENE E

EMP NAME: MAY, MARLENE
33 RONAN ST
BINGHAMTON, NY 13901

773500

10/09/2002

CORP
CORP

$0.00
$2,036.81
$2,036.81

MAY, MARTY J

EMP NAME: MAY, MARTY
20321 S ATHENS RD
OREGON CITY, OR 97045

1608700

10/15/2002

CORP

$200,000.00

MAY MICHELLE M

EMP NAME: MAY, MICHELLE M (SHELLY)
3826 WOODLACE DR

HUMBLE, TX 77396-0000

1757100

10/15/2002

CORP

$23,915.70

MAY WILLIAM A

EMP NAME: MAY, WILLIAM
13375 SW HOWARD DR
TIGARD, OR 97223

1645902

10/15/2002

CORP

$166,353.75

MAYEUX, GAY STANLEY
EMP NAME: MAYEUX, GAY S$
551 COLLEGE STREET
BELLAIRE, TX 77401

828102

10/10/2002

EESO

$0.00

MAYEUX, GAY STANLEY
EMP NAME: MAYEUX, GAY S
551 COLLEGE STREET
BELLAIRE, TX 77401

828105

10/40/2002

EESO

$0.00

MAYNARD ALVIN D

EMP NAME: MAYNARD, ALVIN
4919 SE NAEF ROAD
PORTLAND, OR 97222

1627800

10/45/2002

CORP

$310,000.00

MAYSE, ROBERT H

EMP NAME: MAYSE, ROBERT H

P O BOX 905

FREDERICKSBURG, TX 78624-0905

883200

10/10/2002

CORP

$906,695.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD —— Page 204 of 353

Claimant

MCADAMS, ANNE PACE

EMP NAME: MCADAMS, E. A
(MAIDEN NAME: ELIZABETH ANNE PACE) @
534 S. 3RD ST.

BELLAIRE, TX 77401

Claim
Number

1750401

Exhibit A
Tittle Settlement Order

Date
Filed

10/15/2002

Debtors

Objected To
Amount

cc

CORP

$238,323.00

Date: 07/11/2005
Time: 8:06:00 PM

MCANDREW RICK W

EMP NAME: MCANDREW, RICK
708 E MAIN

HERMISTON, OR 97838

571600

09/23/2002

CORP

$263,114.10

MCANTIRE, PATRICK J

EMP NAME: MCANTIRE, PATRICK J (PAT)
PO BOX 533

WELLSBURG, IA 506800533

1712102

10/15/2002.

CORP

$13,426.25

MCARTHUR JOE A

EMP NAME: MCARTHUR, JOE
814 NW DARNIELLE ST
HILLSBORO, OR 97124

902300

10/10/2002

CORP

$350,000.00

MCBREEN-MCKENZIE DEBORAH M

EMP NAME: MCBREEN-MCKENZIE, DEBORAH
11452 SW SHROPE CT

TIGARD, OR 97223

784800

10/09/2002

CORP

$79,520.00

MCBRIDE GEORGE R.

EMP NAME: MCBRIDE, GEORGE R
7215 N DRYFORK SETTLMNT
VERNAL, UT 84078

540500

09/30/2002

CORP

$1,008,800.00

MCCALL, PATRICIA A.

EMP NAME: MCCALL, PATRICIA A
12318 VALLEY HILLS DRIVE
HOUSTON, TX 77071-3018

1514102

10/15/2002

CORP

$0.00

MCCALLISTER CONNIE

EMP NAME: MCCALLISTER, CONNIE (DEAN)
BOX 102

WINK, TX 79789-0000

678901

10/07/2002

CORP

$0.00

MCCARRAN PENELOPE

EMP NAME: MCCARRAN, PENELOPE (PENNY)
P.O. BOX 1728

BELLAIRE, TX 77402-0000

1146503

10/1 1/2002

CORP

$690,754.00

MCCARTHY ELIZABETH

EMP NAME: MCCARTHY, ELIZABETH
39 CRESTVIEW DR

MILLIS, MA 02054 1333

463502

09/16/2002

CORP

$1,597.64

MCCARTHY, LISA

EMP NAME: MCCARTHY, LISA
3114 SE BIRCH AVE
MILWAUKIE, OR 97267

1217700

10/11/2002

CORP

$32,000.00

MCCARTNEY CHARLES

EMP NAME: MCCARTNEY, CHARLES
60007 W HILL RD

ST HELENS, OR 97051

1674300

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$320,000.00

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Claimant

Claim
Number

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

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cc*

. Date: 07/11/2005

Time: 8:06:00 PM

MCCARVER JERRY M

EMP NAME: MCCARVER, JERRY M
301 NW 10TH

ANDREWS, TX 79714-0000

1462601

10/15/2002

CORP

$15,799.28

MCCAULEY, DAMON S.

EMP NAME: MCCAULEY, DAMON
8980 S.W. LESLIE ST.
PORTLAND, OR 97223

1916902

10/15/2002

CORP

$266,665.00

MCCHANE ROBERT S

EMP NAME: MCCHANE, ROBERT S
2715 RIVER BEND WAY
KINGWOOD, TX 77345-0000

1911400

10/15/2002

GORP

$766,000.00

MCCLURE, MARK D

EMP NAME: MCCLURE, MARK D
P.O. BOX 270154

HOUSTON, TX 77277-0154

1726102

10/15/2002

ENA

$60,000.00

MCCONNELL, JOSEPH

EMP NAME: MCCONNELL, JOSEPH
PO BOx 1011

CLATSKANIE, OR 97016

654002

70/07/2002

CORP

$190,000.00

MCCONNELL MICHAEL S

EMP NAME: MCCONNELL, MICHAEL S (MIKE)
50 LAKE STERLING GATE DR

SPRING, TX 773797204

1803101

10/15/2002

CORP

$165,761.13

MCCOPPIN DOROTHY L

EMP NAME: MCCOPPIN, DOROTHY L
3521 UNIVERSITY BLVD.

HOUSTON, TX 77005-3357

1938203

10/15/2002

UNKNOWN

- $160,392.68

MCCRACKEN, JOHN M.

EMP NAME: MCCRACKEN, JOHN M (MIKE)
3108 DETTA LOOP

ROSWELL, NM 88201

1240601

10/11/2002

CORP

$0.00

MCCULLOUGH MICHAEL

EMP NAME: MCCULLOUGH, MICHAEL (MIKE)
13309 DOUGLAS PKWY

URBANDALE, IA 503232401

1833700

10/15/2002

CORP

$1,071,120.00

MCCULLOUGH TRAVIS C

EMP NAME: MCCULLOUGH, TRAVIS C
416 HAWTHORNE ST

HOUSTON, TX 77006-0000

1893004

10/15/2002

CORP
CORP

$0.00

$0.00
$0.00

MCCULLUM JEANETTE

EMP NAME: MCCULLUM, JEANETTE
13952 VENICE CT

OREGON CITY, OR 970458075

1164600

10/14/2002

CORP

$7,520.00

MCCURDY, EDWARD G.

EMP NAME: MCCURDY, EDWARD G
PO BOX 21291

BAKERSFIELD, CA 93390-1291

1690000

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$0.00
$0.00
$0.00

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Claimant

Claim
Number

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD Page 206 of 353

cc*

Date: 07/11/2005
Time: 8:06:00 PM

MCCURDY RANDALL

EMP NAME: MCCURDY, RANDALL (RANDY)
309 HICKORY GLEN

GRIMES, IA 50111-0000

1157803

10/11/2002

CORP

*. $426,471.26

MCDANIEL, KIRK A

EMP NAME: MCDANIEL, KIRK A
897 WILLIAM BLVD.
RIDGELAND, MS 39157

2017602

10/16/2002

EESNA, INC
EES, INC
EES, LLC
ENA

$24,500.00

ccce

MCDONOUGH MICHAEL S

EMP NAME: MCDONOUGH, MICHAEL
PO BOX 1632

HERMISTON, OR 97838

836702

10/10/2002

CORP

$53,085.18

MCDOWALL DOUGLAS L

EMP NAME: MCDOWALL, DOUGLAS
PO BOX 311

RAINIER, OR 97048

1777800

10/15/2002

CORP

$89,642.58

MCDOWALL YOLONDA L

EMP NAME: MCDOWALL, YOLONDA
P O BOX368

RAINIER, OR 97048

1778100

10/15/2002

CORP

$138,965.77

MCELLIN DAVID A

EMP NAME: MCELLIN, DAVID A
17831 SHADY ARBOR WAY
SPRING, TX 77379-2927

831602

10/10/2002

CORP
CORP

$624,909.40
$2,857.32
$627,766.72

MCFALL MICHAEL J

EMP NAME: MCFALL, MICHAEL
11486 S MULINO RD

CANBY, OR 97013

718200

10/08/2002

CORP

$232,800.00

MCFARLAND DOUGLAS A

EMP NAME: MCFARLAND, DOUGLAS
1091 S GRANT CT

CANBY, OR 97013

856400

10/10/2002

CORP

$161,760.00

MCGOWAN MICHAEL W

EMP NAME: MCGOWAN, MICHAEL W (MIKE)
15726 FARNAM ST

OMAHA, NE 68118-0000

1987800

10/15/2002

CORP

$430,615.13

MCGREGOR, DONNA M.

EMP NAME: MCGREGOR, DONNA M
3210 MARYFIELD LN

PEARLAND, TX 77581

1824400

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

MCGUIRE, JAMES P.

EMP NAME: MCGUIRE, JAMES
1714 ASH ST.

FOREST GROVE, OR 97116

1177700

10/11/2002

CORP

$50,000.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; 7 = Undetermined

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Case 4:01-cv-03913

Claimant

MCILWAIN, GREG

EMP NAME: MCILWAIN, GREGORY G

3211 N WASHINGTON @
ROSWELL, NM 88201

Claim
Number

1240801

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/11/2002

Debtors

Filed on 07/14/05 in TXSD__— Page 207 of 353

Date: 07/11/2005
Time: 8:06:00 PM

CORP

MCINTOSH, JAMES L.

EMP NAME: MCINTOSH, JAMES
16477 S. APPERSON BLVD.
OREGON CITY, OR 97045

2101800

10/23/2002

CORP

$6,600.00 U

MCKAY D JONATHAN

EMP NAME: MCKAY, JONATHAN
3000 BISSONNET # 4302
HOUSTON, TX 77005

1458104

10/15/2002

CORP
CORP
CORP

$0.00 U
$0.00
$0.00 A
$0.00

vv

MCKEAN, GEORGE

EMP NAME: MCKEAN, GEORGE
517 LANE CREST

HOUSTON, TX 77024

2017303

10/46/2002

CORP

$0.00 U

MCKEIGHAN TERRANCE J

EMP NAME: MCKEIGHAN, TERRANCE
21457 SW CHRISTENSEN CT
TUALATIN, OR 97062

4150302

10/11/2002

CORP

$256,748.00 P

MCKENZIE DOUGLAS G

EMP NAME: MCKENZIE, DOUGLAS
11452 SW SHROPE CT

TIGARD, OR 97223

784900

10/09/2002

CORP

$58,400.00 U

MCKILLOP, GORDON

EMP NAME: MCKILLOP, GORDON
4818 NATURAL BRIDGE DR
KINGWOOD. TX 77345-0000

2017203

10/16/2002

CORP

$0.00 U

MCKONE, LEO T

EMP NAME: MCKONE, LEO T (TIM)
4902 BELLVIEW

BELLAIRE, TX 77401-0000

1519602

10/15/2002

CORP
CORP

$8,745.00 U
$0.00 P
$8,745.00

MCMAHEN MONTY L

EMP NAME: MCMAHEN, MONTY L
1043 N EDGEFIELD AVE

DALLAS, TX 752083622

1142904

10/11/2002

CORP

$7,828.50 U

MCMICHAEL RICHARD B

EMP NAME: MCMICHAEL, RICHARD B (RICK)
158 BENT CREEK

HATTIESBURG, MS 39402

930702

10/11/2002

CORP

$47,284.90 U

MCMURRAY, STEPHANIE

EMP NAME: MCMURRAY, STEPHANIE L
P.O. BOX 441524

HOUSTON, TX 77244

1601000

10/15/2002

CORP

$0.00 P

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

MCPEAK, SANDRA CAROL
EMP NAME: MCPEAK, SANDRA
3905 NE 68TH AVE

PORTLAND, OR 97213

Claim
Number

1941300

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

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cc*

CORP
CORP

$156,750.35
$0.00
$156,750.35

. Date:
Time:

07/11/2005
8:06:00 PM

MCSHANE DAVID J

EMP NAME: MCSHANE, DAVID J
3025 MANCHESTER ST
BISMARCK, ND 58504-0000

485103

09/20/2002

CORP

$124,105.72

MCSPADDEN, CAROL

EMP NAME: MCSPADDEN, CAROL
1126 FOUNTAIN VIEW

HOUSTON, TX 77057-0000

1750802

10/15/2002

CORP

$701,746.00

MCVICKER MAUREEN R

EMP NAME: MCVICKER, MAUREEN R
17411 PATRICIA AVE

MONTAGUE, CA 96064

1745003

10/15/2002

CORP

$26,871.00

MEAD, DONALD T.

EMP NAME: MEAD, DONALD
1714 NW MIDLAKE LN
BEAVERTON, OR 97006

700000

10/07/2002

CORP

$297,294.64

MEADE SUSAN M

EMP NAME: MEADE, SUSAN
PO BOX 177

GLADSTONE, OR 970270177

1194202

10/11/2002

CORP

$7,680.00

MECKNA ROBERT D

EMP NAME: MECKNA, ROBERT D
17107 OAK DALE DRIVE

SPRING, TX 77379-0000

439203

09/16/2002

CORP

$599,363.46

MEDELES JERARDO

EMP NAME: MEDELES, JERARDO (GERRY)
1105 GROSS STREET

HOUSTON, TX 77019-0000

1951201

10/15/2002

CORP

$0.00

MEEK THOMAS O

EMP NAME: MEEK, THOMAS
PO BOX 875

RAINIER, OR 970480875

1756002

10/15/2002

" CORP

$495,840.00

MEEKS, RODNEY

EMP NAME: MEEKS, RODNEY
3671 W SWEET GUM ST
SPRING, TX 77388

2260400

10/21/2003

CORP

CORP

$3,350.00 -

$4,650.00
$8,000.00

MEERS THOMAS A

EMP NAME: MEERS, THOMAS A (TOM)
5910 ASHMERE LANE

SPRING, TX 77379

1562703

10/15/2002

CORP

$566,133.49

MEEUWSEN, DANIEL

EMP NAME: MEEUWSEN, DANIEL
1347 N GRANT ST

CANBY, OR 970132819

1606000

10/15/2002

CORP

' $281,680.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

Case 4:01-cv-03913

Claim
Number

MEIER LISAG

EMP NAME: MEIER, LISA G
7310 S 20TH ST

LINCOLN, NE 68512-0000

2142102

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/30/2002

Debtors

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Objected To CCt
Amount

CORP

_ $253,279.00 U

- Date:

Time:

07/11/2005
8:06:00 PM

MEIER NANCY M

EMP NAME: MEIER, NANCY
25425 SW WOLSBORN AV
HILLSBORO, OR 97123

932802

10/11/2002

CORP

$147,032.16 P

MEIER RODD A

EMP NAME: MEIER, RODD
20831 SE FIRWOOD RD
SANDY, OR 97055

634600

10/04/2002

CORP

$140,792.08 P

MEISCHEN LILLIE M

EMP NAME: MEISCHEN, LILLIE M
3110 MONA LEE LANE
HOUSTON, TX 77080

397900
(LIL)

09/09/2002

CORP

$521,391.00 P

MELBY JOHN H.

EMP NAME: MELBY, JOHN H
8169 PIERSON CT

ARVADA, CO 80005

1154600

10/11/2002

CORP

$481,098.00 U

MELCHER DALLAS

EMP NAME: MELCHER, DALLAS
12635 CHECKERBOARD RD NE
GERVAIS, OR 97026

1766700

10/15/2002

CORP

$207,276.00 U

MELENDREZ JESUS

EMP NAME; MELENDREZ, JESUS
5301 POCAHONTAS ST
BELLAIRE, TX 77401-4822

1649601

10/45/2002

CORP

$0.00 U

MELLGREN, CRAIG A

EMP NAME: MELLGREN, CRAIG
345 SW MADISON

SHERIDAN, OR 97378

845100

10/10/2002

CORP

$239,554.00 P

MELZER, LARRY W

EMP NAME: MELZER, LARRY
5407 SW NEBRASKA
PORTLAND, OR 97221

1225002

10/11/2002

CORP

$179,560.00 P

MENDEZ, ANGELA M

EMP NAME: MENDEZ, ANGELA M
927 PARK WIND DRIVE

KATY, TX 77450-3921

2068500

10/21/2002

CORP

“$0.00 U

MENDOZA ROGER E

EMP NAME: MENDOZA, ROGER
26236 S MORGAN ROAD
ESTACADA, OR 97023

660700

10/07/2002

CORP

$48,400.00 U

MENDOZA SALOME

EMP NAME: MENDOZA, SALOME
POB 189

SAINT PAUL, OR 97137

1163400

10/11/2002

CORP

‘$13,662.08 P

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

MERAZ CLAUDIA

EMP NAME: MERAZ, CLAUDIA
6414 BRADY

HOUSTON, TX 77011-0000

Claim
Number

859201

Document 1005-1

Exhibit A
Tittle Settlement Order

Date
Filed

10/10/2002

Debtors

Objected To
Amount

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cc*

ENA

$514.24

Date: = 07/11/2005
Time: 8:06:00 PM

MERCALDO VERNON M

EMP NAME: MERCALDO, VERNON M
7310 IRONWOOD LANE

BAYTOWN, TX 77521-0000

1154502

10/11/2002

CORP

$322,903.36

MERRIMAN, DAVID T.

EMP NAME: MERRIMAN, DAVID
22115 SW MARTINAZZI AVE
TUALATIN, OR 97062

1707900

10/15/2002

CORP

$162,880.00

MERRITT CURTIS L

EMP NAME: MERRITT, CURTIS L
713 SEVENTH AVENUE
LUMBERTON, MS 39455-0000

469602

09/18/2002

CORP

$224,357.84

MERRITT, JEREMY H

EMP NAME: MERRITT, JEREMY H
11119 TIMBERTREE LN.
HOUSTON, TX 77070-0000

849402

40/10/2002

CORP

$4,569.36

MERRITT RICHARD

EMP NAME: MERRITT, RICHARD
11452 207TH AVE

ANAMOSA, IA 52205

365000

09/03/2002

CORP

$43,797.02

MERTZ, THOMAS A

EMP NAME: MERTZ, THOMAS A (TOM)
9901 SO. 173 CL

OMAHA, NA 68136

1492100

10/15/2002

CORP

MERWIN CHERIE A

EMP NAME: MERWIN, CHERIE
17851 BOONES FERRY RD NE
HUBBARD, OR 97032

1191302

10/11/2002

CORP

$171,786.64

METROKE, MICHAEL J.

EMP NAME: METROKE, MICHAEL
6245 S.W. DOLPH DRIVE
PORTLAND, OR 97219

927800

10/11/2002

CORP

$720,000.00

METTEER KRISTIN N

EMP NAME: METTEER, KRISTIN
7749 SW ROANOKE DRG
WILSONVILLE, OR 970706617

2043002

10/17/2002

CORP

$5,648.10

METZ, CRISTAL G.

EMP NAME: METZ, CRISTAL
18950 CATHY ADAMS DR.
OREGON CITY, OR 97045

859002

10/10/2002

CORP

$253,015.74

METZSCH, LYNNE.

EMP NAME: METZSCH, LYNN E
3328 NORTH 124 ST

OMAHA, NE 68164

1489902

10/15/2002

~ CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

MEYER, JAMES

EMP NAME: MEYER, JAMES
111 MEG'S LANE

SALTILLO, MS 38866-0000

Claim
Number

1249400

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/11/2002

Debtors

Objected To
Amount

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cc

CORP

$0.00

Date:
Time:

07/11/2005
8:06:00 PM

MEYER LISA M

EMP NAME: MEYER, LISA M
2006 HULDY

HOUSTON, TX 77019

1523600

10/15/2002

CORP

$85,930.56

MEYERS, STEVEN R

EMP NAME: MEYERS, STEVEN R
4500 SPANISH OAK TRAIL
AUSTIN, TX 78731

1853000

10/15/2002

CORP

$0.00

MEYERS, THOMAS D

EMP NAME: MEYERS, THOMAS
740 MT ADAMS

BOARDMAN, OR 97818

1710600

10/15/2002

CORP

$360,292.00

MEYERSON DARIN J

EMP NAME: MEYERSON, DARIN J
1420 COOK STREET

HOUSTON, TX 77006-0000

1948303

10/15/2002

EESO

$0.00

MIANI, CYNTHIA A

EMP NAME: MIANI, CYNTHIA
2940 SW 120

BEAVERTON, OR 97005

655000

10/07/2002

CORP

$139,753.15

MICHAEL DENNIS L

EMP NAME: MICHAEL, DENNIS
6400 SE JORDAN

MILWAUKIE, OR 97267

1728700

10/15/2002

CORP

$242,416.80

MICHAELIS MARLISA L

EMP NAME: MICHAELIS, MARLISA
19278 CARMELITA DR

OREGON CITY, OR 97045

1196000

10/11/2002

CORP

$131,563.04

MICHAELIS SANDI

EMP NAME: MICHAELIS, SAND!
3146 SE 77 AV

PORTLAND, OR 97206

1180200

10/4 1/2002

CORP

$115,165.28

MICHALS, LLYLWYN T.

EMP NAME: MICHALS, WYN T
13206 MISSION VALLEY
HOUSTON, TX 77069

1724301

10/15/2002

CORP

$0.00

MICHEK KIM

EMP NAME; MICHEK, KIM
5923 SE IRIS CT
MILWAUKIE, OR 97267

894302

10/10/2002

CORP

$207,280.00

MICHELMAN MARK L

EMP NAME: MICHELMAN, MARK L
1522 A GREGG STREET
PHILADELPHIA, PA 19115-0000

794502

10/09/2002

“CORP

$37,180.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

MIGALA PAUL J

EMP NAME: MIGALA, PAUL J
P.O. BOX O

SIMONTON, TX 774761015

Claim
Number

720601

Document 1005-1

Tittle Settlement Order

Date
Filed

10/08/2002

Filed on 07/14/05 in TXSD Page 212 of 353

Exhibit A

Debtors

Objected To
Amount

cc*

CORP

$80,229.40

Date: 07/11/2005
Time: 8:06:00 PM

MIGDEN-OSTRANDER JANINE L

EMP NAME: MIGDEN-OSTRANDER, JANINE L

1415 INGLIS AVE
COLUMBUS, OH 43212-0000

2190403

10/15/2002

CORP

$19,529.42

MIHELICH JOSEPH

EMP NAME: MIHELICH, JOSEPH
* 184 SOUTH RIVER STREET
UNIT A
SAINT HELENS, OR 97051

1764803

10/15/2002

CORP

$476,103.83

MIKOLAITIS, MICHAEL E

EMP NAME: MIKOLAITIS, MICHAEL
4084 COLTS FOOT LN

LAKE OSWEGO, OR 97035

847202

10/10/2002

CORP

$151,404.59

MIKULIN, DANIEL B.

EMP NAME: MIKULIN, DANIEL B (BRUCE)
200 £ REPUBLIC ST

BAYTOWN, TX 77520

936600

10/11/2002

CORP
CORP

$660.00
$4,650.00
$5,310.00

MILANO, MARK

EMP NAME: MILANO, MARK R
MILANO

2257 BAY VIEW DR

SIGNAL HILL, CA 907553777

2204900

11/21/2002

CORP

$737,058.39

MILASHOUSKAS CARMEN R

EMP NAME: MILASHOUSKAS, CARMEN
11401 SE BETHANY DR.

HAPPY VALLEY, OR 97236

903700

10/10/2002

CORP

$350,720.00

MILLAN SUE A

EMP NAME: MILLAN, SUE A (ALLISON)
13722 PERTHSHIRE

HOUSTON, TX 77079-0000

1489800

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

ROBINSON ADEL M

EMP NAME: MILLER, ADEL M
4601 W MCGAFFEY ST
ROSWELL, NM 88203

1985900

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

MILLER BRANDY S

EMP NAME: MILLER, BRANDY
1865 NE ROBERTS AVE
GRESHAM, OR 970302729

1667400

10/15/2002

CORP

$130,553.33

MILLER BRIAN

EMP NAME: MILLER, BRIAN
4521 SE COTTONWOOD CR
MILWAUKIE, OR 97267

1618000

10/15/2002

CORP

$212,400.00

“ Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

Case 4:01-cv-03913

Claim
Number

MILLER BRIAN
EMP NAME: MILLER, BRIAN
54 S ACACIA PARK CIR

THE WOODLANDS, TX 77382-0000

1895503

Document 1005-1

Tittle Settlement Order

Date
Filed

10/15/2002

Filed on 07/14/05 in TXSD_— Page 213 of 353

Exhibit A

Debtors

EESNA, INC

Date:
Time:

07/11/2005
8:06:00 PM

MILLER DAWN M

EMP NAME: MILLER, DAWN
105 SE GINSENG DR
ESTACADA, OR 97023

888800

10/10/2002

CORP

$15,469.04

MILLER DEAN E

EMP NAME: MILLER, DEAN
105 SE GINSENG DR
ESTACADA, OR 97023

889000

10/10/2002

CORP

$93,450.64

MILLER, FRED D.

EMP NAME: MILLER, FRED
3131 S.W. FAIRMONT BLVD
PORTLAND, OR 97239

739604

10/08/2002

CORP

$225,000.00

MILLER, JOHN M.

EMP NAME: MILLER, JOHN
6809 SE BROOKLYN
PORTLAND, OR 97206

1185600

10/11/2002

CORP

$13,600.00

MILLER JOHN

EMP NAME: MILLER, JOHN
2700 SE CHANDLER AV
TROUTDALE, OR 97060

1186400

10/11/2002

CORP

$81,680.00

MILLER, KEVIN M.

EMP NAME: MILLER, KEVIN M
20315 CANNABERRY WAY
SPRING, TX 77388

1507503

10/15/2002

CORP

MILLER LAURIE MIKSCH

EMP NAME: MILLER, LAURIE M
1422 THORNTON RD
HOUSTON, TX 77018-0000

1943502

10/15/2002

CORP

* $20,672.00

MILLER LINDA

EMP NAME: MILLER. LINDA
16769 SW JORDAN WAY
TIGARD, OR 97224

840703

10/10/2002

CORP

$4,920.00

MILLER LINDA M

EMP NAME: MILLER, LINDA
16769 SW JORDAN WAY
TIGARD, OR 97224

840802

10/10/2002

CORP

$68,286.59

MILLER MARY

EMP NAME: MILLER, MARY
6809 SE BROOKLYN
PORTLAND, OR 97206

1185800

10/11/2002

CORP

$251,088.00

MILLER MARY KAY

EMP NAME: MILLER, MARY KAY
12804 EAGLE RUN DR

OMAHA, NE 68164-0000

1622903

10/15/2002

“CORP

$2,730,611.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD_— Page 214 of 353

Claimant . Claim
Number

MILLER, MICHAEL JEFFREY 1533600

EMP NAME: MILLER, MICHAEL J
1739 HAROLD STREET e
HOUSTON, TX 77098

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

CORP

Date: 07/11/2005
Time: 8:06:00 PM

MILLER MICHAEL L 1627903
EMP NAME: MILLER, MICHAEL L

39 FERNGLEN DR

THE WOODLANDS, TX 773801557

10/15/2002

EGM LLC

$0.00 U

MILLER, NANCY 1656600
EMP NAME: MILLER, NANCY

9775 SE WESTVIEW CT

PORTLAND, OR 97266

10/15/2002

CORP

$284,800.00 U

MILLER PHYLLIS R 1475301
EMP NAME: MILLER, PHYLLIS R

5620 N, 165TH STREET ~
OMAHA, NE 68116-0000

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

MILLER RANDALL J 735202
EMP NAME: MILLER, RANDALL J (RANDY)

40 POMMIER LN

GARVIN, MN 56132-9773

10/08/2002

CORP

$165,589.60 U

MILLER ROBERT F 1165400
EMP NAME: MILLER. ROBERT F

2702 RIDGELAND AVE

HOUSTON, TX 77039-0000

10/11/2002

CORP

$907,283.00 U

MILLER W. STEPHANIE 1777303
EMP NAME: MILLER, STEPHANIE W

1 VALLEY FORGE

HOUSTON, TX 77024

10/15/2002

CORP

$0.00 U’

MILLER SUSAN E . 1780602
EMP NAME: MILLER, SUSAN

1298 SW 176 TERRACE

BEAVERTON, OR 97006

10/15/2002

CORP

$17,470.16 U

MILLER THERESA R 2042200
EMP NAME: MILLER, THERESA

355 W EXETER

GLADSTONE, OR 97027

10/17/2002

CORP

$35,890.40 P

MILLIMAN, ALAN E. 1831801
EMP NAME: MILLIMAN, ALAN E

32767 BINGHAM RD

PEQUOT LAKES, MN 56472

10/15/2002

CORP

$62,728.40 U

MILLS CAROL 1728900
EMP NAME: MILLS, CAROL

1764 SE 27TH CT

GRESHAM, OR 970807263

10/15/2002

CORP

$182,228.88 U

MILLS, JOHN F. 2090400
EMP NAME: MILLS, JOHN

38165 S.E. COUPLAND RD.

ESTACADA, OR 97023

10/21/2002

“CORP

- $200,000.00 U

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

MILLS SCOTT R 2021502 10/16/2002 ENW LLC $0.00 U
EMP NAME: MILLS, SCOTT R 1

4613 MIMOSA ENW LLC 80.00 P
BELLAIRE, TX 77401-5815 $0.00

MINTZ JORDAN H 1452303 10/15/2002 CORP $0.00 U
EMP NAME: MINTZ, JORDAN H

3715 ELMORA STREET

HOUSTON, TX 77005-0000

MINYARD DALE KENNETH 1781900 10/15/2002 CORP $356,181.33 P
EMP NAME: MINYARD, KENNETH

1566 NE. 27TH TER

GRESHAM, OR 97030

MIRA TERESA B 1929202 10/15/2002 CORP $6,182.20 P
EMP NAME: MIRA, TERESA B

21219 OCEAN PARK LANE

KATY, TX 77449-0000

MIROBALLI ANGELO 1842701 10/15/2002 ENA $668.11 U
EMP NAME: MIROBALLI, ANGELO

4030 RAVEN RIVER

HOUSTON, TX 77059-0000

MIROBALLI YVETTE 1842602 10/15/2002 ENA $18,173.73 U
EMP NAME: MIROBALLI, YVETTE .
4030 RAVEN RIVER DR

HOUSTON, TX 77059-0000

MISCHEL L HENRY 1932300 10/15/2002 CORP $96,220.68 P
EMP NAME: MISCHEL, HENRY

4550 BIRCH BAY LYNDEN RD #F1122

BLAINE, WA 982309436

MISKA EDWARD P 783600 10/09/2002 "CORP $299,745.00 U
EMP NAME: MISKA, EDWARD

745 3ST

LAKE OSWEGO, OR 97034

MISSFELDT MICHELLE R 1730002 10/45/2002 CORP $202,400.00 U
EMP NAME: MISSFELDT, MICHELLE

10401 NW 13 PL

VANCOUVER, WA 98685

MITCHAM MICHAEL L 1552802 10/15/2002 CORP $0.00 P
EMP NAME: MITCHAM, MICHAEL L (MIKE)

1402 CRESCENT GREEN CT

HOUSTON, TX 77094-G000

MITCHELL GARY E 1945103 10/15/2002 CORP $0.00 U

EMP NAME: MITCHELL, GARY : .

5429 SW VIEWPOINT TERRACE a
PORTLAND, OR 97239

MITCHELL RM 1933802 10/15/2002 CORP $38,709.00 U
EMP NAME: MITCHELL, R MICHAEL

323 NE LINDSEY CT

HILLSBORO, OR 97124

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined . Page 185 of 300
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Claimant

MITCHELL TIA

EMP NAME: MITCHELL, TIA
5429 SW VIEW POINT TERRAC
PORTLAND, OR 97239

Claim
Number

1945703

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

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Arnount

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cc*

EBS, INC

$0.00

. Date: 07/11/2005

Time: 8:06:00 PM

MITCHEM DAVID L

EMP NAME: MITCHEM, DAVID
1727 FARMER RD SE
JEFFERSON, OR 97352

913700

10/11/2002

CORP

$47,920.00

MIX, ARNETT

EMP NAME: MIX, ARNETT
8124 SE LAKE RD

APT 33

MILWAUKIE, OR 97267

1503401

10/15/2002

EBS, INC

$20,000.00

MIXON R DARYL

EMP NAME: MIXON, R. D (R. DARYL)
108 RED BARN DR

CARENCRO, LA 70520-0000

1752400

10/15/2002

ETSC

$1,368,121.00

MOCH, CLYDE G

EMP NAME: MOCH, CLYDE G
BOX 51

LINTON, ND 58552-0000

1688902

10/15/2002

CORP
CORP

$0.00
$1,912.50
$1,912.50

MODY JAISEN

EMP NAME: MODY, JAISEN
3122 NW 114 TER
PORTLAND, OR 97229

1903200

10/15/2002

CORP

$425,357.00

MOEHLMAN, CATHY L.

EMP NAME: MOEHLMAN, CATHY L
6211 NORTH WOODS LANE

KATY, TX 77494

1687903

10/15/2002

CORP

$31,367.32

JOAN W. MOELLER

EMP NAME: MOELLER, JOAN
1278 SW ROYAL ANNE AVE.
TROUTDALE, OR 97060

1626402

10/15/2002

CORP

$19,725.59

MOHR, DOUGLAS

EMP NAME: MOHR, DOUGLAS
11030 NW VALLEY VISTA RD
HILLSBORO, OR 97124

1628202

10/15/2002

CORP

$135,075.71

MOLDENHAUEN, GARY W.

EMP NAME: MOLDENHAUER, GARY W
406 OLD #9 HWY

COMFORT, TX 78013

1716700

10/15/2002

CORP

$0.00

MOLINA MANUELA

EMP NAME: MOLINA, MANUELA
2595 SW 87 AV

PORTLAND, OR 97225

1195402

10/11/2002

CORP

$44,862.72

MONDEN BART L

EMP NAME: MONDEN, BART L
1816 N 171ST STREET
OMAHA, NE 68118-2804

829902

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$641,889.77

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Claimant

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Number

Document 1005-1

Date
Filed

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Debtors

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cc*

Date:
Time:

07/11/2005
8:06:00 PM

MONROE DOUGLAS P

EMP NAME: MONROE, DOUGLAS

17217 S MONROE LN
MULINO, OR 97042

737100

10/08/2002

CORP

$272,568.00

MONROE, WILLIAM

EMP NAME: MONROE, WILLIAM
58465 S BACHELOR FLAT RD

ST HELENS, OR 97051

1961500

10/15/2002

CORP

$403,234.00

MONSHAUGEN, ANNE.

1452000

EMP NAME: MONSHAUGEN, ANN E

505 WESTCOTT, #304
HOUSTON, TX 77007

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

MONSIVE, ROBERT W

EMP NAME: MONSIVE, ROBERT

34515 HANKY RD
ST HELENS, OR 97051

1247800

10/11/2002

CORP

$64,400.00

MONT CHERRY

EMP NAME: MONT, CHERRY
70 BRUSHWOOD DRIVE
SHIRLEY, NY 11967-0000

600000

10/02/2002

CORP

$6,651.56

MONTt ROBERT

EMP NAME: MONTI, ROBERT
90 N LINTON RIDGE CIR

1792002

THE WOODLANDS, TX 77382-0000

10/15/2002

CORP

$40,191.49

MOODY BOBBIE J

EMP NAME: MOODY, BOBBIE J

1809 ENTERPRISE

LEAGUE CITY, TX 77573-2905

1183403

10/11/2002

CORP
CORP

$0.00
$0.00
$0.00

MOODY DUANE W

EMP NAME: MOODY, DUANE W
417422 MASONRIDGE DR
HOUSTON, TX 77095-0000

1586402

10/15/2002

CORP

$1,504,428.13

MOON SUSAN D

EMP NAME: MOON, SUSAN

11950 SW LINCOLN #2
TIGARD, OR 97223

636200

10/04/2002

CORP

$70,735.89

MOORE, BRIDGETT V

1226002

EMP NAME: MOORE, BRIDGETT V

5803 SOUTHGOOD
HOUSTON, TX 77033

10/11/2002

CORP

$0.00

MOORE, FRANKLIN L.

936700

EMP NAME: MOORE, FRANKLIN L (FRANK)

6421 1/2 CAROLINE
HITCHCOCK, TX 77563

10/11/2002

CORP
CORP

$84.00
$4,650.00
$4,734.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A
Tittle Setttement Order

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. Date: = 07/11/2005

Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

MOORE, GEORGENE K 1996803 10/15/2002 CORP $144,670.82 U

EMP NAME: MOORE, GEORGENE K

327 LOST ROCK DR

WEBSTER, TX 77598-0000

MOORE, JAMES M 2130400 10/28/2002 CORP $0.00 U

EMP NAME: MOORE, JAMES M

17714 CASSINA DR

SPRING, TX 773885007

MOORE, JANICE K 1919101 10/15/2002 CORP $0.00 U

EMP NAME: MOORE, JANICE K (JAN)

1338 SHERFIELD RIDGE DR CORP $0.00 P

KATY, TX 77450-0000 $0.00

MOORE, KAREN 2028000 , 10/17/2002 CORP $0.00 U

EMP NAME: MOORE, KAREN J

P.O. BOX 2226 CORP $0.00 P

CLEVELAND, TX 77328 $0.00

MOORE, NEWTON B 1808900 10/15/2002 CORP $760,978.80 P

EMP NAME: MOORE, NEWTON B

842 SOUTH BULLARD STREET

OPELOUSAS, LA 70570-0000

MOORE PATRICK C 1487300 10/15/2002 CORP $0.00 U

EMP NAME: MOORE, PATRICK .

2875 SW 247TH CORP $0.00 P

HILLSBORO, OR 97123 $0.00

MOORE, TERRY 845900 10/10/2002 CORP $704,560.00 P

EMP NAME: MOORE, TERRY

TERRY LEE MOORE

813 N KELSO AVE

KELSO, WA 986264230

MOORE, WILLIAM C 1993402 10/15/2002 CORP $0.00 P

EMP NAME: MOORE, WILLIAM C (BILL)

2127 PARKVIEW LN

MISSOURI CITY, TX 774594460

MORENO ENRIQUE 1487402 10/15/2002 ENW LLC $9,000.00 U

EMP NAME: MORENO, ENRIQUE (HENRY)

6001 TWINBERRY TRAIL

ROUND ROCK, TX 78681

MORENO, XOCHIL 1604002 10/45/2002 CORP . $495,350.00 U

EMP NAME: MORENO, XOCHIL :

10102 GUSTY WINDS CORP $4,650.00 P

HOUSTON, TX 77064-0000 $500,000.00

CINDY MORGAN 1650101 10/15/2002 CORP $83,970.00 U

EMP NAME: MORGAN, BRIAN K
7402 COBBS OAK LANE
ROSHARON, TX 77583

* Classification: S=Secured; .P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant Claim
Number

MORGAN DENNIS 1792201
EMP NAME: MORGAN, DENNIS

1110 DOUBLE BRIDGES ROAD

WINTERVILLE, GA 30683-0000

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Arnount

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Time: 8:06:00 PM

cc*

CORP
CORP

$20,350.00
$4,650.00
$25,000.00

MORGAN (ABSHIRE), JACKIE L. 1528700
EMP NAME: MORGAN, JACKIE L

2275 RIVEROAKS DRIVE

WEST COLUMBIA, TX 77486

10/15/2002

CORP

$0.00

MORGAN LAWRENCE 891503
EMP NAME: MORGAN, LAWRENCE

5585 NW SKYCREST PKWY

PORTLAND, OR 972292308

10/10/2002

CORP

$261,586.16

RAYMOND D. MORGAN JR. 1863000
EMP NAME: MORGAN, RAYMOND

12135 SW TRAIL PL

BEAVERTON, OR 97005

10/15/2002

CORP

$367,425.00

MORGAN, SHARON 1140402
EMP NAME: MORGAN, SHARON J

701 OHLINGER ROAD

BABSON PARK, FL 33827

10/11/2002

CORP

$242,316.00

MORGAN, ULES LEE 2048500
EMP NAME: MORGAN, ULES L

3833 SW CHERIBON ST

PORT SAINT LUCIE, FL 34953

10/17/2002

UNKNOWN

$0.00

MORIN, ROBERT J. 2075200
EMP NAME: MORIN, ROBERT J (BOB)

58 DILLA ST

MILFORD, MA 01757

10/18/2002

CORP

$300,000.00

MORRIS CARMEN A 1711902
EMP NAME: MORRIS, CARMEN A (ALLIECE)

4602 ATASCOCITA TRAIL

HUMBLE, TX 77346-0000

10/15/2002

CORP

$163,048.25

MORRIS KURT P 2008900
EMP NAME: MORRIS, KURT

18625 S KIMBALL RD

OREGON CITY, OR 97045

10/16/2002

CORP

$18,603.04

MORRIS STELLA L . 1672602
EMP NAME: MORRIS, STELLA L

2602 WOODBOUGH DRIVE

HOUSTON, TX 77038-0000

10/15/2002

- CORP.

$0.00 .

WELDON L MORRIS 1794000
EMP NAME: MORRIS, WELDON L (DUB) . .
3333 CUMMINS LANE # 1310

HOUSTON, TX 77027

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

MORRISON JARROD 1178003
EMP NAME: MORRISON, JARROD

14753 SW ROSARIO LANE

TIGARD, OR 97224

10/11/2002

CORP

$23,600.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

MORROW MARK

EMP NAME: MORROW, MARK
12750 BIG SPRING TRL
HUMBLE, TX 77346

Claim
Number

1451700

Document 1005-1

Tittle Settlement Order

Date
Filed

10/15/2002

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Debtors

Objected To
Amount

cc*

CORP
CORP

$0.00
$0.00
$0.00

Date: 07/11/2005

Time: 8:06:00 PM

MERRITT, MICHELLE E.

EMP NAME: MORROW, MICHELLE E
1422 CHESTNUT GROVE LANE
KINGWOOD, TX 77345

1451300

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

MORROW SANDRA J

EMP NAME: MORROW, SANDRA J (JOEY)
6503 WINTER STONE

HOUSTON, TX 77084-0000

1834603

10/15/2002

CORP

$0.00

MORSE, CAROLE E

EMP NAME: MORSE, CAROLE
2409 NW MARSHALL
PORTLAND, OR 97210

1221302

10/11/2002

CORP

$37,622.00

MORSE CAROLYN G

EMP NAME: MORSE, CAROLYN
8848 NE HANCOCK ST
PORTLAND, OR 97220

1147500

10/11/2002

CORP

$73,380.00

MORSE STEPHEN C

EMP NAME: MORSE, STEPHEN C (STEVE)
10019 ELLA LEE LN

HOUSTON, TX 77042-0000

539002

09/26/2002

CORP

$54,672.61

MOSELEY DEBBIE A

EMP NAME: MOSELEY, DEBBIE A
4507 LARIAT DR

BAYTOWN, TX 77521-0000

1826203

10/15/2002

CORP

$219,259.54

MOSEMAN MERLIN H

EMP NAME: MOSEMAN, MERLIN H
2931 MAPLE BEND DR
KINGWOOD, TX 773452332

1216001

10/1 4/2002

CORP

$0.00

MOSEMAN MERLIN H

EMP NAME: MOSEMAN, MERLIN H
2931 MAPLE BEND DR
KINGWOOD, TX 77345-2332

1216003

10/11/2002

CORP

$0.00

MOSES, CASSANDRA

EMP NAME: MOSES, CASSANDRA R
10710 DESERT SPRINGS CIRCLE
HOUSTON, TX 77095

1743602

10/15/2002

EESO

$400.00

MOSSO VITO D

EMP NAME: MOSSO, VITO
2016 NE 35

GRESHAM, OR 97030

1673900

10/15/2002

CORP

$33,889.00

MOWATT, RALPH

EMP NAME: MOWATT, RALPH
1332 S.W. 19TH DR
GRESHAM, OR 97080

1984900

10/15/2002

CORP

$697,964.99

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

MOYA JR LUIS G

EMP NAME: MOYA JR, LUIS G (GREG)
PO BOX 907

EUNICE, NM 88231-0000

Claim
Number

1720802

Document 1005-1

Exhibit A
Tittle Settlement Order

Date
Filed

10/15/2002

Debtors

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cc*

CORP
CORP

$0.00
$0.00
$0.00

Date: 07/11/2005
Time: 8:06:00 PM

MUEHLHEIM, WILLIAM E.
EMP NAME: MUEHLHEIM, WILLIAM
NO ADDRESS GIVEN

2041400

10/17/2002

CORP

$29,193.36

MUKHERJI, RAM

EMP NAME: MUKHERJI, RAM
20 ABYSSINIAN WAY
LADERA RANCH, CA 92694

842703

10/10/2002

CORP

$54,289.67

MULHAUSEN DOUGLAS

EMP NAME: MULHAUSEN, DOUGLAS
241 NANDINA TERRACE

WINTER SPRINGS, FL 32708-0000

1793802

10/44/2002

CORP
CORP

$0.00
$0.00
$0.00

MULLENBURG, SUSAN MARIE
EMP NAME: MULLENBURG, SUSAN
22889 SE VAN CUREN RD.

EAGLE CREEK, OR 97022

1151400

10/41/2002

CORP

$74,058.40

MULLENBURG, WILLIAM G

EMP NAME: MULLENBURG, WILLIAM
PO BOX 2283

GRESHAM, OR 97030

841302

10/10/2002

CORP

$200,080.00

MULLET MARITTA E

EMP NAME: MULLET, MARITTA E
7210 BAYOU OAKS

HOUSTON, TX 77088-0000

1907703

10/15/2002

EGM LLC

$158,938.95

MULLETT FLOYD K

EMP NAME: MULLETT, FLOYD
32180 BROOKS RD

ST HELENS, OR 97051

891902

40/10/2002

CORP

$386,960.00

MULLINS JEANETTE

EMP NAME: MULLINS, JEANETTE
58844 MORTEN LN

ST HELENS, OR 97051

1166702

10/11/2002

CORP

$57,705.47

MUNDS BETHA

EMP NAME: MUNDS, BETH
PO BOX 1139

ESTACADA, OR 97023

1770600

10/15/2002

CORP

$2,500.00

MUNDS, WILLIAM F

EMP NAME: MUNDS, WILLIAM
55538 E HWY 224
ESTACADA, OR 970239303

1610602

10/15/2002

CORP
CORP

$29,510.00
$4,650.00
$34, 160.00

MUNOZ, JUAN

EMP NAME: MUNOZ, JUAN
11022 SAGEHEATHER DR
HOUSTON, TX 77089

1655302

10/15/2002

* CORP

$7,500.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

MUNOZ ROBERT V.

EMP NAME: MUNOZ, ROBERT V
722 BOIS D'ARC

PECOS, TX 79772

Claim
Number

1788301

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

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Amount

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cc*

CORP

$611,426.57

Date: 07/11/2005
Time: 8:06:00 PM

MURDOCK MICHAEL+ JACQUELINE
EMP NAME; MURDOCK, MICHAEL
32946 KEYS CREST DR
SCAPPOOSE, OR 97056

1768200

10/15/2002

CORP

$236,160.00

MURPHY BRENDAN J

EMP NAME: MURPHY, BRENDAN J
616 MEMORIAL HTS APT 16304
HOUSTON, TX 770076075

796300

10/10/2002

CORP

$3,948.00

MURPHY HARLAN E

EMP NAME: MURPHY, HARLAN E
6219 CEDAR CREEK DR.
HOUSTON, TX 77057-0000

1460702

10/15/2002

CORP

$4,250.00

LAWTON, CORD MURPHY

EMP NAME: MURPHY, LAWTON C (CORD)
RRI BOX 76-B7

COMFORT, TX 78013

776900

10/09/2002

CORP
CORP

$0.00
$0.00
$0.00

MURPHY, MICHAEL P

EMP NAME: MURPHY, MICHAEL P
1502 JANET DR.

WIMINGTON, IL 60481-0000

847003

10/10/2002

CORP

$1,046.57

MURRAY, JAMES R.

EMP NAME: MURRAY, JAMES
12323 SE 126TH AVE.
PORTLAND, OR 97236

1048800

10/11/2002

CORP

$8,672.00

MURRAY JULIA H

EMP NAME: MURRAY, JULIA H
3911 AMHERST

HOUSTON, TX 77005-0000

1584601

10/15/2002

CORP

$0.00

MURRAY TANJA

EMP NAME: MURRAY, TANJA
12535 SILVERSMINE
HOUSTON, TX 77014-0000

830003

10/10/2002

CORP

$2,266.30

MUSCH K SUSAN

EMP NAME: MUSCH, SUSAN K
2210 VILLA ROSE

HOUSTON, TX 77062

1816402

10/15/2002

CORP

$0.00

MYERS BARBARA A.

EMP NAME: MYERS, BARBARA A
7460 DILLON

HOUSTON, TX 77061

299200

08/27/2002

CORP

$128,947.92

MYERS, JAMES R

EMP NAME: MYERS, JAMES R (JIM)
1217 NW 15TH STREET

ANDREWS, TX 79714-0000

1900500

10/15/2002

CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

MYERS PETER

EMP NAME: MYERS, PETER
1020 NW 183 AV
BEAVERTON, OR 97006

Claim
Number

1155202

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Exhibit A
‘Tittle Settlement Order

Date
Filed

40/11/2002

Debtors

Objected To
Amount

cc*

CORP

$16,153.43 -

Date:
Time:

07/11/2005
8:06:00 PM

MYERS, STEVENS M.

EMP NAME: MYERS, STEVEN M
12515 STILL HARBOUR DR.
HOUSTON, TX 77041

642600

10/04/2002

CORP

$2,083,388.90

MYHRE RICHARD L

EMP NAME: MYHRE, RICHARD
19323 S COLUMBINE CT
OREGON CITY, OR 97045

1984702

10/15/2002

CORP

$51,526.00

NAGORE JUAN D

EMP NAME: NAGORE, JUAN
1975 CHARMSTONE CT
WALNUT CREEK, CA 94595

1509100

10/15/2002

CORP

$93,500.00:

NAJERA, RICHARD F.

EMP NAME: NAJERA, RICHARD F
2308 PEBBLEHILL ROAD
CARLSBAD, NM 88220

2077600

10/18/2002

CORP
CORP

$0.00
$0.00
$0.00

NAKAMURA DON

EMP NAME: NAKAMURA, DON
918 - 183RD PL SE

BOTHELL, WA 98012-0000

1484501

10/15/2002

CORP
CORP

$1,700.00
$2,100.00
$3,800.00

NARRAGON, MARLIN E

EMP NAME: NARRAGON, MARLIN
34407 HILL COURT

WARREN, OR 97053

922600

10/11/2002

CORP

$651,414.03

NASSAB PETER

EMP NAME: NASSAB, PETER
1719 ASHBURY PARK
HOUSTON, TX 77077-0000

636801

10/04/2002

CORP

" $40,557.00

NASSIEF, FRANK R.

EMP NAME: NASSIEF, FRANK
4288 NW TAM O'SHANTER WAY
PORTLAND, OR 97229

2138900

10/29/2002

CORP
CORP.

$39,368.00
$0.00
$39,368.00

NAVARRA BARBARA W

EMP NAME: NAVARRA, BARBARA
3216 NE 46

PORTLAND, OR 97213

836502

10/10/2002

CORP

$96,640.00

NAYLOR, ALLEN KIRK

EMP NAME: NAYLOR, ALLEN
21076 S. UNGER RD
BEAVERCREEK, OR 97004

914600

10/11/2002

CORP

$6,922.16

MAYNARD, ANNE MICHELLE M.

EMP NAME: NEAL, ANNE M (MICHELLE)

10 PINEWOOD CIR
HOUSTON, TX 77024-7610

1484203

10/45/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00

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Claimant

Claim
Number

Exhibit A
Tittle Settlement Order

Date
Filed

Debtors

Objected To
Amount

cc*

Date: . 07/11/2005
Time: 8:06:00 PM

NEAL, SCOTT M.

EMP NAME: NEAL, SCOTT M
13603 PEBBLEBROOK
HOUSTON, TX 77079

1611707

10/15/2002

CORP

$0.00

NEHEZ S MICHAEL

EMP NAME: NEHEZ, MICHAEL
1764 SE 27TH CT

GRESHAM, OR 970807263

1765000

10/15/2002

CORP

$16,560.00

NEIL, TIM

EMP NAME: NEIL, TIMOTHY P
315 METSGER WAY
CHALFONT, PA 18914

1699800

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

NEIMANN FREDERICK J

EMP NAME: NEIMANN, FREDERICK
20940 NW ROCK CREEK BL
PORTLAND, OR 97229

1148300

10/11/2002

CORP

$400,000.00

NEISES, RICHARD L.

EMP NAME: NEISES, RICHARD
74535 NEER CITY RD
RAINIER, OR 97048-3205

712500

10/08/2002

CORP

$318,587.20

NELSON, BONNIE G.

EMP NAME: NELSON, BONNIE G
2828 BAMMEL LANE, #601
HOUSTON, TX 77098

1451600

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

NELSON, DAVID L

EMP NAME; NELSON, DAVID
12636 SE ASHLEY ST
CLACKAMAS, OR 97015

852500

10/10/2002

CORP

$202,106.24

NELSON GORDON

EMP NAME: NELSON, GORDON
408 DOUGLAS

WAYNE, NE 68787

398600

09/09/2002

CORP

$17,327.00

NELSON JR JOHN

EMP NAME: NELSON, JOHN
1192 ANDREWS RD

LAKE OSWEGO, OR 97034

464803

09/16/2002

CORP.

$180,000.00

NELSON, JULIANNE

EMP NAME: NELSON, JULIANNE
BOX 400

71620 BASELINE LN
LEXINGTON, OR 97839

901202

10/10/2002

CORP

$48,000.00

NELSON, LOIS E

EMP NAME: NELSON, LOIS E
218 KELSER ST.S
WELCOME, MN 56181-0000

2200801

11/48/2002

CORP

$576,000.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

NELSON MICHELLE J

EMP NAME: NELSON, MICHELLE J
9426 TALLOW TREE DRIVE
HOUSTON, TX 77070-0000

Claim
Number

1553701

Document 1005-1

Date
Fited

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

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Amount

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cc*

ENW LLC

$3,105.00

- Date:

Time:

07/11/2005
8:06:00 PM

NELSON RAY G

EMP NAME: NELSON, RAY
51822 EM WATTS RD
SCAPPOOSE, OR 97056

714200

10/08/2002

CORP

$246,200.00

NELSON, RONALD DIGBY

EMP NAME: NELSON, RONALD D
3715 BEACH AVE

ROBERTS CREEK, BC VON 2W2
CANADA

363601

09/03/2002

CORP

$0.00

NELSON TERRY L

EMP NAME: NELSON, TERRY L
317 NO MONROE ST
GARDNER, IL 60424-0000

552601

10/01/2002

CORP

$220,616.16

NELSON-DEBORD A

EMP NAME: NELSON-DEBORD, A JILL
RAY C. DEBORD

2630 SE MAIN STREET

PORTLAND, OR 97214

1735202

10/15/2002

CORP

$227,619.04

NEMMERT THOMAS

EMP NAME: NEMMERT, THOMAS
2131 S W 30TH DRIVE
GRESHAM, OR 97080

1766900

10/15/2002

CORP

$250,000.00

NESEN MAURA S

EMP NAME: NESEN, MAURA
11665 SW 114 PL

TIGARD, OR 97223

1732602

10/15/2002

CORP

$122,513.76

NESLAGE JOHN E

EMP NAME: NESLAGE, JOHN E
1910A HULDY

HOUSTON, TX 77019-0000

1562102

10/15/2002

CORP
CORP

$20,351.00
"$4,650.00
$25,001.00

NESS PATSY L

EMP NAME: NESS, PATSY
16228 HALL RD
CLATSKANIE, OR 97016

913900

10/11/2002

CORP

$308,415.36

NESTOR fl THOMAS L

EMP NAME: NESTOR #1, THOMAS L (TOM)

1709 BILLINGSHURT CT
ORLANDO, FL 32825-0000

2258402

02/20/2003

CORP —

$230,400.00

NEUENSCHWANDER CLAREDA

EMP NAME: NEUENSCHWANDER, J J
N 2899 YOUTH CABIN RD

MONROE, WI! 53566

1395301

10/15/2002

CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

NEUFELD EVAN

EMP NAME: NEUFELD, EVAN
322 N 38TH ST

OMAHA, NE 68131-0000

Claim
Number

849102

Document 1005-1

Date
Fited

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Tittle Settlement Order

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Amount

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cc*

CORP

$776,795.20

. Date: 07/11/2005

Time: 8:06:00 PM

NEUMANN ANTHONY L

EMP NAME: NEUMANN, ANTHONY
35447 SE CRESCENT RD

BORING, OR 97009

633800

10/04/2002

CORP

$109,600.00

NEVILLE SUSAN M.

EMP NAME: NEVILLE, SUSAN M (SUE)
3639 GLEN HAVEN

HOUSTON, TX 77025

1684103

10/15/2002

CORP

$411,509.00

NEWCOMB, ROBERT D

EMP NAME: NEWCOMB, ROBERT
7902 NE 108 AV

VANCOUVER, WA 98662

1222602

10/11/2002

CORP

$0.00

NEWGARD JAMES R

EMP NAME: NEWGARD, JAMES R (JIM)
PO BOX 100626

FORT WORTH, TX 76185

939902

10/11/2002

CORP

$35,436.66

NEWHOUSE, MARGARET

EMP NAME: NEWHOUSE, MARGARET (PEG!)
5703 INDIGO ST

HOUSTON, TX 77096

1855901

10/15/2002

CORP

$0.00

NEWMAN, CECIL R.

EMP NAME: NEWMAN, CECIL
30341 S.E.DAVIS RD.
ESTACADA, OR 97023

1691400

10/15/2002

CORP

$172,883.00

NEWMAN, CRAIG R

EMP NAME: NEWMAN, CRAIG
11650 SW 1218T AVE
TIGARD, OR 972233131

1993300

10/15/2002

CORP

$60,320.00

NEWMAN, MICHAEL RICHARD
EMP NAME: NEWMAN, MICHAEL
13712 SW HALL BLVD STE 114
TIGARD, OR 972238153

1668900

10/15/2002

CORP

$12,000.00

NEWSOME, LINDA

EMP NAME: NEWSOME, LINDA
1729 SHANNON VALLEY
HOUSTON, TX 77077

1820700

10/15/2002

CORP”

CORP

$31,000.00
$35,000.00
$66,000.00

NEWTON, KIRSTEN A

EMP NAME: NEWTON, KIRSTEN
29100 SE CHURCH RD
BORING, OR 97009

652700

10/07/2002

CORP

$32,000.00

NG, LINDA Y.

EMP NAME: NG, LINDA Y
11009 RIVERVIEW DRIVE
HOUSTON, TX 77042

1523802

10/15/2002

CORP

$14,623.60

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A Date: 07/11/2005
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Claimant Claim Date Debtors Objected To CC*
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NGAI, SAU T. (WINNIE) 1570602 10/15/2002 CORP $0.00 U
EMP NAME: NGAI, SAU T (WINNIE) a

14311 TORREY VILLAGE DRIVE

HOUSTON, TX 77014

NGUYEN HAM T 1717402 10/15/2002 CORP $18,437.00 P
EMP NAME: NGUYEN, HAM

7505 SW 102

BEAVERTON, OR 97005

NGUYEN MARY 2201803 10/20/2002 CORP: $100,000.00 U
EMP NAME: NGUYEN, MARY

8419 HAZEN

HOUSTON, TX 77036-0000

NGUYEN MYDUNG T 2415702 10/24/2002 CORP $223,290.00 U
EMP NAME: NGUYEN, MYDUNG T (JANIE)

8810 BONNYVIEW DRIVE ~

HOUSTON, TX 77095-0000

NGUYEN, QUYEN T D 1723402 10/15/2002 EESO $1,871.95 P
EMP NAME: NGUYEN, QUYEN T

4411 ATASCOCITA TRL

HUMBLE, TX 773464430

NGUYEN THAO T 1813003 10/15/2002 CORP $44,674.12 U
EMP NAME: NGUYEN, THAO T

5610 BENT ARBOR LN

KATY, TX 774505624

NICHOLS DOUGLAS 1638202 » 10/15/2002 CORP $271,503.66 U
EMP NAME: NICHOLS, DOUGLAS ,
15781 NW CLAREMONT DR

PORTLAND, OR 97229

NICHOLS STEVEN 1666702 10/15/2002 CORP $329,200.00 U
EMP NAME: NICHOLS, STEVEN

69804 WALKER RD

RAINIER, OR 97048

NICHOLS TINA 487300 09/20/2002 UNKNOWN $56.70 U
EMP NAME: NICHOLS, TINA

610 W. FORD

OSCEOLA, AR 72310-0000

NICHOLS WANDA N 538700 09/26/2002 CORP $0.00 P
EMP NAME: NICHOLS, WANDA N . .
PO BOX 1701

PEARLAND, TX 77588

NICHOLSON WILLIAM O 907700 10/11/2002 CORP $334,000.00 U
EMP NAME: NICHOLSON, WILLIAM

14589 NW LARSON RD

PORTLAND, OR 972312320

NICKODEMUS, WESLEY A. 1868400 10/15/2002 CORP $39,646.64 P
EMP NAME: NICKODEMUS, WESLEY :

14595 N.W. LILIAM DRIVE

PORTLAND, OR 97229

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined , Page 197 of 300
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Exhibit A "Date: 07/11/2005
Tittle Settlement Order . Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

NICKOLOFF STEVEN 1697500 40/15/2002 CORP $225,538.40 P
EMP NAME: NICKOLOFF, STEVEN :

5120 NE ALAMEDA

PORTLAND, OR 97213

NICKOLOFF STEVEN C 1721103 10/45/2002 CORP $0.00 P
EMP NAME: NICKOLOFF, STEVEN

5120 NE ALAMEDA

PORTLAND, OR 97213

NICOL, KAREEN K 1449202 10/4 4/2002 CORP $194,299.14 U
EMP NAME: NICOL, KAREEN K

HCR 272-3005

GLASGOW, MT 59230

NICOLAY RANDALL D 1734500 10/15/2002 CORP $144,000.00 P
EMP NAME: NICOLAY, RANDALL

13445 SE KING RD

PORTLAND, OR 97236

NiCOZISIS GREGORY 942003 10/11/2002 EBS, INC $14,750.00 U
EMP NAME: NICOZISIS, GREGORY

22027 SAGE MOUNTAIN LANE

KATY, TX 77450-0000

NIEMEYER, ERIC P. 1454601 10/15/2002 EESO $0.00 U
EMP NAME: NIEMEYER, ERIC P
8391 PAYSON DRIVE

LEWIS CENTER, OH 43035

NILSON STEVE A 717900 10/08/2002 CORP $167,440.00 P
EMP NAME: NILSON, STEVE .

13147 MOCCASIN WAY

OREGON CITY, OR.97045

NIMAN, BRENDA RENEE 807000 10/10/2002 CORP $55,620.00 U
EMP NAME: NIMAN, BRENDA

6107 S.E. 34TH AVENUE

PORTLAND, OR 97202

NIMAN, MICHAEL A 844502 10/10/2002 CORP $0.00 U
EMP NAME: NIMAN, MICHAEL

6107 SE 34 AV

PORTLAND, OR 97202

NIX SUE A 1744401. 10/15/2002 EBS, LP $0.00 U
EMP NAME: NIX, SUE A .

120 SHADY LANE

HUFFMAN, TX 77336-0000

NIX SR., WAYNE A. 1646000 10/15/2002 CORP $0.00 U
EMP NAME: NIX, WAYNE A - . CORP $0.00 P

$0.00

NOBLE KATHLEEN F 1492802 10/15/2002 CORP $0.00 U
EMP NAME: NOBLE, KATHLEEN F mo
6011 JADE CREEK CT EBS, INC U
KINGWOOD, TX 77345-0000

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined / . Page 198 of 300
Case 4:01-cv-03913

Claimant

NOBRIGA, JOHN R

EMP NAME: NOBRIGA, JOHN
4901 MULHOLLAND DR
LAKE OSWEGO, OR 97035

Claim
Number

1658902

Document 1005-1

Tittle Settlement Order

Date
Filed

10/15/2002

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Exhibit A

Debtors

Objected To
Amount

cc

CORP

$293,817.83

Date: 07/11/2005
Time: 8:06:00 PM

NELL K. SHARON

EMP NAME: NOELL, SHARON
20805 SW 104TH AVE.
TUALATIN, OR 97062

1178500

10/11/2002

CORP

$155,000.00

NOLAN SUSAN M

EMP NAME: NOLAN, SUSAN
15595 SW BRECCIA DR
BEAVERTON, OR 97007

837803

40/10/2002

CORP

$319,532.24

NOLAND CATHERINE J

EMP NAME: NOLAND, CATHERINE J
22910 FAIRLAKE

HUFFMAN, TX 77336

2024300

10/16/2002

CORP

$0.00

NOPPER SUSAN

EMP NAME: NOPPER, SUSAN
6792 SW ALDEN

PORTLAND, OR 97223

1630003

10/15/2002

CORP

$159,126.24

NORGREN MELISSA K

EMP NAME: NORGREN, MELISSA
PO BOX 1076

CLATSKANIE, OR 97016

838300

10/10/2002

CORP

$60,481.76

NORIEGA, JERRY

EMP NAME: NORIEGA, JERRY
501 LUPINE CT

SUBLIMITY, OR 97385

1155900

10/11/2002

CORP

$308,400.00

NORMAN LISA

EMP NAME: NORMAN, LISA
1706 PLUMWOOD DR
HOUSTON, TX 77014-0000

296702

08/26/2002

CORP

$104,154.00

NORTHCUT, MILAM R.

EMP NAME: NORTHCUT, MILAM R (RICK)
P.O. BO 875

FORT STOCKTON, TX 79735

1570900

10/15/2002

IGC
IGC

$0.00
$0.00
$0.00

NORTHEY GERALDINE L

EMP NAME: NORTHEY, GERALDINE
17810 SW CHIPPEWA TRAIL
TUALATIN, OR 97062

735400

10/08/2002

~ CORP

$465,566.64

NORTHEY MARK E

EMP NAME: NORTHEY, MARK
17810 SW CHIPPEWA TRAIL
TUALATIN, OR 97062

736200

10/08/2002

CORP

$372,977.60

NORTON, DENNIS M.

EMP NAME: NORTON, DENNIS
18710 WOOD DUCK CIRCLE
LAKE OSWEGO, OR 97035

1166502

10/11/2002

CORP

$292,800.00

* Classification: S=Secured;.P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

NOSKE, LINDA J.

EMP NAME: NOSKE, LINDA J
208 GARDENIA ST.
ONALASKA, TX 77360

Claim
Number

1554102

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

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Objected To CC*
Amount

CORP

$40,574.82 P

Date:
Time:

07/11/2005
8:06:00 PM

NOTH JUDY K

EMP NAME: NOTH, JUDY
120 HEATHER DR
STANFIELD, OR 97875

673000

10/07/2002

CORP

$64,560.00 P

NUTT CHARLES D

EMP NAME: NUTT, CHARLES D
1802 OAK SHADE DRIVE
SUGARLAND, TX 77479

831804

10/10/2002

CORP

$31,467.55 U

NYDIGGER MARK A

EMP NAME: NYDIGGER, MARK
12630 SW PATHFINDER CT
TIGARD, OR 97223

769400

10/09/2002

CORP

$57,209.12° U

NYQUIST CHRISTINE R

EMP NAME: NYQUIST, CHRISTINE
8690 SE 140TH PL

PORTLAND, OR 972365645

1741900

10/15/2002

CORP

$184,320.00 P

OBERG, AMY JEANINE
EMP NAME: OBERG, AMY J
6 TEABERRY AVE
HARWICH, MA 02645

863500

10/10/2002

EES, INC

$0.00 P

OBRECHT PAULETTE M

EMP NAME: OBRECHT, PAULETTE M
18818 POLO MEADOW DRIVE
HUMBLE, TX 77346-8121

859302

10/10/2002

CORP

$4,163.41 U

ODEM LAVONNE F

EMP NAME: ODEM, LAVONNE
10911 NE RUSSELL ST
PORTLAND, OR 97220

661300

10/07/2002

CORP

$155,712.48 U

ODOM LORIA.

EMP NAME: ODOM, LORI A
2017 RED BUD PLACE
EDMOND, OK 73013-7734

1894701

10/15/2002

CORP

$47,016.00 U

OELSCHLAGER DORIS K

EMP NAME: OELSCHLAGER, DORIS K
15903 MIDDLE ISLAND DR

SOUTH BEND, NE 68058-0000

1664301

10/15/2002

CORP

$8,620.44 U

OGDEN, DAN

EMP NAME: OGDEN, DAN
11220 SW FAIRHAVEN ST.
TIGARD, OR 97223

1249100

10/4 4/2002

CORP

$150,000.00 U

O'GORMAN, KARON RUTH

EMP NAME: O'GORMAN, KARON R
2914 MARLIN COURT

LEAGUE CITY, TX 77573

1825000

10/15/2002

" CORP

CORP

$0.00 U
$0.00 P
$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A Date: 07/11/2005
Tittle Settlement Order Time: - 8:06:00 PM

Claimant Claim . Date Debtors Objected To CC*
Number Filed Amount

OKAMURA JOAN N 2202103 10/20/2002 CORP _ $3,000.00 P
EMP NAME: OKAMURA, JOAN N :

3080 STATELINE RD W @

SOUTHAVEN, MS 386711019

OKAZAKI VICTOR 1745300 10/15/2002 CORP $154,080.00 P
EMP NAME: OKAZAKI, VICTOR

15400 SE BEVINGTON AV

MILWAUKIE, OR 97267

OKRASINSKI DANIEL J 902600 10/10/2002 CORP $129,276.71 U
EMP NAME: OKRASINSKI, DANIEL

4017 NE 4

GRESHAM, OR 97030

OLESEN, ERIC ANDREW 778500 10/09/2002 CORP . $28,000.00 P
EMP NAME: OLESEN, ERIC

21236 S.W. HOUSTON DR. ~

SHERWOOD, OR 97140

OLIVAREZ JUAN 503100 09/23/2002 : CORP $80,781.21 U
EMP NAME: OLIVAREZ, JUAN G

1311 LIVE OAK

COTULLA, TX 78014

OLIVER CHERYL A 1547200 10/15/2002 ENW LLC $7,226.70 U
EMP NAME: OLIVER, CHERYL A

2408 PARK ST

HOUSTON, TX 77019-0000

OLIVER, SHIRLEY 1622703 . 10/15/2002 CORP $5,000.00 U
EMP NAME: OLIVER, SHIRLEY
12777 ASHFORD PT DR 1709

HOUSTON, TX 77082-0000

OLIVER SUSAN K 1626600 10/15/2002 CORP $237,292.24 U
EMP NAME: OLIVER, SUSAN

PMB 115

4310 SE KING RD

MILWAUKEE, OR 972225281

OLOFSON SANDRA E 1489100 10/15/2002 CORP $0.00 P
EMP NAME: OLOFSON, SANDRA E (SANDY) - toe

34598 WESTGATE ROAD

MINDEN, !A 51553-4186

OLSEN GAYLENR 1931700 10/15/2002 : CORP $152,000.00 U
EMP NAME: OLSEN, GAYLEN

14892 ALLUIS LN

SILVERTON, OR 97381

OLSEN, MELBA Y 846202 10/10/2002 CORP $390,198.19 P
EMP NAME: OLSEN, MELBA .

61241 PERRY CREEK RD

ST HELENS, OR 97051

OLSON, CLINTON D. 924400 10/11/2002 CORP - $110,000.00 U
EMP NAME: OLSON, CLINTON

12301 NE 279TH ST.

BATTLE GROUND, WA 98604

* Classification: S=Secured; P=Priority; U=-Unsecured; A=Administrative; ? = Undetermined : Page 201 of 300
Claimant

Case 4:01-cv-03913

Claim
Number

Document 1005-1

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Exhibit A
Tittle Settlement Order

Date
Fited

Debtors

Objected To
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cc*

Date:
Time:

07/11/2005
8:06:00 PM

OLSON DAVID G

EMP NAME: OLSON, DAVID
76899 ATKINS RD

RAINIER, OR 97048

674700

10/07/2002

CORP

*. $305,920.00

OLSON DUANE D

EMP NAME: OLSON, DUANE
55520 E HWY 224
ESTACADA, OR 970239303

676100

10/07/2002

CORP

$0.00

OLSON KEITHA

EMP NAME: OLSON, KEITH
19015 ST NE

SALEM, OR 97303

2148200

10/31/2002

CORP

$32,000.00

OLSON YVONNE D

EMP NAME: OLSON, YVONNE
12118 SE SEQUOIA PL
MILWAUKIE, OR 97222

829702

10/10/2002

CORP

$280,276.65

OLSOVSKY JO CAROLYN
EMP NAME: OLSOVSKY, JO C
2324 CHELMSFORD CT
ALVIN, TX 77511-0000

364600

09/03/2002

EBS, INC

$165,000.00

OMAN, DANIEL L.

EMP NAME: OMAN, DANIEL
P.O. BOX 2

WEST LINN, OR 97068

1839400

10/15/2002

CORP

$2,408.00

OMSBERG, RONNIE L

EMP NAME: OMSBERG, RONNIE L
237 23RD AVE NE’

JAMESTOWN, ND 584013972

715600

10/08/2002

CORP

$284,326.21

ONDARZA EDWARD M

1528102

EMP NAME: ONDARZA, EDWARD M

955 ROCKY RIVER ROAD
HOUSTON, TX 77056-0000

10/15/2002

CORP

$37,500.00

O'NEAL AIDA S

EMP NAME: O'NEAL, AIDA S
3055 SANTA MARIA DR
CONCORD, CA 94518-0000

888302

10/10/2002

CORP

$14,732.00

ONG, SIEW CHUAN

EMP NAME: ONG, CHUAN
9626 PAGEWOOD LANE
HOUSTON, TX 77063-5106

1774100

10/15/2002

CORP
CORP —

$0.00 ©

$0.00
$0.00

ORCUTT GARY R

EMP NAME: ORCUTT, GARY
14806 SE CATFIELD RD
MILWAUKIE, OR 97267

1180800

10/11/2002

CORP

$261,196.00

O'REILLY, TIMOTHY A.

EMP NAME: O'REILLY, TIMOTHY
3728 SE 151ST AV.

PORTLAND, OR 97236

904400

10/11/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$22,237.24

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OREM JOE B

EMP NAME: OREM, JOE
PO BOX 42

IONE, OR 97843

787600

10/09/2002

CORP

$200,121.92

OREN MARSHALL W

EMP NAME: OREN, MARSHALL
75604 PRICKLY PEAR LN
IRRIGON, OR 97844

1706900

10/15/2002

CORP

$206,400.00

ORLUCK BRUCE H

EMP NAME: ORLUCK, BRUCE H
PO BOX 85

LINTON, ND 58552-0085

411302

09/10/2002

CORP
CORP

$346,764.95
$4,650.00
$351,414.95

ORN REBECCA L

EMP NAME: ORN, REBECCA
422 SE 13 CT

GRESHAM, OR 97080

1170002

10/1 1/2002

CORP

$100,000.00

ORTIZ, FRANCES

EMP NAME: ORTIZ, FRANCES
10810 LINDEN GATE DR
HOUSTON, TX 77075-0000

1510602

10/15/2002

EES, INC

$0.00

ORWICK MICHAEL G

EMP NAME: ORWICK, MICHAEL
PO BOX 412

LEXINGTON, OR 97839

1719700

10/15/2002

CORP

$176,806.40

OSBORN, MARK THOMAS
EMP NAME: OSBORN, MARK
9445 S.W. 151ST AVENUE
BEAVERTON, OR 97007

800100

10/10/2002

CORP

$8,374.62

OSBORNE WILLIAM R

EMP NAME: OSBORNE, WILLIAM R (BILL)
5t HOLLOW TRAIL

CONROE, TX 77304-0000

1716602

10/15/2002

CORP

$114,270.00

O'SHEA MICHAEL P

EMP NAME: O'SHEA, MICHAEL
2024 SW VACUNA ST
PORTLAND, OR 97219

1720002

10/15/2002

CORP

$239,760.00

OSHIRO BONNIE

EMP NAME: OSHIRO, BONNIE
PO BOX 16644

PORTLAND, OR 97292

1163903

10/11/2002

CORP

$261,895.36

OTT, DON

EMP NAME: OTT, DONALD
4492 S E 32 CT
GRESHAM, OR 97080

1960802

10/15/2002

CORP

$204,080.00

OTT, RICHARD A

EMP NAME: OTT, RICHARD A
134 GESSNER

HOUSTON, TX 77024

1806500

10/15/2002

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CORP

$152,190.00

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OTTESON BARBARA A e 907900 10/10/2002 CORP : $67,840.00 P
EMP NAME: OTTESON, BARBARA : ,
8737 NE TILLAMOOK

PORTLAND, OR 97220

OUELLETTE, THOMAS L 1717900 10/15/2002 CORP $98,349.00 U
EMP NAME: OUELLETTE, THOMAS : .
30648 S WALL ST

COLTON, OR 97017

OVERTURF. ELAINE 1751702 10/15/2002 CORP : $0.00 U
EMP NAME: OVERTURF, ELAINE

3839 VINEYARD DRIVE

HOUSTON, TX 77082-0000

OZUMBA EMEKA N 373400 09/04/2002 EBS, INC $25,000.00 P
EMP NAME: OZUMBA, EMEKA N ~

P.O, BOX 290161

SAN ANTONIO, TX 78280

PACE, JOHN W 653002 10/07/2002 CORP $65,000.00 U
EMP NAME: PACE, JOHN W

18 WEBB PACE DR

SHUBUTA, MS 39360-0000

PACK JR, A SCOTT : 2031501 10/15/2002 EGM LLC $10,688.11 U
EMP NAME: PACK JR, A SCOTT

4 WELLFORD LANE

MILLERSVILLE, MD 21108

PACK GARY W 737400 10/08/2002 CORP $186,560.00 U
EMP NAME: PACK, GARY :

1317 COUNTRYSIDE CT

MCMINNVILLE, OR 97128

PADGETT, THOMAS 0. : 800500 10/10/2002 . CORP $0.00 U
EMP NAME: PADGETT, THOMAS O (TOM)

12322 RIVER BEND DRIVE

BAYTOWN, TX 77520

PAETZOLD RICHARD L 2075402 10/18/2002 CORP . $49,670.00 P
EMP NAME: PAETZOLD, RICHARD L (DICK) - oo

9300 MAERY AVE NE

ALBUQUERQUE, NM 871026420

PAIS, RANDALL M 1497702 10/15/2002 . CORP $0.00 U
EMP NAME: PAIS, RANDALL M $0.00
83 WATERTREE DR —_—_—__
THE WOODLANDS, TX 77380 $0.00

PAKULAK BETTY L 858602 10/10/2002 . CORP $301,772.24 P
EMP NAME: PAKULAK, BETTY .

18835 SHENANDOAH DR

OREGON CITY, OR 97045

PALMA LARRY L 1906200 10/15/2002 CORP uo $0.00 P.-

EMP NAME: PALMA, LARRY L .

506 HOUGHTON ROAD . ’ -
KATY, TX 77450-0000

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PALMA, VIVIANA

EMP NAME: PALMA, VIVIANA P
4210 WOODBRIDGE DR.
KINGWOOD, TX 77339

1817900

10/15/2002

EESO

$36,222.40 P

PALMER DANIEL

EMP NAME: PALMER, DANIEL
7301 74 AV NE

SALEM, OR 97305

669000

10/07/2002

CORP

$125,000.00 P

PALMER, SCOTT

EMP NAME: PALMER, SCOTT
1080 W DIVISION AVE
HERMISTON, OR 97838

1660200

10/15/2002

CORP

$327,750.39 U

PALMISANO, JOHN S

EMP NAME: PALMISANO, JOHN S
3105 CUMMINGS LN

CHEVY CHASE, MD 20815

1853601

10/15/2002

CORP

$57,400.00 U

PALMQUIST, WAYNE C

EMP NAME: PALMQUIST, WAYNE
PO BOX 440

SILVERTON, OR 973810440

848000

10/10/2002

CORP

$33,280.00 U

PANZER, ROBIN

EMP NAME: PANZER. ROBIN G
195 FM 2628 RD

HUNTSVILLE, TX 77320

2017500

40/16/2002

ETSC
CORP

$0.00 P

PARDUE, WILLIAM L.
EMP NAME: PARDUE, WILLIAM L
906 BOMAR STREET
HOUSTON, TX 77006

1586502

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

PARHAM DAVID H

EMP NAME: PARHAM, DAVID H
23710 SUNDANCE DR
SORRENTO, FL 32776-0000

1216201

10/11/2002

CORP

$0.00 P

PARHAM KEIAWNCA DESHAWN

EMP NAME: PARHAM, KEIAWNCA D

4366 SHAWNEE CIR
CHATTANOOGA, TN 37411

2208000

11/25/2002

EES, INC

$20,000.00 P

PARHAM, PATRICIA S.

EMP NAME: PARHAM, PATRICIA S
PO BOX 2520

CAMARILLO, CA 930112520

883700

10/10/2002

CORP

$0.00 P

PARK ANN E

EMP NAME: PARK, ANN E
1702 PRAIRIE GROVE
HOUSTON, TX 77077-0000

905600

10/11/2002

CORP

$609,000.00 P

PARK THOMAS C

EMP NAME: PARK, THOMAS
510 17 AV

LONGVIEW, WA 98632

1529700

10/15/2002

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CORP

$193,439.40 .P

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PARKER, SHAPHONDRIA

EMP NAME; PARKER, SHAPHONDRIA
12075 SWORDS CREEK ROAD
HOUSTON, TX 77067-0000

1622603

10/15/2002

CORP

$2,500.00

PARKHILL KENNETH L

EMP NAME: PARKHILL, KENNETH L
2033 THORNWOOD AVE.
WILMETTE, IL 60091

1159001

10/11/2002

CORP

$4,710.00.

PARKS DORIS T

EMP NAME: PARKS, DORIS T
6001 LYNDHURST DR.

SAN ANGELO, TX 76901-5223

466501

09/17/2002

CORP

$217,580.22

PARKS, RONNIE L.

EMP NAME: PARKS, RONNIE L
1448 EAST 48TH

FORT STOCKTON, TX 79735

1569900

10/15/2002

IGC

$0.00

PARMER, JAMES W.

EMP NAME: PARMER, JAMES W
6620 BROAD OAKS DR.
RICHMOND, TX 77469

663600

10/04/2002

CORP

$994,460.47

PARNELL, SANDY A

EMP NAME: PARNELL, SANDY
61637 PARNELL LN

ST HELENS, OR 97051

1688702

10/15/2002

CORP

$122,350.74

PARR RONALD W

EMP NAME: PARR, RONALD
5711 NE 150 PL

PORTLAND, OR 97230

1626700

10/15/2002

CORP

$293,578.40

PARRISH, PAULA J

EMP NAME: PARRISH, PAULA J
4511 VALERIE

BELLAIRE, TX 77401

1653702

10/15/2002

CORP

$1,478,754.00

PARSON JEWELL

EMP NAME: PARSON, JEWELL
1678 COPPER CREEK ROAD
BEREA, KY 40403

591500

09/27/2002

CORP

$1,454.64

PARTRIDGE VIRGIL R

EMP NAME: PARTRIDGE, VIRGIL
31256 SE HAMLET DR

BORING, OR 97009

715400

10/08/2002

CORP

$119,520.00 -

PASLEY CARMEN K

EMP NAME: PASLEY, CARMEN
24915 NW WEST UNION RD
HILLSBORO, OR 97124

1752902

10/15/2002

CORP

$6,000.00

PATEL NIKUNJ D

EMP NAME: PATEL, NIKUNJ D
5903 BAYBERRY WAY
SUGAR LAND, TX 77479-0000

1696703

10/15/2002

* Classification: S=Secured;. P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$0.00

$0.00
$0.00

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PATEL, SAPANA S e@ 1697802 10/15/2002 CORP , $0.00 U
EMP NAME: PATEL, SAPANA S (SAPANA
SOPHIE) CORP _____—80.00P
5903 BAYBERRY WAY $0.00
SUGAR LAND, TX 77479
PATEL SUKETU R 1571302 10/15/2002 CORP $0.00 U
EMP NAME: PATEL, SUKETU R .
9815 PENTON DR. CORP _____—=S80.00P
SUGAR LAND, TX 77478 $0.00
PATEL, SURESH B 839401 10/10/2002 EESO $0.00 U
EMP NAME: PATEL, SURESH B
1410 AMBER KNOLL COURT
HOUSTON, TX 77062-0000
PATEL. YOGESHR. 4952902 10/15/2002 CORP $300,108.00 P
EMP NAME: PATEL, YOGESH
3841 NW 120TH TERR
PORTLAND, OR 97229
PATTERSON GENEVA R 1670902 10/15/2002 CORP $17,340.00 U
EMP NAME: PATTERSON, GENEVA R
7115 IOWA STREET
OMAHA, NE 68152-0000
PATTERSON JERRY 1794300 10/15/2002 CORP $103,000.00 U
EMP NAME: PATTERSON, JERRY
800 N.E HENDERSON DRIVE
MADRAS, OR 97741
PATTISON, KIMBERLY K 1862103 10/15/2002 CORP $0.00 P
EMP NAME: PATTISON, KIMBERLY K (KIM)
2026 MILLHOUSE RD.
HOUSTON, TX 77073-0000
PATTON RICHARD A 1769502 10/15/2002 EESO . $2,880.77. U
EMP NAME: PATTON, RICHARD A (RICH)
1137 W 126TH COURT EESO ___ 4,169.23. P
WESTMINSTER, CO 80234-0000 $7,050.00
PAUL ELAINE K 1938802 10/15/2002 : CORP ~ $366,001.74 P
EMP NAME: PAUL, ELAINE :
19573 S TONI CT
OREGON CITY, OR 970456976
PAULS DAVID M 1205002 40/11/2002 CORP $0.00 U
EMP NAME: PAULS, DAVID M : .
9115 COUNTY LINE RD
PLATTEVILLE, WI 53818-0000
PAVLOU, MARIA 1785803 10/15/2002 CORP — $86,014.45 U

EMP NAME: PAVLOU, MARIA
13635 SEWARD ST
OMAHA, NE 68154-0000

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PAXTON, JANA L. 1578700 10/15/2002 CORP $0.00 P
EMP NAME: PAXTON, JANA L ‘

12714 SUMERWOOD GLEN

HOUSTON, TX 77041

PAYNE, CHARLES R. 1813502 10/15/2002 CORP $51,475.00 U
EMP NAME: PAYNE, CHARLES

5827S E 15TH

PORTLAND, OR 97202

PAYNE, HELEN, G. 687200 10/07/2002 CORP $388,000.00 P
EMP NAME: PAYNE, HELENA G

14043 SEQUOIA BEND BLVD

HOUSTON, TX 77032 :

PEARLMAN, STEPHEN 744900 10/08/2002 CORP $6,848.03 U
EMP NAME: PEARLMAN, STEPHEN M (STEVE)

514 KNIPP ROAD

HOUSTON, TX 77024

PEARSON JR, WESLEY H 1652203 10/15/2002 CORP $731,313.00 U
EMP NAME: PEARSON JR, WESLEY H

10600 SIX PINES DRIVE
“APT 1522

SRING, TX 77380

PEARSON LUCY F 835102 10/10/2002 CORP : $0.00 P
EMP NAME: PEARSON, LUCY F

16031 CYPRESS TRACE DR

CYPRESS, TX 77429-6369

PEBDANI, NASSER 1514002 10/15/2002 CORP $653,650.56 U
EMP NAME: PEBDANI, NASSER

5714 BERMUDA DUNES DRIVE

HOUSTON, TX 77069

PEDERSON. BERT L. 1966500 10/45/2002 CORP $40,000.00 U
EMP NAME: PEDERSON, BERT
PMB #2571

4951 NETARTS HWY W.

TILLAMOOK, OR 97141

PEDERSON BRAD L 1866302 10/15/2002 CORP $224,927.59 U
EMP NAME: PEDERSON, BRAD : ‘

4507 NE 141 CT

VANCOUVER, WA 98682

PEERENBOOM LINDA M 903002 10/10/2002 CORP » - $71,331.74 P
EMP NAME: PEERENBOOM, LINDA

17636 NE MULTNOMAH DR

PORTLAND, OR 97230

PEERY ALAN MARK 691804 10/07/2002 CORP . $173,384.44 U
EMP NAME: PEERY, MARK .

2523 PETERS DRIVE

LONGVIEW, WA 98632

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined : / / . : Page 208 of 300
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PELZER JEFFREY T 365502 09/03/2002 CORP $284,804.26 U
EMP NAME: PELZER, JEFFREY T (JEFF)

302 SOUTHVIEW DRIVE

GRUNDY CENTER, IA 50638-0000

PENKAVA, LOREN E 1708500 10/15/2002 CORP $0.00 P
EMP NAME: PENKAVA, LOREN E

12029 DOUGLAS CIRCLE

OMAHA, NE 68154-0000

PENNERS, KAREN R 995300 10/11/2002 CORP $234,720.00 P
EMP NAME: PENNERS, KAREN RAE

KARENRAE PENNERS

23154 S REDLAND RD

ESTACADA, OR 970239612

PENNICOOKE, LORNA P. 1824600 10/15/2002 CORP $0.00 U
EMP NAME: PENNICOOKE, LORNA P

13327 WHITCHURCH WAY CORP 80.00 p
HOUSTON, TX 77015 $0.00

PENNINGTON, PATTY 1477302 10/15/2002 CORP $0.00 U
EMP NAME: PENNINGTON, PATTY

P.O. BOX 792

FAIRVIEW, OR 97024

PENNINGTON, SUSAN K 808202 10/10/2002 , CORP $110,791.69 P
EMP NAME: PENNINGTON, SUSAN

5912 NE EVERETT ST

PORTLAND, OR 97213

PENTICO RODNEY E 1870100 10/45/2002 CORP $292,920.00 P
EMP NAME: PENTICO, RODNEY

9657 S KRAXBERGER ROAD

CANBY, OR 97013

PERAGINE TONY J 1905900 10/15/2002 CORP $0.00 P
EMP NAME: PERAGINE, TONY

3924 SE 13 AV

PORTLAND, OR 97202

PEREZ, CARMEN R. 1983402 10/15/2002 CORP $77,360.00 U
EMP NAME: PEREZ, CARMEN

19619 TELLER BLVD.

HOUSTON, TX 77002

PEREZ DIANA MEROLA 1606602 10/15/2002 . CORP $3,494.64 U
EMP NAME: PEREZ, DIANA M
7257 NW 113 COURT CORP $4,650.00 P
MIAMI, FL 33178-0000 $8,144.64

PEREZ, EUGENIO 1190603 10/11/2002 CORP $34,036.73 U.
EMP NAME: PEREZ, EUGENIO , .

123 SEMINOLE LAKES DR

ROYAL PALM BEACH, FL 33411

PEREZ KIMBERLY A 1906800 10/15/2002 CORP , $0.00 .P
EMP NAME: PEREZ, KIMBERLY A .

3803 CANN DR

PASADENA, TX 77503-0000

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PEREZ LISAL 1795902 10/15/2002 CORP $3,303.00 P
EMP NAME: PEREZ, LISA L @ ,

109 GRANTHAM ROAD

BAYTOWN, TX 77521-0000

PERKINS, DIXIE 1787700 10/15/2002 CORP $0.00 U
EMP NAME: PERKINS, DIXIE

4419 PENNSYLVANIA ST

LONGVIEW, WA 98632

PERKINS, FREDERICK J 1862003 10/15/2002 CORP $0.00 P
EMP NAME: PERKINS, FREDERICK J

2026 MILLHOUSE RD

HOUSTON, TX 77073-0000

PERKINS, JOHNNY MICHAEL 1547400 10/15/2002 CORP $194,156.98 U
EMP NAME: PERKINS, JM ~

3659 DEL MONTE

HOUSTON, TX 77056

PERKINS KIMBERLY LANG 1636003 10/15/2002 CORP $0.00 U
EMP NAME: PERKINS, KIMBERLY L (KIM)

15622 CLEAR POINT DR

CYPRESS, TX 774294807

PERKINS MARY A 1697302 10/15/2002 CORP $0.00 U
EMP NAME: PERKINS, MARY A

5659 DEL MONTE DR

HOUSTON, TX 77056-0000

PERRY .JR WESLEY O 1516102 10/15/2002 CORP $94,208.00 P
EMP NAME: PERRY JR, WESLEY O (WES)

14239 PINE CONE TRAIL

CLERMONT, FL 34711-0000

PERRY CHAUNDRA D 1683801 10/15/2002 EESO $3,678.19 U
EMP NAME: PERRY, CHAUNDRA

19103 EMORY TRAIL FESO 80.00 P
SPRING, TX 77388 $3,678.19

PERSON DANA B 607400 10/03/2002 CORP $15,367.89 P
EMP NAME: PERSON, DANA B (BRENT) : .

ROUTE 2, BOX 104

LAVERNE, OK 73848-0000

PESCHKA TERRI A 1645602 10/15/2002 : CORP $108,178.92 P
EMP NAME: PESCHKA, TERRI

11394 SE HIGHLAND LOOP

CLACKAMAS, OR 97015

PETERS, DONALD 848900 10/10/2002 CORP $0.00 P
EMP NAME: PETERS, DONALD (DON) ,

6286 STRASBOURG DRIVE

CORPUS CHRISTI, TX 78414

PETERSEN, KIM 2092700 10/18/2002 CORP $275,214.16 P
EMP NAME: PETERSEN, KIM .

725 EAST QUINCE

HERMISTON, OR 97838

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PETERSON W JAMES

EMP NAME: PETERSON, JAMES W (JIM)
43 SYLVAN FOREST DRIVE

HOUSTON, TX 77281

1794603

10/15/2002

CORP

$740,001.00

PETERSON, JANICE

EMP NAME: PETERSON, JANICE
2743 SE 31 AV

PORTLAND. OR 97202

1610702

10/15/2002

CORP
CORP

$37,419.20
$2,325.00
$39,744.20

PETERSON LEONARD S

EMP NAME: PETERSON, LEONARD
50776 DIKE RD, SP 5A
SCAPPOOSE, OR 97056

1688602

10/15/2002

CORP

$133,333.85

PETERSON, JR, M. JAY

EMP NAME: PETERSON, M JAY
41749 KINGSTON-LYONS DR. S.E.
STAYTON, OR 97383

- 1609500

10/15/2002

CORP

$207,773.30

PETERSON REBECCA A

EMP NAME: PETERSON, REBECCA
1303 BEAVER LN

OREGON CITY, OR 97045

891600

10/10/2002

CORP

$122,000.00

PETERSON JR ROBERT E

EMP NAME: PETERSON, ROBERT
1303 BEAVER LN

OREGON CITY, OR 97045

891700

10/10/2002

CORP

$230,720.00

PETERSON, STEPHEN

EMP NAME: PETERSON, STEPHEN
430 N MEMORIAL CT #2123
RALEIGH, NC 27601-1104

1472201

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

PETRELLA JERYL L

EMP NAME: PETRELLA, JERYL
10805 SW 41ST AVENUE
PORTLAND, OR 97219

855600

10/10/2002

CORP

$96,042.54

PETTIT, ALAN

EMP NAME: PETTIT, ALAN
906 SE 78 AV
VANCOUVER, WA 98664

653300

10/07/2002

CORP

$193,224.00

PETZOLD, BRADLEY C.

EMP NAME: PETZOLD, BRADLEY C (BRAD)

41 PERRO PLACE
DURANGO, CO 81301

1783803

10/15/2002

CORP

$611,158.39

PFEFFER JAMES A

EMP NAME: PFEFFER, JAMES A
5707 MANOR FOREST DRIVE
KINGWOOD, TX 77339-0000

1822002

10/15/2002

CORP

$737,352.32

PFENNIG VIRGIL O

EMP NAME: PFENNIG, VIRGIL O
P.O. BOX 127

WALFORD, IA 52351-0000

536502

09/26/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$836,401.13

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Tittle Settlement Order . Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

PFENNING DANIEL 1149400 10/11/2002 CORP $10,934.55 U
EMP NAME: PFENNING, DANIEL .

4715 N AMHERST ST

PORTLAND, OR 97203

PHAM, BICH AHN 1950201 10/15/2002 CORP $99,898.24. U
EMP NAME: PHAM, BICH ANH T (BECKY)

10303 EMNORA LN

HOUSTON, TX 77043

PHAM DANIEL 657500 10/07/2002 CORP $0.00 U
EMP NAME: PHAM, DANIEL

10350 CHEVY CHASE CORP $0.00 P
HOUSTON, TX 77042-0000 $0.00

PHELPS DEAN G 843000 10/10/2002 CORP $261,520.00 P
EMP NAME: PHELPS, DEAN

PO BOX 1602

BORING, OR 97009

PHELPS JOEL G 1462901 10/15/2002 CORP $9,383.00 U
EMP NAME: PHELPS, JOEL G

1206 DOUGLAS

ODESSA, TX 79762-0000

PHELPS SHIRLEY R 1479702 10/15/2002 CORP $375,000.00 U
EMP NAME: PHELPS, SHIRLEY

1511 SW ROYAL AVE

GRESHAM, OR 97080

PHILLIPS CATHERINE M 1944101 10/15/2002 CORP $43,731.65 U
EMP NAME: PHILLIPS, CATHERINE M (CATHY)

3909 LEE LANE

PEARLAND, TX 77584-0000

PHILLIPS, KATHLEEN M 897600 10/11/2002 : CORP : $118,340.00 P
EMP NAME: PHILLIPS, KATHLEEN :

3970 SW 97 AV

PORTLAND, OR 97225

PHILLIPS MARC N 2022403 10/16/2002 CORP $123,407.00 P
EMP NAME: PHILLIPS, MARC N

4305 KINGFISHER

HOUSTON, TX 77035-0000

PHILLIPS POLLY A . 1934700 10/15/2002 CORP $541,509.60 P
EMP NAME: PHILLIPS, POLLY .

13364 EASTBORNE DR

OREGON CITY, OR 97045

PHILLIPS-ISRAEL KATHRYN S 531204 09/25/2002 . CORP $385,409.33 U

EMP NAME: PHILLIPS-ISRAEL, KATHRYN i . 4
1535 NW 117 CT CORP —— 84,650.00 P :
PORTLAND, OR 97229 $390,059.33

PICCO MICHAEL D 1195602 10/11/2002 CORP $113,803.04 U
EMP NAME: PICCO, MICHAEL .

6533 SW LOCUST ST

PORTLAND, OR 97223

* Classification: S=Secured;. P=Priority; U=Unsecured; A=Administrative; ? = Undetermined , . Page 212 of 300
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Claimant

Claim
Number

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Date
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Debtors

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Amount

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cc*

Date:
Time:

07/11/2005
8:06:00 PM

PIER, JIM B

EMP NAME: PIER, JIM B

810 COMMONS LAKEVIEW DRIVE
HUFFMAN, TX 77336

1853100

10/15/2002

CORP

$0.00

PIERCE ALLEN

EMP NAME: PIERCE, ALLEN
56498 CREST DR

WARREN, OR 97053

1799803

10/15/2002

CORP

$52,673.81

PIERCE JOHN M

EMP NAME: PIERCE, JOHN M
105 REAGAN CIRCLE

STATE COLLEGE, PA 16801-7252

1712301

10/15/2002

CORP

$0.00

PIERSON JAMES F

EMP NAME: PIERSON, JAMES
8375 SW IOWA HILL RD
CORNELIUS, OR 97113

1931500

10/15/2002

CORP

$184,000.00

PIERSON LINDA L

EMP NAME: PIERSON, LINDA
8375 SW IOWA HILL
CORNELIUS, OR 97113

1931400

10/15/2002

CORP

$40,000.00

PILGER THAIS B

EMP NAME: PILGER, THAIS
10647 SE LEXINGTON
PORTLAND, OR 97266

858902

10/10/2002

CORP

$305,693.35

PILGREEN, CHARLES EDWARDS
EMP NAME: PILGREEN, CHARLES
1430 SILVERTON RD.N. E. #18
SALEM, OR 97305-2053

690400

10/07/2002

CORP

$182,320.00

PILKINGTON CHARLES D

EMP NAME: PILKINGTON, CHARLES
33585 CHURCH RD

WARREN, OR 97053

2046400

- 10/17/2002

$236,000.00

PILUSO CARL J

EMP NAME: PILUSO, CARL
22300 SE RIDGEVIEW DR
BORING, OR 97009

1638000

10/15/2002

$303,714.00

PIMENTEL, TERESITA D.

EMP NAME: PIMENTEL, TERESITA
17822 NW SEDGEWICK CT.
BEAVERTON, OR 97006

1731400

10/15/2002

CORP

$122,849.71

PINA RADAMES

EMP NAME: PINA, RADAMES

285 NE 56TH ST #1

FORT LAUDEDALE, FL 333341713

524701

09/25/2002

CORP

$6,500.00

PINDER-METZ, LORI

EMP NAME: PINDER-METZ, LORI
4117 STANFORD ST

HOUSTON, TX 77006-4930

1501901

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$0.00
$0.00
$0.00

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Claim
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Date
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Debtors

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cc*

Date: 07/11/2005
Time: 8:06:00 PM

CHAVEZ ANDREA M

EMP NAME: PINTO, ANDREA M (MARICELA.
15106 BERKSHIRE GREEN DR.

HOUSTON, TX 77083-0000

1391802

10/15/2002

CORP

$3,800.00

PITNER COLLEEN R

EMP NAME: PITNER, COLLEEN
11605 NE 29 AV

VANCOUVER, WA 98686

859102

10/10/2002

CORP

$162,632.92

PITRE, PAUL Q

EMP NAME: PITRE, PAUL Q
4298 HWY 104
OPELOUSAS, LA 70570

1753401

10/15/2002

CORP

$231,660.00

PITTMAN, LILLIE KAY

EMP NAME: PITTMAN, LILLIE
2107 PEACHWOOD DRIVE
MISSOURI CITY, TX 77489

1513601

10/15/2002

CORP

$8,661.91

PLACE JANET K

EMP NAME: PLACE, JANET K
2233 S 85TH AVE

OMAHA. NE 68124-0000

1871203

10/15/2002

CORP

$669,508.00

PLAHN RICHARD W
EMP NAME: PLAHN, RICHARD
34947 MILLARD RD
WARREN, OR 97053

2042000

10/47/2002

CORP

$225,000.00

PLAMBECK, DOUGLAS

EMP NAME: PLAMBECK, DOUGLAS
10600 SW STARR DR

TUALATIN, OR 97062

1809803

10/15/2002

CORP

$409,658.20

POELLINGER PAUL F

EMP NAME: POELLINGER, PAUL F
2019 ROUND LAKE DRIVE
HOUSTON, TX 77077-0000

618603

10/03/2002

CORP

$0.00

POFFENBERGER D

EMP NAME: POFFENBERGER, D
930 OAKGROVE AVE

DETROIT LAKES, MN 56501

1770500

10/15/2002

CORP

$620,733.85

POHL BARBARA J

EMP NAME: POHL, BARBARA
59207 HERITAGE LN

ST HELENS, OR 97051

1183202

10/11/2002

CORP
CORP

$136,274.92
$1,597.50
$137,872.42

POLLARD GEOFFREY P

EMP NAME: POLLARD, GEOFFREY P
1255 EASLEY DRIVE

CLAYTON, CA 94517-0000

1480803

10/15/2002

EESNA, INC

$16,031.56

POLLOCK, WALT

EMP NAME: POLLOCK, WALTER
2352 NW RALEIGH

PORTLAND, OR 97210-2633

2012701

10/16/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

“$158,097.00

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Number

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Debtors

Objected To
Amount

cc*

Date: 07/11/2005
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POMEROY PHILIP W 717400
EMP NAME: POMEROY, PHILIP

555 S PERSHING

MT ANGEL, OR 97362

10/08/2002

CORP

$104,000.00

POOLE SUSAN K 1470902
EMP NAME: POOLE, SUSAN K

424 S BERNICE

SPEARMAN, TX 78081-0000

10/15/2002

CORP

$0.00

POPE J DOUGLAS 1064000
EMP NAME: POPE, DOUGLAS

POB 168

BOARDMAN, OR 97818

10/11/2002

CORP

$192,000.00

POPE, MARK S. 1812901
EMP NAME: POPE, MARK S

11246 VIENNA TRAILS LANE

HOUSTON, TX 77095

10/15/2002

CORP
CORP

$25,512.19
$4,650.00
$30,162.19

POPE-SANCE, KATHLEEN 1165303
EMP NAME: POPE-SANCE, KATHLEEN M

8718 KIMWOOD

HOUSTON, TX 77080

10/4 4/2002

CORP

$45,503.00

PORTER, DIANA JUNE 1750700
EMP NAME: PORTER, DIANA J

P.O, BOX 87

MISSOURI CITY, TX 77459

10/15/2002

CORP

$0.00

LANE, PORTER G. 9414300
EMP NAME: PORTER, G.L

PO BOX 446

FORT.STOCKTON, TX 79735

10/11/2002

CORP
CORP

$0.00
$0.00
$0.00

vu

PORTER THERESA B 1581200
EMP NAME: PORTER, THERESA B

12803 HUNTINGTON FLD DR

HOUSTON, TX 77099-0000

10/15/2002

CORP

$0.00

PORTIN, JAMES M 1960000
EMP NAME: PORTIN, JAMES

878 SE WENDY LN

GRESHAM, OR 97080

10/15/2002

CORP

$219,280.00

PORTZ DAVID 746303
EMP NAME: PORTZ, DAVID

2417 NOTTINGHAM STREET

HOUSTON, TX 77005-0000

10/08/2002

ENA

$15,000.00

POSEY, GEORGE W. 1046700
EMP NAME: POSEY, GEORGE W

415 BICKETT LANE

SPRING, TX 77373

10/11/2002

CORP

$2,904 ,385.00

POSEY GEORGE W. 1063400
EMP NAME: POSEY, GEORGE W

415 BICKETT LANE

SPRING, TX 77373

10/11/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$2,957,365.00

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Tittle Settlement Order

Debtors

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Time:

07/11/2005
8:06:00 PM

POTEMPA, LOUIS E

EMP NAME: POTEMPA, LOUIS E
140 MARSEILLE (BENTWATER)
MONTGOMERY, TX 77356

590300

09/27/2002

CORP

$499,909.11

POTTER, GARY

EMP NAME: POTTER. GARY
2220 E. PINE ST.

STAYTON, OR 97383

2045600

10/17/2002

CORP

$176,422.00

POTTER, JOANN M

EMP NAME: POTTER, JOANN
10101 NE 239 ST

BATTLE GROUND, WA 98604

1604900

10/15/2002

CORP

$307,552.00

POTTER ROBERT E

EMP NAME: POTTER, ROBERT
8310 SW 133

BEAVERTON, OR 97008

1952800

10/15/2002

CORP

$263,680.00

POTTRATZ RICHARD

EMP NAME: POTTRATZ, RICHARD
19806 SE QUALLEY RD
CLACKAMAS, OR 97015

1722700

10/15/2002

CORP

$759,600.00

POTTRATZ, RICHARD L
EMP NAME: POTTRATZ, RICHARD
19806 SE QUALLEY RD
CLACKAMAS, OR 97015

1961402

10/15/2002

CORP

$0.00

POU NORITH

EMP NAME: POU, NORITH
16363 SW TIMBERLAND DR
BEAVERTON, OR 97007

1501803

10/15/2002

$952,160.00

POWELL ROBERT T

EMP NAME: POWELL, ROBERT T (BOB)
900 VISTA PARKWAY

ROSWELL, NM 88201-0000

1546000

10/15/2002

$0.00
$0.00
$0.00

POWELL. TEDDIE L

EMP NAME: POWELL, TEDDIE
72013 HUTCHINSON RD
RAINIER, OR 97048

1751400

10/15/2002

$85,668.00

POWELL, TRAVIS

EMP NAME: POWELL, TRAVIS
810 EXPLORER AVE.
MOLALLA, OR 87038

1047800

10/44/2002

CORP

$71,166.08

POWER BARBARA A

EMP NAME: POWER, BARBARA A
330 N WILCREST

HOUSTON, TX 77079-0000

2025203

10/15/2002

CORP

$0.00

POWER KEITH

EMP NAME: POWER, KEITH
330 N WILCREST DR
HOUSTON, TX 77079-0000

1653303

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00

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Exhibit A : . Date: = =—07/11/2005
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Claimant Claim _ Date Debtors Objected To CC*
Number Filed Amount —

POWER, VALENTINE J 1499102 10/15/2002 CORP , $5,000.00 U
EMP NAME: POWER, VALENTINE 2 . :
2755 SE 98TH AVE

PORTLAND, OR 97266

POWERS SHANNON 695103 10/07/2002 ENW LLC $0.00 U
EMP NAME: POWERS, SHANNON

PMB 234 ENW LLC ___—«80.00 P
2617C WEST HOLCOMBE BLVD $0.00
HOUSTON, TX 77025-0000

PRATH ARGIE J 1952600 10/15/2002 CORP $1,114.27. P
EMP NAME: PRATH, ARGIE

55514 E HY 224 5

ESTACADA, OR 97023

PRATT DAVID H 41460503 10/15/2002 CORP $381,891.28 P
EMP NAME: PRATT, DAVID H (DAVE)

726 LEAFLET LANE

SPRING, TX 77388

PRESCOTT PATRICK P 1583702 10/15/2002 CORP $412,003.38 P
EMP NAME: PRESCOTT, PATRICK P

221 RIVER RD LOOP

GLENDIVE, MT 593309521

PRESUTTI MARY K 793204 40/09/2002 CORP $34,109.00 U
EMP NAME: PRESUTTI, MARY K

106 CALLE NIVEL CORP _ $0.00 P
LOS GATOS, CA 950321150 : . $34,109.00

PRICE, JERRE 1854902 10/15/2002 CORP . $0.00 U
EMP NAME: PRICE, JERRE

323 W MAIN ST

BOALSBURG, PA 16827

PRICE RICHARD L 4938302 10/15/2002 CORP $270,480.00 U
EMP NAME: PRICE, RICHARD .

8120 SW BIRCHWOOD

PORTLAND, OR 97225

PRICE ROBERT B 2054802 10/17/2002 -- CORP - $4,650.00 U
EMP NAME: PRICE, ROBERT B

11035 DARGAIL

SUGAR LAND, TX 77478-0000

PRICE, ROGER D 852300 10/10/2002 CORP $138,000.00 P
EMP NAME: PRICE, ROGER

7602 SE RAMONA ST

PORTLAND, OR 97206

PRIDMORE LEWIS W. 1791200 10/15/2002 CORP - $517,560.65 U
EMP NAME: PRIDMORE, LEWIS W (WAYNE)

11506 LANSBURY DR

HOUSTON, TX 77099-4679

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined : Page 217 of 300
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Claimant

PRISK IV TOM J

EMP NAME: PRISK IV, TOM J
13007 FAR POINT MANOR DR
CYPRESS, TX 77429

Claim
Number

1528002

Document 10

Date
Filed

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Exhibit A
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Amount

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EESO

$7,432.76

Date: 07/11/2005
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PRIVAT, THOMAS

EMP NAME: PRIVAT, THOMAS J
120 JENNY LN

LAFAYETTE, LA 70508

517200

09/24/2002

CORP

$205,856.97

PRUITT DENISE D

EMP NAME: PRUITT, DENISE
919 NE 122ND AVE

APT6

PORTLAND, OR 97230-2056

1195502

10/11/2002

CORP

$36,383.28

PRYOR ANTHONY D

EMP NAME: PRYOR, ANTHONY D (TONY)
917 WAVERLY STREET

HOUSTON, TX 77008

963303

10/11/2002

CORP

$120,019.50

PUCKETT, LATANYA L.

EMP NAME: PUCKETT, LATANYA L
14411 ESSENDINE LANE
HOUSTON, TX 77045

1387100

10/15/2002

CORP

$0.00

PURCELL, HEATHER

EMP NAME: PURCELL, HEATHER
5775 DOLIVER

HOUSTON, TX 77057

1459903

10/15/2002

CORP

$0.00

PUTMAN DOUGLAS J

EMP NAME: PUTMAN, DOUGLAS
75443 MOUNT VIEW DR
CLATSKANIE, OR 97016

2089100

10/21/2002

CORP

$376,000.00

PYLESE

EMP NAME: PYLES, E
1125 LOCH MOUNT
LOVELAND, CO 80537

644600

10/04/2002

CORP

$0.00

QUENNOZ, STEPHEN

EMP NAME: QUENNOZ, STEPHEN
59094 HERITAGE LN

ST HELENS, OR 97051

2122403

10/25/2002

CORP

$319,788.98

QUICK JOAN

EMP NAME: QUICK, JOAN M
C/O PAUL QUICK

20889 EMERALD LANE

BIG RAPIDS, MI 49307

1828704

10/18/2002

ENA

$1,453,514.11 ©

QUINN, CORRINE K

EMP NAME: QUINN, CORRINE K
19093 E.PRENTICE CIR
AURORA, CO 80015

923700

10/11/2002

CORP

$76,382.44

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

Case 4:01-cv-03913

Claim
Number

QUINTERO SALOME L

EMP NAME: QUINTERO, SALOME
8945 ANNETTA AVE A

SOUTH GATE, CA 902803459

L

537700

Document 1005-1

Date
Filed

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Amount

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cc*

CORP

$62,525.17

Date: 07/11/2005
Time: 8:06:00 PM

RAFF, WILLIAM E.

EMP NAME: RAFF, WILLIAM
40943 HILLCREST LOOP
ASTORIA, OR 97103

1994102

10/15/2002

CORP

$164,205.96

FOYT, KATHLEEN &. RAFFERTY

1498501

EMP NAME: RAFFERTY, KATHLEEN E

3334 BLUEBONNET MEADOWS
HOUSTON, TX 77084

10/15/2002

CORP

$260,477.81

RAGSDALE, JOHN B.

EMP NAME: RAGSDALE, JOHN B
1400 HARRISON

KERMIT, TX 79745

665700

10/07/2002

CORP

$0.00

RAHN, NICHOLAS R.

EMP NAME: RAHN, NICHOLAS R (
2524 N 161ST ST

OMAHA, NE 68116

1533800
NICK)

10/15/2002

CORP

$0.00

RAINER, EVA

EMP NAME: RAINER, EVA
3207 FIRST STREET, NORTH
ARLINGTON, VA 22201

1185401

40/11/2002

CORP

$0.00

RAINS, OLEN ELMORE
EMP NAME: RAINS, OLEN
4008 CLEARWELL STREET
AMARILLO, TX 79109

865800

10/10/2002

CORP

$189,990.00

RAKER, COLLEEN M

EMP NAME: RAKER, COLLEEN M
3020 ALBANS

HOUSTON, TX 77005-0000

1492702

10/15/2002

CORP

$40,886.96

RAKESTRAW, LEISA

EMP NAME: RAKESTRAW, LEISA
1271 CR 171

NEW ALBANY, MS 38652

642302

10/04/2002

OEC
OEC

$8,017.69
$0.00
$8,017.69

RALSTON SCOTT A

EMP NAME: RALSTON, SCOTT A
13703 CRICKETT HOLLOW
HOUSTON, TX 77069-0000

746103

10/08/2002

CORP

$6,855.97 _

RAMIREZ ANGELA E

EMP NAME: RAMIREZ, ANGELA E
2602 SAM WILSON ST.
HOUSTON, TX 77020-0000

1554201

10/15/2002

CORP

$2,000.00

RAMIREZ LONNIE G

EMP NAME: RAMIREZ, LONNIE G
2103 CASTLE BEACH

LEAGUE CITY, TX 77573

747000

10/08/2002

CORP

$3,658.86

* Classification: S=Secured;. P=Priority; U-Unsecured; A=Administrative; ? = Undetermined

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Claimant

RAMNATH VAIDYANATHAN

EMP NAME: RAMNATH, VAIDYANATHAN eM
NATHAN) ,
11 LOVELL DRIVE

PLAINSBORO, NJ 08536-0000

Claim
Number

696802

Date
Filed

Exhibit A
Tittle Settlement Order

10/07/2002

Debtors

Objected To
Amount

Date: 07/11/2005
Time: 8:06:00 PM

cc*

CORP,

$13,452.47

RAMSEY, TIMOTHY D.

EMP NAME: RAMSEY, TIMOTHY
17120 NE FARIVIEW DR.
DUNDEE, OR 97115

1763800

10/15/2002

CORP

$1,002,000.00

RAMSEYER, ROBERT D.

EMP NAME: RAMSEYER, ROBERT
6456 MUSTANG CT SE

SALEM, OR 97301

711100

40/08/2002

CORP

$273,680.00

RANCE BYRON

EMP NAME: RANCE, BYRON
5603 SANFORD ROAD
HOUSTON, TX 77096-0000

1215400

10/11/2002

CORP

$409,274.00

RANCE SUSAN E

EMP NAME: RANCE, SUSAN E
600 FRONT ST APT 420

SAN DIEGO, CA 92101

694102

10/07/2002

CORP

$3,386.25

RANCOUR DENISE

EMP NAME: RANCOUR, DENISE
1406 CAMBRIDGE DR.
FRIENDSWOOD, TX 77546-0000

1505400

10/15/2002

CORP

$6,552.48

RANDIG ROBERT F

EMP NAME: RANDIG, ROBERT F
2661 MAIN WAY DRIVE

LOS ALAMITOS, CA 90720-0000

1176904

10/11/2002

CORP

$9,310.98

RANDOLPH. JOHN TREVOR

EMP NAME: RANDOLPH, JOHN (TREVOR)
2990 BISSONNET #9101

HOUSTON, TX 77005

1585201

10/15/2002

CORP

$0.00

RANEY RICHARD A

EMP NAME: RANEY, RICHARD
10002 SE PARKWOOD WAY
HAPPY VALLEY, OR 97236

662500

10/07/2002

CORP

$210,480.00

RAO MURTHY H

EMP NAME: RAO, MURTHY H
3000 BISSONNET ST., #3205
HOUSTON, TX 77005-0000

1738403

10/15/2002

EBS, INC
EBS, INC

$3,505.49
$4,650.00
$8,155.49

RATHJEN, JR HANS .
EMP NAME: RATHJEN, HANS
PO BOx 115

SANDY, OR 97055

844900

40/10/2002

CORP

$185,704.00

RATHMELL PEGGY BELLAH

EMP NAME: RATHMELL, PEGGY B
410 SHADY WOOD ROAD
HOUSTON, TX 77057

919203

10/71/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00

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Exhibit A - . Date: 07/11/2005
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Claimant Claim Date Debtors Objected To CC*

Number Filed Afmount
RATHVON, RICHARD D 1914002 10/15/2002 EESO - $15,422.00 U
EMP NAME: RATHVON, RICHARD D
3708 ARNOLD STREET
HOUSTON, TX 77005-0000
RATNER MICHAEL L 1204702 10/11/2002 CORP $30,124.90 U
EMP NAME: RATNER, MICHAEL L
632 E. 12 1/2 STREET
HOUSTON, TX 77008-0000
RAUCH KATHY A 1814400 10/15/2002 CORP $139,897.76 U
EMP NAME: RAUCH, KATHY .
BOX 4190
LEXINGTON, OR 97839
RAVA ANTHONY D 1064100 10/11/2002 CORP $429,000.00 U
EMP NAME: RAVA, ANTHONY
8381 75 AV NE
SALEM, OR 97305
REA CASEY J 560600 09/30/2002 CORP $201,000.00 U
EMP NAME: REA, CASEY
75159 TOWNSEND RD
RAINIER, OR 97048
READ LINDA L 1932902 10/15/2002 . CORP $244,078.83 P
EMP NAME: READ, LINDA
18362 SW JEREMY ST
BEAVERTON, OR 97007
REED CAROL 1942702 10/15/2002 CORP $205,243.04 P
EMP NAME: REED, CAROL
6910 SW 11DR
PORTLAND, OR 97219
REED, CAROL G. 2026700 10/17/2002 CORP $8,101.75 U
EMP NAME: REED, CAROL .
39127 WILDWOOD RD, APT. #11 CORP 84,091.77, P
NORTH BEND, OR 97459 $12,193.52
REED DEBRA A 832402 10/10/2002 CORP $111,976.00 U
EMP NAME: REED, DEBRA A (DEB)
4742 BASSWOOD DR CORP ___ $4,650.00 P
BLAIR, NE 68008-0000 oe $116,626.00
REESE, JOHN D. 1919001 10/15/2002 : CORP $0.00 U
EMP NAME: REESE, JOHN D ,
8118 N. 164TH STREET CORP _______ 80.00. P
BENNINGTON, NE 68007 , $0.00
REESE, SHARON J. 1912601 10/15/2002 : CORP $0.00 P-

EMP NAME: REESE, SHARON J . a
8718 N. 164TH STREET .
BENNINGTON, NE 68007

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined . , Page 221 of 300
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Claimant Claim Date Debtors Objected To CC*

Number Filed Amount
REEVES, LESLIE 1521804 10/15/2002 ENW LLC $0.00 U
EMP NAME: REEVES, LESLIE K _
1606 KARANKAWAS EGM LLC : U
DEER PARK, TX 77356
REEVES, RANDAL L. 1569700 40/15/2002 IGC $0.00 U
EMP NAME: REEVES, RANDAL L
P.O. BOX 1843 1Gc _____$0.00 P
FORT STOCKTON, TX 79735 $0.00
REEVES, RICHARD D. 1570700 10/15/2002 IGC $0.00 U
EMP NAME: REEVES, RICHARD 0D
294 WEST 47TH LANE : IGC. _______—80.00 P
FORT STOCKTON, TX 79735 $0.00
REID, DONALD B 580502 09/27/2002 CORP $36,624.29 P
EMP NAME: REID, DONALD B
80 HAZEL AVENUE
GLENCOE, IL 60022-0000
REID JEROLD D 936102 10/41/2002 CORP $307,280.00 P
EMP NAME: REID, JEROLD
59385 BARR AV
ST HELENS, OR 97051 /
REIN DAVID C , 693203 10/07/2002 CORP $10,015.00 U
EMP NAME: REIN, DAVID C : ‘
3570 DEER CREST DR
DANVILLE, CA 94506-0000
REMLEY JOHN M 1712400 40/15/2002 CORP $254,320.00 P
EMP NAME: REMLEY, JOHN
13060 SW STARVIEW DR
TIGARD, OR 97224
REMMENGA, MERLIN E. 2011900 10/16/2002 CORP $149,585.82 U
EMP NAME: REMMENGA, MERLIN E
1715 SEVEN MAPLES DRIVE
KINGWOOD, TX 77345
REMMERS, TYLAN T 2068700 10/21/2002 CORP $9,084.59 P
EMP NAME: REMMERS, TYLAN T
1349 85TH AVENUE
SHERBURN, MN 56171-0000
RENEAU LEWIS W : 1732201 - 10/15/2002 . CORP “$0.00 .U
EMP NAME: RENEAU, LEWIS W : ;
PO BOX 1492 : CORP . 80-00 P
SEMINOLE, TX 79360-1492 $0.00
RENIERS, PETER CRAIG 799801 10/10/2002 . CORP $334,834.53 U
EMP NAME: RENIERS, PETER C :
5217 BAMBURG COURT : : a
FREDERICK, MD 21703 :

REYES, CHARLES A , 1891002 10/15/2002 EBS, INC $67,430.79 U
EMP NAME: REYES, CHARLES 4 :
22414 CAROLINE CHASE CT

KATY, TX 77494-0000

* Classification: S=Secured;, P=Priority; U=Unsecured; A=Administrative; ? = Undetermined. . : / . Page 222 of 300
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Date: = 07/11/2005
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REYES, SONNIA R.

EMP NAME: REYES, SONNIA R
10015 KIRWREN DRIVE
HOUSTON, TX 77089-3010

2009202

10/16/2002

CORP

$0.00

REYNOLDS EDWARD F

EMP NAME: REYNOLDS, EDWARD
2294 37 AV NW

SALEM, OR 97304

905900

10/14/2002

CORP

$127,040.00

REYNOLDS JACK B

EMP NAME: REYNOLDS, JACK
36230 SE COUPLAND RD
ESTACADA, OR 97023

1626900

10/15/2002

CORP

$191,476.37

RHOADES JERRY E

EMP NAME: RHOADES, JERRY
2089 WELLINGTON DR

WEST LINN, OR 97068

831500

10/10/2002

CORP

$426,207.20

RICE GREEK L

EMP NAME: RICE, GREEK L
18 HOWELL LN

SUGAR LAND, TX 77479-0000

1180502

10/1 1/2002

CORP

$0.00

RICE, RANDY K

EMP NAME: RICE, RANDY K
5015 CUMING

OMAHA. NE 68132-0000

1611802

10/45/2002

CORP

$175,000.00

RICH, ALISA J

EMP NAME: RICH, ALISA
940 SE 33

TROUTDALE, OR 97060

849502

10/10/2002

CORP

$55,994.00

RICH, BURLEY M

EMP NAME: RICH, BURLEY
382 NW WADE ST
ESTACADA, OR 97023

2122500

10/25/2002

CORP

$141,387.81

RICHARD CAROL J

EMP NAME: RICHARD, CAROL J
605 SOUTH MAIN ST

CHURCH POINT, LA 70525-0000

1153001

10/11/2002

CORP

$3,256,933.35

RICHARDS JR JAMES M

EMP NAME: RICHARDS, JAMES
11502 SE TYLER RD
PORTLAND, OR 97266

500000

09/23/2002

CORP

$108,557.00

RICHARDSON, ALLEN L.

EMP NAME: RICHARDSON, ALLEN
13208 GAFFNEY LN

OREGON CITY, OR 97045

709700

10/08/2002

CORP

$192,082.00

RICHARDSON, JAMES G

EMP NAME: RICHARDSON, JAMES G
91 WEST THYMEWOOD PLACE

THE WOODLANDS, TX 77382

1192305

10/11/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$16,901.85

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Time: 8:06:00 PM

cc*

RICHARDSON, RENEE

EMP NAME: RICHARDSON, RENEE
15915 S. SANDALWOOD RD
OREGON CITY, OR 97045

304500

10/11/2002

CORP

$279,532.32

RICHARDSON RICK

EMP NAME: RICHARDSON, RICK
187 SW IVY CT

PRINEVILLE, OR 977541410

737500

10/08/2002

CORP

$42,519.54

RICHARDSON ROBERT P

EMP NAME: RICHARDSON, ROBERT
41050 SE ALLGEIER RD

SANDY, OR 970557685

1544800

10/15/2002

CORP

$254,990.00

RICHARDSON STACEY L

EMP NAME: RICHARDSON, STACEY L
9550 ELLA LEE LANE #1413
HOUSTON, TX 77063-0000

1777602

10/15/2002

CORP

$0.00

RICHTER, JEFF

EMP NAME: RICHTER, JEFFREY S$ (JEFF)

JEFFREY S RICHTER
14071 SE 20TH ST
VANCOUVER, WA 986837638

4654705

10/15/2002

ENA

$0.00

RICKERT Ill ROBERT E

EMP NAME: RICKERT, ROBERT
600 FOOTHILLS DR

NEWBERG, OR 97132

1630602

10/15/2002

CORP

$7,440.00

RICKETTS DOROTHY M

EMP NAME: RICKETTS, DOROTHY M
PO BOX 1573

MISSOURI CITY, TX 77459-1573

1713503

10/15/2002

CORP
CORP

$800,322.00
$4,650.00

"$804,972.00

RIEDER KENNETH L

EMP NAME: RIEDER, KENNETH
PO BOX 683

BORING, OR 970090683

714302

10/08/2002

CORP

$261,985.00

RIERSON, KAREN A

EMP NAME: RIERSON, KAREN
121 SW SALMON ST
PORTLAND, OR 97204

917101

10/11/2002 ~

CORP:

$335,520.00

RIES DREW

EMP NAME: RIES, DREW

1 HEDGEROW

SPRING HOUSE
PENNYSLVANIA, PA 19477

2031603

10/15/2002

CORP

$7,693.18

RIFE GREGORY A

EMP NAME: RIFE, GREGORY
5940 SW SEQUOIA DR
TUALATIN, OR 97062

1151500

10/4 1/2002

CORP

$308,115.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

RIGGS, LAURA

EMP NAME: RIGGS, LAURA L
5012 S. 95TH CIR

OMAHA, NE 68127

Claim
Number

1539901

Document 1005-1

Date
Filed

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cc*

CORP

$107,548.35

Date: 07/11/2005
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RILEY, THOMAS S.

EMP NAME: RILEY, THOMAS S
14 CRESTVIEW TERRACE
ORINDA, CA 94563

1728402

10/15/2002

CORP

$27,617.00

RIMA STEVE A

EMP NAME: RIMA, STEVE A
HCR 3 BOX 32B
PERRYTON, TX 79070-0000

2010703

10/16/2002

CORP

$164,139.97

RIMINGTON FRED G

EMP NAME: RIMINGTON, FRED G
16315 OAK CIRCLE

OMAHA, NE 68130-0000

1488002

10/15/2002

CORP

$232,257.00

RINARD DIANE

EMP NAME: RINARD, DIANE
2540 SW LILYBEN CT
GRESHAM, OR 97080

720002

10/08/2002

CORP

$50,634.00

RINARD JOSEPH A

EMP NAME: RINARD, JOSEPH
2540 SW LILLYBEN CT
GRESHAM, OR 97030

658600

10/07/2002

CORP

$293,840.00

RINARD ROY E

EMP NAME: RINARD, ROY
25695 E BRIGHT AVE
WELCHES, OR 970678703

718700

10/08/2002

CORP

$1,072,000.00

RINEHART DAVID M

EMP NAME: RINEHART, DAVID M
7521 SW 3 PLACE

GAINESVILLE, FL 32607

657002

10/07/2002

CORP

$234,300.00

RING ANDREA K

EMP NAME: RING, ANDREA K
8002 BROMLEY

HOUSTON, TX 77055-0000

1908202

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

RING RICHARD

EMP NAME: RING, RICHARD
8002 BROMLEY DRIVE
HOUSTON, TX 77055-0000

1908103

10/15/2002

CORP

$0.00

RINK, ROBERT GC

EMP NAME: RINK, ROBERT C (BOB)

609 6TH ST
ELDORA, IA 50627

619602

10/03/2002

CORP

$3,555.52

RIOS, ERNESTO C

EMP NAME: RIOS, ERNESTO C
PO BOX 1933

CARLSBAD, NM 88221-0000

1590200

10/15/2002

CORP

$0.00

* Classification: S=Secured;.P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant Claim Date Debtors Objected To CC*
Number Filed , Armount
RIOS RUBEN 1703602 10/15/2002 CORP . $74,519.42 _U
EMP NAME: RIOS, RUBEN e@ :
113 TANGLEWOOD DR
DODGE CITY, KS 678012144
RISHE, FRANK J 1659402 10/15/2002 CORP $11,828.78 U
EMP NAME: RISHE, FRANK J
$0 GLENBROOK RD
MORRIS PLAINS, NJ 07950-0000
RISWICK DAWN C 928402 10/11/2002 CORP $132,608.64 U
EMP NAME: RISWICK, DAWN :
16411 SW TIMBERLAND DR
BEAVERTON, OR 97007
RISWICK KENNETH A 928502 10/11/2002 CORP $10,431.92° U
EMP NAME: RISWICK, KENNETH :
KENNETH RISWICK ~
PMB 215 .
4888 NW BETHANY BLVD STE K5
PORTLAND, OR 972299260
RITCHEY TIFFANY A 1046602 10/11/2002 CORP $119,677.76 U
EMP NAME: RITCHEY, TIFFANY ,
17770 SW 112 AV
TUALATIN, OR 97062
FINK, KATHLEEN A. 1571500 10/15/2002 CORP $0.00 U
EMP NAME: RITCHIE, KATHY
8923 ABERDEEN OAKS DR CORP 80.00 P
HOUSTON, TX 770955711 : : : $0.00
RITMILLER KEVIN 1186602 10/11/2002 CORP , - $61,760.00 U
EMP NAME: RITMILLER, KEVIN
4820 NE 78 PL
PORTLAND, OR 97218
RIVAS, JOE A. 1217500 10/11/2002 CORP $393,228.71 P
EMP NAME: RIVAS, JOE A .
627 BARROW DOWNS WAY
HOUSTON, TX 77034
RIVERA CARMEN CORALINA 1634402 10/15/2002 - CORP ~ $1,739.38 U
EMP NAME: RIVERA, CARMEN CORALINA
(CORALINA)
2208 ROBINHOOD ST.
HOUSTON, TX 77005-0000
RIVERA, RICKY S. 1557801 10/15/2002 CORP $38,728.38 U
EMP NAME: RIVERA, RICKY S ,
3708 DOROTHY LANE
PEARLAND, TX 77581-0000
RIVERS, CYNTHIA T. 2136300 10/29/2002 CORP $0.00 P
EMP NAME: RIVERS, CYNTHIA T .
6410 OAKHAM

HOUSTON, TX 77085

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined , : Page 226 of 300
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Claimant

RIVERS DONNA C

EMP NAME: RIVERS, DONNA C

8321 SAYLYNN LN a
HOUSTON, TX 77075

Claim
Number

2203700

Document 1005-1

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cc*

CORP

$60,000.00 .

RIZVI ANA G

EMP NAME: RIZVI, ANA G
10614 KIRKSIDE DR
HOUSTON, TX 77096-0000

2075000

10/18/2002

CORP

$300,000.00

ROBBINS ROD R

EMP NAME: ROBBINS, ROD R
704 MOSS HILL DRIVE

NEW ALBANY, MS 38652-0000

660500

10/07/2002

CORP
CORP

$9,000.00
$23,856.00
$32,856.00

ROBERTS BRAD D

EMP NAME: ROBERTS, BRAD D
100 NORTH STREET

TRACY, MN 56175-0000

908802

10/11/2002

CORP

$32,784.89

ROBERTS JOHN L

EMP NAME: ROBERTS, JOHN
12207 SW LANSDOWINE
TIGARD, OR 97223

1154302

10/11/2002

CORP

$90,992.00

ROBERTSON AUDREY D

EMP NAME: ROBERTSON, AUDREY D
5407 GREEN SPRINGS DR
HOUSTON, TX 77066-0000

698202

10/07/2002

CORP

$80,240.00

ROBERTSON CHESTER
EMP NAME: ROBERTSON, CHESTER
517 CHALEUR DRIVE

- BAKER, LA 70714-0000

2028802

10/15/2002

CORP

$257,270.77

ROBICHAUX MERYL M

EMP NAME: ROBICHAUX, MERYL M (MICHELLE)
1319 OMAR ST

HOUSTON, TX 77008-0000

1818902

10/15/2002

EESO

‘$176,639.00

ROBINSON LAWRENCE

EMP NAME: ROBINSON, LAWRENCE (LARRY)
11614 SAGECREEK

HOUSTON, TX 77089-0000

961702

10/71/2002

$0.00
$0.00
$0.00

ROBINSON, MARCHRIS G

EMP NAME: ROBINSON, MARCHRIS G
10826 PERIGRINE DRIVE

HOUSTON, TX 77065-0000

1519902

10/15/2002

CORP

$0.00

ROBINSON, RICHARD T

EMP NAME: ROBINSON, RICHARD T
4509 MERRIE LANE

BELLAIRE, TX 77401

1497000

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

ROCHA LAWRENCE E

EMP NAME: ROCHA, LAWRENCE
51905 SW CREEKVIEW PL
SCAPPOOSE, OR 97056

2126502

10/28/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

- $159,600.00

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Date: 07/11/2005
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ROCKER, VICKIE L.

EMP NAME: ROCKER, VICKIE

7175 SW 140TH PL

BEAVERTON, OR 97008

1942602

10/15/2002

CORP

$58,046.00

RODECAP ROGER W

EMP NAME: RODECAP, ROGER

6791 GANON ST SE
SALEM, OR 97301

717600

10/08/2002

CORP

$112,000.00

RODGERS DAVID

EMP NAME: RODGERS, DAVID

435 & TAMARACK CT

HERMISTON, OR 97838

1761000

10/15/2002

CORP

$18,582.00

RODRIGUEZ ANITA G

645300

EMP NAME: RODRIGUEZ, ANITA G

1042 CANDLELIGHT LANE

HOUSTON, TX 77018

10/04/2002

CORP

$22,014.74

RODRIGUEZ BERNICE C

1672302

EMP NAME: RODRIGUEZ, BERNICE C

3031 KILLDEER LN

HUMBLE, TX 77396-1855

10/15/2002

CORP

$32,086.00

RODRIGUEZ CARLOS J

476202

EMP NAME: RODRIGUEZ, CARLOS J

1803 COBBLESTONE CT
RICHMOND, TX 77469-0000

09/19/2002

ENA

$106,106.17

RODRIGUEZ RAMONA

1621602

EMP NAME: RODRIGUEZ, RAMONA °

1860 WHITE OAK #334

HOUSTON, TX 77009-0000

10/15/2002

CORP

$1,890.00

ROESLER, CLAYTON A

1465600

EMP NAME: ROESLER, CLAYTON A (CLAY)

7642 DALLAS ST.

CORPUS CHRISTI, TX 78413

10/15/2002

CORP

$20,601.50

ROGAN ROBERT R

EMP NAME: ROGAN, ROBERT

2225 NE FRANCIS CT
GRESHAM, OR 97080

1734300

10/15/2002

CORP

$258,480.00

ROGERS BRAD D

EMP NAME: ROGERS, BRAD

2232 SW 23 ST

TROUTDALE, OR 97060

886300

10/10/2002

GORP

$12,000.00 ©

ROGERS BRUCE R

EMP NAME: ROGERS, BRUCE
1355 EVERGREEN AV NE

SALEM, OR 97301

1063900

10/11/2002

CORP

$410,560.00

ROGERS, CATHERINE E

1612300

EMP NAME: ROGERS, CATHERINE

27374 SW GRAHAMS FERRY RD
SHERWOOD, OR 97140

10/15/2002

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CORP

$239,794.78

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ROGERS, JESSE A e

EMP NAME: ROGERS, JESSE
14011 SE RUST WY
BORING, OR 97009

1659800

10/15/2002

CORP

$74,000.00

ROHLING RICHARD J

EMP NAME: ROHLING, RICHARD J
10235 LAKE RD

PRATT, KS 67124-0000

733802

10/08/2002

CORP

$354,949.25

ROLAND DAVID L

EMP NAME: ROLAND, DAVID L
12214 COBBLESTONE
HOUSTON, TX 77024-0000

1492001

10/15/2002

CORP
CORP

$50,580.44 .

$0.00
$50,580.44

ROMAN DE MEZZA, MARYANN

EMP NAME: ROMAN DE MEZZA, MARYANN
PO BOX 980841

HOUSTON, TX 77098-0841

1380902

10/15/2002

CORP

$126,555.96.

ROME WILLIAM E

EMP NAME: ROME, WILLIAM E
20707 RHODES RD

SPRING, TX 77388-0000

677400

10/07/2002

CORP

$281,898.20

ROMIGLIO, CLAUDETTE

EMP NAME: ROMIGLIO, JOHN R
ROMIGLIO, CLAUDETTE

89 PERRY STREET

DOUGLAS, MA 015162424

2026100

10/17/2002

CORP

$0.00

ROMIGLIO, JOHN R.

EMP NAME: ROMIGLIO, JOHN R
18 EAST STREET

MILFORD, MA 01757

2078600

10/18/2002

‘CORP

$93,192.69

ROMITO MARCIA E

EMP NAME: ROMITO, MARCIA
21500 NW GILKINSON RD
SCAPPOOSE, OR 97056

2

1934802

10/15/2002

CORP

$240,930.00

ROOKE LAURA L

EMP NAME: ROOKE, LAURA
3321 SW FAIRMOUNT BL
PORTLAND, OR 97239

501300

09/23/2002

$29,828.91

ROSE ROSCOE §

EMP NAME: ROSE, ROSCOE
24555 NW OAK DR
HILLSBORO, OR 97124

1729600

10/15/2002

CORP

$209,440.00

ROSEN A MICHAEL

EMP NAME: ROSEN, MICHAEL
PMB 1295

1405 WEST GRAY

HOUSTON, TX 77019

774705

10/09/2002

CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

ROSEN, MICHAEL B.

EMP NAME: ROSEN, MICHAEL B
2032 NORFOLK ST.

HOUSTON, TX 77098

Claim
Number

1965603

Date
Filed

Exhibit A
Tittle Settlernent Order

10/15/2002

Debtors

Objected To
Amount

cc*

CORP

$26,595.00

Date: = 07/11/2005
Time: 8:06:00 PM

ROSEN THOMAS L

EMP NAME: ROSEN, THOMAS L
20379 NORTH GROVE LOOP
BROOKINGS, SD 57006-0000

583502

09/27/2002

CORP

$718,006.19

ROSENBERG DAVID E

EMP NAME: ROSENBERG, DAVID E
3707 HARPER ST

HOUSTON, TX 77005-3621

1529000

10/15/2002

CORP

$803,566.54

ROSENER, LAURA

EMP NAME: ROSENER, LAURA L
921 HERKIMER

HOUSTON, TX 77008

1687702

10/15/2002

CORP

$12,972.59

ROSENLOF GEORGE P

EMP NAME: ROSENLOF, GEORGE
8616 NE 150TH CT

VANCOUVER, WA 98682

1169300

10/11/2002

CORP

$300,000.00

ROSETTA, MARTIN J.

EMP NAME: ROSETTA, MARTIN J
1702 DREW

HOUSTON, TX 77004

1808300

10/15/2002

CORP

$0.00

ROSS, STEVEN P.

EMP NAME: ROSS, STEVEN
9830 SW HIALEAH PLC
BEAVERTON, OR 97008

1164500

10/11/2002

CORP

$35,920.00

ROSS STEVEN A

EMP NAME: ROSS, STEVEN A
13822 ROSEBRANGH CT
HOUSTON, TX 77059-0000

1471200

10/15/2002

CORP

~ $10,650.00

ROSSETT! NANCY A

EMP NAME: ROSSETTI, NANCY A
42 GOLD LEAF PL.

THE WOODLANDS, TX 77384-3848

833202

10/10/2002

CORP

$1,684.95

ROTH BEVERLY

EMP NAME: ROTH, BEVERLY

4 RIDGE DR W

COUNCIL BLUFFS, IA 51501-0372

1637801

10/15/2002

CORP

$1,041,811.48

ROTHBAUER LINDA

EMP NAME: ROTHBAUER, LINDA T
3630 DURNESS

HOUSTON, TX 77025

929500

10/14/2002

CORP

$1,043,328.00

ROTTER, MARK S.

EMP NAME: ROTTER, MARK
14238 SE SIEBER CR
CLACKAMAS, OR 97015

2125100

10/28/2002

~ CORP

$16,824.16

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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* Claimant

ROTTER, MARK S.

EMP NAME: ROTTER, MARK
14238 SE SICBEN CR
CLACKAMAS, OR 97015

Claim
Number

662900

Document 1005-1

Date
Filed

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Tittle Settlement Order

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Date: 07/11/2005
Time: 8:06:00 PM

Objected To CC*
Amount

CORP

$142,320.00 P

ROUND, SAMUEL F

EMP NAME: ROUND, SAMUEL F
ROUND-FREEMAN

1514 DROXFORD DR
HOUSTON, TX 770083214

1809901

10/15/2002

CORP

$5,700.67 U

ROUSE MICHAEL D

EMP NAME: ROUSE, MICHAEL
12506 NE 41 ST

VANCOUVER, WA 98682

4149702

10/11/2002

CORP

$131,325.00 U

ROUTSON, LEONARD C

EMP NAME: ROUTSON, LEONARD
103 COWLITZ

UMATILLA, OR 97882

1709400

10/15/2002

CORP

$106,725.60 P

ROWE DANIEL L

EMP NAME: ROWE, DANIEL
795 W DIVISION AV
HERMISTON, OR 97838

784500

10/09/2002

CORP

" $161,736.68 P

RUB JEANETTE M

EMP NAME: RUB, JEANETTE M (JENNY)
7210 BLENHEIM PLACE

HOUSTON, TX 77095-0000

1617306

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

RUBERT DANIEL J

EMP NAME: RUBERT, DANIEL
3318 G ST

WASHOUGAL, WA 98671

1934900

10/15/2002

CORP

$1,392.72 P

RUCH PATRICIA A

EMP NAME: RUCH, PATRICIA
10296 A COMER CREEK DR
MOLALLA, OR 97038

1766101

10/15/2002

CORP

$127,964.00 U

RUFFCORN, KEVIN L.

EMP NAME: RUFFCORN, KEVIN L
7 PURPLE MARTIN PLACE
SPRING, TX 77381

670801

10/07/2002

CORP

$0.00 U

RUFFER, MARY LYNNE

EMP NAME: RUFFER, MARY L (MARY LYNNE)

19 CRESTED POINT PLACE
THE WOODLANDS, TX 77382

1516602

10/15/2002

CORP

$0.00 U

RUNKEL SUSAN C

EMP NAME: RUNKEL, SUSAN C
163 HAVERSHAM

HOUSTON, TX 77024-0000

1461502

10/15/2002

CORP

$8,468.49 P

* Classification: S=Secured;. P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

RUNTE DAVID E

EMP NAME: RUNTE, DAVID E
1275 LAKE SHADOW CIRCLE
APARTMENT #13-310
MAITLAND, FL 32751-0000

Claim
Number

1194003

Document 1005-1

Tittle Settlement Order

Date
Filed

10/11/2002

Filed on 07/14/05 in TXSD

Debtors

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Objected To CC*
Amount |

CORP
CORP

$0.00: U
$0.00 P
$0.00

Date: 07/11/2005
Time: 8:06:00 PM

RUSSO, GAVIN J

EMP NAME: RUSSO, GAVIN J
20602 AUTUMN TERRACE
KATY, TX 77450-0000

1543901

10/45/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

RUTLAND, OZZIE

EMP NAME: RUTLAND, OZZIE N
85 FOSTER RD

SUMRALL., MS 39482

2083600

"10/21/2002

CORP

$3,696.41 -P

RYAN JAMES S

EMP NAME: RYAN, JAMES
6770 SW WHISPER CT
BEAVERTON, OR 97008

1745600

10/15/2002

CORP

$400,000.00 U

RYAN MICHAEL R

EMP NAME: RYAN, MICHAEL
2402 SE 150 AV
VANCOUVER, WA 98684

1692100

10/15/2002

CORP

$245,600.00 U

RYDER CHRISTOPHER D

EMP NAME: RYDER, CHRISTOPHER
11603 SW SUMMERVILLE AV
PORTLAND, OR 97219

1988302

10/15/2002

CORP

$151,680.00 U

RYDER JAMES P

EMP NAME: RYDER, JAMES P
1823 NINA LEE

HOUSTON, TX 77018-0000

928803

10/11/2002

ENW LLC

$1,737.00 U

RYDER, JEFFERY D.

EMP NAME: RYDER, JEFFREY
42850 SE GEORGE RD
ESTACADA, OR 97023

1668000

10/15/2002

CORP

$158,800.00 P

RYE, GREGORY LYNN

EMP NAME: RYE, GREGORY L
705 § 129TH AVE

OMAHA, NE 68154

640402

10/04/2002

CORP

$279,600.00 U

RYLAND DWAYNE GC

EMP NAME: RYLAND, DWAYNE
15425 NE HOLLADAY
PORTLAND, OR 97230

1146700

10/11/2002

CORP
CORP

$0.00 U
$241,360.00 P
$241,360.00

RYLAND FRIEDA A

EMP NAME: RYLAND, FRIEDA
2335 SE HENKLE RD
CORBETT, OR 97019

2024200

10/16/2002

CORP

$28,813.29 P

SACHDEVA, AMAN

EMP NAME: SACHDEVA, AMAN
13212 KILBY LNDG :
CLIFTON, VA 201240960

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

910201

10/14/2002

CORP

~ $6,000.00 U

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Claimant

Claim
Number

Date
Filed

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

Date: 07/11/2005
Time: 8:06:00 PM

cc

SAFFORD CYNTHIA M @
EMP NAME: SAFFORD, CYNTHIA M

6742 GLENEAGLES

PASADENA, TX 77505-0000

1826002

10/15/2002

CORP

$10,000.00

SAHA ARUN

EMP NAME: SAHA, ARUN
7 WHITING CT

MORAGA. CA 94556-1927

1154902

10/11/2002

_ CORP

$33,695.88

SAK JEFF

EMP NAME: SAK, JEFF
70772 HENDERGART LN
BOARDMAN, OR 97818

1186202

10/11/2002

CORP

$82,743.96

SALDIVAR DAVID

EMP NAME: SALDIVAR, DAVID
18234 ATKINSON LN
CONROE, TX 77384

2060700

10/21/2002

CORP

$53,977.00

SALDIVAR ELLEN S

EMP NAME: SALDIVAR, ELLEN S (SUZANNE)
726-B BERING

HOUSTON, TX 77057

1519000

10/15/2002

CORP

$0.00

SALEWSKY FELICIA K

EMP NAME: SALEWSKY, FELICIA K
2923 QUAIL OAK DR

HOUSTON, TX 77014-0000

773201

10/09/2002

CORP

$58,681.53

SALINAS JOSE O.

EMP NAME: SALINAS, JOSE O
3714 MALONE

PASADENA, TX 77503

1780002

10/15/2002

CORP

$190,526.00

SALINAS MARIAN G

EMP NAME: SALINAS, MARIAN G
3108 BERRYFIELD LANE
PEARLAND.,, TX 77581-0000

1512202

10/15/2002

CORP

$2,721.00

SALLER, STEVEN

EMP NAME: SALLER, STEVEN
PO BOX 440

BOARDMAN, OR 97818

651102

09/30/2002

$81,088.07

SAM, ROY

EMP NAME: SAM, ROY
PMB 209

1102 N. SPRINGBROOK RD
NEWBERG, OR 97132

1908900

10/15/2002

CORP

$308,655.20

SAMMON. ROBERT L.

EMP NAME: SAMMON, ROBERT L
5319 BROWNLEE LANE

SPRING, TX 77379

1756600

10/15/2002

CORP

$27,965.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A ' Date: 07/11/2005
Tittle Settlement Order . Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

SAMPLES ROGER D 667200 40/07/2002 CORP $21,000.00 P
EMP NAME: SAMPLES, ROGER .

24565 COX RD

RAINIER, OR 97048

SAMPSON, GEORGE W. 4600 12/13/2001 CORP $0.00 U
EMP NAME: SAMPSON, GEORGE W.

HAGENS BERMAN, LLP

1301 5TH AVE, SUITE 2900

ATTORNEYS FOR ECSP & ESOP PARTICIPANTS

SEATTLE, WA 98101

SANCHEZ A MICHAEL 1179300 10/11/2002 CORP $0.00 U
EMP NAME: SANCHEZ, MICHAEL A

810 HARVARD

DEER PARK, TX 77536

SANDEEN ROGER 2126900 10/28/2002 CORP $293,474.00 U
EMP NAME: SANDEEN, ROGER D

ROGER D SANDEEN

15221 N CLUBGATE DR APT 2104

SCOTTSDALE, AZ 852542647

SANDEFER, HELEN G 1665700 40/15/2002 CORP $0.00 U
EMP NAME: SANDEFER, HELEN G

5031 RANCHWOOD DR CORP $0.00 P
COCOA, FL 329262626 $0.00

SANDER ROCK J 1671300 10/15/2002 CORP $321,217.16 U
EMP NAME: SANDER, ROCK

313 APPLE AV

SILVERTON, OR 97381

SANDERS KEVIN W 1190400 10/11/2002 CORP $154,923.60 U
EMP NAME: SANDERS, KEVIN

19401 SE 42ND CIRCLE

CAMAS, WA 98607

SANDERS, RICHARD B. 1574002 10/15/2002 CORP $15,000.00 P
EMP NAME: SANDERS, RICHARD B :

546 COLLEGE

BELLAIRE, TX 77401

SANDERSON, WILLIAM A. 2015300 10/16/2002 CORP . $252,944.00 U
EMP NAME: SANDERSON, WILLIAM : .

SANDHERR, CYNTHIA C. 2004002 10/16/2002 CORP $160,347.62 U
EMP NAME: SANDHERR, CYNTHIA C :

303 SOUTH UNION STREET

ALEXANDRIA, VA 22314

SANDT, JAMES M. 1260600 10/15/2002 CORP $0.00 U
EMP NAME: SANDT, JAMES

5334 VAN ACRE VERDE CORP $0.00
HOUSTON, TX 77056 $0.00

SANDY, JOHN M 913500 10/11/2002 CORP $115,520.00 -P
EMP NAME: SANDY, JOHN
14920 BLUFF RD

SANDY, OR 97055

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined - : Page 234 of 300
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD Page 265 of 353

Exhibit A
Tittle Settlement Order

Claimant Claim Date Debtors
Number Filed

Objected To
Amount

cct

Date: 07/11/2005
Time: 8:06:00 PM

SANS SOUCI REBECCA J 1576702 10/15/2002 CORP
EMP NAME: SANS SOUCI, REBECCA J

13806 MARTHA CIR

OMAHA, NE 68144-0000

$0.00

SANTIKOS MARK P 1632102 10/15/2002 EBS, INC
EMP NAME: SANTIKOS, MARK P

4311 W ALABAMA #3

HOUSTON, TX 77027-0000

$0.00

SARAGOSA FRANCISCO 894900 10/10/2002 CORP
EMP NAME: SARAGOSA, FRANCISCO (FRANK)

1008 HOLLIS DRIVE

HOBBS, NM 88240-0000

$0.00

SARANTHUS MARIKAY PETERSON 674201 10/07/2002 CORP
EMP NAME: SARANTHUS, MARIKAY P CORP
58 SPLIT ROCK RD

THE WOODLANDS, TX 77381-2586

$429,860.95
$0.00
$429,860.95

SARGENT BARBARA L 1154704 10/11/2002 CORP
EMP NAME: SARGENT, BARBARA L

102 COBB CAVERN DR

GEORGETOWN, TX 786284773

$9,756.18

SARNOWSKI, JULIE 639904 10/04/2002 CORP
EMP NAME: SARNOWSKI, JULIE

P.O. BOX 1428

SILVERTON, OR 97381

$4,445.27

SATTLER PAT J 1769700 10/15/2002 CORP
EMP NAME: SATTLER, PAT

23425 NE DILLON RD

NEWBERG, OR 97132

$125,017.42

SAUCIER JR, DANA A 1827103 10/15/2002 CORP
EMP NAME: SAUCIER JR, DANA A

4998 LONGBENTON WAY

DUBLIN, OH 43017

$66,878.39

SAUNDERS, KATHRYN J. 1241302 10/11/2002 CORP
EMP NAME: SAUNDERS, KATHRYN

POB 126

CANBY, OR 97013

$12,646.08

SAUNDERS, SHERRI R 1863601 10/15/2002 CORP
EMP NAME: SAUNDERS, SHERRI R ‘
8585 WOODWAY 112

HOUSTON, TX 77063-0000

$4,435,266.19

SAUSEDA SYLVIA T : 2004501 10/16/2002 EIM LLC
EMP NAME: SAUSEDA, SYLVIA T

832 ZOE ST

HOUSTON, TX 77020-0000

$0.00

SAW KEAT H 1854804 10/15/2002 CORP
EMP NAME: SAW, KEAT H

43 RED BUD COURT

DANVILLE, CA 94526-0000

* Classification: S=Secured;. P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

$52,252.72

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Claimant

Claim
Number

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

Debtors

Objected To
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cc*

Date:
Time:

07/11/2005
8:06:00 PM

SAWODNY DAN M
2

EMP NAME: SAWODNY, DAN M
209 AEGEAN WAY APT 141
VACAVILLE, CA 95687

618802

10/03/2002

CORP

$10,073.62

SAYLER, MICHELLE L.

EMP NAME: SAYLER, MICHELLE
11646 SW 31ST CT.

PORTLAND, OR 97219

2102000

10/23/2002

CORP
CORP

$1,523.00
$2,100.00
$3,623.00

SCHAFFRAN PATRICIA A

EMP NAME: SCHAFFRAN, PATRICIA
16500 HALL RD

CLATSKANIE, OR 97016

788100

40/09/2002

CORP

$23,000.00

SCHALLERT DEBORAH

EMP NAME; SCHALLERT, DEBORAH
10430 SW 43 AV

PORTLAND, OR 97219

1767203

10/15/2002

CORP

$33,600.00

SCHASSEN, JOHN C.

EMP NAME: SCHASSEN, JOHN
14740 S. SUGARPINE WAY

LA PINE, OR 97739

1196500

10/11/2002

CORP

$0.00

SCHERZINGER PATRICIA C

EMP NAME: SCHERZINGER, PATRICIA
1420 SW WOODWARD WY
PORTLAND, OR 97225

1485402

10/15/2002

CORP

$41,090.54

SCHIEDLER, RICHARD A,

EMP NAME: SCHIEDLER, RICHARD
P.O. BOX 364

MOUNT ANGEL, OR 97362

1517300

10/15/2002

CORP

$466,008.00

SCHIELD, ELAINE

EMP NAME: SCHIELD, ELAINE P
3218 HAMM RD.

PEARLAND, TX 77581

1713202

10/15/2002

CORP

$0.00

SCHLACK, FREDERICK J

EMP NAME: SCHLACK, FREDERICK
11276 S MACKSBERG RD

CANBY, OR 97013

897900

40/11/2002

CORP

$118,080.00

SCHLAHT DALE M

EMP NAME: SCHLAHT, DALE
46262 SE DOWLING RD
SANDY, OR 97055

907100

10/11/2002

CORP

$204,997.00

SCHLAUDRAFF, CHRISTINE D

EMP NAME: SCHLAUDRAFF, CHRISTINE D
1243 STRUSS LANE

COLUMBUS. TX 78934-0000

1468102

10/15/2002

CORP

$0.00

SCHLENKER MICHAEL K

EMP NAME: SCHLENKER, MICHAEL
16339 SW RED TWIG DR
SHERWOOD, OR 97140

1947600

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$180,000.00

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Claimant Claim
Number

Document 1005-1

Date
Filed

Exhibit A
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Debtors

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Amount

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cc*

Date: 07/11/2005
Time: 8:06:00 PM

SCHMAND, MELISSA M. 1614300
EMP NAME: SCHMAND, MELISSA M

123 27TH ST

NEWPORT BCH, CA 926633414

10/15/2002

CORP

$25,732.25

SCHMAUCH, DANA M, 1717100
EMP NAME: SCHMAUCH, DANA

12478 SW 72ND AVE APT 814

PORTLAND, OR 972238620

10/45/2002

CORP

$3,520.00

SCHMEER MICHAEL G 1145602
EMP NAME: SCHMEER,. MICHAEL

14726 SE OATFIELD

MILWAUKIE, OR 97267

10/11/2002

CORP

$176,288.00

SCHMIDT LARRY 1617703
EMP NAME: SCHMIDT, LARRY

PO BOX 207

TROUTDALE, OR 970600207

10/15/2002

CORP

$286,313.18

SCHMITZ EMMETT R 484000
EMP NAME: SCHMITZ, EMMETT R .

2633 SO BALSAM ST

LAKEWOOD, CO 80227 ©

09/20/2002

CORP

$24,910.00

SCHNAPPER, BARRY J. 1585501
EMP NAME: SCHNAPPER, BARRY J

5158 BRAESVALLEY

HOUSTON, TX 77096

10/15/2002

CORP

$0.00

SCHNEIDER JAMES L 1511302
EMP NAME: SCHNEIDER, JAMES

14975 NW NORTHUMBRIA

BEAVERTON, OR 97006

10/15/2002

CORP

$122,156.00

SCHNEIDER MICHAEL 371202
EMP NAME: SCHNEIDER, MICHAEL

13802 GRANADA WAY

APPLE VALLEY, MN 55124-0000

09/04/2002

CORP

$0.00

SCHOENIG MAE L 636700
EMP NAME: SCHOENIG, MAE L

2231 LAKE VILLA COURT

MARTINEZ, CA 945535465

10/04/2002

EECC

$4,200.00

SCHOMUS SCOTT CG . 2041300
EMP NAME: SCHOMUS, SCOTT

570 SMITH DR

WOODBURN, OR 970714526

10/17/2002

CORP

$0.00

SCHOOLER VELDA 1908400
EMP NAME: SCHOOLER, VELDA

340 JANA CT

WOODBURN, OR 97071

10/15/2002

CORP

$128,280.00

SCHOPPE, MARILYN M. 163201
EMP NAME: SCHOPPE, MARILYN M

731 HOGANS ALLEY

KINGWOOD, TX 77339

04/01/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$503,830.98

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Claimant

Claim
Number

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Exhibit A

Debtors

Objected To
Amount

cc*

Date: 07/11/2005
Time: 8:06:00 PM

SCHRIMSHER LEOANNA A

EMP NAME: SCHRIMSHER, LEOANNA
15285 SW OBSIDIAN ST
BEAVERTON, OR 97007

882800

40/10/2002

CORP

~ $148,810.96

SCHROEDER ANDREA M

EMP NAME: SCHROEDER, ANDREA M (MAGGIE)

5554 TILBURY DRIVE
HOUSTON, TX 77056-0000

1815901

10/15/2002

CORP
CORP

$164,725.58
$4,650.00
$169,375.58

SCHROEDER JAMES E

EMP NAME: SCHROEDER, JAMES E (JIM)

20387 NORTHGROVE LOOP
BROOKINGS, SD 57006-0000

1833802

10/15/2002

CORP

$27,942.80

SCHRYVERS JERRY D

EMP NAME: SCHRYVERS, JERRY
525 E KENMORE

GLADSTONE, OR 97027

717100

10/08/2002

CORP

$100,000.00

SCHUBBE, R. JOANNE

EMP NAME: SCHUBBE, JOANNE
6806 S E 22ND AVE

PORTLAND, OR 97202

655500

10/07/2002

CORP

$178,767.68

SCHULER W LANCE

EMP NAME: SCHULER, W L (LANCE)
3916 BYRON

HOUSTON, TX 77005-0000

1584703

10/15/2002

CORP

$0.00

SCHULTZ JERROLD D

EMP NAME: SCHULTZ, JERROLD D
799-2 RBC #7 PO BOX 884
MEEKER, CO 81641

1684500

10/15/2002

CORP

$40,725.00

SCHUSTER, ROBERT

EMP NAME: SCHUSTER, ROBERT
24820 SE 38TH ST.

ISSAQUAH, WA 98029

735902

10/08/2002

CORP

$14,053.00

SCHWAB CLARENCE B

EMP NAME: SCHWAB, CLARENCE 8
40 EAST 94, APT 4E

NEW YORK, NY 10128

538900

09/26/2002

CORP
ENA

$44,100.00

SCHWABE, JUDY

EMP NAME: SCHWABE, JUDY
3605 SW CONDOR
PORTLAND, OR 97201

1229902

10/11/2002

CORP

$100,000.00

SCHWARTZ, BARBARA J

EMP NAME: SCHWARTZ, BARBARA
8306 SW 62 AV

PORTLAND, OR 97219

~ 901002

10/10/2002

CORP

$276,544.56

SCHWARTZ DAVID E

EMP NAME: SCHWARTZ, DAVID E (DAVE)

15681 S PRISCILLA LN
OREGON CITY, OR 97045

1651102

10/15/2002

* Classification: S=Secured;.P=Priority, U=Unsecured; A=Administrative; ? = Undetermined

CORP

$251,367.00 .

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Claimant

Claim
Number

Document 1005-1

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Date
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Exhibit A

Debtors

Objected To
Amount

cc*

Date: 07/11/2005
Time: 8:06:00 PM

SCHWARTZ GARY D

EMP NAME: SCHWARTZ, GARY
19839 SE BORNSTEDT RD
SANDY, OR 970556676

1712800

10/15/2002

CORP

$121,920.00

SCHWARTZ, MICHAEL

EMP NAME: SCHWARTZ, MICHAEL
8306 SW 62 AV

PORTLAND, OR 97219

900903

10/10/2002

CORP

$556,196.88

SCHWARTZ, NICOLE A.

EMP NAME: SCHWARTZ, NICOLE
1919 POSTOAK PARK DR. #2204
HOUSTON, TX 77027

1573303

10/15/2002

EES, INC

$0.00

SCHWARTZ, NICOLE A.

EMP NAME: SCHWARTZ, NICOLE
1919 POSTOAK PARK DR. #2204
HOUSTON, TX 77027

1573603

10/15/2002

CORP

$0.00

SCHWEGLER GORDON T

EMP NAME: SCHWEGLER, GORDON
18247 JOHNSON RD

CLATSKANIE, OR 97016

1469900

10/15/2002

CORP

$8,520.00

SCOTT, CHARLES L

EMP NAME: SCOTT, CHARLES
15049 SPYGLASS LN
OREGON CITY, OR 970457080

655900

10/07/2002

CORP

$78,177.00

SCOTT DONNA L

EMP NAME: SCOTT, DONNA L
6039 SPANISH OAK WAY
SPRING, TX 77379-0000

923302

10/11/2002

CORP

$1,242,700.18

SCOTT KAREN L

EMP NAME: SCOTT, KAREN L
RR 3 BOX 1143

LINTON, IN 47441-0000

1490100

10/15/2002

CORP

$6,500.00

SCOTT, LARRY D.

EMP NAME: SCOTT, LARRY
80578 CRAIG RD
HERMISTON, OR 97838

710300

10/08/2002

CORP

$226,240.00

SCOTT ROBERT M

EMP NAME: SCOTT, ROBERT
POB 518

SAINT PAUL, OR 971370518

1701200

10/15/2002

CORP

$27,222.80

SEELEY PAUL C

EMP NAME: SEELEY, PAUL
4130 SE FLAVEL
PORTLAND, OR 97202

1903300

10/45/2002

CORP

$157,921.44

SEELIG SALLY W

EMP NAME: SEELIG, SALLY W

19 VILLA CANYON PLACE

THE WOODLANDS, TX 77382-0000

1542401

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00

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Claimant

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Debtors

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cc*

- Date: = 07/11/2005

Time: 8:06:00 PM

SEELIGSON STEWART L

1392202

EMP NAME: SEELIGSON, STEWART L

2702 TALBOT
HOUSTON, TX 77005-0000

10/15/2002

CORP

$7,177.35

SEIBEL, JR, JACOB M

EMP NAME: SEIBEL, JACOB
14905 SE ONDO RIVERA DR
BORING, OR 97009

1966300

10/15/2002

CORP

$278,872.39.

SEIDEL, MARYANN D.

EMP NAME: SEIDEL, MARYANN
10350 SW CORNHUSKER AVE
BEAVERTON, OR 97008

739400

10/08/2002

CORP

$53,823.36

SEIDEL THOMAS P

EMP NAME: SEIDEL, THOMAS P
2561 SO 125TH AVE

OMAHA, NE 68144

1746201

40/15/2002

CORP

$193,439.07

SELLERS, EMILY E.

EMP NAME: SELLERS, EMILY E
217 PINE OAK DRIVE
HIGHLANDS, TX 77562

1634202

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

SEMIN FRANK R

EMP NAME: SEMIN, FRANK R
2248 SOUTH 183RD CIRCLE
OMAHA, NE 68130-0000

2089602

10/21/2002

CORP

$100,000.00

SENG-AROUN DUANGPHATHA!

2060102

EMP NAME: SENG-AROUN, DUANGPHATHAI

BOO DUANGPHATHA SENG
345 NW ISLAND CIR APT B3
BEAVERTON, OR 970068332

10/18/2002

CORP

$0.00

SENST RICHARD L

EMP NAME: SENST, RICHARD L
704 SOUTH CEDAR
GREENSBURG, KS 67054-0000

712300

10/08/2002

CORP
CORP

$1,404,638.00
$1,770.00

$1,406,408.00

SERGENT ROGER A

EMP NAME: SERGENT, ROGER A
254 330TH STREET

PERRY, IA 50220-0000

832302

10/10/2002

CORP

$399,662.00

SESSIONS DAVID B

EMP NAME: SESSIONS, DAVID
6310 NE SKIDMORE ST
PORTLAND, OR 97218

2045900

10/17/2002

CORP ©

$135,198.00

SEVCIK, DAVID J.

EMP NAME: SEVCIK, DAVID J
8505 NW BEAMAN AVE
KANSAS CITY, MO 64154

548400

10/01/2002

CORP

“$76,686.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

SEVERSON RUSS M

EMP NAME: SEVERSON, RUSS M
2310 BROOK VIEW LANE

SUGAR LAND, TX 77479-3283

Claim
Number

2036902

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/17/2002

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cc*

CORP

$29,507.00

Date: 07/11/2005
Time: 8:06:00 PM

SEWELL RANDALL G

EMP NAME: SEWELL, RANDALL
1508 SE 120 AV

PORTLAND, OR 97216

1716402

10/15/2002

CORP

$203,107.96

SHACKLETON SARA

EMP NAME: SHACKLETON, SARA
3915 COLERIDGE

HOUSTON, TX 77005-0000

1225802

10/11/2002

CORP
CORP

$0.00
$0.00
$0.00

SHADE, MARJORIE A

EMP NAME: SHADE, MARJORIE A (MARGE)

9712 SARATOGA ST
OMAHA, NE 68134-0000

1247402

10/11/2002

CORP

$36,698.31

SHAFFER ANTHONY G

EMP NAME: SHAFFER, ANTHONY
18855 SW ROSA

ALOHA, OR 97007

734100

10/08/2002

CORP

$262,639.97

SHAFFER BARBARA E

EMP NAME: SHAFFER, BARBARA
PO BOX 137

20356 S JASAN DR

OREGON CITY, OR 97045

520302

09/24/2002

CORP

$244,893.12

SHAFFER DOUGLAS J

EMP NAME: SHAFFER, DOUGLAS
3935 SW 193

ALOHA, OR 97007

1832001

10/15/2002

CORP

$180,000.00

SHAH MAHENDRA B

EMP NAME: SHAH, MAHENDRA
2727 NW MILL POND RD
PORTLAND, OR 97229

1647902

10/15/2002

CORP

$205,027.00

SHANK, CHRISTINE

EMP NAME: SHANK, CHRISTINE M
2126 SOUTH 61ST STREET
OMAHA, NE 68106

1831700

10/15/2002

CORP
EESO

$125,188.32

SHANKLE, MONIQUE V

EMP NAME: SHANKLE, MONIQUE V
P 0 BOX 20453

HOUSTON A S F, TX 77225-0453

1804002

10/15/2002

CORP

$2,000.00

SHANNON PAUL K

EMP NAME: SHANNON, PAUL
20186 KIMBERLY ROSE DR
OREGON CITY, OR 970457073

1714300

10/15/2002

CORP

$103,365.92

SHAPTON LAUREN S

EMP NAME: SHAPTON, LAUREN
4019 SE OAK ST

PORTLAND, OR 97214

1772500

10/15/2002

* Classification: S=Secured;.P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$53,073.53 .

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Exhibit A

Tittle Settlement Order

Date
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Debtors

Objected To
Amount

cc

Date: = 07/11/2005

Time: 8:06:00 PM

SHARP, VICTORIA T

1535501

EMP NAME: SHARP, VICTORIA T (VICKI) @

10619 S EVERS PARK DRIVE
HOUSTON, TX 77024-0000

10/15/2002

CORP

$0.00

SHARP, VICTORIA T

1535508

EMP NAME: SHARP, VICTORIA T (VICKI)

10619 S EVERS PARK DRIVE
HOUSTON, TX 77024-0000

10/15/2002

CORP

$0.00

SHAW MAUREEN

EMP NAME: SHAW, MAUREEN
2912 SE BERKELEY PLACE
PORTLAND, OR 97202

1712602

10/15/2002

CORP

$0.00

SHAW, ROBERT M.

EMP NAME: SHAW, ROBERT
1516 SE 124TH AVE.
VANCOUVER, WA 98683

965102

10/11/2002

CORP

$434,311.04

SHAW, WILLIAM G

EMP NAME: SHAW, WILLIAM
14930 SW GEARHART DR
BEAVERTON, OR 97007

1916702

10/15/2002

CORP

$43,016.30

SHAW-MEYER TRUDI

1781702

EMP NAME: SHAW-MEYER, TRUDI L

1118 MICHELLE PKWY.
PAPILLION, NE 68046

10/15/2002

CORP

$13,333.34

SHEELEY LARRY C

EMP NAME: SHEELEY, LARRY C

46777 210TH ST
BROOKINGS, SD 57006-6214

785502

10/09/2002

CORP

$1,296,861.43

SHEFFIELD, ROBERT R.

515200

EMP NAME: SHEFFIELD, ROBERT R (BOB)

1045 PR. 2333
GIDDINGS, TX 78942

09/23/2002

CORP

$0.00

SHEFFIELD. WILMA G

1468400

EMP NAME: SHEFFIELD, WILMA G

2568 BERING DRIVE
HOUSTON, TX 77057

10/15/2002

CORP

$26,213.35

SHELBY SILVIA

EMP NAME: SHELBY, SILVIA
4826 BLACKROCK
BAYTOWN, TX 77521-0000

1507802

10/45/2002

CORP

$9,900.00

SHELDON, HOWARD LEE
EMP NAME: SHELDON, LEE H

654700

6748 SE REEDVILLE CREEK DRIVE

HILLSBORO, OR 97123

10/07/2002

CORP

$1,476.48

SHELTON, DERIKE A

571300

EMP NAME: SHELTON, DERIKE A

289 200TH AVE
FAIRMONT, MN 560315080

09/30/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$284,029.47

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Claim
Number

Document 10

Date
Filed

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Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

cct

Date:
Time:

07/11/2005
8:06:00 PM

SHELTON, JULIE A.

EMP NAME: SHELTON, JULIE A
2335 SOUTH BLVD

HOUSTON, TX 77098

796100

10/10/2002

CORP

$586,637.60

SHEPHERD, MARSHA

EMP NAME: SHEPHERD, MARSHA E
914 N ELDER GROVE DR
PEARLAND, TX 77584

1743502.

10/15/2002

EESO

$18,768.00

SHEPHERD RICHARD D

EMP NAME: SHEPHERD, RICHARD D
12342 DECATUR ST

OMAHA, NE 68154-0000

1670602

10/15/2002

CORP

$253,628.00

SHERMAN ERIC R

EMP NAME: SHERMAN, ERIC R
1111 LEGEND SPRING

KATY, TX 77494-0000

1686003

10/15/2002

CORP

$5,850.00

SHERMAN JOHN L

EMP NAME: SHERMAN, JOHN
19992 BEAVER FALLS RD
CLATSKANIE, OR 97016

1627100

10/15/2002

CORP

$151,786.35

SHERMAN, RICHARD C.

EMP NAME: SHERMAN, RICHARD C (CRIS)
10 STEEPBANK

THE WOODLANDS, TX 77381

1508406

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

SHERRELL DORIS J

EMP NAME: SHERRELL, DORIS
14166 SE RED MAPLE LN
CLACKAMAS, OR 97015

676502

10/07/2002

CORP

$226,090.00

SHERRILL CATHY A

EMP NAME: SHERRILL, CATHY A
7514 QUIET FOREST

HOUSTON, TX 77040-0000

1562003

10/15/2002

CORP

$330.41

SHERVEY DIANNA D

EMP NAME: SHERVEY, DIANNA
3004 N MORGAN

PORTLAND, OR 97217

2089302

10/21/2002

CORP

$208,775.00

SHEWSKI, THOMAS J.

EMP NAME: SHEWSKI, THOMAS
17797 MARYLCREEK DRIVE
LAKE OSWEGO, OR 97034

841103

10/10/2002

CORP

$541,385.36

SHIBAHARA, TIM M

EMP NAME: SHIBAHARA, TIM
23985 S DAY HILL RD
ESTACADA, OR 970238466

839100

10/10/2002

CORP

$39,999.72

SHIPMAN, GARY

EMP NAME: SHIPMAN, GARY M
RT. 1 BOX 71D

ELDORADO, TX 76936

675900

10/07/2002

* Classification: S=Secured;. P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$0.00 .

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Exhibit A , Date: = 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

SHIRLEY RALPH

EMP NAME: SHIRLEY, RALPH @
2167 SHILOH CT. S.E.

SALEM, OR 94306

787300 10/09/2002 CORP $200,000.00 U

SHIVELY, HUNTER 1653806 10/15/2002 ENA $0.00 U
EMP NAME: SHIVELY, HUNTER

606 WELLESLEY

HOUSTON, TX 77024-0000

JAMES M. SHIVELY 2338403 08/22/2003 PORTLAND GEN HO $250,000.00 U

EMP NAME: SHIVELY, JAMES
7145 SW 171DR. PORTLAND GEN HO $0.00 P

BEAVERTON, OR 97007 $250,000.00

SHOEMAKE DAN M 1933600 10/15/2002 CORP $256,000.00 U
EMP NAME: SHOEMAKE, DAN ~

PO BOX 145

BOARDMAN, OR 97818

SHOWERS DIGNA A 530202 09/25/2002 CORP $197,939.44 P
EMP NAME: SHOWERS, DIGNA A

10810 GARDEN PLACE DRIVE

SUGAR LAND, TX 77478-0000

SHUCK, THOMAS S 1655602 10/15/2002 CORP $251,920.00 U
EMP NAME: SHUCK, THOMAS

4190 SE OAK ST

HILLSBORO, OR 97123

SHULER JOYCE E : 897502 10/11/2002 ‘CORP $115,040.00 U
EMP NAME: SHULER, JOYCE :

7226 SE STRAWBERRY LN

MILWAUKIE, OR 97267

SHULER LANCE 837103 10/10/2002 : CORP $207,040.00 U
EMP NAME: SHULER, LANCE .

7226 STRAWBERRY LN

MILWAUKIE, OR 97222

SIDES, JOHN F. 740301 10/08/2002 CORP $0.00 U
EMP NAME: SIDES, JOHN F - -

2919 DESTIN SHORE DRIVE

HOUSTON, TX 77084 o

SIECKO MELVIN J 1460102 10/15/2002 : CORP $692,481.87 P
EMP NAME: SIECKO, MELVIN J :

7154 CR 283

EDNA, TX 77957-5107

SIEL CONSTANCE J 733902 10/08/2002 CORP $8,719.63 P
EMP NAME: SIEL, CONSTANCE .

5934 NE THOMPSON

PORTLAND, OR 97213

SIESS KATHY G 1454503 10/15/2002 CORP - $8,927.27 U.

EMP NAME: SIESS, KATHY C

4025 PURDUE AVENUE : .
DALLAS, TX 75225

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined ‘ : Page 244 of 300
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Date: = 07/11/2005
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Claimant Claim Date Debtors Objected To CC*
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SIEWERT, PHILIP T. e 1570100 40/15/2002 CORP $0.00 U

EMP NAME: SIEWERT, PHILIP T (PHIL)

6687 APTRICOT PL CORP $0.00 P

WESTERVILLE, OH 43082-9264 $0.00

SIEWERT SHERRI L. 1543701 40/15/2002 CORP $0.00 U

EMP NAME: SIEWERT, SHERRI L

6687 APRICOT PLACE CORP _ $0.00 P

WESTERVILLE, OH 43082 $0.00

SIKES, DIXIE A 1862302 40/15/2002 CORP $0.00 U

EMP NAME: SIKES, DIXIE A

4516 MERRIE LANE CORP $0.00 P

BELLAIRE, TX 77401-0000 $0.00

SIKES, EDWIN H 1862402 10/15/2002 CORP $348.24 P

EMP NAME: SIKES, EDWIN H

4516 MERRIE LANE

BELLAIRE, TX 77401-0000

SILVA DAVID R 838100 10/10/2002 CORP $250,000.00 U

EMP NAME: SILVA, DAVID

P O BOX 21601

KEIZER, OR 97307

SILVA, MARY 1860203 40/15/2002 CORP $0.00 U

EMP NAME: SILVA, MARY

3700 SAVELL DRIVE CORP $0.00 P

BAYTOWN, TX 77521-0000 $0.00

SIMMONS NANCY M 1870800 40/15/2002 ‘CORP $0.00 U

EMP NAME: SIMMONS, NANCY M

1413 NANTUCKET CORP $0.00 P

HOUSTON, TX 77057-0000 $0.00

SIMON, CYNTHIA LYNN 884002 10/10/2002 CORP $0.00 P

EMP NAME: SIMON, CYNTHIA L (CINDY)

15403 COPPER BRANCH

HOUSTON, TX 77095

SIMPSON, BEVERLY A. 4513200 40/15/2002 CORP - $384,564.00 P

EMP NAME: SIMPSON, BEVERLY A

3601 ALLEN PKWY 1047

HOUSTON, TX 77019

SIMPSON, JAMES H 1792103 10/15/2002 ENA $16,810.71 P

EMP NAME: SIMPSON, JAMES H (JIM)

11639 S. CORMORABT CR

PARKER, CO 80134

SIMPSON JERRY F 961203 40/14/2002 CORP $523,729.23 P

EMP NAME: SIMPSON, JERRY
56718 COUNTRY VILLA LN
WARREN, OR 97053

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

SIMS, BRETT M

EMP NAME: SIMS, BRETT
16370 SW STAHL DRIVE
TIGARD, OR 97223

Claim
Number

1916803

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Exhibit A
Tittle Settlernent Order

Date
Filed

10/15/2002

Debtors

Objected To
Amount

cc

CORP

$6,195.00

Date: 07/11/2005
Time: 8:06:00 PM

SIMS PEGGY J

EMP NAME: SIMS, PEGGY J
319 BANTER TRAILS DR.
HOUSTON, TX 77049-0000

2011000

10/16/2002

CORP
CORP

$0.00
$0.00
$0.00

SINGH, MICHAEL J.

EMP NAME: SINGH, MICHAEL
P.O. BOX 238

COLUMBIA CITY, OR 97018

401000

09/09/2002

CORP

$0.00

SINIBALDI DONNA

EMP NAME: SINIBALDI, DONNA
58910 PARKWOOD DRIVE
SAINT HELENS, OR 97051

1182600

10/11/2002

CORP

$182,640.00

SIRNIO, BRUCE H.

EMP NAME: SIRNIO, BRUCE
4694 FUHRER ST. NE
SALEM, OR 97305

1930300

10/15/2002

CORP

$1,591,987.00

SIRPLESS CHRISTINA L

EMP NAME: SIRPLESS, CHRISTINA
PO BOX 1387

OREGON CITY, OR 97045

1512500

10/15/2002

CORP

$446,762.08

SISSINGH KEN

EMP NAME: SISSINGH, KEN
5151 EDLOE #7403
HOUSTON, TX 77005

1800103

10/15/2002

UNKNOWN

$5,402.00

SKERTICH GERALD

EMP NAME: SKERTICH, GERALD
5346 PINEWILDE DR

HOUSTON, TX 77066-0000

1543502

10/15/2002

CORP
CORP

$0.00
$0.00

$0.00

SKINNER DAVID A

EMP NAME: SKINNER, DAVID
18786 S SOUTH END RD
OREGON CITY, OR 97045

1683100

10/15/2002

CORP

$110,111.36

SKYLER LOUISE E

EMP NAME: SKYLER, LOUISE
35 NE GILHAM AV
PORTLAND, OR 97213

833102

10/10/2002

CORP

$132,044.00 .

SLACK RYAN J

EMP NAME: SLACK, RYAN
1809 OLYMPIA AVE NW
SALEM, OR 973042098

1932800

10/15/2002

CORP

$37,883.76

SLAPPER, REBECCA M.

EMP NAME: SLAPPER, REBECCA
15010 NE ROSE PKWAY
PORTLAND, OR 97230

1718901

10/15/2002

CORP

$6,810.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

SLATER ANNE-MARIE

EMP NAME: SLATER, ANNE-MARIE
702 NW CHERRYVIEW

WHITE SALMON, WA 98672

Claim
Number

1934000

Document 1005-1

Tittle Settlernent Order

Date
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10/15/2002

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Exhibit A

Debtors

Objected To
Amount

Date: 07/11/2005
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cc

CORP
CORP

$68,160.00
$68,160.00
$0.00

+

SLATTERY RONALD R

EMP NAME: SLATTERY, RONALD
16865 NW SOMERSET DR
BEAVERTON, OR 97006

2143102

10/30/2002

CORP

$239,040.00

SLAUGHTER JEFFTON G

EMP NAME: SLAUGHTER, JEFFTON G
11511 SW MILITARY LANE
PORTLAND, OR 97219-0000

1476602

10/15/2002

CORP

$105,992.00

SLIMP, RONALD N. II

EMP NAME: SLIMP, RONALD N
3757 JENIFER ST., NW
WASHINGTON, DC 20015

1624805

10/15/2002

CORP

$18,753.58

SLY SHARON

EMP NAME: SLY, SHARON
105538 NW HARDING CT
PORTLAND, OR 97229

1168600

10/41/2002

CORP

$242,640.00

SMELSER THOMAS D

EMP NAME: SMELSER. THOMAS
220 SW BUTTE

HERMISTON, OR 97838

1814300

10/15/2002

CORP

$275,000.00

SMITH ANGELA D

EMP NAME: SMITH, ANGELA D
3402 SAN VICENTE LANE
KATY, TX 77450-0000

1944703

40/15/2002

EESO

$5,376.60

SMITH BAKER

EMP NAME: SMITH, BAKER
11416 10TH AVENUE SOUTH
SEATTLE, WA 98168-0000

2022701

10/16/2002

CORP

$8,500.00

CAROL LYNN SMITH

EMP NAME: SMITH, CAROL L
15129 VINOLA DR.
MONTVERDE, FL 34756

1930700

10/45/2002

CORP

$420,338.21

SMITH DONALD L
EMP NAME: SMITH, DONALD
7145 MEADOW WOOD DR NE
KEIZER, OR 97303

914000

10/1 1/2002

CORP

$152,000.00

SMITH EDWIN A

EMP NAME: SMITH, EDWIN A
8402 CANYON PINE DR
SPRING, TX 77379-0000

1636201

10/15/2002

CORP
CORP

$2,666,856.54
$9,300.00

$2,676, 156.54

SMITH ELAINE K

EMP NAME: SMITH, ELAINE K (KIKO)
12 E. SECRETARIAT DR.

TEMPE, AZ 85284-0000

1649104

10/15/2002

CORP

$103,277.50

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

SMITH, GEORGE F

EMP NAME: SMITH, GEORGE F
848 CLUB CREST BLVD
CHESTER, VA 238362744

Claim
Number

1396101

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

“10/15/2002

Debtors

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cc*

ENA

$41,705.19

Date: = 07/11/2005
Time: 8:06:00 PM

SMITH, JANETTE M

EMP NAME: SMITH, JANETTE M
1223 NANTUCKET DR.
HOUSTON, TX 77057

2141800

10/30/2002

EES, INC
EES, LLC

$10,210.43

SMITH, JUDY G

EMP NAME: SMITH, JUDY G
2123 CALIFORNIA ST NW

APT FQ

WASHINGTON, DC 20008-1815

2007702

10/16/2002

CORP

$452,170.61

SMITH KENNY R

EMP NAME: SMITH, KENNY R
310 GOODWOOD CIRCLE
LAFAYETTE, LA 70508-0000

1754802

10/15/2002

CORP

$657,798.00

SMITH KERRIE L

EMP NAME: SMITH, KERRIE L
14010 WINDING SPRINGS DR
CYPRESS, TX 774296420

1776800

10/15/2002

CORP

$93,312.00

SMITH LYMAN W

EMP NAME: SMITH, LYMAN W
1829 KILGORE RD
BAYTOWN, TX 77520-0000

1560602

10/15/2002

CORP
EECC

$653,801.13

SMITH, MATHEW D.

EMP NAME: SMITH, MATHEW D
2125 SUL ROSS ST

HOUSTON, TX 77098

1826703

10/15/2002

CORP

$0.00

SMITH, MAXINE

EMP NAME: SMITH, MAXINE
11722 DORRANCE
STAFFORD, TX 77477-0000

1573802

10/15/2002

CORP

$1,920.00

SMITH MICHAEL J

EMP NAME: SMITH, MICHAEL
222 SE 153

PORTLAND, OR 97233

1667200

10/15/2002

CORP

$269,646.08

SMITH, MICHAEL A

EMP NAME: SMITH, MICHAEL A
125 CARTER RD

ELK CITY, OK 73644

2200500

11/18/2002

CORP

$138,121.50 -

SMITH MICHAEL L

EMP NAME: SMITH, MICHAEL L (MIKE)
BOX2 01 508 SAVEC

KERMIT, TX 79745-0000

1461800

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

SMITH MICKEY W

EMP NAME: SMITH, MICKEY W
20414 LAKELAND FALLS DR
CYPRESS, TX 77429-0000

634902

10/04/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$255,724.73

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Claimant

Claim
Number

Date
Filed

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Tittle Settlement Order

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Amount

cc

Date:
Time:

07/11/2005
8:06:00 PM

SMITH MIKE L

EMP NAME: SMITH, MIKE L &

1306 EMILY MORGAN CIRCLE
RICHMOND, TX 77469-0000

1064802

10/11/2002

CORP $465,540.66

SMITH PATRICIA J .
EMP NAME: SMITH, PATRICIA J (PAT)
12626 NICOLETTE CT

CLERMONT, FL 34711-0000

1062300

10/11/2002

_ CORP $787,724.20

SMITH, PHYLLIS J.

EMP NAME: SMITH, PHYLLIS J
1374 WEST 44TH LANE

FORT STOCKTON, TX 79735

1230901

10/11/2002

CORP ‘ $0.00

SMITH RAYMOND L

EMP NAME: SMITH, RAYMOND L
3726 MATTHEWS DR

SILSBEE, TX 77656

487201

09/20/2002

CORP $152,813.14

SMITH RENEE L

EMP NAME: SMITH, RENEE L
8807 THROCKMORTON LANE
HOUSTON, TX 77064-0000

1153102

40/11/2002

CORP $54.76

CORP $4,650.00

$4,704.76

SMITH, RHINDA L.

EMP NAME: SMITH, RHONDA L
2623 FOREST RIDGE
MISSOURI CITY, TX 77459

1714103

10/15/2002

CORP $56,000.00

SMITH ROBERT L

EMP NAME: SMITH, ROBERT
28832 DIKE RD

RAINIER, OR 97048

913200

10/14/2002

CORP $15,592.22

SMITH RODERICK S

EMP NAME: SMITH, RODERICK
369 GUN CLUB RD #50
WOODLAND, WA 98674

904700

10/11/2002

CORP . $352,569.33

SMITH STEVEN

EMP NAME: SMITH, STEVEN
10753 SW 115 AV

TIGARD, OR 97223

1144203

10/11/2002

CORP $200,792.00

SMITHSON THOMAS D

EMP NAME: SMITHSON, THOMAS D (TOM)
3127 248TH TRAIL

PANORA, IA 50216-0000

832202

10/10/2002

CORP $449,576.00

SMOOT ROBERT J

EMP NAME: SMOOT, ROBERT J (BOB)
3217 CRIMSON COAST DRIVE
LEAGUE CITY, TX 77573-0000

893101

10/10/2002

EESO $50,000.00

SMYERS, DOUGLAS E

EMP NAME: SMYERS, DOUGLAS E (DOUG)
1212 SABINE :
SOUTHLAKE, TX 76092

2017802

10/16/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP ' "$20,379.77

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Amount

Date. = 07/11/2005
Time: 8:06:00 PM

SNEATH, LEANNE M a 1246302 10/11/2002 CORP
EMP NAME: SNEATH, LEANNE

11010 SE HENDERSON ST

PORTLAND, OR 97266

$22,101.52 U

SNYDER JEFFREY | 627903 10/04/2002 CORP
EMP NAME: SNYDER, JEFFREY |

6500 CHAMPION GRANDVIEW WAY

#15303

AUSTIN, TX 78750

$9,107.70 U

SOARE, DANIEL 924600 10/11/2002 CORP
EMP NAME: SOARE, DANIEL

3017 NE S8TH ST.

VANCOUVER, WA 98663

$16,000.00 P

SODJA PAMELA L ~663102 10/07/2002 CORP.
EMP NAME: SODJA, PAMELA

902 WOODARD CREEK RD

STEVENSON, WA 986486067

$255,345.00 U

SOIGNET KENNETH J 909102 10/11/2002 CORP
EMP NAME: SOIGNET, KENNETH J (KENNY)

1402 STUDEWOOD

HOUSTON, TX 77008-0000

_ $328,348.46 U

SOLDANO, LOUIS P 1653103 10/15/2002 CORP
EMP NAME: SOLDANO, LOUIS P

4008 PEMBROOKE WAY

RICHMOND, TX 77469

$0.00 U

SOLDANO, LOUIS P 1653104 10/15/2002 CORP
EMP NAME: SOLDANO, LOUIS P

4008 PEMBROOKE WAY

RICHMOND, TX 77469

$0.00 U

SOLE, RONALD S 589003 09/27/2002 CORP
EMP NAME: SOLE, RONALD S (RON)
27788 BISCAYNE AVE

RANDOLPH, MN 55065-9513

$525,323.55 U

$4,650.00 P
$529,973.55

SOLIS ALICIA Z 1190701 10/11/2002 . CORP
EMP NAME: SOLIS, ALICIA Z

130 MARGIE LN

HOUSTON, TX 77037-0000

$0.00 U

SOLSO DONALD J 735500 10/08/2002 CORP
EMP NAME: SOLSO, DONALD

PO BOX 456

SANDY, OR 97055

$110,000.00 U

SOLSO, KENNETH W. 664700 10/07/2002 : CORP
EMP NAME: SOLSO, KENNETH

12650 SE BLUFF RD

SANDY, OR 97055

$180,720.00 U

* Classification: S=Secured; P=Priority; U=-Unsecured; A=Administrative; ? = Undetermined

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Claimant

SOMERVILLE ROBERT J

EMP NAME: SOMERVILLE, ROBERT
21522 SW MARTINAZZI AVE
TUALATIN, OR 97062

Claim
Number

662100

Document 1005-1

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Date
Filed

10/07/2002

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Exhibit A

Debtors

Objected To
Amount

cc*

CORP

$62,419.28

Date: 07/11/2005
Time: 8:06:00 PM

SOMMER, CAROL J.
EMP NAME: SOMMER, CAROL
13710 RAVENSWAY DR APT D
CYPRESS, TX 77429

1798901

70/15/2002

CORP

$191,427.35

SOMMERS JEFFREY E

EMP NAME: SOMMERS, JEFFREY E
2611 STATELY OAK

KINGWOOD, TX 77345-0000

1485602

10/15/2002

CORP

$301,551.00

SORENSON DAVID

EMP NAME: SORENSON, DAVID
57149 MOLLENHOUR RD
SCAPPOOSE, OR 97056

2116002

10/24/2002

CORP

$250,954.27

SORIANO YOLANDA

EMP NAME: SORIANO, YOLANDA
5539 SHAMROCK

HOUSTON, TX 77017-0000

1655203

10/15/2002

CORP

$1,711.62

SOSA, FRANCISCO

EMP NAME: SOSA, FRANCISCO (FRANK)

703 S. ASPEN AVE
ROSWELL, NM 88203

1387700

10/15/2002

CORP

$0.00

SOTH BRIAN M

EMP NAME: SOTH, BRIAN

1324 N. LIBERTY LAKE RD., #117
LIBERTY LAKE, WA 98019

1542800

10/15/2002

CORP

$178,747.00

SOVA, BONITA

EMP NAME: SOVA, BONITA S (SUE)
6532 SO 100TH

OMAHA, NE 68127

1489702

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

SOVA, GARY B.

EMP NAME: SOVA, GARY B
6532 SO 100TH ST
OMAHA, NE 68127

1599302

10/15/2002

CORP

$0.00

SPARKS JR JOHN E

EMP NAME: SPARKS, JOHN
10970 SW MARILYN ST
TUALATIN, OR 970628167

1905000

10/15/2002

CORP

$81,668.51

SPARKS.KEITH J

EMP NAME: SPARKS, KEITH J
3523 LA COSTA

MISSOURI CITY, TX 77459

1515105

10/15/2002

CORP

$750,000.00

SPAULDING, TIM

EMP NAME: SPAULDING, TIM
5636 SE HILLWOOD CIR.
MILWAUKIE, OR 97267

1643200

10/15/2002

CORP

$23,000.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A , : Date: 07/11/2005
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Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

SPEARS GEORGE M. 909600 10/11/2002 CORP $0.00. U
EMP NAME: SPEARS, GEORGE M (MIKE)

13113 MADRONE TRAIL 2

AUSTIN, TX 78737

SPECK CARL D 1188902 10/11/2002 CORP $19,126.00 U
EMP NAME: SPECK, CARL D

107 GREENWICH CT

SAN RAMON, CA 94583-0000

SPELLMAN JR EDWARD R 1625602 40/15/2002 CORP $8,480.00 U
EMP NAME: SPELLMAN, EDWARD

2392 SW BINFORD LK PKWY

GRESHAM, OR 97080

SPENCE PATRICIA L 1488102 10/15/2002 CORP $8,812.99 U
EMP NAME: SPENCE, PATRICIA L (TRICIA) .

5227 BLOSSOM ST ~

HOUSTON, TX 77007-0000

SPENCER DAVID R 1920200 10/15/2002 CORP $32,400.00 U
EMP NAME: SPENCER, DAVID

448 BARKER AV

OREGON CITY, OR 97045

SPENCER, DAVID D 839700 10/10/2002 CORP . $264,422.19 U
EMP NAME: SPENCER, DAVID

538 SW MILL ST

SHERIDAN, OR 97378

SPENCER, DAVID 839800 10/10/2002 CORP $1,606.00 P
EMP NAME: SPENCER, DAVID
538 SW MILL ST

SHERIDAN, OR 97378

SPENCER, JOSEPH JEFFERS 1590400 10/15/2002 CORP . $0.00 P
EMP NAME: SPENCER, J J

13902 BARNHART BLVD

HOUSTON, TX 77077

SPENGER, LUPE F 1609903 10/15/2002 CORP $95,510.08 U
EMP NAME: SPENCER, LUPE F

5014 CUPID'S BOWER CT Loe

SPRING, TX 77388-0000

SPENCER, SHELLY L 1916600 10/15/2002 CORP $11,440.00 U
EMP NAME: SPENCER, SHELLY .

448 BARKER AV

OREGON CITY, OR 97045

SPIERING, BRADLEY A. 1761200 10/15/2002 CORP $144,160.00 P
EMP NAME: SPIERING, BRADLEY

1407 NE 14TH AVE

HILLSBORO, OR 97124

SPITZ, JOHN J. JR. 1708101 10/15/2002 “ CORP © $0.00° U
EMP NAME: SPITZ, JOHN a, .
4848 PIN OAK PARK APT. 402

HOUSTON, TX 77081

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined , : Page 252 of 300
Case 4:01-cv-03913

Claimant

SPOEDE, AMY M

EMP NAME: SPOEDE, AMY M
678 WILCREST DR
HOUSTON, TX 77042-0000

Claim
Number

1891102

Document 10

Date
Filed

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Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

cc*

CORP

$111,540.21

Date: = 07/11/2005
Time: 8:06:00 PM

SPOMN, DOYLE D.

EMP NAME: SPOHN, DOYLE D
802 COLORADO AVE
HOLTON, KS 66436-1329

73600

01/30/2002

CORP
CORP

$112,821.09
$0.00°
$112,821.09

SPON JASON R

EMP NAME: SPON, JASON
505 PALMER LN

DAYTON, OR 97114

2026500

10/17/2002

CORP

$234,040.00

SPON RICHARD S

EMP NAME: SPON, RICHARD
16290 NE MTN HOME RD
SHERWOOD, OR 97140

669600

10/07/2002

CORP

$216,000.00

SPRAGUE LURA C

EMP NAME: SPRAGUE, LURA C
HCR 3 BOX 132

BEAVER, OK 73932-9762

1772701

10/15/2002

CORP

$783,341.23

SPRAGUE STEVEN D

EMP NAME: SPRAGUE, STEVEN
15390 S BIG ROCK LP

MULINO, OR 97042

784700

10/09/2002

CORP

$164,000.00

SPRAUER JAMES G

EMP NAME: SPRAUER, JAMES
PO BOX 474

SILVERTON, OR 973810474

667500

10/07/2002

CORP

$338,838.34

SRINIVASAN, ALAGIRY

EMP NAME: SRINIVASAN, ALAGIRY
1906 MAIDENHAIR LANE

SUGAR LAND, TX 77479

2044403

10/17/2002

CORP

$0.00

SROKA, THOMAS J.

EMP NAME: SROKA, THOMAS J (TOM)
15922 JOENS CIR

OMAHA, NE 68118

1825200

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

SROUFE ALAN C

EMP NAME: SROUFE, ALAN
7480 RIDGE DR
GLADSTONE, OR 97027

1773100

10/15/2002

CORP

$206,378.10 .

STAATS RICHARD

EMP NAME: STAATS, RICHARD
PO BOX 2254

SALEM, OR 97308

863600

10/10/2002

CORP

$275,238.84

STACK THOMAS E

EMP NAME: STACK, THOMAS E
8224 SUNRIDGE CIR

LINCOLN, NE 68505-0000

423701

09/12/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

ETSC
ETSC

"$73,590.00
$9,300.00
$82,890.00

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Claimant

Claim
Number

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Exhibit A

Debtors

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cc*

Date:

Time:

07/11/2005

8:06:00 PM

STAHLNECKER, KENNETH LEE

EMP NAME: STAHLNECKER, KENNETH

KEN STAHLNECKER
PO BOX 1963
ESTACADA, OR 970231963

1609700

10/15/2002

CORP

$4,166.40

STANTON ROBERT

EMP NAME: STANTON JR, ROBERT

1851 N MAIN RD
VINELAND, NJ 08360

703300

10/07/2002

CORP

$7,057.55

STAROVICH, JAMIE L.

EMP NAME: STARKOVICH, JAMIE
1135 NE 160TH AVE

PORTLAND, OR 97230

1718000

10/15/2002

CORP

$12,681.60

STARNES, JAMES W

EMP NAME: STARNES, JAMES
14772 NW WENDY LN
PORTLAND, OR 97229

" 1959800

10/15/2002

CORP
CORP

$0.00
$219,600.00.

$219,600.00

STARR, DAVID G.

EMP NAME: STARR, DAVID
DAVID STARR

12000 NW OLD QUARRY RD
PORTLAND, OR 972294732

663500

10/07/2002

CORP

$88,709.60

STARR LORI A

EMP NAME: STARR, LORI
11200 S BEUTEL RD
OREGON CITY, OR 97045

1940600

10/15/2002

CORP

$318,286.48

STARR MILO A

EMP NAME: STARR, MILO
22651 OREGON CITY LOOP
WEST LINN, OR 97068

932502

10/11/2002

CORP

$222,539.60

STARRETT MARK R

EMP NAME: STARRETT, MARK
27 NE FLORAL PL

PORTLAND, OR 97232

859700

10/10/2002

CORP

” $34,674.44

STATHIS, KRISTIN

EMP NAME: STATHIS, KRISTIN
14100 REDWOOD CT.

LAKE OSWEGO, OR 97034

1917900

10/15/2002

CORP
CORP.

$1,750.00
$4,650.00
$6,400.00

STEELE, PATRICIA H

EMP NAME: STEELE, PATRICIA H
14456 CAMDEN CIRCLE

OMAHA, NE 68116 :

1489302

10/15/2002

CORP

$90,269.37

STEELE ROBERT L

EMP NAME: STEELE, ROBERT
2716 NW UPSHUR ST
PORTLAND, OR 97210

829402

10/10/2002

CORP

$35,195.90

* Classification: S=Secured;. P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

MARTINA, STEEPROW

EMP NAME: STEEPROW, MARTINA
35112 ARCHER DRIVE

SAINT HELENS, OR 97051

Claim
Number

1657002

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Exhibit A

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Date
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10/15/2002

Debtors

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cc*

CORP

$0.00

Date:
Time:

07/11/2005
8:06:00 PM

STEFFENHAGEN, WADE

EMP NAME: STEFFENHAGEN, WADE
2775 EAST 5500 NORTH

MALAD, ID 83252-6065

1513302

10/15/2002

EBS, INC
EBS, INC

$0.00
$0.00
$0.00

ve

STEFFES DARLAL

EMP NAME: STEFFES, DARLA L
3934 LAUREL AVENUE

OMAHA, NE 68111-0000

7489001

10/15/2002

CORP

$0.00

STEIGLEDER, JEFFREY K.

EMP NAME: STEIGLEDER, JEFFREY
21940 S FOOTHILLS AVE

OREGON CITY, OR 97045

932100

10/14/2002

CORP

$136,500.32

STEIN GREGORY C

EMP NAME: STEIN, GREGORY
19277 SE SUNNYSIDE RD
BORING, OR 970098257

2082900

10/21/2002

CORP

$32,000.00

STEIN, MICHAEL JAMES
EMP NAME: STEIN, MICHAEL
2600 GABEL RD #47

SAINT HELENS, OR 97051

1522402

10/15/2002

CORP

$216,000.00

STEINBRUECK, BRIAN

EMP NAME: STEINBRUECK, BRIAN E
3231 NORFOLK ST

APT 23208

HOUSTON, TX 77098

1585403

10/15/2002

CORP

$0.00

STEINKE ROGER A

EMP NAME: STEINKE, ROGER
1847 S FIR ST

CANBY, OR 97013

1799300

10/15/2002

CORP

$239,000.00

STEPHENS BRENDA J
EMP NAME: STEPHENS, BRENDA J
8150 COUNTRY RD 80
ROSHARON, TX 77583

1519200

10/15/2002

CORP

$0.00

STEPHENS JAMES

EMP NAME: STEPHENS, JAMES T
202 SYCAMORE ST

ELK CITY, OK 73644

1511200

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

STEPHENS REBECCA A

EMP NAME: STEPHENS, REBECCA A (BECKY)

3729 WAKEFOREST STREET
HOUSTON, TX 77098-0000

1471902

10/15/2002

CORP

$4,297.75

STEPHENSON THOMAS E

EMP NAME: STEPHENSON, THOMAS
33121 SW J P WEST RD
SCAPPOOSE, OR 97056

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

1931600

10/15/2002

CORP

$284,880.00

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Claimant

Claim
Number

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Tittle Settlement Order

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Exhibit A

Debtors

Objected To
Amount

cc*

Date: 07/11/2005
Time: 8:06:00 PM

STERBA DONALD E.

EMP NAME: STERBA, DONALD E
2516 SE 10TH CT

POMPANO BEACH, FL 33062

365600

09/03/2002

CORP

$925,524.00

STERLING, LEONARD R.

EMP NAME: STERLING, LEONARD
71860 APIARY RD

RAINIER, OR 97048

1661000

10/15/2002

CORP

$227,712.80

STEVENS, CHRISTOPHER D.

EMP NAME: STEVENS, CHRISTOPHER
17150 NW LONERROCK LANE
BEAVERTON, OR 97006-4734

943100

10/4 1/2002

CORP

$240,000.00

STEVENS DENISE M

EMP NAME: STEVENS, DENISE
DENISE STEVENS

1278 NE SETTING SUN DR
HILLSBORO, OR 971243164

1181402

10/11/2002

CORP

$67,240.00

STEVENS, KIRK M.

EMP NAME: STEVENS, KIRK
10147 S.E. 99TH DR.
PORTLAND, OR 97266

2012002

10/16/2002

CORP

$204,400.00

STEVENS ROBERT A

EMP NAME: STEVENS, ROBERT A
14804 WHITE OAK DR
BURNSVILLE, MN 55337-0000

645902

10/04/2002

CORP
ETSC

$2,381,640.00

STEVENSON, EVE E

EMP NAME: STEVENSON, EVE
5130 SW IDAHO ST
PORTLAND, OR 97221

2122600

10/25/2002

CORP

$130,283.04

STEWART BETTE

EMP NAME: STEWART, BETTE
13009 SE HACIENDA DR
BORING, OR 97009

1771900

10/15/2002

CORP

$258,080.00

STEWART DANIEL C

EMP NAME: STEWART, DANIEL
33301 SW MEADOW DR
SCAPPOOSE, OR 97056

2056500

10/18/2002

CORP

$200,000.00

STEWART, DONNA J

EMP NAME: STEWART, DONNA
33255 KAMMEYER RD

PO BOX 774

SCAPPOOSE, OR 97056

1243002

10/11/2002

CORP .

$84,195.00

STICKA DOUGLAS E

EMP NAME: STICKA, DOUGLAS
15154 SE THORNTON DR
MILWAUKIE, OR 97267

1062902

10/11/2002

CORP

$147,428.83

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A
Tittle Settlement Order

Date: 07/11/2005
Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

STIFEL, ARNOLD G. 1226207 10/11/2002 EIM LLC $4,481.26 P

EMP NAME: STIFEL, ARNOLD G

7166 PURTON LN

GLOUCESTER, VA 23061

STINE THOMAS R 1475702 10/15/2002 CORP $73,368.00 U

EMP NAME: STINE, THOMAS

7125 SW SHADY CT

TIGARD, OR 97223

STOCKER, STEVEN B 735800 10/08/2002 CORP $128,382.22 U

EMP NAME: STOCKER, STEVEN

4045 RIVERCREST DR N

KEIZER, OR 97303

STOLER, LOUIS M. 1584802 10/15/2002 CORP $0.00 U

EMP NAME: STOLER, LOUIS M (LOU)

8987 BRIAR FOREST ~ CORP $0.00 P

HOUSTON, TX 77024 $0.00

STOLTZ RAYMOND A 1631000 10/15/2002 CORP $871,680.00 P

EMP NAME: STOLTZ. RAYMOND

4328 BOTTICELLI

LAKE OSWEGO, OR 97035

STONE, KARA A. 1966700 10/15/2002 CORP $35,360.00 U

EMP NAME: STONE, KARA

15850 SW SPRINGTOOTH LN

SHERWOOD, OR 97140

STONE SANDRA L 1542502 10/15/2002 CORP $0.00 U

EMP NAME: STONE, SANDRA L (SANDY) /

9750 WINDWATER DRIVE #731 CORP $0.00 P

HOUSTON, TX 77075-0000 $0.00

HAUG, CAROLYN M. 907401 40/11/2002 CORP $0.00 U

EMP NAME: STONER, CAROLYN M

(STONER DIVORCED 2002) CORP _ $14,537.20 P

23372 LACKAWANNA ST NW - $14,537.20

SAINT FRANCIS, MN 55070

STORMS. JR CARL A 922202 10/11/2002 CORP $23,919.00 P

EMP NAME: STORMS, CARL -

3138 FIR

LONGVIEW, WA 98632

SUSA STORTENBECKER 2229100 12/10/2002 CORP $79,800.00 P

EMP NAME: STORTENBECKER, SUSA

309 TIMBER DRIVE

COUNCIL BLUFFS, IA 51501

MOYER, STRAIGHT, MARGIE 1703803 10/15/2002 CORP $23,780.00 U

EMP NAME: STRAIGHT, MARGIE M

4310 LAMPTON CIRCLE CORP $0.00 P

BELLAIRE, TX 77401 $23,780.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

STRAIN L EDWARD

EMP NAME: STRAIN, EDWARD L
POB 464

1417 W 4TH STREET

PECOS, TX 79772

Claim
Number

774900

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/09/2002

Debtors

Objected To
Amount

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cc*

CORP

$0.00

Date:

Time: |

07/11/2005
8:06:00 PM

STRANSKY JOAN F

EMP NAME: STRANSKY, JOAN F
802 PHYLLIS

DEER PARK, TX 77536-0000

659502

10/07/2002

CORP

$143,582.66

STREIGHT, ANDREA CRUMP

EMP NAME: STREIGHT, ANDREA C
1818 MIDVALE AVENUE

LOS ANGELES, CA 90025

857302

10/40/2002

CORP

$0.00

STROHMEYER, VINCENT N

EMP NAME: STROHMEYER, VINCENT N
3122 FAIRHOPE STREET

HOUSTON, TX 77025

1400502

10/15/2002

CORP

$15,894.00

STROUD LARRY

EMP NAME: STROUD, LARRY
BOX 864 -

BIG LAKE, TX 76932-0000

1583302

10/15/2002

CORP

$46,475.00

STROUS LARRY A

EMP NAME: STROUS, LARRY
14622 SE MEGAN WY
CLACKAMAS, OR 97015

668000

40/07/2002

CORP

$303,280.00

STRUBEL ROBERT M

EMP NAME: STRUBEL, ROBERT
18284 HILLSIDE CT

WEST LINN, OR 97068

857702

10/10/2002

CORP

$87,917.20

STRUBLE PATRICIA L
EMP NAME: STRUBLE. PATRICIA
6414 SE WOODWARD
PORTLAND, OR 97206

645102

10/04/2002

CORP

$0.00

STUBBLEFIELD CARL E

EMP NAME: STUBBLEFIELD, CARL
17376 WAKE ROBIN CR

OREGON CITY, OR 97045

2046200

10/17/2002

CORP

$37,760.00

STUBBS, SHELLY

EMP NAME: STUBBS, SHELLY P
10 WELLINGTON LN

SUGAR LAND, TX 77478

2133300

10/29/2002

CORP

$0.00

STUCK, JAMES C

EMP NAME: STUCK, JAMES
PO BOX 607

UMATILLA, OR 97882

588000

09/26/2002

CORP

$64,508.85

STUCKART ANTHONY M

EMP NAME: STUCKART, ANTHONY
1668 EAGLE ST

STAYTON, OR 97383

1933000

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$96,000.00 -

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Claimant

Claim
Number

Document 10

Date
Filed

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Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

cc*

Date: 07/11/2005
Time: 8:06:00 PM

STUDEBAKER, JAMES R

EMP NAME: STUDEBAKER, JAMES R
8827 SARATOGA DRIVE
SUGARLAND, TX 77479

1846302

10/15/2002

CORP

$937.27

STUDZINSKI BETTY J
EMP NAME; STUDZINSKI, BETTY J
23707 HOPEWELL DR
KATY, TX 77493-3458

1682302

10/15/2002

CORP

$737,280.00

STUPEK, PATRICK H.

EMP NAME: STUPEK, PATRICK
6934 N OATMAN AVE.
PORTLAND, OR 97217

1913102

10/15/2002

CORP

$92,640.00

STURM, TINA M

EMP NAME: STURM, TINA M
P.O. BOX 62

MONT BELVIEU, TX 77580

1574100

10/45/2002

CORP

$1,180.16

STURN, JOHN L

EMP NAME: STURN, JOHN L
117 POHLMAN
ELLINWOOD, KS 67526-1110

1609600

10/18/2002

CORP

$0.00

STURR KATHRYN D

EMP NAME: STURR, KATHRYN D (KATHY)

323 OARMAN COURT
HOUSTON, TX 77079

1894902

10/15/2002

CORP

$259,911.93

SUBLET CHERIL

EMP NAME: SUBLET, CHERI L
16207 GARDEN HILL LN
HOUSTON, TX 77095-0000

1786302

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

SUGG, WILLIAM H., JR.

EMP NAME: SUGG JR, WILLIAM H
HCR 272-3062A

GLASGOW, MT 59230

1557902

10/11/2002

CORP

$700,000.00

SUGHRUE, JILL E

EMP NAME: SUGHRUE, JILL
15206 NW 29 CT
VANCOUVER, WA 98685

“915900

10/11/2002

CORP

$511,040.00

SULLIVAN JR, JAMES

EMP NAME: SULLIVAN JR, JAMES (JIM
9394 GRACE LAKE DR .
DOUGLASVILLE, GA 30135-0000

846902

10/10/2002

CORP

$0.00

SULLIVAN LORA A

EMP NAME: SULLIVAN, LORA A
2725 CONNECTICUT NW #101
WASHINGTON, DC 20008-0000

458802

09/16/2002

CORP

$9,103.84

SULLIVAN MICHAEL D

EMP NAME: SULLIVAN, MICHAEL
2235 SW INDIAN MARY CT
TROUTDALE, OR 97060

1168503

10/11/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$244,000.00 |

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Exhibit A Date: 07/11/2005
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Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

SUMNER-KENNEY MARTHA J 1478001 10/15/2002 CORP $0.00 U
EMP NAME: SUMNER-KENNEY, MARTHA fe

1911S 36TH ST

OMAHA, NE 68105-0000

SUMPTER FRANK G 283300 08/26/2002 CORP $10,359.40 U
EMP NAME: SUMPTER, FRANK G

212 S WHEELER

SALLISAW, OK 74955

SUNDET, STEVEN 1917400 10/15/2002 CORP $145,680.00 U
EMP NAME: SUNDET, STEVEN

4755 CORDON RD NE

SALEM, OR 97305

SUNDSETH, GREGORY 1611402 10/15/2002 CORP $0.00 P
EMP NAME: SUNDSETH, GREGORY ~

1329 SW EVERGREEN AVE.

REDMOND, OR 97756

SUNG SYAU-LUN 1690201 10/45/2002 CORP $1,350.00 U
EMP NAME: SUNG, SYAU-LUN (JEFF)

12514 EXBURY CT.

TOMBALL, TX 77375-0000

SURFACE SCOTT D 1666902 10/15/2002 CORP $177,008.60 P
EMP NAME: SURFACE, SCOTT

10656 SE 99 DR

PORTLAND, OR 97266

SUSTAITA DOLORES 1228201 10/11/2002 CORP $0.00 U
EMP NAME: SUSTAITA, DOLORES

4618 BAYOU LN.

HITCHCOCK, TX 77563-0000

SUTHERLAND, REBECCA J 1145003 10/1 1/2002 CORP $0.00 U
EMP NAME: SUTHERLAND, REBECCA J

1019 AUSTIN COLONY DRIVE

RICHMOND, TX 77469

SUTTON, LISA K 1244602 10/11/2002 “CORP $564,348.88 U
EMP NAME: SUTTON, LISA K . -

15502 WENDOVER CREEK CT

CYPRESS, TX 774291585

SWAFFORD JOHN D 865402 10/10/2002 ‘ CORP $0.00 P
EMP NAME: SWAFFORD, JOHN D

5222 LINDEN ST.

BELLAIRE, TX 77401-0000

SWAIM, ANDREA DIANE 4514200 40/15/2002 CORP $0.00 U
EMP NAME: SWAIM, ANDREA D

5027 TIMBER TRAIL DR CORP $0.00 P
MOUNT JULIET, TN 374226344 $0.00

SWANK, DAVE 1580500 10/15/2002 CORP “$50,000.00 U
EMP NAME: SWANK, DAVID

P.O. BOX 8

VERNONIA, OR 97064

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined Page 260 of 300
Claimant

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Claim
Number

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Exhibit A

Tittle Settlement Order

Date
Filed

Debtors

Objected To
Amount

cc*

Date:
Time:

07/11/2005
8:06:00 PM

SWANSON, CAROL

EMP NAME: SWANSON, CAROL
CAROL E SWANSON

4947 SW CHESTNUT PL
BEAVERTON, OR 970053570

562003

09/30/2002

CORP

$3,234.16

SWANSON ELMER D

613302

EMP NAME: SWANSON, ELMER D (DAN)

2340 LAFAYETTE AVENUE
WINTER PARK, FL 32789-0000

10/03/2002

CORP

$0.00

SWANSON, JOHNNY

1608403

EMP NAME: SWANSON, JOHNNY M

PO BOX 86
ALEX, OK 73002

10/15/2002

CORP

$2,439.95

SWANSON MATTHEW W

" 4226800

EMP NAME: SWANSON, MATTHEW

31112 BEAVER HOMES RD
RAINIER, OR 97048

10/11/2002

CORP

$139,680.00

SWANSON STEVEN

EMP NAME: SWANSON, STEVEN

PO BOX 790
ESTACADA, OR 97023

634100

10/04/2002

CORP

$403,552.00

SWEET, JIMMIE

EMP NAME: SWEET, JIMMIE
22175 S FOREST PK RD
BEAVERCREEK, OR 97004

794300

10/09/2002

CORP

$310,936.00

SWENSON, MELISSA J.

EMP NAME: SWENSON, MELISSA

17022 SW PACIFIC HWY #110
PORTLAND, OR 97224

1950000

10/15/2002

CORP

$2,960.00

SWERTFEGER, JERRY L.

1155702

EMP NAME: SWERTFEGER, JERRY

21478 S. BEAVERCREEK RD
OREGON CITY, OR 97045

10/11/2002

CORP

$0.00

SWERZBIN, MICHAEL J.

1643906

EMP NAME: SWERZBIN, MICHAEL J

12404 S. S, BLAINE DRIVE
CLACKAMAS, OR 97015

10/15/2002

CORP

$0.00

SWETT LARRY W

EMP NAME: SWETT, LARRY W
6423 SO 75TH AVE CIRCLE
RALSTON, NE 68127-0000

1931102

10/15/2002

CORP -

$0.00

SWIBER DIANNE J

EMP NAME: SWIBER, DIANNE J
2115 SHADOW PARK DR

KATY, TX 77494-0000

1907404

10/15/2002

CORP

$0:00

* Classification: S-Secured;-P=Priority; U-Unsecured; A=Administrative; ? = Undetermined

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Exhibit A So : . Date: 07/11/2005
Tittle Settlement Order , Time: 8:06:00 PM

Claimant Claim _ Date Debtors Objected To CC*
Number Filed Amount

SYNOWSKI, ROGER L. 1164802 10/11/2002 CORP $87,720.00. P
EMP NAME: SYNOWSKI, ROGER

2478 WHETSTONE CT NW @

SALEM, OR 97304

SYON, AVA M 841701 10/10/2002 CORP $27,631.57 U
EMP NAME: SYON, AVA M

905 WEST 9TH STREET

HOUSTON, TX 77007-0000

SYRING, M.R. 696300 10/07/2002 CORP $277,375.00 U
EMP NAME: SYRING, M RICHARD .

9804 NE SPURREL RD

WOODLAND, WA 98674

SYVERSON, RANDALL J. 1917600 10/15/2002 CORP . $176,295.36: U
EMP NAME: SYVERSON, RANDALL : .

10413 NE 94TH ST. ~

VANCOUVER, WA 98662

TA HUONG : 893702 10/10/2002 CORP $267,692.00 U
EMP NAME: TA, HUONG

216 NW PACIFIC GROVE DR

BEAVERTON, OR 97006

TAAFFE THERESA 1145403 10/11/2002 CORP $70,339.00 P
EMP NAME: TAAFFE, THERESA

7015 KILLDEER STREET N.E

SALEM, OR 97305

TAHA, OMAR 1609301 _ 10/15/2002 CORP $86,040.00 P-
EMP NAME: TAHA, OMAR M
8831 LANGOON

HOUSTON, TX 77036

TALLEY, THOMAS M 1993000 10/15/2002 CORP . $0.00 P
EMP NAME: TALLEY, THOMAS M (TOM)

8014 SUMMER GROVE CIRCLE

SPRING, TX 77379

TAN FREDA 1186303 10/11/2002 CORP $77,863.18 U
EMP NAME: TAN, FRED A

4119 JETTY TERRACE CIR Loe

MISSOURI CITY, TX 77459-0000

TANNER’ BEN L 880400 10/10/2002 CORP $0.00 P
EMP NAME: TANNER, BEN L .

5 LAFAYETTE LOOP

ROSWELL, NM 88201-0000

TAPKEN, DONALD P. 2118700 10/25/2002 CORP $3,031.82 U
EMP NAME: TAPKEN, DONALD P

524 N MAPLE ST

MONTICELLO, IA 52310

TAPP, DEANA J. 1235702 10/11/2002 “CORP - . $30,449.84 U
EMP NAME: TAPP, DEANA , . ,
13303 JAMES CT

OREGON CITY, OR 97045

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined : , : Page 262 of 300
Claimant

Case 4:01-cv-03913

Claim
Number

TARTER, JAMES S

EMP NAME: TARTER, JAMES S (STEVE) @

4801 APACHE HILLS DR
ROSWELL, NM 882019454

1240901

Document 1005-1

Tittle Settlement Order

Date
Filed

10/11/2002

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Exhibit A

Debtors

Objected To
Amount

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CORP

$0.00

Date: = 07/11/2005

Time: 8:06:00 PM

TAYLOR, ANGELA GAIL

EMP NAME: TAYLOR, ANGELA G
6915 QUEENSCLUB DRIVE
HOUSTON, TX 77069

1724101

10/15/2002

CORP

$0.00

TAYLOR CHARLES W

EMP NAME: TAYLOR, CHARLES
12611 NE BEECH

PORTLAND, OR 97230

1944602

10/15/2002

CORP

$281,282.88

TAYLOR, DARLENE

EMP NAME: TAYLOR, DARLENE
8423 SPOTSLYVANIA LN
HOUSTON, TX 770836435

2120000

10/15/2002

CORP

$0.00"

TAYLOR, GLENN E

EMP NAME: TAYLOR, GLENN
2626 38 AV

LONGVIEW, WA 98632

1240102

10/11/2002

CORP

$136,460.00

TAYLOR, GRACE M

EMP NAME: TAYLOR, GRACE M
11022 SAGEMORGAN DR
HOUSTON, TX 770893634

1463702

10/15/2002

CORP

$3,880.64

TAYLOR, JOSEPH R,

EMP NAME: TAYLOR, JOSEPH
15421 SW MAZAMA PL.
TIGARD, OR 97224

1917700

10/15/2002

CORP

$568,246.08

TAYLOR LEE

EMP NAME: TAYLOR, LEE
31275 S VAN RD
COLTON, OR 97017

669200

10/07/2002

CORP

‘$201,325.42

TAYLOR LEE V

EMP NAME: TAYLOR, LEE
31275 S VAN RD
COLTON, OR 97017

673900

10/07/2002

CORP

$381.28

TAYLOR LOIS L

EMP NAME: TAYLOR, LOIS L
47224 198TH ST

BRUCE, SD 57220-5223

1512602

10/15/2002

CORP

$504,141.50

TAYLOR MARK E

EMP NAME: TAYLOR, MARK E
279 E 44TH ST APT 148

NEW YORK, NY 10017

1873108

10/15/2002

CORP

$0.00

TAYLOR, RITAM

EMP NAME: TAYLOR, RITA
5312 SW ERICKSON
BEAVERTON, OR 97005

850902

10/10/2002

* CORP

$250,549.36

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

TAYLOR SHARON K

EMP NAME: TAYLOR, SHARON K (CHERI)
9909 PINKNEY

OMAHA, NE 68134-0000

Claim
Nurnber

1492202

Document 1005-1

Tittle Settlement Order

Date
Filed

10/15/2002

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Exhibit A

Debtors

Objected To
Amount

cc

CORP

$3,690.88

Date: = =07/11/2005
Time: 8:06:00 PM

TAYLOR SHARON K

EMP NAME: TAYLOR, SHARON K (CHERI)
9909 PINKNEY

OMAHA, NE 68134-0000

1492203

10/15/2002

CORP

$0.00

TERAGOUCHI, ElJi

EMP NAME: TERAGOUCHI, EluI
19416 W. CORTO LANE
BUCKEYE, AZ 85326

642000

10/04/2002

CORP

$1,400.00

TERECH JR HENRY

EMP NAME: TERECH JR, HENRY
235 NEEDLELEAF LANE

SUGAR LAND, TX 77479-0000

937803

10/11/2002

EPSC

$95,540.80

TERRASO, MICHAEL F

EMP NAME: TERRASO, MICHAEL F
15135 BLOSSOM BAY DRIVE
HOUSTON, TX 77059-0000

1691802

10/15/2002

CORP

$431,000.00

TERRAZAS, FIDEL Q., JR.

EMP NAME: TERRAZAS, FIDEL Q
P.O. BOX 791

FORT STOCKTON, TX 79735

668700

10/07/2002

CORP

$0.00 .

TERRY, RICHARD I.

EMP NAME: TERRY, RICHARD
13252 HAWKINS VIEW LANE SE
TURNER, OR 97392

810700

10/10/2002

CORP

$191,920.00 ~

TESKY BARBARA A

EMP NAME: TESKY, BARBARA
3015 QUINABY RD NE
KEIZER, OR 973039727

1181700

10/11/2002

CORP

$14,160.00

TEUNE DANIEL A

EMP NAME: TEUNE, DANIEL
13800 SE 282 LN

BORING, OR 97009

644300

10/04/2002

CORP

$62,000.00

THACKERY JOAN M

EMP NAME: THACKERY, JOAN
PO BOX 181

COLUMBIA CITY, OR 97018

961100

10/11/2002

CORP

CORP |

$0.00
$194,191.44
$194,191.44

THA!, LOAN

EMP NAME: THAI, LOAN
LOAN P THAI

16021 SW SHELTON ST
ALOHA, OR 970072083

1917200

10/15/2002

CORP

$14,649.20

THALE JERRY L

EMP NAME: THALE, JERRY
4395 GLACIER LILY ST
LAKE OSWEGO, OR 97035

897003

10/11/2002

* Classification: S=Secured;.P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$305,882.64

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Exhibit A Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed : Amount —

THAPAR, RAJEEV 1662903 10/15/2002 CORP . $18,928.00 U
EMP NAME: THAPAR, RAJEEV @ .
1901 POST OAK PARK DRIVE #7302

HOUSTON, TX 77027

THAYER VICTOR R 2203800 11/18/2002 CORP $1,554,000.00 U
EMP NAME: THAYER, VICTOR R

RR1 BOX 17

GUIDE ROCK, NE 68942

THERIOT RONALD J 1987001 “10/15/2002 CORP , $0.00 U
EMP NAME: THERIOT, RONALD J (RON)

6821 TOURNAMENT DR

HOUSTON, TX 77069-0000

THIBAUT, MARIE JEAN 2222803 12/05/2002 CORP $395,099.05 P
EMP NAME: THIBAUT, MARIE J ~
3610 GLENPINE

HOUSTON, TX 77068

THIES TERRY R 832800 10/10/2002 CORP $151,600.00 U
EMP NAME: THIES, TERRY

1136 GLAZEMEADOW NE

KEIZER, OR 97303

THOEDE, EILEEN S 1235001 40/11/2002 CORP $17,080.00 U
EMP NAME: THOEDE, EILEEN S

18402 DAWNCREST WAY

SUGAR LAND, TX 77478

THOM TODD H 771200 10/09/2002 CORP $129,929.55 P
EMP NAME: THOM, TODD : '

2930 SE CLEVELAND DR

GRESHAM, OR 97080

THOM TRACY L 7214100 10/08/2002 CORP $19,600.00 P
EMP NAME: THOM, TRACY

23757 SE DOWNEY LN

EAGLE CREEK, OR 970227601

THOM TRACY 721200 10/08/2002 CORP $43,112.00 P
EMP NAME: THOM, TRACY . oe

23757 SE DOWNEY LN

EAGLE CREEK, OR 970227601

THOMAS CHERYL L. : 1778602 10/15/2002 CORP $53,360.00 P
EMP NAME: THOMAS, CHERYL .

4214 NE 72ND AVE.

PORTLAND, OR 97218-3619

THOMAS GEORGE 2126403 10/28/2002 CORP $4,271.49 P
EMP NAME: THOMAS, GEORGE :

22, 167TH PL SW

BOTHELL, WA 98012-0000

THOMAS JERRY W 1064602 10/11/2002 CORP - $4,000.00 P

EMP NAME: THOMAS, JERRY .

416 N RUSSET . . -
PORTLAND, OR 97217

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined / : Page 265 of 300
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Claimant Claim
Number

Document 1005-1

Date
Filed

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Debtors

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Amount

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cc*

. Date: 07/11/2005

Time: 8:06:00 PM

THOMAS ROHN R 671500
EMP NAME: THOMAS, ROHN

20883 S MATTOON RD

ESTACADA, OR 97023

10/07/2002

CORP

*, $570,381.52

THOMAS SHIRLEY M 1673602
EMP NAME: THOMAS, SHIRLEY

7155 SW SAGERT ST #107

TUALATIN, OR 97062

10/15/2002

CORP

$28,053.75

THOMAS, WENDELL G. 908902
EMP NAME: THOMAS, WENDELL G

300 E. HOLLETT

TRACY, MN 56175

10/11/2002

ETSC

$1,005,535.36

THOMPSON DEBRA E 1904803
EMP NAME: THOMPSON, DEBRA E (DEBBIE)

11519 AUTUMN CHASE DR

HOUSTON, TX 77065-4927

10/15/2002

CORP

$86,526.81

THOMPSON, HEATHER 1742102
EMP NAME: THOMPSON, HEATHER K

906 GRACELAND STREET

HOUSTON, TX 77009

10/15/2002

CORP

$18,270.00

THOMPSON KIM 2056600
EMP NAME: THOMPSON. KIM

PO BOX 1211

SILVERTON, OR 97381

10/18/2002

CORP

$400.00

THOMPSON, LARRY 1688400
EMP NAME: THOMPSON, LARRY D

1415 N COTTONWOOD

IOLA, KS 66749

10/15/2002

CORP

$501,974.00

THOMPSON, RODNEY J. 1912101
£MP NAME: THOMPSON, RODNEY J

13710 BROKEN BRIOGE DR.

HOUSTON, TX 77085

10/15/2002

CORP

$0.00

THOMPSON, SAMMY JOE 1570800
EMP NAME: THOMPSON, SAMMY J

1502 N. TEXAS ST.

FORT STOCKTON, TX 79735

10/15/2002

I@c
IGC

$0.00
$0.00
$0.00

THORMAR HREINN 365403
EMP NAME: THORMAR, HREINN

11071 SE 271ST STREET

KENT, WA 98030-0000

09/03/2002

NEPCO

$8,319.00

THORN ROBERT t 670500
EMP NAME: THORN, ROBERT

965 KOALA STREET N

SALEM, OR 97303

10/07/2002

CORP

$278,160.00

THORSON MARLIN E. 1662000
EMP NAME: THORSON, MARLIN E

607 PRATTWOOD CIRCLE

SAND SPRINGS, OK 74063

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$57,931.34

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Date
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Debtors

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Date:
Time:

07/11/2005
8:06:00 PM

THREET NINA K

EMP NAME: THREET, NINA K (KAY)
14530 CAROLCREST

HOUSTON, TX 77079-0000

2

489300

09/20/2002

CORP
CORP

'-$49,842.00
$4,650.00
$54,492.00

THRONSON JOHN E

EMP NAME: THRONSON, JOHN
26155 S LOCKSMITH LN
ESTACADA, OR 97023

2203400

11/18/2002

CORP

$288,000.00

THURBER ROBERT W

EMP NAME: THURBER, ROBERT W (BOB)
1110 SKYLARK DRIVE

OMAHA, NE 68144-0000

788204

10/09/2002

CORP

$500,000.00

TIAHRT PAUL D

EMP NAME: TIAHRT, PAUL
9823 SE 37 AV
MILWAUKIE, OR 97222

676400

10/07/2002

CORP

$198,133.00

TIDWELL EDDIE E

EMP NAME: TIDWELL, EDDIE E
134 CONNIE DR
ARNAUDVILLE, LA 70512-0000

717200

10/08/2002

CORP

$645,689.00

TIEDEMANN, CHRIS

EMP NAME: TIEDEMANN. CHRIS
2585 FOREST VIEW DR.
OROVILLE, CA 95966

850701

10/10/2002

CORP

$0.00

TILLOTSON DIANE C

EMP NAME: TILLOTSON, DIANE
76456 ALSTON MAYGER RD
RAINIER, OR 97048

770200

10/09/2002

CORP
CORP

$12,099.00
- $4,650.00
$16,749.00

TILLOTSON EDWARD L

EMP NAME: TILLOTSON. EDWARD
76456 ALSTON MAYGER RD
RAINIER, OR 970482002

548800

10/07/2002

CORP

$445,143.00

TILOTTA ROBERT W

EMP NAME: TILOTTA, ROBERT W
6019 AUTUMN FOREST
HOUSTON, TX 77092-0000

338502

08/30/2002

CORP

$13,744.00

TIMMS BRYAN H

EMP NAME: TIMMS, BRYAN
75171 COLUMBIA LN
IRRIGON, OR 97844

2048000

10/47/2002

CORP

$129,167.34

TIMSON JUDY L

EMP NAME: TIMSON, JUDY
5229 SW BARCLAY CT
BEAVERTON, OR 970053642

1870500

10/15/2002

EBS, INC

$446,603.12

TINGLEY GARY L

EMP NAME: TINGLEY, GARY
20982 NW MILLICOMO CT
PORTLAND, OR 97229

908102

10/11/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

* $265,638.09

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Claimant

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Number

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Amount

cc’

Date: 07/11/2005
Time: 8:06:00 PM

TINKER JAY J

EMP NAME: TINKER, JAY
7749 SW ROANOKE DR S
WILSONVILLE, OR 970706813

737002

10/08/2002

CORP

$15,858.25

TINKER RANDY C

EMP NAME: TINKER, RANDY
18935 S LYONS RD
OREGON CITY, OR 97045

1500600

10/15/2002

CORP

$149,400.00

TINKER, RODNEY L
EMP NAME: TINKER, RODNEY
241 SE HERING LN
MADRAS, OR 87741

2012200

10/16/2002

CORP

$152,000.00

TIPPERY LYNN M

EMP NAME: TIPPERY, LYNN M
10615 PROSPECT HILL DR.
HOUSTON AS F, TX 77064-0000

1630501

10/15/2002

CORP

$13,483.00

TITTLE, PAMELA ET AL.

EMP NAME: TITTLE, PAMELA ET AL.

C/O ROBIN L. HARRISON

4000 TWO HOUSEON CENTER
909 FANIN ST

HOUSTON, TX 77010

1392300

10/15/2002

CORP

$0.00

TODD JACK L

EMP NAME: TODD, JACK
731 SE 47 AV
PORTLAND, OR 97215

674800

10/07/2002

CORP

$94,920.00

TOLBERT, VALENCIA R

EMP NAME: TOLBERT, VALENCIA
15409 NE FARGO PL

PORTAND, OR 97230

1993203

10/15/2002

$10,654.45
- $8,646.60
$19,301.05

TOLENTO, ADOLFO

EMP NAME: TOLENTO, ADOLFO
8776 JOEL CT SE

SALEM, OR 97301

881800

10/10/2002

CORP

$47,360.00.

TOLENTO DELFINO

EMP NAME: TOLENTO, DELFINO
4963 49TH AVE NE

SALEM, OR 973053387

1782400

10/15/2002

CORP

$8,384.38

TOLLER, PATRICIA A.

EMP NAME: TOLLER, PATRICIA
13826 S. MEVERS RD

APT 2112

OREGON CITY, OR 97045

1701900

10/15/2002

CORP

$20,191.00

TOLLESHAUG CRAIG S

EMP NAME: TOLLESHAUG, CRAIG
254 TRILLIUM ST

ST HELENS, OR 97051

1100600

10/11/2002

-CORP

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Number

TOMETICH, MICHAEL J 1532803
EMP NAME: TOMETICH, MICHAEL J

12546 E LAUREL LANE

SCOTTSDALE, AZ 85259

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Date
Filed

Exhibit A
Tittle Settlement Order

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Debtors

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Amount

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cc*

CORP

_ $52,854.00

Date: =. 07/11/2005
Time: 8:06:00 PM

TOMPKINS PHILIP C 894802
EMP NAME: TOMPKINS, PHILIP

29590 NE PUTNAM RD

NEWBERG, OR 97132

10/10/2002

CORP

$223,500.00

TOMPKINS, ROBIN 1942902
EMP NAME: TOMPKINS, ROBIN

17459 WREN COURT

LAKE OSWEGO, OR 97034

10/15/2002

CORP

$204,080.00

TONSALL, DAVID J 2072503
EMP NAME: TONSALL, DAVID J

3215 HICKORY GROVE LN.

PEARLAND, TX 77584-0000

10/21/2002

CORP

$37,957.00

TONSALL EXIE J 2064903
EMP NAME: TONSALL, EXIE J

3215 HICKORY GROVE LANE

PEARLAND, TX 77584-0000

10/21/2002

CORP

$10,282.72

TOOMAN, ALEX L. 1211702
EMP NAME: TOOMAN, L ALEX

17728 SW BALLARD LANE

SHERWOOD, OR 97140

10/11/2002

CORP

$4,830.12

TOOMBS, THOMAS 1614702
EMP NAME: TOOMBS, THOMAS

1414 BAIR RD NE

KEIZER, OR 97303

10/15/2002

CORP

$106,384.29

TOPF MICHAEL P 2042700
EMP NAME: TOPF, MICHAEL

14178 SE EKLUND AV

BORING, OR 97009

10/17/2002

CORP

$156,000.00

TOTTEN, RAYMOND 1655702
EMP NAME: TOTTEN, RAYMOND

2028 NW SIERRA LN

CAMAS, WA 98607

10/15/2002

CORP

$679,145.00

TOWNSEND JUDITH G 1907903
EMP NAME: TOWNSEND, JUDITH G (JUDY)

22315 BRIDGEHAVEN

KATY, TX 77494-0000

10/15/2002

CORP

$78,931.36

TRAGESSER PAMELA L 843202
EMP NAME: TRAGESSER, PAMELA L (PAM)

138 EAST FOXBRIAR FOREST CIRCLE

THE WOODLANDS, TX 773821

10/10/2002

CORP

$211,400.40

TRAHIN, DWIGHT S 1614602
EMP NAME: TRAHIN, DWIGHT

173 UPLAND DR

WOODLAND, WA 98674

10/15/2002

CORP

$70,783.42

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

TRAN AGATHA B

EMP NAME: TRAN, AGATHA B
2130 KILKENNY

PEARLAND, TX 77581-0000

Claim
Number

1772802

Date
Filed

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Tittle Settlement Order

10/15/2002

Debtors

Objected To CC*
Amount

CORP

$65,000.00 P

Date: 07/11/2005
Time: 8:06:00 PM

DINH, TRAN

EMP NAME: TRAN, DINH
17048 SW IVY GLENN ST
BEAVERTON, OR 97007

1248702

10/11/2002

CORP

$87,680.00 P

TRAN JOANNE H

EMP NAME: TRAN, JOANNE H
4323 SUGAR BARS DRIVE
FRIENDSWOOD, TX 77546-0000

1948202

10/15/2002

CORP

$34,470.00 U

TRAN, MINHHANG N

EMP NAME: TRAN, MINHHANG
16635 NW TORREY PINES CT
BEAVERTON, OR 97006

1993500

10/15/2002

CORP

$218,640.00 -P

TRANQUILL! SUSAN E

EMP NAME: TRANQUILLI, SUSAN E
400 AUSTIN AVE

PITTSBURGH, PA 15243-0000

1524403

10/15/2002

CORP

$54,240.00 U

TRAVERS, JR, ROBERT L

EMP NAME: TRAVERS JR. ROBERT L
1180 SCROGGINS LANE

WALLER, TX 77484-0000

2068400

10/21/2002

CORP

$10,450.52 U

TREVINO, JOSE

EMP NAME: TREVINO, JOSE
2016 MAIN #1713
HOUSTON, TX 77002

1683403

10/15/2002

CORP

$98,970.07 U

TREVINO LINDA

EMP NAME: TREVINO, LINDA
4743 WYNNVIEW DRIVE
FRIENDSWOOD, TX 77546-0000

1911301

10/15/2002

CORP

$0.00 U

TRIBELHORN P KENT

EMP NAME: TRIBELHORN, P. KENT
1279 BYERS LN

FERNDALE. WA 982488970

2085800

10/22/2002

CORP

$103,160.00 P

TRICHIA DARLENE

EMP NAME: TRICHIA, DARLENE
21095 S CLAIRMONT CT
OREGON CITY, OR 97045

1646800

10/15/2002

CORP

$916.00 P

TRIESCHMAN PAUL A.

EMP NAME: TRIESCHMAN, PAUL A
3010 ALBANS RD.

HOUSTON, TX 77005

1782901

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

TRISKA WYN D

EMP NAME: TRISKA, WYN
PO BOX 1518
ESTACADA, OR 97023

868000

10/10/2002

‘CORP

$267,920.00 P.

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

TROFHOLZ, ELIZABETH A.(LISA)

EMP NAME: TROFHOLZ, LISA A (ELIZABETH)
38 TIMBERSTAR ST.

SPRING, TX 77382

Claim
Number

1561801

Document 10

Date
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Amount

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CORP

$0.00

. Date: = 07/11/2005
Time: 8:06:00 PM

TROSPER MARY J

EMP NAME: TROSPER, MARY
407 SW RIVERVIEW AVENUE
GRESHAM, OR 97080

855800

10/10/2002

CORP

$448,537.00

TROST, ANDREW W

EMP NAME: TROST, ANDREW W
3477 SHIPWAY AVE

LONG BEACH, CA 90808-0000

1652402

10/15/2002

CORP

$9,641.00

TRTEK GARY A

EMP NAME: TRTEK, GARY
32958 JP WEST RD
SCAPPOOSE, OR 97056

1178400

10/11/2002

CORP

$186,880.00

TRUAX LYLE

EMP NAME: TRUAX, LYLE

1678 N.E ORENCO STATION PKWY
HILLSBORO, OR 97124

1182400

40/11/2002

CORP

$160,000.00

TRUONG, MICHAEL

EMP NAME: TRUONG, MICHAEL
5896 BAY POINT DR.

LAKE OSWEGO, OR 97035

1583100

10/15/2002

CORP

$200,000.00

TRUXILLO, WAYNE W

EMP NAME: TRUXILLO, WAYNE W
10 S BRIAR HOLLOW LN 75
HOUSTON, TX 77027

1478402

10/15/2002

EESO

$150,000.00

TU DENIS C

EMP NAME: TU, DENIS C
3815 DEER FALLS DRIVE
KINGWOOD, TX 77345-0000

1213102

10/11/2002

CORP

$64,612.37

TUCKER MARILYN J

EMP NAME: TUCKER, MARILYN
12042 SW CHUKAR TERRACE
BEAVERTON, OR 97007

1216602

10/11/2002

CORP

$28,963.40

TUNG WEIMIN
EMP NAME: TUNG, WEIMIN
PO BOX 33036
PORTLAND, OR 972923036

1625802

10/15/2002

CORP °

$256,160.00

TURBITT, BRUCE R.

EMP NAME: TURBITT, BRUCE
3930 ROSE VALLEY RD
KELSO, WA 98626

701900

10/07/2002

CORP

$31,900.00

TURMAN, HERBERT D.

EMP NAME: TURMAN, HERBERT D (HERB)
603 W. 47TH LANE

FORT STOCKTON, TX 79735-9525

1569800

10/15/2002

IGC
lec

$0.00
$0.00
$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

TURNER, RICHARD A

EMP NAME: TURNER, RICHARD
6606 SW 153 AV

BEAVERTON, OR 97007

Claim
Number

2068300

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CORP

$237,760.00

. Date: 07/11/2005
Time: 8:06:00 PM

TURSA, MARK

EMP NAME: TURSA, MARK
29714 RIVERVIEW DRIVE
RAINIER, OR 97048

1388100

10/15/2002

CORP

$330,000.00

TUSS CINDY L

EMP NAME: TUSS, CINDY
2275 WILARK DR NW
SALEM, OR 97304

1186702

10/11/2002

CORP

$87,665.44

TUTTLE, STEVEN H

EMP NAME: TUTTLE, STEVEN H (HARRY)
BOX 32, 24326 230TH AVE

ELDRIDGE, IA 52748-0000

1959402

10/15/2002

CORP

$558,353.42

TWACHTMAN, CYNTHIA P

EMP NAME: TWACHTMAN, CYNTHIA P (CECI)
7802 OVERBROOK LN

HOUSTON, TX 77063-0000

1862701

10/15/2002

CORP

$0.00

TYLER ROBERT D

EMP NAME: TYLER, ROBERT D
3805 BEDFORD AVE

OMAHA, NE 68111

544500

09/30/2002

CORP

$113,916.54

TYMKOWICZ JOHN

EMP NAME: TYMKOWICZ, JOHN
55516 E HWY 224

ESTACADA, OR 97023

635902

10/04/2002

CORP

$73,285.80

TYSELING EA

EMP NAME: TYSELING, E ARLENE
ARLENE TYSELING

15080 SW HIGHPOINT DR
SHERWOOD, OR 971408546

960900

10/11/2002

CORP
CORP

$0.00
$105,818.56
$105,818.56

UECKERT ALLEN

EMP NAME: UECKERT, ALLEN
1920 W. LAMAR

HOUSTON, TX 77019-0000

1505302

10/15/2002

CORP

$22,711.00

ULMEN, JEFFREY A.

EMP NAME: ULMEN, JEFFREY
41890 SE DOVER CT

SANDY, OR 97055

628200

10/04/2002

CORP

$150,273.00

UNDERWOOD PAULA A

EMP NAME: UNDERWOOD, PAULA
16512 S ARROWHEAD DR
OREGON CITY, OR 97045

1169402

10/11/2002

CORP

$145,412.34

UNRAH, JERYL L.

EMP NAME: UNRUH, JERYL L
RT 1 BOX 151

GREENSBURG, KS 67054-0000

811200

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$626,769.64

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Debtors

Objected To
Amount

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Date: 07/11/2005
Time: 8:06:00 PM

UNRUH, MARILYN D

EMP NAME: UNRUH, MARILYN D (DIANNE) @

RT 1 BOX 151
GREENSBURG, KS 67054-0000

843800

10/10/2002

CORP

$374,252.45

UNVERZAUT, ANDREW L.

EMP NAME: UNVERZAGT, ANDREW L
18606 AUTUMN BREEZE

SPRING, TX 77379

1615202

10/15/2002

EBS, INC

$18,999.00

UPTON DAVID H

EMP NAME: UPTON, DAVID H
17410 SPRING CRK FOREST
SPRING, TX 77379-0000

1817100

40/15/2002

CORP

$1,100,000.00

URQUIDEZ AUDELIO H

EMP NAME: URQUIDEZ, AUDELIO
4064 WYANT CT NE

SALEM, OR 97305

1214600

10/11/2002

CORP

$58,563.00

UTTER ERNEST

EMP NAME: UTTER, ERNEST
27850 SE KNOX RD

BORING, OR 97009

663302

10/07/2002

CORP

$617,070.72

UWAGBAE JOHN E

EMP NAME: UWAGBAE, JOHN
2729 NE DEKUM

PORTLAND, OR 97211

1203300

10/11/2002

CORP

$150,000.00

VAKIL, QAMAR (KRAMER)
EMP NAME: VAKIL, QAMAR (KRAMER)
VAKIL NNG

1111. 103RD ST 430

OMAHA, NE 681241072

1824300

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

VALACH, WILLIAM J

EMP NAME: VALACH, WILLIAM
6205 SE 20

PORTLAND, OR 97202

810802

10/10/2002

CORP

$153,325.96

VALENCIA LAURA P

EMP NAME: VALENCIA, LAURA P
14579 MISTY MEADOW LN
HOUSTON, TX 77079-0000

4204601

10/11/2002

CORP

$0.00

VALLIANI, AL-AMYN H.

EMP NAME: VALLIANI, AL-AMYN H
5556 NEW TERRITORY BLVD.
#5202

SUGAR LAND, TX 77479

807802

10/10/2002

CORP

$60,167.76

VANBOSSUYT DAVID P

EMP NAME: VANBOSSUVYT, DAVID
14700 NE SPRING CREEK LN
NEWBERG, OR 97132

838002

10/10/2002

CORP

$364,000.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

CALCAR, ROBERT VAN

EMP NAME; VANCALCAR, ROBERT
P.O. BOX 871503

VANCOUVER, WA 98687-1503

Clair
Number

924100

Document 1005-1

Date
Filed

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10/11/2002

Debtors

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Amount

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cc*

CORP

$352,000.00

- Date: = 07/11/2005
Time: 8:06:00 PM

VANCOELEN, KENNETH W

EMP NAME: VANCOELEN, KENNETH
4816 SE ROBIN RD

MILWAUKIE, OR 97267

912900

10/11/2002

CORP

$164,777.50

VANDEBERGHE VICTOR

EMP NAME: VANDEBERGHE, VICTOR
16576 LURAY AV NE

SILVERTON, OR 97381

896900

10/11/2002

CORP

$517,000.00

VANDERZANDEN KATHRYN M

EMP NAME: VANDERZANDEN, KATHRYN
5795 SW RIVER RD

HILLSBORO, OR 97123

1741400

10/15/2002

CORP

$27,696.22

VANDERZANDEN, MELVIN W

EMP NAME: VANDERZANDEN, MELVIN
48470 NW NARUP RD

BANKS, OR 97106

2129200

10/21/2002

CORP

$223,600.00

VANDEVENTER DONALD

EMP NAME: VANDEVENTER, DONALD
PO BOX 392

BOARDMAN, OR 97818

715102

10/08/2002

CORP

$27,070.81

VANDEWETTERING MARI E

EMP NAME: VANDEWETTERING, MARI
6235 SW TAYLORS FERRY RD
PORTLAND, OR 97219

1166402

10/1 1/2002

CORP

$45,292.00

VANDYKE, DAVID

EMP NAME: VANDYKE, DAVID
29599 NW QUAIL RUN DR
GASTON, OR 97119

2157403

11/05/2002

CORP

$251,004.99

VANHOUTEN, BERNARD

EMP NAME: VANHOUTEN, BERNARD
950 NE 34 PL

CANBY, OR 97013

1961700

10/45/2002

CORP

$10,221.28

VANHOUTEN ELIZABETH

EMP NAME: VANHOUTEN, ELIZABETH
$123 DORY CT N

KEIZER, OR 973037507

1668200

10/15/2002

CORP ©

$28,717.00

VANKLEEK JAMES

EMP NAME: VANKLEEK, JAMES
15275 SW 94 AV

TIGARD, OR 97224

893502

10/10/2002

CORP

$77,744.50

VANN GARY A

EMP NAME: VANN, GARY
18580 GOETZ RD
GLADSTONE, OR $7027

716103

10/08/2002

CORP

$248,760.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A
Tittle Settlement Order

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Date: 07/11/2005
Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

VANWYNGARDEN STUART J 793800 10/09/2002 CORP $280,000.00 - U

EMP NAME: VANWYNGARDEN, STUART

4361 CLOUDVIEW DR S @

SALEM, OR 97302

VARGAS ESPERANZA 1475805 10/15/2002 CORP $0.00 U

EMP NAME: VARGAS, ESPERANZA (HOPE)

232RUSTIC OAKS DR. CORP $0.00 P

LEAGUE CITY, TX 77573 CORP $0.00 A

$0.00

VARGO, MICHAEL S. 921300 10/11/2002 CORP $23,283.68 U

EMP NAME: VARGO, MICHAEL S (MIKE)

46 JAMES LN BOX 355

PINEDALE, WY 82941

VASQUEZ, MIKE A. 4666800 10/15/2002 CORP $0.00 P

EMP NAME: VASQUEZ, MIKE A

PO BOX 614

FRANKLIN, TX 778560614

VASQUEZ RAYMOND R 1545801 10/15/2002 CORP $0.00 U

EMP NAME: VASQUEZ, RAYMOND R (RICHARD)

2304 PALOMAR DR CORP $0.00 P

ROSWELL, NM 88201-0000 $0.00

VASUT ANTHONY 785402 10/09/2002 ENA $6,841.00 U

EMP NAME: VASUT, ANTHONY (TONY)

9119 FRIENDSHIP

HOUSTON, TX 77080

VAUGHN ANN 1662503 40/15/2002 CORP $4,012.82 U

EMP NAME: VAUGHN, ANN :

4759 W ALABAMA CORP $466.68 P

HOUSTON, TX 77027 $4,479.50

VEARIEL ROBIN J 1484602 10/15/2002 CORP $11,002.54 P

EMP NAME: VEARIEL, ROBIN J :

409 WINDSOR DR

FRIENDSWOOD, TX 77546-0000

VEATCH STEPHEN T 1160001 10/11/2002 - CORP - $0.00 U

EMP NAME: VEATCH, STEPHEN T

1214 MERLINS OAKS DRIVE CORP $0.00 P

SPRING, TX 77379-3671 $0.00

VELA EMILIANO 487600 09/20/2002 CORP $252,217.79 U

EMP NAME: VELA, EMILIANO .

1462 STOP 18D

ZAPATA, TX 78076

VELKY, JAMES R 1669702 10/15/2002 ETSC $786,867.25 P

EMP NAME: VELKY, JAMES R (JIM)
407 W SYCAMORE
OGDEN, IA 50212-0000

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

VENEZIO RICHARD P

EMP NAME: VENEZIO, RICHARD P (RICH)
13019 BRAMBLE COURT

LOCKPORT, IL 60441-0000

Claim
Number

538300

Document 1005-1

Tittle Settlement Order

Date
Filed

09/26/2002

Filed on 07/14/05 in TXSD Page 306 of 353

Exhibit A

Debtors

Objected To
Amount

cc*

CORP

$67,215.80

. Date:

Time:

07/11/2005
8:06:00 PM

VERBECK, CARROLL T.

EMP NAME: VERBECK, CARROLL
14807 SE GRAHAM RD.
VANCOUVER, WA 98683

1908302

10/15/2002

CORP

$144,720.00

VERDOORN LEON D

EMP NAME: VERDOORN, LEON
7130 SE COTTRELL RD
GRESHAM, OR 97080

1674201

10/45/2002

CORP

$451,440.00

VESIK JOHN M

EMP NAME: VESIK, JOHN
75080 LOST CREEK RD
CLATSKANIE, OR 97016

1685700

10/15/2002

CORP

$40,431.12

VEZZANI, CHERYL L

EMP NAME: VEZZANI, CHERYL
15831 SE LARK AV
MILWAUKIE, OR 97267

653200

10/07/2002

CORP

$206,000.00

VIALL H VERNON

EMP NAME: VIALL, VERNON
POB 785

BOARDMAN, OR 97818

1663202

10/15/2002

CORP

$15,803.93

VICKERS, FRANK W.
EMP NAME: VICKERS, FRANK W
5703 CIELIO BAY CT
HOUSTON, TX 77041

1597301

10/15/2002

ENA

$0.00

VIGIL ROBERT A

EMP NAME: VIGIL, ROBERT
1357 NE BROWN DR
MADRAS, OR 97741

1149600

10/11/2002

CORP

$160,000.00

VIGNAROLI, DONALD D

EMP NAME: VIGNAROLI, DONALD D
5824 BAY MEADOWS RD

OMAHA, NE 68127-0000

1708800

10/15/2002

CORP

$0.00

VILLAMAYOR, FEDERICO
EMP NAME: VILLAMAYOR, FEDERICO D
(DERRICK)

901 LUELLA AVE

DEER PARK, TX 77536

1951301

10/15/2002

. CORP”

"$0.00

VILLANUEVA, CHANTELLE R.

EMP NAME: VILLANUEVA, CHANTELLE R
8939 WALD ROAD

HOUSTON, TX 77034

2097403

10/23/2002

CORP

$0.00

* Classification: S=Secured;.P=Priority; U=Unsecured; A=Administrative; 7 = Undetermined

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Case 4:01-cv-03913

Claimant

VILLAREAL, VALERIE M

EMP NAME: VILLAREAL, VALERIE M
101 STRATFORD ST

APT 207

HOUSTON, TX 77006-3348

Claim
Number

2020201

Document 10

Date
Filed

‘10/16/2002

05-1 Filed on 07/14/05 in TXSD

Exhibit A
Tittle Settlement Order

Debtors

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Objected To
Amount

cc*

CORP

$5,223.00

Date: 07/11/2005
Time: 8:06:00 PM

VILLARREAL LILLIAN G

EMP NAME: VILLARREAL, LILLIAN G
7602 VISTA VERDE

HOUSTON, TX 77087-0000

1583802

10/15/2002

CORP

$813.44

VILLARREAL, NORMA

EMP NAME: VILLARREAL, NORMA E
1206 SUNDROP PL

ROUND ROCK, TX 786647875

686102

10/07/2002

CORP

$39,993.47

VISTAUNET CASSANDRA L

EMP NAME: VISTAUNET, CASSANDRA

19640 DEBORA DR
BORING, OR 97009

908200

10/17/2002

CORP
CORP

$0.00
$55,046.96
$55,046.96 °

VITER VANCE

EMP NAME: VITER, VANCE
31117 S GRIMM RD
MOLALLA, OR 97038

834000

10/10/2002

CORP

$210,880.00

VOGEL, ELIZABETH A

EMP NAME: VOGEL, ELIZABETH A
7430 COBBS OAK LN
ROSHARON, TX 77583

1862200

10/15/2002

CORP

$21,183.66

VOLLMER, ALLAN L

EMP NAME: VOLLMER, ALLAN L
6420 JET PILOT TRAIL
TALLAHASSEE, FL 32309

571003

09/30/2002

CORP

$710,000.00

VOLZ ELIZABETH

EMP NAME: VOLZ, ELIZABETH
15410 NE 26 Av

VANCOUVER, WA 98686

1514702

10/15/2002

CORP

$306,989.00

VOS, THERESA

EMP NAME: VOS, THERESA D
9635 THERRELL DR.
HOUSTON, TX 77064

1722202

10/45/2002

CORP

$19,470.20

VOTAW, WAYMON R., JR.

EMP NAME: VOTAW JR, WAYMON R
6710 HIGH KNOLL DRIVE

SUGAR LAND, TX 77479

2035102

10/15/2002

CORP

$13,866.19

WACHTER PHYLLIS M

EMP NAME: WACHTER, PHYLLIS
47900 SE WAGONEER LOOP DR
SANDY, OR 97055

907902

10/11/2002

CORP

$25,639.19

WACKER, ALAN L
EMP NAME: WACKER, ALAN L
611 S SPRUCE ST
GREENSBURG, KS 670541945

698402

10/07/2002

CORP

* Classification: S=Secured; P=Priority; U=-Unsecured; A=Administrative; ? = Undetermined

$688,335.56

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Claimant

Claim
Number

Document 1005-1

Tittle Settlement Order

Date
Filed

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Exhibit A

Debtors

Objected To
Amount

cc*

Date: 07/11/2005
Time: 8:06:00 PM

WACKER, JOHN M.

EMP NAME: WACKER, JOHN
4641 N E SHAVER
PORTLAND, OR 97213

2063402

10/21/2002

CORP

$150,000.00

WADE CALVIN C

EMP NAME: WADE, CALVIN
20000 NIEDERBERGER RD
DUNDEE, OR 97115

17719900

10/15/2002

CORP

$152,000.00

WADE, JERRY A

EMP NAME: WADE, JERRY A
423 SOUTH POPLAR
GREENSBURG, KS 67054

569200

09/30/2002

CORP

$0.00

WAHR ANNE E

EMP NAME: WAHR, ANNE
2926 SE MAIN ST
PORTLAND, OR 97214

1189602

10/11/2002

CORP
CORP

$0.00
$17,407.04
$17,407.04

WAIDELICH GEORGE

EMP NAME: WAIDELICH, GEORGE
2357 DAPPLEGRAY LN

WALNUT CREEK, CA 94596-0000

1229602

10/11/2002

EESO

$5,175.00

WAITMAN, JOSEPH L

EMP NAME: WAITMAN, JOSEPH
30700 S HWY 170

CANBY, OR 97013

1804902

10/15/2002

CORP

$246,902.14

WALDEN MARK B

EMP NAME: WALDEN, MARK
3218 HOFFMAN RD SE
OLYMPIA, WA 98501

1666502

10/15/2002

CORP

$39,643.00

WALDEN SHIRLEY J

EMP NAME: WALDEN, SHIRLEY J
1852 COTTAGE BAY CT

LEAGUE CITY, TX 775737717

1480702

10/15/2002

CORP

$242,222.28

WALDENBURG MICHAEL P

EMP NAME: WALDENBURG, MICHAEL P (MIKE)

27791 OLINDA TRAIL
LINDSTROM, MN 55045-0000

787900

10/09/2002

CORP

$11,314.91

WALES ROBERT E

EMP NAME: WALES, ROBERT
29753 S HULT RD

COLTON, OR 97017

1932700

10/15/2002

CORP

$248,385.36

WALKER, BLAKE M

EMP NAME: WALKER, BLAKE M
12906 AZALEA CREEK TRAIL
HOUSTON, TX 77065

1489202

10/15/2002

CORP

$5,645.00

WALKER CECIL M

EMP NAME: WALKER, CECIL M
2575 WALKER LANE
MALABAR, FL 32950-0000

1777002

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$1,861,950.81

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Exhibit A Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

WALKER CHRISTINE J ea 1196802 10/11/2002 CORP $471,200.00 U
EMP NAME: WALKER, CHRISTINE ,

9655 NE PARRISH RD

NEWBERG, OR 97132

WALKER DEREK T 1771700 10/15/2002 CORP $16,960.00 P
EMP NAME: WALKER, DEREK ‘

602 E MAIN ST

MOLALLA, OR 97038

WALKER DOSS E 1197002 10/11/2002 CORP : $376,640.00 U
EMP NAME: WALKER, DOSS

9655 NE PARRISH RD

NEWBERG, OR 97132

WALKER JUNE 2072301 10/21/2002 CORP $11,980.00 U
EMP NAME: WALKER, JUNE P ~
JUNE P WALKER

3634 GREENACRES PLACE DR UNIT 264

BOSSIER CITY, LA 711112139

KONA KATHRYN W 1753100 10/15/2002 CORP $118,960.00 P
EMP NAME: WALKER, KATHRYN

116 NE BRIDGETON RD

PORTLAND, OR 97211-1045

WALLACE, JAMES W 1518500 10/15/2002 CORP $0.00 P
EMP NAME: WALLACE, JAMES W (JIM)

1507 W HORNBECK

FORT STOCKTON, TX 79735-0834

WALLACE, PHILIP H. 808402 10/10/2002 TORP : $344,973.67 U
EMP NAME: WALLACE, PHILIP

15310 S.E. LA CRESCENTA WY.

MILWAUKIE, OR 97267

WALLACE TONETTE G 2074800 10/18/2002 _ CORP _ $13,031.58 U
EMP NAME: WALLACE, TONETTE G

270 EL DORADO BLVD

#1506

WEBSTER, TX 77598

WALLACE, VERYLL A. 808302 10/10/2002 CORP $169,840.34 U
EMP NAME: WALLACE, VERYLL

15310 S.E. LA CRESCENTA WY

MILWAUKIE, OR 97267

WALLER MARTHA SUE 436800 09/13/2002 CORP $253,367.24 U
EMP NAME: WALLER, MARTHA S :

2649 BONNETT POND RD

CHIPLEY, FL 32428

WALLIS BRUCE R 1731502 10/15/2002 CORP $436,569.00 P
EMP NAME: WALLIS, BRUCE

1405 17TH AVE RM 604

LONGVIEW, WA 98632

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined , : Page 279 of 300
Case 4:01-cv-03913

Claimant

WALTERS, GARETH W.

EMP NAME: WALTERS, GARETH W
A1502

500 EAU CLAIRE AVE. SW
CALGARY AB T2P 3R8

CANADA

Claim
Number

2113000

Document 10

Date
Filed

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Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

cc*

CORP

$645,865.37

Date: = 07/11/2005
Time: 8:06:00 PM

WALTERS, KRISTI L.

EMP NAME: WALTERS, KRISTI
19841 RIVER RD. - APT.G
GLADSTONE, OR 97027

1590802

10/15/2002

CORP

$105,743.34

WALTON, CYNTHIA J.

EMP NAME: WALTON, CYNTHIA J
8111 HIDDEN TRAIL LN.

SPRING, TX 77379

739501

10/08/2002

CORP

$0.00

WALTON MARK A

EMP NAME: WALTON, MARK A
6826 STONEWATER
HOUSTON, TX 77084-0000

2148302

10/31/2002

CORP

$197,033.82

WALTOSZ, GARRETT P.

EMP NAME: WALTOSZ, GARRETT
7020 NE JUNIPER RIDGE RD
REDMOND, OR 97756

1167500

10/11/2002

CORP

$229,520.00

WAMPLER CHARLES W

EMP NAME: WAMPLER, CHARLES W (CHARLIE)
680 E BASSE RD #403

SAN ANTONIO, TX 78209

2148100

10/31/2002

CORP

$544,088.00

WAMRE ROBERT J

EMP NAME: WAMRE, ROBERT
2970 MADRONA DR
LONGVIEW, WA 98632

715500

10/08/2002

CORP

$456,636.88

WANDELL, TIMOTHY J.

EMP NAME: WANDELL, TIMOTHY
9840 SW SADDLE DRIVE

» BEAVERTON, OR 97008

1238802

10/11/2002

CORP

$126,720.00

WANG JUN

EMP NAME: WANG, JUN

1901 BUTTERFIELD RD

SUITE 1000

DOWNERS GROVE, IL 60515-0000

2201700

10/20/2002

CORP

$24,000.00

WANG, NAI-CHUNG J

EMP NAME: WANG, NAI-CHUNG J (JESSIE)
8156 GOLF GREEN CIRCLE

HOUSTON, TX 77036

1811300

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

WANG, STEVE

EMP NAME: WANG, STEVE H
3505 SAGE #2305
HOUSTON, TX 77056

1522804

10/15/2002

ENA

$0.00

* Classification: S=Secured;.P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD Page 311 of 353

Exhibit A : Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claitn Date Debtors Objected To CC*
Number Filed Amount

WAPNER, BETH L. 4451401 40/15/2002 CORP $0.00 U
EMP NAME: WAPNER, BETH L

6542 REFLECTION DR @ CORP $0.00 P
APT 1139 $0.00
SAN DIEGO, CA 92124-5135

WARD CHARLES G 1500002 10/15/2002 ENA $21,000.00 U
EMP NAME: WARD, CHARLES C (CHUCk) CORP U
318 ELECTRA

HOUSTON, TX 77024-0000

WARD DENICE | 1907602 10/15/2002 CORP $0.00 U
EMP NAME: WARD, DENICE

849 S OLEANDER

CORNELIUS, OR 97113

WARD ELLALEA T 1213700 10/11/2002 CORP $161,520.00 U
EMP NAME: WARD, ELLALEA T (TEDDY) ~

2223 GRAY FALLS

HOUSTON, TX 77077-6111

WARD, JAMES R. 1546600 10/15/2002 CORP $0.00 P
EMP NAME: WARD, JAMES R

402 S MENDEL

FORT STOCKTON, TX 79735

WARD KIMBERLY S 1524602 10/15/2002 CORP $18,952.50 U
EMP NAME: WARD, KIMBERLY S (KIM)

1407 S. YORK STREET

DENVER, CO 80210

WARD, LINDA 1942200 10/15/2002 CORP $0.00 P
EMP NAME: WARD, LINDA M .

5107 NASSAU RD

HOUSTON, TX 77021

WARD THOMAS G 2051600 10/48/2002 CORP $347,887.84 U
EMP NAME: WARD, THOMAS

9441 SE CARNABY WY

PORTLAND, OR 97266

WARE WELDON M 735301 10/08/2002 CORP $0.00 P
EMP NAME: WARE, WELDON M oo -

3022 LAKE CRESCENT

KINGWOOD, TX 77339-0000 . L oo

WARNER JOSEPH W 2175800 11/12/2002 : CORP $188,874.32 P
EMP NAME: WARNER, JOSEPH

1004 CHARLES ST

NEWBERG, OR 97132

WARNER, KRISTIN L 1249202 10/11/2002 CORP $162,084.64 U
EMP NAME: WARNER, KRISTIN .
57812 N MORSE RD
WARREN, OR 97053

WARNER, TRACI L 1167704 10/11/2002 CORP $32,241.17 U0 -

EMP NAME: WARNER, TRACI L .

13011 FAR POINT MANOR . mo
CYPRESS, TX 77429

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined : Page 281 of 300
Case 4:01-cv-03913

Claimant

Claim
Number

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

Filed on 07/14/05 in TXSD Page 312 of 353

cc*

. Dates = 07/11/2005

Time: 8:06:00 PM

WARREN K DEBORAH

EMP NAME: WARREN, DEBORAH
PO BOX 246

IONE, OR 97843

1145800

10/11/2002

CORP

-, $200,000.00

WARWICK, TODD

EMP NAME: WARWICK, TODD C
15814 COUNTRY TRAIL
TOMBALL, TX 77377

1496604

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

WASAFF GEORGE

EMP NAME: WASAFF, GEORGE
38 FIREFALL COURT

THE WOODLANDS, TX 77380-0000

2037403

10/17/2002

CORP

$5,411,627.00

WASHINGTON, KATHY A

EMP NAME: WASHINGTON, KATHY A
1663 MEADOW GREEN DR
MISSOUR! CITY, TX 77489-0000

- 1750604

10/15/2002

CORP

$92,372.50

WASHINGTON, KATHY A

EMP NAME: WASHINGTON, KATHY A
1663 MEADOW GREEN DR
MISSOURI CITY, TX 77489-0000

1750605

10/15/2002

CORP

$393,575.77

WATERMAN ANDY R

EMP NAME: WATERMAN, ANDY
2117 NW 16

GRESHAM, OR 97030

1641600

10/15/2002

CORP

$136,000.00

WATKINS ALAN S

EMP NAME: WATKINS, ALAN S
1186 SOUTH 1500 WEST
VERNAL, UT 84078

659700

10/07/2002

CORP

$743,835.92

WATKINS, CAROLYN M

EMP NAME: WATKINS, CAROLYN
10030 SW WALNUT 8

TIGARD, OR 97223

1969102

10/15/2002

CORP

$157,024.88

WATKINS, GARY

EMP NAME: WATKINS, GERALD
P.O. BOX 552

HEPPNER, OR 97836

1985300

10/45/2002

CORP

_ $9,840.00

WATKINS MARIE

EMP NAME: WATKINS, MARIE
3818 FLORINDA

HOUSTON, TX 77021-0000

1664400

10/15/2002

CORP

CORP ©

$0.00

$0.00
$0.00

WATKINS VEL A

EMP NAME: WATKINS, VEL A
401 PECAN GROVE LANE
DICKINSON, TX 77539-0000

1172103

10/11/2002

CORP
CORP

$0.00
$0.00
$0.00

* Classification: $S=Secured;.P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

WATLINGTON, LYNDA D.

EMP NAME: WATLINGTON, LYNDA D
3104 AUTUMN LEAF DRIVE
FRIENDSWOOD, TX 77546

Claim
Number

2115000

Document 10

Date
Filed

05-1 Filed on 07/14/05 in TXSD

Exhibit A
Tittle Settlement Order

10/24/2002

Debtors Objected To
Amount

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Date: . 07/11/2005
Time: 8:06:00 PM

cc*

CORP . $0.00

WATSON, DENYS

EMP NAME: WATSON, DENYS
3306 DUCHESS PARK LANE
FRIENDSWOOD, TX 77546

500405

09/23/2002

ENA $25,152.90

WATSON KIMBERLY S

EMP NAME: WATSON, KIMBERLY S
2001 HOLCOMBE BLVD #2406
HOUSTON, TX 77030-0000

1868103

10/15/2002

CORP . $1,131,913.00

WATSON, SCOTT ALLEN

EMP NAME: WATSON, SCOTT A
3306 DUCHESS PARK LANE
FRIENDSWOOD, TX 77546

500503

09/23/2002

EES, INC . $25,000.00"

WATSON SHANE R

EMP NAME: WATSON, SHANE
20308 NE 159TH AVENUE
BATTLEGROUND, WA 98604

1767800

10/15/2002

CORP $54,000.00

WEAKLY JUDITH A

EMP NAME: WEAKLY, JUDITH A (JUDY)

6015 OAK STREET
OMAHA, NE 68106-0000

1477402

10/15/2002

CORP $0.00

WEATHERSPOON PATRICIA A

EMP NAME: WEATHERSPOON, PATRICIA A

12055 CIRCLE DRIVE EAST
HOUSTON, TX 77071-0000

2040502

10/17/2002

CORP $571,541.00

WEATHERSTON, MARY

EMP NAME: WEATHERSTONE, MARY B

3071 MANILA LANE
HOUSTON, TX 77043

1601500

10/15/2002

CORP oe $0.00

WEAVER M VERONICA

EMP NAME: WEAVER, VERONICA M
237 R L MOFFETT STREET
GOODRICH, TX 77335

1770001

10/15/2002

CORP $650,911.00

WEBB MARVIN W.

EMP NAME: WEBB, MARVIN
25560 S. WINDY HILL RD.
ESTACADA, OR 97023

1673500

10/15/2002

CORP $56,880.00

WEBER CHRISTINE S

EMP NAME: WEBER, CHRISTINE S
335 NORRIS COURT

SAN RAMON, CA 94583-0000

1181100

10/71/2002

CORP $9,279.00

WEBER GEORGE S

EMP NAME: WEBER, GEORGE
349 ROY LN

KELLER, TX 762482356

1737300

10/15/2002

“CORP ~ , $0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

WEBER, GLENN R

EMP NAME: WEBER, GLENN
1137 SE 51 AV

HILLSBORO, OR 97123

Claim
Number

843500

Document 10

Date
Filed

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Exhibit A
Tittle Settlement Order

10/10/2002

Debtors

Objected To
Amount

cc*

CORP

$368,240.00

- Date:

Time:

07/11/2005
8:06:00 PM

WEBER, KURT A

EMP NAME: WEBER, KURT A
1931 WASHINGTON ST.
BEATRICE, NE 68310-3214

1687202

10/15/2002

CORP

$6,431.93

WEBERG TERRI L

EMP NAME: WEBERG, TERRI
15902 NW 11TH AV
RIDGEFIELD, WA 98642

1571902

10/15/2002

CORP

$93,315.51

WEEKLEY ALICE K

EMP NAME: WEEKLEY, ALICE K
19602 COTTAGE PARK CR
HOUSTON, TX 77094-0000

1472002

10/15/2002

CORP

$529,036.32

WEEKEY, DEANNA M.

EMP NAME: WEEKLY, DEANNA M
3014 112TH STN

TEXAS CITY, TX 77591

615100

10/03/2002

CORP

$0.00

WEEMS, WOODROW E

EMP NAME: WEEMS, WOODROW E (WOODY)
5755 GLENWOOD TRAIL

FLAGSTAFF, AZ 86004-0000

1856102

10/15/2002

ETSC

$61,327.00

WEHRING LINDA

EMP NAME: WEHRING, LINDA
1831 CRYSTAL COURT
HOUSTON, TX 77008-0000

1697002

10/15/2002

CORP
CORP

$0.00
$34,005.34
$34,005.34

WEI, YI

EMP NAME: WE], YI

10528 SUNNY BROOKE LN
POTOMAC, MD 20854

418103

09/12/2002

ENW LLC

$3,342.50

WEIDLER, PETER E

EMP NAME: WEIDLER, PETER E
1213 ASHLAND ST

HOUSTON, TX 770086719

538101

09/26/2002

CORP

$264,418.00

WEWO RICHARD O
EMP NAME: WEIJO, RICHARD
8110 SW BOND ST
TIGARD, OR 97224

385700

09/06/2002

CORP
CORP .

$6,253.67 .

$2,707.42
$8,961.09

WEISSELBERG ALEX

EMP NAME: WEISSELBERG, ALEX
11926 N DURRETTE DR
HOUSTON, TX 77024-0000

1986400

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

WEISSENFELS MARK

EMP NAME: WEISSENFELS, MARK
PO BOX 255

MT ANGEL, OR 97362

864102

10/10/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

"$195,920.00

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Claimant

Claim
Number

Document 1005-1

Date
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Exhibit A
Tittle Settlement Order

Debtors

Objected To
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cc*

. Date: 07/11/2005

Time: 8:06:00 PM

WEITEKAMP JAMES C

EMP NAME: WEITEKAMP, JAMES C
P.O, BOX 580514

HOUSTON, TX 77258-0514

1753002

10/15/2002

CORP

$6,841.93

WEITHMAN TIMOTHY C

EMP NAME: WEITHMAN, TIMOTHY C (TIM)
8215 HAMPTON BLUFF TRL
CHESTERFIELD, VA 238322020

1735802

10/15/2002

EESO

$118,299.50.

WELSCHER, NORMA
EMP NAME: WELSCHER, NORMA A
12063 MISTYVALLEY DR.

HOUSTON, TX 77066

1574600

10/15/2002

CORP

$2,069.42

WENDE ROGER W

EMP NAME: WENDE, ROGER
2806 NE 17 AV

PORTLAND, OR 97212

1778700

10/15/2002

CORP

$145,536.00

WENDLAND, BRUCE H.

EMP NAME: WENDLAND, BRUCE
19775 S.W. MT. HOME RD
SHERWOOD, OR 97140

962102

10/11/2002

CORP

$207,164.03

WENDLAN.D KATHLEEN

EMP NAME: WENDLAND, KATHLEEN
3301 NE SHAVER ST

PORTLAND, OR 97212

1517902

10/15/2002

CORP

$45,844.80

WENZEL. JOHN MATTHEW

EMP NAME: WENZEL, JOHN M (MATT)
3606 PINE CHASE DRIVE

PEARLAND, TX 77581-8705

1570501

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

WERNER BRUCE N

EMP NAME; WERNER, BRUCE
5395 NW 137 AV

PORTLAND, OR 97229

1699700

10/15/2002

CORP

$162,342.80

WESSELINK ROBERT D

EMP NAME: WESSELINK, ROBERT
7404 SE COTTRELL

GRESHAM, OR 97080

1702100

10/15/2002

CORP

$553,360.00

WEST, BONNIE

EMP NAME: WEST, BONNIE D
7950 BELLFORT #198
HOUSTON, TX 77061

1451800

10/15/2002

CORP -

CORP

$0.00
$0.00
$0.00

WEST ERNEST R

EMP NAME: WEST, ERNEST R
650 SANDY PINE ROAD
LULING, TX 78648

541702

09/30/2002

CORP

$410,667.20

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

WESTPHAL JEFFREY M
EMP NAME: WESTPHAL, JEFFREY M

27498 265TH STREET a

PRINCETON, IA 52768-0000

Claim
Number

1534502

Document 1005-1

Date
Filed

Tittle Settlement Order

Debtors Objected To
Amount

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cc*

10/15/2002

CORP / $347,903.61

Date: 07/11/2005
Time: 8:06:00 PM

WESTVOLD, JOEL D

EMP NAME: WESTVOLD, JOEL
14876 SW LINDA CT
BEAVERTON, OR 97006

851500

10/10/2002

CORP $296,109.62

WETHERBEE DEBORAH E

EMP NAME: WETHERBEE, DEBORAH
1359 MADRAS ST SE

SALEM, OR 973061382

1542900

10/15/2002

CORP $44,800.00

WHALEY JAMES W

EMP NAME: WHALEY, JAMES W
11727 CANYON VISTA
TOMBALL, TX 77377

2075300

10/18/2002

CORP $56,200.00

WHATLEY BILL D

EMP NAME: WHATLEY, BILL
8 CRESTMONT AV
LONGVIEW, WA 98632

914200

10/11/2002

CORP $236,400.00

WHATLEY, NAN

EMP NAME: WHATLEY. NAN
2106 WAKEFIELD
HOUSTON, TX 77018

1743203

10/15/2002

EES, INC $495,880.86

WHEATFALL, EMMETT C.

EMP NAME: WHEATFALL, EMMETT
10835 NE BEECH ST

PORTLAND, OR 97220

1712200

10/15/2002

CORP $182,738.57

WHEELER JEFFREY J

EMP NAME: WHEELER, JEFFREY
17780 NW DEERCREEK CT
PORTLAND, OR 97229

886000

10/10/2002

CORP $340,984.00

WHEELER, SUSAN

EMP NAME: WHEELER, SUSAN
1431 N GABRIEL RVR CIRC
SUGAR LAND, TX 77478-0000

1748204

10/45/2002

CORP $0.00

WHEELER TERESA L

EMP NAME: WHEELER, TERESA L (TERRIE)
15907 LAKE LOOP

CYPRESS, TX 77429-0000

1734902

10/15/2002

CORP $53,055.00

WHITAKER BENJAMIN

EMP NAME: WHITAKER, BENJAMIN
1855 SW BLAINE DR

ALOHA, OR 97007

1151600

10/11/2002

CORP $68,800.00

WHITE BONNIE J

EMP NAME: WHITE, BONNIE J
2026 BRANARD AVE
HOUSTON, TX 77098-0000

1736302

10/15/2002

~ CORP , $0.00

CORP : $0.00
$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

WHITE CHARLES R

EMP NAME: WHITE, CHARLES
16675 NW JOSCELYN
BEAVERTON, OR 97006

Claim
Nurnber

1563903

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

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cc*

CORP

$394,827.87

Date: 07/11/2005
Time: 8:06:00 PM

WHITE CHRISTOPHER J

EMP NAME: WHITE, CHRISTOPHER
14501 SE VISTA LN

MILWAUKIE, OR 97276

1932600

10/15/2002

CORP

$174,567.04

WHITE, DAVID W

EMP NAME: WHITE, DAVID
2575 SE TARBELL
MILWAUKIE, OR 97222

1249000

10/1 1/2002

CORP

$245,375.76

WHITE GARY L

EMP NAME: WHITE, GARY
21331 S RIDGE RD
OREGON CITY, OR 97045

843100

10/10/2002

CORP

$22,222.95

WHITE LEESAM

EMP NAME: WHITE, LEESA M
1130 WEST CLAY STREET
HOUSTON, TX 77019-0000

758701

10/09/2002

CORP

$0.00

WHITE, MICHAEL D

EMP NAME: WHITE, MICHAEL
2970 KNOX AVE NE

SALEM, OR 973012840

1248600

10/11/2002

CORP

$20,000.00

WHITE PATRICK J

EMP NAME: WHITE, PATRICK
4016 NE 130TH PLACE
PORTLAND, OR 97230

1901200

10/15/2002

CORP

$106,880.00

WHITEHEAD DEBORA A

EMP NAME: WHITEHEAD, DEBORA A
3719 KRISTIN LEE LN

HOUSTON, TX 77014

1636903

10/11/2002

CORP

$0.00

WHITING, GREGORY A.

EMP NAME: WHITING, GREGORY A (GREG)
1319 PINE CHASE GROVE

HOUSTON, TX 77055

1556202

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00

FITZWATER SANDRA

EMP NAME: WHITLOCK, SANDRA (SANDI)
13 HUERTA CT

ROSWELL, NM 882018329

1546300

10/15/2002

CORP

CORP .

$0.00 .

$0.00
$0.00

WHITNEY MARK K

EMP NAME: WHITNEY, MARK
349 SE 68 AV

HILLSBORO, OR 97123

1533002

10/15/2002

CORP

$33,671.84

WICKHAM, MARILYN K

EMP NAME: WICKHAM, MARILYN K
1635 NORTH 123RD STREET
OMAHA, NE 68154-1330

1750102

10/15/2002

CORP

$427,320.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

WICKS, RICHARD B.

EMP NAME: WICKS, RICHARD
1923 E. GILLESPIE
HERMISTON, OR 97838

Claim
Number

960200

Date
Filed

Exhibit A
Tittle Settlement Order

10/11/2002

Debtors

Objected To
Amount

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CORP
CORP

$0.00
$160,000.00
$160,000.00

Date: 07/11/2005
Time: 8:06:00 PM

WIER, GLORIA

EMP NAME: WIER, GLORIA
2501 MONTGOMERY RD
ROSWELL, NM 88203-0000

1241200

10/11/2002

CORP

$0.00

WIER, WILLIAM M.

EMP NAME: WIER, WILLIAM M
2501 MONTGOMERY ROAD
ROSWELL, NM 88203

1241100

10/11/2002

CORP

$0.00

WILBERT DORIAN R

EMP NAME: WILBERT, DORIAN
32580 CANAAN RD

DEER ISLAND, OR 97054

1232000

10/11/2002

CORP

$228,000.00

WILDE DAWN .
EMP NAME: WILDE, DAWN
7015 N WALL ST
PORTLAND, OR 97203

1905603

10/15/2002

CORP

$23,848.69

WILDERMUTH DENNIS D

EMP NAME: WILDERMUTH, DENNIS
13112 SW KATHERINE ST

TIGARD, OR 97223

661700

10/07/2002

CORP
CORP

$168,912.00
$18,768.00
$187,680.00

WILKER, CURTIS H

EMP NAME: WILKER, CURTIS H
PO BOX 2212

CRESTED BUTTE, CO 81224

872003

10/10/2002

CORP

$57,292.00

SCHAEFER, BONNIE S.

EMP NAME: WILKERSON, BONNY S
2403 FIR ST.

PAMPA, TX 79065

1150601

10/11/2002

CORP

$0.00

WILKERSON, MARVIN DALE

EMP NAME: WILKERSON, MARVIN D
1018 BLODGETT DR

SPEARMAN, TX 79081

1714000

10/15/2002

ETSC

$61,250.00

WILKES, LYMAN G

EMP NAME: WILKES, LYMAN G
16012 LUTHERAN SCHOOL RD
TOMBALL, TX 77375

1773404

10/15/2002 -

EES, INC

$4,439.77

WILL JOHN F

EMP NAME: WILL, JOHN F

86 WILDFLOWER

THE WOODLANDS, TX 77382-0000

311801

08/28/2002

CORP

$21,550.25

WILL, LLOYD

EMP NAME: WILL, LLOYD J
9527 BAYOU LAKE LANE
HOUSTON, TX 77040

1841806

10/15/2002

ENA

$0.00

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Claimant

WILLEMYNS JOHN R

EMP NAME: WILLEMYNS, JOHN R
805 NORTH 150TH STREET
OMAHA, NE 68154-0000

Claim
Number

2041802

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/17/2002

Debtors

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Amount

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cc*

CORP

$0.00

Date:
Time:

07/11/2005
8:06:00 PM

WILLEMYNS LAUREEN

EMP NAME: WILLEMYNS, LAUREEN (LAURIE)
805 N 150TH ST

OMAHA, NE 68154-0000

2041902

10/17/2002

CORP

$0.00

WILLIAMS, WILLIE JR.

EMP NAME: WILLIAMS JR, WILLIE
3221 PARKWOOD DRIVE
HOUSTON, TX 77021

742702

10/08/2002

CORP

$0.00

WILLIAMS JR. W. J

EMP NAME: WILLIAMS JR., W. J (BILL)
3333 NE SISKIYOU ST.

PORTLAND, OR 97212

1945301

10/15/2002

CORP

$149,754.45

WILLIAMS, AMELIA LH

EMP NAME: WILLIAMS, AMELIA L (AMELIA L.H.)
1947 WOODLAND HILLS DR

MISSOURI CITY, TX 77489-0000

2012602

10/16/2002

CORP

$83,976.97

WILLIAMS ARNOLD J

EMP NAME: WILLIAMS, ARNOLD
36800 DOUBLE CREEK DR
SANDY, OR 97055

833402

70/10/2002

CORP

$207,254.04

WILLIAMS, BILLY J

EMP NAME: WILLIAMS, BILLY
56648 TURLEY RD

WARREN, OR 97053

1723300

10/15/2002

CORP

$218,895.64

WILLIAMS DAN E

EMP NAME: WILLIAMS, DAN E
16321 KOESTER STREET
HOUSTON, TX 77040-2822

1172004

10/11/2002

CORP

$0.00

WILLIAMS, DAVID C.

EMP NAME: WILLIAMS, DAVID
1740A COLQUITT

HOUSTON, TX 77098

1569600

10/15/2002

’ CORP

CORP

$0.00
$0.00
$0.00

WILLIAMS DEBBY N

EMP NAME: WILLIAMS, DEBBY
PO BOX 112

EAGLE CREEK, OR 97022

1781102

10/15/2002

CORP

$203,280.00 .

WILLIAMS DONALD C

EMP NAME: WILLIAMS, DONALD
22848 SE BELMONT CT
BORING, OR 97009

838400

10/10/2002

CORP

$174,960.00

WILLIAMS EDWARD L

EMP NAME: WILLIAMS, EDWARD
6915 SW TIERRA DEL MAR DR
BEAVERTON, OR 97007

1532500

10/15/2002

CORP

$58,891.22

* Classification: S=Secured;. P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A
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Date: 07/11/2005
Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

WILLIAMS ERNESTINE L. 1650900 40/15/2002 CORP $5,280.59 U

EMP NAME: WILLIAMS, ERNESTINE L

3017 NW 68TH AVE CORP $4,868.98 P

GAINESVILLE, FL 32653-1402 $10,149.57

WILLIAMS JO M 1664602 10/15/2002 CORP $6,847.00 U

EMP NAME: WILLIAMS, JO M

3524 STATE ST

OMAHA, NE 68112-1710

WILLIAMS JOHN T 1643303 10/15/2002 CORP $102,301.00 U

EMP NAME: WILLIAMS, JOHN T

905 BAYBERRY DRIVE

OMAHA, NE 68005-0000

WILLIAMS, JOSEPH 4984300 10/15/2002 CORP $100,000.00 P

EMP NAME: WILLIAMS, JOSEPH

6233 S.E. MITCHELL

PORTLAND, OR 97206

WILLIAMS JUANITA R 2110602 40/23/2002 CORP $108,830.26 U

EMP NAME: WILLIAMS, JUANITA

11305 SW 121 AV

TIGARD, OR 97223

WILLIAMS KARIN 2087001 40/11/2002 CORP $0.00 U

EMP NAME: WILLIAMS, KARIN

4106 DURNESS WAY CORP $0.00 P

HOUSTON, TX 77025-0000 $0.00

WILLIAMS MARC A 2088000 10/18/2002 CORP $129,120.00 P

EMP NAME: WILLIAMS, MARC

PO BOX 112

EAGLE CREEK, OR 97022

WILLIAMS MARILYN J 1821102 10/15/2002 CORP $22,143.00 P

EMP NAME: WILLIAMS, MARILYN

2735 SE 33 PL

PORTLAND, OR 97202

WILLIAMS NANCY L 1181602 40/14/2002 CORP $247,790.31 U

EMP NAME: WILLIAMS, NANCY

3400 NE 36

PORTLAND, OR 97212

WILLIAMS ROGER 1511400 40/15/2002 CORP $0.00 .U

EMP NAME: WILLIAMS, ROGER A

535 & 3RD ST CORP - $0.00 P

ELK CITY, OK 73644 $0.00

WILLIAMS SUZANNE T 4757002 40/15/2002 CORP $0.00 U

EMP NAME: WILLIAMS, SUZANNE T

2813 MILLS STREET CORP $0.00 P

LAFAYETTE, LA 70507-0000 $0.00

WILLIAMS, WILLIE M. 939600 40/11/2002 CORP $52,452.15 P

EMP NAME: WILLIAMS, WILLIE
6915 SW TIERRA DEL MAR
BEAVERTON, OR 97007

* Classification: S=Secured;.P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Exhibit A Date: 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim Date Debtors Objected To CC*
Number Filed Amount

WILLIS ANNETTE L 1799601 10/15/2002 EESO $0.00 P
EMP NAME: WILLIS, ANNETTE L 2

23218 PARK LANE

TOMBALL, TX 77377

WILLIS JOANNE V 1796003 10/15/2002 EESO $3,373.75 P
EMP NAME: WILLIS, JOANNE V

5314 GRAND LAKE

BELLAIRE, TX 77401-0000

WILMINGTON TRUST CO AS TRUSTEE OF THE 1404500 10/15/2002 CORP . $0.00 U
EMP NAME: WILMINGTON TRUST CO AS

TRUSTEE OF THE

TRUST OF THE ENRON CORP SAVINGS PLAN

1100 NORTH MARKET STREET

WILMINGTON, DE 19890

WILMINGTON TRUST COMPANY 1407500 10/15/2002 CORP $0.00 U
EMP NAME: WILMINGTON TRUST COMPANY

1100 NORTH MARKET STREET

WILMINGTON, DE 19890

WILMOT ROBERT L 1734200 10/15/2002 CORP $248,000.00 P
EMP NAME: WILMOT, ROBERT

15154 MANNING ROAD NE

WOODBURN, OR 97071

LEHNERT WILSON, AMY 1988801 10/15/2002 CORP $0.00 U
EMP NAME: WILSON, AMY L

322 SUMMERTIME DR.

SAN ANTONIO, TX 78216

WILSON DANIEL M 1543200 40/15/2002 CORP $0.00 U
EMP NAME: WILSON, DANIEL M (DANNY)

4003 COUNTRY TRLS CORP _____—=80.00P
ALVIN, TX 77514-0000 $0.00

WIMBERLEY SUSAN 1682002 10/15/2002 CORP $57,571.24 U
EMP NAME: WIMBERLEY, SUSAN

707 COPPER CREEK DR

KATY, TX 77450-0000

WINCKOWSK! MICHELE 885902 10/10/2002 CORP $165,212.52 U
EMP NAME: WINCKOWSKI, MICHELE .

7616 IRVINGTON RD

OMAHA, NE 68122-0000

WINER ASYA 1520601 10/15/2002 CORP $3,500.00 U
EMP NAME: WINER, ASYA :

7723 152ND AVE NE CORP $2,000.00
REDMOND, WA 98052-0000 $5,500.00

WINGER MARTIN P 908503 10/11/2002 CORP $850,000.00 P
EMP NAME: WINGER, MARTIN P . :

818 SILK OAK TERRACE

LAKE MARY, FL 32746-0000

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined Page 291 of 300
Case 4:01-cv-03913

Claimant

WINN, MELINDA K.

EMP NAME: WINN, MELINDA K
3826 LINKLEA DRIVE
HOUSTON, TX 77025

Claim
Number

1451900

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/15/2002

Debtors

Objected To
Amount

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cc*

CORP
CORP

$0.00
$0.00
$0.00

Date: = 07/11/2005
Time: 8:06:00 PM

WINOWITCH CAROLYN

EMP NAME: WINOWITCH, CAROLYN
8280 SW COLONY CREEK CT
TIGARD, OR 97224

1155400

10/11/2002

CORP

$61,667.00

WINTERS INGEBORG

EMP NAME: WINTERS, INGEBORG
19049 NE CLACKAMAS
PORTLAND, OR 97230

1935002

10/45/2002

CORP

$73,031.77

WISEMILLER, CYNTHIA L.

EMP NAME: WISEMILLER, CYNTHIA L (CINDY)
7 CLARET ASH

LITTLETON, CO 80127

1511503

10/15/2002

CORP

$0.00

WISSEMANN, CHRIS
EMP NAME: WISSEMANN, CHRISTOPHER R
(CHRIS)

1219 PARK AVE

HOBKEN, NJ 070304401

1458602

10/15/2002

CORP

$0.00

WISTHOFF DWAINE A

EMP NAME: WISTHOFF, DWAINE
30181 SW LADD HILL RD
SHERWOOD, OR 97140

1827004

10/15/2002

CORP

"$90,626.08

WISTHOFF LISA M

EMP NAME: WISTHOFF, LISA
30181 SW LADD HILL RD
SHERWOOD, OR 97140

1802303

10/15/2002

CORP

$45,298.25

WITTHOEFT, BRENT A.

EMP NAME: WITTHOEFT, BRENT A
4415 SPINICS CREEK LN

SPRING, TX 77388

1798003

10/15/2002

CORP

$26,321.57

WITTWER, CHRISTOPHER

EMP NAME: WITTWER, CHRISTOPHER J
PO BOX 994

CLAY CITY, KY 40312

687902

10/07/2002

CORP

$237,383.70

WOJDAN KENNETH J

EMP NAME: WOJDAN, KENNETH
35685 SE DIVERS RD
ESTACADA, OR 97023

658300

10/07/2002

CORP

$200,880.00

WOJDAN KENNETH :
EMP NAME: WOJDAN, KENNETH
35685 SE DIVERS RD

ESTACADA, OR 97023

662000

10/07/2002

CORP

$20,000.00

WOJNOWSKI JACK

EMP NAME: WOJNOWSKI, JACK
PO BOX 2194

LANCASTER, CA 935392194

1933300

10/15/2002

* Classification: S=Secured;.P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$454.40

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Case 4:01-cv-03913

Claimant

Claim
Number

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

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cc

Date: 07/11/2005
Time: 8:06:00 PM

WOJTKOWSK! ANDREW M

EMP NAME: WOJTKOWSKI, ANDREW M (RY)
411 WEST CHELSEA PLACE

EL LAGO, TX 77586-0000

786300

10/09/2002

CORP

$0.00

WOJTOWICZ TIMOTHY J

EMP NAME; WOJTOWICZ, TIMOTHY J (TIM)
113 APPLE BLOSSOM LN

CRANBERRY TOWNSHIP, PA 16066-2801

1814003

10/15/2002

CORP

$35,550.69

WOLF DANIEL J

EMP NAME: WOLF, DANIEL J
2113 CANTER WAY
BAKERSFIELD, CA 93309-0000

1633000

10/45/2002

CORP
CORP

$0.00
$0.00
$0.00

WOLF TROY

EMP NAME: WOLF, TROY
601 N BIRCH

CANBY, OR 87013

1905200

10/15/2002

CORP

$103,920.00

WOLF-JOHNSON, NANCY J

EMP NAME: WOLF-JOHNSON, NANCY J
15516 W WHITEWOOD DR

SUN CITY, AZ 853756538

2201100

11/18/2002

CORP

$0.00

WOLFORD, MICHAEL

EMP NAME; WOLFORD, MICHAEL
13757 SE 115 AVE

CLACKAMAS, OR 97015

1165100

10/11/2002

CORP

$121,272.00

WONG ELAINE

EMP NAME: WONG, ELAINE
14331 NE SISKIYOU CT
PORTLAND, OR 97230

1753500

10/15/2002

CORP

$223,845.84

WONG JEFFREY J

EMP NAME: WONG, JEFFREY
333 SW 30 CT

TROUTDALE, OR 97060

1703900

10/15/2002

CORP

$159,270.20

WONSLEY, ROBERT J

EMP NAME: WONSLEY, ROBERT
13821 SE RAYMOND
PORTLAND, OR 97236

2012500

10/16/2002

CORP

$23,350.00

WOOD, WILLARD C JR.

EMP NAME: WOOD JR, WILLARD C (WOODY)
1808 BRENTWOOD DRIVE

LEANDER, TX 78641-0000

1247602

10/11/2002

CORP

$298,269.24

WOOD BART

EMP NAME: WOOD, BART

3438 JOSE COURT

CAMERON PARK, CA 95682-0000

500600

09/23/2002

EES, INC

$20,583.19

WOCD II EARL

EMP NAME: WOOD, EARL
22215 SE HEIDI LN
CLACKAMAS, OR 97015

515703

09/24/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP

$217,291.11

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Claimant

Case 4:01-cv-03913

Claim
Number

Document 1005-1

Tittle Settlement Order

Date
Filed

Filed on 07/14/05 in TXSD_— Page 324 of 353

Exhibit A

Debtors

Date: 07/11/2005
Time: 8:06:00 PM

WOCDARD MAXINE B

EMP NAME: WOODARD, MAXINE
2922 GREEN FIELDS DRIVE
SUGAR LAND, TX 77479-0000

887901
B @

10/10/2002

CORP

WOODS, CATHERINE SWEITZER

147002

EMP NAME: WOODS, CATHERINE S

1494 WESTWOOD DR
LEWIS CENTER, OH 43035

03/22/2002

CORP

$9,253.82 P

WOODS, JO ANN

1543000

EMP NAME: WOODS, JO A (JO ANN)

7414 CASTLEVIEW
MISSOURI CITY, TX 77489

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

WOODSON, JOAN F.

EMP NAME: WOODSON, JOAN F
6736 VANDERBILT

HOUSTON, TX 77005

1855300

10/15/2002

CORP

$3,150.00 U

WOOLCOCK ADRIAN W

1814504

EMP NAME: WOOLCOCK, ADRIAN W

1350 BEVERLY RD STE 113
MC LEAN, VA 221013917

10/15/2002

CORP

$7,923.38 U

WOOLLEY, JOEY L

EMP NAME: WOOLLEY, JOEY L
222 S HAZELWOOD
SPEARMAN, TX 79081-0000

7659300

10/15/2002

CORP
CORP

$0.00 U
$0.00 P
$0.00

WOOTEN TERRY W

EMP NAME: WOOTEN, TERRY
35815 SE MEDICINE SONG
ESTACADA, OR 97023

608000

10/03/2002

CORP

$252,080.00 P

WORKMAN, DAVID

EMP NAME: WORKMAN, DAVID
737 222ND PLACE NE
SAMMAMISH, WA 98074

1902901

10/15/2002

CORP

$0.00 P

WORLEIN NANCY K

EMP NAME: WORLEIN, NANCY
32978 NW PEAK RD
SCAPPOOSE, OR 97056

1720900

10/15/2002

CORP

$102,807.00 P

WORRELL TERRY D

EMP NAME: WORRELL, TERRY
11782 SW SWENDON LOOP
TIGARD, OR 97223

668200

10/07/2002

CORP

$155,476.00 P

WORTHEN, RHONDA S.

1760404

EMP NAME: WORTHEN, RHONDA S (SUSAN)

25750 FISH RD.
MAGNOLIA, TX 77355

10/15/2002

CORP

$218,589.87 U

WORTHING, ASHLEY

1498702

EMP NAME: WORTHING, ASHLEY R

4848 PIN DIK #708
HOUSTON, TX 77081

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

CORP
CORP

$0.00 U.
$0.00 P

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Case 4:01-cv-03913

Claimant

Claim
Number

Document 10

Date
Filed

05-1 Filed on 07/14/05 in TXSD Page 325 of 353

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

cc*

$0.00

Date:
Time:

07/11/2005
8:06:00 PM

WOSTER, DOROTHY A

EMP NAME: WOSTER, DOROTHY A
DOROTHY WOSTER

19711 SE 25TH ST

CAMAS., WA 986078823

1811501

10/15/2002

CORP

$1,975.37

WRIGHT DENNIS R

EMP NAME: WRIGHT, DENNIS R
7898 PALACE MONACO AVE
LAS VEGAS, NV 891172553

392600

09/09/2002

CORP
CORP

$93,953.00
$4,650.00
$98,603.00

WRIGHT, HARRY F

EMP NAME: WRIGHT, HARRY
21050 APOLLO CT

WEST LINN, OR 97068

922100

10/1 1/2002

CORP

$384,000.00

WRIGHT, KIRK

EMP NAME: WRIGHT, KIRK
311 W 5TH ST UNIT 1002
AUSTIN, TX 787012837

2142800

10/30/2002

EBS, INC

$10,171.00.

WURM JW.

EMP NAME: WURM, J W
1601 SURFSIDE DR
LINCOLN, NE 68528

459500

09/16/2002

CORP

$204,485.00

WYATT ALBERT J

EMP NAME: WYATT, ALBERT
56694 PLANTATION DR
WARREN, OR 97053

885802

10/10/2002

CORP

$0.00

WYCKOFF RANDY S

EMP NAME: WYCKOFF, RANDY
310 HEATHER DR

STANFIELD, OR 97875

1047601

10/74/2002

CORP

$0.00

XAYBANHA AROUN

EMP NAME: XAYBANHA, AROUN
15341 SE BYBEE DR
PORTLAND, OR 97236

671702

10/07/2002

CORP
CORP

$842.64
$2,736.00
$3,578.64

YABLONSKY, MICHAEL P.

EMP NAME: YABLONSKY, MICHAEL
508 SE 59 CT

PORTLAND, OR 97215

2074700

10/18/2002

CORP

$200,000.00

YAMBRACH, MICHAEL O.

EMP NAME: YAMBRACH, MICHAEL O
916 MIMOSA AVE

VISTA, CA 92083

1754504

10/15/2002

CORP

$0.00

YANG, DONGWE! DAVID

EMP NAME: YANG, DONGWEI (DAVID)
7900 CAMBRIDGE ST

APT 15-1E

HOUSTON, TX 77054

1390800

10/15/2002

CORP
CORP

$0.00
$0.00

$0.00 ©

* Classification: S=Secured;. P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

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Case 4:01-cv-03913

Claimant

YAO ANNE S

EMP NAME: YAO, ANNE S @
1523 MEADOWSTAR DRIVE

SUGAR LAND, TX 77479-0000

Claim
Number

1480602

Document 1005-1

Tittle Settlement Order

Date
Filed

10/15/2002

Filed on 07/14/05 in TXSD_— Page 326 of 353

Exhibit A

Debtors

Objected To

cCt

Amount _

CORP

$172,241.55

Date: = 07/11/2005
Time: 8:06:00 PM

YARBOR JUDSON C

EMP NAME: YARBOR, JUDSON
434N 11THST

SAINT HELENS, OR 970511316

715900

10/08/2002

CORP

$178,480.00

YARBROUGH TIMOTHY

EMP NAME: YARBROUGH, TIMOTHY (TIM)
1300 NW 15TH

ANDREWS, TX 79714

1682100

10/15/2002

CORP
CORP

$0.00
$115,632.61
$115,632.61

YARBROUGH TIMOTHY

EMP NAME: YARBROUGH, TIMOTHY (TIM)
1300 NW 15TH

ANDREWS, TX 79714-0000

418602

09/11/2002

CORP

$650,874.05,

YATES BRENT O

EMP NAME: YATES, BRENT
1304 SE 11 LOOP

CANBY, OR 97013

1667700

10/15/2002

CORP

$141,360.00

YAZIGI, JOSE A.

EMP NAME: YAZIGI, JOSE A (JOSE ANTONIO)
27814 VIA SARASATE

MISSION VIEJO, CA 92692

1830700

10/15/2002

ENA

$17,626.96

YEAGER, GARRY

EMP NAME: YEAGER, GARRY
8545 SE 347TH

BORING, OR 97009

655700

10/07/2002

CORP

$114,164.00

YEE, KARLAN T.

EMP NAME: YEE, KARLAN
2316 SE 58TH AVE
PORTLAND, OR 97215

683200

10/07/2002

UNKNOWN

$127,142.63

YILDIROK, VALERIE

EMP NAME: YILDIROK, VALERIE
8907 SW PICASSO PL
PORTLAND. OR 97223

922300

10/11/2002

CORP

$259,272.00

YODER R CHARLES

EMP NAME: YODER, CHARLES
16121 S MAPLE LANE
OREGON CITY, OR 97045

1166300

10/71/2002

CORP

$63,680.00

YORK, CINDY R

EMP NAME: YORK, CINDY R
19431 CR 445

LINDALE, TX 75771

1246700

10/11/2002

CORP

$18,091.00

YORK FRANCIS R

EMP NAME: YORK, FRANCIS
22047 NE LACHENVIEW LANE
FAIRVIEW, OR 970248774

681100

10/07/2002

’ CORP

$86,009.05

* Classification: S=Secured; P=Priority; U=-Unsecured; A=Administrative; ? = Undetermined

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Claimant

YORK PARMALEE M

EMP NAME: YORK, PARMALEE
22047 NE LACHENVIEW LANE
FAIRVIEW, OR 970248774

Claim
Number

677500

Document 1005-1

Date
Filed

Exhibit A
Tittle Settlement Order

10/07/2002

Debtors

Objected To
Amount

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cc

CORP

$72,813.29

Date: 07/11/2005
Time: 8:06:00 PM

YOUNG, DENNIS S.

EMP NAME: YOUNG, DENNIS S
3263 SAN TOMAS DR
OCEANSIDE, CA 92056-3246

1946600

10/15/2002

CORP

$109,336.67

YOUNG, MARGARET

EMP NAME: YOUNG, MARGARET
32548 SW JULIETTE DRIVE
WILSONVILLE, OR 97070

1614402

10/15/2002

CORP

$8,218.97

YOUNG, MARK

EMP NAME: YOUNG. MARK
4175 STRATUS CT S
SALEM, OR 97302

897700

10/11/2002

CORP

$4,815.00

YOUNG MARK D

EMP NAME: YOUNG, MARK
4175 STRATUS CT S
SALEM, OR 97302

897800

10/11/2002

CORP

$386,080.00

YOUNG NANCY K

EMP NAME: YOUNG, NANCY K
2356 NW NORTHRUP
PORTLAND. OR 97210

858803

10/10/2002

CORP

$55,989.38

YOUNG, STEVEN W :

EMP NAME: YOUNG, STEVEN W (STEVE)
342 CINNAMON OAK

HOUSTON, TX 77079-0000

1624001

10/15/2002

CORP

$75,000.00

YOUNG, STEVEN W

EMP NAME: YOUNG, STEVEN W (STEVE)
342 CINNAMON OAK

HOUSTON, TX 77079-0000

1624201

10/15/2002

EBS, INC

$75,000.00

YOUNG WILLIAM C

EMP NAME: YOUNG, WILLIAM
420 LORI AV SE

SALEM, OR 97302

2009100

10/16/2002

" GORP

CORP

$220,000.00
$0.00
$220,000.00

YOUNGBLOOD, SHANNON

EMP NAME: YOUNGBLOOD, SHANNON (SHANE)
P.O. BOX305

WINK, TX 79789

1773300

10/15/2002

CORP
CORP .

$0.00 .

$0.00
$0.00

YOUNGGREN, TERRY M

EMP NAME: YOUNGGREN, TERRY M
1609 NORTHGATE PLACE

ARTESIA, NM 88210-2941

651902

10/07/2002

CORP

$1,000,000.00

YU HONG

EMP NAME: YU, HONG

4914 BIG SPRING CIRCLE
MISSOURI CITY, TX 77459-0000

1513501

10/15/2002

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

ENW LLC
ENW LLC

$0.00
$0.00
$0.00

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Exhibit A : Date: = 07/11/2005
Tittle Settlement Order Time: 8:06:00 PM

Claimant Claim . Date Debtors Objected To CC*
Number Filed Amount

ZABELSHANSKY, YEVGENY e 2028200 10/17/2002 CORP : $0.00 U
EMP NAME: ZABELSHANSKY, YEVGENY “= CORP $0.00 P
8202 MISTY RIDGE LN. : —_—__
HOUSTON, TX 77071 $0.00

ZACHMEIER BLAINE A 619302 10/03/2002 CORP $610,625.33 P
EMP NAME: ZACHMEIER, BLAINE A

5924 WILLOW RD NE

MANDAN, ND 58554-0000

ZACHRISON LEONARD 1179002 10/11/2002 CORP $100,283.00 -P
EMP NAME: ZACHRISON, LEONARD

16001 SE CELSIANA CT

CLACKAMAS, OR 97015

ZADOW RAETTA 1512100 40/15/2002 CORP $0.00 U
EMP NAME: ZADOW, RAETTA ~

8100 CYPRESSWOOD DR CORP $0.00
APT 311 oor
SPRING, TX 77379-0000

ZAHN GARY W 1758202 10/15/2002 CORP $0.00 U
EMP NAME: ZAHN, GARY W

1530 LOCKE LANE

SUGAR LAND, TX 77478-0000

ZARATE MARITZA 1583501 10/15/2002 CORP $2,195.00 U
EMP NAME: ZARATE, MARITZA

1312 DANDRIDGE

PASADENA, TX 77502-0000

ZEIS LAWRENCE R 541400 09/30/2002 CORP $320,000.00 P
EMP NAME: ZEIS, LAWRENCE

7191 RIVER BEND DR

SILVERTON, OR 97381

ZEPEDA JOVITA 1400405 10/15/2002 CORP $3,144,337.20 U
EMP NAME: ZEPEDA, JOVITA (JO) Ot

7014 DILLON

HOUSTON, TX 77061-0000

ZERBA KIMBERLIE J 855702 10/10/2002 CORP ~ $18,125.25 P
EMP NAME: ZERBA, KIMBERLIE

1909 NW 108 ST

VANCOUVER, WA 98685

ZESSIN, MARK 2099000 10/23/2002 CORP $529,840.00 P
EMP NAME: ZESSIN, MARK

33137 WIKSTOM RD

SCAPPOOSE, OR 97056

ZETKA VICTOR 405300 09/09/2002 CORP ° $485,853.96 U
EMP NAME: ZETKA, VICTOR

98 COUNTY RD 401

EDNA, TX 77957

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined : Page 298 of 300
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD ~—- Page 329 of 353

Claimant

ZHANG, "JUDY" HONG

EMP NAME: ZHANG, HONG (JUDY ZHANG

5454 AMESBURY DR
APT 608
DALLAS, TX 75206

Claim
Number

1452900

Date
Filed

10/15/2002

Exhibit A

Tittle Settlement Order

Debtors

Objected To
Amount

cc*

CORP
CORP

$0.00
$0.00
$0.00

Date: 07/11/2005
Time: 8:06:00 PM

ZHANG, PING

EMP NAME: ZHANG, PING
5111 AVONDALE DR.
SUGAR LAND, TX 77479

1817000

10/15/2002

_ CORP

CORP

$0.00
$0.00
$0.00

ZIEGENHAGEL INEZ J

EMP NAME: ZIEGENHAGEL, INEZ
4724 FIR DELL DR SE

SALEM, OR 97302

1048100

10/11/2002

CORP

$241,256.00

ZIELINSKI JERRY W

EMP NAME: ZIELINSKI, JERRY
708 MT ADAMS ST
BOARDMAN, OR 97818

672800

10/07/2002

CORP

$233,031.12

ZIELSDORF DAN K

EMP NAME: ZIELSDORF, DAN
35501 SW GEER RD
NEWBERG, OR 97132

668100

10/07/2002

CORP

$280,000.00

ZIKES, REBECCA A

EMP NAME: ZIKES, REBECCA A
5814 QUEENSLOCH

HOUSTON, TX 77096-0000

1623803

10/15/2002

CORP

$400,956.15

ZIMMER JEFFREY E

EMP NAME; ZIMMER, JEFFREY
PO BOX 1107

RAINIER, OR 97048

1764200

10/15/2002

CORP

$1 60,000.00

ZIMMERMAN JOHN D

EMP NAME: ZIMMERMAN, JOHN D
7423 SHANGRILA

HOUSTON, TX 77095

1700100

10/15/2002

CORP

$11,700.75

ZIMMERMAN, JUDY L.

EMP NAME: ZIMMERMAN, JUDY
PO BOX 251

WELCHES, OR 97067

2085400

10/21/2002

CORP

$0.00

ZINNER, ROBERT M.

EMP NAME: ZINNER, ROBERT M
1833 HALSTEAD BLVD. #312
TALLAHASSEE, FL 32309

1532402

10/15/2002

CORP

$116,400.00

ZIOLKOWSKI, MARK H

EMP NAME; ZIOLKOWSKI, MARK H
95 GIERA COURT

PARLIN, NJ 08859

1544500

10/15/2002

CORP
CORP

$0.00
$0.00
$0.00.

ZIPPER, ANDREW

EMP NAME: ZIPPER, ANDREW A (ANDY)

4112 MARQUETTE AVENUE
HOUSTON, TX 77005

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

1461705

10/15/2002

CORP

$0.00

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Claimant

Claim
Number

Document 10

Date
Filed

05-1 Filed on 07/14/05 in TXSD__— Page 330 of 353

Exhibit A
Tittle Settlement Order

Debtors

Objected To
Amount

Date: 07/11/2005
Time: 8:06:00 PM

cc*

ZITTERKOPF DENNIS C

EMP NAME: ZITTERKOPF, DENNIS C
15102 PEBBLE BEND DR.
HOUSTON, TX 77068-0000

786000

10/09/2002

CORP

*.$1,712,672.00

ZIVLEY, JILL T

EMP NAME: ZIVLEY, JILL T
3619 PLUMB

HOUSTON, TX 77005-2929

1102303

10/11/2002

ENA

$64,307.20

ZOELLNER, JAY B

EMP NAME: ZOELLNER, JAY B
ENERGY AND POWER SOLUTIONS
940 SOUTH COAST DRIVE, SUITE 150
COSTA MESA, CA 92626

1622001

10/15/2002

EESO

$14,780.04

ZOLLNER ROCKY K

EMP NAME: ZOLLNER, ROCKY
2626 NW WILLIAMS LP
REDMOND, OR 97756

643000

10/04/2002

CORP

$204,224.96

ZUBAL JAMES A

EMP NAME: ZUBAL, JAMES A
1477 N 1000 WEST

PRICE, UT 84501

1908700

10/15/2002

CORP

$0.00

ZUKIS STEVEN

EMP NAME: ZUKIS, STEVEN (STEVE}
78 LENOX HILL DR.

THE WOODLANDS, TX 77382-0000

643902

10/04/2002

CORP

$0.00

ZUROMSKI TIMOTHY

EMP NAME: ZUROMSKI, TIMOTHY
6601 SURFSIDE BLVD

APOLLO BEACH, FL 33572

460400

09/16/2002

CORP

$1,685.00

Total Claims and Amount Filed: 3,501

* Classification: S=Secured; P=Priority; U=Unsecured; A=Administrative; ? = Undetermined

$565,533,465.68

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Case .4:01-cv-03913 Document 1005-1 - Filed on 07/14/05 in TXSD.. Page 331 of 353°... hy

EXHIBIT B

_FORM OF CONSENT DECREE |

NY2:¥] 505864¥09¥w9xk09!.DOC¥43889.0003
Case 4:01-cv-03913 Document 1005-1 Filed on 07/14/05 in TXSD = Page 332 of 353

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

PAMELA M. TITTLE, et al.,
No. H-01-3913

Plaintiffs,
vs.
ENRON CORP., et al.,

Defendants.

ELAINE L. CHAO, Secretary of the

United States Department of Labor, No. H-03-2257-
Consolidated with
Plaintiff, H-01-3913
vs.

ENRON CORPORATION, et al.,

Defendants.

CONSENT DECREE
BETWEEN THE SECRETARY OF LABOR AND
ENRON CORPORATION
Plaintiff, ELAINE L. CHAO, Secretary of the United States
Department of Labor (the “Secretary”), and defendant Enron
Corporation ("Enron"), with the approval and consent of the
Official Committee of Unsecured Creditors Appointed in Enron's

chapter ll case (the "Creditors' Committee") have agreed to

settle the matters in controversy in this civil action and in In
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re Enron Corp., et al, Case No. 01-16034 (AJG), and consent to
the entry of this Consent Decree in accordance herewith:
WHEREAS, commencing on December 2, 2001, and periodically
thereafter, Enron and its affiliated debtor entities.
(collectively, the "Debtors"), each filed a voluntary petition
for relief under chapter 11 of title 11 of the United States
Code (the "Bankruptcy Code") with the United States Bankruptcy
Court for the Southern District of New York (the "Bankruptcy

Court"), as jointly administered, In re Enron Corp., et al, Case

No. 01-16034 (AJG) (the "Chapter 11 Cases");

WHEREAS, the Secretary filed proofs of claim in the Chapter
11 Cases, of which all but three proofs of claim, claim nos.
11026, 11027 and 11046, have been withdrawn ("DOL Claims");

WHEREAS, by its Objection of Official Committee of
Unsecured Creditors to Proof of Claim Nos. 13923, 14052, and
11025 through and including 11082 (the “Committee Objection”),
Docket No. 16768, the Creditors' Committee objected to, among
other proofs of claim, the allowance of the DOL Claims and
asserted, in the alternative, that any recovery on account
theregf should be subordinated pursuant to section 510 of the
Bankruptcy Code;

WHEREAS, the Secretary's complaint dated June 26, 2003 (the
“Secretary’s Complaint”)was filed in the United States District

Court for the Southern District of Texas (the “District Court”)
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against Enron, among others, pursuant to Title 1 of the Employee
Retirement -Income security Act of 1974 (“ERISA”), 29 U.S.C. s
1001 et seq., relating to losses suffered by the Enron Corp’
Savings Plan and the Enron Corp. Employee Stock Ownership. Plan

as a result of their investments in Enron Corp. stock, Chao v.

Enron Corp., et al., No. H-03-2257 (consolidated with H-01-3913)
(the "DOL Action");

WHEREAS, by order dated July 15, 2004 (the “Confirmation
Order”), the Bankruptcy Court confirmed the Supplemental
Modified Fifth Amended Joint Plan of Affiliated Debtors Pursuant
to Chapter 11 of the United States Bankruptcy Code, dated July
2, 2004 (the “Plan”), for 175 of the Debtors, including Enron -
Corp. (collectively, the “Reorganized Debtors”);

WHEREAS, on November 17, 2004, the Plan became effective
and the Reorganized Debtors emerged from chapter 11;

WHEREAS, the Secretary, Enron and the Creditors' Committee,
among others, have negotiated an agreement to settle all claims
and issues between them arising from the matters alleged in the
DOL Action and in the DOL Claims;

WHEREAS, pursuant to.a Term Sheet reached among the
following parties: (i) the Secretary; (ii)Enron; (iii)the named

plaintiffs in the "Tittle Action" (Tittle, et al. v. Enron Corp.

et al., Civil No. H 01-CV-3913) (the " Named Plaintiffs");

(iv)the Creditors' Committee; (v) State Street Bank and Trust
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Company as Independent Fiduciary; and (vi)the Pension Benefit
Guaranty Corporation ("PBGC"), the parties have agreed, among
other things, that the Named Plaintiffs shall have an allowed
claim in Enron's chapter 11 case in the amount of $356.25
million (the “Settlement Claim”) which shall be treated pari
passu with other allowed general unsecured claims against Enron
in accordance with Class 4 of the Plan, including, without
limitation, the right to receive distributions with respect to.
Litigation and Trust Claims and Special Litigation Claims, of
which a portion of the Settlement Claim, in the amount of
$305.36 million, shall also be allocated to settle the DOL
‘Action and DOL Claims and the United States Department of Labor
(the “DOL”) shall also have an allowed claim in the amount of
$10.38 million as a penalty claim under section 502(1) of ERISA
which shall be allowed and treated as in accordance with Class
380 of the Plan (the “Penalty Claim”);

WHEREAS, Named Plaintiffs in the Tittle Action have filed
or intend to file a motion for a good faith settlement
determination with respect to the settlement of their action set
forth gin the Term Sheet (the "Class Action Settlement");

WHEREAS, the parties have agreed that (a) the Named
Plaintiffs and State Street on behalf of the Enron Corp. Savings
Plan, Enron Corp. Employee Stock Ownership Plan and:Enron Corp.

Cash Balance Plan (collectively, the “Settling Plans”) and (b)
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the Secretary, though only as to the amount allocated to
settlement of the DOL Claims, jointly have the option (which
must be exercised prior to the commencement of the earlier of
(1) the hearing to consider the approval of the agreements based
upon the Term Sheet (the “DOL Action Settlement Agreement”, the
“Tittle Class Action Settlement Agreement” and the “PBGC
Settlement Agreement”) before the Bankruptcy Court and (ii) the
hearing to consider final approval of the Class Action
Settlement before the District Court), to receive'a cash ~
distribution (or a combination of cash and a portion of the
Settlement Claim), in an agreed amount, at the same time as
initial distributions are made to holders of Allowed General
Unsecured Claims, as defined in the Plan, pursuant to Section
32.1 of the Plan, but in no event later than August 31, 2005, in
lieu of distributions that otherwise would be made pursuant to
the Plan;

WHEREAS, distributions made with respect to the Settlement
Claim are in addition: to, and not in lieu of, the amounts
necessary to fund a "standard termination" of any employee.
benefit plan;

WHEREAS, the Secretary is not a party to the Class Action
Settlement, and the parties to this Consent Decree agree that
the Class Action Settlement does not and cannot, therefore,

operate to release, interfere with, qualify, or bar the
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prosecution of the DOL Action or the DOL Claims for any type of
remedy, monetary or non-monetary, against any defendant;

WHEREAS, the Secretary and Enron, its affiliated Debtor
entities, their non-debtor affiliates and their current and
former officers and directors (other than the individuals named
as defendants in the Secretary's Complaint) and the Creditors’
Committee expressly waive Findings of Fact and Conclusions of
Law and consent to the entry of this Consent Decree as a full
and complete resolution of the DOL Action and the DOL Claims
against Enron alone;

ACCORDINGLY, it is hereby ORDERED, ADJUDGED AND DECREED
that:

1. The parties have agreed to the entry of an Order,
substantially in the form attached hereto as Exhibit “A” (the
“POL Bankruptcy Court Order”), approving the DOL Action
Settlement Agreement, attached hereto as Exhibit “B”, in the
Chapter 11 cases in the United States Bankruptcy Court for the
Southern District of New York. The DOL Action Settlement
Agreement and the DOL Bankruptcy Court Order are incorporated by
refergnce to this Consent Decree. The salient provisions of the
DOL Action Settlement Agreement are described below.

2. The District Court shall have exclusive jurisdiction
to resolve any disputes, issues or controversies that may arise

under this Consent Decree except to the extent that they relate
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to (a) the Settlement Claim, (b) the DOL ‘Claims, (c) the
Committee Objection and (d) matters arising under the Chapter 11
cases. The District Court shall also have exclusive jurisdiction
to determine any disputes, issues or controversies regarding the
preliminary and final approval orders of the Class Action
Settlement (the “Tittle Approval Orders”) and the District
court’s order approving the agreement between the Pension
Benefit Guaranty Corporation (the “PBGC”)and Enron (the “PBGC
District Court Order”). The District Court shall: also have
jurisdiction to resolve any dispute as to whether an issue or
determination is subject to Bankruptcy Court jurisdiction under
the DOL Action Settlement Agreement, the PBGC Settlement
Agreement and the Tittle Class Action Settlement Agreement.

3. The Named Plaintiffs shall have an allowed claim in
Enron's chapter 11 case in the amount of $356.25 million (the
“Settlement Claim”) which shall be treated pari passu with other
allowed general unsecured claims against Enron in accordance
with Class 4 of the Plan, including, without limitation, the
right to receive distributions with respect to Litigation and
Trust Claims and Special Litigation Claims, of which a portion
of the Settlement Claim, in the amount of $305.36 million of the
Settlement Claim, attributable to Counts I through TII and V of
the Tittle Action, shall also be allocated to the DOL Action and

claims filed by and on behalf of State Street, as independent
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fiduciary, on behalf of the Enron Savings Plan and the Enron
ESOP. Notwithstanding this allocation of a portion of the
Settlement Claim to the DOL Action and claims filed by and on
behalf of State Street, as independent fiduciary, on behalf of
the Settling Plans, there shall be only one recovery on account
of the Settlement Claim in accordance with the plans of
allocation to be approved by the District Court in the Tittle
Action. In addition, the DOL shall also have an allowed claim in
Enron’ s Chapter 11 Case in the amount of $10.38 million as a
penalty claim, treated in accordance with section 380 of the
Plan.

4. As used herein, the term "Effective Date" shall mean
the date on which all of the following orders become final and
non-appealable: this Consent Decree; the Tittle Approval Orders;
the PBGC District Court Order (together, the Consent Decree, the
Tittle Approval Orders and the PBGC District Court Order are
hereinafter referred to as the “District Court Orders”); the DOL
Bankruptcy Court Order; the Bankruptcy Court Order approving the
Tittle Class Action Settlement Agreement (the “Tittle Bankruptcy
Court gOrder”); and the Bankruptcy Court Order approving the PBGC
Settlement Agreement (the “PBGC Bankruptcy Court
Order”) (together, the DOL Bankruptcy Court Order, the Tittle
Bankruptcy Court Order and the PBGC Bankruptcy Court Order are

hereinafter referred to as the “Bankruptcy Court Orders”).
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5. on the Effective Date, and subject to the provisions
of Article VII of the DOL Action Settlement Agreement, all
claims and causes of action asserted in the DOL Action against
Enron, their non-debtor affiliates and their current and former
officers and directors (other than those individuals named as
defendants in the DOL Action pursuant to the DOL Complaint,
dated. June 26, 2003) shall be deemed dismissed with prejudice
except for the Settlement Claim and the Penalty Claim.

6. On the Effective Date, the Secretary agrees to hold
each of the Debtors and their non-Debtor affiliates harmless
from any claims for indemnification and/or contribution which
have been or could have been asserted against the Debtors and
their non-Debtor affiliates arising from or relating to the DOL
Action, including, without limitation, any claims for
indemnification and/or contribution which have been or could

have been asserted by The Northern Trust Company arising from or
relating to the DOL Action and the Enron Plans. Such agreement

to hold the Debtors and their non-Debtor affiliates harmless
shall be implemented solely through distributions to be made
pursuant to the compromise and settlement with the indemnified
party or the reduction of any judgment which may be obtained
against the indemnified party in an amount equal to the

distribution that such party would otherwise receive from the
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“Debtors on account of such indemnified claim pursuant to the
Plan. Enron shall use its reasonable best efforts to defend
against any claim asserted by any party for indemnification
which would give rise to an obligation under this paragraph,
including, without limitation, by seeking the subordination of
any such. claim in the Bankruptcy Court. In the event that the
Debtors determine to compromise and settle any claim for
indemnification and/or contribution against the Debtors and
covered by the provisions of Section 4.6 of the DOL Action
Settlement Agreement, such determination shall be made only upon
the prior written consent of the Secretary, which consent shall
not be unreasonably withheld.

7. .On the Effective Date, any claims against Enron, its
affiliated Debtor entities and their non-debtor affiliates by
those individuals named as defendants in the Secretary's
Complaint, for indemnification arising from or relating to the
claims asserted in the DOL Action shall be barred. Any
distributions actually received by the Settling Plans as a
result of this settlement shall be treated as reducing the
amoung recoverable by the Secretary in her action against any
person barred from asserting claims for indemnification by
operation of this agreement.

8. On the Effective Date, without the need for the

execution and delivery of additional documentation or the entry

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of any additional orders, except as expressly provided herein or
in the DOL Action Settlement Agreement, the Secretary, for and
on behalf of herself and the DOL, waives, releases and forever
discharges any and all claims which she has or may have against
Enron, its. affiliated Debtor entities, their non-debtor
affiliates and their current and former officers and directors
(other than The Northern Trust Company and those individuals

named as defendants in the Secretary's Complaint), Stephen
Forbes Cooper, LLC (“SFC”), Stephen F., Cooper (“Cooper”), the
Creditors’ Committee, current and former members of the
Creditors’ Committee, and each of the foregoing’s agents,
representatives, attorneys and other advisors, arising from,
relating to, or in connection with the matters, transactions,
acts and omissions asserted or that could have been asserted in
the DOL Action, including, without limitation, any claims for an
alleged failure to sell or cause the sale of the common stock of
Enron held in the Enron Corp. Savings Plan and Enron Corp. ESOP
during the period from and after December 2, 2001 except for the
Settlement Claim and the Penalty Claim.

9. On the Effective Date, the Secretary shall permanently
cease any other civil proceeding and civil investigation of
Enron, its affiliated Debtor entities, their non-debtor
affiliates and their current and former officers and directors

(other than The Northern Trust Company and those individuals

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named as defendants in the Secretary's Complaint), SFC, Cooper,
the Creditors’ Committee, current and former members of the
Creditors’ Committee, and each of the foregoing’s agents,
representatives, attorneys and other advisors (other than The
Northern Trust Company and those individuals named as defendants
in the Secretary's Complaint), arising out of or relating to,
the facts alleged in the Secretary’s Complaint, including,
without limitation, any claims for an alleged failure to sell or
cause the sale of the common stock of Enron held in the Enron
Corp. Savings Plan and Enron Corp. ESOP during the period from

and after December 2, 2001, provided, however, that nothing in

this Consent Decree shall preclude the Secretary from initiating
or continuing any audit or investigation, or from pursuing any
claims or actions against any entities or persons other than
those listed in this paragraph concerning the facts alleged in
the Secretary’s Complaint.

10. On the Effective Date, the Secretary releases State
Street from any claims which the Secretary may have arising
under Title I of ERISA relating to the services provided by
State gStreet as independent fiduciary of the Settling Plans,
except for State Street’s gross negligence, willful misconduct
or intentional breach of fiduciary duty.

11. On the Effective Date, the following parties shall be

deemed to have waived, released and discharged any and all

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claims of whatever nature which they may have against the DOL, —
the Secretary, or any of her officers, agents, employees or
representatives, arising from or relating to the: DOL Action’ or
any other proceeding and investigation incident thereto,
including, without limitation, claims for costs, fees or other
expenses under the Equal Access to Justice Act, as amended, 28
U.S.C. § 2412: (i)Enron; (ii) its affiliated Debtor

entities; (iii) their non-debtor affiliates and their current and
former officers and directors (other than The Northern Trust
Company and those individuals named as defendants in the
Secretary's Complaint); (iv). SFC; (v) Cooper; (vi) the Creditors’
Committee; (vii) current and former members of the Creditors’
Committee; (viii) and each of the foregoing’s agents,
representatives, attorneys and other advisors (other than The
Northern Trust Company and those individuals named as defendants
in the Secretary's Complaint).

12. The Term Sheet, this Consent Decree and the DOL Action
Settlement Agreement result from an investigation of the Enron
Corp. Savings Plan, Enron Corp. Employee Stock Ownership Plan
and Enron Corp. Cash Balance Plan, conducted by the Department
within the meaning of Prohibited Transaction Class Exemption. 79-
15 and all Prohibited Transaction Class Exemptions.

13. In the event that, for any reason whatsoever, (a) the

terms of the Class Action Settlement are materially different

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from the provisions of the Term Sheet or the parties to
settlements described in the Term Sheet change, (b) the District
Court declines to approve any of the District Court Orders, (c)
any of the District Court Orders approving the settlement
described in the Term Sheet are reversed and such reversal
becomes a final non-appealable order, (d) the Bankruptcy Court
declines to approve any of the Bankruptcy Court Orders by August
31, 2005, unless otherwise extended, in writing, by the parties
to the Term Sheet, (e) any order of the Bankruptcy Court
declining to approve the Tittle settlement, the PBGC settlement,
or this settlement becomes a final non-appealable order, or (f)
any of the Bankruptcy Court Orders approving the Tittle
settlement, the PBGC settlement, or this settlemént are reversed
and such reversal becomes a final non-appealable order, then
this Consent Decree shall be deemed null and void.

In the event that the Consent Decree or the DOL Action
Settlement Agreement becomes null and void, then: (a) the
Secretary will be free to pursue all of the claims alleged in
her Complaint or any amendment of that Complaint and to seek all
reliefg prayed for in her Complaint or any Amended Complaints
against the other parties to this Consent Decree, including her
claims for non-monetary and monetary relief; (b) the other
parties to this Consent Decree will be free to assert all of

their defenses of any kind to the Secretary’s claims other than

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defenses arguing that any part of the Class Action Settlement,
or any bar order. issued pursuant to that Agreement, can be
construed to release, interfere with, qualify, or bar the ~
prosecution of claims by the Secretary for any type of remedy,
monetary or non-monetary set forth in her Complaint or any
amended Complaint; and (c) the provisions of this Consent Decree
shall be of no further force or effect and shall not be
admissible in evidence in any action pending or filed against
any party.

14. The parties hereto agree, and the District Court
finds, that the terms of this Consent Decree and the exhibits
hereto, set forth the sole terms of the Secretary's settlement
with Enron, its affiliated Debtor entities, their non-debtor
affiliates and their current and former officers and directors
(other than The Northern Trust Company-and those individuals
named as defendants in the Secretary's Complaint), SFC, Cooper,
the Creditors' Committee, current and former members of the
Creditors’ Committee, and each of the foregoing’s agents,
representatives, attorneys and other advisors (other than The
Northern Trust Company and those individuals named as defendants
in the Secretary's Complaint), that the Secretary is not a party
to the Class Action Settlement, and that nothing in the Class

Action Settlement, or any bar order issued pursuant to that

Class Action Settlement, will be construed to release, interfere

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with, qualify, or bar the prosecution of claims by the Secretary
for any type of. remedy, monetary or non-monetary. Any recovery
pursuant to the Class Action Settlement, however, may reduce the
amount of losses actually incurred by the Enron Corp.. Savings
‘Plan or Enron Corp. ESOP and, to that extent and to that extent
only, if appropriate, reduce the amount recoverable by the
Secretary in her own action.

15. Enron, its affiliated Debtor entities, their non-
debtor affiliates and their current and former officers and
directors agree to include in any Settlement of any claims
against them under Title I of ERISA other than a settlement with

- the secretary, the following paragraph:

Notwithstanding anything else in this Settlément, this

Settlement does not waive, release, or interfere with

the independent right of the Secretary of the United

States Department of Labor to bring claims against any

person or entity otherwise released by this Settlement

Agreement. Nothing in this Class Action Settlement or

any related Judgment shall release, interfere with,

qualify, or bar the prosecution of claims by the

Secretary for any type of remedy, monetary or non-

monetary, without her specific written consent. This

paragraph shall supersede and control over any

contrary, inconsistent, or ambiguous provisions

contained in this Settlement.

Enrongits affiliated Debtor entities, their non-debtor
affiliates and their current and former officers and directors
also agree that any Settlement shall not include any language

which purports to release any claims, civil or criminal, which

are enforceable by the United States Government or any agency of

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the United States Government. This Consent Decree is null and
void in the event that any Settlement is approved by any Court
that contains any language which purports to release any claims,
civil or criminal, which are enforceable by the United States
Government or any agency of the United States Government. In
addition, nothing in this Consent Decree should be construed to
prevent the Secretary from asserting any objection to or
opposing any provision of the Class Action Settlement.

16. The parties agree that this Consent Decree does not
prevent or in any way interfere with the Secretary's ability to
share any documents in her possession with any other
governmental agency or party.

17. All notices, demands or other communications hereunder
shall be in writing and shall be deemed to have been duly given
upon receipt if it is addressed to each of the intended
recipients as set forth below and personally delivered, sent by
registered or certified mail (postage prepaid), sent by
confirmed facsimile transmission ("FAX"), or delivered by
reputable express overnight courier to:

If to the Secretary:

Timothy Hauser

Leslie C. Perlman

Robin Springberg Parry
U.S. Department of Labor

Office of the Solicitor
Plan Benefits Security Division

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(Mail Address)
P.O. Box 1914
Washington, D.C. 20013

(Delivery Address)
200 Constitution Ave., N.W.
Room N-4611
Washington, D.C. 20210
Telephone: (202) 693-5614

Fax: (202) 693-5610

Due to security measures in place relating to
Department. of Labor mail delivery, communications
containing electronic media (disks, cd's, etc) may
only be made by courier.

If to Enron, to:

ENRON CORP.
1221 Lamar Street
Suite 1600
Houston, Texas
77010
Attention: General Counsel
Telephone: (713) 646-6017

Fax: (713) 646-6017
with a copy to:
WEIL GOTSHAL & MANGES LLP -
767 Fifth Avenue
New York, New York 10153

Phone: (212) 310-8000
Attention: Brian S. Rosen, Esq.

Fax: (212) 310-8007
and with a copy to:
WEIL GOTSHAL & MANGES LLP

700 Louisiana
Suite 1600

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Houston, Texas 77002
Phone: (713) 546-5000 ©
Attention: John B. Strasburger, Esq.
Fax: (713) 224-9511
If to the Creditors' Committee:
MILBANK, TWEED, HADLEY
& McCLOY LLP
One Chase Manhattan Plaza
New York, New York 10005

Phone: (212) 530-5000
Attention: Susheel Kirpalani, Esq.

Fax: (212) 530-5219

18. Each party to this Consent Decree shall bear its own
costs, expenses, and attorneys’ fees incurred in connection with
this civil action and all matters relating thereto.

19. This Consent Decree represents a full, final and
complete judicial resolution of all claims between the Secretary
and Enron in this civil action.

20. This Consent Decree is not binding upon any agency of
the United States Government other than the United States
Department of Labor.

21. The undersigned attorneys acknowledge and represent
that they are counsel of record for the parties and are
authorized and empowered to execute this Consent Decree on

behalf of their respective clients and that their clients have

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been informed of and understand the terms of this Consent —

Decree.
SO ORDERED this day of 2005.
MELINDA HARMON .
UNITED STATES DISTRICT JUDGE
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The undersigned apply for and consent to the entry of the
foregoing Consent Decree.

Dated:

r

2005

FOR THE SECRETARY:
HOWARD M. RADZELY - x
Solicitor of Labor |

TIMOTHY D. HAUSER
Associate. Solicitor
Plan Benefits Security Division

LESLIE CANFIELD PERLMAN
Counsel for General Litigation

ROBIN SPRINGBERG PARRY
Senior Trial Attorney
Attorney-in-Charge ~

WAYNE BERRY

Senior Trial Attorney
SONYA LEVINE

MARY F. WILLIAMS
PETER DOLAN

Trial Attorneys

U.S. Department of Labor

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Washington, D.C. 20013
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200 Constitution Ave., N.W.

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FOR ENRON CORP:

Dated: . , 2005

. BRIAN S. ROSEN, Esq.

. WEIL GOTSHAL & MANGES LLP
' 767 Fifth Avenue a,
New York, New York 10153
Phone: (212) 310-8000 —
Fax: (212) 310-8007
Counsel for Enron Corp.

FOR CREDITORS' COMMITTEE:

Dated: , 2005

SUSHEEL KIRPALANI, Esq.
MILBANK, TWEED, HADLEY
& McCLOY LLP

One Chase Manhattan Plaza
New York, New York 10005
Phone: (212) 530-5000
Fax: (212) 530-5219—
Counsel for the Creditors’
Committee

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